Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 1 of 210




EXHIBIT 11
                            Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 2 of 210


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   FDA Perspectives on Product Quality of
    Transdermal Drug Delivery Systems
                           Yellela S.R. Krishnaiah, PhD
                                Division of Product Quality Research
                                                OTR/OPQ/CDER
                                  US Food and Drug Administration
                                           Silver Spring, MD, USA

                         AAPS 2015_Sunrise Session (October 28, 2015)


 Disclaimer: Views expressed in this presentation are mine, and have
 not been adopted as regulatory policies by the Food and Drug
 Administration at this time.
                                  Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 3 of 210


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             Transdermal Drug Delivery Systems
                                                                                  Maidmum therapeutic level


           Source: www.vivelledot.com




                                                                                                 Minimum therapeutic Ie.




                                                                       0. nab...mai Dc.           O. Dow          OM De.




                                                     • Provide continuous systemic drug
                                                       delivery over the proposed wear
Transdermal Systems       Oral products                period
    -                                                • Avoid first-pass metabolism
                                                     • No dose dumping
                                                     • Unwanted effects can be terminated
                                                     • High patient compliance
                                          2015AAPS_Sunrise Session                                                         2
                                            Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 4 of 210
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Increased number of TDDS- DIA type gaining popularity

                                                                                                                           ■ Transdermal
                          50 _                                                                                               reservoir. originator

                                                                                                                              Transdermal
                   C131                                                                                                       reservoir: generic
                   E      40   _
                   a)                                                                                                         Transdermal
                                                                                                                              matrix: originator
                   C
                   o 30                                                                                                       Transdermal
                                                                                                                              matrix: generic
                   _c
                                                                                                                           ■ Transdermal
                   0- 20
                                                                                                                             active in adhesive
                   0                                                                                                         only: originator
                   es g
                   E 10_                                                                                                   sZ1 Transdermal
                                                                                                                               active in adhesive



                                   ;11011111
                                                                                                                               only: generic

                           0                                                                                                  Topical patches

                                   tbrt• tbtk (60 cbt     c:P        cbbi op    op (:§::)                  crp NC)            Transdermal
                               N.,,Nc)4 \c)(0,'0, ,Ncb co,'ONfi ebis°3‘0,,, .;\(;)cyk, ,,,,t yt     .„`t,394,3. C"))0,‘P      next generation
                                    'b          to lb          cb O3 1:5
                                                                                        (1W,   `9       eF jr 1
                                                                                                                              Topical next
                                                            Year of FDA approval                                              generation


             Ref: Pastore e al. Br J Pharmacol (2015), 172: 2179-2209
                                                                                                                                                         3
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                          Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 5 of 210


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          Some of the FDA approved TDDS
 •   Scopolamine (Scope)
 •   Nitroglycerin (Nitro-Dur®)
 •   Testosterone (Androderm®)
 •   Estradiol (Climara®, Alora®, Vivel-Dot®)
 •   Estradiol/Norethindrone acetate (CombiPatch®)
 •   Estradiol/Levonorgestrel (Climara Pro®)
 •   Nicotine (Nicoderm®)
 •   Oxybutynin (Oxytrol®)
 •   Methylphenidate (Daytrana System®)
 •   Fentanyl (Duragesic®)
 •   Norelgestromin/Ethynyl Estradiol (Ortho Evra®)
 •   Selegeline (Emsam®)

                                  2015AAPS_Sunrise Session                                         4
                                        Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 6 of 210


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Global sales for potent TDDS significantly high
                                            Global TDD Product Sales by Segment
                                                            Tulobuterol 4%
                       Local Pain Patches 2%                                              Estradiol
                    Testosterone 6%
              Scopolamine 1%,
                                                                                                            Estradiol Combo 2%
             Clonidine 6%
                                                                                                                    Nicotine 7%



    Q;ntanyl 31%                                                                                                    Nitroglycerin
                                                                                                                         27%




 Resource: http://pharmaceuticalintelligence.com/2013/02/04/transdermal-drug-delivery-tdd-system-and-nanotechnology-part-ii/


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                               Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 7 of 210
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Product Quality Defects of TDDS: Recalls and Warning Letters

                                                   c...-ctu flock eimc
                                                                                                            Health
                                               WORLD          U.S. N.F. REGION BUSINESS TECHNOLOGY           SCIENCE      HEALTH
                                                Search Health                                                                 IM
• Leakage from                                                                                                     Ltd,       Re:


  reservoir systems
                                                                          Whether you answer an alarm bell or a school
• E.g., fentanyl patches                                                  bell, we all know it's time to fix the debt.

                                                                          Demand a solution to our nation's rising debt.
  - led to Class I recalls
                                                   ain 'fling Patches Recalled by Ma ei
                                                By THE !•,E
                                                Publisheo
                                                                  41.1'
                                                Painkilling Duragesic skin patches have been recalled for a second
                                                time by their manufacturer, 4, i'1s.sen Pharmace       roducts of
                                                Titusville, N.J.

                                                The recall includes five lot numbers: 0327192, 0327193, 0327294,
                                                0327295 and 0330362. The first lot was recalled in February, and the
                                                rest this week.

                                               The product, coated with              n fentanyl, a strong opiate, is
                                               being recalled because • me patches leak nd may administe 43;5)
                                               41:1M or too little medicate


                                       2015AAPS Sunrise Session                                                                         6
                            Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 8 of 210


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                                                                 CBSNews.com / CBS Evening News / CBS This Morning / 43 Hours 1 60 Minutes / Sunday Morning 1 Face



Adhesion failure modes
    (Wokovich et al.. EJPB. 64: 1-8. 2006)
                                                                 a          tCBS          Markets Investing Tech Leadership Small Business Saving Spen

                                                                                                   13074.04               1413.94
                                                                                                                          .r) 33r ,
                                                                                                                                                   2989.27

                                                                                                                                       +I +15r -             :40


                                                                                                              ° Think of it as network deco
                                    Adhesive Failure
                                                                                                                      et the details on 10GbE.
                                    Case I

                                                                 Bi/ JIM EDWARDS    MONEYWATCH       December     2009,




                                                                 Shire's Daytrana Patch
                                    Adhesive Failure
                                    Case II                      Recall Is 8th So Far: Time
                                                                 to Pull the Plug?
                                                                 2Comments Shares                    Tweets         Stumble . Email                          More

                                    Cohesive Failure
                                    Case Ill
                                                                 Shire                  oluntarily recalled the Daytrana ADHD patch c                        nt
                                                                   moving the liner on the a is not a safety issue. the comp says. Daytrana is for
                                                                                             e only patch product to treat the cond n. "Sudden death" is one of
    ▪   TDDS                                                     the side effects of Daytrana, because ADHD products raise patien          d ressure.
    ▪ TI)DS Adhesive
    ❑   Substrate                   2015AAPS Sunrise Session                                                                                                 7
                                      Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 9 of 210


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In
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     Adhesion lacking: Most widely reported Quality Defect of TDDS
                                                  (Source: FDA/Medwatch Reports)
                                            20                                •    k 'r
                                        /        CRYSTAL FORMATION, 9
                     DEATH, 33
                                 23
                                      f                                       it FORMULATION QUESTIONED


                                                                              • THERAPEUTIC EFFECT LACKING OR DELAYED


                                                                              or GENERIC SUBSTITUTION QUESTIONED


                                                                              • PA Ilfrn RFAfTI (1'd


                                                                                  PRODUCT SPECIFICATIONS NOT MET, MISCELLANEOUS


                                                                              I. EMPTY PKG/MULTIPLE DOSES IN P KG/DOSAGE UNITS MISSING FROM CARTON

                                                        Adhesion              • PE RC      ANCE MALFUNCI ON
                                                        failures
                                                                              • PO IENCY QUESTIONED
        140
                                                                              • LABELING


                                                                              EPN'


                                                                              IF CONTAINER OR CLOSURE DEFECTOR PROBLEM


                                                                              • DESIGN DEFECT


                                                                              • OTHER

                                                                        V     • DEATH


                                                                              • QUALITY CONTROL, MISCELLANEOUS


                                                                              IL APPEARANCE OR ODOR ABNORMAL OR NOT AS EXPECTED
                                                             250
                       185

                                       200                                    • CRYs!Al iORMAIIL




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                                      Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 10 of 210


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              Drug release faster than specified


       AMERICAN DRUG PRODUCTS
       HEALTH CARE       EWS
                                   Fent                                                            ecall
                                 otentialfor Active Ingredient to Release Faster Than

  ctober 22,   2010

The Food and Drug Administration (FDA) notified healthcare professionals and patients that laboratory testing identified a patch in one
lot of Fentanyl Transdermal System (Control/Lot # 30349) that released its active ingredient faster than the approved specification. An
accelerated release of Fentanyl can lead to adverse events for at-risk patients, including excessive sedation, respiratory depression,
hypoventilation (slow breathing), and apnea (temporary suspension of breathing). As a precautionary measure in addition. to the
aforen             t Actavis is recalling an additional 18 lots due to the possibility that additional patches ay release Fentanyl Ziftl`
   is y than indicate




                                               2015AAPS Sunrise Session                                                              9
                                  Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 11 of 210


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            Drug crystallization in TDDS
                 www.aan.comineurologytoday
Crystallization in TDDS may lead to reduced
flux, associated adhesion difficulties or other
general product quality stability issues.
                                                            BrowseallmedicationsABCDEFGHIJKLMNOPQRSTl

                 rugs.corn                                    Q enter a search term

   *         Drugs A-Z Y     Pill Identifier       Interactions Checker                 News             Health Professio

 Horne — News — Pharma Industry News — FDA                                                       Print   :tit Save or Share



 FDA MedWatch-Neupro (rotigotine
 transd                          Iled Due To
 Th ormation of Rotigotine Crysta s i The
 Patche
                                           2015AAPS_Sunrise Session                                                               10
                               Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 12 of 210
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    Drug-in-adhesive type of transdermal drug delivery
    systems (TDDS) associated product quality issues
Patients' voice about that "sticky stuff" and "permanent circles"

"Hated those patches, trying to remove the sticky stuff before adding new
patches was the pits. There are still some of the circles from the patches
on some of my clothes that I can't get out in the wash."

"Yea the stickiness is ridiculous! I have permanent circles all over :)"

"The patches ruined a pair of bed sheets for me! That sticky stuff was just impossible."

"And if you have kids don't let them get ahold of them. Mine got into mine and stuck
them all over their wall. I now have permanent circles all over. There is no washing
those off, with out taking off the paint."
                         http://www.surromomsonline.com/support/showthread .php? 188281-Climara-patch




                                        2015AAPS_Sunrise Session                                             11
                           Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 13 of 210
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                TDDS Product quality issues
•   Adhesion failures
•   Leakage of reservoir-type TDDS
•   Drug crystals on TDDS
•   Excessive cold flow
•   Variability in permeation (skin flux)
•   Complex product designs/ manufacturing process
    (product and process variables)
•   Warrants for understanding the scientific basis for
    product quality defects
                                                                                                     12
                                    2015AAPS_Sunrise Session
                          Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 14 of 210
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                   Generic TDDS
• Demonstration of Bioequivalence (BE) requires
  establishment of:
(1) Pharmaceutical Equivalence (PE)-
• Same active ingredient
• Same dosage form
•   Same route of administration and same strength
    (designated as rate for TDDS)
(2) Comparable bioavailability (rate and extent of
absorption)


                                   2015AAPS_Sunrise Session                                    13
                          Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 15 of 210
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                    eneric TDDS
•   To establish Therapeutic Equivalence (TE), Generics
• (1) Must demonstrate PE and BE to the reference
  product
• (2) Must have adequate labeling and cGMP
  manufacturing
• (3) Generics rely on the safety and efficacy of the
  reference product
• Demonstrate for non-inferiority for adhesion, irritation
  and sensitization
• Minimal residual drug after labelled period of use (FDA
  guidance)
                                   2015AAPS_Sunrise Session                                       14
                           Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 16 of 210
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    TDDS: Other Critical Quality considerations
• CQA of finished product- critical to quality and
  performance
• Maintain physical integrity during storage and application to
  skin
• Should be stable- no crystallization, no change in adhesion
• Potential for drug transfer where skin-to-skin contact with
  another person is possible
• Heat effects: Heat pad, electric blankets, sunbathing, heat or
  tanning lamps, sauna, hot tubs or hot baths
• Effect of sunscreen or moisturizing lotion on absorption
• Effect of showering and exercise
                                    2015AAPS_Sunrise Session                                       15
                             Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 17 of 210
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                    Development of Generic TDDS
• First step is to focus on Quality Target Product Profile
  (QTPP)/ Target Product Profile (TPP)-
   -Delivery rate, bioequivalence, stability, Critical Quality
   Attributes (CQA), labeling etc.
• Demands a thorough product and process understanding
• Several CMA/CPP impact the CQA
• Requires a scientifically-sound product development
  approach (e.g., QbD and DoE) along with a
  comprehensive control strategy (from starting to
  ending)
                                      2015AAPS_Sunrise Session                                       16
                           Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 18 of 210


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                                 Guidance for Industry
• Residual drug in Transdermal and Related Drug Delivery
  System (August 2011, FDA)
• Estradiol TDDS (Draft, revised Sep 2015, FDA)
• Selegiline (final Oct 2011, FDA)
• Rivastigmine (Draft, revised Nov 2013, FDA)
• Scopolamine (Final, Oct 2011, FDA)
• Guideline on quality of transdermal patches (EMA, June
  2015)



                                    2015AAPS_Sunrise Session                                       17
                          Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 19 of 210
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 FDA Internal Research on cold flow of DIA-TDDS




                                   2015AAPS_Sunrise Session                                       18
                   Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 20 of 210




    Cold flow in Drug-in-adhesive type of TDDS
•   Drug-in-adhesive oozes out from under the backing
    membrane beyond the edge of TDDS




    No cold flow              With cold flow



                            2015AAPS_Sunrise Session                                    19
                         Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 21 of 210


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             Implications of excessive cold flow
• Can lead to TDDS adhering to inside of pouch
• -makes removal and application difficult
• Drug loss due to cold flow
   4 decreases drug's thermodynamic activity affecting
  delivery rate
• Increase in dimension
   4 alters contact area between drug-loaded matrix & skin
   4 affects therapeutic effectiveness
• Risk/ safety to patient
   4 potential for continued drug absorption after TDDS
  removal
  4 increase risk of drug transfer from patients to non-
     patients (e.g., highly potent Fentanyl TDDS)
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                       Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 22 of 210
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        Possible reasons for excessive cold flow
• Selection of PSA and other formulation ingredients is
  critical
• Dissolved drug/excipients in PSA influence PSA
  plasticization (cohesive/adhesive strength)
• Too high degree of PSA plasticization increases flow
  properties
• Too low degree of PSA plasticization may lead to loss of
  tack/peel properties
• DIA-TDDS formulations are to be designed with balanced
  adhesive and cohesive properties
• Balance in the degree of PSA plasticization (or low creep
  compliance) to prevent excessive cold flow
                                2015AAPS_Sunrise Session                                        21
               Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 23 of 210




There are no compendia! or non-compendia) methods for
          quantification of coldflow in TDDS




                        2015AAPS_Sunrise Session                                    22
                         Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 24 of 210
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                       FDA internal research on
                        cold flow of DIA-TDDS
• To develop a method for quantification of cold
  flow
• To quantify drug loss in cold flow region
• To determine the influence of cold flow on drug
  flux and potential of drug transfer via inter-
  personal contact
• Estradiol TDDS (used in HRT) selected as model
  drug product


                                  2015AAPS_Sunrise Session                                        23
                               Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 25 of 210


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      Approach for cold flow quantification in DIA-TDDS
•   May take long time to observe CF immediately after releasing
    the batch with well-designed TDDS products
•   CF may occur faster when DIA-TDDS are improperly
    exposed to high temperatures.
•   Adopted test methods described for assessing CF resistance
    of bulk dry PSA
•   CF induced at accelerated conditions (by application of 1-kg
    force on punched out circular sample stuck to a glass slide
    stored at selected temperatures (e.g., 32 °C/60%RH) for 1-3
    days.
References: Beaulieu et al (1984). Recent Advances in Acrylic Hot-Melt, Pressure-Sensitive Adhesive
Technology. Tappi J 67(9):102-105.
Benedek (2004). Test Methods. In Benedek I, editor Pressure-sensitive adhesives and applications, ed., New
York: Marcel Dekker, Inc. p 544-610.
                                        2015AAPS_Sunrise Session                                         24
                                       Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 26 of 210


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                                                                                                                  Pharmaceutical
           RESEARCH ARTICLE -Pharmaceutics. Drug Delivery or Pharrnezezetioll Technology                          Sci ices

           Stereomicroscopic Imaging Technique for the Quantification of
           Cold Flow in Drug-in-Adhesive Type of Transdermal Drug Delivery
           Systems
           YELLELA S.R. KRISHNAJAH, USHA KATRAGADDA, MANSOOR A. KHAN
           Division of Product Quality Research, Office of Testing and Research, Office of Pharmaceutical Science, Center for Drug Evaluation and
           Research, Food and Drug Administration,, Silver Spring. Maryland 20993


           Receitvd 6 January 2014: revised 27 January 2014; accepted 6 February 2014
           Published online I March 2014 in Wiley Online Library (zoileyonlinelibmuy.con). DOI 10.10021jpa23915

           ABSTRACT: Cold flow is a phenomenon occurring in drug-in-adhesive type of tra nsderma I drug delivery systems (DIA-TDDS) because of the
           migration of DIA coat be nd the edge. Excessive cold flow can affe:t their therapeutic effectiveness, make removal of DIA-TDDS difficult
           from the pouch, and potentially decrease available dose if any drug remains adhered to pouch. There are no co-npendia I or noncompendial
           methods available for quantification of this critical quality attribute. The objective was to develop a methcd for quantification of cold flow
           using stereomicroscopic imaging technique. Cold flow was induced by applying 1 kg force on punched-out samples of marketed estradiol
           DIA-TDDS (model product) stored at 2S:C„ 32:C; and 40'O60% relative humidity IRH) for I . 2, or 3 days. At the end of testing period,
           dimensional change in the area of DIA-TDDS samples was measured using image analysis software, and expressed as percent of cold flow.
           The percent of cold flow significantly decreased ip 0_001) with increase in size of punched-out DIA-TDDS samples and increased ip
           0.001) with increase in cold flow induction temperature and time. This first ever report suggests that dimensional change in the area of
           punched-out samples stored at 32:C/6O°./oRH for 2 days applied with I kg force could he used for quantification of cold flow in DIA-TDDS.
           g 2014 Wiley Periodicals. Inc. and the American Pharmacists Asscciation I Phan-n Sci 103:1433-1442, 2014
           Keywords: transdermal; skin; drug delivery systems; microscopy, cold flow; stereomicroscopic; method development; imaging; drug-in-
           adhesive; physical characterization

                                          -     Krishnaiah et al. J Pharm Sci, 2014, 103, 5, p1433-42.
                                                   2015AAPS_Sunrise Session                                                                                     25
                              Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 27 of 210


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                         Quantification of cold flow
      • Marketed estradiol TDDS (used in HRT) chosen
        as a model drug product
      • Cold flow induced at accelerated testing
        conditions (25, 32 and 40 °C) with punched-out
        TDDS samples (e.g., 1 cm2) loaded with 1-kg
        force for 3 days.
      • Measured as percent dimensional change in area
      • Also measured as percent drug loss/migration to
        cold flow region of TDDS



                                       2015AAPS_Sunrise Session                                       26
                            Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 28 of 210


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  Induction and Evaluation of Cold Flow in TDDS
      lilt MB
        WIMP


                                                                                                               Before




                                                                                                                T, RH., Time
          (Top)
  /   Release liner-1   /


          TDDS
                                                                                                                After
      Release liner-2
         (bottom)                      Stereomicroscope Imaging
                              httv(Mwmunitronusascr. trod,cts.'sterec-mcro3covesiz850-photos-and-description


  Cold Flow Induction
                                       2015AAPS_Sunrise Session                                                            27
                                       Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 29 of 210


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     Effect of sample diameter and induction temperature
   on cold flow development in circular estradiol DIA-TDDS
 Storage     Samp   mmeter   Sarno    mmeter     Sams e Diameter          60
conditions       11mm            14.3 mm            17.8 mm                    1 day induction
                                                                          50                                           -   25 °C/60% RH
                                                                                                                       O   32 ,60% RH
                                                                                                                       -   40 °C/60% RH
  25 T/
 6046 RH                                                             g    40



                                                                          30

  82T/
 6046 RH
                                                                     d?   20



                                                                          10



                                                                                                            In'
  40t/
 60% RH

                                                                          0
                                                                                           11 mm            14.3 mm
                                                                                                                                i
                                                                                                                           17.8 mm

                                                                                                       Sample   diameter

 Percent of CF          Krishnaiah et al. (2014), J Pharm Sci, 103, 5, p1433-42.
 - Decreases with increase of sample diameter
 - Increases as induction temperature increases
                                                2015AAPS_Sunrise Session                                                                  28
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                                Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 30 of 210
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Effect of sample diameter, induction time and temperature on
   cold flow development in circular estradiol DIA-TDDS
                                                Percent of Cold Flow in Samples Stored at

      Sample Diameter                         25° C/60%                       32°C/60%                  40°C/60%
      (mm)                                       RH                              RH                        RH

      11             1-day                 7.9 ±       1.4a                12.8           2.0b        39.4 ±   5.5
      14.3                                 3.0 f       0.6"                 5.6 f         O. 8°, b    12.8 ±   2.1°
      17.8                                 2.3 ±       0.3c'g'f             3.7 f         0.5°-g-b     7.5 ±   0.5c'e

      11             2-day                9.9 f        1.5a                27.3 f         6.8b        61.4 f   3.1
      14.3                                4.9 ±        0.9c'a              10.0 f         1.2c'b      19.8 f   1.5c
      17.8                                2.8 f        0.3"'e               6.3 f         1.3c•fg     11.2 f   1.7c'h.i

      11             3-day                 13-2 ±                           35.9 f         5.8 b      60.8±3.7
      14.3                                  5.3 f         0.4c'a            11.5 f         2.6" , b   25.2 f 2.2"
      17.8                                  3.2 f         0.5Cea             7.4 f         1.1c.b     13.1 f 0.8c


Conclusions: Percent of CF                  Krishnaiah et al. (2014) J Pharm Sci, 103, 5, p1433-42.
- Decreases with increase of sample diameter
  Increases as induction temperature increases
- Increases as induction time prolongs
                             2015AAPS_Sunrise Session                                                                   29
                                      Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 31 of 210


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Excessive CF alters contact area and drug concentration in
                          TDDS
                                  Product-A            Product-B

                                                                                Punched-out circular samples
                    3-day CF
                 induction at                                                   loaded with 1-kg force and
                 25°C/60%RH                                                     stored at 25°C/60%RH or




                                im
                                                                                32°C/60%RH for 3 days

                    3-day CF
                 induction at
                                                                                (Image sinface ofproduct-B
                 32°C/60%RH                                                     was redacted to hide product
                                                                                identification)

                                                                                                           Product-A     Product-B
Cold flow measured as                      Measurement method              Samples stored at
                                                                                                           (86 µg/cm2)   (156 µg/cm2)
                                                                           25°C/60%RH for 3 days           14.4 ± 2.5    6.5 ± 0.8-
Percent dimensional change in area         Spectroscopic Imaging
                                                                           32°C/60%RH for 3 days           32.0 ±        39.1 ± 3.6
                                                                           25°C/60VoRH for 3 days          15.8 ± 3.2    8.8 ± 2.0-
Percent drug migration to CF region                  HPLC
                                                                           32°C/60%RH for 3 days           32.6 ± 3.4    41.9 ± 3.1
   Significant at P<0.01 when % dimensional change is compared to that of product-A
#*: p<0.001 when compared to samples at 25°C/60%RH
                                                                    - Krishnaiah et al. (2014) Int J Pharm, 477:73-80.

                                               2015AAPSSunrise Session                                                          30
                              Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 32 of 210


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                    Cold flow measurement tool
 • Can be useful in selecting the best adhesive, excipient, drug
   substance ratios and formulations.
 • Can assist in developing the appropriate product quality
   control method and potentially justifying acceptance
   criterion for cold flow
 • Understanding the long term cold flow characteristics
   specific to each product is necessary to establish a quality
   product
 • Cold flow should be included in stability protocol along with
   results at the time of submission for both ANDA and NDAs.
 • Refer to USP <Chapter 3> Topical and Transdermal Drug
   Products- Product Quality Tests

                                       2015AAPS_Sunrise Session                                         31
                                               Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 33 of 210


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                                                             International Journal of Pharmaceutics 477 (2014) 73-80


                                                                Contents lists available at ScienceDirect


                                               International Journal of Pharmaceutics
                                                journal homepage: www.elsevier.comilocateiiipharm




 Cold flow of estradiol transdermal systems: Influence of drug loss on                                                                                       CrossMark
 the in vitro flux and drug transfer across human epidermis
 Yellela S.R. Krishnaiah*, Yang Yang, Robert L Hunt, Mansoor A. Khan
 Division of Product giality Research, Office of Tessing and Reward'. Office of Phannocaidcal Sciences, Center for Drug Ewthicttion and Research. Food and
 Drug Administiation, Slyer .%onog MD, USA



 ARTICLE INFO                                             ABSTRACT

 Article history:                                         The objective was to quantify drug loss due to cold flow (CF) in marketed estradiol transdermal drug
 Received 19 August 2014                                  delivery systems (TDDS), and study its influence on the in vitro flux and drug transfer across contacting
 Received in revised form 4 October 2014                  skin. TDDS samples (products-A and B) were induced with CF at 25 and 32 dC/60% RH by applying 1-kg
 Accepted 7 October 2014                                  force for 72 h. CF was measured as percent dimensional change and amount of drug loss/migration in CF
 Available online 11 October 2014
                                                          region. In vitro drug permeation studies were conducted across human epidermis from TDDS excluding
                                                          CF region, and CF region alone against control (without CF). In both products, significantly higher
 Keywords:                                                percentage of CF (dimensional change and drug migration) was observed at 32 VC compared to 25 '-'C. In
 Cold flow
 Transder mal                                             vitro flux from both products excluding CF region either at 25 or 32°C was the same, but significantly
 Flux                                                     lower compared to control. Drug transferred from CF region of product-A after 8 h was the same at 25 and
 In vitro permeation                                      32 vC, but significantly higher in product-8. Flux from both products together with CF region at 32"C was
 Human epidermis                                          significantly lower than that observed at 25vC. Results showed that excessive CF at storage (2S C) and
 Estradiol                                                clinical usage (32 -t) conditions may have implications on product performance and safety of estradiol
                                                          TDDS
                                                                                                                                         Published by Elsevier B.V.




                                                             2015AAPSSunrise Session                                                                                        32
                              Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 34 of 210


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Cold flow induction method for drug loss/ drug transfer studies
                                                   (A)                                (B)                         (C)




                                          11
                                          it mm TDDS                         Punched-out



                                       l
                                             wi CF                           11 mm TDDS




                                                                       Glass disk                      Dosage donor area
            (Top)                               4_
                                                                        Skin                           Dosage wafer
        Release liner-1
                                                                                                       Sampling port

                                                                                                         Receptor solution
             TDDS
                                                                       Water                                  Replace port w/
                                                                       jacket                                 bubble trap
      Backing Membrane /           Hanson Vertical Diffusion Cells                                 Helix mixer & magnetic
           (bottom)                                                                                Stirrer



                                       2015AAPSSunrise Session                                                               33
                                  Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 35 of 210


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                   www.prosense.net/files/MicroettePlus.pdf

• Source: Cooperative Human Tissue Network (CHTN, Charlottesville, VA).
• Type: Surgically discarded human skin (after abdomonoplasty) of living
  female subjects (age 20-55 years)
• Sample: Heat-separated human epidermis
• Protocol: Research Involving Human Subjects Committee (RIHSC #12-
          015-D)                           2015AAPS_Sunrise Session                                       34
                                       Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22
                                                                                       V Page 36 of 210
     A\       U.S. Food and Drug Administration                                                                                      www.fda.gov
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                                       Cold flow reduced drug flux
                                                        Krishnaiah et al. (2014), Int J Pharm, 477: 73-80.

             10
                                Product-A                                          70
                                                                                                           Product-B
                  •   Control                                                             •       Control
                  O   Excluding CF region at 25°C                          c •-•
                                                                             •     60 -   O       Excluding CF region at 25°C
              8   ✓   Excluding CF region at 32°C                                         ✓       Excluding CF region at 32°C
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                      0     5     10     15     20    25     30                               0       5      10     15     20   25

                                   Time (h)                                                                  Time (h)
            (B)
                          Mean (+S.D.) amount of drug permeated from estradiol TDDS
                          product-A and product-B samples before cold flow induction
     Punched-o4
       mm TDDS
                          (control) and after cold flow induction at 25°C and 32°C
        Apr               (excluding cold flow region) across human epidermis (n=6)

                                                2015AAPSSunrise Session                                                                35
                                                  Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 37 of 210
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                     Cold flow also reduced the overall drug flux
                                               Product-A                                                              Product-B
         t      10                                                                          70
                          •       Before cold flow induction                                         •   Before cold flow induction
                          O       After cold (low induction at 25 `C                                 O   After cold flow induction at 25 °C
          0               ✓       After cold flow induction at 32 °C                  g     60       ✓   After cold flow induction at 32 °C
         ▪       8 -
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                      6       8     10 12 14 16 18 20 22 24 26                                   6   8    10 12 14 16 18 20 22 24 26
                                                   Time (h)                                                              Time (h)
               (A)
                                         Mean (+S.D.) amount of drug permeated from estradiol
                     :VP                 TDDS along with cold flow region of product-A and
    111 mm TDDS                          product-B samples induced with cold flow at 25°C and 32°C
        w/ CF
                                         across human epidermis (n=6)
                4,
                                                                           Krishnaiah et al. (2014), Int J Pharm, 477: 73-80.
                                                                                                                                                 36
                                                              2015AAPSSun rise Session
                                             Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 38 of 210
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         Drug transfer due to CF is far higher than that due to
                   DRE after labeled period of use

         8h                                                   12 h                                                24 h
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    00
    Oa




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              DRE   CF., 23°C   CEat 32 °C                        DRE      CFat23°C   CFat 32°C                   ORE    CF at 32°C




         Mean (±S.D.) in vitro amount of drug transferred from drug-containing human
         epidermis (DRE) pretreated with application of estradiol TDDS (Product-B) to
         the contacting human epidermis (n=6) at A) 8 h, B) 16 h and C) 24 h. The
         amount of drug transferred from cold flow (CF) region of estradiol TDDS
         (Products-B) across human epidermis at A) 8 h, B) 12 h and C) 24 h were also
         presented for comparison (n=6). CF was induced at 25 and 32 °C/60% RH for 3
         days. - Krishnaiah YSR, Yang Y, Khan MA (2014) / FDA internal data

                                                         2015AAPS_Sunrise Session                                                     37
                           Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 39 of 210
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                                        Conclusions
• Percent of cold flow (CF) decreased with increase of
  sample diameter
• Increased with increase in induction temperature
• Increased as induction time prolonged, but not beyond
  3 days
• The method can be applied to discriminate differences
  in formulation designs of TDDS products
• In vitro skin permeation study showed that excessive
  cold flow decreased delivery rate of estradiol TDDS
• Drug transfer occurred from cold flow region of
  TDDS products
                                    2015AAPS_Sunrise Session                                       38
                             Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 40 of 210
         U.S. Food and Drug Administration
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   Further reading on various methods for cold flow
  • Evaluated marketed TDDS for cold flow using
    wiping method, macroscopic observations and
    microscopic method (qualitative)
  • Variable outcome in the three methods
    demonstrated the importance of understanding
    scientific product development throughout the
    TDDS lifecycle
    Reference: Wokovich et al (2015) Cold flow measurement of transdermal drug
    delivery systems (TDDS), International Journal of Adhesion and Adhesives, 59
    (2015) 71-76.



                                      2015AAPS_Sunrise Session                                    39
                                          Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 41 of 210
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                                                   tudies in Progress
    •   Understanding the scientific basis for excessive cold flow
    •   Development of science-based quality standards for cold flow in TDDS
    •   Model development for prediction of cold flow occurrence based on
        Rheology and real time CF measurement data
    •   Hyperspectral imaging for measurement of CF in TDDS at real-time
        storage conditions (i.e., without inducing cold flow)
    •   Hyperspectral imaging as a Process Analytical Tool (PAT) in the
        manufacture of TDDS




                                                                                           Hyperspectral Imaging
                                  Dynamic Mechanical                                             System
Hybrid rheometer                      Analyzer
                                          2015AAPS_Sunrise Session                                                   40
              Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 42 of 210




                  Acknowledgements

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Chair, CDER Transdermal Working Group and other Members
                       Sam Raney, PhD
            Office of Generic Drugs (ORS/DTP)
                      Rong Wang, PhD
             Office of Generic Drugs (OB/DB1)
                       2015AAPS_Sunrise Session                                    41
                               Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 43 of 210


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       • Mansoor Khan, PhD (currently with Texas A&M
         University)



                                        2015AAPS_Sunrise Session                                     42
Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 44 of 210




EXHIBIT 12
8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
                                                                                 and improvements    Page     45systems
                                                                                                         delivery of 210



           Utility of lidocaine as a topical analgesic and
           improvements in patch delivery systems
             tandfonline.com/dcm/full/10.1080/00325481.2019.1702296




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                               CLINICAL FOCUS: PAIN MANAGEMENT                                     CLINICAL FEATURES


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           ABSTRACT
           ABSTRACT

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8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
                                                                                 and improvements    Page     46systems
                                                                                                         delivery of 210


           Interest in and use of topical analgesics has been increasing, presumably due to their
           potential utility for relief of acute and chronic pain. Topically applied agents with analgesic
           properties can target peripheral nociceptive pathways while minimizing absorption into the
           plasma that leads to potential systemic adverse effects.

           Clinical trials have found 5% lidocaine patches to be effective and well tolerated for the
           treatment of post-herpetic neuralgia (PHN) with a minimal risk of toxicity or drug—drug
           interactions. With this patch formulation, the penetration of lidocaine into the skin produces
           an analgesic effect without producing a complete sensory block. Use of topical lidocaine is
           supported by clinical practice guidelines, including first-line treatment by the American
           Academy of Neurology (guidelines retired 2018), the European Federation of Neurological
           Societies and second-line by the Canadian Pain Society.

           FDA approved 5% lidocaine patches in 1999, and a 1.8% topical lidocaine system in 2018 —
           both indicated for the treatment of pain secondary to PHN. The 1.8% system offers a more
           efficient delivery of lidocaine that is bioequivalent to 5% lidocaine patches, but with a 19-fold
           decrease in drug load (i.e., 36 mg versus 700 mg) as well as superior adhesion that allows
           the patch to maintain contact with the skin during the 12-h administration period.

           Although topical lidocaine formulations have advanced over time and play an important role
           in the treatment of PHN, a variety of other conditions that respond to topical lidocaine have
           been reported in the literature including PHN, lower back pain, carpal tunnel syndrome,
           diabetic peripheral neuropathy, and osteoarthritis joint pain. Other neuropathic or nociceptive
           pain syndromes may respond to topical lidocaine in select cases and warrant further study.
           Clinicians should consider local anesthetics and other topical agents as part of their
           multimodal treatments of acute and chronic pain.

           1. Introduction
           The treatment of pain remains a clinical challenge, and health-care professionals are faced
           with choosing from a limited selection of analgesics and nonpharmacologic therapies. The
           toxicities of over-the-counter and prescription systemic agents such as acetaminophen,
           NSAIDs, and opioids are well documented and often lead to treatment limiting adverse
           effects [1-5]. In a training module on 'Treating Chronic Pain without Opioids', CDC
           recommends that clinicians consider topical agents including lidocaine as alternative first-line
           therapies, as they are thought to be safer than systemic medications [6].

           Interest in and use of topical analgesics has been increasing, presumably due to their
           potential utility for relief of acute and chronic pain and relative lack of systemic adverse
           effects. These agents are available in a variety of formulations, both prescription and OTC,




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8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
                                                                                 and improvements    Page     47systems
                                                                                                         delivery of 210


           including gels, salves, liquids, sprays, and patches. One topical agent that has been
           frequently used by clinicians is the local anesthetic, lidocaine. This review offers an overview
           of lidocaine and its utility as a topical analgesic for musculoskeletal and neuropathic pain.

           The well-accepted concept of multimodal analgesia involves interrupting the inflammatory
           cascade and pain signals at various points along neural pathways. Pain is mediated by
           specialized sensory neurons known as nociceptors located in the skin, soft tissues, muscles,
           and virtually all organs except for the brain [7]. Peripheral nociceptors are made up of small
           A delta and C fibers - so called 'first-order neurons' that convey pain signals through the
           dorsal horn into second-order cells located in the spinal cord [7]. From here, ascending
           signals relay the message to higher cortical centers, primarily the thalamus and cortex, for
           further modulation and pain processing [7,8]. Our understanding of the physiological
           processes that transmit pain has progressed over the years, with increasing appreciation for
           contribution by modulation of the pain signal in the periphery. Four major processes thought
           to be involved in pain pathway include, perception, transduction, transmission, and
           modulation [7,8].

           Local anesthetics have the potential to interrupt transduction and transmission of nerve
           impulses. Specifically, lidocaine produces analgesia by blocking voltage-gated sodium
           channels, which are responsible for the propagation of action potentials [9]. When lidocaine
           binds, it induces a conformational change in the channel that blocks the influx of sodium,
           therefore preventing depolarization [10]. Sodium channels are expressed on A delta and C
           fibers and blockage results in a reduction of the ectopic discharges thought to underlie
           certain aspects of persistent pain [11].

           2. Neuropathic pain
           Neuropathic pain (NP) is a pathological process in the peripheral or central nervous system
           (CNS) defined by International Association for the Study of Pain (IASP) as pain caused by a
           lesion or disease of the somatosensory nervous system [12]. While many NP conditions are
           initiated by damage to the peripheral nervous system, their chronicity appears to rely on
           maladaptive processes within the CNS. Neuronal hyperexcitability and central sensitization
           lead to altered pain processing so that pain occurs spontaneously, and responses to noxious
           and innocuous stimuli are pathologically amplified [13]. The resulting symptoms include
           allodynia (pain which results from a stimulus that normally would not induce pain) and
           hyperalgesia. Patients experience paroxysms of burning, shooting, electrical sensations, as
           well as painful and non-painful numbness [14]. Examples of NP include postherpetic
           neuralgia (PHN), diabetic peripheral neuropathy (DPN), carpal tunnel syndrome, complex
           regional pain syndrome, and post-traumatic/post-surgical pain [15]. Pharmacologic
           treatments options for NP include antidepressants, anticonvulsants, topical local anesthetics
           and opioids [16,17].


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8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
                                                                                 and improvements    Page     48systems
                                                                                                         delivery of 210


           Clinical practice guidelines for NP have been published by a number of organizations,
           including the European Federation of Neurological Societies (EFNS) [18], the National
           Institute for Health and Care Excellence (NICE) of the UK [19], the International Association
           for the Study of Pain [20], and the Canadian Pain Society (CPS) [21].

           PHN is a painful neuropathic condition characterized by persistent allodynia or hyperalgesia
           in the area of a previous herpes zoster eruption [22]. It typically occurs in a unilateral
           dermatomal fashion, with the most common sites being the thoracic nerves and the
           ophthalmic division of the trigeminal nerve [23]. It is more common in the elderly and
           immune-compromised patients and has been reported to increase healthcare resource
           utilization and negatively impact quality of life (QoL) [22,24]. Various treatment guidelines are
           available, most of which recommend medications such as tricyclic antidepressants,
           gabapentin, lidocaine patch, and opioids for treating the pain of postherpetic neuralgia 0
           [18,20,25].

           Utility of lidocaine as a topical analgesic and improvements in patch delivery systems
           https://doi.org/10.1080/00325481.2019.1702296

           Published online:
           03 January 2020
           Table 1. Clinical practice guideline recommendations - postherpetic neuralgia.

            Download CSV           Display Table
           Clinical trials have found 5% lidocaine patch to be effective and well tolerated for the
           treatment of PHN with a minimal risk of systemic adverse effects or drug—drug interactions
           [26-28]. In the US, prescription strength lidocaine patches are FDA-approved only for the
           relief of pain associated with PHN. They have been recommended as a first-line treatment of
           PHN by the American Academy of Neurology guidelines (retired in 2018) [25], the European
           Federation of Neurological Societies [18] and second-line by the Canadian Pain Society 0
           [21].

           3. Lidocaine
           Lidocaine is an amide anesthetic and class 1-b antiarrhythmic. It was first synthesized and
           approved in the US in the 1940s. [29] It has utility both systemically and topically as an
           anesthetic and analgesic agent and is available in both prescription and over the counter
           (OTC) formulations including gels, creams and ointments, sprays, and patches (plasters).
           Lidocaine is a stable, crystalline, colorless solid whose hydrochloride salt is water-soluble
           [10]. Structurally, lidocaine contains an amide group as well as a tertiary amine. As an
           amine, lidocaine is in equilibrium between a positively charged cation and an uncharged,
           lipid soluble, free base. The uncharged, free base of lidocaine can readily penetrate the lipid


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8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
                                                                                 and improvements    Page     49systems
                                                                                                         delivery of 210


           matrix of the outer layer of skin. Lidocaine has a pKa of 7.9 and slightly basic conditions will
           favor formation of the free base and increase penetration. Lidocaine has an n-octanol/water
           coefficient of 43/1 at pH 7.4, making it lipophilic favoring distribution in tissues [30].

           Lidocaine's absorption is dependent upon the total dose administered, the route by which it
           is delivered, and blood supply to the site [10]. Similar to other local anesthetics, the
           mechanism of action of lidocaine for local or regional anesthesia is by reversible blockade of
           nerve fiber impulse firing. When applied topically, lidocaine needs to permeate through the
           skin to act as an anesthetic or analgesic. The outer layer of skin is made up of keratinized
           stratified squamous epithelium that it forms a permeability barrier that keeps water both in
           and out of the body. This barrier is largely produced by a lipid matrix that exists between the
           cells of the stratified squamous endothelium. Compounds that are polar and water-soluble
           cannot penetrate this barrier, but lipid-soluble compounds like lidocaine can and therefore
           reaches areas where peripheral nerve fibers are found.

           Topical lidocaine absorption will also be affected by the thickness and surface area of the
           stratum corneum at the site of application, local vascularity and the duration of application.
           Typically, the maximal penetration depth of lidocaine when applied topically is from 8 to 10
           mm [31]. Absorption is higher at mucosal sites [10] such as the mouth where lidocaine
           sprays are used for dental, anesthetic and surgical procedures. With currently available
           patches, the penetration of lidocaine into the skin produces an analgesic effect without
           producing a complete sensory block [32].

           Lidocaine pharmacokinetics have been studied in healthy volunteers, patients with chronic
           pain, and those with cardiac arrhythmias [10]. An intravenous bolus of lidocaine followed by
           continuous infusion typically yields therapeutic plasma levels in the range of 1.5-5 mcg/ml,
           with toxicity expected above those levels [10]. In the systemic circulation, lidocaine is rapidly
           metabolized by the liver and has a half-life of 1.5 to 2 h [32]. Metabolites produced from
           lidocaine include monoethylglycinexylidide (MEGX) and glycinexylidide (GX), both of which
           have activity similar to, but less potent than that of lidocaine [30].

           3.1. Lidocaine formulations
           Topically, lidocaine is available in gels, ointments (creams), sprays and patches — also
           referred to as plasters in some parts of the world, and more recently recognized by FDA as a
           `topical delivery system' (TDS) dosage form [33]. Prescription formulations have a multitude
           of indications, including the production of local or regional anesthesia by topical application
           to mucous membranes, infiltration and nerve blocks. As of now, lidocaine patch formulations
           are approved only for the treatment of PHN [30,32].




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8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
                                                                                 and improvements    Page     50systems
                                                                                                         delivery of 210


           Also available OTC, lidocaine has many uses including for the treatment of insect bites,
           minor burns, sunburn, other skin irritations, hemorrhoids, and back pain. These OTC
           products are not indicated for more advanced pain syndromes like neuropathic pain. The
           lidocaine concentration in these formulations is limited to a maximum of 4%, lower than the
           concentration in prescription formulations. It is noted that in 2003 FDA has expressed safety
           concerns over external (topical) analgesics in the patch, poultice, and plaster form and
           consequentially ruled that these dosage forms have not been determined to be generally
           recognized as safe and effective [34]. Marketing and promotion of OTC products fall under
           different regulatory requirements than prescription drugs; this leads to labeling of many of
           these products with indications (actual or implied) that are not supported by well-controlled
           clinical safety and efficacy studies. These preparations often lack openly available data on
           pharmacokinetics, with unknown maximum plasma concentration potentials — even with use
           as directed. As systemic absorption varies based on formulation, safety may be an issue
           with some OTC preparations — especially with multiple repetitive applications. There have
           been reports of great individual variability in absorption and metabolism for these products
           [35]. A 2012 study compared five commonly available lidocaine preparations (three of which
           were OTC) and their levels of systemic absorption when applied to the face. The OTC
           preparations had the highest serum lidocaine and MEGX levels. There were significant inter-
           individual differences between the serum levels of MEGX and lidocaine in four out of five
           groups [35]. This study demonstrated that although topical anesthetics are considered safe,
           some individuals had unpredictably high absorption levels that could possibly result in
           adverse events [35]. This study also demonstrated that the concentration of lidocaine, the
           formulation of the drug, and the individual patient all have significant effects on serum levels
           of lidocaine, especially with OTC preparations that may not have undergone the rigorous
           clinical trials or safety studies in humans as required by FDA for approved prescription
           products [35].

           Lidocaine may be combined with other anesthetics, such as prilocaine in a mixture of local
           anesthetics. An example of this is EMLATM, a topical cream, disc or patch (not available in all
           countries) containing 2.5% lidocaine and 2.5% prilocaine. With this product, local analgesia
           or anesthesia is achieved after 60 min with a duration of at least 2 h [36]. A gram of EMLATM
           cream contains 25 mg of lidocaine and 25 mg of prilocaine. EMLATM cream is indicated for
           topical analgesia of intact skin in connection with needle or catheter insertion, superficial
           surgical procedures or topical analgesia of leg ulcers. When using the cream, dosage and
           application time recommendations need to be carefully followed, especially in infants and
           children, as application to large surface areas for an extended amount of time can lead to
           adverse events including methemoglobinemia, seizures and life-threatening cardiovascular
           collapse [36].

           3.2. Safety of topical lidocaine



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8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
                                                                                 and improvements    Page     51systems
                                                                                                         delivery of 210


           Topical lidocaine is generally regarded as safe. Adverse reactions are typically dose-related
           and similar in nature to those observed with other local anesthetics. The most common
           adverse events are application site reactions, including skin irritation that is usually mild and
           transient [15,28,30,32]. Applying lidocaine topically allows the targeted delivery of lidocaine
           with low systemic exposure, hence a lower risk of systemic toxicity than with mucosal or
           intravenous administration. While the risk of systemic absorption of topical products is
           relatively low, overuse of OTC agents, compounding lidocaine in higher doses, using on
           broken or inflamed skin and occluding the site of application can lead to excessive exposure;
           patients should be counseled against use by these means [30,32,36]. Adverse systemic side
           effects may include dizziness, drowsiness, muscle twitches, seizures, respiratory distress,
           loss of consciousness, and cardiac arrest. [30,32,36] Caution should also be used while
           using lidocaine in patients receiving Class I antiarrhythmic drugs as the toxic effects are
           additive and potentially synergistic [30,32,36]

           4. Five percent lidocaine hydrogel patches
           Lidoderm®, the first lidocaine patch introduced in the US received FDA approved in 1999. It
           is a prescription 5% lidocaine hydrogel patch indicated for the treatment of neuropathic pain
           secondary to PHN [30]. The patches consist of an aqueous adhesive material (hydrogel)
           containing 5% lidocaine by weight — with 700 mg of lidocaine in 14 g of the adhesive material
           applied to a non-woven backing material and non-perforated polyethylene terephthalate
           (PET) release liner [30]. Per the label, up to three patches can be applied to the painful area
           for up to 12 h on, followed by 12 h off. The patches can be cut into smaller pieces to conform
           to localized painful areas. Analgesic data from PHN studies suggest that some subjects
           using lidocaine patches achieved pain relief within 30 min [30].

           Clinical trials that led to the approval of the 5% lidocaine hydrogel patch included a double-
           blind, crossover study and an enriched enrollment trial for relief of pain secondary to PHN
           [26,28]. Patients (n = 35) with PHN had the 5% lidocaine hydrogel patch, a placebo patch, or
           no treatment in separate sessions lasting 12 h. The 5% lidocaine patch reduced pain
           intensity at all time points from 30 min to 12 h compared to the placebo patch or to no-
           treatment. The patch was well tolerated without systemic side effects [26]. In the enriched
           enrollment trial, 32 patients who had been using the patch for at least 1 month were
           randomized to continue on the patch or to a placebo patch. The primary endpoint of the 14-
           day study was `time to exit', whereby subjects were allowed to exit based on their pain relief
           score. The median time to exit for the 5% lidocaine hydrogel patch was greater than 14 days,
           while with the vehicle patch it was 3.8 days - suggesting an analgesic benefit to the active
           treatment. At study completion, 25/32 (78.1%) of subjects preferred the lidocaine patch
           treatment phase as compared with 3/32 (9.4%) placebo (P < 0.001). No statistical difference
           was noted between the active and placebo treatments with regards to side effects [28].



https://www.printfriendly.com/p/g/gppFXj                                                                                   7/20
8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
                                                                                 and improvements    Page     52systems
                                                                                                         delivery of 210


           A small survey on a 5% lidocaine-medicated plaster examined long-term treatment in
           patients with localized neuropathic pain conditions [37]. Patients were queried about ease
           and duration of use, pain relief, tolerability and the development of tolerance over time. After
           36 months, half of the initial responders to the plaster continued its use with no obvious
           decline in effectiveness. After 5 years, 40% continued treatment and maintained effective
           analgesia. There were no intolerable adverse effects leading to discontinuation, but
           application site reactions were noted when using the patch beyond the indicated duration
           [37]

           A review of studies that focused on data related to safety and tolerability of the 5% lidocaine
           hydrogel patch found that the patch demonstrated good tolerability in both the short- and
           long term with a minimal risk for systemic adverse drug reactions [38]. Mean peak blood
           lidocaine concentrations for the 5% lidocaine hydrogel patch were reported to be 0.13 pg/mL
           [30], approximately 1/10 the blood concentration required to treat cardiac arrhythmia [30] and
           about 1/38 the concentration that produces toxicity [15]. Mild to moderate application site
           reactions were the most common adverse event associated with use of lidocaine patches
           [15,28,30,32].

           Clinical use and practice guidelines for lidocaine patches vary. FDA has approved lidocaine
           patches for the treatment of pain secondary to PHN [30,32]. Clinical guideline
           recommendations from the American Academy of Neurology (AAN), European Federation of
           Neurological Societies (EFNS) and Canadian Pain Society (CPS) for the treatment of PHN
           are summarized in . Lidocaine patches are recommended as first-line treatment by the AAN
           and EFNS and second-line by the CPS, though the AAN guidelines were retired in 2018
           [18,21,25].

           Although lidocaine patches are approved for the treatment of pain secondary to PHN in the
           US, wide-spread off-label use for other pain syndromes is reported. A study published in
           2012 showed that over 80% of usage of these patches was off-label, and 74% of the patients
           were prescribed this therapy for the treatment of non-neuropathic pain [39].

           5. Utility of topical lidocaine
           Although there is a lack of consensus among experts regarding the role of topical lidocaine
           in the treatment of pain, its use has been reported as beneficial in a variety of conditions
           which will be reviewed below.

           5.1. Postherpetic neuralgia
           A retrospective cohort analysis was done that assessed health-care utilization secondary to
           PHN and examined the medical records of a matched cohort of nearly 40,000 PHN patients
           treated between 2010 and 2014 [40]. This report found that recommended first-line


https://www.printfriendly.com/p/g/gppFXj                                                                                   8/20
8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
                                                                                 and improvements    Page     53systems
                                                                                                         delivery of 210


           medications including lidocaine patch, pregabalin, and tricyclic antidepressants — were
           underutilized in PHN patients. Instead, second- or third-line treatments (i.e. opiates and
           capsaicin) or NSAIDs (which are not recommended and have been shown in a meta-
           analysis to be ineffective for NP [41]) were frequently used as the initial treatment [40]. After
           no treatment (32% of patients), opioids were the most common initial treatment used (22% of
           PHN patients), followed by gabapentin (15% of PHN patients) and NSAIDs (9% of PHN
           patients). Lidocaine patches were only used initially in 8% of PHN patients. The use of opioid
           therapy initially led to higher excess health-care costs relative to the costs of matched
           patients who were started on recommended first-line therapies. The data suggest an
           opportunity for improved adherence to painful PHN practice guidelines for first-line therapy
           [40]. Greater adherence to the guidelines also has the potential to lead to less use of opioids
           and therefore decreased risks associated with their usage [40].

           There is evidence that using lidocaine patches as an adjunct or in combination with other
           therapies can be effective with relief of pain secondary to PHN [15]. A post hoc analysis of
           two open-label, nonrandomized, prospective, multicenter clinical trials in PHN patients who
           experienced insufficient pain relief with NSAIDS, opioids, TCAs, and gabapentenoids found
           that adding the lidocaine patches to their existing therapy resulted in significant effects in
           reducing pain and improving the QoL [15]. This further supports the use of topical lidocaine
           in the multimodal treatment of NP.

           Thus, there is enduring evidence for the effectiveness of lidocaine patches for treating pain
           secondary to PHN with a low risk of systemic adverse events. Better education is needed so
           that clinicians can appropriately follow NP guidelines including the use of first-line therapies
           such as topical lidocaine for refractory painful PHN.

           5.2. Diabetic peripheral neuropathy
           Although not indicated for the treatment of DPN, some studies suggest that topical lidocaine
           may be a useful therapy for the treatment of DPN. Reviews on the use of lidocaine patches
           to treat DPN have been published [42,43]. Two studies on treatment of pain associated with
           DPN of 4 weeks duration directly compared lidocaine patches to oral pregabalin [44,45] and
           there are three open-label studies of the patches in DPN [46-48]. The results of a systematic
           review of treatments for DPN of that compared the lidocaine patch to other interventions
           including placebo suggested that the lidocaine patches were comparable for pain reduction
           to amitriptyline, capsaicin, gabapentin, and pregabalin and may be associated with fewer
           and less significant adverse side effects as compared to these mostly systemic agents[42].
           The authors of the review concluded that the results are limited by the number and size of
           the studies and that further studies are warranted[42].

           5.3. Carpal tunnel syndrome


https://www.printfriendly.com/p/g/gppFXj                                                                                   9/20
8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
                                                                                 and improvements    Page     54systems
                                                                                                         delivery of 210


           Three pilot studies suggest that topical lidocaine may be effective and safe in treating carpal
           tunnel syndrome [49—51]. In the first of these studies, daily use of the 5% lidocaine hydrogel
           patch was compared to a single injection of lidocaine plus methylprednisolone for 4 weeks in
           40 randomized patients[49]. In the second study, the 5% lidocaine hydrogel patch was
           compared to naproxen 500 mg twice daily for 6 weeks of treatment in 100 randomized
           patients[50], and the third study compared EMLA cream (lidocaine 2.5% plus prilocaine
           2.5%) to a single injection of methylprednisolone acetate 40 mg in 65 randomized patients
           for 4 weeks of treatment[51]. In each of these studies, effective pain relief was reported for
           the topical lidocaine groups [49-51]. Suggesting topical lidocaine may be useful for
           treatment of pain secondary to carpal tunnel syndrome. As this painful condition represents a
           significant source of disability, further studies are warranted.

           5.4. Lower back pain (LBP)
           Chronic LBP may consist of both nociceptive and neuropathic components for which
           lidocaine patches may be of benefit [52]. Treatment of patients with moderate to severe LBP
           with the lidocaine patch was studied in two uncontrolled, open-label, 6-week, pilot studies
           [53,54]. There were 71 and 131 subjects in these two studies. In each study, the patch
           significantly reduced pain intensity and improved the patients' QoL [53,54]. Several studies
           suggest that the lidocaine patch can be combined with oral therapies or used as an add-on
           therapy. A prospective, open-label, add-on, 2-week, pilot study of 28 patients with moderate
           to severe LBP who had only a partial response to gabapentin-containing analgesic regimens
           found the lidocaine patch provided significant improvements of all composite measures of
           the neuropathic pain scale [47]. In an open-label, multicenter, 2-week, pilot study of 71
           patients with LBP and a partial response to gabapentin-containing analgesic regimens, add-
           on treatment with the lidocaine patch led to significant improvements in pain intensity and
           pain relief scores and to significant improvements for all domains of QoL measurements [48].
           Although lidocaine is not indicated for LBP, these limited studies suggest that lidocaine
           patches combined with oral therapies may be a treatment option for patients with LBP [52].
           As low back pain is a significant cause of disability and opioid utilization in the US, further
           research on topical analgesics in this condition is clearly warranted.

           5.5. Osteoarthritis pain
           The efficacy of the lidocaine patch has been studied in trials in a total of 257 patients with
           osteoarthritis (OA) of the knee. A prospective, open-label, 2-week, multicenter, monotherapy
           study of the lidocaine patch in 20 patients who had inadequate relief of pain with current
           analgesics found that use of the lidocaine patch led to significant improvement in the
           WOMAC (Western Ontario and McMaster Universities Arthritis Index) score, in pain intensity
           and in QoL measurements [55]. A prospective, open-label, 2-week, multicenter, add-on
           therapy trial of the lidocaine patch in 137 patients with OA of the knee and who had an
           incomplete response to stable analgesic therapy found significant improvement in pain

https://www.printfriendly.com/p/g/gppFXj                                                                                   10/20
8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
                                                                                 and improvements    Page     55systems
                                                                                                         delivery of 210


           intensity, WOMAC sum score and QoL [56]. The third study, a prospective, open-label, 2-
           week, multicenter, monotherapy, and add-on therapy trial of 100 subjects with OA of the
           knee found significant improvement in all four Neuropathic Pain Scale composite measures
           for both monotherapy and for add-on therapy [57]. Although it is not indicated for treatment
           of OA, these open-label trials suggest that the lidocaine patch could prove useful as an
           adjunct therapy for OA, although confirmation is needed from randomized, controlled trials.

           6. New developments in topical lidocaine formulations

           6.1. Anhydrous lidocaine topical system 1.8%
           A new prescription topical lidocaine patch uses a novel drug delivery technology for topical
           lidocaine (ZTlido TM , Scilex Pharmaceuticals, Inc.) [32]. It received FDA approval for treating
           PHN and entered the US market late in 2018. This new patch system (note: FDA has
           redefined this dosage form from `patch' to `system', but the terms are interchangeable for this
           discussion) offers significant advantages over the hydrogel lidocaine patch and its generic
           equivalents. With the 1.8% system, there is more efficient delivery of lidocaine that requires
           a lower drug load to achieve the same therapeutic effect and superior adhesion that allows
           the patch to remain in better contact with the skin during the 12-h dosing period [32].

           With the original 5% lidocaine patch and most of its generics, the lidocaine is included as
           part of a hydrogel adhesive mixture [30]. These patches have high water content within the
           gel polymer system that results in a thicker and heavier adhesive patch. The original 5%
           lidocaine hydrogel patch contains 700 mg of lidocaine, yet only delivers a small amount of
           lidocaine to and through the skin [30]. Approximately 3 ± 2% of the lidocaine in the patch
           reaches systemic circulation and at least 665 mg remains in the patch after use [30].

           Accidental exposure to the large amount of residual drug remaining in the patch may present
           safety issues not only to the patient but also to others including family members, caregivers,
           children, and pets [30]. A Guidance for Industry was issued by FDA concerning this issue
           with transdermal drug delivery systems (TTDS), transmucosal drug delivery systems
           (TMDS), and topical patches [58]. Safety issues may arise with these drug delivery systems
           because of the large amount of drug remaining in the used product. The Guidance gives
           examples of adverse events arising from overdosing because of a patient's failure to remove
           TTDS after the end of the intended use period, and children dying from inadvertent exposure
           to discarded TTDS [58]. Prescribing information for 5% lidocaine patches and associated
           generics contain warnings about the `large' amount of lidocaine remaining in the used patch,
           accidental exposure in children and pets, and excessive dosing from applying the patches
           for longer than recommended [30].




https://www.printfriendly.com/p/g/gppFXj                                                                                   11/20
8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
                                                                                 and improvements    Page     56systems
                                                                                                         delivery of 210


           In contrast, the recently approved 1.8% lidocaine topical system contains only 36 mg of
           lidocaine per patch (compared to 700 mg in the hydrogel patch) [30,32]. It consists of a thin,
           single-layer anhydrous adhesion system that serves two functions: (1) less drug is needed
           within the patch to achieve therapeutic effect, and (2) improved adhesion. These
           improvements are made without compromise to the dermal safety of the product, which is
           reflected in the same local tolerance between the 1.8% lidocaine topical system and 5%
           lidocaine patches. The delivery of lidocaine from the anhydrous 1.8% lidocaine topical
           system is more efficient than it is from the 5% lidocaine hydrogel patch resulting in a
           significant difference in bioavailability (-48% versus -3%). Despite the significant difference
           in the amount of lidocaine in the patches, a single-dose, crossover, pharmacokinetic (PK)
           bioequivalence study showed that the anhydrous 1.8% lidocaine topical system
           demonstrated equivalent exposure (AUC) and peak concentration (Cmax) as the 5%
           lidocaine hydrogel patch [32,59]. These bioequivalence data demonstrate that 1.8%
           lidocaine topical systems deliver an equivalent amount of lidocaine as the 5% lidocaine
           hydrogel patch despite having a significantly lower drug load (36 mg versus 700 mg) and
           consequentially a lower product strength (1.8% versus 5%) [30,32]. Likewise, only a small
           amount of lidocaine will remain in the transdermal lidocaine 1.8% system patch after use,
           which is reflected in the label and contrasts with the 5% lidocaine patch labels that warn
           against the large amount of residual drug [30,32].

           The 5% lidocaine patch and the 1.8% lidocaine topical system are similar in size (10 cm x 14
           cm), but the adhesive composition and biopharmaceutical dynamics also allows for a
           significantly thinner patch (system) (0.8 mm vs. 1.71 mm). The thinness of 1.8% topical
           lidocaine system along with the malleability of the nonaqueous polymer adhesive allows for a
           pliable patch that maintains contact with the skin during activity and at contour-challenged
           areas of the body. Like the 5% patch, the 1.8% lidocaine topical system can be cut into
           smaller pieces to conform to localized painful areas of the skin [30,32].

           7. Adhesion of lidocaine patches
           A commonly reported issue with topical patch products including the 5% lidocaine hydrogel
           patch is adhesion. FDA Adverse Events Reporting System found that for the lidocaine patch,
           about 70% of concerns reported regarded poor product adhesion [60]. This is a much higher
           rate compared with other patch products such as buprenorphine, fentanyl or nicotine patches
           [60]. Sustained and uniform adhesion of the patch is important for drug delivery and hence
           effectiveness.

           An October 2018 draft FDA guidance provided recommendations for the design and conduct
           of studies evaluating the adhesive performance of a transdermal or topical delivery system
           (TDS) [33]. For the comparative assessment of adhesion, a 5-point adhesion scale was
           recommended in which each score corresponds to a specified range of adhered surface
           area for the TDS [33]. In a 54 subject clinical adhesion performance study with the 1.8%

https://www.printfriendly.com/p/g/gppFXj                                                                                   12/20
8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
                                                                                 and improvements    Page     57systems
                                                                                                         delivery of 210


           lidocaine topical system, 47 subjects (87%) had adhesion scores of 0 (≥90% adhered) for all
           evaluations performed every 3 h during the 12 h of administration, seven subjects (13%) had
           adhesion scores of 1 (≥75% to <90% adhered) for at least one evaluation, and no subjects
           had scores of 2 or greater (<75% adhered) [32]. At the 12-h time point, 49 subjects (91%)
           had a score of 0 (≥90% adhered), supporting the advanced adhesion technology utilized in
           the formulation [32].

           The superior adhesion profile of the 1.8% lidocaine topical system relative to 5% lidocaine
           patches was also demonstrated in a separate comparative clinical adhesion study [61,62].
           With the 1.8% lidocaine topical system, 75% of the patches maintained ≥90% adhesion for
           12 h compared while only 13.6% of the 5% lidocaine hydrogel patches maintained this level
           of adhesion over the same treatment period [61,62]. In a third study, the adhesion of the
           1.8% lidocaine topical system was compared with a generic (Mylan Pharmaceuticals Inc.
           Morgantown, WV) 5% lidocaine patch [62]. The 1.8% system maintained a mean adhesion
           >90% across all time points (0, 3, 6, 9, and 12 h) whereas the generic 5% patch had a mean
           adhesion of 80% at Time 0 (i.e., immediately after patch application) that progressively fell
           below a mean of 50% before 6 h [62]. This specific 5% lidocaine (Mylan) generic was
           selected for this third study because is not a hydrogel adhesive system and like 1.8%
           lidocaine topical system, it too involves a thin single-layer nonaqueous adhesive and has a
           lower drug load versus the original patch (140 mg versus 700 mg) [63]. Yet this 5% generic
           non-hydrogel system was observed to have distinctly worse adhesion profile compared to
           both the original 5% lidocaine patch and 1.8% lidocaine topical system [62]. While this
           disparity is expected relative to 1.8% lidocaine topical system, this finding is surprising
           relative to the original 5% lidocaine patch as the generics are expected to have comparable
           adhesion performance (along with bioequivalent PK and comparable dermal irritation profile).
           Further studies may be warranted to confirm the disparity.

           The superior adhesion profile of the 1.8% lidocaine topical system should contribute to
           consistent drug delivery, minimize inappropriate patch replacements, and may have potential
           patient compliance and pharmacoeconomic benefits. Equally important is that the
           improvement in adhesion does not come at a sacrifice to dermal sensitization and irritation.
           In a provocative dermal sensitization and irritation clinical study (1.8% lidocaine topical
           system versus 5% lidocaine patch), both products presented with no sensitization [59], with a
           mean irritation score of 0.37 versus 0.04, respectively, on a 0-7 scale where a score of 0 is
           no irritation and a score of 7 is a strong reaction spreading beyond the application site.
           Although the 1.8% lidocaine topical system presented with statistically worse irritation, the
           mean irritation scores for both products were well below a score of 1 (barely perceptible
           erythema) are not considered clinically significant [59]. These data, along with formal
           irritation assessments performed in other sponsor-conducted studies, lead to 1.8% lidocaine
           topical systems having the same local tolerance/application site reactions language in the
           labels [30,32,59].


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8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
                                                                                 and improvements    Page     58systems
                                                                                                         delivery of 210



           8. Conclusions
           Topical analgesic benefits include targeted drug delivery, avoidance of the oral route and
           relative lack of systemic adverse effects. Local anesthetics block nociceptive signals and are
           of benefit when treating acute and chronic nociceptive and neuropathic pain. Lidocaine has
           proven effective as a topical analgesic, with a variety of prescription and OTC formulations
           available. There is a general lack of data regarding the safety, effectiveness, and
           pharmacokinetics of OTC lidocaine preparations. A newer and thinner topical lidocaine patch
           system has shown superior adhesion and a more efficient and consistent delivery of
           lidocaine, which may prove to be of benefit when treating neuropathic pain secondary to
           PHN. Prescription lidocaine patches are FDA approved for the treatment of pain related to
           PHN and are included in neuropathic pain management guidelines, which should be a focus
           of education for clinicians who treat these patients.

           Table 1. Clinical practice guideline recommendations - postherpetic neuralgia.

                                First line           Second line                 Third line                 Fourth line

            AAN                 Gabapentin      Topical aspirin                  Acupuncture                Biperidin
            (Dubinsky           Lidocaine       Topical capsaicin                Benzydamine                Carbamazepine
            et al [25].         Patch           Methylprednisolone               cream                      Chlorprothixene
            (Guidelines         Tricyclic                                        Dextromethorphan           Cryocautery
            retired             antidepressants                                  Indomethacin               Dorsal root entry
            Feb. 2018)          Pregabalin                                       Lorazepam                  zone lesion
                                Opioids                                          Vincristine                Extract of
                                                                                 iontophoresis              Ganoderma
                                                                                 Vitamin E                  lucidum
                                                                                 Zimelidine                 He:Ne laser
                                                                                                            irradiation
                                                                                                            Ketamine
                                                                                                            Methylprednisolone,
                                                                                                            iontophoresis
                                                                                                            Morphine sulfate,
                                                                                                            epidural
                                                                                                            Nicardipine
                                                                                                            Piroxicam, topical
                                                                                                            Stellate ganglion
                                                                                                            block
                                                                                                            Triamcinolone,
                                                                                                            intralesional




https://www.print-friendly.com/p/g/gppFXj                                                                                     14/20
8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
                                                                                 and improvements    Page     59systems
                                                                                                         delivery of 210



                               First line            Second line                 Third line                 Fourth line

            CPS [21]           Gabapentinoids Tramadol                           Cannabinoids               SSRIs
                               Tricyclic       Opioids                                                      Lamotrigine
                               antidepressants Lidocaine Patch                                              Lacosamide
                                                                                                            Topiramate
                                                                                                            Valproic acid
                                                                                                            Methadone

            EFNS [18]          Gabapentinoids Topical Capsaicin
                               Tricyclic       Opioids
                               antidepressants
                               Lidocaine
                               Patch

           AAN, American Academy of Neurology; CPS, Canadian Pain Society; EFNS, European
           Federation of Neurological Societies; SNRIs, Serotonin and norepinephrine reuptake
           inhibitors.


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           provided by James Bergstrom, PhD.


           Declaration of interest
           Dr. Gudin reports other from AcelRx Pharmaceuticals, other from BioDelivery Sciences
           International, other from Averitas Pharma, other from KemPharm, other from Mallinckrodt
           Pharmaceuticals, other from Nektar Therapeutics, other from Quest Diagnostics, other from
           Scilex Pharmaceuticals, other from Salix Pharmaceuticals, and other from Virpax
           Pharmaceuticals outside the submitted work.

           Dr. Nalamachu has received honorarium from Scilex and received consulting
           fee/honorarium/research grants from Collegium, Endo, Pfizer, BDSI, Pernix, Daichi and Lilly
           in the past 1 year.


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8/23/22,             Case 4:22-cv-02625-HSG           Document
                                      Utility of lidocaine as a topical 22-2
                                                                        analgesicFiled  08/24/22in patch
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8/23/22,             Case 4:22-cv-02625-HSG           Document
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https://www.printfriendly.com/p/g/gppFXj                                                                                   20/20
Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 65 of 210




EXHIBIT 13
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
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           Open-Label Adhesion Performance Studies of a New
           Lidocaine Topical System 1.8% versus Lidocaine Patches
           5% and Lidocaine Medicated Plaster 5% in Healthy
           Subjects
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           Jeffrey Gudin,1'2 Lynn R Webster,3 Emileigh Greuber,4 Kip Vought,4 Kalpana Patel,4 and
           Louis Kuritzky5
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           This article has been cited by other articles in PMC.

           Abstract

           Purpose
           The primary objective was to evaluate adhesion performance of the lidocaine topical system
           1.8% for 12 hours in healthy human subjects in three studies: as a single product (Study 1)
           and versus other lidocaine topical products (lidocaine patch 5% and lidocaine medicated
           plaster 5% [Study 2] and generic lidocaine patch 5% [Study 3]). Safety of the lidocaine
           topical system 1.8%, with a skin irritation focus, was a secondary objective.

           Patients and Methods
           All three studies were open-label, randomized, Phase 1 adhesion performance studies in
           healthy adult volunteers (N=125). Lidocaine topical products were applied for 12 hours per
           test, per study arm. Adhesion of all test products was scored at 0, 3, 6, 9, and 12 hours post-
           application. Skin irritation was scored after product removal or when a product detached.


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8/23/22,            Case 4:22-cv-02625-HSG
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                                 Adhesion Performance Studies of a New 22-2
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           Results
           Overall, the majority (≥75%) of subjects treated with the lidocaine topical system 1.8%
           demonstrated ≥90% adhesion (FDA adhesion score 0) throughout the 12-hour administration
           period versus 13.6% of subjects treated with lidocaine patch 5%, 15.9% of subjects treated
           with lidocaine medicated plaster 5%, and 0% of subjects treated with the generic lidocaine
           patch 5%. There were no complete detachments with the lidocaine topical system 1.8%,
           whereas 4.5% of lidocaine patch 5% and lidocaine medicated plaster 5% detached, and 29%
           of generic lidocaine patch 5% detached. Minimal skin irritation was observed with each
           lidocaine topical product.

           Conclusion
           Across three studies, lidocaine topical system 1.8% demonstrated superior adhesion
           performance versus the three other products tested. Skin irritation was minimal across
           products and studies.

           Clinicaltrials.gov
           NCT04312750, NCT04320173, NCT04319926.

           Keywords: lidocaine topical system, lidocaine patch, lidocaine medicated plaster, adhesion,
           postherpetic neuralgia

           Introduction
           An estimated 1 million individuals in the United States are diagnosed with herpes zoster
           (shingles) each year following reactivation of a childhood infection with varicella-zoster
           virus.1,2 According to the US Centers for Disease Control and Prevention and health
           authorities in other countries, the incidence of herpes zoster has been gradually increasing in
           adults for several years, for reasons that are not well understood, although rates among
           older adults have plateaued since 2008.1 Postherpetic neuralgia (PHN) is the most common
           long-term complication of herpes zoster and is generally diagnosed in individuals who have
           recovered from the herpes zoster skin rash but continue to experience pain for at least 3
           months.3 Depending on their age and the PHN definition used, 20% to 50% of individuals
           with herpes zoster will experience PHN." Advanced age and immunocompromised states
           are significant risk factors for developing both herpes zoster and PHN, as approximately half
           of all PHN cases occur in individuals aged >60 years.34

           PHN is characterized by neuropathic pain isolated to the dermatome(s) affected by the virus
           and can be debilitating. It is a chronic condition that can persist for years in some patients
           and is often challenging to treat.2-4 It is a major driver in herpes zoster—related disease
           burden and cost.5 Currently, there is no available cure for PHN; thus, medical management


https://www.printfriendly.com/p/g/BWq2sZ                                                                                               2/25
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
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           focuses on palliative treatments and strategies to shorten the duration or lessen the
           symptom burden.3 Due to the persistent and often refractory nature of the neuropathic pain
           associated with PHN, combination therapy with systemic and topical analgesics is often
           utilized in an attempt to optimize patient outcomes.2 Systemic therapies may include
           antidepressants, anticonvulsants, and opioids; opioids have remained the most frequently
           used first-line therapy, despite lack of support by the current body of evidence and potential
           for abuse or diversion.3,6

           Topical patches and other delivery systems have been developed to deliver drugs, such as
           lidocaine, locally for the treatment of PHN.2-4'7 Topical delivery may have clinical
           advantages, including specifically targeting the site of pain with the delivery of drugs to the
           affected area, thereby posing a low risk of systemic toxicity or drug—drug interactions and
           potentially avoiding some of the adverse events (AEs) associated with commonly used
           systemic medications.7-9 This is particularly important in older patients, who may have
           impaired hepatic and/or renal function, and for those in whom AEs can be a limiting factor in
           treatment compliance.3

           Lidocaine is an amide-type local anesthetic agent that stabilizes neuronal membranes by
           inhibiting the ionic fluxes required for initiation and conduction of nerve impulses (ie, pain
           signals).1° Because topically applied lidocaine is reported to penetrate only about 8 to 10
           mm into the skin, it is well suited for targeted use in peripherally localized pain.11,12
           Penetration of lidocaine after application of the lidocaine patch 5% was sufficient to produce
           an analgesic effect, but less than the amount necessary to produce a complete sensory
           block.13 In 1999, the US Food and Drug Administration (FDA) granted approval for
           Lidoderm® (lidocaine patch 5%; Endo Pharmaceuticals Inc., Malvern, PA) as the first
           medication specifically indicated for the treatment of PHN.8,13,14 The drug product was
           approved in Europe in 2007, designated as lidocaine "medicated plaster".15 Generic
           lidocaine patch 5% products were introduced to the market by Actavis Laboratories UT Inc.
           (Salt Lake City, UT) in August 2012 and Mylan Pharmaceuticals Inc. (Morgantown, WV) in
           August 2015.16,17

           FDA recently moved to use of a standardized nomenclature for topical or transdermal
           dosage forms, referred to as "systems" instead of "patches." In February 2018, FDA
           approved ZTlido® (lidocaine topical system 1.8%; Scilex Pharmaceuticals Inc., San Diego,
           CA), which is indicated for relief of pain associated with PHN.10 The lidocaine topical system
           1.8%, lidocaine medicated plaster 5%, and lidocaine patch 5% products are all topical
           dosage forms (ie, they all deliver lidocaine topically to the site of pain). The lidocaine topical
           system 1.8% is a thin and flexible anhydrous lidocaine delivery system that was developed
           to provide transcutaneous lidocaine exposure equivalent to the prescription lidocaine 5%
           products (lidocaine patch 5% and lidocaine medicated plaster 5% in the United States and
           European Union, respectively), with a significantly reduced drug load per system (36 mg vs
           700 mg).10,13 Approval of the lidocaine topical system 1.8% was based, in part, on its

https://www.printfriendly.com/p/g/BWq2sZ                                                                                               3/25
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    69 ofPatches
                                                                                                           Lidocaine 210 5% and Lidocain...


           demonstrated bioequivalence to the lidocaine patch 5%, allowing for comparable pain relief
           with greater bioavailability of lidocaine.18,1° Thus, with the same surface area, 140 cm2, one
           dose of the lidocaine topical system 1.8% provides lidocaine exposure equivalent to one
           lidocaine patch 5%.10:19

           Although it has been established that topical lidocaine provides effective analgesia for
           individuals with PHN, it is generally understood that the adhesive performance of a topical or
           transdermal delivery system is an essential factor in bioavailability because suboptimal
           adhesion may affect drug exposure and achievement of a therapeutic dose.2°,21 FDA has
           received numerous reports of adhesion failure—including edge curling, partial lifting, or
           complete detachment of patches—that have resulted in improper dosing as well as repeat
           application, leading to increased cost. Approximately 69% of AEs reported to the FDA
           Adverse Event Reporting System for topical lidocaine 5% patches from 2013 to 2018 were
           related to product adhesion issues (1347 adhesion issues out of 1936 reported total AE
           cases).22

           Three studies were conducted to characterize the adhesion of the lidocaine topical system
           1.8%. The first study was designed to assess the adhesion performance of the topical
           system in healthy human subjects over 12 hours, a maximum application period described in
           the product labeling.10 The subsequent two studies then compared the adhesion
           performance of the lidocaine topical system 1.8% to that of three other prescription products
           in common use: lidocaine patch 5%, and lidocaine medicated plaster 5% in Study 2, as well
           as a newer US generic lidocaine patch 5% from Mylan Pharmaceuticals Inc. in Study 3
           (Table 1). Safety of the lidocaine topical system 1.8% was also monitored throughout the
           studies.

           Table 1
           Characteristics of Studied Lidocaine Topical Products

                                                                                Lidocaine
                               Lidocaine Topical                                Medicated Plaster         Mylan Lidocaine
                               System 1.8%             Lidocaine Patch 5%       5%                        Patch 5%

            Formulation        Nonaqueous polymer      Hydrogel                  Hydrogel                 Nonaqueous polymer

            Lidocaine          36mg (18 mg per         700mg (50 mg per         700 mg (50 mg per         140 mg (50 mg per
            content            gram of adhesive:       gram of adhesive:        gram of adhesive:         gram of adhesive:
                               1.8%)                   5%)                      5%)                       5%)

            Bioavailability    - 45%                   -3 ± 2%                  -3 ± 2%                   -11 ± 4%

            Residual drug      -20 mg                  ≥ 665 mg                 ≥ 665 mg                  -115 mg

            Release liner      Perforated              Not perforated            Not perforated           Not perforated


https://www.printfriendly.com/p/g/BWq2sZ                                                                                               4/25
8/23/22,             Case 4:22-cv-02625-HSG
                       Open-Label                       Document
                                  Adhesion Performance Studies of a New 22-2
                                                                        LidocaineFiled
                                                                                  Topical08/24/22     Page
                                                                                         System 1.8% versus    70 ofPatches
                                                                                                            Lidocaine 210 5% and Lidocain...



                                                                                 Lidocaine
                               Lidocaine Topical                                 Medicated Plaster         Mylan Lidocaine
                               System 1.8%              Lidocaine Patch 5%       5%                        Patch 5%

            Size               10 cm x 14 cm            10 cm x 14 cm            10 cnn x 14 cm            10 cm x 14 cm

            Thickness          0.08 cm                  0.16 cm                   0.16 cm                  0.02 cm

            Weight             2 g adhesive             14 g adhesive            14 g adhesive             2.8 g adhesive


           Open in a separate window
           Notes: ZTLIDO® (lidocaine topical system) 1.8% Prescribing Information. 11/2018.
           LIDODERM® (lidocaine patch 5%) Prescribing Information. 01/2015. VERSATIS® (lidocaine
           medicated plaster 5%) Prescribing information. 07/2018. Mylan Lidocaine Patch 5%
           Prescribing information. 01/2015.


           Methods

           Study Design
           All three studies were Phase 1 adhesion performance studies. Study 1 was an open-label,
           single-treatment, single-period, single-application study; Study 2 was an open-label,
           randomized, single-treatment, 3-period, single-application study; and Study 3 was an open-
           label, randomized, 2-treatment, 2-period, single-dose study. The studies were conducted at
           single clinical sites in the United States: Studies 1 and 3 at AXIS Clinicals, Dilworth, MN, and
           Study 2 at TKL Research Inc., Fair Lawn, NJ. Study 1 was approved by the Salus
           Institutional Review Board, and Studies 2 and 3 were approved by the IntegReview Board
           (both central IRBs in Austin, TX). All three studies were conducted in accordance with the
           ethical principles originating from the Declaration of Helsinki and amendments, ICH
           Guideline for Good Clinical Practice, FDA Guidance for Industry: Assessing Adhesion With
           Transdermal and Topical Delivery Systems for ANDAs, and local regulatory
           requirements.23,24 Study 2 was also performed in accordance with Appendix II (In Vivo Skin
           Adhesion) of the European Medicines Agency Guideline on the Pharmacokinetic and Clinical
           Evaluation of Modified Release Dosage Forms.25 These studies were registered at
           Clinicaltrials.gov with the clinical trial registration numbers: NCT04312750, NCT04320173,
           and NCT04319926.

           Subjects
           The studies were performed in healthy adult human volunteers with similar inclusion and
           exclusion criteria. Eligible subjects were men or women ≥18 years of age, with a body mass
           index between 18 and 36 kg/m2 (Study 1) or 18 and 30 kg/m2 (Studies 2 and 3). Subjects
           were nonsmokers and generally healthy, as documented by medical history, physical

https://www.printfriendly.com/p/g/BWq2sZ                                                                                                5/25
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    71 ofPatches
                                                                                                           Lidocaine 210 5% and Lidocain...


           examination (including evaluation of cardiovascular, gastrointestinal, respiratory,
           musculoskeletal, and central nervous systems), and vital signs assessments, with no
           evidence of underlying disease during check-in and screening performed within 28 days of
           check-in. Female subjects could not be pregnant or lactating, and those of childbearing age
           were instructed to practice medically acceptable contraception throughout the study. All
           subjects provided prior written informed consent and were able to comply with study
           procedures.

           Exclusion criteria included evidence of allergy or known hypersensitivity to lidocaine, local
           anesthetics of the amide type, or any of the components of the lidocaine topical system
           formulations; any major illness in the last 3 months or any significant ongoing chronic
           medical illness; history of addiction, abuse, and misuse of any drug; alcohol abuse within the
           prior 12 months; ingestion of prescription medication or any hormonal medication (except
           hormonal contraceptives) at any time in 14 days prior to study product application; and use
           of over-the-counter medications within the prior 5 days.

           Of relevance to dermatologic adhesion studies, subjects could not have the following: history
           of significant dermatologic cancers (eg, melanoma, squamous cell carcinoma), except basal
           cell carcinomas that were superficial and did not involve the investigative site; presence of
           any current dermatologic condition (eg, psoriasis, eczema, atopic dermatitis) or any skin
           condition such as scratches, cuts, scars, abrasions, excessive hair, tattoos, moles, recently
           shaved skin, uneven skin texture, irritated skin (redness, rash, blisters, etc.), or excessively
           oily skin at the application areas that may have affected the application or adhesive
           properties of the study products; and medical history of hyperhidrosis, or otherwise history of
           excessive sweating under non-exercising conditions.

           Treatments
           Prior to topical product application, the hair on the application site was clipped if necessary
           (not shaved) by clinical staff. The area was checked to ensure the absence of any skin
           conditions (eg, broken skin, moles, uneven skin texture) and was cleaned only with water (no
           soaps or cleansing agents) and allowed to air-dry. Each product was applied away from any
           significant folds or creases and at least 1 inch away from the spine. The application involved
           pressing the product firmly into place, holding it with the palm of the hand for up to 15
           seconds, and smoothing it to prevent trapping of air bubbles. No overlays, adhesive tapes,
           bandages, or similar products were applied during the application period.

           In Study 1, a single lidocaine topical system 1.8% was applied to a fixed area on either the
           left or right side (per randomization schedule) of the lower/middle back. In Study 2, one of
           the three products, the lidocaine topical system 1.8%, lidocaine patch 5%, or lidocaine
           medicated plaster 5%, was applied over a predetermined fixed area on either the left or right
           side of the upper back (per randomization schedule). Each subject received all three


https://www.printfriendly.com/p/g/BWq2sZ                                                                                               6/25
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    72 ofPatches
                                                                                                           Lidocaine 210 5% and Lidocain...


           products (one in each study period), with the order of products determined by randomization
           to one of six treatment sequences. The lidocaine topical system 1.8% was randomized to be
           applied on one side, and the lidocaine patch 5% or lidocaine medicated plaster 5% was
           applied contralaterally at the same anatomical location during their respective subsequent
           periods. In Study 3, one lidocaine topical system 1.8% or one generic lidocaine patch 5%
           was applied over a predetermined fixed area on the upper back (per randomization
           schedule). Each subject received both products (one in each application period), with the
           order of products determined by randomization.

           Throughout all studies, products were worn for 12 hours (±15 minutes) in each application
           period, which occurred during daylight hours (morning to evening). Products were removed
           and discarded per protocol guidelines, and the application site was gently wiped with dry
           gauze. Washout intervals occurred between consecutive application periods when more than
           one product was evaluated: a 7-day washout was used between periods I and II and periods
           II and III in Study 2, and a 12-hour washout was used between periods I and II in Study 3.

           Subject Compliance
           The use of soap or topical products (eg, lotion, oil, makeup, powder) was not permitted on
           the study product application site for 48 hours prior to product application and throughout the
           entire duration of the study. Subjects were instructed not to wash off or wet the application
           area until after the 12-hour post-removal irritation assessment was performed. They were
           instructed to avoid rubbing, pulling, scratching, or touching the product or performing any
           other activity that might cause the product to be displaced. Specifically, they were to avoid
           putting pressure between the product and other objects (eg, walls, chairs, beds) for
           prolonged periods. They could not participate in any strenuous activity but could ambulate
           and perform activities freely if these required no physical exertion or did not hamper product
           adhesion. They were not allowed to press down or re-adhere any product that was lifting or
           detaching. Subjects were also required to avoid exposing the product to external sources of
           direct heat (eg, hair dryers, heating pads, heat lamps, saunas).

           Prior and Concomitant Therapy

           Subjects could not use prescription medications, except for hormonal contraception, within
           14 days prior to the first product application and throughout the study. Over-the-counter
           medications were not allowed within the prior 5 days, but occasional use of acetaminophen,
           supplements, and vitamins was permitted. In addition, subjects refrained from using
           antiarrhythmic drugs, such as tocainide and mexiletine, and local anesthetics within 14 days
           prior to product application and throughout the study. Finally, subjects were prohibited from
           using nicotine-containing products (eg, e-cigarettes, patches, gum, chewing tobacco) within
           30 days prior to product application and from consuming alcohol and poppy seed—containing
           foods within 48 hours prior to product application.


https://www.printfriendly.com/p/g/BWq2sZ                                                                                               7/25
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    73 ofPatches
                                                                                                           Lidocaine 210 5% and Lidocain...


           Study Objectives
           The primary objective of these studies was to evaluate the adhesion performance of the
           lidocaine topical system 1.8% for 12 hours in healthy human subjects: as a single product
           (Study 1) and in comparison with other available topical products (lidocaine patch 5% and
           lidocaine medicated plaster 5% [Study 2] and generic lidocaine patch 5% [Study 3]). An
           additional secondary objective throughout all studies was to monitor AEs and ensure the
           safety of the lidocaine topical system 1.8%, with a focus on skin irritation.

           Study Assessments

           Adhesion

           In all studies, product adhesion was assessed immediately after application (0 hours) and at
           3, 6, 9, and 12 hours (±15 minutes; before product removal) after application. Assessments
           in Study 1 were performed by a trained scorer using the FDA-recommended 5-point
           adhesion scale.24 The FDA scale ranges from 0 to 4, where 0 represents ≥90% of the
           product adhered (essentially no part of the product lifting off the skin), 1 represents 75% to
           <90% adhered (only some edges of the product lifting off the skin), 2 represents 50% to
           <75% adhered (less than half the product lifting off the skin), 3 represents >0% to <50%
           adhered (more than half the product lifting off the skin but not detached), and 4 represents
           0% adhered (complete product detachment). The mean cumulative adhesion score was
           calculated by summing the scores at 3, 6, 9, and 12 hours and dividing the total by the total
           number of observations per subject.

           In Studies 2 and 3, the degree of adhesion was assessed by a trained scorer using a
           transparent grid with evenly spaced dots. The grid was demarcated to the exact size of each
           lidocaine product. The dot matrix grid was gently laid over the product on the skin, and areas
           of adhesion were outlined; dots excluded from adhering areas were counted to identify the
           exact surface area of lift-off and allowing the determination of the total amount of product
           adhesion as a percentage (ie, percent adhesion). In Study 2, the percent adhesion for each
           individual product was also transposed to the FDA 5-point scale as the primary dataset for
           analysis. However, an ad-hoc analysis of the percent adhesion data for each product was
           also performed as it is more discrete in detecting differences in adhesion performance. In
           Study 3, the degree of adhesion for both lidocaine products was assessed using the dot
           matrix method described above and reported as total percent adhesion with no transposition
           to other scales.

           If a subject reported that a product was becoming detached, adhesion assessments were
           performed within 10 minutes. For products that had completely detached prior to the end of a
           12-hour application period in Studies 2 and 3, a score of 0% was carried through in the
           adhesion analysis for all remaining observations in that application period.


https://www.printfriendly.com/p/g/BWq2sZ                                                                                               8/25
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    74 ofPatches
                                                                                                           Lidocaine 210 5% and Lidocain...


           Safety

           In Study 1, skin irritation at the application site of the lidocaine topical system 1.8% was
           evaluated at 30 minutes (+10 minutes) and 2 hours (±15 minutes) after product removal
           using an 8-point scale of dermal response (where 0 represents no evidence of irritation;
           scores then range from 1 [representing mild, barely perceptible erythema] to 7 [representing
           a strong reaction, extending beyond the application site]) and a scale of other effects,
           including glazed appearance, peeling and cracking, dried or serous exudates covering at
           least a portion of the application site, and small petechial erosions and/or scabs).26 In Study
           2, skin irritation at the application site was also evaluated at 30 minutes (+15 minutes), 2
           hours (±15 minutes), and 12 hours (±30 minutes) after product removal to confirm whether
           any irritation observed immediately after removal was associated with mechanical removal of
           the patch. If the product was detached or otherwise removed prior to the conclusion of the
           12-hour application period, an irritation assessment was made at the time of detachment and
           at all subsequent time points in what would have been the full 12-hour application period had
           detachment not occurred. AEs were monitored and recorded at specified time points
           throughout the study. In Study 3, dermal AEs were reported, but no formal skin irritation
           assessments were performed.

           Statistical Analyses
           In Study 1, descriptive statistics (mean, standard deviation, median, minimum, and
           maximum) for cumulative adhesion score and mean cumulative adhesion score were
           generated. Statistical analysis was performed using SAS® Version 9.4 (SAS Institute Inc.,
           Cary, NC). In Study 2, mean adhesion scores were analyzed using analysis of variance
           (ANOVA) with effects of sequence, subjects within sequence, period, and treatment.
           Sequence was tested against subjects within sequence for significance (P<0.05); period and
           treatment were tested against the residual error (P<0.05). A 2-sided 90% confidence interval
           (CI; equivalent to two 1-sided 95% tests) was constructed on the difference (test minus
           reference) between treatment means. Proportions of subjects for secondary endpoints were
           compared between treatment groups using Cochran-Mantel-Haenszel statistics blocking on
           subject. In Study 3, statistical significance for a treatment effect was determined by ANOVA.
           A sample size of 24 for Study 3 was calculated for this 2-way crossover design based on the
           analysis of Study 2. Because the generic lidocaine patch 5% is required to demonstrate
           comparable (statistically noninferior) adhesion to the reference product lidocaine patch 5%
           used in Study 2 to support its marketing approval, it was assumed that Study 3 would be
           adequately powered at 80% with 24 subjects, based on the effect size and coefficient of
           variation observed for lidocaine patch 5% in Study 2. Statistical analysis was performed
           using SAS® Version 9.3 (SAS Institute Inc., Cary, NC).

           Results


https://www.printfriendly.com/p/g/BWq2sZ                                                                                               9/25
8/23/22,              Case 4:22-cv-02625-HSG
                        Open-Label                       Document
                                   Adhesion Performance Studies of a New 22-2
                                                                         LidocaineFiled
                                                                                   Topical08/24/22     Page
                                                                                          System 1.8% versus    75 ofPatches
                                                                                                             Lidocaine 210 5% and Lidocain...


           Subject Disposition and Baseline Characteristics
           A total of 125 subjects were randomized in these studies, and all received treatment. In
           Study 1, 54 were enrolled and completed the study. In Study 2, 47 subjects were enrolled
           and 44 (93.6%) completed the study, while 3 (6.4%) discontinued when they were unable to
           reach the study site due to severe weather. In Study 3, 24 subjects were enrolled and
           completed the study. Throughout, no subjects discontinued due to AEs (eg, unacceptable
           skin irritation) or were excluded due to a protocol deviation, and 122 subjects who completed
           the studies were included in the per-protocol adhesion analyses (54, 44, and 24 subjects in
           Studies 1, 2, and 3, respectively).

           Overall, subjects ranged from 18 to 64 years of age. The majority of subjects were female in
           Studies 1 (70.4%) and 3 (62.5%), while male subjects predominated in Study 2 (74.5%).
           Across the three studies, the majority of subjects were white (85.2%, 46.8%, and 62.5% in
           Studies 1, 2, and 3, respectively) (Table 2). All subjects were healthy, with vital signs within
           the normal range.

           Table 2
           Subject Demographics and Baseline Characteristics

            Characteristics      Study 1 (n=54)     Study 2 (n=47)     Study 3 (n=24)

            Age, years

              Mean (SD)          30.1 (12.5)        43.1 (10.8)        34.79 (13.39)

              Median             25.0               47.0               32.00

              Range              18-58              19-59              19-64

            Sex, n (%)

              Male               16 (29.6%)         35 (74.5%)         9 (37.5%)

              Female             38 (70.4%)         12 (25.5%)         15 (62.5%)

            Race, n (%)

              White              46 (85.2%)         22 (46.8%)         15 (62.5%)

              Black              5 (9.3%)           21 (44.7%)         4 (16.7%)

              Asian              2 (3.7%)           3 (6.4%)           3 (12.5%)

              Other              1 (1.9%)           1 (2.1%)           0 (0%)




https://www.printfriendly.com/p/g/BWq2sZ                                                                                                10/25
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    76 ofPatches
                                                                                                           Lidocaine 210 5% and Lidocain...


           Open in a separate window
           Abbreviation: SD, standard deviation.

           Adhesion Analysis

           Study 1

           Among the 54 subjects included in the analysis, 27 received the lidocaine topical system
           1.8% on the left side of the lower/middle back and 27 received the product on the right side.
           Adhesion evaluations performed every 3 hours during the 12 hours of administration used
           the FDA rating scale. Overall, mean cumulative adhesion scores across all time points
           ranged from 0 (>90% adhered) to 1 (≥75% to <90% adhered), and the mean of these scores
           was 0.04 ± 0.138 (Table 3).

           Table 3
           Mean Adhesion Scores Using FDA Scales for Lidocaine Topical System 1.8%, Lidocaine
           Patch 5%, and Lidocaine Medicated Plaster (Studies 1, 2, and 3)

                                    Study 1         Study 2                                         Study 3*

                                    Lidocaine       Lidocaine                      Lidocaine        Lidocaine       Generic
                                    Topical         Topical          Lidocaine     Medicated        Topical         Lidocaine
                                    System          System           Patch 5%      Plaster 5%       System          Patch 5%
            Parameters              1.8% (n=54)     1.8% (n=44)      (n=44)        (n=44)           1.8% (n=24)     (n=24)

            Mean cumulative          0.04 ± 0.138   0.20 ± 0.38      1.01 ±        0.89 ± 0.66      0.17 ± 0.48     2.63 ± 0.58
            adhesion score                                           0.66
            (FDA scale), mean
            ± SD

            Minimum score*           0              0                0             0                0               0

            Maximum score*           1              3                4             4                2               4


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           Note: *Percent adhesion data were converted to corresponding FDA adhesion rating scale
           scores for Study 3.

           More than 90% of subjects had a score of 0 at every time point from 0 to 12 hours after
           application. At the end of the 12-hour study period, 49 of 54 subjects (90.7%) had a score of
           0, while the 5 remaining subjects had a low score of 1, indicating that only some edges of the
           lidocaine topical delivery system 1.8% lifted off the skin (Figure 1A). No subject had a
           meaningful degree of detachment (score ≥3). Cumulatively across all time points, 47
           subjects (87%) had an adhesion score of 0 for all evaluations performed every 3 hours


https://www.printfriendly.com/p/g/BWq2sZ                                                                                              11/25
8/23/22,                   Case 4:22-cv-02625-HSG
                             Open-Label                       Document
                                        Adhesion Performance Studies of a New 22-2
                                                                              LidocaineFiled
                                                                                        Topical08/24/22     Page
                                                                                               System 1.8% versus    77 ofPatches
                                                                                                                  Lidocaine 210 5% and Lidocain...


           during the 12 hours of administration, 7 subjects (13%) had an adhesion score of 1 (≥75% to
           <90% adhered) for at least one evaluation, and no subject had a score of 2 or greater (<75%
           adhered).


           A                 100
                                                       90.0%

                                                                                   ■ Lidocaine topical system 1.8%
                              80 -


                              60 -


                              40 -


                              20 -
                                                                                  No subject had complete detachment
                                                                                                          0.0%
                                0
                                               >/=90% Adhesion                                    0% Adhesion


                             100
                                                                                  ■ Lidocaine topical system 1.8%
                                                                                  ▪ Lidocaine patch 5%
                              80 -           75.0%                                ❑ Lidocaine medicated plaster 5%
              % Subjects




                              60 -


                              40 -

                                                                                  No subject with lidocaine topical system
                              20 -                     13.6% 15.9%                   1.8% had complete detachment

                                                                                                        4.5%      4.5%
                                                                                             0.0%
                                0
                                               >I=90% Adhesion                                    0% Adhesion



           C                 100 ]                                                 ■ Lidocaine tooical system 1.8%

https://www.printfriendly.com/p/g/BWq2sZ                                                                                                     12/25
8/23/22,                    Case 4:22-cv-02625-HSG
                              Open-Label                       Document
                                         Adhesion Performance Studies of a New 22-2
                                                                               LidocaineFiled
                                                                                         Topical08/24/22     Page
                                                                                                System 1.8% versus    78 ofPatches
                                                                                                                   Lidocaine 210 5% and Lidocain...



                                                                                    ❑ Generic lidocaine patch 5%
              °A Subjects      BU-               75.0%


                               60 -
                                                              No subject with lidocaine topical system
                                                               1.8% had 0% adhesion and no subject
                               40 -                           with the generic lidocaine patch had >1=
                                                                           90% adhesion          29.0%

                               20 -

                                                                0.0%                              0.0%
                                 0
                                                >/=90% Adhesion                                    0% Adhesion

           Open in a separate window
           Figure 1
           Adhesion assessments at the end of the dosing period (12 hours). The proportion of subjects
           with at least 90% adhesion (using the FDA adhesion rating scale) at the end of the 12-hour
           application period and the proportion of subjects who had experienced 0% adhesion
           (complete detachment) at any time point throughout the study in (A) Study 1 (n=54); (B)
           Study 2 (n=44); and (C) Study 3 (n=24).

           Study 2

           A total of 47 subjects were randomized to 1 of 6 treatment sequences specifying the order of
           application of the 3 products, and 44 subjects who completed the study were included in the
           analysis. Lidocaine topical system 1.8% showed a superior adhesion profile compared to
           both lidocaine patch 5% and lidocaine medicated plaster 5% (Tables 3 and and4).4). The
           mean cumulative adhesion score using the FDA-rating scale was 0.20 ± 0.38 for lidocaine
           topical system 1.8%, compared to 1.01 ± 0.66 and 0.89 ± 0.66 for the lidocaine patch 5%
           and lidocaine medicated plaster 5%, respectively. At the 0-hour time point, the mean (90%
           CI) adhesion score, determined using the FDA rating scale, was 0.003 (-0.040, 0.047) for
           the lidocaine topical system 1.8%, 0.049 (0.006, 0.093) for the lidocaine patch 5%, and
           0.047 (0.004, 0.091) for lidocaine medicated plaster 5%. These scores were not significantly
           different (P=0.2141 and P=0.2350 for the lidocaine topical system 1.8% vs lidocaine patch
           5% and lidocaine medicated plaster 5%, respectively); however, all subsequent time points
           showed superior adhesion of the lidocaine topical system 1.8% versus both the lidocaine
           patch 5% and lidocaine medicated plaster 5% (P<0.0001 for all comparisons).

           Table 4


https://www.printfriendly.com/p/g/BWq2sZ                                                                                                      13/25
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    79 ofPatches
                                                                                                           Lidocaine 210 5% and Lidocain...


           Mean Percent Adhesion Over Time for Lidocaine Topical System 1.8% and Lidocaine
           Patch/Plaster 5% Comparators (Studies 2 and 3)

                                  Study 2                                                  Study 3

                                                                     Lidocaine                                  Generic
                                  Lidocaine           Lidocaine      Medicated             Lidocaine            Lidocaine
            Mean Percent          Topical System      Patch 5%       Plaster 5%            Topical System       Patch 5%
            Adhesion Score        1.8% (n=44)         (n=44)         (n=44)                1.8% (n=24)          (n=24)

            0 hours (mean ±       100.0 ± 0.0         97.2   2.9     97.2   3.9            99.5 ± 0.7           77.6 ± 17.3
            SD)

            3 hours (mean ±       96.9 ± 7.3          84.7 ± 13.1    86.0 ± 15.0           97.0 ± 4.8           51.9 ± 22.2
            SD)

            6 hours (mean ±       95.0 ± 8.6          78.5 ± 18.0    80.9 ± 16.8           96.3 ± 5.5           40.8 ± 22.9
            SD)

            9 hours (mean ±       91.8 ± 10.5         70.9 ± 22.2    75.7 ± 20.0           94.7 ± 7.1           31.2 ± 23.4
            SD)

            12 hours (mean ±      88.7 ± 13.8         63.3 ± 24.2    68.4 ± 24.4           93.4 ± 7.2           26.8±23.0
            SD)

            Mean cumulative       93.1 ± 9.8          74.4 ± 18.3    77.8 ± 17.4           95.3   5.9           37.7 ± 21.3
            adhesion %
            (mean ± SD)


           Open in a separate window
           Analysis of the mean percent adhesion score determined from the raw data showed the
           superior adhesion of the lidocaine topical system 1.8% over both the lidocaine patch 5% and
           lidocaine medicated plaster 5% at baseline (ie, Time 0) and at each time point from 3 to 12
           hours after application (P<0.0001 for all comparisons) (Figure 2A and Table 4). In contrast to
           analyses of FDA rating scale data, this analysis of percent adhesion data discretely revealed
           the superiority of the lidocaine topical system 1.8% at the 0-hour time point (ie, immediate
           difference after product application).




https://www.printfriendly.com/p/g/BWq2sZ                                                                                              14/25
8/23/22,                                       Case 4:22-cv-02625-HSG
                                                 Open-Label                       Document
                                                            Adhesion Performance Studies of a New 22-2
                                                                                                  LidocaineFiled
                                                                                                            Topical08/24/22     Page
                                                                                                                   System 1.8% versus    80 ofPatches
                                                                                                                                      Lidocaine 210 5% and Lidocain...



           A
                                             100

                                              80
               Mean Adhesion Score (%)




                                             60 -
                                                                                                                     Lidocaine topical system 1.8%
                                                                                                              —A— Lidocaine patch 5%
                                             40 -                                                                    Lidocaine medicated plaster 5%



                                              20 -
                                                       'P<0.0001


                                               0                                                               i
                                                   0                          3                      6                           9                         12
                                                                                                   Time (h)

           B
                                             100
                                                                                                                           1F


                                              80
                   Mean Adhesion Score (%)




                                                                                                                    Lidocaine topical system 1.8%
                                              60 -                                                            —A— Generic lidocaine patch 5%




                                              40 -




                                              20 -

                                                        *P<0.0001


                                               0
                                                   0                      3                        6                        9                        12
                                                                                                 Time (h)


           Open in a separate window
           Figure 2




https://www.printfriendly.com/p/g/BWq2sZ                                                                                                                         15/25
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    81 ofPatches
                                                                                                           Lidocaine 210 5% and Lidocain...


           Mean percent adhesion over time. Mean percent adhesion scores were evaluated every 3
           hours over the 12-hour application period. (A) In Study 2, there was a significant difference
           favoring the lidocaine topical system 1.8% over the lidocaine patch 5% and lidocaine
           medicated plaster 5% at baseline and at each time point after application (P<0.0001). (B) In
           Study 3, there was a significant difference favoring the lidocaine topical system 1.8% over
           the generic lidocaine patch 5% at baseline and at each time point after application
           (P<0.0001 for all comparisons).

           At each time point during the 12-hour application period, a greater proportion of subjects had
           an FDA adhesion score of 0 (≥90% adhered) for the lidocaine topical system 1.8% compared
           with the lidocaine patch 5% or lidocaine medicated plaster 5%. At 12 hours after application,
           a significantly higher number of subjects had an FDA adhesion score of 0 (≥90% adhered)
           for the lidocaine topical system 1.8% (33 subjects, 75.0%) than for the lidocaine patch 5% (6
           subjects, 13.6%) or lidocaine medicated plaster 5% (7 subjects, 15.9%) (Figure 1B).

           Taken together, all analyses after the 0-hour time point showed superior adhesion of the
           lidocaine topical system 1.8% compared with the other products. Furthermore, no lidocaine
           topical system 1.8% completely detached during this study, whereas 2 each of both the
           lidocaine patch 5% and lidocaine medicated plaster 5% completely detached (Figure 1B).

           Photographs depicting adhesion of the lidocaine topical system 1.8%, lidocaine patch 5%,
           and lidocaine medicated plaster 5% were taken immediately following product application at
           0 hours and after 12 hours (±15 minutes) of wear. Representative images are shown in
           Figure 3A.




https://www.printfriendly.com/p/g/BWq2sZ                                                                                              16/25
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    82 ofPatches
                                                                                                           Lidocaine 210 5% and Lidocain...



           A
                                                     SUBJECT 102                                    SUBJECT 105
                                                 0 hours    12 hours                             0 hours    12 hours


                Lidocaine topical
                system 1.8%
                                                                                                                  •
                Lidocaine patch 5%


                                                               I

                Lidocaine medicated
                plaster 5%




           B                                         SUBJECT 8                                       SUBJECT 23
                                                 0 hours    12 hours                             0 hours    12 hours
                                                                                                             S
               Lidocaine topical
               system 1.8%




               Generic lidocaine
               patch 5%




           Open in a separate window
           Figure 3




https://www.printfriendly.com/p/g/BWq2sZ                                                                                              17/25
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    83 ofPatches
                                                                                                           Lidocaine 210 5% and Lidocain...


           Representative adhesion performance with the FDA score (denoted in red) in Studies 2 and
           3. Subjects were treated with the lidocaine topical system 1.8% (top rows in panels A and
           B), lidocaine patch 5% (middle row in A), lidocaine medicated plaster 5% (bottom row in A),
           or generic lidocaine patch 5% (bottom row in B). Photographs were taken immediately
           following product application (0 hours) and at the end of the study after 12 hours (±15
           minutes) of wear.

           Study 3

           All 24 subjects who were randomized to one of the two treatment sequences that specified
           the order of application of the two products were included in the analysis. Among subjects
           treated with the lidocaine topical system 1.8%, the direct mean (95% CI) percent adhesion
           score over time was 95.33% (89.40% and 101.26%) versus 37.67% (31.74% and 43.60%)
           for the generic lidocaine patch 5% (Table 4). This difference was statistically significant
           (P<0.0001). All subjects treated with the lidocaine topical system 1.8% (24 of 24 [100%])
           demonstrated mean percent adhesion scores that were greater than those for subjects
           treated with the generic lidocaine patch 5%.

           Subjects treated with the lidocaine topical system 1.8% were able to maintain a mean
           percent adhesion score approaching 100% throughout the duration of the 12-hour
           assessment period. In contrast, the mean percent adhesion of the generic lidocaine patch
           5% was approximately 80% immediately after application, and this decreased to below 40%
           over the 12 hours of the application period (Figure 2B). At each assessment time point,
           adhesion scores were significantly greater for the lidocaine topical system 1.8% than for the
           generic lidocaine patch 5% (P<0.0001 at 0, 3, 6, 9, and 12 hours after application).

           Only 6 of 24 (25%) subjects treated with the lidocaine topical system 1.8% demonstrated an
           adhesion score <90% at 12 hours. In contrast, 24 of 24 (100%) subjects treated with the
           generic lidocaine patch 5% had scores below this level at 12 hours (ie, no subject had ≥90%
           adhesion).

           In addition, 37.5% of subjects experienced substantial detachment (to <10% adhesion) while
           using the generic lidocaine patch 5%, including 7 (29.1%) complete detachments (Figure
           1C). Representative photographs comparing adhesion of the lidocaine topical system 1.8%
           and generic lidocaine patch 5% following product application at 0 hours and after 12 hours
           (±15 minutes) of wear are shown in Figure 3B.

           Safety
           A comprehensive assessment of skin irritation was performed in Study 1 at 0.5 (+10
           minutes) and 2 hours (±15 minutes) after removal of the lidocaine topical system 1.8%. The
           mean irritation score at 0.5 hours was 0.52 ± 0.64, well below a score of 1, which indicates
           mild, barely perceptible erythema. The score significantly decreased to 0.30 ± 0.46 by 2

https://www.printfriendly.com/p/g/BWq2sZ                                                                                              18/25
8/23/22,                Case 4:22-cv-02625-HSG
                          Open-Label                       Document
                                     Adhesion Performance Studies of a New 22-2
                                                                           LidocaineFiled
                                                                                     Topical08/24/22     Page
                                                                                            System 1.8% versus    84 ofPatches
                                                                                                               Lidocaine 210 5% and Lidocain...


           hours (P=0.0092). Four subjects (7.4%) were observed to have an irritation score of 2
           (definite erythema, minimal edema, or minimal papular response) at 0.5 hours, and these
           cases resolved to scores ≤1 by 2 hours. No subject had a score >2 at either time point.

           Skin irritation assessments were also performed at 0.5, 2, and 12 hours after product
           removal in Study 2. All subjects had scores of 0 (no irritation) or 1 at each time point. Mean
           irritation scores over the entire 12-hour period for all subjects were comparable and not
           significantly different: 0.114 ± 0.03186 for lidocaine topical system 1.8%, 0.067 ± 0.2504 for
           lidocaine patch 5%, and 0.065 ± 0.2478 for lidocaine medicated plaster 5% (P=0.1656)
           (Figure 4).


                  2.5



                   2


            0
           (>1 1.5
            0
           1T-o                                                                       Lidocaine topical system 1.8%
                                                                               —A— Lidocaine patch 5%
                   1
                                                                               --     Lidocaine medicated plaster 5%
           2

                  0.5


                        a
                   0
                                   2              4              6              8            10             12             14
                                                              Time After Removal (h)


           Open in a separate window
           Figure 4
           Mean irritation scores after product removal in Study 2. Irritation at the application site was
           assessed at 0.5 hours (+10 minutes), 2 hours (±15 minutes), and 12 hours (±30 minutes)
           after product removal. Irritation was graded using an 8-point scale of dermal response .
           Overall mean scores across all time points were not significantly different between the
           lidocaine topical system 1.8% and lidocaine patch 5% or lidocaine medicated plaster 5%
           (P=0.1656 for both comparisons). *Horizontal line represents a score of 2, defined as definite
           erythema, minimal edema, or minimal papular response and is considered clinically
           meaningful irritation.




https://www.printfriendly.com/p/g/BWq2sZ                                                                                                  19/25
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    85 ofPatches
                                                                                                           Lidocaine 210 5% and Lidocain...


           No AEs were reported during Studies 1 and 2; however, three mild-grade AEs were reported
           during Study 3. Two AEs involving pruritus were reported in subjects treated with the
           lidocaine topical system 1.8% during the first period of product assessment (one on the left
           forearm and one inferior to the application site); they resolved completely on follow-up. One
           AE (mild headache) was reported in a subject treated with the generic lidocaine patch 5%
           during the second period of product wear, also with a complete resolution on follow-up.
           Although formal assessments of skin irritation were not performed, no subjects reported
           unacceptable skin irritation during use or after removal of the lidocaine topical system 1.8%
           or generic lidocaine patch 5%. No serious AEs or deaths were reported throughout the entire
           study, and no clinically significant findings were reported for any subject who participated in
           the post-study safety assessments.

           Discussion
           Adhesion is a critical attribute of a topical system, in addition to efficacy and safety, and it is
           important that the product maintains adhesion throughout the indicated wear period. The
           lidocaine topical system 1.8% met this standard in three different studies and performed
           better than comparator products with the same indications and wear time (12 hours). This
           was attributed to its unique drug-in-adhesive nonaqueous polymer system specifically
           formulated to maintain tackiness over time while delivering comparable levels of the drug to
           the lidocaine patch 5% and generic product. To our knowledge, Studies 2 and 3 reported
           here are the first adhesion performance studies to directly compare four prescription
           products currently available for the topical delivery of lidocaine. The high degree of adhesion
           (≥90%) observed in more than 90% of subjects at the end of 12 hours of product
           administration in Study 1 is a benchmark performance attribute for this product type.

           Despite the fact that topical and transdermal drug delivery systems have been in clinical use
           for several decades, concerns about product adhesion to skin and how this may affect drug
           dosing persist.2°,21 The effective dose absorbed from a topical or transdermal system can be
           affected by many factors, including characteristics related to the product's adhesion
           performance, the total surface area of application (which may be affected by partial lifting),
           and the duration of application (affected by total product loss).20 Using the parameter of
           actual percent adhesion, these results demonstrate significant superiority of adhesion
           performance over 12 hours for the lidocaine topical system 1.8% versus all 3 comparator
           products: lidocaine patch 5%, lidocaine medicated plaster 5%, and generic lidocaine patch
           5%. Given the improvement in adhesion performance using percent adhesion, the use of
           percent adhesion assessments in addition to, or in replacement of, the FDA 5-point scale
           should be considered, especially in comparative studies where the FDA scale may not have
           sufficient sensitivity to discern meaningful differences in adhesion performance.




https://www.printfriendly.com/p/g/BWq2sZ                                                                                              20/25
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    86 ofPatches
                                                                                                           Lidocaine 210 5% and Lidocain...


           Significantly, fewer subjects (2.3%) treated with the lidocaine topical system 1.8%
           experienced product detachment of 50% or greater compared with the lidocaine patch 5%
           (20.5%) or lidocaine medicated plaster 5% (15.9%). More than one-third of subjects
           experienced substantial detachment (reduction to <10% adhesion) of the generic lidocaine
           patch 5%. No lidocaine topical system 1.8% became completely detached, whereas 2
           detachments (4.5%) occurred with both the lidocaine patch 5% and lidocaine medicated
           plaster 5%, and 7 detachments (29.1%) occurred with the generic lidocaine patch 5%.

           These differences in adhesion performance are expected to be clinically important. Although
           up to 30% of patients might experience poor adhesion and need to replace the comparator
           prescription lidocaine topical products, our results suggest that less than 1% of patients
           would have this problem with the lidocaine topical system 1.8% under the conditions studied.
           Accordingly, one could anticipate that the number of patients needed to treat to prevent one
           poor adhesion episode through the utilization of the lidocaine topical system 1.8% compared
           with the other products is 25.

           The poor adhesion performance observed for the generic Mylan lidocaine patch 5% in Study
           3 indicates that the study was overpowered relative to the hypothesis that the product would
           have comparable performance to that established by the Lidoderm Patch 5% reference
           product in Study 2; the results were surprising, considering the comparable adhesion data
           reported in the independent study conducted by Mylan in support of its abbreviated new drug
           application (ANDA). Although the study designs were comparable, the studies were
           conducted at separate sites using different subjects using different time points, which could
           explain the difference. Also, Studies 2 and 3 may differ from the Mylan ANDA study in that
           subjects were allowed to remain ambulatory during the treatment periods, whereas the FDA
           adhesion guidance only prevents the use of artificial means to affect adhesion performance
           (tape reinforcement, overlays, pressing, etc.).24 Because patients should expect comparable
           adhesion performance when switched to generic topical and transdermal products, perhaps
           this regulatory guidance should be revisited to incorporate design features that more
           rigorously challenge adhesion performance relative to real-world use.

           The lidocaine topical system 1.8% was well tolerated throughout the studies, with no
           unacceptable skin irritation necessitating early removal. The mild irritation observed in
           Studies 1 and 3 shortly after product removal spontaneously resolved within 2 hours,
           suggesting that this is a transient effect, most likely associated with mechanical removal of
           the product and improved adhesion. The results confirm the safety and tolerability profile of
           lidocaine topical patch products. These qualities make lidocaine topical products an
           attractive option for treating frail and elderly patients with PHN.27 The superior adhesion of
           the lidocaine topical system 1.8% compared with three comparator lidocaine products may
           offer patients' advantages with regard to effective drug delivery, safety, and convenience—
           especially for older individuals with mobility or physical limitations—with the potential to
           increase patient compliance.

https://www.printfriendly.com/p/g/BWq2sZ                                                                                              21/25
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    87 ofPatches
                                                                                                           Lidocaine 210 5% and Lidocain...


           Assessment every 3 hours during the 12-hour periods of product wear throughout these
           adhesion performance studies is consistent with best practices in FDA guidance and
           represents a strength of the study design.24 The uniform spacing of observations over time is
           recommended to avoid a disproportionate weighting of adhesion at early time points (when
           adhesion might be relatively better) and is a key factor for an accurate assessment.

           Several limitations of these adhesion performance studies should be mentioned. The
           volunteer subjects in these studies ranged in age from 18 to 64 (median ages of 47 and 32
           years in Studies 2 and 3, respectively) and were younger than the patient population most
           often diagnosed with PHN—individuals over the age of 60.3 These older patients may have
           distinct skin properties (texture, thickness, moisture, etc.) that could affect adhesion in a real-
           world setting.28 Unlike patients for whom these topical products are indicated, the healthy
           study subjects did not have or were not recovering from herpes zoster rash. The products
           studied here were applied to the lower, middle, or upper back, such placement was selected
           as a standardized area of administration and convenience for frequent assessments. It is not
           known whether their adhesive capacity can be extrapolated to other anatomical sites.

           Finally, throughout the studies, subjects were restricted in performing activities (such as
           strenuous exercise, exposure to water, and excessive heat or sweating) that could affect
           product adhesive properties outside a clinical study setting. These restrictions and other
           factors, such as climate differences (eg, temperature, humidity), may affect the
           generalizability of the results. In a separate study, the lidocaine topical system 1.8% was
           able to withstand conditions of moderate physical exercise (exercise bike) and heat (heating
           pad) with no meaningful degree of detachment.29 In addition, products were only evaluated
           during 12-hour daylight periods, but many patients with PHN experience nighttime pain and
           would be expected to use lidocaine products while sleeping. It is not known how these
           variables would affect the adhesion of the lidocaine topical system 1.8%, nor whether its
           superior adhesion relative to the other products reported here would be maintained.
           Regardless, the lidocaine topical system 1.8% demonstrated superior adhesion to the
           comparator products tested.

           Conclusions
           The lidocaine topical system 1.8% demonstrated optimum adhesion performance (≥90%
           adhesion) in the majority of subjects during a 12-hour period of administration. Adhesion
           superiority was consistently demonstrated versus three comparator products—lidocaine
           patch 5%, lidocaine medicated plaster 5%, and generic lidocaine patch 5%—over 12 hours
           of wear, using actual mean percent adhesion scores and with translation to an adhesion
           scale. No detachments of the lidocaine topical system 1.8% occurred. Application and use of
           all lidocaine topical products were safe and well tolerated. For patients with pain associated
           with PHN, these results support the use of the lidocaine topical system 1.8% as an effective
           and practical treatment that may be preferable to other topical lidocaine options.

https://www.printfriendly.com/p/g/BWq2sZ                                                                                              22/25
8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    88 ofPatches
                                                                                                           Lidocaine 210 5% and Lidocain...



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           Data Sharing Statement
           The authors certify that this manuscript reports original clinical trial data. Individual
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           tables, and figures) are available, including the study protocol. Data requests should be
           submitted in the form of a research proposal to moc.amrahpxelics@sriaffa_lacidem for up to
           36 months after the publication date.


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           Dr. Gudin has been an advisor, consultant, speaker bureau member, or shareholder in the
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8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    89 ofPatches
                                                                                                           Lidocaine 210 5% and Lidocain...


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8/23/22,            Case 4:22-cv-02625-HSG
                      Open-Label                       Document
                                 Adhesion Performance Studies of a New 22-2
                                                                       LidocaineFiled
                                                                                 Topical08/24/22     Page
                                                                                        System 1.8% versus    90 ofPatches
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Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 91 of 210




EXHIBIT 14
8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                    Document
                                     Open-Label, Bioequivalence Study of22-2     Filed
                                                                         Lidocaine Topical08/24/22      Page
                                                                                           System 1.8% and      92 of
                                                                                                           Lidocaine    210
                                                                                                                     Patch 5% in Healthy Subjects




           A Randomized, Open-Label, Bioequivalence Study of
           Lidocaine Topical System 1.8% and Lidocaine Patch 5%
           in Healthy Subjects
             ncbi.nlm.nih.gov/pmc/articles/PMC7319520/




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           Patel,4 and Sri Nalamachu5
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           Abstract

           Purpose
           This study was designed to characterize drug delivery with lidocaine topical system 1.8% vs
           lidocaine patch 5% through 2 PK studies.

           Patients and Methods
           Two Phase 1, single-center, open-label, randomized PK studies were performed in healthy
           adults. In Study 1, 56 subjects received a single intravenous bolus of 0.7 mg/kg of lidocaine
           as a lead-in to allow for the accurate determination of apparent dose of both products. After
           a 7-day washout period, subjects were randomized to receive either lidocaine topical system
           1.8% or lidocaine patch 5% for 12 hours followed by another 7-day washout period, after
           which subjects crossed over to receive the other treatment for 12 hours. In Study 2, 54
           subjects were randomized to receive either lidocaine topical system 1.8% or lidocaine patch
           5% for 12 hours. After a 7-day washout period, subjects crossed over to receive the other
           treatment. Adhesion and skin irritation assessments were performed after application of the

https://www.printIriendly.com/p/g/PKbBJp                                                                                                     1/24
8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                    Document
                                     Open-Label, Bioequivalence Study of22-2     Filed
                                                                         Lidocaine Topical08/24/22      Page
                                                                                           System 1.8% and      93 of
                                                                                                           Lidocaine    210
                                                                                                                     Patch 5% in Healthy Subjects




           products in Study 2. In both studies, serial blood samples were collected to measure the
           plasma concentration of lidocaine after product application. Safety assessments and adverse
           events were monitored in both studies.

           Results
           The comparative PK analysis demonstrated that the two products, despite their difference in
           drug load and strength, are bioequivalent. Both products were well tolerated. In Study 2,
           dermal response scores (skin tolerability after removal) were similar between lidocaine
           topical system 1.8% and lidocaine patch 5%, with a mean irritation score per patch <1
           (barely perceptible erythema), which is not considered to be clinically significant.

           Conclusion
           Bioequivalence was demonstrated between lidocaine topical system 1.8% and lidocaine
           patch 5%. A comparison of the single-time adhesion scores at 12 hours in Study 2 favored
           lidocaine topical system 1.8% over lidocaine patch 5%. Both products were well tolerated as
           a single application in healthy adult human subjects.

           ClinicalTrials.gov
           NCT04144192, NCT04149938.

           Keywords: postherpetic neuralgia, topical, lidocaine, pharmacokinetics

           Introduction
           Each year in the United States, an estimated one million individuals are diagnosed with
           herpes zoster (HZ), or shingles.1 HZ is caused by reactivation of latent varicella-zoster virus
           in the dorsal root ganglia and typically presents as a unilateral, painful, blistering rash in the
           affected dermatome(s).2 It most often occurs in patients ≥50 years old; women are at greater
           risk than men.3 Approximately 20% of HZ patients will develop postherpetic neuralgia (PHN),
           a complication characterized by neuropathic pain within the zoster-affected dermatome(s)
           that is sustained for at least 3 months after the rash has healed." PHN pain is often
           associated with allodynia and hyperalgesia and can persist for years.5 Pharmacologic
           treatment usually includes oral medications, such as antidepressants, anticonvulsants, and
           opioids, as well as topical analgesics, such as the lidocaine patch.6'7 Advantages of topical
           drug delivery systems include providing targeted site-specific therapy while minimizing entry
           and level of drugs in the systemic circulation; this therapy often avoids or reduces side
           effects or toxicities of commonly used oral medications.5




https://www.printIriendly.com/p/g/PKbBJp                                                                                                     2/24
8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                    Document
                                     Open-Label, Bioequivalence Study of22-2     Filed
                                                                         Lidocaine Topical08/24/22      Page
                                                                                           System 1.8% and      94 of
                                                                                                           Lidocaine    210
                                                                                                                     Patch 5% in Healthy Subjects




           Lidocaine is an amide local anesthetic that blocks sodium ion channels required for the
           initiation and conduction of neuronal impulses.9 Blocking sodium channels in the dermal
           nociceptors of A delta and C fibers reduces the frequency of ectopic discharges that
           contribute to neuropathic pain. Topical patches and other delivery systems have been
           developed to deliver lidocaine locally for the treatment of PHN.1,4,10,11 In 1999, the US Food
           and Drug Administration (FDA) approved lidocaine patch 5% (Lidoderm®, Endo
           Pharmaceuticals Inc., Malvern, PA) for the relief of pain associated with PHN. The lidocaine
           patch 5% contains 700 mg of lidocaine (5% = 50 mg per gram adhesive) in an aqueous
           ("hydrogel") matrix.12 The analgesic efficacy of topical lidocaine in PHN has been
           demonstrated in several randomized clinical trials, which show that patients experience pain
           relief within hours of application of lidocaine patches and that treatment is well tolerated.13,14
           Topical lidocaine remains an effective treatment option for PHN over time, with up to 4 years
           of available safety and efficacy data on long-term treatment outcomes.15,16 Additionally,
           topical lidocaine has been reported to have analgesic effects in other conditions, such as
           lower back pain, diabetic peripheral neuropathy, carpal tunnel syndrome, and osteoarthritis
           pain.11

           In 2018, a novel topical system (ie, patches, now referred to as "topical systems" by the
           FDA) consisting of lidocaine dissolved in an organic acid/polyalcohol solvent system in a
           polymer-based adhesive matrix was FDA-approved for the relief of PHN pain (ZTlido®
           [lidocaine topical system 1.8%], Scilex Pharmaceuticals Inc., Mountain View, CA). Each
           topical system contains 36 mg of lidocaine (1.8% = 18 mg per gram adhesive).9

           Similar to lidocaine patch 5%, lidocaine topical system 1.8% was designed with a skin
           contact area of 140 cm2 and is indicated to be worn for 12 hours per day (maximum of 3
           topical systems per day). The nonaqueous formulation of lidocaine topical system 1.8%
           results in improved biopharmaceutical efficiency and drug delivery compared with lidocaine
           patch 5%, such that bioequivalent plasma levels are achieved with -19-fold lower drug load
           (36 mg vs 700 mg) and lower strength (1.8% vs 5%). The lidocaine topical system 1.8% was
           developed to have optimal adhesion (ie, maintaining contact with the skin over the 12-hour
           administration period) and to be thinner and lighter than lidocaine patch 5% so that it can
           better adhere to contour-challenged areas of the body and maintain contact during normal
           activities and moderate exercise. A comparison of lidocaine topical system 1.8% and
           lidocaine patch 5% product attributes is provided in Table 1.

           Table 1

           Characteristics of Lidocaine Topical System 1.8% and Lidocaine Patch 5%

                                                                                     Lidocaine Patch 5%
            Attribute             Lidocaine Topical System 1.8% (ZTlido®)9           (Lidoderm®)12




https://www.printIriendly.com/p/g/PKbBJp                                                                                                     3/24
8/23/22,             Case  4:22-cv-02625-HSG
                        A Randomized,                    Document
                                      Open-Label, Bioequivalence Study of22-2     Filed
                                                                          Lidocaine Topical08/24/22      Page
                                                                                            System 1.8% and      95 of
                                                                                                            Lidocaine    210
                                                                                                                      Patch 5% in Healthy Subjects




                                                                                      Lidocaine Patch 5%
            Attribute             Lidocaine Topical System 1.8% (ZTlido®)9            (Lidoderm®)12


            Formulation           Nonaqueous polymer matrix                           Aqueous polymer matrix

            Lidocaine content     36 mg (18 mg per gram adhesive)                     700 mg (50 mg per gram adhesive)

            Size                  10 cm x 14 cm                                       10 cm x 14 cm

            Thickness             0.08 cm                                             0.16 cm*

            Weight                2 g adhesive                                        14 g adhesive

            Bioavailability       -48%                                                3% ± 2%


           Open in a separate window
           Note: *Approximate thickness based on product utilized in studies.

           To characterize drug delivery with lidocaine topical system 1.8% compared with lidocaine
           patch 5%, 2 separate pharmacokinetic (PK) studies were performed in normal, healthy
           volunteers. Study 1 was designed to characterize the PK of lidocaine topical system 1.8%,
           including apparent dose, and Study 2 was designed to confirm comparable PK between
           lidocaine topical system 1.8% and lidocaine patch 5%. Safety, adhesion, and skin tolerability
           of both formulations were also assessed.


           Materials and Methods

           Study Design

           Two Phase 1 comparative PK studies were conducted at a single clinical site (TKL
           Research, Fair Lawn, NJ), approved by an IntegReview ethical review board (IRB; Austin,
           TX), and conducted in accordance with the ethical principles originating from the Declaration
           of Helsinki and amendments and the International Conference on Harmonization Good
           Clinical Practice guidelines and local regulatory requirements. All subjects provided signed
           informed consent. The studies were not prospectively registered because the studies
           described were Phase 1 trials, and FDA guidelines state that Phase 1 trials are not
           applicable drug clinical trials and therefore are not required to be registered. The studies
           were retrospectively registered at the request of the Editor at ClinicalTrials.gov with the
           clinical trial registration numbers NCT04144192 and NCT04149938.

           Study 1 was a single-center, open-label, randomized study conducted to characterize the
           comparative single-dose PK and safety of lidocaine topical system 1.8% versus lidocaine
           patch 5% and included a single-dose PK lead-in period of lidocaine 0.7 mg/kg bolus



https://www.printIriendly.com/p/g/PKbBJp                                                                                                      4/24
8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                    Document
                                     Open-Label, Bioequivalence Study of22-2     Filed
                                                                         Lidocaine Topical08/24/22      Page
                                                                                           System 1.8% and      96 of
                                                                                                           Lidocaine    210
                                                                                                                     Patch 5% in Healthy Subjects




           intravenous (IV) injection. The lidocaine IV injection lead-in period was included to allow for
           the determination of the apparent dose of both products via IV clearance (IVcL).

           Study 2 was a single-center, open-label, randomized, two-period crossover study conducted
           to characterize the comparative single-dose PK and safety of lidocaine topical system 1.8%
           and lidocaine patch 5% and to evaluate adhesion performance and dermal irritation.
           Apparent dose of lidocaine topical system 1.8% was also determined in Study 2 based on
           the residual drug analysis of skin, used product, product envelopes, and release liners,
           which allowed for comparison with the apparent dose observed for the product in Study 1 via
                 It is noted that Study 1 was performed with tape reinforcement of both products to
           ensure continuous contact of the products to the skin. Study 2 was performed without tape
           reinforcement or any other mechanical reinforcement of the products, consistent with the
           respective prescribing information.

           Patients
           Inclusion criteria for Study 1 required men and women ≥18 years of age to be healthy,
           verified by clinical hematology and chemistry laboratory test results and vital signs
           measurements. Female subjects were not pregnant and used an acceptable form of birth
           control if they were of childbearing potential. Key exclusion criteria included use of a
           prescription medication within 14 days or over-the-counter medications within 7 days prior to
           administration of study medication, known hypersensitivity or allergy to any of the
           components of the lidocaine topical system formulation, and any serious illness in the 4
           weeks preceding the beginning of treatment that resulted in missed work or hospitalization.
           Study 1 actively recruited 4 geriatric subjects (ie, subjects ≥65 years of age) who were able
           to meet all the inclusion and exclusion criteria, which was challenging given the exclusion of
           prescription product use within 14 days of the study.

           Key inclusion criteria for Study 2 were similar to those for Study 1, with the inclusion of
           healthy (confirmed by medical history, laboratory work, and physical exam) men and women
           between ≥18 and 565 years of age. Female subjects were not pregnant and used an
           acceptable form of birth control if they were of childbearing potential. Subjects were free of
           any systemic or dermatologic disorder, which, in the opinion of the investigator, would have
           interfered with the study results or increased the risk of adverse events (AEs). Key exclusion
           criteria for Study 2 included unwillingness to refrain from using systemic/topical analgesics
           for 72 hours prior to enrollment and during the study, current use of opioids, planned dental
           procedures within 30 days of enrollment, and known hypersensitivity or allergy to any of the
           components of the product formulations. Key exclusion criteria for the PK portion of Study 2
           included use of any drug treatment at the time of the study, use of a prescription medication
           within 14 days prior to administration of study medication or over-the-counter products
           (including natural food supplements, vitamins, garlic as a supplement) within 7 days prior to
           enrollment, and during the PK phase, unwillingness to restrict caffeine or grapefruit juice.


https://www.printIriendly.com/p/g/PKbBJp                                                                                                     5/24
8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                    Document
                                     Open-Label, Bioequivalence Study of22-2     Filed
                                                                         Lidocaine Topical08/24/22      Page
                                                                                           System 1.8% and      97 of
                                                                                                           Lidocaine    210
                                                                                                                     Patch 5% in Healthy Subjects




           Treatments
           Study 1 assessed the comparative PK of lidocaine topical system 1.8% and lidocaine patch
           5%, with an IV lead-in period. Subjects (N=56) first received a single IV bolus of 0.7 mg/kg of
           lidocaine administered on Day 1 using prefilled syringes of lidocaine (20 mg/mL or 100 mg/5
           mL, 2% solution; Hospira, Inc., Lake Forest, IL). Following a 7-day washout period, subjects
           were randomized to receive either lidocaine topical system 1.8% or lidocaine patch 5%
           (Period 1; Day 7). After the 7-day washout period, subjects crossed over and received the
           other treatment (Period 2; Day 15). For both periods, each treatment consisted of the
           application of a set of three lidocaine topical systems 1.8% or three lidocaine patches 5% to
           the skin of each subject's back with tape reinforcement over a 12-hour administration period.
           Tape reinforcement consisted of the use of 3MTM Transpore TM surgical tape (3M, St. Paul,
           MN) on the four corners of the product. If lifting was observed, additional tape reinforcement
           was allowed along the product edges. Taping of the surface of the product or use of
           occlusive overlays was not allowed in the study.

           In Study 2, subjects were randomized to receive either lidocaine topical system 1.8% or
           lidocaine patch 5% (Period 1; Day 1). After a 7-day washout period, subjects crossed over
           and received the other treatment (Period 2; Day 7). Subjects were confined from Day -1 until
           Day 3 (after PK blood draw), and from Day 7 until Day 10 (after PK blood draw). Following
           an overnight fast of at least 10 hours, subjects received three lidocaine topical systems 1.8%
           or three lidocaine patches 5% applied for 12 hours to a defined area of normal skin on the
           back; all subjects completed a 7-day washout period following Period 1 and Period 2. During
           Periods 1 and 2, products were evaluated for degree of adhesion by the trained scorer using
           the FDA-recommended rating scale, and serial PK samples were collected for the
           determination of lidocaine plasma concentration at predose (time 0) and at scheduled time
           points up to 48 hours (Day 3 [Period 1] and Day 10 [Period 2]).17

           Blood Sampling and Determination of Drug Concentrations
           In both Studies 1 and 2, serial blood samples were collected via venipuncture to measure
           the plasma concentration of lidocaine at predetermined times after application of the product.
           Blood samples (5 mL at each time point in Study 1 and 6 mL at each time point in Study 2)
           were taken during each treatment period at preapplication and then after product application
           at 2, 4, 6, 9, 10, 11, 12, 13, 14, 16, 18, 20, 22, 24, and 48 hours. In Study 1, samples were
           taken at 5, 10, 20, 30, 45, 60, and 90 minutes and 2, 3, 4, 8, and 12 hours postdose for the
           lidocaine IV lead-in period. Blood was collected into heparinized or EDTA-containing tubes
           and centrifuged at 3000 rpm for 10 minutes at 4°C. Plasma was transferred to plastic tubes
           and frozen until analysis.

           Bioanalytical Methods



https://www.printIriendly.com/p/g/PKbBJp                                                                                                     6/24
8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                    Document
                                     Open-Label, Bioequivalence Study of22-2     Filed
                                                                         Lidocaine Topical08/24/22      Page
                                                                                           System 1.8% and      98 of
                                                                                                           Lidocaine    210
                                                                                                                     Patch 5% in Healthy Subjects




           Plasma concentrations of lidocaine were determined using a validated liquid chromatography
           with tandem mass spectrometry method. The assay was linear in the range of 0.500 ng/mL
           to 300 ng/mL for Study 1 and 0.200 ng/mL to 300 ng/mL for Study 2. The lower limit of
           quantification was 0.500 ng/mL in Study 1 and 0.200 ng/mL in Study 2.

           Safety Assessments
           Safety assessments included clinical laboratory tests (blood chemistry, hematology, urine
           analysis), physical examination, vital signs (blood pressure, pulse rate, body temperature),
           and resting standard 12-lead electrocardiogram at screening, before product administration,
           and at specified time points throughout Studies 1 and 2. In the Study 1 lidocaine IV lead-in
           period, subjects had continuous cardiac monitoring during the IV bolus and up to 4 hours
           post-administration. AEs were monitored throughout both studies.

           Adhesion Assessments
           In Study 2, adhesion of the products was assessed immediately after application and at 3, 6,
           9, and 12 hours, just prior to product removal. Adhesion was scored according to the FDA-
           recommended scale, where 0: ≥90% adhered (essentially no lift off the skin); 1: ≥75% to
           <90% adhered (some edges only lifting off the skin); 2: ≥50% to <75% adhered (less than
           half of the system lifting off the skin); 3: <50% adhered but not detached (more than half the
           system lifting off the skin without falling off); and 4: 0% (complete detachment).17

           Skin Irritation Assessments
           In Study 2, dermal response was evaluated after product removal according to the scoring
           system recommended by FDA guidance.18 The scoring system is based on a scale of 0 to 7
           (0=no evidence of irritation; 1=minimal erythema, barely perceptible; 2=definite erythema;
           3=erythema and papules/pustules; 4=definite edema; 5=erythema, edema, and papules;
           6=vesicular eruption; 7=strong reaction spreading beyond the application site).

           Statistical Analyses
           In Studies 1 and 2, all statistical processing was performed using the SAS® system (Version
           9.2). In Study 1, all PK parameters were summarized by treatment period, using mean,
           standard deviation (SD), 95% confidence interval (CI), minimum, median, and maximum.
           Cmax, AUCo_t, and AUCo_. were tested for bioequivalence between the two product
           treatments. The log-transformed quantities were analyzed in a mixed effects analysis of
           variance model, with treatment, sequence, and period as fixed effects and subject within
           sequence as a random effect. Estimates of the difference between treatment least square
           means were obtained from the model with 90% Cls. These estimates and Cls were back-
           transformed onto the original scale to provide estimates of the geometric means for each



https://www.printIriendly.com/p/g/PKbBJp                                                                                                     7/24
8/23/22,             Case  4:22-cv-02625-HSG
                        A Randomized,                    Document
                                      Open-Label, Bioequivalence Study of22-2     Filed
                                                                          Lidocaine Topical08/24/22      Page
                                                                                            System 1.8% and      99 of
                                                                                                            Lidocaine    210
                                                                                                                      Patch 5% in Healthy Subjects




           treatment and the ratio of the geometric means. By convention, if the 90% CI of the ratio of
           geometric means was within 80% to 125%, then the two treatments were considered
           bioequivalent.

           Results

           Patient Disposition and Baseline Characteristics
           In Study 1, a total of 58 subjects were enrolled and 56 (96.6%) completed the study. One
           subject discontinued because of an AE (urticaria) during the IV lead-in period, and 1 subject
           withdrew consent. The median age was 39.5 years with four subjects over the age of 65.
           More than half of subjects were women (62.1%) (Table 2). In Study 2, a total of 54 subjects
           were randomized; 28 subjects were randomized to Sequence 1 and 26 subjects were
           randomized to Sequence 2. All subjects (100%) in both Sequence 1 and Sequence 2
           completed the study. Among all subjects, the mean age was 41.1 years with an SD of 10.3
           years. Thirty-nine subjects (72.2%) were men, and 15 subjects (27.8%) were women (Table
           3).

           Table 2

           Demographics and Baseline Characteristics (Study 1)

                                                      <65 Years (n=54)       ≥65 Years (n=4)      All Subjects (N=58)

            Age (years)

              Mean (SD)                               36.8 (9.9)             68.5 (4.4)           39.0 (12.5)

              Median                                  37.0                   66.5                 39.5

              Minimum, maximum                        20, 55                 66, 75               20, 75

            Gender, n (%)

              Male                                    20 (37.0)              2 (50.0)             22 (37.9)

              Female                                  34 (63.0)              2 (50.0)             36 (62.1)

            Ethnicity, n (%)

              Hispanic or Latino                      21 (38.9)              0                    21 (36.2)

              Non-Hispanic or Latino                  33 (61.1)              4 (100.0)            37 (63.8)

            Race, n (%)




https://www.printIriendly.com/p/g/PKbBJp                                                                                                      8/24
8/23/22,             Case 4:22-cv-02625-HSG
                        A Randomized,                   Document
                                      Open-Label, Bioequivalence       22-2
                                                                 Study of        Filed
                                                                          Lidocaine      08/24/22
                                                                                    Topical System 1.8% Page    100 Patch
                                                                                                        and Lidocaine of 210
                                                                                                                          5% in Healthy Subjects




                                                      <65 Years (n=54)      ≥65 Years (n=4)      All Subjects (N=58)

              White                                   28 (51.9)             2 (50.0)             30 (51.7)

              Black or African American               23 (42.6)             2 (50.0)             25 (43.1)

              American Indian or Alaska Native        1 (1.9)

              Asian                                   1 (1.9)               0                    1 (1.7)

              Other                                   1 (1.9)               0                    1 (1.7)


           Open in a separate window
           Abbreviation: SD, standard deviation.

           Table 3
           Demographics and Baseline Characteristics (Study 2)

                                  Sequence 1 [Lidocaine Topical                 Sequence 2 [Lidocaine Patch 5% ->
                                  System 1.8% —> Lidocaine Patch 5%]            Lidocaine Topical System 1.8%]                Overall
                                  (n=28)                                        (n=26)                                        (N=54)

            Age (years)

              Mean (SD)           41.3 (10.8)                                   40.8 (9.9)                                    41.1
                                                                                                                              (10.3)

              Median              41.0                                          45.0                                          42.5

             Minimum,             20, 58                                        25, 59                                        20, 59
            maximum

            Gender, n (%)

              Male                20 (71.4)                                     19 (73.1)                                     39
                                                                                                                              (72.2)

              Female              8 (28.6)                                      7 (26.9)                                      15
                                                                                                                              (27.8)

            Ethnicity, n (%)

              Hispanic or         6 (21.4)                                      5 (19.2)                                      11
            Latino                                                                                                            (20.4)

              Non-Hispanic        22 (78.6)                                     21 (80.8)                                     43
            or Latino                                                                                                         (79.6)




https://www.printIriendly.com/p/g/PKbBJp                                                                                                    9/24
8/23/22,           Case 4:22-cv-02625-HSG
                      A Randomized,                   Document
                                    Open-Label, Bioequivalence       22-2
                                                               Study of        Filed
                                                                        Lidocaine      08/24/22
                                                                                  Topical System 1.8% Page    101 Patch
                                                                                                      and Lidocaine of 210
                                                                                                                        5% in Healthy Subjects




                                 Sequence 1 [Lidocaine Topical               Sequence 2 [Lidocaine Patch 5% ->
                                 System 1.8% —> Lidocaine Patch 5%]          Lidocaine Topical System 1.8%]                 Overall
                                 (n=28)                                      (n=26)                                         (N=54)

            Race, n (%)

              White               15 (53.6)                                   13 (50.0)                                     28
                                                                                                                            (51.9)

              Black or            12 (42.9)                                   13 (50.0)                                     25
            African                                                                                                         (46.3)
            American

              American            1 (3.6)                                     0 (0.0)                                       1 (1.9)
            Indian or Alaska
            Native


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           Abbreviation: SD, standard deviation.

           PK Assessments
           In Study 1, 56 of 58 subjects completed all portions of the study and were included in the PK
           analysis. The PK of lidocaine delivered as a 0.7 mg/kg IV dose was characterized by a high
           Cmax (1778.39 ± 2555.09 ng/mL), short Tmax (median of 0.13 hours [0.1-4.0 hours]), and
           short T112 (2.92 ± 0.52 hours) (Table 4, Figure 1). Compared with the IV bolus, the PK
           profiles of both the lidocaine topical system 1.8% and lidocaine patch 5% were characterized
           by a more than 20-fold lower Cmax (80.45 ± 25.53 ng/mL for lidocaine topical system 1.8%
           and 75.38 ± 29.96 ng/mL for lidocaine patch 5%), a longer Tmax (median of 13.95 hours
           [range 9.0-20.0 hours] for lidocaine topical system 1.8% and 12.69 hours [range 9.1-24.0
           hours] for lidocaine patch 5%), and a longer T112 (5.56 ± 1.67 hours for lidocaine topical
           system 1.8% and 6.27 ± 1.77 hours for lidocaine patch 5%). Mean lidocaine plasma
           concentrations versus time profiles for lidocaine topical system 1.8% and lidocaine patch 5%
           are shown in Figure 2 and demonstrate a similar PK profile.

           Table 4
           Pharmacokinetic Parameter Estimates of Lidocaine in Plasma (per Protocol Population)
           (Studies 1 and 2)

            Pharmacokinetic                   Lidocaine Topical System,          Lidocaine Patch,         Lidocaine (0.7 mg/kg)
            Parameter                         1.8%                               5%                       IV

            Study 1




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8/23/22,            Case 4:22-cv-02625-HSG
                       A Randomized,                   Document
                                     Open-Label, Bioequivalence       22-2
                                                                Study of        Filed
                                                                         Lidocaine      08/24/22
                                                                                   Topical System 1.8% Page    102 Patch
                                                                                                       and Lidocaine of 210
                                                                                                                         5% in Healthy Subjects




            Pharmacokinetic                 Lidocaine Topical System,             Lidocaine Patch,         Lidocaine (0.7 mg/kg)
            Parameter                       1.8%                                  5%                       IV

            Number of Subjects              56                                    56                       56

            Cmax (ng/mL)                    80.5 (25.53)                          75.4 (30.0)              1778.39 (2555.09)

            AUCo_t (ng•h/mL) [±SD]          1160.3 (394.5)                        1121.0 (453.1)           1981.94 (1660.51)

            AUCo_iaf (ng•h/mL) [±SD]        1207.4 (387.6)                        1183.4 (437.4)           1998.56 (1667.92)

            Tmax (hour) [range]a            14.0 (9.0, 20.0)                      12.7 (9.1, 24.0)         0.13 (0.1, 4.0)

            L A (hour) [±SD]                5.6 (1.7)                             6.3 (1.8)                2.92 (0.52)

            ke (hr-1) [±SD]                 0.13 (0.03)                           0.12 (0.03)              0.24 (0.04)

            Study 2

            Number of Subjects              54                                    54

            Cmax (ng/mL)                    75.1 (28.0)                           86.6 (42.3)

            AUCo_t (ng•h/mL) [±SD]          1242.9 (432.5)                        1420.8 (586.0)

            AUCo_iaf (ng•h/mL) [±SD]        1253.7 (432.5)                        1435.5 (588.9)

            Tmax (hour) [range]a            13.9 (4.0, 18.0)                      11.0 (4.0, 17.9)

            -1,A (hour) [±SD]               5.4 (1.0)                             6.2 (1.6)

            ke (hr-1) [±SD]                 0.13 (0.03)                           0.12 (0.03)


           Open in a separate window
           Note: aMedian value.

           Abbreviations: Cmax, maximum plasma drug concentration; AUCo_t, area under the curve
           from time 0 to the time of the last measurable concentration; SD, standard deviation; AUCo_
           inf, area under the plasma concentration-time curve from time 0 to infinity; Tmax, time point at
           which the maximum plasma concentration was observed; L A, elimination half-life; Ke,
           elimination rate constant; IV, intravenous.




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8/23/22,                                           Case 4:22-cv-02625-HSG
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                                                                                                        Lidocaine      08/24/22
                                                                                                                  Topical System 1.8% Page    103 Patch
                                                                                                                                      and Lidocaine of 210
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                                                   0 1      2     3   4     5   6    7   8   9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24
                                                                                                       Time (hours)

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           Figure 1
           Mean lidocaine plasma concentrations versus time profiles for IV lidocaine 0.7 mg/kg,
           semilog scale (N = 56) (Study 1). Time = 0 is pre-dose measurement.

           Abbreviation: IV, intravenous.
           Natural Log of Mean Concentration




                                               5

                                               4

                                               3

                                               2       o/
                                               1

                                               0
                                                   0   2    4     6   8 10 12 14 16 18 20 22 24 26 28 30 32 34 36 38 40 42 44 46 48
                                                                                                      Time (hours)
                                                                Treatment           - Lidocaine topical system 1.8%         • • • Lidocaine patch 5%

           Open in a separate window
           Figure 2
           Mean lidocaine plasma concentrations versus time profiles for lidocaine topical system 1.8%
           (N = 56) and lidocaine patch 5%, semilog scale (N = 54) (Study 1). Time = 0 is pre-dose
           measurement.




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8/23/22,           Case 4:22-cv-02625-HSG
                      A Randomized,                   Document
                                    Open-Label, Bioequivalence       22-2
                                                               Study of        Filed
                                                                        Lidocaine      08/24/22
                                                                                  Topical System 1.8% Page    104 Patch
                                                                                                      and Lidocaine of 210
                                                                                                                        5% in Healthy Subjects




           Bioequivalence was assessed by calculating the 90% CI for the geometric least square
           means ratio of lidocaine topical system 1.8%/lidocaine patch 5% for AUC04, AUCo_inf, and
           Cmax, all of which were entirely within the acceptance range of 0.8 to 1.25, indicating that the
           products have a very similar rate and extent of absorption. The 90% Cls of all parameters
           were within the range of 80% to 125%, demonstrating that lidocaine topical system 1.8% and
           lidocaine patch 5% are bioequivalent (Table 5).

           Table 5
           Analysis of Bioequivalence (Study 1)

                                   n       Ratio of Geometric Means     90% CI

            Cmax (ng/mL)           56      111.22                       103.82, 119.15

            AUCo_t (ng•h/mL)       56      106.41                       99.85, 113.41

            AUCo-inf (ng•h/mL)     54      104.57                       98.84, 110.63


           Open in a separate window
           Abbreviations: Cmax, maximum plasma drug concentration; AUCo_t, area under the curve
           from time 0 to the time of the last measurable concentration; AUCo_inf, area under the plasma
           concentration-time curve from time 0 to infinity; CI, confidence interval.

           In Study 2, a total of 54 subjects were enrolled and included in the PK analysis. Like in Study
           1, the PK parameters of lidocaine from lidocaine topical system 1.8% and lidocaine patch 5%
           were similar (Table 4). Mean lidocaine plasma concentrations versus time profiles for
           lidocaine topical system 1.8% and lidocaine patch 5% are shown in Figure 3. The
           bioequivalence of lidocaine topical system 1.8% compared with lidocaine patch 5% is
           presented in Table 6. The ratio of geometric least square means and 90% Cls for AUCo_t,
           AUC0_00, and Cmax were entirely within the acceptance range of 0.8 to 1.25 for the PK
           parameter population and by period.

           Table 6
           Analysis of Bioequivalence (Study 2)

                                   n       Ratio of Geometric Means     90% CI

            Cmax (ng/mL)           54      90.7                         85.0, 96.8

            AUCo_t (ng•h/mL)       54      89.1                         84.9, 93.5

            AUC0-inf (ng•h/mL)     53      88.6                         84.4, 93.0




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8/23/22,                                    Case 4:22-cv-02625-HSG
                                               A Randomized,                   Document
                                                             Open-Label, Bioequivalence       22-2
                                                                                        Study of        Filed
                                                                                                 Lidocaine      08/24/22
                                                                                                           Topical System 1.8% Page    105 Patch
                                                                                                                               and Lidocaine of 210
                                                                                                                                                 5% in Healthy Subjects




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           Note: Log-transformed quantities are analyzed in a mixed effects analysis of variance
           model, with treatment, sequence, and period as fixed effects and subject within sequence as
           a random effect.

           Abbreviations: Cmax, maximum plasma drug concentration; AUCo_t, area under the curve
           from time 0 to the time of the last measurable concentration; AUCo_inf, area under the plasma
           concentration-time curve from time 0 to infinity; CI, confidence interval.


                                          100.00
           Plasma Concentration (nglmL)




                                           10.00



                                            1.00



                                            0.10



                                            0.01
                                                   0       4        8       12       16      20       24       28       32      36       40       44       48
                                                                                          Time Post-Dose (h)

                                          o o o Lidocaine topical system 1.8%                                            Lidocaine patch 5%

           Open in a separate window
           Figure 3
           Mean lidocaine plasma concentrations versus time profiles for lidocaine topical system 1.8%
           and lidocaine patch 5% (Study 2).

           Apparent Dose
           In Study 1, systemic exposure for both lidocaine topical system 1.8% and lidocaine patch 5%
           was estimated by applying the clearance rate observed after IV lidocaine bolus by the
           formula DoseApp_iv = CLiv x --
                                       ALM- PRODUCT to ascertain the dose absorbed from the products.


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8/23/22,           Case 4:22-cv-02625-HSG
                      A Randomized,                   Document
                                    Open-Label, Bioequivalence       22-2
                                                               Study of        Filed
                                                                        Lidocaine      08/24/22
                                                                                  Topical System 1.8% Page    106 Patch
                                                                                                      and Lidocaine of 210
                                                                                                                        5% in Healthy Subjects




           The results are described in Table 7 and show that 43.99 ± 17.62 mg of lidocaine was
           absorbed from three lidocaine topical systems 1.8% and 43.74 ± 18.22 of lidocaine was
           absorbed from three lidocaine patches 5%. While both products deliver the same amount of
           lidocaine, the bioavailability is very different due to the difference in drug load per
           system/patch (41% ± 16% for lidocaine topical system 1.8% vs 2% ± 1% for lidocaine patch
           5%). These results are consistent with the prescribing information for lidocaine patch 5%,
           which indicates a bioavailability of 3% ± 2%, albeit on the lower side of the labeled range.12

           Table 7
           Summary of Apparent Dose Absorbed (Studies 1 and 2)

                                Study 1                                           Study 2

                                AnalysisIVClearance                               AnalysisIVResidual

                                Dose Absorbed/3        Fraction of Applied        Dose Absorbed/3           Fraction of Applied
            Product             Products (mg) (SD)     Dose Absorbed (%)          Products (mg) (SD)        Dose Absorbed (%)

            Lidocaine           43.99 ± 17.62          41 ± 16                    47.9 ± 8.8                44±8
            topical system
            1.8%

            Lidocaine           43.74 ± 18.22          2±1
            patch 5%


           Open in a separate window
           Abbreviations: IV, intravenous; SD, standard deviation.

           In Study 2, systemic exposure for lidocaine topical system 1.8% was estimated by
           measuring the amount of residual lidocaine in the used topical system, liner, envelope, and
           surface of the skin and subtracting the total residual amount from the amount of lidocaine in
           an unused topical system. The total residual amount of lidocaine recovered was 18.4 ± 2.94
           mg/topical system (of the possible 36 mg). As shown in Table 7, 47.9 ± 8.8 mg of lidocaine
           was absorbed from three lidocaine topical systems 1.8%, with estimated bioavailability of
           44% ± 8%. These results are consistent with the apparent dose determined by IN/a_
           observed with lidocaine topical system 1.8% in Study 1.

           Adhesion Assessments
           In addition to characterizing the PK profile, Study 2 also included assessments of product
           adhesion. Lidocaine topical system 1.8% had a cumulative mean adhesion score of 0.22 that
           was statistically superior to lidocaine patch 5%, with a mean score of 0.86 (P<0.001). None




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8/23/22,            Case 4:22-cv-02625-HSG
                       A Randomized,                   Document
                                     Open-Label, Bioequivalence       22-2
                                                                Study of        Filed
                                                                         Lidocaine      08/24/22
                                                                                   Topical System 1.8% Page    107 Patch
                                                                                                       and Lidocaine of 210
                                                                                                                         5% in Healthy Subjects




           of the lidocaine topical systems 1.8% had a score greater than 2. In contrast, 5.0% (8
           patches) of the lidocaine patches 5% had a score of 3 (>0% to <50% adhered), and 3.1% (5
           patches) became completely detached (score of 4) (Table 8).

           Table 8
           Summary of Adhesion (Study 2)

                                                                         Lidocaine Topical System              Lidocaine Patch
            Parameter                                                    1.8%                                  5%


            Subjects with <50% adherence for at least one patch
            (%)

              2 hours                                                    0                                     2 (3.8)

              6 hours                                                    0                                     5 (9.4)

              9 hours                                                    0                                     7 (13.2)

              12 hours                                                   0                                     8(15.1)

            Number of patches completely detached (%)

              2 hours                                                    0                                     1 (0.6)

              6 hours                                                    0                                     2 (1.3)

              9 hours                                                    0                                     3 (1.9)

              12 hours                                                   0                                     5 (3.1)

            Mean (90% CI) adherence score at 12 hours                    0.22 (0.08, 0.36)                     0.86 (0.72, 1.00)

            P value (1-sample t-test, test vs reference)                 <0.001


           Open in a separate window
           Abbreviation: CI, confidence interval.

           Skin Irritation Assessments
           In Study 2, skin irritation was assessed after product removal. The mean sums of irritation
           scores for the three patches per subject (ie, total score for all three patches) for lidocaine
           topical system 1.8% and lidocaine patch 5% at 12 hours following application were quite
           similar. At 12 hours, 63.0% of subjects treated with lidocaine topical system 1.8% and 55.6%
           of subjects treated with lidocaine patch 5% had an irritation score of 0, indicating no
           evidence of irritation. Overall, 20 of 54 (37.0%) lidocaine topical system 1.8% subjects


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8/23/22,            Case 4:22-cv-02625-HSG
                       A Randomized,                   Document
                                     Open-Label, Bioequivalence       22-2
                                                                Study of        Filed
                                                                         Lidocaine      08/24/22
                                                                                   Topical System 1.8% Page    108 Patch
                                                                                                       and Lidocaine of 210
                                                                                                                         5% in Healthy Subjects




           compared with 24 of 54 (44.4%) lidocaine patch 5% subjects had at least some evidence of
           irritation. At a 90% CI, the mean sums of irritation scores were 1.15 and 1.31, respectively,
           which is not a significant difference (P=0.406). The mean irritation score per patch was <1,
           which is not considered to be clinically significant (Table 9).

           Table 9
           Summary of Irritation Analysis (Study 2)

                                                                   Lidocaine Topical System 1.8%           Lidocaine Patch 5%
                                                                   (N=54)                                  (N=54)

            Subjects' maximum irritation score across all 3
            patches (%)

              0                                                    34 (63.0)                               30 (55.6)

                                                                   18 (33.3)                               24 (44.4)

              2                                                    2 (3.7)                                 0

            Subjects by sum of irritation scores for all
            patches (%)*

              0                                                    34 (63.0)                               30 (55.6)

              1-2                                                  3 (5.6)                                 1 (1.9)

              3-4                                                  15 (27.8)                               23 (42.6)

              5-6                                                  2 (3.7)                                 0

            Mean (90% CI) sum of irritation scores                 1.15 (0.91, 1.38)                       1.31 (1.08, 1.55)

            P value (1-sample t-test, test vs reference)           0.406


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           Notes: *The mean sums of irritation scores are for the three patches per subject (ie, total
           score for all three patches) for lidocaine topical system 1.8% and lidocaine patch 5% at 12
           hours following application. Irritation Scale: 0=No evidence of irritation; 1=Minimal erythema,
           barely perceptible; 2=Definite erythema, readily visible, or minimal edema, or minimal
           popular response; 3=Erythema and papules; 4=Definite edema; 5=Erythema, edema, and
           papules; 6=Vesicular eruption; 7=Strong reaction spreading beyond test site.

           Abbreviation: CI, confidence interval.

           Safety

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8/23/22,            Case 4:22-cv-02625-HSG
                       A Randomized,                   Document
                                     Open-Label, Bioequivalence       22-2
                                                                Study of        Filed
                                                                         Lidocaine      08/24/22
                                                                                   Topical System 1.8% Page    109 Patch
                                                                                                       and Lidocaine of 210
                                                                                                                         5% in Healthy Subjects




           In Study 1, 12 subjects (20.7%) experienced a total of 17 AEs; one subject experienced an
           AE that led to study discontinuation, which was not related to the study drug. The overall
           incidence of AEs was 3.6% in subjects receiving lidocaine topical system 1.8% and 10.5% in
           subjects receiving lidocaine patch 5% (Table 10). In the group of subjects receiving lidocaine
           topical system 1.8%, one subject experienced dizziness, headache, and abdominal pain,
           and a second subject experienced urticaria. All of these AEs were considered possibly
           related to study medication. In the group of subjects receiving lidocaine patch 5%, one
           subject experienced anemia and a second subject experienced elevated alanine
           transaminase levels that were considered possibly related to study medication.

           Table 10
           Overall Summary of Adverse Events (Study 1)

                                                                   0.7 mg/kg                                       Lidocaine
                                                                   Lidocaine IV         Lidocaine Topical          Patch 5.0%
            System Organ Class                Preferred Term       (N=58)               System 1.8% (N=56)         (N=57)

            Subjects with any AE, n (%)                            5 (8.6%)             2 (3.6%)                   6 (10.5%)
                                                                   NR=5 (8.6%)          NR=0                       NR=4 (7.0%)
                                                                   R=0                  R=2 (3.6%)                 R=2 (3.5%)

            Blood, lymphatic disorders, n     Anemia               0                    0                          2 (3.5%)
            (%)                                                                                                    NR=1 (1.8%)
                                                                                                                   R=1 (1.8%)

            Gastrointestinal disorders, n     Abdominal            0                    0                          1 (1.8%)
            (%)                               discomfort                                                           NR=1 (1.8%)
                                                                                                                   R=0

                                              Abdominal pain       0                    1 (1.8%)                   0
                                                                                        NR=0
                                                                                        R=1 (1.8%)

                                              Nausea               0                    0                          1 (1.8%)
                                                                                                                   NR=1 (1.8%)
                                                                                                                   R=0

            Injury, poisoning, and            Sunburn              1 (1.7%)
            procedural complications, n                            NR=1 (1.7%)
            (%)                                                    R=0

            Laboratory evaluations, n         Elevated             0                    0                          1 (1.8%)
            (%)                               alanine                                                              NR=0
                                              transaminase                                                         R=1 (1.8%)




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8/23/22,           Case 4:22-cv-02625-HSG
                      A Randomized,                   Document
                                    Open-Label, Bioequivalence       22-2
                                                               Study of        Filed
                                                                        Lidocaine      08/24/22
                                                                                  Topical System 1.8% Page    110 Patch
                                                                                                      and Lidocaine of 210
                                                                                                                        5% in Healthy Subjects




                                                                  0.7 mg/kg                                       Lidocaine
                                                                  Lidocaine IV         Lidocaine Topical          Patch 5.0%
            System Organ Class               Preferred Term       (N=58)               System 1.8% (N=56)         (N=57)

            Nervous system disorders, n      Dizziness            1 (1.7%)             1 (1.8%)                   0
            (%)                                                   NR=1 (1.7%)          NR=0
                                                                  R=0                  R=1 (1.8%)

                                             Headache             1 (1.7%)             1 (1.8%)                   2 (3.5%)
                                                                  NR=1 (1.7%)          NR=0                       NR=2 (3.5%)
                                                                  R=0                  R=1 (1.8%)                 R=0

            Skin and subcutaneous            Hyperhidrosis        1 (1.7%)             0                          0
            disorders, n (%)                                      NR=1 (1.7%)
                                                                  R=0

                                             Pruritus             0                    0                          1 (1.8%)
                                                                                                                  NR=1 (1.8%)
                                                                                                                  R=0

                                             Urticaria            1 (1.7%)             1 (1.8%)                   0
                                                                  NR=1 (1.7%)          NR=0
                                                                  R=0                  R=1 (1.8%)


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           Notes: Counts reflect numbers of subjects reporting one or more AEs that map to the
           MedDRA preferred term. TEAEs included definitely related, probably related, and possibly
           related. AEs were analyzed based on the last treatment subjects were on prior to AE
           occurrence. Denominator for percentages was number of subjects exposed to the given
           treatment.

           Abbreviations: AE, adverse event; IV, intravenous; MedDRA, Medical Dictionary for
           Regulatory Activities; NR, not related; R, related; TEAE, treatment-emergent adverse event.

           In Study 2, two AEs were recorded among two subjects (3.7%). One subject (1.9%)
           receiving lidocaine topical system 1.8% experienced acne and one subject (1.9%) receiving
           lidocaine patch 5% experienced syncope. Neither AE was judged to be treatment-related.
           There were no serious or severe AEs and no AEs that led to discontinuation of study
           medication or the study (Table 11).

           Table 11
           Overall Summary of Adverse Events (Safety Population) (Study 2)

                                             Preferred Term           Lidocaine Topical            Lidocaine Patch        Overall
            System Organ Class               (Verbatim)               System 1.8% (N=54)           5% (N=54)              (N=54)



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8/23/22,           Case 4:22-cv-02625-HSG
                      A Randomized,                   Document
                                    Open-Label, Bioequivalence       22-2
                                                               Study of        Filed
                                                                        Lidocaine      08/24/22
                                                                                  Topical System 1.8% Page    111 Patch
                                                                                                      and Lidocaine of 210
                                                                                                                        5% in Healthy Subjects




                                             Preferred Term        Lidocaine Topical               Lidocaine Patch        Overall
            System Organ Class               (Verbatim)            System 1.8% (N=54)              5% (N=54)              (N=54)

            Subjects with any                                      1 (1.9%)                        1 (1.9%)               2 (3.7%)
            AE, n (%)

            Nervous system disorders, n      Syncope               0                               1 (1.9%)               1 (1.9%)
            (%)                                                                                    Mild, notrelated

            Skin and subcutaneous            Acne                  1 (1.9%)                        0                      1 (1.9%)
            tissue disorders, n (%)                                Mild, not related


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           Abbreviation: AE, adverse event.


           Discussion
           The PK profiles of two different lidocaine-containing topical systems/patches (ZTlido® 1.8%
           and Lidoderm® 5%) were compared in two studies in normal, healthy subjects with regard to
           the systemic rate of exposure (AUCo_t, AUCo_inf) and the extent of absorption (Cmax). The
           geometric means for these PK parameters were similar, and their 90% Cls were within the
           predefined bioequivalence range of 80% to 125%.19 Thus, based on these results, it can be
           concluded that the two products, despite their differences in drug load and strength, are
           bioequivalent. Both Study 1 and Study 2 were performed to support marker approval in the
           United States by establishing a pharmaceutical bridge between lidocaine topical system
           1.8% and lidocaine patch 5%. In Study 1, the products were reinforced at the corners with
           tape to ensure that there was no lifting from the skin; however, taping may have the potential
           to alter drug absorption. Study 2 replicated the design of Study 1 without tape reinforcement.
           Both studies confirm bioequivalence between lidocaine topical system 1.8% and lidocaine
           patch 5%. While Study 2 shows that the two products are bioequivalent without tape
           reinforcement, the disparate adhesion performance noted may be a clinical/PK performance
           consequence in the real world, as single-dose PK studies inherently limit subject mobility
           within confinement of the clinic that is not representative of real-life challenges.

           Both products were well tolerated, with an overall incidence of treatment-related adverse
           events treatment-related AEs in the lidocaine topical system 1.8% group and the lidocaine
           patch 5% group of 3.6% and 3.5%, respectively, in Study 1. No treatment-related AEs were
           observed in Study 2 for either product. Dermal response scores (skin tolerability after
           removal) were similar between lidocaine topical system 1.8% and lidocaine patch 5%.

           In addition to demonstrating bioequivalence between lidocaine topical system 1.8% and
           lidocaine patch 5% and showing that the two products have comparable safety and skin
           tolerability profiles, the data from the present study highlight that lidocaine topical system


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8/23/22,           Case 4:22-cv-02625-HSG
                      A Randomized,                   Document
                                    Open-Label, Bioequivalence       22-2
                                                               Study of        Filed
                                                                        Lidocaine      08/24/22
                                                                                  Topical System 1.8% Page    112 Patch
                                                                                                      and Lidocaine of 210
                                                                                                                        5% in Healthy Subjects




           1.8% presents several advantages over lidocaine patch 5%, in terms of drug load, residual
           drug after use, and adhesion. Lidocaine topical system 1.8% delivers the same amount of
           lidocaine as lidocaine patch 5% with a 19-fold reduction in drug load. It also has low residual
           drug content after use (-18 mg). Topical delivery systems that minimize drug load and
           residual drug have an inherently lower risk of inadvertent exposure or systemic safety risks
           (eg, in the event of dose-dumping). Lidocaine topical system 1.8% is also a lighter, thinner
           "patch" that demonstrated superior adhesion to lidocaine patch 5% at the end of the labeled
           wear duration (12 hours).9,12 Adequate adhesion is a critical quality attribute for topical
           delivery systems; if the product lifts or detaches during wear, dosing may be compromised
           and there is an increased risk of inadvertent exposure to others.20 This risk is emphasized in
           the lidocaine patch 5% label with a statement on level of residual drug (665 mg) and bolded
           warning pertinent to the risk of this level of residual drug. The label for lidocaine topical
           system 1.8% maintains a warning of risks associated with residual drug, but only states that
           a used product has "residual drug after use" and has an unbolded warning. This study shows
           that lidocaine topical system 1.8% is an efficient lidocaine delivery system with improved
           adhesion relative to lidocaine patch 5% and comparable dermal safety and reduction of
           residual drug after use.

           Importantly, these data demonstrate the discrepancy between product strength and the
           amount of drug that is delivered to the patient. In this case, a lidocaine topical system with a
           product strength of 1.8% and 36 mg drug load is bioequivalent (ie, delivers the same level of
           drug) to a lidocaine patch with a product strength of 5% and 700 mg drug load. This is
           counterintuitive, as one could reasonably expect that a topical system or patch with a higher
           strength (2.8-fold) and increased drug load (19-fold) would deliver significantly more drug to
           the skin; however, topical system delivery technologies have advanced such that product
           strength and drug load are not necessarily indicators of biopharmaceutical efficiency, and
           thus, can be misleading and may contribute to physician, pharmacy, and patient confusion
           over strength and dose.

           Conclusion
           Overall, bioequivalence was demonstrated between lidocaine topical system 1.8% and
           lidocaine patch 5%, and thus, these products can be expected to have similar efficacy in
           managing PHN pain. A statistical comparison of the single-time adhesion scores at 12 hours
           was statistically significant in favor of lidocaine topical system 1.8% over lidocaine patch 5%.
           Both products were well tolerated as a single application in healthy adult human subjects. It
           may be reasonable to anticipate that as topical system/patch technology progresses, the
           strength presentations as a percentage of drug-to-adhesive will become increasingly
           meaningless. Likewise, the drug load within these topical products may not be an adequate
           indication of drug delivery or exposure.



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           Medical Education, provided medical writing support.


           Data Sharing Statement
           The authors certify that this manuscript reports original clinical trial data. Individual
           participant data that underlie the results reported in this article after deidentification (text,
           tables, figures, and appendices) are available, including the study protocol. Data requests
           should be submitted in the form of a research proposal to
           moc.amrahpxelics@sriaffA_IacideM for up to 36 months after the publication date.

           Disclosure
           The abstract of this paper was presented at the PAINWeek 2018 Conference (September 4—
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           Vought K, Shah M, Grimes D, LaStella P, Greuber E. A Randomized, Comparative
           Pharmacokinetic (PK) Study of ZTlido TM Lidocaine Topical System 1.8% (36 mg) Versus
           Lidoderm® Lidocaine Patch 5% (700 mg). (2018) PAINWeek Abstract Book 2018, Postgrad
           Med, 130:sup1, 1-91, DOI: 10.1080/00325481.2018.1512253.

           In the past year, Dr. Gudin has been an advisor, consultant, or speaker's bureau member for
           Averitas Pharma, BioDelivery Sciences International, Inc., Daiichi Sankyo, Hisamitsu
           Pharmaceutical Co. Inc., Nektar Therapeutics, Salix Pharmaceuticals, and Scilex
           Pharmaceuticals Inc. Dr. Fudin has been an advisor, consultant, or speaker's bureau
           member for Abbott Laboratories, AcelRx Pharmaceuticals, Acutis Diagnostics Inc.,
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           Therapeutics, Pfizer Inc., Purdue Pharmaceuticals, and Scilex Pharmaceuticals Inc. Drs.
           Vought and Greuber have patent application 62/762753 pending to Scilex Pharmaceuticals
           Inc., and Dr Vought is head of R&D responsible for the design and conduct of the study. Drs.
           Greuber, Patel, and Vought are employees of Scilex Pharmaceuticals Inc., and they report
           grants and personal fees from Scilex Pharmaceuticals Inc. The authors report no other
           conflicts of interest in this work.

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Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 116 of 210




 EXHIBIT 15
8/23/22,            Case  4:22-cv-02625-HSG
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                                                                and Adhesion Filed 08/24/22          PageTopical
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           A Randomized, Crossover, Pharmacokinetic and
           Adhesion Performance Study of a Lidocaine Topical
           System 1.8% During Physical Activity and Heat
           Treatment in Healthy Subjects
             ncbi.nlm.nih.gov/pmc/articles/PMC7293912/




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           J Pain Res. 2020; 13: 1359-1367.

           Published online 2020 Jun 10. doi: 10.2147/JPR.S238268
           PMCID: PMC7293912

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           Jeffrey Fudin,1,2,3,4 Erica L Wegrzyn,1,2,3 Emileigh Greuber,5 Kip Vought,5 Kalpana Patel,5
           and Sri Nalamachu6
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           This article has been cited by other articles in PMC.

           Associated Data
           Data Citations

           Abstract

           Purpose
           This study compares the pharmacokinetic (PK) profile, adhesion, and safety of lidocaine
           topical system 1.8%, a novel lidocaine topical system approved to treat postherpetic
           neuralgia, under conditions of heat and exercise vs normal conditions.

           Materials and Methods




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8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                   Document
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                                                                and Adhesion Filed 08/24/22          PageTopical
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                                                                                                                 of 2101.8% During Physic...


           This open-label, 3-period, 3-treatment crossover study randomized 12 healthy adults to
           receive three lidocaine topical systems 1.8% during each of three treatment periods, with 7-
           day washouts between treatments. The product was applied to the mid-lower back and was
           removed after 12 hours. During Treatment A, subjects exercised on a bicycle for 30 minutes
           at 0, 2.5, 5.5, and 8.5 hours. During Treatment B, heat (temperature set at 36.7-40.3°C) was
           applied at 0 and 8.5 hours. Treatment C was normal conditions. The PK profile of each
           subject under exercise and heat conditions was compared to normal conditions. Skin
           irritation, adhesion, and adverse events were assessed.

           Results
           Twelve subjects completed the study. Exposure to external heat resulted in increased peak
           plasma concentration of lidocaine with a mean Cmax of 160.3±100.1 ng/mL vs 97.6±36.9
           ng/mL under normal conditions, with no effect on the extent of exposure (AUC).
           Concentrations returned to normal within 4 hours after the heat was removed. No clinically
           relevant differences in absorption were observed under exercise conditions with a mean
           Cmax of 90.5±25.4 ng/mL and no effect on the extent (AUC) of lidocaine exposure was
           observed relative to normal conditions. No systems detached during the study. Adverse
           events were mild, with none leading to discontinuation.

           Conclusion
           Transient heat exposure resulted in increased lidocaine plasma concentrations compared to
           normal conditions, whereas exercise had no effect. The effects of heat appear to be
           immediate, reversible, and below systemic therapeutic threshold in antiarrhythmic treatment
           (1000-1500 ng/mL), and well below the safe systemic threshold of 5000 ng/mL. Lidocaine
           topical system 1.8% remained adhered to the skin and was well tolerated under all
           conditions. ClinicalTrials.gov: NCT04150536.

           Keywords: herpes zoster, shingles, neuropathic pain, dermal

           Introduction
           Postherpetic neuralgia (PHN) is a chronic neuropathic pain condition that is a common
           complication of herpes zoster virus infections (shingles), particularly in older patients. The
           pain may persist for several (>3) months after the rash has resolved and is described as
           burning, sharp, jabbing, deep, and aching; it may be associated with allodynia. Itching and
           numbness have also been reported. PHN presents a significant individual and societal
           healthcare burden, but is often undiagnosed and poorly managed, with a 30% pain reduction
           considered clinically significant but a goal that is only met about 50% of the time.1




https://www.printfriendly.com/p/g/r6FPDr                                                                                                2/16
8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                   Document
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                                                                and Adhesion Filed 08/24/22          PageTopical
                                                                                       Study of a Lidocaine 119 System
                                                                                                                 of 2101.8% During Physic...


           Before prescribing treatment for PHN, providers must consider several patient-specific
           factors, such as age, comorbidities, and any medications used for treating comorbidities, to
           avoid potentially additive side effects. As the incidence of PHN increases with age,2 it is also
           important to consider age-related physiologic changes and pharmacokinetic (PK)
           implications, including impaired hepatic and renal function, that can increase the risk of
           adverse events (AEs).3 This is important given the potential AE profiles of oral medications
           for PHN that may include serotonin-norepinephrine reuptake inhibitors, tricyclic
           antidepressants, gabapentinoids, anticonvulsants, and opioids.4-6

           Lidocaine is an amide local anesthetic agent that stabilizes neuronal membranes by
           inhibiting the ionic fluxes required for initiation and conduction of impulses. Application of
           topical lidocaine has been shown to be efficacious for the treatment of neuropathic pain, with
           a low risk of systemic effects.1,2 ZTlido® is a novel lidocaine topical system (Scilex
           Pharmaceuticals Inc., Mountain View, CA, USA) that was approved by the US FDA in 2018
           for the relief of pain associated with PHN. Each topical system contains 36 mg of lidocaine in
           a thin, nonaqueous adhesive matrix (18 mg per gram adhesive: 1.8%).7 Lidocaine topical
           system 1.8% was developed to deliver a bioequivalent level of the drug as Lidoderm®
           (lidocaine patch 5%; Endo Pharmaceuticals, Malvern, PA, USA), a hydrogel patch containing
           700 mg of lidocaine.8 Like Lidoderm, ZTlido was designed to deliver sufficient lidocaine to
           produce an analgesic effect, but less than that needed to produce a complete sensory
           block.7

           Systemic lidocaine exposure from topically applied patches (now referred to as "topical
           systems" by FDA) is limited under normal wear conditions. For many drugs, however,
           delivery through the skin, and thus serum drug concentrations, can be affected by heat and
           exercise, which may alter circulation and blood flow, resulting in increased drug delivery and
           higher drug exposure.9,1° It is known that the absorption of local anesthetic agents, including
           lidocaine, from topical creams, can be increased if skin temperature is elevated by
           exercising, covering the skin, or using an external heat source.11 There have been reports of
           serious adverse events, including irregular heartbeat, seizures, difficulty breathing, and
           death after the improper use of local anesthetic numbing creams.11 The concentration of
           lidocaine required for systemic toxicity is ≥5000 ng/mL12 which is several-fold higher than the
           systemic exposure from prescription lidocaine patches and systems (-100 ng/mL) under
           normal use conditions.7'8 The effects of heat and exercise on drug delivery are dependent on
           many factors, including drug load, concentration, and the inactive ingredient composition,
           and should, therefore, be determined on a product-specific basis.

           Adhesion under conditions of heat and exercise is also a potential concern, as drug delivery
           depends on product adherence to the skin throughout the administration period. Activities of
           daily living can impact the application of topical systems and ultimately decrease efficacy if
           dermal adhesion is poor.



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8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                   Document
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                                                                and Adhesion Filed 08/24/22          PageTopical
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           Consistent with regulatory expectations and to appropriately characterize and label the
           product, this study was conducted to characterize the PK and adhesion of lidocaine topical
           system 1.8% under conditions of heat and exercise.

           Materials and Methods

           Measures and Outcomes
           This open-label, randomized, 3-treatment, 3-sequence, 3-period crossover study was
           conducted at one clinical site (AXIS Clinicals, Dilworth, MN, USA) in accordance with ICH
           Guideline for Good Clinical Practice (GCP), approved by Salus Institutional Review Board
           (IRB), and conducted in accordance with the Declaration of Helsinki. The bioanalytical facility
           was blinded to the randomization code. This study was registered with ClinicalTrials.gov,
           NCT04150536.

           Study Objectives
           The primary objective of this study was to evaluate the PK characteristics and adhesion
           performance of lidocaine topical system 1.8% (administered as 3 topical systems) in fasting
           healthy human subjects during physical exercise, heat exposure, and normal conditions. The
           secondary objective was to conduct a formal irritation assessment at the end of each
           treatment period and to monitor AEs and safety concerns in healthy subjects with the use of
           the product.

           Subjects
           Eligible men and women were 18 years of age and older, with a body mass index (BMI)
           between 18.00 and 32.49 kg/m2. Subjects were generally healthy, as documented by
           medical history, physical examination, and vital signs assessments, with no evidence of
           underlying disease during check-in and screening performed within 28 days of check-in.
           Female subjects were not pregnant and used contraception during the study if they were of
           child-bearing potential. All subjects provided written informed consent and were able to
           comply with study procedures.

           Exclusion Criteria
           Subjects were excluded if they had any major medical illness 3 months prior or any
           significant history or ongoing chronic medical illness affecting the major body systems,
           including the skin; allergy or known hypersensitivity to lidocaine, amide-type local
           anesthetics, or any component of the product formulation. Subjects with conditions that
           might affect the application of the product or its adhesive properties (including psoriasis,
           eczema, atopic dermatitis, damaged or irritated epidermal layer, and excessive hair or oil on


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8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                   Document
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                                                                and Adhesion Filed 08/24/22          PageTopical
                                                                                       Study of a Lidocaine 121 System
                                                                                                                 of 2101.8% During Physic...


           the skin) were excluded. History of addiction, abuse, and misuse of any drug; use of any
           nicotine-containing products within 30 days; or alcohol abuse within 12 months prior to
           product application were also reasons for study exclusion.

           Treatments
           Per randomization schedule, all subjects received three lidocaine topical systems 1.8%,
           each containing 36 mg of lidocaine, during three separate treatment periods (Period-I,
           Period-II, Period-Ill). Each period included four subjects per treatment (Treatments A, B, C).
           Subjects were randomized to three different treatment sequences (ABC, BCA, and CAB). In
           each period, the product was applied to clean, dry skin that was free of lotion, soap, or oil in
           the mid-lower back after an overnight fast (≥10 hours) in each of three randomly allocated
           treatment plans, with a 7-day washout between treatments. The three topical systems (total
           lidocaine dose of 108 mg) were each worn for 12 hours. No overlays, adhesive tape, or
           similar products were applied.

              • Treatment A: 3 lidocaine topical systems 1.8% with physical exercise

              • Treatment B: 3 lidocaine topical systems 1.8% with application of heat

              • Treatment C: 3 lidocaine topical systems 1.8% under normal conditions

           Physical Exercise

           Subjects were instructed to perform an exercise regimen for 30 minutes on an exercise
           bicycle (Exerpeutic 1000-High Capacity Magnetic Recumbent Exercise Bike, Exerpeutic,
           China), achieving a heart rate of approximately 108 beats per minute. Exercise was
           performed immediately after product application and at 2.5, 5.5, and 8.5 hours after product
           application, with a window of ±10 minutes. Heart rate was continuously monitored during
           exercise.

           Heat Application

           Heat was applied using a standard 3-setting heating pad (CVS XL 3 Setting Moist Dry
           Heating Pad and Controller), with precautions followed for heat application per manufacturer
           guidelines (ie, a blanket or towel placed between the pad and the product to reduce risk of
           skin burning). The temperature was set on "medium" (36.7-40.3°C tested over 1 hour with
           Etekcity Lasergrip 774 Infrared Thermometer, Etekcity Corporation, Anaheim, CA, USA), and
           the heating pad was applied for 20 minutes immediately and at 8.5 hours after product
           application.

           Study Assessments



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8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                   Document
                                     Crossover, Pharmacokinetic        22-2Performance
                                                                and Adhesion Filed 08/24/22          PageTopical
                                                                                       Study of a Lidocaine 122 System
                                                                                                                 of 2101.8% During Physic...


           The PK of each treatment condition was evaluated by the estimation of lidocaine
           concentrations in plasma, using a validated liquid chromatography—tandem mass
           spectrometry (LC-MS/MS) method. The calibration range of the procedure was 0.2000
           ng/mL to 200.0 ng/mL, with a lower limit of quantification of 0.2000 ng/mL. PK parameters
           such as maximum plasma concentration (Cmax), area under the plasma concentration—time
           curve between times zero and t (AUCo_t), AUC between time zero and infinity (AUCo_.), time
           to Cmax (tmax), percentage extrapolation (calculated as AUC%extrapolation=[AUC0,—AUCo_t]
           x100/AUCo_.,), elimination rate constant (Kai), and elimination half-life (t112) were calculated
           following blood collection by venipuncture pre-dose and at 2, 4, 6, 9, 10, 11, 12, 13, 14, 16,
           18, 20, 22, 24, and 48 hours post-dose.

           Skin irritation at the lidocaine topical system application site was evaluated pre-application (0
           hours), 30 minutes (with a window period of ±10 minutes) after product removal and 2 hours
           after product removal using the FDA-recommended 8-point scale of dermal response (0=no
           evidence of irritation; 1=minimal erythema, barely perceptible; 2=definite erythema;
           3=erythema and papules/pustules; 4=definite edema; 5=erythema, edema, and papules;
           6=vesicular eruption; 7=strong reaction spreading beyond the test site) and a scale of other
           effects (including glazed appearance, peeling and cracking, dried serous exudates covering
           at least part of the application site, and small petechial erosions and/or scabs).13 Product
           adhesion was assessed immediately after (0 hours) and at 0.5, 3, 6, 9, and 12 hours (before
           system removal) after application, with a degree of adhesion recorded using the FDA-
           recommended rating scale, where 0: ≥90% adhered (essentially no lift off the skin); 1: ≥75%
           to <90% adhered (some edges only lifting off the skin); 2: ≥50% to <75% adhered (less than
           half the system lifting off the skin); 3: <50% adhered but not detached (more than half the
           system lifting off the skin without falling off); and 4: 0% (complete detachment).14

           Statistical Analysis
           The randomization schedule was prepared using SAS® Release 9.4 (SAS Institute Inc.,
           Cary, NC, USA). Data set preparation and analysis of the PK parameters were performed
           using a non-compartmental model with WinNonlin Professional Software version 5.01
           (Pharsight Corporation, Sunnyvale, CA, USA).

           Descriptive statistics were computed for all PK parameters for lidocaine topical system 1.8%
           (total lidocaine dose=108 mg) under each treatment condition (exercise, heat, and normal).
           Bioequivalence comparisons of PK parameters for the exercise and heat treatments vs
           normal conditions were performed using PROC GLM of SAS® Release 9.4. Analysis of
           variance (ANOVA) was calculated for untransformed and natural log-transformed Cmax,
           AUCo_t, and AUCo_, using the treatment received, the period at which it was given, the
           sequence of treatment, and the subject effect (nested within the sequence). Sequence effect
           was tested using the subject nested within sequence mean square from the ANOVA as the
           error term. ANOVA calculations included least square mean. The level of significance was

https://www.printfriendly.com/p/g/r6FPDr                                                                                                6/16
8/23/22,            Case  4:22-cv-02625-HSG
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                                                                and Adhesion Filed 08/24/22          PageTopical
                                                                                       Study of a Lidocaine 123 System
                                                                                                                 of 2101.8% During Physic...


           set at a=0.05, except for the significance of the sequence effect involved in the model (set at
           a=0.1). 90% confidence intervals (Cls) for the ratio of the Treatments (A, B and C) products
           averages (geometric least-square means) were calculated by first calculating the 90% CI for
           the differences in the averages (least-square means) of the log-transformed data and then
           taking the antilogs of the obtained confidence limits. By convention, if the 90% CI of the ratio
           of geometric means was within 80% to 125%, then the treatments were considered
           bioequivalent.

           Adverse Events and Safety
           AEs were recorded after spontaneous reporting by subject or physician observation within
           ±30 minutes of the scheduled time. Vital sign assessments (blood pressure, heart rate,
           respiratory rate and temperatures) were taken at pre-dose, 4, 10, and 24 hours post-dose. A
           12-lead electrocardiogram was recorded at screening (all within normal limits).

           Results

           Subject Disposition and Baseline Characteristics
           A total of 12 subjects, aged between 19 and 62 years with BMI values between 21.95 and
           30.91 kg/m2 (Table 1), completed the study. Subjects were randomized to each of the three
           treatments according to the predetermined schedule; all subjects completed their assigned
           schedule without any discontinuations or withdrawals. Plasma concentrations of 12 subjects
           were included in PK and statistical analyses; all subjects were included in the adhesion
           analysis.

           Table 1
           Demographics and Baseline Characteristics

                                              N=12

            Age, years, mean±SD (range)       46.17±15.94 (19-62)

            Sex, n, M/F                       3/9

            Race, n, BlackNVhite              1/11

            BMI, kg/m2 (mean±SD)              27.81±2.91


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           Abbreviations: SD, standard deviation; BMI, body mass index.

           PK Assessments

https://www.printfriendly.com/p/g/r6FPDr                                                                                                7/16
8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                   Document
                                     Crossover, Pharmacokinetic        22-2Performance
                                                                and Adhesion Filed 08/24/22          PageTopical
                                                                                       Study of a Lidocaine 124 System
                                                                                                                 of 2101.8% During Physic...



           Comparison of Physical Exercise and Normal Conditions

           Mean values of the primary PK parameters Cmax, AUCo_t, and AUCo_. were lower during
           physical exercise (Treatment A) than during normal conditions (Treatment C) by 7%, 11%,
           and 10%, respectively.

           The 90% confidence interval for physical exercise (Treatment A) vs normal conditions
           (Treatment C) ratios of Ln-transformed PK parameters fell within the range of 79.65 to
           112.73, suggesting that the effects of physical exercise on the rate and extent of lidocaine
           absorption from the topical system were not significant (Figure 1, Tables 2 and and33).

           Table 2

           Summary Statistics of Pharmacokinetic Parameters of Lidocaine Topical System 1.8% with
           Physical Exercise, Heating, and Normal Conditions

                                    Cmax       AUC0_t           AUCo_0,           AUC%                tmax*       Kei (hi—
            Statistics              (ng/mL)    (h•ng/mL)        (h•ng/mL)         Extrapolation       (h)         1)              (h)

            Treatment     N         12         12               12                12                  12          12         12
            A
                          Mean      90.48      1328.81          1344.08           1.36                9.00        0.13       5.60

                          SD        25.413     461.660          458.187           2.211               9.00-       0.024      1.113
                                                                                                      18.00

                          CV        28.1       34.7             34.1              162.3               30.0        18.9       19.9
                          (%)

            Treatment     N         12         12               12                12                  12          12         12
            B
                          Mean      160.28     1718.71          1731.272          0.90                9.00        0.14       5.39

                          SD        100.061    1004.005         1005.036          1.112               9.00-       0.029      1.338
                                                                                                      16.05

                          CV        62.4       58.4             58.1              124.0               21.2        21.5       24.8
                          (%)

            Treatment     N         12         12               12                12                  12          12         12
            C
                          Mean      97.59      1487.39          1501.10           1.07                11.50       0.14       5.23

                          SD        36.869     590.007          588.428           1.535               9.00-       0.030      1.203
                                                                                                      14.00

                          CV        37.8       39.7             39.2              143.2               18.9        21.5       23.0
                          (%)


https://www.printfriendly.com/p/g/r6FPDr                                                                                                8/16
8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                   Document
                                     Crossover, Pharmacokinetic        22-2Performance
                                                                and Adhesion Filed 08/24/22          PageTopical
                                                                                       Study of a Lidocaine 125 System
                                                                                                                 of 2101.8% During Physic...


           Open in a separate window
           Notes: *For tmax, median and range have been represented instead of mean and SD.
           Treatment A: with physical exercise; Treatment B: with heating; Treatment C: under normal
           conditions.

           Abbreviations: SD, standard deviation; CV, coefficient of variation.

           Table 3
           Geometric Least Square Mean, Ratios, 90% Confidence Interval, ISCV and Power for
           Lidocaine Topical System 1.8% (in Transformed Data)

                           Geometric Mean                                             90%                          90%
                                                                 Intra-     (A/C)     Confidence         (B/C)     Confidence
                                           Treatment             Subject    Ratio,    Intervals          Ratio,    Intervals
            Parameter      A               B           C         CV (%)     %         (NC)                         (B/C)

            Cmax,          87.27           134.44      91.72     24.4       95.14     80.30-112.73       146.57    123.71-
            ng/mL                                                                                                  173.66

            AUCo_t,        1264.16         1513.10     1400.70   17.9       90.25     79.65-102.26       108.02    95.34-122.40
            h•ng/mL

            AUCo—,         1281.92         1526.88     1416.04   17.4       90.53     80.15-102.25       107.83    95.46-121.79
            h•ng/mL


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           Notes: Treatment A: with physical exercise; Treatment B: with heating; Treatment C: under
           normal conditions.

           Abbreviations: ISCV, intrasubject coefficient of variation; CV, coefficient of variation.




https://www.printfriendly.com/p/g/r6FPDr                                                                                                9/16
8/23/22,                 Case  4:22-cv-02625-HSG
                            A Randomized,                   Document
                                          Crossover, Pharmacokinetic        22-2Performance
                                                                     and Adhesion Filed 08/24/22          PageTopical
                                                                                            Study of a Lidocaine 126 System
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           Figure 1
           Mean plasma lidocaine concentration after application of three lidocaine topical systems
           (1.8%; 108 mg) vs time with physical exercise, heat exposure, and under normal conditions.
           Treatment A: with physical exercise; Treatment B: with heating; Treatment C: under normal
           conditions.

           The median plasma lidocaine tmax was 9 hours for physical exercise (Treatment A) and 11.5
           hours for normal conditions (Treatment C). The observed half-life was similar for Treatment
           A (5.602 hours) and Treatment C (5.230 hours) (Figure 1, Tables 2 and and33).

           Comparison of Heating and Normal Conditions

           The mean values of Cmax, AUC0A, and AUC0, were higher during heat application
           (Treatment B) than during normal conditions (Treatment C) by 64%, 16%, and 15%,
           respectively (Figure 1, Tables 2 and and33).

           The 90% confidence interval for heat application (Treatment B) vs normal conditions
           (Treatment C) ratios of Ln-transformed Cmax (123.71-173.66 ng/mL) fell outside the 80% to
           125% limits that are standard for bioequivalence determination, suggesting that heat
           exposure caused a significant increase in lidocaine absorption, resulting in a higher Cmax
           than under normal conditions (Figure 1, Tables 2 and and33).

           The corresponding ranges for AUCo_t (95.34-122.40 h•ng/mL) and AUC0-495.46-121.79
           h•ng/mL) were within the 80% to 125% range, suggesting that the effects of heating on these
           parameters were not significant (Figure 1, Tables 2 and and33).




https://www.printfriendly.com/p/g/r6FPDr                                                                                                          10/16
8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                   Document
                                     Crossover, Pharmacokinetic        22-2Performance
                                                                and Adhesion Filed 08/24/22          PageTopical
                                                                                       Study of a Lidocaine 127 System
                                                                                                                 of 2101.8% During Physic...


           Figure 1 shows that the effects of heating were mainly evident at the 9-hour time point
           (immediately following 20 minutes of heating starting at 8.5 hours), with little difference
           observed among the three treatments at other time points at which lidocaine concentrations
           were measured (Figure 1, Tables 2 and and33).

           Lidocaine concentrations at 9 hours were 171.8±96.3 ng/mL after heating compared with
           88.5±25.4 ng/mL for Treatment A and 92.9±39.7 ng/mL for Treatment C (Figure 1, Tables 2
           and and33).

           Thus, the effects of heating on lidocaine absorption appeared to be immediate and
           reversible, with no suggestion of dose dumping or discontinuation of drug delivery. Given the
           timing of heat application used in this study, heating increased the Cmax via an immediate
           effect at the 9-hour time point, with the little overall effect on the AUC.

           The median tmax was 9 hours for Treatment B and 11.5 hours for Treatment C. The observed
           half-life was similar for Treatment B (5.390 hours) and Treatment C (5.230 hours) (Figure 1,
           Tables 2 and and33).

           The observed intrasubject coefficient of variation for Cmax was found to be 24.4%, indicating
           a higher variability in exposure during Treatment B (Figure 1, Tables 2 and and33).

           Adhesion and Irritation Analysis
           Adhesion analysis included all topical systems from 12 subjects; no systems detached
           during the study across all three treatment periods or were removed early for unacceptable
           irritation, and no subjects dropped out of the study before the end of the 12-hour application
           period (Table 4). The mean irritation scores for 12 subjects for all treatments were <1
           (1=minimal erythema) after product removal.

           Table 4

           Summary Statistics of Adhesion Performance Evaluation of Lidocaine Topical System 1.8%
           with Physical Exercise, Heating, and Normal Conditions

            Statistics            Treatment*    N    Minimum       Maximum       Mean     SD       CV (%)

            Adhesion Score        A             12   0             2             0.33     0.389    116.8

                                  B             12   0             1             0.07     0.132    190.3

                                  c             12   0             0             0.00     0.000    0


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8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                   Document
                                     Crossover, Pharmacokinetic        22-2Performance
                                                                and Adhesion Filed 08/24/22          PageTopical
                                                                                       Study of a Lidocaine 128 System
                                                                                                                 of 2101.8% During Physic...


           Notes: *Treatment A: with physical exercise; Treatment B: with heating; Treatment C: under
           normal conditions.

           Abbreviations: SD, standard deviation; CV, coefficient of variation.

           Under normal conditions (Treatment C), all subjects had ≥90% adhesion throughout the
           administration period. Under heat conditions (Treatment B), a slight degree of lifting (score of
           1, ≥75% to <90%) was observed for 2 subjects at 9 and 12 hours, respectively, and at 12
           hours for a third subject. Product lifting was observed for 6 subjects (50%) under exercise
           conditions (Treatment A), with 2 subjects having a score of 2 (≥50% to <75% adhered) at
           some point during the 12-hour administration period. Three subjects observed to have lifting
           after exercise had improved adhesion at later time points within the 12-hour administration
           period. No subject was observed to have a score of ≥3 (>0% to <50% adhered) or complete
           detachment.

           Adverse Events and Safety
           A total of six AEs were spontaneously reported by four subjects during the study (Table 5);
           three events occurred in two subjects in Period-I. One of these subjects had a headache
           (twice), which was considered possibly related to the study drug and treatment (Treatment B;
           heat). The second subject reported lightheadedness secondary to exercise treatment
           (Treatment A), which was considered unrelated to the study drug. Another AE (headache)
           was reported in a subject during Period-II (Treatment C), which was considered possibly
           related to the study drug.

           Table 5
           Summary of Adverse Events

            Subject           Period         Treatment                                                                Related to
            Number            Number         Received              Adverse Event                         Severity     Drug

            S04                III           B                     Head cold                             Mild         Not related

            S05                I             B                     Headache                              Moderate     Possibly
                                                                                                                      related

                                                                                                         Mild         Possibly
                                                                                                                      related

                               II             C                    Headache                              Moderate     Possibly
                                                                                                                      related

            S09                I (Washout)   A                     Menstrual cramps                      Mild         Not related




https://www.printfriendly.com/p/g/r6FPDr                                                                                               12/16
8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                   Document
                                     Crossover, Pharmacokinetic        22-2Performance
                                                                and Adhesion Filed 08/24/22          PageTopical
                                                                                       Study of a Lidocaine 129 System
                                                                                                                 of 2101.8% During Physic...



            Subject           Period         Treatment                                                                Related to
            Number            Number         Received              Adverse Event                         Severity     Drug

            S12               I              A                     Light headedness secondary to         Mild         Not related
                                                                   exercise


           Open in a separate window
           Notes: Treatment A: with physical exercise; Treatment B: with heating; Treatment C: under
           normal conditions.

           AEs considered unrelated to the study drug were one subject with menstrual cramps during
           the Period-I washout. Another subject reported a head cold in Period-III that was also not
           considered related to the study drug.

           The most common AE was headache, which occurred in three subjects. No deaths or
           serious AEs were reported during the study. Vital assessments conducted throughout all
           treatment periods were within normal limits for all subjects.

           Discussion
           The results of this study show that the effects of four 30-minute episodes of physical
           exercise on the rate and extent of lidocaine absorption from topical system 1.8% were not
           significant, thus, allowing for safe use of the product during moderate physical activity, as
           reflected in the product's prescribing information.?

           Localized heating of lidocaine topical system 1.8% for 20 minutes at two different time
           periods resulted in a significant increase in lidocaine absorption, reflected in a higher Cmax
           than that observed under normal conditions, but did not significantly impact the extent of
           drug delivery (AUCo_t or AUC0-0). The effects of heat on absorption appeared to be
           immediate and reversible, showing that the product does not undergo dose dumping or
           discontinuation of drug delivery. While heat exposure induces a significant increase in Cmax,
           the level observed (172 ng/mL) was well below the systemic safety threshold of 5000 ng/mL
           for the avoidance of related AEs and the IV levels used to treat cardiac arrhythmias (1000-
           1500 ng/mL).12 These changes appear generally consistent with data in the literature for
           other topical and transdermal products and are an expected thermodynamic outcome.1°

           Subjects were generally healthy, and vital signs were within normal ranges at rest, during
           heat exposure, and during physical activity. Overall, the application of lidocaine topical
           system 1.8% was well tolerated; six AEs reported by four subjects, with the most common
           AE being headache. Of the six reported AEs, only three were considered associated with the
           study drug, all of which were headache and observed in the same subject. No localized
           dermatologic AEs (ie, irritation, itching, blisters) were reported by any subject.



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8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                   Document
                                     Crossover, Pharmacokinetic        22-2Performance
                                                                and Adhesion Filed 08/24/22          PageTopical
                                                                                       Study of a Lidocaine 130 System
                                                                                                                 of 2101.8% During Physic...


           Limitations of the present study include the small size of the study population (N=12), ECG
           monitoring at baseline only and the lack of a comparator. Comparative examinations of the
           effects of heat and exercise between lidocaine topical system 1.8% and lidocaine patch 5%
           would have been of interest and should be investigated further. However, the potential
           deleterious effects (eg complete or partial dose-dump of drug) of these conditions with
           lidocaine patch 5% cannot be reasonably hypothesized or safe-guarded relative to the high
           drug load within the product (700 mg). The extent and seriousness of heat exposure effects
           on in vivo drug absorption, pharmacodynamics, and possible adverse events of topical
           products are dependent on the physicochemical and pharmacological properties of the
           drug(s) and the drug delivery system formulation design and need to be evaluated on a
           case-by-case basis.15

           Conclusion
           The results of this study show that administration of three lidocaine topical systems 1.8%,
           each containing 36 mg of active compound produced sustained plasma lidocaine
           concentrations and was well tolerated in healthy subjects under normal conditions, with
           physical exercise, and with localized heating for 20 minutes with a heating pad. There was
           no significant effect observed on the PK profile under the exercise conditions. While heat
           exposure induces a significant increase in Cmax, the concentrations observed are well
           below (-30-fold) the systemic safety threshold for the avoidance of related AEs and 6- to 10-
           fold below the IV levels used to treat cardiac arrhythmias. Adequate adhesion of the system
           was maintained under both conditions, and the dermal irritation profile was benign.

           Acknowledgments
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           made this study possible. Nirzari Parikh, PhD, of Synergy Medical Education, provided
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           assertions do not reflect the opinions of employers or employee affiliates listed. The article
           was not prepared as part of the authors' duties as federal employees where applicable.

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           2018GSF118110).

           Data Sharing Statement
           The authors certify that this manuscript reports original clinical trial data. Individual
           participant data that underlie the results reported in this article after deidentification (text,
           tables, figures, and appendices) are available from Medical Affairs Department at Scilex

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8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                   Document
                                     Crossover, Pharmacokinetic        22-2Performance
                                                                and Adhesion Filed 08/24/22          PageTopical
                                                                                       Study of a Lidocaine 131 System
                                                                                                                 of 2101.8% During Physic...


           Pharmaceuticals Inc. at moc.amrahpxelics@sriaffA_IacideM including the study protocol.
           Data requests should be submitted in the form of a research proposal for up to 36 months
           after the publication date.

           Ethics Approval and Informed Consent
           The sponsors and investigators state that they have obtained appropriate IRB approval from
           Salus Institutional Review Board in Austin, Texas or have followed the principles outlined in
           the Declaration of Helsinki for all human or animal experimental investigations. In addition,
           for investigations involving human subjects, informed consent has been obtained from the
           participants involved.

           Disclosure
           Dr Jeffrey Fudin is a speaker for Abbott Laboratories, AstraZeneca, and Acutis Diagnostics,
           Inc; part of the advisory board, speakers bureau, and consulting for AcelRx Pharmaceuticals,
           BioDelivery Sciences International, GlaxoSmithKline (GSK), Salix Pharmaceuticals, and
           Daiichi-Sankyo Incorporated; received non-financial support by collaborating publications for
           Scilex Pharmaceuticals; consultant for Firstox; advisory board for Human Half-Cell, Inc and
           Quest Diagnostics, outside the submitted work. Drs. Greuber, Vought, and Patel are full-time
           employees of Scilex Pharmaceuticals Inc. Dr Vought has a patent 62/762,753 pending to
           Scilex Pharmaceuticals Inc and was responsible for the design and conduct of the study. Dr.
           Nalamachu has been a consultant/speaker and has received an honorarium from BDSI, DSI,
           Endo, Insys, Scilex Pharmaceuticals Inc., Purdue, Pfizer Inc., Eli Lilly and Company,
           Collegium Pharmaceutical, Pernix Therapeutics, Daiichi-Sankyo, and AstraZeneca. Dr Erica
           Wegrzyn reports personal fees from Remitigate LLC and Tower Health Pain & Addiction
           Symposium; is an Associate Editor in Chief for Journal of Pain Research, outside the
           submitted work. The authors report no other conflicts of interest in this work.

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8/23/22,            Case  4:22-cv-02625-HSG
                       A Randomized,                   Document
                                     Crossover, Pharmacokinetic        22-2Performance
                                                                and Adhesion Filed 08/24/22          PageTopical
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Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 133 of 210




 EXHIBIT 16
          Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 134 of 210




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                                                             judicial         from the
                                                                              from
                                                                           actions  the necessary
                                                                                        market, and
                                                                                        market,  and to
                                                                                                      toto remove fro
       prevent
       prevent   the the
                      furtherfurther
                               marketing marketing
                                          of, lidocaine-containing    drug products
                                                                     drug            in patch,
                                                                           products in
                                                           of, lidocaine-containing             plaster,
                                                                                        patch, plaster,
                                                                                                     drug products
       poultice,
       poultice,  or comparable   delivery systems
                        or comparable                          not been
                                                                    been approved
                                                     that havesystems
                                               delivery        not        approved
                                                                           that havepursuant
                                                                                    pursuant
                                                                                          not to abeen
                                                                                             to   a new
                                                                                                    new approved pu




              27201
              27201Puerta
                    PuertaReal,Real, 235,
                               Suite 235, Mission
                                          Mission
                                       Suite      Viejo,Mission
                                                  Viejo,
                                                235,     CA 92691 IIViejo,
                                                         CA          PH: (949)
                                                                     PH: (949)CA
                                                                               441-2270
                                                                                  92691IIwww.scilexpharma.com
                                                                               441-2270  www.scilexpharma.com
                                                                                         l PH: (949) 441-2270 l www.scilexpharma.com
       Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 135 of 210

Division of
Division of Dockets
            Dockets Management  (HFA-305)
                    Management (HFA-305)
December
Decernber 28, 2018
Page
Page 2



     drug application
          application ("NDA")
                      ("NDA") or
                               oran
                                 anabbreviated       drug application
                                    abbreviated new drug  application ("ANDA")
                                                                       ("ANDA") submitted
                                                                                 submitted under
                                                                                           under
     21
     21 U.S.C.
        U.S.C.§§355
                 355and
                      andimplementing
                          implementing regulations;1
                                       regulations;1


2. Strictly
   Strictly apply
            apply the  provisions of 21
                   the provisions         U.S.C. §§ 355,
                                       21 U.S.C.    355, 21   C.F.R.Part
                                                          21 C.F.R.   Part330,
                                                                           330,and
                                                                                 and related
                                                                                      related regulatory
   decisions,
   decisions, which
               which dodo not allow
                               allow the
                                      the marketing
                                          marketing or or distribution
                                                           distribution of
                                                                         oflidocaine-containing
                                                                            lidocaine-containing patch
   dosage form drug products that that were
                                       were introduced
                                             introducedinto
                                                          intoUnited
                                                               United States
                                                                       States("U.S.")
                                                                               ("U.S.") commerce
                                                                                        commerce after
   the OTC drug
   the OTC   drug review
                   review was
                          was initiated
                               initiated on May 11, 1972;2
                                                      1972; 2

3. Finalize
   Finalize the
             the Tentative Final
                           Final Monograph forfor External
                                                  External Analgesic
                                                            Analgesic Drug
                                                                      Drug Products
                                                                            Products for Over-the-
   Counter
   Counter Human
              Human Use,
                      Use, as   amended3 (the
                            as amended3     (the"TFM"
                                                  "TFM" oror"External
                                                              "ExternalAnalgesics
                                                                         Analgesics TFM"),
                                                                                     TFM"), which
                                                                                             which
   expressly
   expressly excludes
               excludes lidocaine-containing
                         lidocaine-containingproducts
                                                productsininpatch
                                                              patch dosage
                                                                     dosage forms   from its scope
                                                                            forms from       scope
   because of concerns about thethe safety
                                    safety and
                                           and efficacy
                                               efficacy of
                                                        of these
                                                            these products;


4. Publish
   Publish an
            an immediately
               immediately applicable
                              applicable enforcement policy              docurnent that will
                                                               guidance document
                                                        policy guidance                   will apply
                                                                                                apply
   until      final OTC
   until the final  OTC External    AnalgesicsMonograph
                          External Analgesics     Monographisiscodified,
                                                                  codified,and
                                                                             and that  affirms that
                                                                                  that affirms
   lidocaine-containing
   lidocaine-containing drug
                          drug products
                               products marketed in    nonprescription patch
                                                    in nonprescription  patchdosage
                                                                               dosageforms
                                                                                       forms("OTC
                                                                                               ("OTC
   lidocaine  patches") and
   lidocaine patches")              aremarketed
                          and that are   marketedwithout
                                                     withoutapproved
                                                              approvedNDAs
                                                                         NDAs oror ANDAs
                                                                                    ANDAs do do not
   conform
   conform to    the terms
             to the   terms of
                             ofthe   External Analgesics
                                 theExternal                 TFM,are
                                                Analgesics TFM,    are outside
                                                                       outside the   scope of any
                                                                                 the scope        any
   enforcement discretion
                  discretion that
                             that may
                                   may exist   pursuanttotoCompliance
                                        exist pursuant      CompliancePolicy
                                                                         Policy Guide
                                                                                Guide 450.2004
                                                                                       450.2004 or or




1 For  clarity, this
  For clarity,   this petition
                      petition is   focused on lidocaine-containing
                                is focused         lidocaine-containing patch
                                                                            patchdosage            drug products,
                                                                                            form drug
                                                                                    dosageform           products,andand does
                                                                                                                         does not
address the  lidocaine-containing cream,
         the lidocaine-containing        cream, lotion,
                                                 fotion, or
                                                          or ointment  dosage form
                                                             ointment dosage    form drug   products that
                                                                                      drug products   that were reviewed as part
                                                                                                                              part
of the OTC   ExternalAnalgesic
       OTC External     AnalgesicMonograph           developmentprocess.
                                      Monographdevelopment          process. This
                                                                              Thispetition
                                                                                   petition also
                                                                                            also does
                                                                                                 does not
                                                                                                       not address non-lidocaine
external
external analgesic    patch, plaster,
          analgesc patch,     plaster, or or poultice
                                             poultice dosage
                                                        dosage forms
                                                                 forms that
                                                                       that may
                                                                             may bebemarketed
                                                                                      marketedunder
                                                                                                  underthe     ExternalAnalgesics
                                                                                                          theExternal   Analgesics
TFM,
TFM,but    acknowledgesthat
       butacknowledges             the issues
                             that the   issues (and   requested actions) in
                                                (and requested            in this petition may apply
                                                                             this petition              to the
                                                                                                 apply to   the broader category.

12 21 C.F.R.§§330.13(e)
   21 C.F.R.     330.13(e)(establishing    thatconditions
                            (establishingthat               formarketing
                                                conditions for              ingredients recommended
                                                                 marketingingredients     recommended for       OTC use
                                                                                                            for OTC   useunder
                                                                                                                         under the
                                                                                                                                the
 OTC
 OTCdrug
       drugreview
             review"appl[y]
                      "appl[y]only   toconditions
                                onlyto  conditionsunder     consideration as part of
                                                     under consideration             of the
                                                                                         theOTC           review initiated on May
                                                                                             OTC drug review                   May
 11, 1972,
 11, 1972, and     evaluated under the
             and evaluated            the [expert
                                           [expert panel  review and
                                                   panel review          monograph development]
                                                                     and monograph      development] procedures
                                                                                                          procedures set forth   in
                                                                                                                           forth in
              Separate
 § 330.10." Separate     regulations
                        regulations   apply
                                     apply   to
                                            to   OTC
                                               OTC    drugs
                                                     drugs   initially
                                                            initially  marketed
                                                                       marketed in
                                                                                in  the
                                                                                   the    U.S.
                                                                                         U.S.  after
                                                                                               after  the
                                                                                                     the   OTC
                                                                                                         OTC    drug review  began
in 1972. Id.
           Id. (cross-referencing
               (cross-referencing21 21C.F.R.
                                       C.F.R. § 330.14).

3     Fed. Reg.
  48 Fed.  Reg. 5852, Feb. 8, 1983, amended
                                      amended by by 68
                                                     68Fed.         42324, July
                                                              Reg. 42324,
                                                        Fed.Reg.                            ("FDA isisamending
                                                                            July 17, 2003 ("FDA        amendingthe
                                                                                                                 the tentative
                                                                                                                      tentative
final monograph
final                  clarify the
      monograph ... to clarjy       statusofofpatch,
                                thestatus      patch,plaster,
                                                      plaster,ororpoultice   dosageforms
                                                                   poulticedosage    formsfor    OTC external
                                                                                             forOTC   external analgesic
                                                                                                               analgesic drug
products....  This proposed
products.... This  proposed rule
                               rule indicates   that these dosage
                                     indicates that         dosage forms      have not been
                                                                      forms have         been determined
                                                                                                determined to    be generally
                                                                                                             to be   generally
recognized
recognized as safe and effective            OTCexternal
                        effective for any OTC     externalanalgesic
                                                           analgesicdrug
                                                                       drugproducts
                                                                            products at  this time" (emphasis added)).
                                                                                      at this

   FDA, Compliance
44 FDA,             Policy Guide
         Compliance Policy  Guide Sec.
                                  Sec. 450.200, "Drugs —
                                       450.200, "Drugs — General
                                                         General Provisions
                                                                   Provisionsand
                                                                             and Administrative
                                                                                 Administrative Procedures
                                                                                                Procedures for
Recognition
 Recognition     as      Safe      and      Effective"
                                            Effective"    (revised      March      1995),      available    at
https://www.fda.gov/iceci/compliancemanuals/compliancepolicyguidancemanual/ucm074388.htm.
 https://www.fda.gov/iceci/compliancemanuals/compliancepolicyguidancernanual/ucm074388.htm.
        Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 136 of 210

Division of
Division of Dockets
            Dockets Management  (HFA-305)
                                (FIFA-305)
                    Management (HFA-305)
December
December 28, 2018
Page
Page 3




       other relevant statements of
             relevant statements of enforcement
                                    enforcement discretion,  and may
                                                 discretion, and may be the subject
                                                                     be the subject of
                                                                                    of immediate
       enforcement action without further notice; 5 and

5. Initiate
    Initiate and   regularly review
              andregularly    review drug
                                      drug listing
                                             listing and
                                                     and other
                                                          other marketplace
                                                                 marketplace information
                                                                                information to
                                                                                             to identify
                                                                                                 identify
    lidocaine-containing
    lidocaine-containingproducts
                             productsininpatch
                                          patch dosage     forms and
                                                   dosage forms              appropriate administrative
                                                                  and take appropriate    administrative
    and judicial
          judicial action
                   action to ensure
                             ensure their
                                     their compliance
                                            compliance with
                                                         with the
                                                               theFederal     Food, Drug,
                                                                    FederalFood,    Drug, and
                                                                                          and Cosmetic
                                                                                               Cosmetic
    Act,
    Act, implementing
          implementing regulations,
                          regulations, and  findingspursuant
                                       and findings             to this
                                                      pursuant to  this petition.



                                           B. STATEMENT
                                               STATEMENT OF
                                                         OF GROUNDS
                                                            GROUNDS

          1.      Introduction
                  Introduction

       Patch
        Patch dosage forms
                        forms are complex
                                    complex drug delivery
                                                       delivery systems,
                                                                    systems, andand the biopharmaceutics
                                                                                           biopharmaceutics are
highly
highlydependent
       dependent on on the formulation
                            formulation and  and material
                                                 material construct.         Patches can
                                                              construct. Patches        can deliver
                                                                                             deliver drugs
                                                                                                      drugs toto the
stratum corneum
stratum  corneum or or upper
                       upperlayers
                              layers of
                                      of the
                                          theskin
                                               skin (as
                                                     (as in
                                                         in the   case of
                                                             the case   of topical
                                                                            topical dermatological
                                                                                      dermatological products);
through
through the stratum
              stratum corneum
                         corneum to the       nerves in
                                        the nerves      in dermis
                                                             dermis (as(as in
                                                                            in the
                                                                                thecase
                                                                                      caseofoftopical     analgesic
                                                                                                topical analgesic
products);  or through
products); or   through the skin
                               skin to enter
                                         enter systemic       circulation (as
                                                 systemic circulation         (as in        case of
                                                                                   in the case        transdermal
                                                                                                  of transdermal
products).
products). ToTo mediate
                   mediate delivery      through the
                             delivery through         the skin,
                                                            skin, the     drug must
                                                                    the drug      must be     formulated in
                                                                                          be formulated       in an
                                                                                                                  an
appropriate            consisting of adhesives,
             vehicle, consisting
appropriate vehicle,                                  solvents, and
                                      adhesives, solvents,        and inin some cases chemical
                                                                                           chemical penetration
enhancers,
enhancers, to     ensure effective
             to ensure     effective delivery
                                       delivery to             site action.
                                                        the site
                                                    to the            action. This This   complexdrug-vehicle
                                                                                       complex        drug-vehicle
formulation
formulation is   coated on
              is coated   on aabacking
                                 backing material
                                             material that      providesananocclusive
                                                         thatprovides             occlusiveororsemi-occlusive
                                                                                                   semi-occlusive
physical
physicalbarrier    that can
          barrierthat    can help
                              help drive
                                    drive sustained
                                             sustained drugdrug delivery
                                                                   deliveryto      the skin.
                                                                               to the           The selection
                                                                                        skin. The     selection ofof
formulation adhesives, active ingredient(s) and differing
                                                        differing salt
                                                                     salt forms,
                                                                           forms, permeation
                                                                                    permeation enhancers,
                                                                                                  enhancers, and
solvents have consequences for product performance
                                                performance both  both inin terms
                                                                            terms of of drug
                                                                                        drug flux
                                                                                              flux and adhesion.
The physical
The  physical nature
              nature of the adhesive
                              adhesive layer(s)
                                           layer(s) and thickness           combination with
                                                           thickness in combination          with different types
of backing materials also provide
                           provide varying
                                     varying levels of occlusion
                                                            occlusion that     directly impact
                                                                         that directly   impact drug
                                                                                                 drug flux.
                                                                                                        flux.

       Patch technology
              technology has evolved
                              evolved immensely
                                        immensely since
                                                    since the  first patch product for
                                                           the first                    scopolamine
                                                                                    for scopolamine
     approved by
was approved   by the  FDA in 1979.
                   theFDA     1979.66 Early  patch designs
                                       Early patch           contained drug
                                                    designs contained    drug reservoirs
                                                                               reservoirs in
                                                                                           in which
                                                                                              which a
drug was suspended within aa semisolid   matrixand
                              semisolid matrix       encapsulated within
                                                 andencapsulated     withinaapouch
                                                                               pouchthat   adhered to
                                                                                      that adhered
    skin, with
the skin,  with drug
                drug delivery
                      delivery controlled
                                controlled by     rate-controlling membrane.
                                               a rate-controlling
                                            by a                                   Newer products
                                                                      membrane. Newer        products
feature thinner,   drug-in-matrix formulations
         thinner, drug-in-matrix  formulations manufactured
                                                  manufactured by   by solvent  casting or hot-melt
                                                                       solvent casting       hot-melt



      Agency recently published
5 The Agency          published aa similar  guidancetitfed
                                    similar guidance         "EnforcementPolicy
                                                      titled"Enforcement     Policy—
                                                                                   — Over-the-Counter Sunscreen Drug
                                                                                                                   Drug
Products            Without an
Products Marketed Without    anApproved
                                 ApprovedApplication;
                                              Application; Guidance
                                                            Guidance for   Industry;Availability,"
                                                                      for Industry;  Availability," 83 Fed. Reg. 23917,
                                                                                                       Fed. Reg. 23917,
May
May 23,
     23, 2018.

6   See NDA
        NDA 017874.
            017874.
       Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 137 of 210

Division
Division of
         of Dockets
            Dockets Management  (HFA-305)
                                (FIFA-305)
                    Management (FIFA-305)
December
December 28, 2018
Page
Page 4



processes.7•8
processes.7'
 processes.7'88 FDAFDA has    recognized the
                         hasrecognized         theinnovations
                                                    innovations in   in patch
                                                                         patchdrug
                                                                                 drugdelivery
                                                                                        delivery technology
                                                                                                    technology and  and
manufacturing
manufacturingover    over the                      decades and
                                        several decades
                           the past several                   and the      significance of
                                                                     thesignificance       of patch
                                                                                               patch performance
                                                                                                        performance
characteristics to safe and effective use in          human patients.9
                                                   in human                   Recognition of
                                                               patients.9 Recognition        of these
                                                                                                 these complexities
                                                                                                        complexities
has   led totoFDA's
has led          FDA's formation
                         formation of  ofthetheCenter
                                                   Centerforfor
                                                              DrugDrug     Evaluationand
                                                                       Evaluation        and    Research("CDER")
                                                                                            Research         ("CDER")
TransclerrnalWorking
Transdermal        Working  Group
                              Group  thatthatparticipates
                                               participatesininthe      reviewof
                                                                  thereview          these product
                                                                                 ofthese     product types
                                                                                                        types and is  is
involved
involved in in developing    science-based regulatory
               developing science-based          regulatorystandards
                                                              standards to          industry with
                                                                            to help industry    with patch product
development and        manufacturing.The
                  and manufacturing.         TheGeneric
                                                   GenericDrug
                                                             DrugUser UserFeeFeeAmendments          ("GDUFA"), first
                                                                                  Amendments("GDUFA"),             first
enacted
enacted in in 2012
              2012 and
                     and recently    updated, also
                          recently updated,       also established        regulatory science
                                                        established aa regulatory      science research       program
                                                                                                  research program
that has enabled
that has   enabledFDA      to develop and publish
                      FDA to                    publish several
                                                         several detailed      guidances    for industry related to
                                                                                            for  industry   related
                                          development and
topical and transdermal product development               and toto fund
                                                                    fund research
                                                                           research onon how    safety risks
                                                                                          how safety     risks related
to patches
   patches areare affected
                   affected by   product forrnulation
                             by product      formulation and design.
                                                                  design. These     standards are
                                                                             These standards       are being
                                                                                                       being applied
                                                                                                               applied
to new,
   new, generic,
          generic,andandOTC    products reviewed
                          OTC products      reviewed under
                                                        underNDA NDA andand ANDA      regulations;however,
                                                                             ANDA regulations;        however, there
                                                                                                                  there
is
is no  regulatory mechanism
   no regulatory     mechanism to   to implement
                                        implement and  and enforce
                                                            enforce these      important standards to products
                                                                        these important                      products
that aresubject
that are  subject(or    claimtotobe
                    (orclaim           subject)totoOTC
                                  besubject)          OTCmonographs per 21 C.F.R. § 330.13. FDA is also
                                                           monographs        per 21  C.F.R.  §  330.13.    FDA
recognizing
recognizing new new topical
                     topicaland    transdermal patches (broadly categorized as topical or transdermal
                              and transdermal
            dosage forms)
"system" dosage      forms) as combination drug-device                                    implementation of both
                                                   drug-device products requiring implementation
             device quality
drug and device                compliance standards
                      quality compliance        standards (see 21        C.F.R. Parts
                                                                   21 C.F.R.            210, 211,
                                                                                 Parts 210,    211, and
                                                                                                      and 4)4) in their
development
development and        commercial manufacturing
                  and commercial     manufacturing with supportive market application   application review by the
Center       Devices and
         forDevices
Center for             andRadiological       Health("CDRH").
                            RadiologicalHealth       ("CDRH").



  Paudel KS,
7 Paudel KS, Milewski     Swadley CL,
             Milewski M, Swadley         Brogden NK,
                                     CL, Brogden   NK, Ghosh
                                                        Ghosh P,  Stinchcornb AL.
                                                               P, Stinchcomb  AL."Challenges  and opportunities
                                                                                  "Challengesand                in
                                                                                                  opportunities in
dermal/transdermal
dermal/transderrnal delivery."       Deily. 2010; 1(1):109-31,
                    delivery." Ther. Delfv.
                                     Deliv.       1(1):109-31.

8 Kandavilli S,
 Kandavilli  S, Nair V, Panchagnula
                Nair V, Panchagnula R.
                                    R. "Polymers  in transdermal
                                       "Polymers in              drug delivery
                                                     transdermal drug           systems." Pharrn.
                                                                       delivery systems."         Tech. 2002;
                                                                                          Pharrn. Tech.
26(5):62-80.

99 E.g.,  FDA, "Assessing
   E.g., FDA,                   Adhesion . With
                 "Assessing Adhesion               Transdermal and
                                             With Transdermal      and Topical
                                                                           Topical Delivery
                                                                                     Delivery Systems
                                                                                                Systems for forANDAs;       Revised Draft
                                                                                                                 ANDAs; Revised        Draft
                              Availability," 83
Guidance for Industry; Availability,"         83FR     50942,Oct.
                                                  FR50942,                2018(acknowledging
                                                                     10,2018
                                                               Oct.10,           (acknowledgingthat   thatfactors    such as
                                                                                                           factorssuch         surface area
                                                                                                                           as surface
dosed andand product
               productadherence       impactdrug
                          adherenceimpact      drugdelivery,
                                                      delivery,variability,    and unintentional
                                                                 variability, and                      exposureof
                                                                                     unintentionalexposure        ofthird
                                                                                                                      thirdparties);    FDA,
                                                                                                                             parties);FDA,
 "Assessing
  Assessing the                and Sensitization
                    Irritation and
               the irritation       Sensitization Potential
                                                     Potentialof   Transdermaland
                                                                ofTransdermal        andTopical
                                                                                         TopicalDelivery       Systems for
                                                                                                    Delivery Systems      for Abbreviated
                                                                                                                               Abbreviated
New Drug Applications; Draft Guidance
                                    Guidance for     Industry;Availability,"
                                                 for Industry;  Availability," 83    Fed. Reg.
                                                                                 83 Fed.  Reg. 50945,     Oct.10,
                                                                                                 50945, Oct.    10,2018
                                                                                                                    2018(cUscussing,
                                                                                                                           (discussing, for
example, that            componentsand
                   the components
             that the                        compositionof
                                       andcomposition       ofaatransdermal       ("TDS") formulation, including
                                                                 transdermal("TDS")                         includingthe the nature
                                                                                                                              nature of the
drug substance and/orand/or the
                              thedegree        whichthe
                                  degreetotowhich       theTDS
                                                            TDS materials      occlude the transmission
                                                                  materials occlude           transmission of  of water
                                                                                                                  water vapor from from the
skin,  in conjunction
skin, in  conjunction with with other
                                other factors such as environmental humidity or the              condition of the
                                                                                            the condition              skin, may
                                                                                                                 the skM,    may have
                                                                                                                                    have the
potential
 potential to irritate the    skin or
                          the skM  or lead
                                       lead to aa sensitization  reaction,    and
                                                  sensitization reaction, and that that reactions    can  be  unpleasant,    affect  patient
 compliance, and/or        adhesionof
                and/or adhesion     ofthe    TDS to
                                         theTDS   to the  skin). See
                                                      theskin).   Seealso
                                                                       alsoFDA      Public Workshop
                                                                              FDA Public                 addressing current
                                                                                           Workshop addressing          current regulatory
           initiatives concerning
science initiatives
science                   concerning topical     dermatological drug
                                        topical dermatological              products, Oct.
                                                                    drug products,       Oct. 20,
                                                                                                20, 2017
                                                                                                      2017 (discussing      complexity of
                                                                                                             (discussing complexity       of
                        complexity of dermatological routes of
formulations and complexity                                           administration, among
                                                                   of administration,     among other
                                                                                                    othertopics);     StrasingerC,
                                                                                                           topics); Strasinger     C, Raney
                                                                                                                                      Raney
SG,  Tran DC,
SG, Tran          GhoshP,
            DC,Ghosh       P,Newman
                             Newman B,   B,Bashaw
                                            Bashaw ED,ED,Ghosh
                                                           GhoshT,T,Shukla
                                                                      ShuklaCG.CG. "Navigating
                                                                                     "Navigating  sticky areas
                                                                                                    sticky            transdermal product
                                                                                                           areasinintransdermal      product
development."
 development."J     I Control.
                    1  Control. Release.           233:1-9; Choi
                                 Release. 2016; 233:1-9;            SH,
                                                              Choi SH,    WangY,
                                                                    SE-I, Wang       Conti DS,
                                                                                  Y, Conti  DS, Raney
                                                                                                  Raney SG,    Delvadia R,
                                                                                                          SG, Delvadia     R, Leboeuf
                                                                                                                              LeboeufAA, AA,
Witzmann K.   K. "Generic     drug device
                  "Generic drug             cornbination products:
                                   device combination       products: Regulatory           scientific considerations." Int.
                                                                         Regulatory and scientific                                J. Phorm.
                                                                                                                             int. 1.
2018;    544(2):443-454. The
 2018; 544(2):443-454.         The academic      scholarshipuses
                                    academic scholarship              the broader
                                                                usesthe                      "transdermal" when
                                                                            broader term "transdermal"                   addressing these
                                                                                                                when addressing
dosage forms, but  but is addressing the scope         both topical
                                            scope of both    topical and transdermal       drug delivery.
                                                                            transdermal drug      delivery.
         Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 138 of 210

Division of
Division of Dockets
            Dockets Management   (HFA-305)
                                 (HFA-3O5)
                     Management (HFA-305)
December 28,28, 2018
Page 5



         Patches
         Patches are    an attractive
                   are an    attractive dosage
                                            dosage form form for      topical analgesic
                                                                      topical
                                                                for topical     analgesic agents,
                                                                                analgesic    agents, because
                                                                                             agents,     because drug
                                                                                                         because     drug
                                                                                                                    drug
delivery can
          can be
               be localized
                  localizedto to the                              sustained amount
                                       affected areas for aa sustained
                                  the affected                                 amount of of time,
                                                                                        of   time, first-pass
                                                                                                     first-pass hepatic
                                                                                                                  hepatic
metabolism
metabolismisis avoided,
                    avoided, andand systemic
                                        systemicexposure
                                                       exposureisis limited        relative
                                                                         limitedrelative
                                                                                    relativeto  to  other routes
                                                                                                 to other
                                                                                                    other     routes   of
                                                                                                               routes of
                                                                                                                       of
administration, such as  as oral.
                            oral. Lidocaine
                                    Lidocaine is  is aa small-molecule,
                                                         small-molecule,
                                                         small-molecule, amide-type
                                                                               amide-type local
                                                                                              local anesthetic
                                                                                              local  anesthetic agent
                                                                                                     anesthetic    agent
that  stabilizes neuronal
that stabilizes  neuronal membranes
                            membranesby      by inhibiting
                                                 inhibiting thethe ionic
                                                                    ionic  fluxes required
                                                                     ionic fluxes
                                                                           fluxes  required for for the
                                                                                                    the initiation
                                                                                                          initiation and
                                                                                                          initiation  and
conduction
conduction of  of impulses
                  impulses and and is is amenable
                                         amenable to      to topical     administration. Lidocaine
                                                              topical administration.
                                                                         administration.         Lidocaine has
                                                                                                Lidocaine      has been
                                                                                                               has  been
                                                                                                                    been
approved forfor prescription
                prescription use
                               use for
                                     for topical
                                          topical and
                                                    and injection      anesthesia,and
                                                           injection anesthesia,
                                                                       anesthesia,    andisis
                                                                                      and  isused     intravenouslyin
                                                                                               usedintravenously
                                                                                               used   intravenously     in
                                                                                                                       in
the control
     control of
              of cardiac
                 cardiac arrhythmias.
                          arrhythmias. Several
                                             Several topical
                                                         topical prescription      lidocaine products
                                                                   prescription lidocaine
                                                                                   lidocaine     products havehave been
                                                                                                                    been
approved pursuant
             pursuant to
                       toNDAs
                           NDAs or  or ANDAs
                                        ANDAs for  for anesthetic
                                                         anesthetic and and analgesic
                                                                              analgesic indications,
                                                                             analgesic   indications, as
                                                                                         indications,      as shown
                                                                                                                shown in
                                                                                                                shown   in
                                                                                                                       in
Table 1.

         FDA
         FDAhashas also
                    also considered                for nonprescription
                                       lidocaine for
                          considered lidocaine          nonprescription(OTC)
                                                        nonprescription      (OTC) uses.
                                                                            (OTC)     uses. Following
                                                                                               Followingspecific
                                                                                               Following     specific
                                                                                                            specific
review
review of thethe available
                 available data,
                             data, the
                                    theingredient
                                         ingredientlidocaine
                                                      lidocaine was      classified as
                                                                    wasclassified
                                                                         classified    asCategory
                                                                                      as  Category lII(generally
                                                                                          Category      (generally
                                                                                                        (generally
recognized
recognized by by qualified
                  qualified experts   as safe
                             experts as   safe and
                                               and effective      ("GRAS/E") and
                                                     effective ("GRAS/E")
                                                                  ("GRAS/E")     and
                                                                                  andnotnot
                                                                                        not misbranded)
                                                                                             misbranded) in       the
                                                                                                              in the
final OTC
final OTCmonograph
             monographfor  foranorectal
                               anorectaldrug
                                           drugproducts.10
                                                 products.' ItItwaswasalso
                                                                   was  alsodetermined
                                                                        also  determinedtoto
                                                                              determined       tobebe
                                                                                                   be GRAS/E and
                                                                                                      GRAS/E
                                                                                                    GRAS/E       and
      misbranded as aa male
not misbranded            male genital
                                genital desensitizer
                                          desensitizer inin spray    dosage form
                                                             spray dosage
                                                                     dosage    form in
                                                                               form    in accordance
                                                                                           accordance with
                                                                                          accordance       with the
                                                                                                          with    the
External
External Analgesics
           Analgesics final   monograph." Lidocaine
                        final monograph.11                    cream, ointment,
                                                Lidocaine cream,
                                                              cream,   ointment, and andlotion
                                                                                     and    lotion dosage
                                                                                           lotion   dosage forms
                                                                                                    dosage     forms
                                                                                                              forms
       included in
were included    in the
                    the External
                         External Analgesics
                                   Analgesics TFM
                                                TFMasasaatreatment        for temporary
                                                              treatment for   temporary pain  pain and
                                                                                                    anditch
                                                                                                    and  itchrelief
                                                                                                        itch    relief
                                                                                                               relief
associated   with minor
associated with    minor burns,
                           burns, sunburns,
                                  sunburns, cuts,
                                              cuts, scrapes
                                                     scrapes andand minor   skin irritations.12
                                                                            skin
                                                                     minor skin    irritations.'2 AAA comparison
                                                                                                      comparison
                                                                                                      comparison
of the
   the prescription
         prescription and
                        and nonprescription
                             nonprescription topical       lidocaine formulations
                                                 topical lidocaine
                                                           lidocaine    formulations and
                                                                       formulations              dosage forms
                                                                                                 dosage
                                                                                          and dosage       forms is
                                                                                                           forms     is
                                                                                                                    is
provided inin Table 1.



Table 11
Table               Topical Lidocaine
                            Lidocaine Prescription
                                      Prescription and
                                                   and Over-the-Counter Drug
                                                       Over-the-CounterDrug  Products*
                                                                        DrugProducts*
                                                                             Products*

Product                 Strength ' Dosage
                                   Dosage      Indication
                                               Indication
                                               Indication                                                       Regulatory Status
                                                                                                               Regulatory
                                                                                                               Regulatory   Status13
                                                                                                                            Status/3
                                                                                                                                  13
                                   Form(s)                                                                      (Reference Listed
                                                                                                               (Reference
                                                                                                               (Reference          Drug
                                                                                                                            ListedDrug
                                                                                                                                   Drug
                                                                                                                ApplicationNumber,
                                                                                                               Application
                                                                                                               Application  Number,ififif
                                                                                                                            Number,
                                                                                                                applicable)
                                                                                                               applicable)
Lidocaine               5%        Ointment                     production of
                                               indicated for production
                                               Indicated                     of anesthesia
                                                                                anesthesiaof
                                                                                anesthesia    ofaccessible
                                                                                              of  accessible
                                                                                                 accessible    Prescription
                                                                                                               Prescription
                                               mucous membranes
                                               mucous     membranes
                                                          membranes of of the
                                                                           the  oropharynx;
                                                                           the oropharynx;                     (ANDA 080198)
                                                                                                               (ANDA
                                                                                                               (ANDA   080198)
                                                                                                                       080198)
                                                  is also
                                               it is also useful
                                                     also useful
                                                          useful as an anesthetic
                                                                 as an anesthetic                 for
                                                                                      lubricant for
                                                                                     lubricant
                                                                        anesthetic lubrIcant
                                               intubation and
                                               intubation   and for
                                                                 for the
                                                                     the temporary
                                                                     the  temporaryrelief
                                                                          temporary            ofpain
                                                                                        reliefof
                                                                                        relief of  pain
                                                                                                   pain
                                               associated with
                                               associated   with minor
                                                            with  minor burns,
                                                                          burns,including
                                                                          burns,               sunburn,
                                                                                   including sunburn,
                                                                                  including
                                               abrasions of
                                               abrasions   of the
                                                              the skin,
                                                                   skin, and
                                                                         and insect
                                                                              insect bites
                                                                                       bites


1°
10
10   55 Fed.
        Fed. Reg. 31776,
                  31776, Aug. 3, 1990.
                                 1990.

11
11 57 Fed. Reg. 27654, Jun. 19, 1992.



12   48 Fed. Reg. 5852,
     48           5852, Feb. 8, 1983.

13 FDA recognizes
  FDA   recognizes lidocaine's
                    lidocaine'suse
                                 useinin OTC  drug
                                         OTCdrug     productsfor
                                               drugproducts  for  oral
                                                              fororal  healthcare
                                                                   oralhealthcare  but
                                                                        healthcarebut   has
                                                                                        has determined
                                                                                    but has  determined there
                                                                                             determined        are
                                                                                                         there are
                                                                                                         there  are
inadequate
inadequate data   to establish
             data to   establish general
                                  general recognition
                                           recognition
                                           recognition of  safety
                                                        of safety   and
                                                           safety and
                                                                    and effectiveness
                                                                         effectiveness for
                                                                         effectiveness   for this  use.
                                                                                                    use. 21
                                                                                              this use.
                                                                                         for this            C.F.R.
                                                                                                         21C.F.R.
                                                                                                         21  C.F.R.
§ 310.545(a)(14).
        Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 139 of 210

Division of
Division of Dockets
            Dockets Management  (HFA-305)
                    Management (HFA-305)
December 28, 2018
Page
Page 6



Product
Product                  Strength     Dosage
                                      Dosage          Indication
                                                      Indication                                                       Regulatory
                                                                                                                       RegulatoryStatus13
                                                                                                                                    Status"
                                      Form(s)
                                      Form(s)                                                                          (Reference Listed
                                                                                                                       (Reference   ListedDrug
                                                                                                                                          Drug
                                                                                                                       Application  Number, ifif
                                                                                                                       Application Number,
                                                                                                                       applicable)
Lidocaine HCI
Lidocaine HCI            4%           Solution        Indicated
                                                       Indicated for
                                                                   for the
                                                                        the production of topical anesthesia           Prescription
                                                       of accessible   mucous membranes
                                                          accessible mucous       membranes of the oral and            (ANDA
                                                                                                                       (ANDA088803)
                                                                                                                               088803)
                                                       nasal cavities
                                                              cavities and
                                                                         and proximal
                                                                             proximal portions
                                                                                         portions of of the
                                                                                                        the
                                                       digestive
                                                       digestive tract
                                                                  tract
XYLOCAINE°
XYLOCAINE®               2%           Jelly           Indicated
                                                       Indicated for
                                                                  for prevention
                                                                       prevention and and control
                                                                                           control ofof pain
                                                                                                         pain in       Prescription
                                                                                                                       Prescription
(lidocaine HCI)
(lidocaine HCI)                                       procedures involving
                                                                     involving thethe male    and female
                                                                                       male and    female urethra,
                                                                                                            urethra,   (NDA008816)
                                                                                                                       (NDA  008816)
                                                      for topical
                                                           topical treatment
                                                                    treatrnent of of painful urethritis, and as
                                                      an anesthetic lubricant for endotracheal intubation
                                                      (oral and nasal)
EMLA
EMLA"
EMLA® 6                  2.5%;        Cream           Topical
                                                      Topical anesthetic
                                                                anesthetic for use on:                                 Prescription
                                                                                                                       Prescription
(lidocaine;              2.5%                         - normal intact     skin for
                                                                 intact skin   for local analgesia                     (NDA
                                                                                                                       (NDA 019941)
                                                                                                                             019941)
prilocaine)                                                      mucous membranes
                                                      - genital mucous      membranes for       superficial minor
                                                                                            for superficial
                                                                and as
                                                      surgery and     as pretreatment
                                                                          pretreatment for     infiltration
                                                                                           for infiltration
                                                      anesthesia
PLIAGLIS'
PLIAGLIS"
PLIAGLIS                 7%; 7%       Cream           Topical local
                                                      Topical   local analgesia
                                                                       analgesia for superficial                       Prescription
(lidocaine;                                           dermatological procedures
                                                                          procedures suchsuch as
                                                                                               as dermal
                                                                                                  dermal filler
                                                                                                            filler     (NDA
                                                                                                                       (NDA 021717)
                                                                                                                             021717)
tetracaine)                                           injection, pulsed
                                                                  pulsed dye laser therapy,        facial laser
                                                                                       therapy, facial
                                                      resurfacing,
                                                      resurfacing, andand laser-assisted
                                                                           laser-assisted tattoo
                                                                                             tattoo removal
ZINGO''
ZINGO'l"
ZINGO"                   0.5 mg       Powder
                                      Powder          Indicated
                                                      Indicated for
                                                                  for use on intact
                                                                                intact skin
                                                                                        skin to provide topical        Prescription
                                                                                                                       Prescription
(lidocaine HCI)
(lidocaine HCI)                                       local
                                                      local analgesia
                                                             analgesia prior        venipuncture or peripheral
                                                                                 to venipuncture
                                                                          prior to                                     (NDA
                                                                                                                       (NDA022144)
                                                                                                                             022144)
                                                      intravenous cannulation, in children 3-18 years of
                                                      age and adults
LIDODERM*
LIDODERM'
LIDODERM°                5%           Patch
                                      Patch           Pain
                                                      Pain associated
                                                             associated with post-herpetic neuralgia                   Prescription
                                                                                                                       Prescription
(lidocaine)                                                                                                            (NDA
                                                                                                                       (NDA020612)
                                                                                                                             020612)
ZTLIDOn°
ZTLIDO'"
ZTLIDO"                  1.8%         Patch           Pain associated with post-herpetic neuralgia
                                                      Pain associated                                                  Prescription
(lidocaine)                                                                                                            (NDA
                                                                                                                       (NDA 207962)
                                                                                                                             207962)
SYNERA*
SYNERA"
SYNERA.                  70 mg;       Patch
                                      Patch           Local
                                                      Localanesthetic   indicated for use
                                                            anesthetic indicated       use on intact skin to           Prescription
                                                                                                                       Prescription
(lidocaine;              70 mg                        provide local dermal analgesia forfor superficial                (NDA
                                                                                                                       (NDA021623)
                                                                                                                             021623)
tetracaine)                                           venous access and superficial dermatological
                                                      procedures such
                                                                  such as
                                                                        as excision, electrodessication
                                                                                      electrodessication and
                                                      shave biopsy of
                                                                    of skin lesions
Lidocaine                2—
                          — 5%
                            5%       Cream,           Temporary relief ofof local
                                                                            local discomfort
                                                                                  discomfort associated
                                                                                              associated         Nonprescription
                                     Lotion,
                                     Lotion,          with hemorrhoids
                                                           hemorrhoids                                           21  C.F.R. §§ 346.10(f)
                                                                                                                 21 C.F.R.     346.10(f)
                                     Ointment                                                                    Anorectal Drug Products
                                                                                                                                   Products
                                                                                                                 for OTC Human
                                                                                                                 for OTC   Human Use
                                                                                                                 Final
                                                                                                                 Final Monograph
                                                                                                                        Monograph
Lidocaine                10 mg
                             rng       Spray           Male   genital desensitizer
                                                       Male genital   desensitizer                               Nonprescription
                                                                                                                 21
                                                                                                                 21 C.F.R.
                                                                                                                     C.F.R. §§ 348.10(a)(2)
                                                                                                                               348.10(a)(2)
                                                                                                                 External
                                                                                                                 External Analgesics for
                                                                                                                 OTC
                                                                                                                 OTCHuman
                                                                                                                       Human Use
Lidocaine and            0.5% -       Cream,           Temporary relief ofof pain and itch associated with       Nonprescription
lidocaine HCI
lidocaine HCI            4%           Ointment,        minor burns, sunburn, minor cuts, scrapes, insect         External
                                                                                                                 External Analgesics
                                      Lotion
                                       Lotion          bites or minor skin irritations                           Tentative   Final
                                                                                                                 Tentative Final
                                                                                                                 Monograph, 1983
 * Data
   Data on
         on prescription
            prescriptiontopical
                         topicallidocaine
                                  lidocaine products
                                            productsisis from
                                                          fromthe
                                                               theOrange
                                                                   OrangeBook
                                                                           Book ("Approved
                                                                                  ("Approved Drug Products
                                                                                                    Products with Therapeutic
Equivalence
 Equivalence Evaluations";
              Evaluations";November
                             November 2018).
                                         2018). Application
                                                Application numbers
                                                              numbers correspond
                                                                        correspond totothe
                                                                                        theOrange
                                                                                            OrangeBook
                                                                                                    Book Reference
                                                                                                         ReferenceListed
                                                                                                                     Listed Drug;
                                                                                                                             Drug;
generic equivalents may
                      may also
                           also have
                                have been
                                      been approved. Discontinued      topical lidocaine products
                                                        Discontinued topical              products are not included.
       Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 140 of 210

Division
Divisionof
         ofDockets
           Dockets Management  (HFA-305)
                   Management (HFA-305)
December
December 28, 2018
Page
Page 7



       While
       While lidocaine
               lidocaine has
                         has aa long
                                long history
                                      history as
                                               as aa prescription
                                                     prescription and nonprescription
                                                                        nonprescription drug
                                                                                         drug product
dating back
       back to
             to the
                 the1940s,
                     1940s,safety
                             safetyissues
                                     issues—— particularly
                                               particularly with
                                                             with topical   delivery —
                                                                    topical delivery — continue
                                                                                       continue to
                                                                                                 to be
recognized, prompting  several FDA
            prompting several    FDA public
                                       publichealth
                                              health advisories
                                                      advisories in
                                                                  inrecent
                                                                     recent years.


         In
         In 2007,
             2007, FDA     issuedaapublic
                    FDAissued         publichealth
                                             healthadvisory
                                                     advisoryfollowing
                                                                 followingreports
                                                                              reports of
                                                                                      of several
                                                                                          several serious
                                                                                                    serious adverse
                                                                                                             adverse
events, including
          including the
                      the deaths
                           deaths ofof two   women, aged
                                       two women,      aged 22 22 and
                                                                   and 25  years old,
                                                                        25 years   old, who
                                                                                        who hadhad applied
                                                                                                     applied topical
                                                                                                               topical
anesthetics to their
                  their legs
                         legs to
                               to lessen
                                   lessen the
                                           the pain
                                                pain of
                                                      of laser
                                                          laser hair
                                                                 hair removal.
                                                                       removal. TheThepharmacy-compounded
                                                                                        pharmacy-compounded
cream formulations contained multiple  multiple anesthetics including
                                                                 including lidocaine.
                                                                              lidocaine. The womenwomen wrapped
                                                                                                            wrapped
their  legs with
 their legs   with plastic
                     plastic wrap
                               wrap to     increase the
                                       to increase           creams' numbing
                                                      the creams        numbing effects.
                                                                                    effects. FDA  FDA noted
                                                                                                         noted that
                                                                                                                  that
"anesthetic drugs in these products can pass through the           the skin
                                                                        skin into the blood      stream, and if too
                                                                                        blood stream,
much
 much gets
        gets into
              into the blood,
                         blood, patients     can experience
                                  patients can   experience serious
                                                                  serious harm.     More drug
                                                                           harm. More               passes into the
                                                                                             drug passes
blood stream
        strearn when thethe product
                             product isis applied  over aa large
                                           applied over             area of
                                                             large area      skin, when
                                                                         of skin,  when it it stays
                                                                                              stays on
                                                                                                     on the   skin for
                                                                                                         the skin
a long time,   and when the skin
        tirne, and               skin is
                                       is covered
                                          covered after
                                                   after application
                                                           application ofof the
                                                                             the cream. Anesthetic
                                                                                            Anesthetic drugs
                                                                                                          drugs may
also pass   into the blood
            into       blood stream if the skinskin is  irritated or
                                                     is irritated   or has a rash, or if the skinskin temperature
goes up. Exercise,
            Exercise, covering
                        covering the skin     with aa wrap,
                                         skin with     wrap, or or use of a heating pad can   can all
                                                                                                    all increase the
skin temperature."14
skin  temperature."' InIn        2009,FDA
                              2009,       FDA again
                                               again warned
                                                       warned aboutabout potential
                                                                           potential serious        adverse events
                                                                                        serious adverse        events
associated
associated with      topical lidocaine,
              with topical     lidocaine,whenwhenitit issued
                                                       issued aa public
                                                                    public health     advisory on
                                                                             health advisory                 risks of
                                                                                                   on the risks     of
lidocaine
lidocaine useuse during
                  during mammography
                            rnarnrnographyororother other medical
                                                             medical procedures
                                                                        procedures and        warned these
                                                                                       and warned                risks
                                                                                                         these risks
increase "after   covering the
           "after covering    the skin
                                   skin with any type of material or dressing.
                                                                           dressing."i5
                                                                           dressing."1515


       In
       in  2018, FDA
       in 2018,    FDA issued
                         issued aa safety  announcement on the
                                   safety announcement           the risk
                                                                      risk of
                                                                            ofmethemoglobinemia,
                                                                               methemoglobinemia, aa
potentially
potentially fatal
             fatal blood
                   blood disorder
                         disorder caused by local
                                               local anesthetics,
                                                     anesthetics, and required
                                                                         required manufacturers
                                                                                  manufacturers of
                                                                                                 of all
                                                                                                    all
prescription
prescriptionlocal      anestheticsto
                localanesthetics         standardize warning
                                      to standardize    warning information
                                                                   informationaboutaboutthe   risk of
                                                                                         the risk    of
methemoglobinemia
methemoglobinemia in    in product
                           product labeling
                                     labeling across
                                              across this  class of products.16
                                                      this class                   While most
                                                                     products.16 While   most ofof the
adverse events were associated      with oral benzocaine
                        associated with        benzocaine used for teething and rnouth
                                                                                    mouth pain,
                                                                                           pain, case
reports were   identified in the literature
        were identified          literature where
                                            where patients    developedmethemoglobinemia
                                                     patientsdeveloped      methemoglobinemia while
                                                                                                 while



    Public Health
14 Public  Health Advisory: Life-Threatening
           Headth Advisory: Life-Threatening Side
                                              SideEffects
                                                  Effectswith
                                                          with the Use of
                                                               the Use ofSkin    ProductsContaining
                                                                           Skin Products   Containing Numbing
                                                                                                      Numbing
Ingredients
Ingredients for      Cosmetic Procedures,
                for Cosmetic      Procedures, Feb          2007.
                                                Feb 6,6,2007.       Availableat: https://wayback.archive-
                                                               Available         at:   https://wayback.archive-
it.org/7993/20171105015424/https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetylnformationforPatien
itorg/7993/20171105015424/https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetylnformationforPatien
tsandProviders/ucm054718.htm.

is
15 Public Health Advisory:
is Public        Advisory: Potential Hazards
                                     Hazards of
                                             of Skin
                                                Skin Products
                                                     Products Containing
                                                              Containing Numbing Ingredients for
                                                                         Numbing Ingredients  forRelieving
                                                                                                  Relieving Pain
                                                                                                            Pain
from    Mammography and
from Mammography                OtherMedical
                           andOther     MedicalTests      and Conditions,
                                                   Testsand    Conditions,   Jan.16,
                                                                           Jan.    16, 2009.
                                                                                       2009. Available       at:
                                                                                                  Available at:
https://wayback.archive-
https://wayback,archive-
it.org/7993/20171105132310/https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetylnformationforPatien
itorg/7993/20171105132310/https://www.fda.gov/Drugs/Drugsafety/PostmarketDrugsafetylnformationforPatien
tsandProviders/ucm110625.htm.

is
16 Safety Announcement: Risk  Risk of      serious and
                                        of serious and potentially fatal blood disorder
                                                                               disorder prompts  FDA action
                                                                                        promptsFDA    action on oral over-the-
counter benzocaine
         benzocaine products used      used for
                                             for teething and mouth
                                                 teething and  mouthpain
                                                                       painand
                                                                            andprescription
                                                                                prescriptionlocal
                                                                                             local anesthetics, May 23,
                                                                                                   anesthetics, May  23, 2018.
Available at: ht.i
              1-Itirliwv,vw.f(1.      .pov/Drup,c,iim
                      ijj_www.,f(I.--,.pov/DrugqDrJi::.3,,rety/ucrc.606265.htro.
Available at:1-ILL.2:42_www.fdP,pov/DruE,Thr               nt\i/ucr,
      Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 141 of 210

Division
Divisionof
         ofDockets Management
           Dockets Management  (HFA-305)
                   Management (HFA-305)
December 28,
December 28, 2018
Page
Page 8
     8



using
using 5%
       5% topical
           topical lidocaine
                    lidocaine patches17,18
                               patches17•18 or combination
                                                  combination lidocaine/prilocaine
                                                                   lidocaine/prilocainecreams.19       Patients
                                                                                            creams.' Patients
with     glucose-6-phosphate
with glucose-6-phosphate              dehydrogenase
                                      dehydrogenase           deficiency, congenital
                                                             deficiency,       congenital or         idiopathic
                                                                                              or idiopathic
methemoglobinemia,
methemoglobinemia, cardiaccardiac or
                                   or pulmonary
                                       pulmonary compromise,
                                                      compromise,infants
                                                                       infantsunder
                                                                                 under 66 months
                                                                                          months of age, and and
patients with concurrent
               concurrent exposure
                             exposure toto oxidizing
                                           oxidizing agents
                                                         agents or
                                                                 or their
                                                                     their metabolites
                                                                           metabolites are more susceptible
    developing clinical
to developing    clinical manifestations
                           manifestationsof    ofthe
                                                   the condition.      Prescription topical
                                                        condition. Prescription       topical anesthetics
                                                                                              anesthetics are
labeled with warnings
labeled       warnings related to      methemoglobinemia along
                                    to methemoglobinemia          along with
                                                                          with guidance
                                                                                 guidance to  closely monitor
                                                                                           to closely
for associated symptoms
for associated   symptomsand    andsigns
                                     signsofofthetheeffect,
                                                      effect,and
                                                               andthethe fact
                                                                          fact that
                                                                                that the products
                                                                                          products and
                                                                                                    and other
oxidizing
oxidizingagents
           agents should
                   should bebe discontinued
                                discontinued in     specificcircumstances.
                                                in specific   circumstances. The The warnings
                                                                                      warnings also
                                                                                                 also note
                                                                                                      note that
                                                                                                             that
patients may warrant
               warrant supportive
                          supportive care
                                        care (i.e.,
                                              (i.e., oxygen
                                                      oxygen therapy
                                                               therapy or     hydration) with
                                                                          or hydration)   with severe
                                                                                                severeclinical
                                                                                                         clinical
presentation   requiring treatment with
presentation requiring                   with rnethylene
                                               methylene blue,blue, exchange
                                                                      exchange transfusion,
                                                                                  transfusion, or
                                                                                                or hyperbaric
                                                                                                    hyperbaric
oxygen.   The prescription
oxygen. The     prescription labels
                               labels also
                                       also outline risks
                                                        risks associated
                                                              associated withwith concomitant
                                                                                   concomitant useuse of
                                                                                                       of other
drugs associated with methemoglobinemia.

       OTC
       OTClidocaine
             lidocaine product
                        product manufacturers
                                 manufacturers (subject to to the
                                                               the1983
                                                                     1983External
                                                                            ExternalAnalgesics
                                                                                     Analgesics TFM)TFM)
were not required
         required to  updatetheir
                   to update  theirlabeling
                                    labeling to
                                             to warn  about the
                                                warn about   the risk
                                                                  risk of methemoglobinemia or the
                                                                       of methemoglobinemia
risks
risks associated
      associated with    concomitantuse
                   with concomitant     use with    other drugs
                                              with other   drugs associated
                                                                    associated with
                                                                                 with the
                                                                                        the condition.
                                                                                             condition.
Manufacturers voluntarily
                voluntarily adding
                            adding warnings
                                    warnings oror administration modifications
                                                                   modifications not   included in
                                                                                   not included    in the
External
External Analgesics
         AnalgesicsTFMTFM(unless
                            (unlessotherwise
                                     otherwisesubject   to an
                                                subjectto      Agency directive)
                                                           an Agency      directive)may
                                                                                    mayresult
                                                                                           result in
                                                                                                   in the
product being out of compliance
                      compliance with
                                   with the monograph and ultimately
                                                               ultimately considered a misbranded
drug product.

         Although
         Although lidocaine
                   lidocaine is
                              isgenerally    consideredto
                                 generallyconsidered      to bebe aa safe and effective drug ingredient for
many
many purposes, these
                  these recent   safetyissues
                         recentsafety     issueshighlight
                                                  highlight that,    whenlidocaine
                                                             that,when      lidocaineisis applied  topically, a
                                                                                          applied topically,
significant
significantamount
               amountofof drug
                            drug cancan be      absorbed that
                                           be absorbed       that can can result
                                                                           result ininserious,
                                                                                         serious,sometimes
                                                                                                   sometimes
life-threatening,
life-threatening, adverse
                   adverse events.   While the
                           events. While          products leading
                                              the products    leading to these    advisories were not patch
                                                                           these advisories
products, they all showed that
                             that drug
                                  drug concentration,
                                        concentration, vehicle,
                                                           vehicle, occlusion,
                                                                       occlusion, and
                                                                                    and area of exposure are
factors
factors that can contribute
                   contribute to this
                                  this risk.
                                       risk. Patch
                                                Patch products,
                                                       products, by  by their
                                                                        their nature,
                                                                               nature, are
                                                                                        are occlusive,
                                                                                             occlusive, as
                                                                                                         as the
skin
skin is
      is covered
         covered by     physical barrier
                  by a physical             consisting of
                                  barrier consisting     of an adhesive
                                                                 adhesive layer,
                                                                             layer, or layers,
                                                                                        layers, on     backing
                                                                                                 on aa backing
material.
material. FDAFDA recognized
                  recognized this potential
                                     potential safety
                                                   safety issue     comparing lidocaine
                                                           issue comparing        lidocaine patches
                                                                                               patches versus
                                                                                                         versus
cream/lotion
cream/lotion OTCOTC formulations
                      formulationsin  in its
                                          its review
                                              review of thethe NDA
                                                                 NDA for      prescription lidocaine
                                                                         for prescription                patch,
                                                                                             lidocaine patch,
Lidoderm&:
Lidoderm'':  "Topical lidocaine
Lidoderm: "Topical     lidocaine 0.5%
                                   0.5% to    4% is
                                           to 4%   is recognized
                                                      recognized as   as an effective   topical analgesic
                                                                             effective topical   analgesic for


17             TN, Gleich
   Weingarten TN,
17 Weingarten      Gleich SJ,
                           Si, Craig
                               Craig JR, Sprung J.J. "Methemoglobinemia
                                     JR, Sprung      "Methemoglobinemia in
                                                                        4)
                                                                         in the Setting  ofChronic
                                                                                Setting of  Chronic Transdermal
                                                                                                    Transdermal
Lidocaine
Lidocaine Patch
          Patch Use." Pain
                      Pain Medicine.
                           Medicine 2012; 13: 976-977.

is Acevedo
18 Acevedo FA,
             FA, Kim
                 KimEJ,
                      ELChyatte
                          ChyatteDA,
                                  DA,Nielsen
                                      NielsenVG. "Rare
                                               VG. "Rarecause
                                                         causeofofdelirium
                                                                   deliriumand   andhypoxemia
                                                                                    hypoxemia after
                                                                                               after coronary
                                                                                                     coronary bypass
surgery: transdermal lidocaine patch-associated methemoglobinemia." Int.
surgery: transdermal                                                    int. J.
                                                                             _I. Legal Med.
                                                                                       Med. 2018; 132: 767—
                                                                                                  132: 767 - 769.
                                                                                                             769.

19
19 Shamriz 0, Cohen-Glickman I, Reif
           O, Cohen-Glickman
           0,                        5, Shteyer
                                Reif 5, 5hteyer E. "Methemoglobinemia Induced
                                        5hteyer                       Induced by
                                                                               byLidocaine-Prilocaine
                                                                                  Lidocaine-Prilocaine Cream."
IMAJ
 IMAJ 2014; 16:250-254.
          Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 142 of 210

Division
Divisionof  Dockets Management
         of Dockets             (HFA-305)
                    Management (HFA-305)
December
December 28, 2018
Page
Page 9



purposes
purposes of
          of the   external analgesic
              the external   analgesic tentative
                                        tentative final
                                                   final monograph.
                                                          monograph.     Either  increasing the
                                                                         Either increasing
concentration to 5%
                 5% or adding     occlusive dressing
                        adding an occlusive  dressing should
                                                       should be
                                                               be considered
                                                                  considered to
                                                                             to provide
                                                                                provide at
                                                                                         at least
much as much efficacy (but would raise
                                  raise questions
                                         questionsof   safety)"[emphasis added).L0
                                                    ofsafety)"           added].2°

         While
         While the External
                     External Analgesics
                                 Analgesics TFM
                                            TFMconcerns
                                                   concerns OTC
                                                              OTClidocaine
                                                                     lidocaineproducts
                                                                                 productsinincream,
                                                                                              cream,ointment,
                                                                                                      ointment,
                     forms, unfortunately,
or lotion dosage forms,       unfortunately, OTC
                                               OTC lidocaine
                                                      lidocainepatches
                                                                  patcheshave
                                                                            havebeenbeen marketed
                                                                                          marketed under
                                                                                                     under the
guise
guise of being compliant
                 compliant with with the TFM
                                          TFM in
                                               in recent   years (Attachment
                                                   recent years   (Attachment 1).       Of particular
                                                                                    1). Of particular concern,
these  patchescan
these patches   candiffer
                      differsignificantly
                             significantly in design, drug load,    residual drug, product
                                                              load, residual           product size
                                                                                               size and
                                                                                                    and shape,
     heat effects,
and heat   effects, all
                    all of which present safety     and efficacy
                                            safety and             issues that
                                                         efficacy issues   that should be evaluated against
all
all applicable
    applicableregulatory
                regulatorystandards
                               standardsestablished     forthese
                                          established for   these products,              marketing. The
                                                                   products, prior to marketing.       The NDA
and ANDA
     ANDA approval
              approvalprocesses
                          processesconsider     productcharacteristics
                                      considerproduct     characteristicsand and performance
                                                                                  performance on on aa product-
specific
specific basis,
           basis, taking
                   taking into     account the latest
                             into account           latest developments
                                                            developments in     in regulatory
                                                                                     regulatory science,
                                                                                                 science, and
                                                                                                            and
safeguarding
safeguardingagainst
                 againstineffective
                             ineffective  and/or
                                            and/or  unsafe
                                                      unsafe  products
                                                                products  in inthe
                                                                                 themarket.
                                                                                      market. TheThe present,
                                                                                                       present,
unapproved marketing
               marketing of of OTC
                                OTC lidocaine
                                      lidocaine patches
                                                patches undermines the   the applicable
                                                                               applicable regulotory
                                                                                           regulatory process
and subverts
     subverts FDA's     role in
               FDA's role     in protecting
                                 protecting public health, exposing
                                                              exposing consumers
                                                                         consumers to   to products
                                                                                           products that
                                                                                                      that have
not demonstrated
     demonstratedclinical
                      clinical benefit
                                benefit and
                                         andmay
                                             may pose
                                                  posesignificant
                                                         significant safety   risks.
                                                                      safety risks.

        FDA
        FDApreviously      proposedand
              previouslyproposed             should affirm
                                       and should      affirm for          reasons discussed
                                                              for several reasons    discussed herein
                                                                                               herein— — the
                                                                                                         the
most significant
      significant of which isis safety
                                 safety —   thatlidocaine-containing
                                        —that     lidocaine-containingpatch
                                                                          patch dosage   form drug
                                                                                  dosage form drug products
                                                                                                   products
are outside the
are outside   the scope
                    scope of
                           ofthetheExternal
                                     External Analgesics
                                                 Analgesics TFM.       Indeed, given
                                                               TFM. Indeed,       given current
                                                                                        current and   future
                                                                                                 and future
advancements in  in patch
                    patch technology
                           technology for for improving
                                               improving drug
                                                            drug delivery
                                                                  delivery (i.e.,
                                                                            (i.e., amount of delivered drug
and  level of
and level    of percutaneous
                 percutaneous absorption),
                                   absorption), thesethese safety
                                                             safety risks
                                                                     risks require
                                                                            require and
                                                                                      and deserve
                                                                                            deserve careful
                                                                                                     careful
consideration.

            2.       Lidocaine-Containing
                     Lidocaine-ContainingPatch
                                           PatchDosage Form
                                                  Dosage    Drug
                                                         Form    Products
                                                              Drug        Are
                                                                   Products   Outside
                                                                            Are       thethe
                                                                                Outside    Scope
                                                                                             Scope
                     of the External
                     of the External Analgesics
                                     Analgesics TFM
                                                TFM

        FDA
        FDAcreated      the OTC
               createdthe    OTCdrug
                                   drugreview
                                        reviewprogram
                                                programinin1972          "to evaluate
                                                                   1972 "to   evaluate the    safety and
                                                                                        the safety    and
effectiveness of OTC
                  OTCdrug
                        drugproducts
                              productsmarketed
                                       marketed in
                                                 in the
                                                     the United States before
                                                                           before May
                                                                                  May 11, 1972.
                                                                                             1972."21   In
                                                                                                    21 ln
fact, the
      the Agency
           Agency regulations
                    regulations governing
                                 governing the
                                           the OTC
                                                OTC drug review         expressly state:
                                                               review expressly    state: "This
                                                                                           "This section
                                                                                                  section
applies only  to conditions under consideration
         only to                   consideration as
                                                 as part
                                                      partof
                                                           ofthetheOTC
                                                                    OTC drug   review initiated on May
                                                                         drug review                 May
11, 1972, and   evaluated under the procedures
           and evaluated             procedures set
                                                set forth
                                                      forth in
                                                             in §§ 330.10.
                                                                   330.10."22
                                                                            22




70 NDA 020612
20 NDA  020612 Summary
               Summary Basis of Approval,
                       Basis of Approval,Deputy
                                          Deputy Director's
                                                 Director's Review, Dec
                                                                    Dec 2,
                                                                        2, 1998.
                                                                           1998.

21 FDA,
21 FDA,"Over-the-Counter
         "Over-the-Counter (OTC)
                           (OTC)Drug  MonographProcess,"
                                 DrugMonograph Process," available
                                                         available at
                                                                   at
https://www.fda.gov/drugs/developmentapprovalprocess/howdrugsaredevelopedandapproved/ucm317137.htm.
https://www,fda.govicirugs/developmentapprovalprocess/howdrugsaredevelopedandapproved/ucm317137.htm.
https://www.fda.gov/drugs/developmentapprovalprocess/howdrugsaredevelopedandapproved/ucm317137.htm.

22    21C.F.R.
     21 C.F.R. §§ 330.13(e).
                  330.13(e).
     Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 143 of 210

Division
Division of
         of Dockets
            Dockets Management  (HFA-305)
                    Management (HFA-305)
December
December 28, 2018
Page 10



       The   Agency and
       The Agency      and the  courts have
                            the courts       both recognized
                                       have both
                                             both  recognized that
                                                   recognized   that the
                                                                      theOTC
                                                                      the  OTC drug
                                                                           OTC  drug review
                                                                                drug  review was
                                                                                      review  was aa
                                                                                             was
retrospective
retrospective approach
              approach to apply
                              apply 1962 statutory amendments
                                    1962 statutory  amendments to tothe
                                                                  to   theFederal
                                                                       the FederalFood,
                                                                           Federal Food,Drug,
                                                                                   Food,  Drug, and
                                                                                          Drug, and
                                                                                                and
Cosmetic
Cosmetic Act
          Act to
               to a large number
                          number ofof OTC
                                      OTC products,
                                           products, with    common group
                                                     with aa cornrnon
                                                             common     group of
                                                                              of active
                                                                                 active ingredients,
                                                                                        ingredients,
     were already
that were already in the marketplace:

               In
               In 1962,
                   1962, Congress
                         Congress amended
                                    amended the definition
                                                    definition of     "new drugs"
                                                                  of "new     drugs" to
                                                                              drugs"   to include
                                                                                             include all
                                                                                            include     all drugs
                                                                                                       all  drugs
                                                                                                            drugs
                     generally recognized
               "not generally  recognized among
                                              among experts   ...
                                                      experts ...  as safe
                                                               ... as  safe and effective
                                                                                  effective for
                                                                                  effective      for use    under
                                                                                                      use under
               the conditions
                    conditions prescribed, recommended, or     or suggested
                                                                    suggested in in the
                                                                                     the labeling
                                                                                           labeling thereof."
                                                                                          labeling     thereof."
               Drugs
               Drugs first
                       first marketed
                             marketed before
                                        before 1938
                                                 1938 were    exempted
                                                        were exempted
                                                              exempted from   from    both
                                                                              from both
                                                                                      both the the safety
                                                                                                     safety and
                                                                                                    safety    and
                                                                                                              and
               efficacy
               efficacyrequirements
                         requirementsof      the
                                          of the
                                              the Act  provided that
                                                  Act provided
                                                       provided     that they
                                                                           they were
                                                                                 were not
                                                                                 were     notsubsequently
                                                                                          not     subsequently
                                                                                                 subsequently
               relabeled. Similarly,
                           Similarly, drugs marketed    between1938
                                              marketed between       1938and
                                                                     1938    and1962
                                                                            and   1962as
                                                                                 1962     asGRAS,
                                                                                         as    GRAS, and
                                                                                              GRAS,    and thus
                                                                                                             thus
                        an NDA,
               without an   NDA, were
                                  were exempted
                                         exempted from     the newly-imposed
                                                     from the
                                                          the    newly-imposed efficacy
                                                                newly-imposed         efficacy requirement
                                                                                      efficacy     requirement
               as long as the conditions for use
                                               use suggested by the labeling       remained unchanged.
                                                                         labeling remained         unchanged.

               ...The
               ...The efficacy
                        efficacy requirement      became operative
                                  requirement became                    immediately for
                                                                       immediately
                                                           operative immediately
                                                           operative                 for   drugs not
                                                                                           drugs
                                                                                      for drugs    not
                                                                                                   not
               classified as
               classified as "new   drugs."   For such drugs to
                                            For such drugs to be be classified
                                                                 beclassified  as GRAS/E,
                                                                               asGRAS/E,
                                                                    classifiedas          there
                                                                                  GRAS/E, there  must
                                                                                           there must
                   an "expert
               be an   "expert consensus
                               consensus ...... founded  upon 'substantial
                                                founded upon                 evidence' of
                                                               'substantial evidence'"
                                                                             evidence—      the drug's
                                                                                       of the   drug's
                                                                                                drug's
               effectiveness and safety.

              ...In         upon completion
              ...In 1972, upon      completionof    ofthe
                                                        the[Drug
                                                              [DrugEfficacy
                                                                        EfficacyStudy
                                                                                   Study      Implementation(DESI)
                                                                                   StudyImplementation
                                                                                              Implementation          (DESI)
                                                                                                                      (DESI)
              Review
              Reviewof      products that
                        ofproducts       that had
                                               had been marketed           pursuant to
                                                                          pursuant
                                                           rnarketed pursuant          tonew
                                                                                       to    newdrug
                                                                                            new     drug    applications],
                                                                                                    drug applications],
                                                                                                            applications],
              FDA
              FDAturned
                     turned its
                              its attention
                                  attention to  to pharmaceuticals
                                                    pharmaceuticals marketedmarketedunder
                                                                            marketed       underthe
                                                                                           under      theAct's
                                                                                                      the   Act'sGRAS/E
                                                                                                            Act's    GRAS/E
                                                                                                                    GRAS/E
              exemption,     which include
              exemption, which                                  over-the-counter drugs....
                                                  primarily over-the-counter
                                      include primarily                                  drugs.... A
                                                                                        drugs....       A   drugefficacy
                                                                                                            drug
                                                                                                         A drug     efficacy
                                                                                                                    efficacy
              study undertaken
              study  undertakenby    bythetheNational
                                               NationalAcademy
                                                          Academyof          Science-NationalResearch
                                                                         ofScience-National
                                                                             Science-National          ResearchCouncil
                                                                                                       Research      Council
                                                                                                                    Council
              (NAS-NRC)
              (NAS-NRC)     hadhadconcluded,
                                    concluded,after afterreviewing
                                                           reviewing420  420    drugsbroadly
                                                                          420drugs      broadly       representative
                                                                                        broadlyrepresentative
                                                                                                       representative of    of
                                                                                                                            of
                    OTC market
              the OTC     market that only   only one-fourth
                                                    one-fourth of     of the
                                                                          the
                                                                          the    drugs
                                                                                drugs
                                                                               drugs      reviewed
                                                                                         reviewed
                                                                                        reviewed           were
                                                                                                           were
                                                                                                         were       actually
                                                                                                                    actually
                                                                                                                  actually
              effective.
              effective. InIn response,
                               response,FDA   FDA began         comprehensivereview
                                                    began aa comprehensive
                                                                comprehensive        review
                                                                                      reviewof     of  all
                                                                                                   ofallallOTC
                                                                                                            OTC drugs
                                                                                                            OTC    drugs to to
              determine      whether they
              determine whether             they were
                                                    were properly            marketable under
                                                                             marketable
                                                             properly marketable                  underthe
                                                                                                 under       the
                                                                                                            the     GRAS/E
                                                                                                                    GRAS/E
                                                                                                                GRAS/E
              exemption.      Instead of
              exemption. Instead          of evaluating
                                              evaluating each
                                                            each of the  the hundreds
                                                                               hundreds of     of thousands
                                                                                               of  thousands of    of those
                                                                                                                       those
              drugs individually,
                      individually, however,
                                        however, FDA        classified
                                                     FDAclassified
                                                             classifiedthethe   medications
                                                                            themedications          according
                                                                                 medications according
                                                                                                     according to   to   their
                                                                                                                    to their
              comparatively few
              comparatively      few active
                                        active ingredients,
                                                 ingredients, and and directed the  the OTC
                                                                                    the     OTC drug
                                                                                            OTC     drug review
                                                                                                            review to
                                                                                                            review     to bebe
              conducted
              conducted in               phases. First,
                                 four phases.
                             in four                            advisory
                                                       First, advisory        panels
                                                                advisory panelspanels of       qualified experts
                                                                                               qualified
                                                                                        of qualified          experts are
                                                                                                              experts      are
              appointed to analyze existingexisting test
                                                      test data andand make
                                                                          make recommendations
                                                                                  recommendations in           in the   form
                                                                                                                  the form
                                                                                                                        form
                  monographs establishing
              of monographs       establishing the the conditions
                                                        conditions under         whicheach
                                                                         underwhich
                                                                        under    which     eachOTC
                                                                                          each      OTC drug
                                                                                                    OTC    drug could
                                                                                                                   could be be
              marketed    without an
              marketed without         an NDA.
                                            NDA. In  In Phase
                                                         Phase II,      FDA reviews
                                                                        FDA
                                                                   II, FDA     reviews these
                                                                               reviews      these monographs
                                                                                                      monographs and
                                                                                                     monographs           and
              publishes
              publishes them
                          them in      the Federal
                                   in the    Federal Register
                                                        Register for               comment on
                                                                          public comment
                                                                     for public    comment               the safety
                                                                                                    on the      safety andand
                                                                                                                          and
              effectiveness ofof the
                                  the products      under examination.
                                        products under       examination. The    The third
                                                                                 The  third stagestage ofof the    program
                                                                                                             the program
              obligates FDA
                         FDAto   toreview
                                     reviewcomments,
                                               comments, to       publish       tentative
                                                                  publish aaa tentative
                                                               to publish       tentative final final monograph,
                                                                                               final   monograph, and     and
                  offer the
              to offer  the public
                              public the      opportunity to
                                        the opportunity        to object      formally ...
                                                                              formally
                                                                   objectformally         ... 10
                                                                                          ...   to the
                                                                                               to   the findings
                                                                                                          findings mademade
         Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 144 of 210

Division of
Division of Dockets
            Dockets Management  (HFA-305)
                                (HPA-305)
                    Management (HFA-305)
December
December 28, 2018
Page
Page 11
      11



                     with respect
                     with  respect to
                                   to individual
                                       individual drugs.
                                                  drugs. In
                                                         In the  fourth and
                                                            the fourth  and final
                                                                             final part
                                                                                   part of
                                                                                         of the
                                                                                             theOTC   review,
                                                                                                 OTC review,
                     FDA
                     FDApromulgates
                            promulgatesaa final
                                             final monograph
                                                   monograph containing
                                                                containing the agency's
                                                                                 agency's conclusive
                                                                                              conclusive and
                     legally
                     legally binding
                              bindingdeterminations
                                         determinations             conditionsunder
                                                               the conditions
                                                         ononthe                  under which
                                                                                           whichaa drug
                                                                                                     drug is
                                                                                                           is
                     considered  GRAS/E.~3
                                 GRAS/E.23
                     considered GRAS/E.23


        Both  the 1979
         Both the   1979 Advanced       Notice of
                           Advanced Notice            ProposedRulemaking
                                                  ofProposed      Rulemaking("ANPR")
                                                                                 ("ANPR") entitled "External
                                                                                                       "External
Analgesic Drug
Analgesic   Drug Products
                   Products Monograph               Over-The-Counter Human
                               Monograph for Over-The-Counter              Human Use; Use; Establishment
                                                                                            Establishment ofof a
Monograph
 Monograph and       Notice of
               and Notice      ofProposed
                                   ProposedRulemaking,"
                                                  Rulemaking," 24 andand19831983External
                                                                                   ExternalAnalgesics
                                                                                               Analgesics TFM
                                                                                                            TFM
identified multiple
           multiple active
                      active ingredients
                              ingredients—   — including
                                                includinglidocaine
                                                            lidocaine---- that
                                                                           that were found
                                                                                        found to
                                                                                               tobe
                                                                                                  beGRAS/E
                                                                                                      GRAS/E at
specified concentrations
          concentrations andandlabeling
                                  labeling for
                                            for use
                                                  use as
                                                       as OTC
                                                          OTC topical
                                                                topical analgesics
                                                                        analgesics in  in cream,
                                                                                          cream, ointment,
                                                                                                 ointment, and
lotion dosage forms.
                forms. Analgesic
                         Analgesic patches
                                      patcheswere
                                               werenot,not,however,
                                                            however,originally
                                                                       originallyconsidered
                                                                                    consideredby byFDA
                                                                                                     FDA during
                                                                                                          during
the  1979 ANPR,
the 1979  ANPR, nornor were they
                               they included
                                     included inin the
                                                    theExternal
                                                        ExternalAnalgesics
                                                                   Analgesics TFM                    1983. 25 In
                                                                                TFM published in 1983.25       In
2003, FDA
       FDAaffirmatively
             affirmativelyconsidered
                            consideredthe       coverageof
                                           thecoverage      ofpatch
                                                               patch dosage
                                                                      dosage forms      when responding
                                                                               forms when     responding to an
industry
industry request to    marketcounterirritant
                    to market    counterirritantproducts
                                                     productspursuant
                                                                pursuanttotothethe   ExternalAnalgesics
                                                                                  External                 TFM.
                                                                                               AnalgesicsTFM.
Following
Followingreview,
            review,FDA FDA explained
                             explained    thatthe
                                        that          expertpanel
                                                 theexpert    panel had
                                                                     had discussed
                                                                           discussed poultices
                                                                                         poultices and
                                                                                                   and plasters
with
with respect to to only
                    only one
                          onecounterirritant        active ingredient
                                counterirritantactive       ingredient (allyl
                                                                         (allyl isothiocynate),
                                                                                 isothiocynate), and     further
                                                                                                    and further
explained
explained that the
                 the Agency
                      Agency hadhad "surveyed
                                     "surveyed several
                                                   several standard
                                                            standard texts that
                                                                              that listed
                                                                                    listed currently
                                                                                            currently marketed
topical drug products containing counterirritants
                                       counterirritants andand did
                                                               did not
                                                                    not find
                                                                        find any plaster or poultice dosage
forms listed therein."26

        Scilex
        Scilexhas
               has been
                     been unable
                            unable to identify
                                       identify evidence
                                                evidence that
                                                          that the expert
                                                                   expert panel
                                                                          panel or
                                                                                or FDA
                                                                                    FDA considered
                                                                                         considered ••
lidocaine-containing
lidocaine-containing patch
                        patch products in the course of developing the TFM.
                                                                        TFM. No
                                                                              No relevant
                                                                                   relevant products
have been
      been identified
            identified in
                        in more
                           more recent   submissionsto
                                 recentsubmissions   toFDA.27
                                                        FDA.27


'Cutler
23 Cutler v. Hayes, 818 F.2d 879 (D.C.
                                 (D.C. Cir.
                                       Cir.1987;
                                            1987;emphasis
                                                  emphasis added).
                                                           added).

2°
24 44 Fed. Reg. 69768, Dec 4, 1979.



2S
25   48 Fed. Reg. 5852, Feb. 8, 1983.

26
26 68 Fed. Reg. at 42325.
                    42325. Cf.
                            Cf. Letter
                                Letterfrom   William Gilbertson,
                                        fromWilliam   Gilbertson, Pharm.D.,
                                                                   Pharm.D., Director,
                                                                              Director, Monograph
                                                                                        MonographReview
                                                                                                      Review Staff,
                                                                                                              Staff, Office
                                                                                                                     Office of
OTC
OTCEvaluation,
      Evaluation,Center    for Drug
                   Center for  Drug Evaluation
                                     Evaluation and
                                                 and Research to   AAC Consulting
                                                                to AAC  Consulting Group
                                                                                     Group (Dec.
                                                                                            (Dec.10,
                                                                                                   10,1993)
                                                                                                       1993) (Attachment
                                                                                                              (Attachment 2)
(Advisory
(AdvisoryReview
            ReviewPanel
                      Panel on   OTC Topical
                             on OTC     Topical Analgesic,   Antirheumatic,Otic,
                                                 Analgesic,Antirheumatic,      Otic,Burn,
                                                                                      Burn,and    Sunburn Prevention
                                                                                             and Sunburn    Prevention and and
Treatment Drug
            Drug Products "was especially
                                    especially concerned
                                               concerned about              that could increase absorption. ... Ointments,
                                                                  vehicles that
                                                           about vehicles
pastes,
pastes, creams,
        creams, and     oleaginous vehicles
                   and oleaginous               werediscussed...,
                                       vehicleswere    discussed...,but
                                                                     butnot
                                                                          notgels.
                                                                               gels. In
                                                                                     In fact,
                                                                                        fact, a gel
                                                                                                 gel dosage
                                                                                                      dosage form
                                                                                                              form waswas not
                                                                                                                            not
marketed atat the
              the tirne
                   time the
                         thePanel
                             Panel evaluated
                                    evaluated this  ingredient. Based
                                               thisingredient.   Basedononthat   discussion, we
                                                                           thatdiscussion,    we do  notcurrently
                                                                                                  donot  currently find
                                                                                                                    find aa gel
                                                                                                                            gel
dosage form to be acceptable for 1 percent hydrocortisone drug products without                    information.").
                                                                                          further information.").
                                                                                 without further

   For example,
27 For  example, thetheConsumer
                        ConsumerHealthcare
                                    HealthcareProducts
                                                 ProductsAssociation
                                                           Association ("CHPA")
                                                                        ("CHPA") has
                                                                                  has continued    submit information
                                                                                      continued to submit  information
concerning
concerning counterirritant
               counterirritantpatch
                                 patchdosage
                                        dosage forms
                                                 formsto        docket; however,
                                                        to the docket;    however, these
                                                                                   these submissions
                                                                                          submissions do  not provide
                                                                                                      do not    provide
information
information or  or attempt      argue that
                            to argue
                   attempt to          thatlidocaine-containing
                                             lidocaine-containing patch
                                                                   patch products
                                                                           products are within
                                                                                        within the scope
                                                                                                   scope of
                                                                                                          of the
                                                                                                              theTFM.
                                                                                                                  TFM.
E.g.,
E.g., Letter
      Letter from
             from CHPA
                   CHPAto toDocket
                             DocketNo.   78N-0301,Feb.
                                     No.78N-0301,    Feb.27,  2012(Attachment
                                                          27,2012  (Attachment 3).
        Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 145 of 210

Division
Division of
         of Dockets
            Dockets Management    (HFA-3O5)
                                  (HFA-305)
                     Managernent (HFA-305)
December
December 28,28, 2018
Page 12



         Attachment 1 identifies    drug listings
                        identifies drug   listings and initial
                                                        initial marketing
                                                                rnarketing dates
                                                                             dates for currently marketed
lidocaine-containingpatch
lidocaine-containing     patchdosage
                                  dosage form
                                          forrn products
                                                  products purportedly
                                                             purportedly compliant
                                                                            compliant with
                                                                                         with the External
Analgesics
Analgesics TFM
             TFMidentified
                   identified from
                               from FDA's    current DailyMed
                                     FDA'scurrent    DailyMeddatabase.28       Although we
                                                                  database.28 Although        acknowledge
                                                                                          we acknowledge
that this
      this database
            database may
                      may not
                            notbe     comprehensive, ititincludes
                                  becomprehensive,         includes information
                                                                      information prepared
                                                                                     prepared byby product
                                                                                                   product
sponsors. From
             From the
                   thesponsors
                       sponsors'submitted
                                    submittedinformation,
                                                 information,ititseems
                                                                   seemsclear
                                                                          clearthat
                                                                                thatlidocaine    OTC patch
                                                                                      lidocaineOTC   patch
products have been
                 been introduced
                      introduced into
                                    into the
                                         the U.S.
                                              U.S. market
                                                    market decades after
                                                                      after 1972.



            3.         Lidocaine-Containing    PatchDosage
                       Lidocaine-ContainingPatch     DosageForm
                                                             FormDrug
                                                                  DrugProducts Are
                                                                        Products Are"New
                                                                                     "NewDrugs"
                                                                                           Drugs"
                       Within the Scope
                                  Scope ofof the Federal Food,Drug,
                                                 Federal Food, Drug,and
                                                                     andCosmetic
                                                                         CosmeticAct and
                                                                                   Act   Require
                                                                                       and Require
                       Product-Specific Evaluations
                       Product-Specific Evaluationsand
                                                    andApproval
                                                        Approval


        The   External Analgesics
         The External    Analgesics TFM
                                      TFMdoesdoes not     include conditions
                                                    not include       conditions under    which lidocaine-
                                                                                  under which     lidocaine-
containing OTC
             OTC patch
                   patch drug
                          drugproducts
                               products might   be generally
                                        rnight be   generally recognized
                                                                  recognized as
                                                                              as safe
                                                                                 safe and
                                                                                      and effective
                                                                                          effective and
                                                                                                     and not
misbranded. ForFor example,
                      example, the
                               the directions
                                   directions for
                                               for use
                                                    use in
                                                         in the
                                                              the TFM
                                                                   TFM do not address how to  to apply
                                                                                                  apply and
remove a patch, and the dosage
                             dosage forms
                                     forms covered
                                            covered by by the     monograph do
                                                             the monograph         not address
                                                                               do not  address patches.   In
                                                                                                patches. In
fact,       considerations below
fact, the considerations      below show     that there
                                      showthat    there is  is lack
                                                                lack of
                                                                      of consensus
                                                                         consensus about
                                                                                      about the safety    or
                                                                                                   safety or
effectiveness
effectiveness ofof patches,
                     patches, and       must be regulated
                              and they rnust       regulated as   as "new   drugs" in
                                                                     "new drugs"       accordance with
                                                                                    in accordance    with 21
                                                                                                          21
U.S.C.
U.S.C. §§ 321(p).29
          321(p). 28


        The inclusion ofonly
             inclusionof onlycream,
                              cream,ointment,  and lotion
                                     ointment, and  lotion dosage
                                                            dosage forms was
                                                                          was challenged
                                                                               challenged after
                                                                                          after the
publication of the  TFM, with requests
                the TFM,      requests from
                                        from manufacturers to include
                                                                  include alternate  dosage forms
                                                                          alternate dosage
like gels or patches;
     gels or  patches; however,
                       however, FDA
                                  FDA maintained
                                       maintained thethe inclusion
                                                          inclusion of  select dosage
                                                                     ofselect  dosage forms waswas

zs Available
28 Available at
             at dailymed.nlm.nih.gov.

29
29
79 The term "new
   The term "new drug"
                 drug" includes
                        includes "any
                                 "any drug
                                      drug ...
                                           ... the             of which
                                                   composition of
                                               the composition    which is such           drug is
                                                                                     such drug
                                                                           such that such       is not  generally
                                                                                                   not generally
recognized,     among experts qualified
 recognized, among                  qualified by by scientific    trainingand
                                                     scientifictraining     andexperience
                                                                                 experience to    evaluate the
                                                                                              to evaluate                          effectiveness
                                                                                                              the safety and effectiveness
of drugs, as safe and effective         for use
                            effective for    use under the conditions
                                                               conditions prescribed, recommended,
                                                                                          recommended, or         suggested in
                                                                                                               or suggested      in the    labeling
                                                                                                                                     the labeling
thereof, except that such  such aa drug
                                    drug not
                                           not soso recognized
                                                    recognized shallshallnot
                                                                          not be
                                                                               be deemed to be a 'new  'new drug'
                                                                                                              drug' if
                                                                                                                     if at   any time
                                                                                                                        at any     time prior to
June 25,   1938, it was subject
       25, 1938,             subject to the       Food and
                                            the Food           Drugs Act
                                                         and Drugs     Act of
                                                                            of June
                                                                               June 30,
                                                                                     30, 1906,
                                                                                           1906, asas amended,
                                                                                                      amended, and if at such time its             its
labeling
labeling contained
           containedthe   the same
                               samerepresentations
                                      representations concerning
                                                          concerningthe   theconditions
                                                                              conditionsofofitsitsuse."
                                                                                                   use."ItItalso
                                                                                                              alsoincludes
                                                                                                                    includes   "any
                                                                                                                                  "anydrugdrug... the
composition
composition of which which isissuch          such drug,
                                       that such
                                 such that          drug, as
                                                           as aa result of investigations
                                                                            investigations toto determine its safety and effectiveness
for use under
         under such
                  such conditions,
                        conditions, has becorne
                                             become so     recognized, but which
                                                        so recognized,         which has not, otherwise
                                                                                                 otherwise thanthaninin such
                                                                                                                        such investigations,
                                                                                                                                 investigations,
been used
       used toto aa material
                     material extent
                                extentor orfor
                                             foraamaterial
                                                    materialtime       undersuch
                                                                timeunder           conditions." 2121U.S.C.
                                                                              suchconditions."           U.S.C. §321(p).
                                                                                                                  §321(p). Any  Any contention
that aa drug
         drugproduct
                productisisgenerally
                                generally recognized
                                             recognized as  as safe
                                                                safeand     effectivewithin
                                                                       andeffective    within the     meaningofof21
                                                                                                themeaning            21U.S.C.
                                                                                                                            U.S.C. §§321(p)
                                                                                                                                         321(p) is  is
required toto be
               be supported
                    supported by  by submission
                                      submission of  of the  same quantity
                                                        the same      quantity and
                                                                                and quality
                                                                                     quality of
                                                                                              of scientific
                                                                                                  scientific evidence
                                                                                                              evidence that that is required to
         approval of
obtain approval       of aa new
                            new drug
                                   drug application
                                          application forfor the
                                                              theproduct.
                                                                    product.2121   C.F.R.§§314.200(e)(1).
                                                                                 C.F.R.      314.200(e)(1). ScilexScilex isis aware
                                                                                                                              aware that thatFDA FDA
adopted aa regulation
adopted      regulationsetting
                            settingforth     criteriaand
                                     forthcriteria    andprocedures
                                                            proceduresbybywhich
                                                                              whichcertain
                                                                                      certainOTC     drugsinitially
                                                                                               OTCdrugs      initially marketed
                                                                                                                       marketed in     in the
                                                                                                                                           theU.S.
                                                                                                                                                 U.S.
after
after the   OTC drug review
       theOTC             review began in 1972 might be             considered within
                                                               be considered     within the   OTC drug monograph system (i.e.,
                                                                                         theOTC                                         (i.e., time
and extent
     extent applications).        However, that regulation requires
               applications). However,                              requires both (1)
                                                                                    (1) aa determination
                                                                                           determination that a condition
                                                                                                                       condition appears to
be generally     recognized as safe
    generally recognized            safe and     effective for
                                          and effective     for OTC            the U.S.,
                                                                  OTC use in the    U.S., and
                                                                                           and (2)
                                                                                                (2) aa subsequent      public_process, with
                                                                                                        subsequentpublic_process,               with
opportunity for interested parties parties to    submit cornrnents
                                             to subrnit   comments and data.  data. To
                                                                                     ToScilex's
                                                                                         Scilex's knowledge,
                                                                                                   knowledge, neither
                                                                                                                    neither of of these events
has occurred (nor couldcould they be be justified).
                                         justified).
         Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 146 of 210

Division
Division of
         of Dockets
            Dockets Management   (HFA-305)
                     Management (HFA-305)
December 28,28, 2018
Page 13



purposeful
purposeful because
              becauseonlyonlydosage
                               dosageforms
                                         formsmarketed
                                                 marketedatatthe the
                                                                  the time
                                                                        time the   TFM was
                                                                                   TFM
                                                                              the TFM    was drafted
                                                                                              drafted were
                                                                                              drafted     were
                                                                                                         were
considered in
considered   in determining
                determining whether           ingredient was
                                whether the ingredient        was GRAVE
                                                             was    GRAVEfor
                                                                    GRAVE    forOTC
                                                                             for   OTC human
                                                                                  OTC  human use.     30.31 In
                                                                                                  use.30,31
                                                                                                      3°,31   In
                                                                                                             In
2003,  FDA reopened
2003, FDA    reopened the the Administrative
                               Administrative Record
                                               Record of       theExternal
                                                           of the
                                                               the   ExternalAnalgesics
                                                                    External    Analgesics TFM
                                                                                Analgesics  TFM to
                                                                                            TFM    toclassify
                                                                                                   to  classify
                                                                                                       classify
          poultices, and
patches, poultices,  and plasters
                           plasters as
                                    as Category
                                        Category III   conditions
                                                  III conditions    (more
                                                       conditions (more    data
                                                                    (more data    needed)
                                                                           data needed)     and to
                                                                                  needed) and    toexpressly
                                                                                                 to  expressly
                                                                                                    expressly
exclude  them—
exclude them   — with
                 with respect
                       respect to
                                to all
                                   allproducts,
                                       products, not
                                                  notonly    counterirritants
                                                        onlycounterirritants       from the
                                                             counterirritants——— from   the monograph.
                                                                                             monograph. In   In
                                                                                                             In
the 2003
    2003 revision
           revision to
                     tothe
                         theExternal     Analgesic TFM,
                              ExternalAnalgesic
                                        Analgesic           FDA proposed
                                                     TFM, FDA     proposed      amending the
                                                                   proposed amending       the introductory
                                                                                                introductory
                                                                                               introductory
          in 21
language in  21 C.F.R.
                C.F.R. §§
                        §§348.10
                            348.10and
                                    and 348.12
                                         348.12 to
                                                 to include        following language:
                                                     include the following     language:

                     The active ingredients of the product   consist of
                                                    product consist
                                                            consist  of any
                                                                     of  any of
                                                                        any      thefollowing,
                                                                             of the
                                                                                 the  following, within
                                                                                     following,    within the
                                                                                                   within  the
                                  concentration for
                     established concentration  for each
                                                    each ingredient,
                                                         ingredient, but
                                                                      but not
                                                                          notfor
                                                                          not  foruse
                                                                              for  use in
                                                                                   use   in aa patch,
                                                                                        in     patch, plaster,
                                                                                                      plaster,
                     or poultice dosage
                     or                 form.32
                                 dosageform."
                                         form."


        In
        In the proposed rule
           the proposed rule preamble,
                             preamble,FDA
                                       FDA was
                                           was explicit with
                                               explicit with its
                                                        with its  rationale
                                                              its rationale  relative to
                                                                   rationale relative to safety and
                                                                                      to safety and
effectiveness:

                     FDA
                     FDAstated
                           stated(Ref.
                                  (Ref.5)5)that
                                            thatin
                                                 in order
                                                    order for  poultice and
                                                           for poultice
                                                               poultice  and       plaster dosage
                                                                         and plaster       dosage forms
                                                                                           dosage   forms to
                                                                                                    forms      be
                                                                                                           to be
                     generally recognized
                               recognized as safe and effective andand to
                                                                        to develop
                                                                       to     develop any
                                                                             develop    anyadditional
                                                                                        any  additionallabeling
                                                                                             additional  labeling
                                                                                                        labeling
                          may be
                     that may   be needed
                                    needed for
                                             for such
                                                  such dosage    forms, it
                                                        dosage forms,
                                                                 forms,   itit is
                                                                                is necessary
                                                                                is  necessary  to obtain
                                                                                    necessary to
                                                                                               to  obtain more
                                                                                                   obtain   more
                                                                                                           more
                     information, specifically:
                     information, specifically:


                    1. The
                       The safe and      effective concentration
                                   and effective    concentration of   ofthe
                                                                      of  thedrug       ingredient(s),especially
                                                                                drugingredient(s),
                                                                                       ingredient(s),    especially
                                                                                                         especially
                       under the
                               the occlusion
                                   occlusion of aa plaster.
                    2. Data
                       Data on                    absorption under
                              on percutaneous absorption
                                                  absorption            occlusion.
                                                                under occlusion.
                                                                       occlusion.
                    3. The
                       The length
                            length ofof contact
                                        contact time
                                                  time that it is   safe to
                                                                 is safe to leave
                                                                              leave the
                                                                             leave   the poultice
                                                                                          poultice or
                                                                                          poultice   or plaster
                                                                                                        plaster on
                                                                                                        plaster  on
                                                                                                                 on
                       the skin;
                           skin; how                plaster or
                                  how often the plaster     or poultice    needs to
                                                                poultice needs
                                                                          needs     tobe
                                                                                   to      changedfor
                                                                                           changed
                                                                                       be changed     foreffective
                                                                                                     for  effective
                                                                                                          effective
                       use.
                    4. The frequency of application
                                            application that      considered safe
                                                               is considered
                                                         that is                 safe and
                                                                                      and effective.
                                                                                            effective.
                    5. Whether or or not
                                      not directions
                                           directions and
                                                       and aa warning
                                                                warning arearenecessary
                                                                          are    necessaryregarding
                                                                                necessary     regardingchecking
                                                                                             regarding    checking
                                                                                                          checking
                            area at
                       the area   atspecified
                                     specified intervals   for erythema
                                                 intervals for   erythema to      preventblistering,
                                                                              to prevent
                                                                                  prevent   blistering, and
                                                                                            blistering,  and what
                                                                                                         and  what
                                                                                                              what
                       time intervals
                             intervals are
                                        are recommended.


   Letter from
          from William
                 William Gilbertson,
                          Gilbertson, Pharm.D.,     Director,Monograph
                                        Pharm.D.,Director,
                                                    Director,                ReviewStaff,
                                                               MonographReview
                                                                            Review    Staff,Office
                                                                                      Staff,   Officeofof
                                                                                              Office     of  OTCEvaluation,
                                                                                                            OTC
                                                                                                          OTC     Evaluation,CDER,
                                                                                                                  Evaluation,   CDER,
                                                                                                                                CDER,
FDA
FDAto toAAC
         AACConsulting
               ConsultingGroup
                            GroupInc.  on
                                   Inc.ononexcluding
                                            excludinga ahydrocortisone   gel
                                                          hydrocortisone gel  dosage form
                                                                          gel dosage    form for
                                                                                               for OTC
                                                                                                     OTC use
                                                                                                     OTC   use (Dec.
                                                                                                                (Dec. 10,  1993) (see
                                                                                                                       10, 1993)   (see
n. 26, supra). See also
                      also 68
                           68 Fed.   Reg. 42324,
                               Fed. Reg.    42324,42325,
                                                    42325,July
                                                             July 17,2003
                                                             July17,
                                                                  17,         (specifictoto
                                                                             (specific
                                                                       2003(specific     tothe
                                                                                             the
                                                                                             the    External
                                                                                                    External
                                                                                                External        AnalgesicTFM,
                                                                                                               Analgesic
                                                                                                             Analgesic      TFM,FDA
                                                                                                                           TFM,    FDA
                                                                                                                                   FDA
description of the Panel's limited discussion
                                      discussion ofof    poultice or plaster
                                                         poultice or
                                                   of aa poultice    plaster with
                                                                              with respect
                                                                             with   respect to to aaa single
                                                                                              to       single counterirritant
                                                                                                      single  counterirritantactive
                                                                                                                                active
                                                                                                                                active
ingredient,
ingredient, and    further explaining
              and further   explaining that    the Agency
                                         that the  Agency had
                                                   Agency    had "surveyed     several standard
                                                                  "surveyed several
                                                                  "surveyed    several    standard texts
                                                                                          standard      texts that
                                                                                                        texts  thatlisted
                                                                                                               that          currently
                                                                                                                             currently
                                                                                                                     listedcurrently
                                                                                                                    listed
marketed topical
            topical drug products containing
                                    containing counterirritants and and did
                                                                         did not
                                                                             not find
                                                                                  find any
                                                                                  find   any plaster
                                                                                              plaster or  or poultice
                                                                                                             poultice dosage
                                                                                                             poultice   dosage forms
                                                                                                                       dosage    forms
                                                                                                                                forms
listed therein.").

31
31 68
31   68 Fed. Reg. at
                  at 42326.

37
32   Id. (emphasis
         (emphasis added).
                   added).
          Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 147 of 210

Division
Division of
         of Dockets
            Dockets Management  (HFA-305)
                    Management (HFA-305)
December 28, 2018
Page 14



                   6. The age groups
                               groups for whom
                                           whom poultices  and plasters
                                                 poultices and              recommended for
                                                               plasters are recommended  for safe
                                                                                        for   safe
                                                                                             safe
                      use.
                   7. Labeling
                      Labelingofofcurrently          products.33
                                            marketed products.'
                                   currentlymarketed products.33


        FDA's
        FDA'sconcerns
               concernsabout
                         about patch
                               patch dosage     forms in
                                      dosage forms        2003 can
                                                       in 2OO3   can be  supplementedwith
                                                                     be supplemented
                                                                         supplemented      withadditional
                                                                                           with additional
                                                                                                additional
factors
factors that are
             are now   appreciated to
                 now appreciated     tocontribute
                                         contributetotosafety
                                                           safety
                                                          safety   and
                                                                  and
                                                                 and    efficacy
                                                                       efficacy
                                                                      efficacy     of
                                                                                   of
                                                                                  of   products  delivered
                                                                                       products delivered
                                                                                      products  delivered
percutaneously.   Beside factors
percutaneously. Beside   factors related
                                 related toto dosing
                                               dosing such   as drug
                                                             as
                                                       such as        concentration, duration,
                                                                drug concentration,      duration, surface
                                                                                         duration,  surface
                                                                                                   surface
      frequency of use, and patient
area, frequency               patient age
                                       age that
                                             that FDA   outlined   above,
                                                        outlined above,
                                                  FDA outlined             there
                                                                   above, there    are other
                                                                            there are   other factors
                                                                                              factors that
                                                                                              factors  that
influence                absorption343536
                         absorption34,35,36
influence percutaneous absorption             and should
                                     34,35,36 and  should be    considered in
                                                            be considered
                                                                considered    in determining
                                                                              in determining whether
                                                                                 determining    whether aa
patch product
       product may
               may be
                    be considered
                       considered safe
                                   safe and
                                         and effective,   namely:
                                               effective, namely:

     •     Vehicle-related
           Vehicle-related factors:    Drug concentration in
                             factors: Drug                   in aa patch
                                                                   patch dosage
                                                                          dosage form,
                                                                         dosage    form, by
                                                                                   form,    by itself,
                                                                                           by   itself, does
                                                                                                        does not
                                                                                                             not
           inform
           inform on
                   on the  percutaneous absorption
                       the percutaneous                 potential. The
                                           absorption potential.
                                                        potential.   Thesolubility
                                                                     The  solubility of
                                                                          solubility      the drug
                                                                                      of the
                                                                                         the   drug within
                                                                                              drug    within the
                                                                                                      within  the
           chosen
           chosen adhesive
                    adhesive matrix
                               matrix and
                                       and effects
                                            effects of      vehicle on
                                                           vehicle
                                                    of the vehicle    on the
                                                                          the skin
                                                                         the   skin integrity
                                                                              skin   integrity are
                                                                                    integrity     are known
                                                                                                       known to
                                                                                                      known    to
           affect drug
                  drug bioavailability.
                        bioavailability.

     •     Exposure
           Exposureand     application-related
                       and application-related
                           application-relatedfactors:          Drug absorption
                                                                Drug
                                                      factors: Drug    absorption from
                                                                       absorption   from   patches may
                                                                                    from patches
                                                                                           patches   may be
                                                                                                     may    be
                                                                                                            be
           affected by climate (heat and  and humidity);
                                              humidity); use during   exercise;
                                                              during exercise;  and
                                                                      exercise; and  where on
                                                                                and where       the body
                                                                                            on the  body the
                                                                                                           the
           patch  is applied,
           patch is  applied, as itit isis appreciated
                                            appreciated that   thereisis
                                                               there
                                                         thatthere    isanatomical
                                                                          anatomicalregional
                                                                         anatomical    regional  variation in
                                                                                       regionalvariation
                                                                                                 variation   in
                                                                                                            in
           absorption.

     ••    Patient-related
           Patient-relatedfactors:
                               factors: In  addition to
                                         In addition     age of
                                                     to age      thepatient,
                                                             of the
                                                                 the  patient,general
                                                                     patient,  generalhealth,
                                                                               general  health, genetic
                                                                                        health,  genetic
                                                                                                 genetic
           differences,    and  differences  in
           differences, and differences in hair hair and  pore  density
                                                                density will
                                                                        will  contribute
                                                                             contribute  to
                                                                                         to  population
                                                                                            population
                                                          pore density will contribute to population
           variability
           variability in
                        in drug
                           drug absorption.
                                absorption.


        All
        Allofofthese           are considered
                these factors are   considered byby FDA
                                                    FDA during      their
                                                           during their   assessments
                                                                    their assessments
                                                                          assessments ofof drug
                                                                                           drug products
                                                                                                 productsin
                                                                                                 products   in
                                                                                                           in
order to
       to balance
          balance the
                    the risks
                         risks against
                               against the   benefit of
                                        the benefit          product.There
                                                      of aa product.
                                                             product.    Thereisisnothing
                                                                         There     nothing  inherentinin
                                                                                   nothinginherent
                                                                                            inherent  inOTC
                                                                                                         OTC
                                                                                                         OTC
lidocaine
lidocaine patch
            patch products
                   products that
                              that suggest
                                   suggest that
                                             that these            are benign
                                                         factors are
                                                  these factors                 to the
                                                                        benign to  the consumers.
                                                                                       consumers. Rather,
                                                                                       consumers.    Rather,
                                                                                                     Rather,
the only
     only formulation
          formulation constraint
                          constraint for
                                      for these
                                           these products
                                                  products is    the product
                                                              is the           strength (up
                                                                      product strength   (up to
                                                                                         (up  to 4%),
                                                                                                 4%), which
                                                                                                        which

33 Id.
33 Id.
33

34Wester  RC, Maibach
  Wester RC,  MaibachHI.
                      HI."Cutaneous
                          "Cutaneouspharmacokinetics: 10
                                     pharmacokinetics:10 steps
                                                       10steps to
                                                          stepsto percutaneous
                                                                topercutaneous  absorption."
                                                                   percutaneous absorption."
                                                                                absorption." Drug Metab.
                                                                                             Drug Metab. Rev.
                                                                                                  Metab. Rev.
1983; 14:169-205.

35Ngo MA,
  Ngo MA, Maibach
            Maibach HI.
                      HI."15
                          "15 Factors
                              Factors of  percutaneous
                                       of percutaneous   penetration
                                          percutaneous penetration    ofpesticides."
                                                         penetrationofof  pesticides."
                                                                         pesticides."   In:
                                                                                     In:In: KnaakJB,
                                                                                            Knaak
                                                                                          Knaak     1B,Timchalk
                                                                                                    JB, TimchalkC,
                                                                                                        Timchalk C, Tonero-
                                                                                                                 C, Tonero-
Velez R,
Velez R, editors.               for pesticide
                                for
          editors. Parameters for    pesticide QSAR    and PBPK/PD
                                                QSAR and              models
                                                           PBPK/PD models
                                                                       models ofof
                                                                                of human
                                                                                   human risk risk assessment.
                                                                                             risk   assessment. Vol.
                                                                                                   assessment.   Vol. 1099.
                                                                                                                 Vol.  1099.
                                                                                                                      1099.
Danvers (MA):
         (MA): Oxford
               OxfordUniversity
                       University Press;
                                  Press; 2012,     67-86.
                                          2012, p. 67-86.

   Li BS,
36 Li
36    BS, Cary
          Cary1H,
               JH,  MaibachHI.
                JH,Maibach    HI."Should
                                  "Shouldwe instruct
                                          weInstruct  patients
                                              instructpatients to
                                                       patientsto
                                                                to rub  topical agents
                                                                       topical
                                                                   rub topical  agents into
                                                                                        into skin?
                                                                                       into   skin? The
                                                                                              skin?  The evidence"
                                                                                                    The   evidence" J.J.
                                                                                                          evidence"
Dermatolog.  Treat. 2018; 19:1-5.
Dermot()fog. Treat.
          Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 148 of 210

Division
Division of
         of Dockets
            Dockets Management  (HFA-305)
                    Management (HFA-305)
December 28, 2018
Page 15



     not reconcile
does not                         factors relative
          reconcile any of these factors  relative to the
                                                      the amount
                                                      the amountof
                                                          amount    delivered drug,
                                                                    delivered
                                                                 ofdelivered
                                                                 of           drug, and
                                                                              drug, and the
                                                                                         thelevel
                                                                                        the   level
                                                                                             level
and rate of percutaneous absorption   of the
                          absorption of  the drug.
                                              drug.

       There is precedent
                precedent for
                            for treating
                                 treatingOTC
                                          OTC patch
                                               patch products   pursuanttoto
                                                      products pursuant
                                                               pursuant   tothe
                                                                              the
                                                                             the  NDA
                                                                                NDA
                                                                                  NDA— —— rather
                                                                                          rather than
                                                                                                  than
the monograph—
the monograph   — process. InIn2008,
                                 2008,FDA
                                        FDA approved
                                            approved NDA
                                                       NDA 022029
                                                            022029 for   Salonpas Pain
                                                                         Salonpas
                                                                     for Salonpas  Pain Relief
                                                                                   Pain   Relief Patch
                                                                                         Relief  Patch
(containing
(containing TFM
            TFMingredients
                   ingredients methyl
                                 methyl salicylate
                                         salicylate and
                                                    and menthol).          DeputyDivision
                                                                    TheDeputy
                                                         menthol). The    Deputy   Division Director
                                                                                   Division   Director
                                                                                             Director
Review
Review and Basis
            Basis for Action explained
                             explained FDA's
                                         FDA's findings:

                                                        product were
                     The active ingredients in this product        werereviewed
                                                                   were   reviewedin
                                                                          reviewed    in1979
                                                                                      in 1979by
                                                                                         1979  byan
                                                                                               by  anExpert
                                                                                                   an  Expert Panel
                                                                                                       Expert   Panel
                                                                                                                Panel
                     for Over-the-Counter     (OTC) Topical
                         Over-the-Counter (OTC)                Analgesic
                                                       TopicalAnalgesic
                                                                AnalgesicDrugDrug   Products,
                                                                              DrugProducts,    and
                                                                                     Products,and    were
                                                                                                andwere     found to
                                                                                                     were found     to
                     be generally
                         generally recognized
                                   recognized as  as safe
                                                      safeand    effective(GRAS/E)
                                                                 effective
                                                           andeffective      (GRAS/E) (Category
                                                                             (GRAS/E)    (Category   1).
                                                                                         (Category 1).     However,
                                                                                                           However,
                                                                                                      1). However,
                     the  TentativeFinal
                     the Tentative   Final Monograph
                                           Monograph(TFM) (TFM) for      OTC External
                                                                    for OTC
                                                                         OTC  External Analgesic
                                                                                         Analgesic Drug
                                                                                         Analgesic          Products
                                                                                                     Drug Products
                                                                                                            Products
                     published by
                                by FDA   in 1983 ... provides for
                                    FDA in                              topically applied
                                                                   for topically
                                                                        topically applied   ointments, lotions,
                                                                                   applied ointments,     lotions, or
                                                                                                                    or
                     creams containing
                             containing rnethyl     salicylate in the range
                                          methyl salicylate              range of  10%-60% and
                                                                                of 10%-60%
                                                                                   10%-60%     and menthol
                                                                                                    menthol in     the
                                                                                                               in the
                     range
                     range of 1.25%46%
                               1.25%-16% ... ... but  does not
                                                 but does         include this
                                                            not include
                                                                  include   this dosage
                                                                            this           form
                                                                                           form of
                                                                                 dosage form      of topical
                                                                                                     topical
                                                                                                 of topical    patch.
                                                                                                               patch.
                     Hence, a New Drug
                                     Drug Application
                                           Applicationwas      required
                                                          wasrequired
                                                                required to   obtain approval
                                                                           to obtain             for marketing.37
                                                                                       approval for   marketing.37

         It
         It appears that
                      that some
                            some of ofthe
                                        theOTC   lidocaine patch
                                            OTC lidocaine              manufacturers have
                                                              patch manufacturers
                                                                       manufacturers        have recognized
                                                                                            have   recognized and
                                                                                                  recognized    and
tried to  avoid the
      to avoid   the designation
                     designation of of the
                                       thepatch
                                           patchdosage
                                                  dosageform      --for
                                                            form----      exampleby
                                                                     for example
                                                                          example          labeling aa product
                                                                                      by labeling
                                                                                          labeling             as aaa
                                                                                                       product as
                                                                                                               as
"pain relieving
"pain              ointrnent on aa breathable
       relieving ointment              breathable adhesive
                                                    adhesive pad"pad"    [e.g.,
                                                                 pad"[e.g.,      IcyHot
                                                                         [e.g.,IcyHot       Lidocaine
                                                                                 IcyHot Lidocaine        Patch
                                                                                            Lidocaine Patch    Plus
                                                                                                        Patch Plus
                                                                                                               Plus
Menthol;
Menthol; emphasis
            ernphasis added].38 The        inference isis that
                                     Theinference               theproduct
                                                           thatthe
                                                                the   productisis    actually
                                                                                  isactually
                                                                                     actually anan   "ointment" in
                                                                                                     "ointment"
                                                                                                 an"ointment"      in
                                                                                                                  in
conformance with with the
                      the External
                           External Analgesics
                                     Analgesics TFM;      however,
                                                  TFM;however,
                                                           however,thethe  designation
                                                                       the designation
                                                                           designation is      undermined by
                                                                                            is undermined    by the
                                                                                                                the
inclusion
inclusionof  of"patch"
                "patch"in in the
                              the formal
                                  formal product    nomenclature
                                           product nomenclature
                                                    nomenclatureand          the
                                                                        and the
                                                                             the notation
                                                                                    notation of of the
                                                                                                    the number
                                                                                                         number of
                                                                                                        number    of
                                                                                                                 of
"patches" included
"patches"   included inin the
                          the secondary
                               secondary packaging.
                                           packaging.

       These product
       These  product formulations
                       formulationsidentified
                                       identifiedasasanan"ointment  on
                                                                    on aaa breathable
                                                          "ointmenton      breathable pad"  do not
                                                                                      pad" do  not
meet the  regulatory definition
     the regulatory  definition of
                                of an
                                   an ointment.
                                        ointment. InInaccordance   withthe
                                                        accordancewith
                                                                   with   the
                                                                         the  CDER Data
                                                                              CDER
                                                                            CDER    Data Standards
                                                                                   Data  Standards
                                                                                         Standards
Manual (Dosage
        (Dosage Form),
                 Form), an
                        an ointment
                            ointment is             as39:
                                     is described as':
                                                   as39:


     NDA 022029,
37 NDA
b7                       Memorandum from
              022029, Memorandum                      Sharon
                                             from Sharon         Hertz,
                                                      Sharon Hertz,         M.D.,
                                                                  Hertz, M.D.,
                                                                            M.D., Feb.Feb.
                                                                                      Feb. 29, 29, 2008,
                                                                                               29,    2008,      available at
                                                                                                      2008, available
                                                                                                                 available      at
                                                                                                                                at
https://www.accessdata.fda.gov/drugsatfda_docsinda/2008/022029TOC.cfm.
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2008/022029TOC.cfm.
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2008/022029T0C.cfm. See              Seealso
                                                                                        See   also   Summary Review
                                                                                              alsoSummary
                                                                                                    Summary       Review at
                                                                                                                  Review        2.
                                                                                                                                2.
                                                                                                                            at 2.
Despite
Despite containing active ingredients
                           ingredients at
                                        atlevels   allowedby
                                           levels allowed
                                                   allowed   bythe
                                                            by      ExternalAnalgesics
                                                                theExternal
                                                                the External    AnalgesicsTFM
                                                                               Analgesics  TFM    andclaiming
                                                                                            TFM and
                                                                                                 and   claiming an
                                                                                                       claiming    an indication
                                                                                                                       indication
provided for by the
                 the TFM,                      approval of
                     TFM, formal review and approval      of both
                                                              both chnical
                                                             both  clinical and
                                                                   clinical and nonclinical
                                                                                 nonclinical data
                                                                                 nonclinical data onon this
                                                                                                        this formulation
                                                                                                              formulation were
                                                                                                                             were
          by the
required by   theFDA
                  FDA before
                       beforecommercialization.
                              commercialization.The  TheSummary
                                                     The  SummaryBasis
                                                          Summary     Basisof
                                                                      Basis  ofApproval
                                                                             of  Approvalfor
                                                                                Approval   forSalonpas®
                                                                                           for  Salonpas' Pain
                                                                                                Salonpas®     Pain  Relief Patch
                                                                                                              Pain Relief
                                                                                                                    Relief  Patch
discusses
discusses the regulatory pathway
                          pathway for             noting,"Analgesic
                                       patches, noting,
                                   for patches,   noting,  "Analgesic patch
                                                          "Analgesic    patch formulations    are subject
                                                                               formulations are    subject to
                                                                                                   subject   toapproval
                                                                                                            to  approvalvia
                                                                                                                approval   via an
                                                                                                                           via an
NDA."
N DA."

3'3
32
39                                       4.
      See example labeling in Attachment 4.

39
39     CDER    Data  Standards     Manual    (Dosage
                                             (Dosage
                                             {Dosage    Form)
                                                        Form)   available
                                                                available   at:
                                                                           at:    http://wayback.archive-
                                                                                 http://wayback.archive-
it.org/7993/20171115111312/https://www.fda.gov/Drugs/DevelopmentApprovalProcess/FormsSubmissionRequir
it.org/7993/20171115111312/https://www.fda.gov/Drugs/DevelopmentApprovalProcess/FormsSubmissionRequir
it.org/7993/20171115111312/https://www.fda.gov/Drugs/DevelopmentApprovalProcess/FormssubmissionRequir
ements/ElectronicSubmissions/DataStandardsManualmonographs/ucm071666.htm.
ements/Electronicsubmissions/DatastandardsManualmonographs/ucm071666.htm.
      Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 149 of 210

Division of
Division of Dockets
            Dockets Management  (HFA-305)
                                {HFA-305)
                    Management {HFA-305)
December
December 28, 2018
Page
Page 16




                  A
                  A semisolid
                    semisolid dosage                            <20% water
                              dosage form, usually containing <20%                volatiles and
                                                                       water and volatiles  and >50%
                                                                                                >50%
                  hydrocarbons, waxes, or polyols                   This dosage
                                            polyols as the vehicle. This dosage form  is generally for
                                                                                form is
                  external application to the skin or mucous
                                                      mucous membranes.
                                                              membranes.


Whereas a patch
          patch is
                is described as:

                  A
                  A drug
                     drug delivery
                          delivery system
                                    system that           contains an
                                              that often contains     an adhesive  backing that
                                                                         adhesive backing   that is  usually
                                                                                                  is usually
                  applied
                  applied to an external
                                 external site onon the
                                                     the body.
                                                          body. Its
                                                                  Itsingredients
                                                                      ingredientseither   passively diffuse
                                                                                   eitherpassively    diffuse
                  from,
                  from, or are actively    transported from,
                                actively transported     from, some
                                                                some portion
                                                                        portion of
                                                                                of the
                                                                                    the patch.  Depending
                                                                                        patch. Depending
                  upon
                  upon the patch, the ingredients
                                         ingredients are either delivered
                                                                    delivered to            surface of the
                                                                              to the outer surface
                  body
                  body or  into the
                        or into  the body.
                                       body. AApatch
                                                   patchisissometimes       synonymous with
                                                             sometimes synonymous          with the    terms
                                                                                                the terms
                  "extended  release film"
                  "extended release   film" and "system."

       By  their nature,
       Bytheir                 OTC patch
                 nature, these OTC          forrnulationsare
                                     patch formulations       not ointments,
                                                          arenot  ointments, as ointments lack
                                                                                           lack the
necessary adhesive properties for the product
necessary adhesive                                tofunction properly (i.e., hydrocarbons, waxes
                                         product to  function  properly (i.e., hydrocarbons,
and polyols
    polyols lack
             lack these  adhesive properties).
                   these adhesive               Because the
                                   properties). Because      vehicle is adhesive, and applied to a
                                                         the vehicle
backingmaterial,
backing material,these
                    these products are indeed "patches" as labeled in the
                          products are                                 the product names.


        Despite  FDA'sdetermination
         Despite FDA's   determinationthat     patches should
                                          that patches  should be               from the
                                                                     excluded from
                                                                be excluded                External
                                                                                      the External
Analgesics
AnalgesicsTFM       2003,  in the
             TFMinin 2003, in the  past —5 years,  approximately
                                                  approximately   100
                                                                  1.00
                                                                   100  patch
                                                                        patch  products
                                                                               products have
                                                                                        have  been
listed
listed on DailyMed
           DailyMed asas OTC   lidocainepatches.
                         OTClidocaine               According to
                                          patches. According   to the  self-reported drug
                                                                   the self-reported drug product
                                                                                           product
listinginformation,
listing information,these
                     these drug
                           drug products  contain between 11-5000 mg lidocaine/patch.
                                 products contain


         At
         At aa minimum,
               minimum, current        considerations demonstrate
                                safety considerations
                        current safety                demonstrate the                    of
                                                                      questionable state of
                                                                  the questionable
unapproved, marketed drug products. Specific
unapproved,                                   issues regarding
                                     Specific issues regarding the      and effective
                                                               the safe and effective use of
                                                                                          of
these products
      products are
               are described
                   described below.


         4.       Safety
                  Safety and
                         and Effectiveness
                             Effectivenessof
                                           ofOTC
                                              OTCLidocaine Patches
                                                   Lidocaine       Have
                                                             Patches    NotNot
                                                                     Have   Been Established
                                                                               Been Established


                  a.       Questions of Efficacy
                           Questions of Efficacy

                           i.       Are OTClidocaine
                                    Are OTC            patcheseffective
                                             lidocainepatches  effectivefor  painrelief40?
                                                                         forpain relief'?
                                                                                  relief'?


         As FDA
         As FDAdiscussed
                discussedininthe
                              the2003  proposed rule
                                  2003proposed  rule to amend  theExternal
                                                        amend the          Analgesics TFM,
                                                                  ExternalAnalgesics  TFM, safe
and           concentrations of
    effective concentrations
and effective                 of active
                                 active drug
                                        drug ingredients
                                             ingredientsunder  occlusionneed
                                                         under occlusion need to  be
                                                                               to be




4°
A0 Indication outlined
4°                     in the
              outlinedin   theExternal
                               ExternalAnalgesics TFM proposed
                                       Analgesics TFM proposed21 C.F.R. §§ 348.50(b)(2).
                                                               21C.F.R.    348.50(b)(2).
        Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 150 of 210

Division of
Division of Dockets
            Dockets Management  (HFA-305)
                    Management (HFA-305)
December 28, 2018
Page 17



demonstrated      beforeititcan
demonstrated before          canbebedetermined
                                       determinedwhether         external
                                                     whetherexternal
                                                                 external                drugsare
                                                                            analgesicdrugs
                                                                           analgesic    drugs     areGRAS/E
                                                                                                  are  GRAS/E in
                                                                                                       GRAS/E      in this
                                                                                                                       this
kind  of dosage form with their
kind of                         their specific
                                       specific labeling.    Most of
                                                labeling. Most          thecurrently
                                                                    of the
                                                                        the  currentlymarketed
                                                                             currently   marketedOTC
                                                                                         marketed       OTC lidocaine
                                                                                                       OTC    lidocaine
                                                                                                             lidocaine
       products contain
patch products     contain lidocaine
                             lidocaine content
                                         content ofof up
                                                      up toto 4%,
                                                              4%, which
                                                                    which waswas presumably
                                                                                    presumably chosen
                                                                                   presumably       chosen based
                                                                                                             based on   on
the acceptable
     acceptable concentration
                   concentration rangerange of
                                             of0.5%
                                                 0.5% toto 4%   in creams,
                                                            4% in
                                                                in creams, lotions,
                                                                   creams,     lotions, and
                                                                               lotions,  and ointments,
                                                                                         and    ointments,allowed
                                                                                                ointments,      allowed
                                                                                                                allowed
under the
        the External
             External Analgesics
                       Analgesics TFM. TFM.However,
                                              However,the      percentage
                                                            thepercentage
                                                                 percentage of  of drug
                                                                                    drug in
                                                                                          in aa cream
                                                                                                 cream oror ointment
                                                                                                             ointment
may
may not                with the percentage
      not correlate with          percentage of  of drug
                                                    drug perper mass     adhesive needed
                                                                 mass adhesive       needed to   to be
                                                                                                to  beeffective
                                                                                                    be  effective in
                                                                                                        effective     in aaa
                                                                                                                     in
         Creams, lotions,
patch. Creams,     lotions, and
                              and ointments
                                   ointmentsare areapplied     differentlythan
                                                     applieddifferently
                                                               differently    thanpatch
                                                                              than   patchproducts,
                                                                                     patch   products,typically
                                                                                             products,     typically by
                                                                                                          typically     by
                                                                                                                        by
rubbing
rubbing into
           into the  skin. FDA
                 the skin.     FDA noted     this in
                                      noted this   in its
                                                       its review
                                                            review of     the development
                                                                     of the
                                                                          the    development program
                                                                                 development        program for
                                                                                                   program       for the
                                                                                                                for    the
Salonpas' Pain
             Pain Relief
                   Relief Patch,
                           Patch, for    example, which
                                     for example,    which was      formulated with
                                                                    formulated
                                                              was formulated               I-menthol and
                                                                                     with l-menthol
                                                                                     with  I-menthol      and methyl
                                                                                                                 methyl
                                                                                                                 methyl
salicylate at
salicylate  at concentrations              for creams,
                                  allowed for
               concentrations allowed                      ointments,and
                                                creams, ointments,
                                                           ointments,     andlotions
                                                                          and   lotionsper
                                                                               lotions  perthe
                                                                                        per    theTFM:
                                                                                              the   TFM:
                                                                                                    TFM:

                     There is
                            is aa concern
                                  concern about    the efficacy
                                            about the   efficacy of the proposed
                                                                 of the  proposed patch
                                                                                     patch product
                                                                                            product because
                                                                                                       because of of
                                                                                                                 of
                     the   difference in
                     the difference            the way
                                           in the    way ofofdrug        application between
                                                                 drugapplication
                                                                        application     between patch
                                                                                        between       patch and
                                                                                                      patch    and
                                                                                                               and
                                          products. The
                     cream/ointment products.               cream/ointmentproducts
                                                     The cream/ointment
                                                            cream/ointment    products have
                                                                              products    have been
                                                                                         have    beenmassaged
                                                                                                 been   massaged
                                                                                                        massaged
                     into the painful
                     into the             area to
                                 painful area   to demonstrate
                                                    demonstrate analgesic      efficacy, where
                                                                    analgesic efficacy,
                                                                               efficacy,   where
                                                                                           where the the patch
                                                                                                          patch is
                                                                                                          patch    is
                                                                                                                  is
                     applied   directly
                     applied directly to to  the painful   area.  The   equivalence
                                                                        equivalence in
                                                 painful area. The equivalence         in  systemic
                                                                                       insystemic      absorption
                                                                                          systemic absorption
                                                                                                       absorption
                            is not
                     alone is   not considered
                                    considered sufficient        provide aa bridge
                                                  sufficient to provide               between the
                                                                            bridge between
                                                                                      between     theefficacy
                                                                                                  the  efficacy of
                                                                                                       efficacy  of
                                                                                                                 of
                     these   different formulation.
                     these different      formulation. ...      Therefore, additional
                                                                Therefore,
                                                           ... Therefore,    additional clinical
                                                                             additional     clinical studies
                                                                                            clinical   studies to
                                                                                                       studies   to
                                                                                                                 to
                     demonstrate efficacy
                     demonstrate     efficacy of
                                               of the drug    combination patch against
                                                       drug combination
                                                              combination           against placebo
                                                                                   against   placebo patch
                                                                                             placebo     patch are
                                                                                                                are
                     required."
                     required.   41
                                 41



        OTC
        OTClidocaine
              lidocainecreams,
                         creams,ointments,
                                  ointments, and
                                               and lotions
                                                     lotions also    are applied
                                                               also are  applied by by rubbing
                                                                                        rubbing into
                                                                                                   into the
                                                                                                         theskin
                                                                                                         the  skin
                                                                                                             skin
versus aa patch application,
versus           application, which
                               whichsits
                                       sitson
                                            ontoptop of
                                                      of the   skin.
                                                          the skin.   As such,
                                                                      As
                                                               skin. As   such, there
                                                                          such,   there are
                                                                                         are questions
                                                                                               questions as
                                                                                              questions     as toto
whether, and
whether,   and toto what
                      whatextent,
                             extent,lidocaine
                                      lidocaine patch         productsformulated
                                                    patchproducts
                                                              products     formulated atat
                                                                          formulated       atconcentrations
                                                                                                concentrations
                                                                                               concentrations
contemplated
contemplated by by the
                   the external
                        externalanalgesic
                                 analgesic TFM
                                            TFM would
                                                   would be     effective
                                                             be effective   for
                                                                effective for   temporary pain
                                                                            for temporary     pain relief.
                                                                                                     relief. One
                                                                                                              One
                                                                                                             One
recently
recently appreciated phenomenon is     is that
                                          that rubbing/massaging
                                                rubbing/massaging
                                                rubbing/massaging        drugs
                                                                         drugs
                                                                         drugs   into  the
                                                                                      the   skin
                                                                                            skin
                                                                                            skin  can enhance
                                                                                                  can  enhance
percutaneous
percutaneous absorption
                absorption ofof some
                                some drugs
                                       drugs and
                                               and is               factor that
                                                     is another factor       that should
                                                                                   should be
                                                                                   should    be studied
                                                                                            be              when
                                                                                                 studied when
                                                                                                 studied    when
formulating topical
formulating   topical drug  products.'
                       drug products.42
                             products.' How Howdrug        bioavailability compares
                                                           bioavailability
                                                   drugbioavailability       compares from
                                                                             compares     from patch
                                                                                          from    patch versus
                                                                                                  patch    versus
                                                                                                           versus
rubbed-in
rubbed-in cream,
            cream, lotion,
                     lotion, and
                             and ointment
                                  ointment dosage
                                              dosage forms
                                                         forms hashas        been characterized,
                                                                             been
                                                                  has not been      characterized, and
                                                                                    characterized,      and this
                                                                                                               this
                                                                                                              this

41
41 NDA
41 NDA 022029
         022029 Summary
                  Summary Basis
                              Basisof    Approval,
                                      ofApproval,    Administrative
                                         Approval,Administrative       Comments.
                                                      AdministrativeComments.
                                                                        Comments. We   We   note that
                                                                                       We note     thatthe
                                                                                                  that   theNDA
                                                                                                        the   NDA
                                                                                                               NDA process    yielded
                                                                                                                     process yielded
                                                                                                                               yielded
pediatric
pediatric study data    leadingFDA
                  data leading    FDA toto find  Salonpas Pain
                                            find Salonpas
                                                 Salonpas    Pain Patch
                                                            Pain   Patchineffective
                                                                  Patch   ineffective in
                                                                          ineffective   inchildren,
                                                                                        in children,with
                                                                                           children,   withexclusionary
                                                                                                      with     exclusionary labeling
                                                                                                               exclusionary   labeling
                                                                                                                             labeling
required pursuant
          pursuant toto the
                         theNDA
                             NDA ("Children
                                    ("Childrenunder     18
                                                  under18   years
                                                         18years
                                                            yearsofof age:
                                                                    ofage:
                                                                       age:DoDo not
                                                                             Donot   use;
                                                                                 notuse;   this
                                                                                      use;this  product
                                                                                           this product
                                                                                                product has has not
                                                                                                                 not been
                                                                                                                     been shown
                                                                                                                            shown to to
work in
work   in children.").
           children."). In In uncomfortable        juxtaposition, multiple,
                               uncomfortable juxtaposition,
                                                  juxtaposition,    multiple, unapproved
                                                                    multiple,   unapproved Salonpas
                                                                                unapproved      Salonpas patches
                                                                                                Salonpas                with similar
                                                                                                              patches with
                                                                                                              patches   with    similar
                                                                                                                               similar
formulation continue to
formulation              to be  affirmatively labeled
                            be affirmatively            as
                                                labeled as  appropriate for
                                                         as appropriate        use in
                                                                           for use     children 12
                                                                                   in children
                                                                                       children  12  years of
                                                                                                 12 years    of  age
                                                                                                              ofage  and
                                                                                                                 ageand   older. See
                                                                                                                      and older.   See
FDA,
FDA, Pediatric
        Pediatric Postmarketing       Pharmacovigilance
                   PostmarketingPharmacovigilance
                                       Pharmacovigilance      Review
                                                              Review
                                                                Review   forforNDA
                                                                        for    NDA    022029
                                                                                NDA022029        (July
                                                                                        022029(July(July1,1,1, 2016),
                                                                                                               2016), available
                                                                                                               2016),   available at
                                                                                                                        available    at
https://www.fda.gov/downloads/AdvisoryCommittees/CommitteesMeetingMaterials/PediatricAdvisoryCommitte
https://www.fda.gov/downloads/AdvisoryCommittees/CommitteesMeetingMaterials/PediatricAdvisoryCommitte
e/UCM519748.pdf.

   Li BS,
42 Li BS, Cary
          Cary JH,
               JH,Maibach
                    MaibachHI.HI."Should
                                  "Shouldwe
                                          weinstruct patients
                                             instructpatients to
                                                      patientsto
                                                               to rub  topical agents
                                                                      topical
                                                                  rub topical  agents into
                                                                                       intoskin?
                                                                                       into skin? The
                                                                                            skin? The evidence"
                                                                                                  The  evidence" J.J.
                                                                                                      evidence"
Dermatolog.  Treat. 2018; 19:1-5.
Dermatolog. Treat.        19:1-5.
       Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 151 of 210

Division
Division of
         of Dockets Management{FIFA-305)
            Dockets Management (HFA-305)
                               (HFA-3O5)
December 28, 2018
               2O18
Page
Page 18



distinction
distinction in
             in the method
                    method ofof application
                                 application warrants
                                               warrants further
                                                        further investigation
                                                                 investigation because
                                                                               because it may   have
                                                                                           may have
consequences
consequences in in determining
                   determining whether
                                whetherpatch
                                           patchproducts
                                                  productshave
                                                           havethe
                                                                thesame
                                                                    samesafety
                                                                          safetyand
                                                                                 andefficacy
                                                                                     efficacyas
                                                                                              asOTC
                                                                                                 OTC
TFM-compliant
TFM-compliant dosage
                  dosage forms
                          forms (i.e.,
                                (i.e., creams,
                                       crearns, ointments
                                                ointments and lotions).


                            ii.      Are OTC lidocaine
                                     Are OTC  lidocainepatch
                                                        patch dosing regimens supported
                                                              dosingregimens  supported by adhesive
                                     performance?

          One
          One of of the
                     the key
                          key differences
                               differences between
                                             between creams,     ointments, and
                                                       creams, ointments,      and lotions
                                                                                    lotions versus
                                                                                               versus topical
                                                                                                       topical
patches is that patches
                    patches are
                             are drug/device
                                  drug/device combination
                                                combination products.
                                                              products. The
                                                                         Theefficacy
                                                                               efficacy of a patch product
is
is inherently
    inherently tied to its device
                            device performance characteristics; that     is, its ability
                                                                    that is,     ability to
                                                                                          to remain
                                                                                             remain adhered
to the
     the skin
          skin throughout
                throughout thetheentire
                                   entirelabeled
                                           labeledwear
                                                   wearperiod.
                                                         period.FDAFDAhas
                                                                        hasrecognized
                                                                              recognized thethecriticality
                                                                                                 criticality of
                                                                                                             of
adhesion to  to efficacy
                efficacy and
                          and safety
                               safety of
                                      of the
                                          the patches43 and
                                                        and in
                                                             in 2018
                                                                2018 issued a draft guidance to industry
emphasizing the  the relationship between
                                    between adhesion    and efficacy
                                              adhesion and  efficacy in patch development:
                                                                     in patch


                   The
                   The amount        drug delivered
                        amount of drug      delivered into and through
                                                                 through thethe patient's
                                                                                 patient'sskin    from aaTDS
                                                                                            skin from      TDS
                   [transdermal
                   [transdermal oror topical   deliverysystem]
                                      topical delivery    system]isisdependent,
                                                                      dependent, in in part,
                                                                                       part, on        surface
                                                                                              on the surface
                   area  dosed. ItItisisexpected
                   area dosed.           expectedthat     entirecontact
                                                     thatentire  contactsurface
                                                                           surfacearea
                                                                                     areaofofa aTDS
                                                                                                  TDS should
                                                                                                        should
                   remain
                   remain consistently
                           consistently and     uniformlyadhered
                                           and uniformly    adheredtoto the
                                                                         the patient's skin  throughout the
                                                                                        skin throughout
                   duration
                   duration of wear under
                                        under the
                                                the conditions
                                                     conditions of use included
                                                                of use  included inin the
                                                                                      the product    labeling.
                                                                                           product labeling.
                   When
                   When aa TDS
                            TDS loses
                                  losesitsitsadherence
                                              adherence during
                                                          duringwear,
                                                                 wear, the
                                                                         the amount of drug delivered
                                                                                                 delivered to
                   the patient may
                               may be bereduced."
                                          reduced."


        While
        While this
                this guidance
                     guidance is       generic topical
                                is for generic   topical systems  (including patches)
                                                         systems (including    patches) subject
                                                                                          subject to   an
                                                                                                    to an
ANDA,
ANDA,the  theregulatory
              regulatorystandard
                         standardandand underlying
                                         underlyingbasis
                                                      basishave
                                                            havebeen
                                                                 been applied
                                                                        applied to
                                                                                to new drug products
subject to
         to an
            an NDA.
               NDA. The   assessment of
                      Theassessment     of adhesion   performance is
                                           adhesion performance     is expected
                                                                       expected to
                                                                                 to be evaluated under
                                                                                    be evaluated
normal-wear
normal-wear conditions
                conditionsandandexercise.     Likewise, the
                                  exercise. Likewise,     the Agency
                                                              Agencyhas  hasrequired
                                                                             requiredthat
                                                                                        that the  use of
                                                                                              the use  of
reinforcement
reinforcement measures
                 measures (e.g.,         reinforcement and
                            (e.g., tape reinforcement     and overlays)
                                                               overlays) be characterized     relative to
                                                                             characterized relative
their effects on biopharmaceutic performance.

        As
        As FDA
           FDAstated
                 stated in
                         in its
                             its 2003
                                 2003 External
                                       External Analgesics
                                                  Analgesicsamended
                                                                amended TFM
                                                                          TFMon  on patch
                                                                                    patch dosage forms, in in
order to determineifif patches,
      to determine      patches, plasters
                                    plasters and
                                              andpoultices
                                                   poultices are
                                                              are effective,
                                                                   effective, more
                                                                              more information
                                                                                     information is needed
on the length of
              of contact time the  the product
                                       product needs
                                                  needs to   be placed
                                                          to be  placed on
                                                                        on the   skin and
                                                                            theskin   and the
                                                                                           the frequency
                                                                                                frequency of
application. Most of
application. Most   of the
                       the patch
                             patch products
                                     productslisted
                                               listed in
                                                       in Attachment
                                                          Attachment 11 are
                                                                          are labeled
                                                                               labeled for
                                                                                        for 8 to
                                                                                              to 12
                                                                                                  12 hours
                                                                                                     hours of
                                                                                                           of

43 Wokovich AM,
43 Wokovich    AM, Prodduturi
                     Prodduturi S, 5, Doub
                                      DoubWH,
                                            WH,Hussain
                                                  Hussain AS,
                                                            AS, Buhse
                                                                 Buhse LF.LF. "Transdermal
                                                                               "Transdermal drug
                                                                                             drugdelivery
                                                                                                  deliverysystem
                                                                                                            system(TDDS)
                                                                                                                   (TDDS)
adhesion as
         as aa critical safety, efficacy
                                efficacyand
                                         and quality
                                             quality attribute."
                                                     attribute." Eur.
                                                                 Fur.
                                                                 Eur. J.
                                                                      J. Pharm.
                                                                         Pharm,   Biopharm. 2006; 64(1): 1-8.
                                                                         Pharrn, Biopharm.

44
44 .•- u
G0 Guidance
         idance for   Industry: Assessing
                 for Industry:  Assessing Adhesion
                                          Adhesion With
                                                   With Transdermal andTopical
                                                        Transdermal and Topical Systems
                                                                                Systems for ANDAs, October
                                                                                         forANDAs,         2018,
                                                                                                   October 2018.
Available
Available at:at:
https://www.fda.govidownloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM504157.pdf.
https://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM504157.pdf.
       Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 152 of 210

Division
Division of
         of Dockets
            Dockets Management   (HFA-305)
                     Management (HFA-305)
December 28,    2018
            28, 2018
Page 19



      presumably based
wear, presumably based on
                       on the
                           theExternal
                               ExternalAnalgesics  TFM that
                                        Analgesics TFM
                                                   TFM that allows application of
                                                            allows application
                                                                   application of cream,
                                                                                   cream,
                                                                                  cream,
ointment   and lotion products not more than
ointrnent and                           than 33 or 4 times daily.    should be
                                                           daily. It should
                                                                     should be demonstrated
                                                                               demonstrated  that
                                                                               demonstrated that
patch products are effective
                     effective when used as
                                         as directed
                                            directed and that
                                                          thatthe
                                                          that  thepatch
                                                               the  patchremains
                                                                    patch remainsin
                                                                          remains incontact
                                                                                  in contactwith
                                                                                     contact with
                                                                                             with
the skin throughout this period.
the skin


                  b.       Questions of
                                     of Safety

                           i.       Is
                                    Is the drug load
                                       the drug load in
                                                     in OTC
                                                        OTC lidocaine
                                                            lidocaine  patches
                                                              lidocainepatches safe?
                                                                       patches safe?


         While
         While most
                most OTC
                      OTClidocaine
                             lidocainepatches
                                        patchesclaim
                                                  claimaastrength    of up
                                                           strength of    up to 4%  lidocaine,
                                                                                4% lidocaine,
                                                                                    lidocaine, thethe  total drug
                                                                                                  the total   drug
load in      patch can
      in the patch  can vary
                         vary greatly.   Strength is
                               greatly. Strength    is expressed asas aa mass
                                                                          mass of
                                                                                of drug
                                                                                   drug relative
                                                                                          relative toto the
                                                                                                         the mass
                                                                                                             mass
of the adhesive perper patch;
                       patch; however,
                               however, there
                                           there are
                                                  are no   uniformstandards
                                                       no uniform
                                                          uniform   standardson
                                                                    standards    onthe
                                                                                 on    thesize
                                                                                      the  sizeor
                                                                                           size  orthickness
                                                                                                 or thickness of
                                                                                                    thickness    of
                                                                                                                of
a patch.
   patch. According
            According totothe
                            theDailyMed
                                 DailyMed database,                 orrecently
                                                          currentoror
                                              database,current           recentlymarketed
                                                                        recently   marketedOTC
                                                                                   marketed       OTClidocaine
                                                                                                 OTC    lidocaine
                                                                                                        lidocaine
patches contain between 11     11 and
                                   and 5000
                                       5000 mg mg (a
                                                   (a 500x    greater drug
                                                       500x greater           load) lidocaine
                                                                       drug load)
                                                                              load)   lidocaine on
                                                                                     lidocaine            per unit
                                                                                                  on aa per   unit
                                                                                                              unit
basis (see
       (see Attachment 1),1), self-reported
                              self-reported by   the respective manufacturers. There
                                              by the                                    There
                                                                                        Therearearealso
                                                                                               are         varying
                                                                                                     alsovarying
                                                                                                    also   varying
sizes of OTC
sizes     OTC lidocaine
                lidocainepatches
                           patches up up to     cm xx 20
                                         to 12 cm           cm (e.g.,
                                                        20 cm           Odor Free
                                                                (e.g., Odor
                                                                       Odor    Free Aspercreme
                                                                               Free   Aspercreme°Lidocaine
                                                                                     Aspercreme°        Lidocaine
                                                                                                       Lidocaine
Patch   XL), which
Patch XL),    whichisis nearly
                          nearly aa two-fold
                                     two-fold increase
                                                increase in                area exposure
                                                                surface area
                                                             in surface    area   exposure of
                                                                                 exposure       ofprescription
                                                                                               of   prescription
                                                                                                    prescription
Lidoderre 5%
Lidoderm°    5% and associated     generics(10
                     associated generics     (10 cm     14 cm).
                                                 cm xx 14   cm).

        Patches   containing hundreds
        Patches containing     hundreds of of milligrams
                                               milligrams of     lidocaine present
                                                                 lidocaine
                                                             of lidocaine       present aaa significant
                                                                                             significant risk
                                                                                             significant    risk of
                                                                                                           risk    of
                                                                                                                   of
overexposure,
overexposure, particularly
                 particularlyififthe
                                  the patches
                                       patches are
                                                are applied
                                                     applied when
                                                               when skin skin temperature
                                                                         skin   temperature is  is elevated,
                                                                                                    elevated, for
                                                                                                   elevated,      for
                                                                                                                 for
           because aa heating
example, because       heating pad/blanket
                                pad/blanketisis used,
                                                used, or
                                                       or the   patchisis
                                                           thepatch
                                                                patch     isworn
                                                                             wornwhile
                                                                             worn  while using
                                                                                   while   using aa sauna
                                                                                                    sauna or or hot
                                                                                                                hot
tub. FDA
       FDA has
             has recognized
                  recognized that
                               that patch
                                     patch design
                                             design and     formulation may
                                                      and formulation
                                                            formulation        may affect
                                                                              may   affect drug
                                                                                    affect   drug exposure
                                                                                             drug    exposure in
                                                                                                    exposure        in
                                                                                                                   in
response to heat
              heat and
                    and has
                         has recently   funded research
                             recently funded    research efforts
                                                            efforts to to better
                                                                            better understand
                                                                                   understand the
                                                                                   understand      theeffects
                                                                                                  the   effects of
                                                                                                        effects    of
                                                                                                                   of
heat on
      on generic
          generic patch
                    patch products.
                           products. Recent
                                        Recent data
                                                 datafrom
                                                       fromthatthatinitiative
                                                              that     initiativeshow
                                                                      initiative   show application
                                                                                   show    application of
                                                                                           application     of heat
                                                                                                               heat
enhanced    drug delivery
enhanced drug     delivery from prescription lidocaine      patches,
                                               lidocaine patches,
                                                            patches, as  as serum
                                                                             serum lidocaine
                                                                                    lidocaine concentrations
                                                                                    lidocaine    concentrations
                      —5-7
increased by up to --5-7
                       5-7 fold
                           fold after
                                 after applying
                                       applyingheating
                                                  heatingpad         the
                                                            padtotothe      patch
                                                                      thepatch    for
                                                                            patchfor   90
                                                                                   for90   minutes.45
                                                                                        90minutes.45      Many of
                                                                                                         Many
                                                                                            minutes.' Many         of
                                                                                                                   of
     OTC lidocainepatch
the OTC   lidocaine    patchproducts
                              productsdo donot   warn against
                                            not warn               heat
                                                        against heat        exposure ——
                                                                    heat exposure
                                                                            exposure      although this
                                                                                          although
                                                                                        - although     this is
                                                                                                             is not
                                                                                                                not
surprising because the
surprising            the External
                          External Analgesics
                                     Analgesics TFM
                                                 TFMdid didnot     review
                                                             not review
                                                                   review or  or provide    coverage for
                                                                                 provide coverage
                                                                                           coverage     for patch
                                                                                                              patch
products;
products; therefore,         warnings in
            therefore, the warnings        the TFM
                                        in the  TFM do do not   address unique
                                                           not address        unique aspects
                                                                             unique    aspects of
                                                                                      aspects    of this
                                                                                                     this dosage
                                                                                                     this  dosage
                                                                                                           dosage
       Some manufacturers
form. Some    manufacturers havehavevoluntarily
                                      voluntarily included    warnings associated
                                                   included warnings
                                                              warnings       associated with     heat exposure;
                                                                                          with heat     exposure;
however,           label additions
however, these label      additions are
                                      are not   contemplatedby
                                           notconternplated
                                                contemplated        bythe
                                                                    by   the
                                                                         the   ExternalAnalgesic
                                                                               External
                                                                             External      AnalgesicTFM
                                                                                          Analgesic     TFM and
                                                                                                        TFM     and
                                                                                                               and
consequentially may
                  may render
                        render these   products misbranded.
                                these products   misbranded.




45
45 Thomas  5, Shukla
   Thomas 5,
          S,  Shukla S,
                     5, Hammen
                        Hammell D,
                                 D, Hazem
                                    Hazem H,  Stinchcomb A.
                                          H, Stinchcomb
                                              Stinchcomb   A. "In
                                                           A.  "In Vitro
                                                              "In  Vitro and
                                                                   Vitro  andInIn
                                                                          and  InVivo
                                                                                   VivoEvaluation
                                                                                  Vivo  Evaluation of
                                                                                       Evaluation   ofTwo
                                                                                                   of  TwoLidocaine
                                                                                                      Two   Lidocaine
                                                                                                           Lidocaine
Topical Delivery
Topical Delivery Systems
                  Systems With
                            With or          theInfluence
                                    Without the
                                 or Without  the  Influence  ofTransient
                                                  Influenceofof  TransientHeat
                                                                 Transient   Heat
                                                                             Heat    Exposure."
                                                                                    Exposure."
                                                                                  Exposure."     AAPSPharmSci360,
                                                                                                AAPS
                                                                                             AAPS       PharmSci360,
                                                                                                        PharmSci360,
Washington   DC, Nov
Washington DC,   Nov 4-7, 2018.
      Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 153 of 210

Division
Division of
         of Dockets
            Dockets Management  (HFA-305)
                                (HFA-3O5)
                    Management (HFA-305)
December 28, 2018
               2O18
Page
Page 20
     2O



        Patch
         Patch drug
                drug load
                      load also
                            also presents safety
                                             safety risk
                                                      risk for       during exercise.
                                                           for use during    exercise. Exercise
                                                                                         Exercise has been
                                                                                                       been
shown to   increase skin
        to increase  skin perfusion ofof some transderrnal
                                                transdermal patch
                                                                patchproducts,
                                                                      products,likely
                                                                                 likely due to
                                                                                             to vasodilation
                                                                                                vasodilation
and increased
     increased blood
                 blood circulation.
                        circulation. The
                                      The effects
                                            effects of
                                                     of exercise
                                                         exercise may
                                                                  may bebeproduct-specific;
                                                                            product-specific; for  example,
                                                                                               for example,
percutaneous    absorption from
percutaneous absorption      fromnicotine
                                   nicotine and
                                             and nitroglycerin
                                                   nitroglycerin patches
                                                                  patches increased    during exercise;46,47
                                                                            increased during   exercise;46'47
                                                                                               exercise; 46,47
however,
however, no      effect on
             no effect   on pharmacokinetics
                             pharmacokinetics was   was observed
                                                           observed with
                                                                      with norelgestromin
                                                                             norelgestromin and      ethinyl
                                                                                                and ethinyl
estradiol   patches.48 Because
estradiol patches.48      Becausebiopharrnaceutic
                                     biopharmaceutic performance
                                                           performance for      patch dosage
                                                                           for patch   dosage forrns
                                                                                                 forms is
                                                                                                        is aa
function of the drug
                  drug chemistry
                        chemistry and
                                    and formulation,
                                         formulation, eacheach product   should be
                                                               productshould     beindividually
                                                                                     individually evaluated
    these effects.
for these   effects. Most
                      Mostofofthe
                                theOTC
                                    OTClidocaine
                                          lidocaine patches
                                                       patches do   notcaution
                                                                 donot   cautionagainst
                                                                                  againstexercising
                                                                                           exercising while
                                                                                                       while
wearing the    product, and
          the product,        changing the
                         andchanging     theTFM
                                              TFM labeling
                                                    labeling relative
                                                               relative to exercise exposure may
                                                                        to exercise             may render
the product
    product misbranded.

        It
         It is
             is emphasized
                emphasizedthat that most
                                    most of     these patch
                                            of these   patch products
                                                             products are
                                                                       are labeled as as aa percentage
                                                                                            percentage strength,
          providing the
without providing       the total drug content per patch.patch. For
                                                                 Forother
                                                                     othertopical    dosageforms
                                                                            topicaldosage             like creams,
                                                                                               forms like
ointments,
ointrnents, andand lotions,
                    lotions, the
                              the amount
                                  amount of  of drug
                                                  drug administered
                                                        administered can
                                                                      can easily
                                                                            easily be
                                                                                    be determined
                                                                                       determinedby  by weighing
                                                                                                          weighing
the mass
     mass of  of product
                 product andand applying
                                  applying the      strength factor
                                               the strength   factor as   illustratedin
                                                                      as illustrated    in the
                                                                                            the table
                                                                                                 table below.
                                                                                                        below. InIn
contrast, the
            the amount
                 amount of  of drug
                               drug applied
                                      applied forfor patch products   cannot easily
                                                            products cannot    easily be determined because
     exact mass
the exact     mass of adhesive      applied cannot
                        adhesive applied       cannot be be estimated due to     the contributing
                                                                             to the   contributing mass of the
backing
backing materials.       Inasmuch as
          materials. inasmuch        as patches
                                        patches are     manufacturedin
                                                    are manufactured    inaa variety
                                                                              variety of
                                                                                       of sizes
                                                                                           sizes and
                                                                                                 and thicknesses,
                                                                                                     thicknesses,
the
the drug   exposure from
     drug exposure      from patches
                               patches isis unknown and cannot be        estimated by
                                                                     be estimated         reviewing the product
                                                                                      by reviewing
label,
label, unless
       unless thethe manufacturer discloses
                                        discloses thethe drug
                                                          drug mass.   Many of
                                                                mass. Many     of the
                                                                                   the patch    products exclude
                                                                                        patch products     exclude
this from their labels,
                   labels, and
                            and the
                                 the absence
                                       absenceof   ofthis
                                                      thisinforrnation
                                                           informationon onunapproved
                                                                             unapprovedOTC    OTC product labels
                                                                                                             labels
creates
creates aa safety
            safety risk.
                    risk.

DosageForm
Dosage Form                  Strength Amount Applied
                                      Amount Applied                      Applied Dose
                                                                                  Dose
                                                                          [Strength x Amount Applied]
Cream, ointment,
       ointment,             4%           1g                              40 mg
lotion
Patch
Patch                        4%           Unknown                         Unknown
                                          (Mass
                                          (Mass of  adhesive not
                                                 of adhesive not
                                          specified on product
                                          specified    product
                                          labeling)



46Barkve  TF, Langseth-Manrique
  Barkve TF,  Langseth-Manrique K,K,Bredesen
                                    Bredesen1E,
                                             JE,Gjesdal
                                             JE,  GjesdalK.K."Increased
                                                               "Increaseduptake
                                                                          uptake of
                                                                                 of transdermal  glyceryl trinitrate
                                                                                    transderrnal glyceryl trinitrate
during physical exerciseand
       physical exercise andduring
                            duringhigh  ambienttemperature."
                                   highambient  temperature." Am. Heart   J. 1986; 112: 537-541.
                                                                    Heart J.

   Klemsdal TO,
47 Klemsdal
47          TO, Gjesdal
                  Gjesdal K,
                          K, Zahlsen
                             Zahlsen K.K. "Physical
                                           "Physical Exercise   Increases Plasma
                                                      Exercise Increases         Concentrations of
                                                                          Plasma Concentrations    Nicotine During
                                                                                                of Nicotine During
Treatment with aa Nicotine
Treatment with    Nicotine Patch."
                           Patch." Br.
                                   Br. J.
                                       J. Clin.
                                   Br.).  Clin.Pharmacol.
                                                Phartnacol. 1995; 39:677-679.

48Abrams LS,
  Abrams             D,
           LS, Skee Do  Natarajan.),
                     Do Natarajan 1, Wong FA.
                                  J, Wong FA. "Pharmacokinetic overview of Ortho
                                                                           Ortho Evra/Evra."
                                                                                 Evra/Evra." Ferri!.
                                                                                             Fertil. Steril. 2002;
                                                                                             Fertil.
7(2 Suppl 2): 53-12.
              S3-12.
       Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 154 of 210

Division
Division of
         of Dockets
            Dockets Management  (HFA-305)
                    Management (HFA-305)
December 28, 2018
Page
Page 21
      21



Because   there are no
Because there       no constraints
                        constraints onon patch
                                          patch dimensions
                                                 dimensions or or adhesive  thickness, the amount
                                                                  adhesive thickness,      amount ofof
drug in the product can be
            product can  be arbitrarily,
                            arbitrarily, and  significantly, increased by increasing the patch size
                                         and significantly,                                    size or
adhesive thickness while maintaining the     drug-to-adhesive ratio
                                         the drug-to-adhesive    ratio at
                                                                       at 4%.
                                                                          4%.

                             ii.       How
                                       How does   patch design
                                             does patch  design and
                                                                 andformulation    affect systemic
                                                                      formulation affect   systemic
                                       exposures?

         When lidocaine is applied topically
                                          topically toto provide pain relief, its site of action is not the the skin,
                                                                                                                skin,
but the nerve
         nerve endings
                 endings beneath
                           beneath the       surface of
                                       thesurface      of skin
                                                           skin and
                                                                and can
                                                                    can be
                                                                         be considered
                                                                             considered aa "topical
                                                                                              "topical product for
transdermal
transdermal treatment
                 treatment of       local tissue
                               of local              sites."49 Because
                                            tissue sites."49       Because of     this, lidocaine
                                                                              of this,    lidocaine patches
                                                                                                       patches are
formulated     to
formulated to allowallow the
                           the drug
                                drug to     penetrate through
                                        to penetrate       through the
                                                                    the stratum      corneum. Because
                                                                          stratum corneum.           Because blood
                                                                                                               blood
capillaries
capillariesextend
              extendinto      the upper
                       into the            layers of
                                  upper layers          dermis and
                                                    of dermis              near the
                                                                  and are near          nerve endings
                                                                                 the nerve      endings on on which
                                                                                                              which
lidocaine
lidocaine acts,
            acts, there  is significant
                  there is   significant systemic
                                           systemic absorption of   of lidocaine
                                                                       lidocaine from topical
                                                                                            topical application,
                                                                                                     application, so
much
much so that      FDA recommends pharmacokinetic
           that FDA                       pharmacokinetic bioequivalence
                                                                 bioequivalence studies
                                                                                    studies to evaluate
                                                                                                   evaluate generic
                                                                                                             generic
versions of Lidoderm°
             Lidoderm*
              Lidoderre 5%, 5%, rather
                                 rather than     clinical endpoint
                                          thanclinical     endpoint studies,   as is
                                                                     studies, as   is the   case typically
                                                                                      the case    typically the case
for topically-acting   products.5°
    topically-actingproducts.'
                        products.'


        One
        One of the key features that that distinguish
                                           distinguish patch dosage
                                                                 dosage forms
                                                                         forms from other
                                                                                        other topical
                                                                                               topical dosage
                                                                                                          dosage
forms is that patches
               patches provide
                         provide anan occlusive
                                       occlusive physical
                                                  physical barrier    that covers the applied
                                                              barrier that               applied dose      during
                                                                                                   dose during
wear. Occlusion
        Occlusion is a widely
                        widely recognized       means to
                                 recognized means        to enhance percutaneous absorption
                                                                                         absorption of  of drugs.
                                                                                                           drugs.
Occlusion    can increase
Occlusion can increaseskin  skinhydration,       raiseskin
                                   hydration,raise       skintemperature,
                                                                temperature,alter
                                                                                alter pH,
                                                                                       pH, and
                                                                                            and prevent
                                                                                                  prevent the
accidental removal
             removal or evaporation of an       applied compound,
                                            an applied    compound, which
                                                                        which in effect results in         higher
                                                                                                     in aa higher
          dose.S1 Occlusion
applied dose.51    Occlusion has    been shown
                               has been    shown to    triple the
                                                   to triple   theserum    concentrations of
                                                                    serumconcentrations       of aa topical
                                                                                                      topical 4%
                                                                                                              4%
lidocaine   anesthetic cream applied
lidocaine anesthetic           applied toto the face.52 Interestingly,
                                                           Interestingly, in this study,
                                                                                   study, the authors noted
high
high inter-subject
      inter-subject variability
                     variabilityininlidocaine
                                      lidocaineabsorption
                                                 absorptionthat      wasnot
                                                                thatwas   not related   to dose or exposure.
                                                                               related to              exposure.
While  it  was not  possible
While it was not possible     to  predict  who   would    be   sensitive to topical
                                                              sensitive     topical lidocaine,     the authors
                                                                                      lidocaine, the




49Paudel KS,
  Paudel  KS, Milewski
              Milewski M,           CL, Brogden
                       M, Swadley CL,    Brogden NK,
                                                  NK,Ghosh
                                                       GhoshP,P, Stinchcomb
                                                                 Stinchcomb AL.
                                                                            AL."Challenges
                                                                                "Challengesand
                                                                                            and opportunities
                                                                                                opportunities in
dermal/transdermal delivery." Ther. Deliv.
dermal/transdermal delivery."       Deify. 2010; 1(1)1.09-31.
                                                 1(1):109-31.

so
50
         FDA     Draft
                  Draft    Guidance      on    Lidocaine,     October       2018.     Available    at:
https://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/ucm086293.pdf.
https://www.fda.govidownloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/ucm086293.pdf.

   Wester RC,
51 Wester
5i
51        RC, Maibach
              MaibachHI.
                      HI."Cutaneous
                          "Cutaneouspharmacokinetics:  10steps
                                     pharmacokinetics:10        topercutaneous
                                                          stepsto  percutaneous absorption."
                                                                                absorption." Drug
                                                                                             Drug Metab.
                                                                                                  Metab_ Rev.
1983; 14:169-205.

52 Oni G,
   Oni G, Brown
           Brown S,
                  S,
                  5, Burrus
                     Burrus C,
                             C, Grant
                                Grant L,
                                       L, Watkins
                                          Watkins J,J, Kenkel
                                                        Kenkel M,
                                                               M, Barton
                                                                   BartonF,F,Kenkel
                                                                              Kenkel J.J. "Effect
                                                                                           "Effect of
                                                                                                    of4%
                                                                                                       4%Topical
                                                                                                          Topical Lidocaine
                                                                                                                   Lidocaine
Applied
Applied to the  Face on
            the Face on Serum
                         Serum Levels
                                Levels of Lidocaine
                                          Lidocaine andand Its Metabolite,
                                                               Metabolite, Monoethylgycinexylidide."
                                                                           Monoethylgycinexylidide." Aesthetic Surgery
J. 2010; 30{6):
         30(6): 853-858.
                853-858.
        Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 155 of 210

Division
Division of
         of Dockets
            Dockets Management   (HFA-305)
                     Management (HFA-305)
December
December 28,28, 2018
      22
Page 22



note:  "these findings
note: "these    findings have
                          have important
                                important ramifications
                                            ramifications for unsupervised patient
                                                          for unsupervised
                                                              unsupervised patient application,
                                                                                    application,
                                                                                   application,
particularly in conjunction
                conjunction with occlusive dressings."53


        The   adhesive layer
        The adhesive    layer can
                               can also
                                    also be beocclusive    andinfluence
                                                occlusive and
                                                           and    influence percutaneous
                                                                 influence      percutaneous absorption
                                                                                percutaneous     absorption
                                                                                                 absorption
depending on the adhesive components
                             cornponents and thickness.                  there are
                                                             Because there
                                                 thickness. Because      there   are no
                                                                                     no constraints
                                                                                        constraints on   on the
                                                                                                             the
backing   materials or
backing materials or adhesive
                         adhesive components/thickness
                                   components/thicknessused    usedfor for
                                                                        forthese    patches,
                                                                             these patches,    there
                                                                                     patches, there
                                                                                               there is   is no
                                                                                                          is  no
                                                                                                              no
standardization of their occlusion
                          occlusion as
                                     as it           to drug
                                         it pertains to drug absorption.
                                                              absorption. While Whilesome
                                                                                While  someof
                                                                                       some   ofthese
                                                                                              of  theseOTC
                                                                                                  these     OTC
                                                                                                            OTC
lidocaine  patch products incorporate aa "breathable"
lidocaine patch                             "breathable" backing      cloth, these
                                                           backing cloth,
                                                                     cloth,   thesematerials
                                                                             these   materialsstill
                                                                                     materials   still remain
                                                                                                still   remain
potentially
potentially occlusive,
            occlusive, especially
                       especiallyasas they
                                       they contain       hold the
                                             contain and hold   the adhesive
                                                               the    adhesivelayer
                                                                      adhesive    layer(also
                                                                                  layer (alsowith
                                                                                        (also  withvarying
                                                                                               with    varying
                                                                                                       varying
levels of
       of occlusiveness)
          occlusiveness) on              skin.
                         on top of the skin.
                                        skin.

          In
          In addition
                addition to occlusive
                               occlusive backings
                                            backings that that can   promote drug
                                                                     promote
                                                                can promote       drug diffusion
                                                                                  drug       diffusion through
                                                                                            diffusion       through the
                                                                                                            through          the skin,
                                                                                                                                  skin,
                                                                                                                                  skin,
 topical lidocaine
 topical   lidocaine products
                         products areare formulated
                                         formulated with              inactive ingredients
                                                          with the inactive
                                                                     inactive    ingredients that
                                                                                 ingredients                 can help
                                                                                                      that can        help to to drive
                                                                                                                                  drive
                                                                                                                                 drive
drug delivery.
       delivery. The The formulation
                            formulation isis critical
                                             critical inin determining
                                                            determining the  the systemic
                                                                                 systemic exposureexposure to     to lidocaine,
                                                                                                                        lidocaine, as
                                                                                                                       lidocaine,     as
 was illustrated
 was  illustrated by a study study byby Oni,       al.54, in
                                        Oni, et al.54,     in which
                                                              which 25 25 subjects
                                                                           subjects were           treated with
                                                                                        were treated
                                                                                                   treated      with one
                                                                                                               with       one of
                                                                                                                          one   offive
                                                                                                                               of  five
                                                                                                                                   five
different     lidocaine
different lidocaine        creams    (three   OTC    creams
                                             OTC creams and     and  two    prescription         preparations);
                                                                            prescription preparations); and serum         and   serum
levels of lidocaine and its metabolite            monoethylglycinexylidide(MEGX)
                                                 monoethylglycinexylidide
                                   metabolitemonoethylglycinexylidide              (MEGX) were      were   measured
                                                                                                    were measured
                                                                                                           measured 90,       90, 120,
                                                                                                                                  120,
150, 240, and  and 480
                    480 minutes
                          minutes after
                                     aftercream
                                           creamapplication.
                                                     application.The         creams
                                                                      Thecreams
                                                                             creams    included
                                                                                        included
                                                                                    included            LMX-4
                                                                                                        LMX-4(4%
                                                                                                     LMX-4         (4%
                                                                                                                   (4% lidocaine;
                                                                                                                           lidocaine;
                                                                                                                           lidocaine;
Biopelle/Ferndale
 Biopelle/FerndaleLaboratories,
                             Laboratories,Ferndale,             Michigan), Topicaine
                                                Ferndale, Michigan),
                                                                Michigan),       Topicaine
                                                                                 Topicaine (4%       (4% lidocaine;
                                                                                                     (4%      lidocaine; Ebsa
                                                                                                              lidocaine;          Ebsa
                                                                                                                                  Ebsa
Laboratories, Jupiter,        Florida), 2.5%
                   Jupiter, Florida),    2.5% lidocaine/2.5%         prilocaine(generic
                                                lidocaine/2.5% prilocaine
                                                                     prilocaine   (genericEMLA               preparation;High
                                                                                                   EMLA preparation;
                                                                                                             preparation;         High
                                                                                                                                  High
Tech Pharmaceuticals,
       Pharmaceuticals,Amityville,            New York),
                                Amityville, New      York), LET
                                                     York),   LET(4%     lidocaine,
                                                                    (4%lidocaine,      1:2000
                                                                           lidocaine,1:2000           epinephrine,
                                                                                          1:2000epinephrine,
                                                                                                       epinephrine, and     and 0.5%
                                                                                                                                  0.5%
tetracaine),
tetracaine), and  andBLT
                       BLT (20%
                             (20%benzocaine,
                                    benzocaine,6%   6%lidocaine,     and
                                                         lidocaine,and and4%4%  tetracaine)
                                                                             4%tetracaine)
                                                                                 tetracaine)and     and   were
                                                                                                     and were      applied to
                                                                                                          were applied          to the
                                                                                                                                    the
subject's face
subject's     face and neck       and covered
                           neck and    covered withwith an an occlusive
                                                               occlusive dressing
                                                                             dressing for for
                                                                                           for 60 60   minutes.
                                                                                                  60 minutes.
                                                                                                       minutes. The       The results
                                                                                                                         The   results
                                                                                                                               results
showed the  the OTC
                  OTC products             associated with
                         products were associated          with greater
                                                                 greater levels      of lidocaine
                                                                             levels of    lidocaine in    in the
                                                                                                              the bloodstream
                                                                                                                       bloodstream
than the
than    the prescription
               prescription preparations.
                                preparations. Interestingly,
                                                     Interestingly, although
                                                                        althoughthree three
                                                                                       three of    of   the tested
                                                                                                   of the      tested products
                                                                                                              tested         products
                                                                                                                            products
contained
contained 4%     4% lidocaine,
                      lidocaine, they
                                    they had     very different
                                          had very       different absorption         profiles. This
                                                                     absorption profiles.
                                                                                     profiles.         This is
                                                                                                       This    is likely
                                                                                                               is    likely due
                                                                                                                    likely     due
                                                                                                                               due to to
formulation: one
formulation:        one of    the drugs
                          of the    drugs was
                                           was formulated
                                                  formulated with          alcohol, another
                                                                  with alcohol,
                                                                           alcohol,    another was      wasliposomal
                                                                                                        was     liposomal drug-
                                                                                                               liposomal         drug-
                                                                                                                                 drug-
delivery
delivery system,
             system, andand the
                              the third
                                   third was
                                         was an emollient-based
                                                    emollient-based product.
                                                                           product. It        is known
                                                                                         It isis  known that
                                                                                                  known      thatalcohols
                                                                                                            that       alcohols and
                                                                                                                      alcohols     and
lipids can
lipids   can actact as   skin permeation
                     as skin   permeation enhancers
                                               enhancers and        to increase
                                                               and to    increase drug
                                                                        increase     drug absorption
                                                                                     drug        absorption profiles.
                                                                                                 absorption        profiles. The
                                                                                                                   profiles.       The
                                                                                                                                   The
authors also noted that    that the
                                 the2.5%
                                      2.5% lidocaine-containing
                                            lidocaine-containing formulaformula
                                                                         formulahadhad      greater
                                                                                    had greater
                                                                                             greater absorption
                                                                                                         absorption than     than the
                                                                                                                                    the
4%
4% and
     and 6%6% formulations.
                 formulations.


      The  effect of
      The effect  of formulation  differences on
                      formulation differences     biopharmaceutics also
                                              on biopharmaceutics
                                                  biopharmaceutics  also occurs
                                                                    also  occurs with
                                                                          occurs with patch
                                                                                 with  patch
                                                                                       patch
dosage forms. For
              For example,  Lidoderm' 5%
                  example, Lidoderma
                            Lidoderma         700 mg
                                       5% has 700 mg lidocaine/patch
                                                      lidocaine/patch with
                                                                      with 700
                                                                           700 mg
                                                                                mg being
                                                                                   being the
                                                                                          the


53 Id. (emphasis added).
53

 Oni G,
54   G, Brown
        Brown S,
               S, Kenkel
                  KenkelJ.J."Topical
                             "TopicalAnesthetics and
                                      Anestheticsand Their
                                                 and Their Effect
                                                     Their Effect on
                                                           Effect on  Serum Levels
                                                                  on Serum   Levels of
                                                                             Levels of Lidocaine
                                                                                    of Lidoca;ne and
                                                                                       Lidocaineand  Its Metabolite
                                                                                                 and Its Metabolite
                                                                                                         Metabolite
Monoethylglycinexylidide
Monoethyrglycinexylidide  (MEGX)." Aesthetic
Monoethyfglycinexylidkie (MEGX)."            SurgeryJournal.
                                             Surgery
                                   Aesthetic Surgery Journal. 2012;
                                                              2012; 32(4):495-503.
                                                                     32(4):495-503.
        Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 156 of 210

Divisionof
Division ofDockets
           Dockets Management  (HFA-3O5)
                               (HFA-305)
                   Management (HFA-305)
December 28, 2018
Page 23



 "administered" amount
"administered"       amount of drug, drug, but     only delivers
                                             but only     delivers a small           fraction of the
                                                                           small fraction
                                                                                    fraction            the administered
                                                                                                              administered drug
                                                                                                              administered        drug
                                                                                                                                 drug
(i.e., the  Lidoderm° 5%
            Lidoderm®
       the Lidoderm®       5% Prescribing
                               Prescribing Information
                                               Information states            bioavailability
                                                                 statesaa bioavailability
                                                                             bioavailability          of
                                                                                                     of 33  ± 2%).55
                                                                                                         3 ± 2%).55 In
                                                                                                           ± 2%).55     In  contrast,
                                                                                                                        In contrast,
                                                                                                                            contrast,
ZTLIDOTM
ZTLIDOT"    1.8%1.8%hashas
                        3636 mgmg drug
                                     drugcontained
                                            containedwithin         thinner
                                                          withina athinner       adhesive
                                                                      thinneradhesive
                                                                                  adhesivelayer  layer   (consequently
                                                                                                          (consequently aa lower
                                                                                                  layer(consequently            lower
strength of
strength    of 1.8%)
               1.8%) but
                       but has
                             has aa bioavailability
                                     bioavailability of  of —50%
                                                             - 50% due
                                                             —50%     due toto its
                                                                                 its biopharmaceutic
                                                                                       biopharmaceutic efficiency
                                                                                      biopharmaceutic           efficiency
                                                                                                                 efficiency of  of the
                                                                                                                                   the
formulation, and delivers
formulation,           delivers the samesame amount
                                                amount of   ofdrug
                                                                 drugto      theskin
                                                                         tothe
                                                                             the    skinasas
                                                                                    skin    asLidoderm®
                                                                                                  Lidoderm° 5%,
                                                                                                  Lidoderm°      5%, despite
                                                                                                                 5%,    despite thethe
difference
difference in      strength.56 It It
               in strength.56            is emphasized
                                     is emphasized        thatthat       ZTLIDOTM 1.8%
                                                                        ZTLIDOTM
                                                                  ZTLIDOTM              1.8% and
                                                                                        1.8%       and
                                                                                                    and Lidoderm®
                                                                                                           Lidoderm° 5%
                                                                                                          Lidoderm°         5% have
                                                                                                                           5%    have
                                                                                                                                 have
                 (bioequivalent) pharmacokinetics,
comparable (bioequivalent)           pharmacokinetics, but       but ZTLIDO'
                                                                      ZTLIDOT" 1.8%
                                                                      ZTLIDOTM       1.8%
                                                                                     1.8%is   isisless
                                                                                                   less  than
                                                                                                    lessthan    half
                                                                                                          than half   the strength
                                                                                                                half the     strength
of Lidoderm°
    Lidoderm®
    Lidoderm®5%.    5%.This
                          Thisisissolely
                                   solelya afunction
                                              functionof   ofthe    product formulations
                                                               theproduct        formulations and
                                                                                formulations           and confirms
                                                                                                             confirms that      patch
                                                                                                                          that patch
product strength (expressed
product                (expressed as a percentage)
                                             percentage) does   does notnot identify
                                                                              identify the  the amount
                                                                                           the      amountof
                                                                                                    amount     ofdelivered
                                                                                                               of  delivered drug
                                                                                                                  delivered       drug
                                                                                                                                 drug
for these products.
for          products. However,
                            However, this this nuance
                                                nuance isis likely      lost to
                                                               likely lost     to consumers
                                                                                   consumers who
                                                                                   consumers           who have
                                                                                                       who    have aa reasonable
                                                                                                                         reasonable
                                                                                                                        reasonable
expectation that product          strength inherently
                      product strength        inherently confers             standardized
                                                                             standardized delivered
                                                              confers aa standardized                delivered
                                                                                                     delivered drug
                                                                                                                  drug dose
                                                                                                                  drug     dose with
                                                                                                                          dose    with
                                                                                                                                 with
correlation
correlation between
                between strength and     and apparent
                                               apparent dose dose(i.e.,
                                                                     (i.e., higher
                                                                             higher strength
                                                                            higher       strength products
                                                                                        strength        products     deliver
                                                                                                        products deliver
                                                                                                                    deliver      more
                                                                                                                                more
          This standardization
drug). This    standardization is   is maintained
                                       maintained for   for drugs    subjectto
                                                            drugs subject
                                                                     subject      toformal
                                                                                 to   formal FDA   FDA review
                                                                                                  FDA    review
                                                                                                         reviewas as  represented
                                                                                                                   asrepresented
                                                                                                                       represented
by
by Mylan's
    MyIan's Lidocaine
               Lidocaine Patch
                             Patch 5%5% that     is aa generic
                                           that is                 (bioequivalent)version
                                                       generic (bioequivalent)
                                                                  (bioequivalent)           versionof
                                                                                           version       ofLidoderm®
                                                                                                         of  Lidoderm° 5%,
                                                                                                             Lidoderm°       5%, but
                                                                                                                             5%,   but
with    significantly less
with significantly       less drug
                               drug load
                                       load (140      versus 700
                                             (140 versus         700 mg).
                                                                       mg). The The Mylan
                                                                                The     Mylan generic
                                                                                        Mylan        generic product
                                                                                                     generic    product notably
                                                                                                                product       notably
                                                                                                                             notably
contrasts with
             with Lidoderm®
                    Lidoderm° 5%    5% in in adhesive      formulation (i.e.,
                                             adhesive formulation             (i.e., polyisobutylene
                                                                              (i.e.,   polyisobutylene polymer
                                                                                       polyisobutylene          polymer systemsystem
                                                                                                                              system
versus a hydrogel system), adhesive thickness   thickness (i.e.,      0.27 versus
                                                              (i.e., 0.27     versus 1.591.59 mm),mm), and and backing
                                                                                                           and  backing material
                                                                                                                backing      material
(i.e.,
(i.e., film
       film versus
             versus nonwoven
                       nonwoven cloth),
                                      cloth), which
                                                which presumably
                                                          presumably led     led to to the       improvedbiopharmaceutic
                                                                                         the improved
                                                                                                 improved      biopharmaceutic
                                                                                                                biopharmaceutic
efficiency
efficiency allowing
             allowingfor  forthe
                              the reduced
                                   reduced drug load while           maintaining the
                                                             while maintaining                   same product
                                                                                          the same       product strength
                                                                                                                    strength(5%)
                                                                                                                    strength     (5%)
                                                                                                                                 (5%)
and rate/extent of   of delivered
                        delivered drug.57
                                      drug."


         Attachment 11 shows shows that
                                     that OTC
                                           OTC lidocaine
                                                  lidocaine patches
                                                               patches have     manufacturer-self-reported drug
                                                                         have manufacturer-self-reported             drug
levels
 levels ranging
         rangingfromfrom11   11 to
                                 to 5000
                                    5000 mg,
                                           mg, butbut the amount
                                                             amount of  of delivered
                                                                        of  delivered drug
                                                                            delivered    drug is
                                                                                         drug    is unknown
                                                                                                     unknown as
                                                                                                     unknown          it is
                                                                                                                  as it    is
                                                                                                                          is
contingent on the the biopharmaceutic
                        biopharmaceutic properties
                                              properties of  of the
                                                                the adhesive/patch                     Conceivably, an
                                                                                                       Conceivably,
                                                                                         systems.Conceivably,
                                                                     adhesive/patchsystems.
                                                                                         systems.                        an
11  mg lidocaine
11 mg    lidocaine adhesive
                      adhesive formulation
                                   formulation withwith superior
                                                           superior biopharmaceutic         efficiency could
                                                                     biopharmaceutic efficiency
                                                                                           efficiency             deliver
                                                                                                                  deliver
                                                                                                          could deliver
                                                                                                          could
comparable     levels     of
comparable levels of drug to  drug   to the
                                         the 5000
                                               5000mg   mgformulation
                                                             formulation with       far
                                                                                    farinferior
                                                                              withfar    inferiorbiopharmaceutic
                                                                                         inferior     biopharmaceutic
                                                                                                      biopharmaceutic
efficiency.   This broad
efficiency. This     broad variability
                              variabilityalone
                                            aloneisis reason     enough why
                                                        reason enough       why patches
                                                                            why              should not
                                                                                            should
                                                                                  patches should        not be
                                                                                                            be allowed
                                                                                                            be   allowed
                                                                                                                 allowed
dosage forms
          forms in
                 in aa final
                       final External   Analgesics OTC
                              External Analgesics            Monograph.
                                                        OTCMonograph.
                                                              Monograph. However, the     thesignificant
                                                                                          the                 safetyrisk
                                                                                                significant safety
                                                                                                significant   safety   risk
                                                                                                                      risk
is the prospect
        prospect of ofaa5000
                           5000mg mgOTC
                                      OTC lidocaine
                                            lidocaine patch
                                                          patch with      highbioavailability,
                                                                 with aa high
                                                                          high  bioavailability, which
                                                                                bioavailability,     which can
                                                                                                     which        deliver
                                                                                                             can deliver
toxic levels
toxic  levels of
              of drug
                  drug to         system (i.e.,
                          to the system    (i.e., it is
                                                     is established that     topically applied
                                                                            topically
                                                                      that topically    appliedlidocaine
                                                                                       applied                 results in
                                                                                                   lidocaine results
                                                                                                  lidocaine               in
                                                                                                                         in
systemic    exposure).       The  application     of   heat
systemic exposure). The application of heat and exercise     and   exercise
                                                                   exercise cancan  also
                                                                               can also    dramatically
                                                                                    also dramatically       exacerbate
                                                                                          dramatically exacerbate
                                                                                                            exacerbate
these    safety risks.
these safety      risks. Patch
                            Patch product
                                    product formulations
                                                formulations have          evolved over
                                                                  have evolved
                                                                          evolved             timewith
                                                                                      over time
                                                                                              time     withsignificant
                                                                                                       with   significant
                                                                                                              significant
improvements
improvements in    inpercutaneous
                       percutaneousabsorption
                                         absorption   of of
                                                         thethe  drugs
                                                             drugs       (e.g.,
                                                                        (e.g.,
                                                                    (e.g.,      ZTLIDOTM1.8%
                                                                                ZTLIDOTM
                                                                            ZTLIDOT"                 versusLidoderm®
                                                                                            1.8%versus
                                                                                            1.8%    versus   Lidoderm°
                                                                                                            Lidoderm°


ss Lidoderm.
   Lidoderm*                          November 2018.
             Prescribing Information, November
   Lidoderm'Prescribing                        2018.

se
56
   ZTLIDO"" Prescribing
   ZTLIDO"               Information, November 2018.
   ZTLIDO"   PrescribingInformation,           2018.

   Lidocaine Patch
57 Lidocaine              5%Prescribing
                    Patch5%  PrescribingInformation, November
                                          Information,        2018;
                                                              2018;
                                                       November     httaigli(jou,ihr:
                                                                2018;                 tch.ri-tylan.comfeniheMth-care-
                                                                    http://lidocainepatch.mylan.comienihealth-care-
                                                                      liqpirdocainepatch.rrtylan.comlen/he;-ilth - care-
pi (-0. i;ic
pLot
!)roticry-     1al1 .
          ir:):il
       Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 157 of 210

Division
Divisionof
         ofDockets
           Dockets Management  (HFA-305)
                   Management (HFA-305)
December 28, 2018
              2O18
Page 24



5%),
5%), and should be
     and should  be anticipated
                    anticipated to continue
                                    continue to
                                              to evolve,
                                                 evolve, to
                                                         to the
                                                             theextent
                                                                 extentthat
                                                                         thatOTC
                                                                               OTC lidocaine
                                                                                    lidocaine patch
manufacturers  should be
rnanufacturers should be required
                         required to
                                   tocharacterize
                                      characterizeand
                                                   andqualify
                                                       qualify safety
                                                                safety and
                                                                       and efficacy.
                                                                           efficacy.

        It
         It is
            is noted    that the
                noted that        difficulty of determining what strength
                              the difficulty                                        meansin
                                                                          strength means     in terms
                                                                                                 terms ofof efficacy
                                                                                                            efficacy for
patch
 patch product
        product has         been used
                      has been      used to  topromote         nonprescription products
                                                  promotenonprescription           products as  as "similar"
                                                                                                     "similar" to      the
                                                                                                                   to the
prescription     strength    lidocaine products.
 prescription strength lidocaine          products. This                questions   about   disincentives
                                                                raises questions about disincentives to follow
                                                          This raises                                         to   follow
well-established regulatory
well-established       regulatory processes.
                                      processes. As   As one               example,Hisamitsu
                                                               reportedexample,
                                                          one reported               Hisamitsu was  was developing
                                                                                                          developing a
lidocaine
lidocaine 5%  5% patch
                    patch asas aa generic
                                  generic to   toLidoderm®
                                                    Lidoderm®) 5%
                                                    Lidoderml      5% but    decided instead
                                                                        but decided                   pursue an
                                                                                      instead to pursue          anOTCOTC
lidocaine
lidocaine4%   4%patch
                    patchbecause          was aa faster
                            becauseitit was         faster way
                                                             way to        market.58 Since
                                                                           market.S8
                                                                   to the market.58    Since then,      Hisamitsu has
                                                                                                then,Hisarnitsu
promoted
prornoted the the similarity
                    similarity ofof its  OTC Salonpas
                                     its OTC     Salonpas Lidocaine
                                                              LidocainePatch
                                                                           Patch4%4%toto the  prescription strength
                                                                                         the prescription
lidocaine products:
lidocaine     products:    "Salonpas
                            "Salonpas    has
                                           has   engineered
                                                   engineered   this
                                                                  thispatch
                                                                        patch to
                                                                               tobe
                                                                                  be as
                                                                                     as  close
                                                                                          close   as  possible to
                                                                                                  as possible      to the
prescription
prescription Lidocaine
                  Lidocainepatch.
                                patch. We We use the  the same      hydrogel technology,
                                                             same hydrogel     technology, same
                                                                                              same patch
                                                                                                       patch size     and
                                                                                                                size and
shape.
shape. We Weuse  usethethesame
                            sametypetypeofofindividual,
                                                individual,child
                                                               child resistant   pouches and
                                                                      resistant pouches     and useuse the   maximum
                                                                                                        themaximum
concentration
concentration you   you can          without aa prescription."59
                          can get without                                 Highlighting the
                                                     prescription."59 Highlighting            similarity of
                                                                                        thesirnilarity     of OTC
                                                                                                               OTC and
prescription     lidocaine patch
prescription lidocaine                 products can
                              patch products        can be misleading
                                                             misleading to to consumers,
                                                                              consumers, because
                                                                                            because the safety and
efficacy
efficacy ofof the OTC OTC products
                             products have              been   reviewed     by  FDA,
                                         have not been reviewed by FDA, nor has the   nor   has   thebioavailability,
                                                                                                        bioavailability,
adhesion,         irritation potential
adhesion, or irritation        potential of thesethese products
                                                         products been      assessedinincomparison
                                                                     been assessed        comparison to    tothe     FDA-
                                                                                                               theFDA-
approved reference
             reference product        thatisis being
                           product that         being promoted
                                                        promotedas      having near
                                                                     ashaving        similarity in strength.
                                                                                nearsimilarity                      Given
                                                                                                      strength. Given
the safety
     safety issues
              issues associated with  with topical lidocaine
                                                       lidocaine useuse and
                                                                        and uncertainty
                                                                             uncertainty ofof what
                                                                                               what strength
                                                                                                       strength means
relative       systemic exposure,
relative to systemic       exposure, safety and efficacy efficacy data                       formulation should be
                                                                         for each unique formulation
                                                                    data for
reviewed before marketing.

        These   risks are compounded
        These risks         compounded by        the direct-to-consumer
                                             by the   direct-to-consumer advertising              sometimes
                                                                             advertising that sornetimes
includes high-profile celebrities (e.g.,    Shaquille O'Neal
                                     (e.g., Shaquille                 Shaq) for
                                                                (The Shaq)
                                                       O'Neal (The          for lcyHot
                                                                                 IcyHot Lidocaine
                                                                                         Lidocaine Patches
                                                                                                       Patches
Plus
Plus Menthol)
      Menthol)to to promote         product. Such
                    promote the product.             promotion highlights
                                               Such promotion     highlights the             of the
                                                                                   efficacy of
                                                                              the efficacy      the product,
     essentially understates potential
but essentially                 potential safety   considerations. Admittedly,
                                            safety considerations.     Admittedly, the    risks of
                                                                                      therisks   of lidocaine
                                                                                                     lidocaine
overexposure    should be
overexposure should     be less
                            less for
                                 for Mr.  O'Neal (due to
                                     Mr. O'Neal                size) versus
                                                        to his size) versus the
                                                                            the average adult or  or children
                                                                                                       children
≥12 years of age for which     the product is labeled.
                       which the




58 Spicer
53
58 Spicer M.
          M. "With    OTC Lidocaine,
              "With OTC     Lidocaine, Salonpas
                                          Salon
                                           Salonpas
                                                  pasTakes
                                                       TakesPath
                                                               Pathof   LessResistance
                                                                    of Less  Resistance to to Market." Tan
                                                                                                        Tan Sheet,            2016.
                                                                                                             Sheet, 21 Oct 2016.
Available        https://pink.pharmaintelligence.informa.com/PS119368/With-OTC-Lidocaine-Salonpas-Takes-Path-
           at:https://pink.pharmaintelligence.informa.com/PS119368/With-OTC-Lidocaine-Salonpas-Takes-Path-
Available at:
                                  (Attachment 5).
Of-Less-Resistance-To-Market (Attachment                  Significantly, FDA
                                                    5). Significantly,         has acknowledged:
                                                                         FDA has    acknowledged:"[lit
                                                                                                     "[l]thas
                                                                                                    "[I]t  has become
                                                                                                               become clear
                                                                                                                         clear that
     unintended consequence
one unintended     consequence of  of [its  TFMJ enforcement
                                       [its TFM]
                                            TFM]                    approach is
                                                    enforcement approach       is that    creates negative
                                                                                  that it creates negative incentives    for those
                                                                                                             incentives for
who manufacture or market       these OTC
                       market these      OTC drugs
                                               drugs toto conduct
                                                           conduct studies
                                                                    studies or  otherwise respond to safety concerns
                                                                             or otherwise                       concerns asas to do
         hasten aa determination
so may hasten       determinationthatthattheir
                                            theirproduct
                                                   productis isnot
                                                                not  GRAS/GRAE." 81
                                                                   GRAS/GRAE."        81 Fed.
                                                                                          Fed. Reg.
                                                                                               Reg. 84465,
                                                                                                    84465, Dec.
                                                                                                              Dec. 23,
                                                                                                                   23, 2016.
                                                                                                                       2016. TheThe
failure to
failure     complete the
        to complete     the process
                             process likewise       creates aa major
                                         likewise creates                 loophole enabling
                                                                  major loophole     enabling drug
                                                                                                drug manufacturers
                                                                                                       manufacturers to to launch
                                                                                                                            launch
unapproved   new drugs
unapproved new     drugs into
                          into the  marketwithout
                               the market     withoutimportant
                                                         importantFDAFDA review or expectation     of agency reaction.
                                                                                      expectation of

se          Product Description.
59 Salonpas Product              Available at: https://www.walmart.com/ip/Salonpas-Lidocaine-Pain-Relieving-Gel-
                    Description. Available
Patch-Pack-of-16/320482334 (Attachrnent
                              (Attachment 6).
       Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 158 of 210

Division
Division of
         of Dockets
            Dockets Management  (HFA-305)
                    Management (HFA-305)
December
December 28, 2018
Page
Page 25



                            iii.                        ingredients in
                                       Are the inactive ingredients in lidocaine
                                                                       lidocaine OTC
                                                                                 OTC patches
                                                                                     patches safe?


        Because
        Because patch dosage forms forms are    notwithin
                                          are not     withinthethescope
                                                                     scopeofofthethe            AnalgesicsTFM
                                                                                      ExternalAnalgesics
                                                                                    External                 TFM
review,
review, the   question of
         the question    of patch
                            patch bioavailability
                                   bioavailability and
                                                     arid
                                                      arid appropriate
                                                           appropriate vehicles
                                                                            vehicles were
                                                                                       were not
                                                                                             not considered by
the Advisory Review
the Advisory   Review Panel on  on OTC
                                    OTC Topical
                                         Topical Analgesic,
                                                    Analgesic, Antirheumatic,
                                                                  Antirheumatic, Otic,Otic, Burn,
                                                                                            Burn, and
                                                                                                   and Sunburn
Prevention   and Treatment
Prevention and    Treatment Drug
                              Drug Products
                                     Products (the
                                                (the "Expert
                                                       "Expert Panel"
                                                                 Panel" or or "Panel")
                                                                               "Panel") or
                                                                                        or FDA.
                                                                                            FDA. However, the
concern
concern that new vehicles
                     vehicles could
                                could bebe introduced
                                            introducedin   in the
                                                               the future
                                                                     future that have             percutaneous
                                                                                    have better percutaneous
absorption characteristics was not lost on the         Panel. In
                                                  the Panel.    In aaMay
                                                                      May 1976      meeting, the
                                                                             1976 meeting,    the Expert
                                                                                                   Expert Panel
                                                                                                            Panel
"expressed             regarding the use
"expressed concern regarding            use ofof the
                                                  thenewnewvehicles,
                                                             vehicles,with withproperties
                                                                                  propertiessimilar
                                                                                              similar to   DMSO
                                                                                                       toDMSO
                                                                                                           DM5O
[dimethylsulfoxide],    whichmay
[dimethylsulfoxidel,which       mayincrease
                                      increasethethe absorption
                                                      absorption of  of ingredients
                                                                         ingredients beyond
                                                                                       beyond what          Panel
                                                                                                what the Panel
determined to be be safe
                     safe and
                           and effective.    The Panel
                                effective. The             concluded at that
                                                   Panel concluded            that meeting
                                                                                    meeting that,
                                                                                             that, 'Ingredients
                                                                                                    'Ingredients
reviewed by this Panel were categorized on the      the basis
                                                         basis of          use in
                                                                    their use
                                                                of their        in currently  employed topical
                                                                                   currently employed     topical
vehicles,' (Ref. 78)."6u
vehicles, (Ref.  78)."6°

         The use ofof novel
                       novel excipients
                               excipients is  is not
                                                 not compliant
                                                      compliant withwith 2121C.F.R.        330.1(e), which
                                                                               C.F.R. §§ 330.1(e),     which requires
OTC
 OTCproduct
        productto to contain
                      contain only
                                 only suitable       inactiveingredients
                                          suitable inactive       ingredientsthat thatareare safe
                                                                                              safe in          amounts
                                                                                                     in the amounts
administered
 administered andand do not interfere
                                interfere withwith the
                                                    the effectiveness
                                                          effectiveness of the        preparation or
                                                                               the preparation       or with
                                                                                                         with suitable
                                                                                                                suitable
      or assays
tests or  assays to   determine if
                  to determine      if the
                                        the product     meets its
                                             product meets      its professed
                                                                    professed standards
                                                                                  standards of of identity,
                                                                                                   identity, strength,
quality, and purity.
              purity. FDA's
                        FDA's Inactive
                                Inactive Ingredient
                                            Ingredient ("HG")
                                                          ("IIG")
                                                          ("IIG")Database
                                                                    Databaselists      suitable excipients
                                                                                listssuitable    excipients andand their
maximum
 maximum potency
             potency delineated
                        delineated by   by routes
                                            routes ofof administration
                                                        administration and        dosage form.
                                                                             and dosage              Ingredients that
                                                                                             form. Ingredients
do not have aa prior
                 prior history
                        history of safety and suitability
                                                    suitability inin aa product
                                                                        product type     are subject
                                                                                   type are   subject to pre-market
approval by   FDA through
           by FDA    through NDA        procedures.
                                NDA procedures.6L62   61,62
                                         procedures.61•       FDA has
                                                         62 FDA     has also   been very consistent in noting to
                                                                         also been
industry        inclusion of an ingredient
 industry that inclusion                            qualified as
                                     ingredient qualified           safe for
                                                                as safe        cosmetic products
                                                                          for cosmetic      products andand21  21C.F.R.
                                                                                                                  C.F.R.
Part           GRAS (or
           as GRAS
 Part 182 as            (or direct/indirect
                            direct/indirect food        ingredients per 21
                                                  food ingredients            21C.F.R.
                                                                                  C.F.R. Parts
                                                                                            Parts 172-186)
                                                                                                   172-186) are are not
sufficient alone
sufficient  alone to    qualify safety
                    to qualify    safety of these        ingredients     for  use    in  pharmaceutical
                                                 these ingredients for use in pharmaceutical products.        products.
Furthermore,
Furthermore, FDAFDA has      informed Scilex
                        has informed       Scilexthat     the inclusion
                                                    that the   inclusion of of an   excipient in
                                                                               an excipient     in the IIG
                                                                                                         IIG
                                                                                                         HG database
alone for the   same product
           the same     product form
                                   form andand route
                                                 routeof ofadministration
                                                             administration doesdoesnot notnecessarily
                                                                                             necessarily qualify
                                                                                                             qualify the
safety
safety of   that excipient
         of that   excipient forfor itsits specific    topical system
                                            specific topical      system as      the dosage
                                                                            as the      dosage form
                                                                                                  form maymay impart
                                                                                                                 impart
biopharmaceutical
biopharmaceutical properties and exposure               levels (dermal and systemic)
                                            exposure levels                      systemic) that are      not qualified
                                                                                                    are not    qualified
by the
by  the underlying    safety  studies    supporting    their
                                                       their  inclusion   and  maximum        potencies
                                                                                              potencies    listed in the
                                                                                                                     the
IIG
IIGdatabase
     database for
                for comparable
                      comparableor     or same
                                           same dosage
                                                   dosage forms
                                                              forms and
                                                                      and routes
                                                                            routes of administration.
                                                                                          administration. In   In these


ao
6°
6° 55 Fed. Reg. 6947, Feb. 27, 1990.


61 FDA
   FDASmall
         SmallBusiness
               BusinessAssistance.
                         Assistance."Bringing
                                     "Bringingan  Over-the-Counter (OTC)
                                               an Over-the-Counter    (OTC)Drug
                                                                              Drugtoto Market:
                                                                                       Market: Choosing
                                                                                                Choosing aa Regulatory
Pathway
Pathway for Your
              Your Drug,  Factor#5
                   Drug,Factor   #.5Make
                                #.5  Makesure
                                           sureyour
                                                yourproduct's
                                                     product's inactive   ingredients are safe
                                                                inactive ingredients           and suitable."
                                                                                          safe and  suitable." Available
                                                                                                               Available
at: https://www.accessdata.fda.goviscripts/cder/training/OTC/topic5/images/factor%205.pdf.
    https://www.accessdata.fda.goviscriots/cderitraining/OTC/topic5/imagesifactor%205.pdf.
    https://www.accessdata.fda.gov/scriots/cder/training/OTC/topic5/images/factor%205.polf.

67 Guidance
62                Industry: Determining
   Guidance for Industry:    Determining Whether
                                         Whether to         anANDA
                                                     Submitan
                                                  toSubmit     ANDA or  505(b)(2}
                                                                        505(b)(2)Application,
                                                                     or505(b)(2)  Application, Draft
                                                                                               Draft Gukiance,
                                                                                                     Guidance,
October 2017.
          2017. Available
                Available at:
                          at:
 https://www.fda.govidownloads/Drugs/GuidanceComplianceRegulatorylnformation/Guidances/UCM579751.pdf.
 https://www.fda.govidownloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM579751.pdf.
 https://www.fda ,gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM579751.pdf.
      Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 159 of 210

Division
Division of Dockets
            Dockets Management  (HFA-305)
                    Management (HFA-305)
December
December 28, 2018
Page
Page 26



cases,  dermal toxicology
cases, dermal    toxicology studies
                                studiesare    warranted for
                                          are warranted         the safety
                                                            for the          qualification of
                                                                     safety qualification       the
                                                                                             of the
excipient.  Furthermore, systemic
excipient. Furthermore,    systemic toxicology       studiesmay
                                        toxicologystudies     maybebe warranted
                                                                      warranted unless
                                                                                  unless data
                                                                                          data are
generated  demonstrating that
generated demonstrating   thatthe     novelexcipients
                                 thenovel   excipients (or components of
                                                       (or components  of the
                                                                          the excipient
                                                                              excipient in the case
                    present risk
of polymers) do not present        of systemic exposure.
                             risk of

         It  is often
         It is                                                                      formulation excipients that
                                                                    sophisticated formulation
                       the case that topical patches require sophisticated
                often the
allow
allow for    homogenous distribution
       for homogenous         distribution of   the drug,
                                            of the          and allow
                                                    drug, and           the product
                                                                allow the    product toto adhere
                                                                                           adhere toto the
                                                                                                       the skin
                                                                                                            skin and
be easily
    easily removed
             removed after the       administration period.
                                the administration      period. These      patchformulation
                                                                   These patch     formulation challenges
                                                                                                   challenges may
                                                                                                                may
require the
require           use of
            the use     of excipients
                            excipients that      are considered
                                          that are     considered novel
                                                                      novel or or novel
                                                                                   novel forfor aa topical
                                                                                                     topical patch
                                                                                                               patch
formulation.
formulation. This This is
                        is especially
                           especiallythethe case
                                             case for   the newer
                                                   for the   newer products
                                                                      products coming
                                                                                 comingonto       the market
                                                                                            onto the    market that
involve
involve novel
          novel adhesive
                   adhesive polymers
                              polymers that
                                          that not only allow
                                                          allow for   product adhesion but can
                                                                  for product                    can also
                                                                                                      also improve
                                                                                                            improve
on the
    the product's
        product'sbioavailability.
                      bioavailability. Adhesive
                                        Adhesive polymers,
                                                     polymers, in    particular, represent
                                                                  in particular,  represent a safety concern as
many
many adhesives
        adhesives are            available with
                      are not available      with aa defined
                                                       defined pharmaceutical
                                                                 pharmaceutical grade grade and      differences in
                                                                                              and differences      in
rheological properties,      impurities, and
                properties, impurities,    and lot-to-lot
                                                lot-to-lot variability
                                                            variability may affect their     biocompatibility and
                                                                                      their biocompatibility
performance.        Adhesive polymers
performance. Adhesive            polymers may       contain impurities
                                             may contain       impurities such
                                                                             such as     initiators, crosslinkers,
                                                                                     as initiators,    crosslinkers,
solvents, or monomeric/dimeric
solvents,        monomeric/dimeric species          that need
                                          speciesthat     need to
                                                                to  be  characterized     for safety.    Because of
                                                                                          for safety. Because
the         variability of quality of adhesives, FDA
     high variability
the high                                              FDAhas     suggested that
                                                             hassuggested          changing adhesive suppliers
                                                                              that changing
would     warrant comparative
would warrant          comparative clinical        endpoint studies
                                        clinical endpoint        studies forfor(A)NDA         products.b3
                                                                                              products.53 OTC
                                                                                  (A)NDA products.63            OTC
manufacturers
manufacturers should should be be held
                                  held toto the
                                             thesarne
                                                  samestandards         regardingadhesive
                                                           standardsregarding        adhesive excipient
                                                                                                  excipient safety
                                                                                                              safety
characterization, performance,
                      performance, andand control
                                            control ofof suppliers.

                     monograph products
         Although monograph
         Although                    products are onlyonly allowed
                                                            allowed to use  use qualified,
                                                                                  qualified, suitable
                                                                                                suitable excipients,
                                                                                                          excipients,
there is
       is no
          noeffective     basis to
              effective basis    toverify          excipients in
                                              thatexcipients
                                     verify that                     unapprovedOTC
                                                                 in unapproved        OTC lidocaine
                                                                                            lidocaine patches are
qualified
 qualified and
            and suitable.
                 suitable. AsAs a case
                                    case inin point,  Attachment 77 lists
                                               point, Attachment        lists the
                                                                                the inactive    ingredients for the
                                                                                     inactive ingredients
OTC    lidocainepatch
OTClidocaine                productsand
                   patchproducts        and surveys
                                               surveysthem
                                                         them against
                                                                 against FDA's
                                                                            FDA'sIIG       database. Of
                                                                                      IIGdatabase.       Of the   115
                                                                                                              the 115
               excipients used in these
formulation excipients                         products,45
                                      these products,     45 are
                                                               arenovel
                                                                    novel(i.e.,
                                                                            (i.e.,are
                                                                                   arenot     includedininFDNs
                                                                                        notincluded                IIG
                                                                                                            FDA'sIIG
Database)
 Database) and 38 are novelnovel toto topical/transdermal
                                       topical/transdermal drug drug delivery
                                                                       delivery systems or films.         Therefore,
                                                                                                  films. Therefore,
more          half of
        than half
more than           of the
                        theinactive                     manufacturers have
                                         ingredients manufacturers
                             inactiveingredients                             have selected
                                                                                     selected to     formulateOTC
                                                                                                 toformulate      OTC
lidocaine
lidocaine patches
            patches are novel
                           novel for
                                   for the             form and
                                              dosage form
                                        the dosage             andwarrant        safetyqualification
                                                                     warrantsafety       qualification viavia animal
                                                                                                               animal
toxicology studies.
toxicology    studies. At      minimum, dermal
                         At a minimum,         dermal toxicology
                                                        toxicology studies
                                                                      studies are      warranted, and
                                                                                  are warranted,             systemic
                                                                                                       and systemic
toxicology studies
toxicology   studies may
                      may bebe warranted
                                warranted unless data are                      confirming that
                                                                  available confirming
                                                             are available                    that the  excipient (or
                                                                                                   the excipient
components
components of            excipient) do not
                of the excipient)                present risk
                                            not present    risk of
                                                                 of systemic      exposure. Many
                                                                     systemic exposure.          Many of of the   OTC
                                                                                                             theOTC
lidocaine
lidocaine products
            products listed                         database have at least
                                       DailyMed database
                              in the DailyMed
                       listed in                                                       novel excipient
                                                                                  one novel
                                                                          least one             excipient identified
                                                                                                           identified
for the patch
         patch dosage
                dosage form.




  Berendt,R.
 Berendt,
63
53         R."How      ResolveCurrent
              "HowtotoResolve  CurrentChallenges      ANDAsininTransdermal
                                       ChallengesininANDAs      TransdermalDelivery
                                                                            DeliverySystems
                                                                                     Systems(TDS):
                                                                                             (TDS): Complex
                                                                                             (IDS): Complex
Generic Drug Product
             Product Development Workshop,"
                                  Workshop," Sep.
                                             Sep. 13, 2018.
      Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 160 of 210

Division of Dockets
Division of Dockets Management   (HFA-305)
                     Management (HFA-305)
December 28,28, 2018
Page 27



                         iv.      Are
                                  Are lidocaine
                                       lidocaine combination drug patch
                                                 combination drug patch products safe?
                                                                  patch products safe?

       The External
            External Analgesics
                       Analgesics TFM
                                   TFM allows      manufacturers
                                          allows manufacturers
                                                   manufacturers to      combine lidocaine
                                                                         combine
                                                                      to combine       lidocaine with
                                                                                      lidocaine     with other
                                                                                                    with other
active ingredients; however,
active ingredients;               manufacturers have
                      however, manufacturers                taken liberty
                                                     have taken     liberty in in addressing:
                                                                               in  addressing: acceptable
                                                                                   addressing:      acceptable
                                                                                                    acceptable
             of active ingredients
combination of          ingredients (i.e.,
                                     (i.e., lidocaine
                                            lidocaine in  combination with
                                                       in combination            other active
                                                                          with other      active ingredients);
                                                                                                  ingredients);
combining
cornbining with
           with active
                 active ingredients
                         ingredients that   are identified
                                     that are   identified as  Category III;
                                                           as Category    III; or exceeding
                                                                          III;     exceeding the     allowable
                                                                                                the allowable
product  strength for
product strength   for lidocaine   and/or combined
                         lidocaine and/or      combined active
                                                           active ingredient.
                                                                   ingredient.      Specific   examples are
                                                                                    Specific examples
                                                                   ingredient. Specific        examples    are
                                                                                                           are
provided below.

        Acceptable combination
        Acceptable  combinationof
                                of active ingredients:
                                   active ingredients: According to
                                          ingredients: According
                                                       According to   the 1983
                                                                  to the   1983  External
                                                                           1983 External
                                                                                 External
            TFM (Proposed
Analgesics TFM   (Proposed 21 21 C.F.R.
                                  C.F.R. §§ 348.20:  permitted combinations
                                            348.20: permitted    combinations of
                                                                 combinations       of external
                                                                                       external   analgesic
                                                                                        external analgesic
                                                                                                  analgesic
       ingredients), any
active ingredients), any active
                         active ingredient
                                 ingredientidentified       Proposed21
                                             identifiedininProposed
                                                            Proposed  21
                                                                     21   C.F.R.
                                                                       C.F.R.         348.10(a)(including
                                                                           C.F.R. §§§348.10(a)
                                                                                     348.1O(a)   (including
                                                                                                (including
                    combined with
lidocaine) may be combined     with an
                                     anactive
                                         activeingredient      21
                                                ingredientinin21
                                                               21C.F.R.       348.10(b)(benzyl
                                                                  C.F.R. §§§ 348.10(b)
                                                                  C.F.R.     348.10(b)    (benzyl   alcohol,
                                                                                          (benzyl alcohol,
camphor,    camphorated metacresol,
camphor, camphorated          metacresol, juniper
                                             juniper tar,  menthol, phenol,
                                                           menthol,
                                                      tar, menthol,                           sodium, and
                                                                                phenolate sodium,
                                                                      phenol, phenolate
                                                                                phenolate     sodium,   and
                                                                                                        and
resorcinol)
resorcinol) or           C.F.R. § §348.10(c)
                   21C.F.R.
               or 21                              (diphenhydramine      hydrochloride,
                                                                        hydrochloride,     tripelennamine
                                                                                          tripelennamine
                                      348.10(c)(diphenhydramine hydrochloride, tripelennamine
hydrochloride).
hydrochloride).ItIt isis further
                          further noted
                                    noted that   the TFM
                                           that the  TFM does not not allow
                                                                  not  allow for
                                                                       allow       combination of
                                                                              for combination
                                                                              for  combination    of active
                                                                                                  of  active
                                                                                                      active
ingredients listed
             listed in
                     in 21
                        21C.F.R.                 (including lidocaine)
                            C.F.R. §§ 348.10(a) (including              with active
                                                             lidocaine) with          ingredients listed
                                                                              active ingredients   listed inin
                                                                                                           in
21 CFR §§348.12
21 CFR    348.12(including
                 (includingcapsaicin
                            capsaicin and
                                      and methyl salicylate).
                                          methyl salicylate).


        The most common      combination for
                   common combination     for the
                                               theOTC   lidocaine patch
                                                   OTC lidocaine
                                                        lidocaine           products is
                                                                     patch products
                                                                            products   is lidocaine
                                                                                      is    lidocaine 4%
                                                                                           lidocaine     4%
                                                                                                        4%
with menthol 1%, 1%, which
                     which conforms                      ingredientcombinations
                                            permittedingredient
                                        the permitted
                           conforms to the               ingredient    combinationsper
                                                                       combinations   per21
                                                                                      per      21C.F.R.
                                                                                               21 C.F.R. §§
                                                                                                  C.F.R.
348.20 (i.e., although     the patch
              although not the               form, which
                                     dosage form,
                               patch dosage                is not
                                                    which is  not aa recognized
                                                                     recognized  dosage form
                                                                      recognized dosage       form by
                                                                                                    by the
                                                                                                       the
External
External Analgesic
          AnalgesicTFM).      Exceptionproduct
                      TFM). Exception              combinations
                                         product combinations        exist, however,
                                                   combinations exist,
                                                                     exist, however, including
                                                                            however,     including the
                                                                                         including      the
following:

-   LidoPro
    LidoPro Patch
            Patch (lidocaine
                   (lidocaine 4%,
                              4%, menthol     5%, methyl
                                    menthol 5%,            salicylate4%)
                                                           salicylate
                                                   methyl salicylate  4%)
                                                                      4%)
-       Medex Patch
    15t Medex
    1st        Patch (capsaicin
                      (capsaicin 0.0375%,   lidocaine 4%,
                                 0.0375%, lidocaine         menthol5%,
                                                        4%, menthol
                                                            menthol        methylsalicylate
                                                                      5%, methyl
                                                                      5%, methyl  salicylate20%)
                                                                                 salicylate  20%)
                                                                                            20%)
    Medi-Sulting
    Medi-SultingTopical
                   TopicalPain
                            Pain Relief
                                   Relief Patch
                                          Patch (capsaicin     0.035%, lidocaine
                                                   (capsaicin 0.035%,
                                                               0.035%,  lidocaine 0.5%,
                                                                        lidocaine  0.5%, menthol
                                                                                   0.5%,   menthol 5%,
                                                                                                    5%,
                                                                                                    5%,
    methyl salicylate 20%)
    methyl salicylate  20%)
               External Patch (trolarnine
    Permavan External           (trolamine salicylate
                                              salicylate 10%,   dextromethorphan hydrobromide
                                                         10%, dextromethorphan      hydrobromide4%,
                                                                                    hydrobromide    4%,
                                                                                                   4%,
    lidocaine 4%)
    lidocaine 4%)
    Velma Pain Relief  Patch (lidocaine 4%,
                Relief Patch            4%, menthol   2%, methyl
                                             menthol 2%,          salicylate2%)
                                                                 salicylate
                                                          methyl salicylate  2%)
                                                                            2%)
-   Zims
    Zims Max
          Max Freeze  Patch (menthol
               Freeze Patch            5%, lidocaine
                             (menthol 5%,            4%, methyl
                                           lidocaine 4%, methyl salicylate  0.04%)
                                                                salicylate 0.04%)

        None
        None ofof these products conform
                  these products    conform toto 21
                                                 21C.F.R.     348.20
                                                    C.F.R. §§ 348.20 in
                                                              348.20 in  that
                                                                      inthat   they combine
                                                                          that they                   than
                                                                                                more than
                                                                                      combine more
one  active ingredient with
one active              with lidocaine. In  some cases,
                                         In some           theproduct
                                                   cases, the
                                                          the  product  combines
                                                               productcombines       lidocaine with
                                                                                    lidocaine
                                                                        combineslidocaine      with active
                                                                                               with active
ingredients from 21   C.F.R. §§ 348.10(c)
                    21C.F.R.     348.10(c)(Permavan
                                            (Permavanwith      dextromethorphan
                                                         with dextromethorphan         hydrobromide, and
                                                               dextromethorphan hydrobromide,          and
the dextromethorphan     hydrobromide strength
    dextromethorphan hydrobromide          strength (4%)
                                                     (4%) exceeds   the monograph
                                                            exceeds the   monograph highest
                                                                         monograph       highest accepted
                                                                                                 accepted
strength  (2%)).  Permavan    also includes  trolamine  salicylate,
                                                        salicylate,
strength (2%)). Perrnavan also includes trolamine salicylate, which which   is designated
                                                                               designated   as
                                                                                            as a
                                                                                               a  Category
                                                                                                 Category
                                                                                               a Category
      Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 161 of 210

Division
Division of
         of Dockets
            Dockets Management  (HFA-305)
                    Management (HFA-305)
December 28, 2018
Page 28



III
Ill
IIIdrug
    drugin
         inthe
            the External
                  External Analgesics
                           AnalgesicsTFM.
                                      TFM.Except
                                             Exceptfor   Permavan,
                                                      forPermavan,    these
                                                          Permavan,these       products all
                                                                       these products        all include
                                                                                                  include methyl
                                                                                                           methyl
salicylate (i.e.,
salicylate (i.e., counterirritant from
                                  from 21
                                        21C.F.R.
                                            C.F.R. §§ 348.12),
                                                      348.12), which
                                                                whichis isisnot     permitted combination
                                                                             not aa permitted       combination
                                                                                                    combination
with  lidocaine. Capsaicin
with lidocaine.     Capsaicin (counterirritant          in 21
                                                listed in
                               (counterirritant listed         C.F.R. §§ 348.12)
                                                           21 C.F.R.
                                                               C.F.R.       348.12)
                                                                            348.12) isis   included
                                                                                       is included
                                                                                           includedin  in  the 15t
                                                                                                        in the 1'
                                                                                                               1"
Medex and Medi-Sulting,
              Medi-Sulting, which
                             whichisisagain
                                       againnot
                                             notaapermitted    combination with
                                                    permitted combination       with lidocaine.
                                                                                       lidocaine.

        Because
        Because lidocaine
                    lidocaineisis not   permitted to
                                   not permitted    to be   combinedwith
                                                        becombined
                                                           combined    withcounterirritant
                                                                      with                    active
                                                                            counterirritant active
                                                                            counterirritant   active
ingredients  in 21
ingredients in      C.F.R. §§ 348.12,
                21C.F.R.      348.12, LidoPro,
                                      LidoPro, 1st
                                               1st Medex,
                                                   Medex, Medi-Sulting, Velma, and
                                                          Medi-Sulting, Velma, and Zims
                                                                                   Zims all
                                                                                   Zims  all exceed
                                                                                             exceed
the allowable strength
the allowable   strength for
                          for menthol
                               menthol(1%).
                                       (1%).

        It
        It is
            is important
                important to note that that the
                                             thecombination
                                                 combinationof     lidocainewith
                                                                oflidocaine
                                                                   lidocaine    with other
                                                                                with  otheractive
                                                                                      other active   ingredientsin
                                                                                            activeingredients
                                                                                                     ingredients     in
                                                                                                                    in
         dosage form
a patch dosage       form may increase                       absorption in
                                  increase percutaneous absorption             ways that
                                                                           in ways
                                                                               ways   that were
                                                                                           were not
                                                                                                 not appreciated
                                                                                                        appreciated
when   the External
when the                    Analgesics TFM
              External Analgesics          TFMwaswaspromulgated          1983.
                                                      promulgatedinin1983.          Menthol, for
                                                                                   Menthol,
                                                                          1983. Menthol,      for example,
                                                                                              for   example, is
                                                                                                    example,      is aaa
                                                                                                                 is
vasodilator
vasodilator that that has     been shown
                        has been     shown to to enhance    lidocaine permeation
                                                  enhance lidocaine
                                                            lidocaine    permeation when
                                                                        permeation        when formulated as aaa
                                                                                         when   formulated
                                                                                                formulated      as
                                                                                                                as
          lidocaine-menthol mixture in vitro
eutectic lidocaine-menthol                                               permeation.64 Addition
                                                                   skin permeation.64
                                                 vitro models of skin                       Addition of
                                                                                            Addition     of menthol
                                                                                                        of  menthol
                                                                                                            menthol
    ethanol in
and ethanol      in a tetracaine
                       tetracaine gel                  also enhanced
                                          formulation also
                                     gel formulation        enhanced in
                                                            enhanced        vivo absorption
                                                                         in vivo
                                                                            vivo   absorption of       tetracaine.65
                                                                                                of aa tetracaine.65
                                                                                                       tetracaine.  65
      are several
There are    several lidocaine       combination patch
                         lidocaine combination      patch OTC    products on
                                                           OTC products           the market
                                                                             on the    market(see
                                                                                       market  (seeAppendix
                                                                                              (see    Appendix 1).
                                                                                                      Appendix      1).
While the combination
While         combination of lidocaine         with menthol is
                                   lidocaine with                 allowed in
                                                               is allowed
                                                                  allowed     in accordance    with the
                                                                                              with
                                                                                 accordance with
                                                                                 accordance            theExternal
                                                                                                       the  External
                                                                                                            External
Analgesics
AnalgesicsTFM,               potentialeffect
               TFM,itsitspotential      effecton
                                               onpercutaneous
                                                   percutaneous   absorption     of
                                                                                 of lidocaine
                                                                                    lidocaine
                                                                                    lidocaine  (and
                                                                                              (and     other
                                                                                                      other   drugs)
                                                                                                              drugs)
                                                                                                       other drugs)
          considered along with the other
was not considered                            other contributing    factors such
                                                                   factors
                                                    contributing factors     such as
                                                                             such       formulation components
                                                                                       formulation
                                                                                    as formulation     components
    occlusion of
and occlusion      of the
                       the patch products.


                             v.        What
                                       What is   the dermal
                                              is the         irritationand
                                                             irritation
                                                     dermal irritation  andsensitization  potentialof
                                                                                          potential
                                                                            sensitizationpotential
                                                                            sensitization           ofOTC
                                                                                                    of OTC
                                                                                                       OTC
                                       lidocaine
                                       lidocaine patches?
                                                  patches?


        Unlike creams,
        Unlike    creams, ointments,
                             ointments, and      lotions where
                                           and lotions                application site
                                                                      application
                                                            where application       site    reactions and
                                                                                     site reactions
                                                                                            reactions       and
                                                                                                            and
hypersensitivities can
hypersensitivities  can be
                         be visually
                            visuallyobserved
                                      observedwhen       they occur,
                                                 when they             patches are
                                                              occur, patches    are occlusive,
                                                                                     occlusive, and
                                                                                     occlusive,    and these
                                                                                                          these
         events are
adverse events   are not
                     notreadily
                          readily observed  until after
                                  observeduntil    afterpatch   removal(typically
                                                                removal
                                                         patchremoval                 labeled
                                                                                     labeled
                                                                          (typically labeled
                                                                          (typically            8-12
                                                                                               8-12     hours).
                                                                                                       hours).
The External Analgesics
              AnalgesicsTFMTFMdoes     notrequire
                                  doesnot  require label
                                                    label warning             dermal safety
                                                           warning against dermal
                                                                             dermal    safetyrisks
                                                                                       safety  risks specific
                                                                                              risks    specific
                                                                                                       specific
   patches or
to patches   or means
                means to tomitigate
                            mitigate the   risk(e.g.,
                                      therisk   (e.g.,periodic      observations). Because
                                                                   observations).
                                                        periodic observations).      Because      companies
                                                                                      Becausecompanies
                                                                                                  companies
marketing products
marketing   products under a monograph
                                monograph may      not deviate
                                             may not     deviate from
                                                        deviate   from the
                                                                  from       warnings
                                                                        thewarnings
                                                                        the  warnings inin the
                                                                                        in  therulemaking
                                                                                           the   rulemaking
                                                                                                 rulemaking
        formally directed by
(unless formally            by FDA),
                                FDA), these   OTC lidocaine
                                       these OTC     lidocainepatch
                                                               patch products    consequently lack
                                                                       products consequently         lack very
                                                                                                    lack   very
important                     warning language.
           product-specific warning
important product-specific             language. Some
                                                    SomeOTC     lidocaine patch
                                                           OTC lidocaine          manufacturers
                                                                                  manufacturers
                                                                            patch manufacturers         include
                                                                                                       include


64 Kang L,
64 Karig L, Jun
            Jun HW,
                HW, McCall
                    McCall JW.    "Physicochemical studies
                              JW. "Physicochemical
                                  "Physicochemical  studies  of
                                                     studies of lidocaine-menthol binary
                                                                lidocaine-menthol binary
                                                             of lidocaine-menthol        systems for
                                                                                  binary systems
                                                                                         systems  for enhanced
                                                                                                 for   enhanced
                                                                                                      enhanced
membrane transport." Int.
                     int. J.
                     Int. 1.              206(1-2):35-42.
                          i. Pharm. 2000; 206(1-2):35-42.

65Fang C,
  Fang  C, Liu
           Liu Y,
               Y,Ye
                  YeX,X,Rong
                         RongZX, Feng
                                 Feng
                               ZX, FengXM,
                                        XM,Jiang CB,CB,
                                              Jiang  Chen
                                                     Chen
                                                        Chen  "Synergistically
                                                          HZ.HZ.
                                                          HZ. "Synergistically enhanced
                                                                               enhanced
                                                                  "Synergistically        transdermal
                                                                                          transdermal
                                                                                   enhanced               permeation
                                                                                             transdermalpermeation     and
                                                                                                            permeation and
tooicai analgesia
topical analgesia of                              menthol and
                                      containing menthol
                                  gel containing
                   of tetracaine gel                       and ethanol
                                                                ethanolin
                                                               ethanol      experimentaland
                                                                           experimental
                                                                        inexperimental
                                                                        in                 andclinical
                                                                                           and             studies." Eur.
                                                                                                 clinical studies."
                                                                                                clinical  studies."  Eur. J.J.
                                                                                                                     Eur.
Pharm. Biopharm.
Pharm.                     68:735-40,
        Biapharm. 2008; 68:735-40.
       Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 162 of 210

Division
Division of
         of Dockets
            Dockets Management   (HFA-305)
                     Management {HFA-305)
December
December 28,28, 2018
      29
Page 29



dermal safety
       safety warnings
               warnings onon their
                              theirproduct     label—— using
                                    productlabel             varied wording
                                                       using varied
                                                             varied wording —
                                                                    wording —— not
                                                                               not  contemplated
                                                                                not contemplated by
                                                                                                 by
                                                                                    contemplated by
the TFM,
the TFM, and
          andthis
              thisisisanother
                       another reason
                                reason that
                                        that they may bebe misbranded.
                                                           misbranded.

         When FDAFDAdetermined
                       determined that             dosage forms
                                     that patch dosage                should be
                                                             forms should         excluded
                                                                               be excluded
                                                                               be  excluded fromfrom    the
                                                                                                 from the      External
                                                                                                         theExternal
                                                                                                                External
Analgesics TFM
Analgesics    TFMinin2003,
                       2003,part
                             partofofthethereasoning
                                            reasoningwas wasthat   there
                                                              that there   not sufficient
                                                                    there not   sufficient information
                                                                                             information on     on how
                                                                                                                    how
often to  check the
       to check   the application
                      application area for for erythema
                                                erythema to     preventblistering
                                                            to prevent
                                                                prevent    blistering and
                                                                           blistering   and what
                                                                                               what time
                                                                                              what    timeintervals
                                                                                                     time      intervals
                                                                                                              intervals
are recommended.
    recommended.The    Therisks
                           risks for
                                  for local  skin reactions and
                                       local skin              and the
                                                                     thedirections
                                                                     the               for safe
                                                                          directions for
                                                                                      for   safe use
                                                                                            safe         will
                                                                                                   usewill
                                                                                                   use         often be
                                                                                                        will often   be
specific to
specific  to the formulation.
                  formulation. Local
                                  Local tolerance
                                          tolerance is    typically aa function
                                                      is typically
                                                          typically     function of
                                                                        function    of the
                                                                                        theinactive
                                                                                        the   inactive ingredients
                                                                                             inactive     ingredients
                                                                                                          ingredients
involved
involved inin the
               the adhesive
                   adhesive formulation
                             formulation (versus
                                              (versusthethe drug   itself).
                                                             drug itself).    Separate from
                                                                    itself). Separate     from the
                                                                                          from     theformulation,
                                                                                                  the   formulation,
                                                                                                        formulation,
there is also potential
there is                 mechanical irritation associated with
               potential mechanical                              with    adhesion relative
                                                                  with adhesion     relative to toapplication
                                                                                                to  application and
                                                                                                    application     and
removal of    the product as aa function
          of the                function of of the
                                                the adhesive   strength.
                                                    adhesive strength.


        The need to
                 to study
                     study dermal irritation/sensitizationfor
                           dermal irritation/sensitization      eachformulation
                                                           for each
                                                               each  formulationwas
                                                                     formulation was highlighted
                                                                                 washighlighted
                                                                                     highlightedinin
                                                                                                 in
  recentFDA
a recent FDA Draft
              Draft Guidance     ANDAapplicants66:
                    Guidance for ANDA      applicants":


                  The components
                       components and     and composition
                                                composition of      of aa TDS    formulation, including
                                                                           TDS formulation,      including   the nature
                                                                                                 including the    nature of of
                       drug substance
                  the drug   substance and/orand/or the         degreetotowhich
                                                        thedegree
                                                               degree                  theTDS
                                                                                whichthe
                                                                               which   the   TDS materials
                                                                                             TDS   materials occlude
                                                                                                   materials   occlude the
                                                                                                               occlude    the
                  transmission of  of water
                                       water vapor
                                                vapor from
                                                         from the              in conjunction
                                                                        skin, in
                                                                  the skin,       conjunction withwith other
                                                                                                        other factors
                                                                                                               factors such
                                                                                                                        such
                                                                                                                       such
                  as the   environmental humidity
                      the environmental           humidity or      or the    condition of
                                                                             condition
                                                                       the condition      of   the skin,
                                                                                          of the     skin, may
                                                                                                    skin,  may have
                                                                                                           may    have the
                                                                                                                  have    the
                                                                                                                         the
                  potential       irritate the
                  potential to irritate      the skin
                                                   skin oror lead
                                                               lead to        sensitization reaction.
                                                                       to aa sensitization
                                                                              sensitization    reaction. Such
                                                                                              reaction.           reactions
                                                                                                           Such reactions
                                                                                                           Such   reactions
                  can
                  can bebe unpleasant
                            unpleasant to         thepatient
                                              to the     patientand    andmay        affectpatient
                                                                              mayaffect
                                                                                     affect              compliance, skin
                                                                                                        compliance,
                                                                                              patientcornpliance,
                                                                                              patient                    skin
                                                                                                                        skin
                  permeability,and/or
                  permeability,         and/oradhesion
                                                   adhesionofofthe              TDS
                                                                          the TDS
                                                                                TDSto to   the
                                                                                       to the     skin. The
                                                                                                 skin.
                                                                                           the skin.       Thecollective
                                                                                                           The    collective
                                                                                                                  collective
                  consequence
                  consequence of     of these      potential effects
                                          these potential                      could create
                                                                   effects could
                                                                               could   create uncertainty
                                                                                       create    uncertainty about
                                                                                                 uncertainty     about thethe
                  resulting drug
                             drug delivery        profileand
                                     deliveryprofile               uncertainty
                                                             anduncertainty
                                                                    uncertaintyaboutaboutthethe  rate and
                                                                                            the rate        extent of
                                                                                                       and extent   of drug
                                                                                                                        drug
                                                                                                                       drug
                                from the
                  absorption from        the TDS.      Therefore, applicants
                                               TDS. Therefore,                         should perform
                                                                         applicants should       perform aa comparative
                                                                                                              comparative
                                                                                                              comparative
                  assessment
                  assessment of of the
                                     theTT [test]
                                             [test] and         [reference]TDS
                                                                [reference]
                                                     andRR [reference]           TDS products
                                                                                 TDS  products using
                                                                                                  using an   appropriately
                                                                                                          an appropriately
                  designed
                  designed skin
                             skin I/S      [irritation and
                                      l/S [irritation              sensitization] study
                                                                   sensitization]
                                                           and sensitization]         study    with human
                                                                                      study with
                                                                                               with   human subjects
                                                                                                      human     subjects to
                                                                                                               subjects    to
                  demonstrate
                  demonstrate that that the
                                          thepotential
                                                potentialfor  foraaskin      irritationor
                                                                       skinirritation
                                                                             irritation  orsensitization
                                                                                         or  sensitizationreaction
                                                                                             sensitization   reactionwith
                                                                                                             reaction   with
                                                                                                                       with
                  the T TDS
                  the T  TDSisisnonoworse
                                       worsethan      the reaction
                                                than the    reaction observed
                                                                          observedwith withthe
                                                                                      with   theRRRTDS.
                                                                                             the    TDS.
                                                                                                    TDS.

         Because
         Because of        formulation-specific nature
                      the formulation-specific
                   of the                         nature ofof dermal
                                                               dermalsensitization
                                                                        sensitizationand
                                                                        sensitization   andirritation,
                                                                                       and   irritation,FDA
                                                                                             irritation,   FDA
                                                                                                           FDA
requires
requires each manufacturer of    of aa generic
                                       generic topical   delivery system
                                                topical delivery
                                                         delivery              characterize the
                                                                               characterize
                                                                    system to characterize
                                                                   system                      the irritation
                                                                                               the   irritation
                                                                                                    irritation
      sensitization potential
and sensitization   potential of
                               of the
                                  the product against
                                                 against the reference     product, even
                                                                           product,
                                                               reference product,    even though
                                                                                     even   though dermal
                                                                                            though     dermal
                                                                                                       dermal
irritation
irritation and   sensitization were
            and sensitization          well-characterized for
                               were well-characterized           the
                                                             for the  reference product
                                                                  the reference              containing the
                                                                                            containing
                                                                                  product containing        the
        active ingredient.
same active
same           ingredient. ForFor generic   products, this
                                  generic products,     this necessitates
                                                              necessitates      careful balance
                                                                                careful
                                                              necessitates aaa careful   balance between
                                                                                         balance     between
                                                                                                    between
            performance and
adhesion performance            sensitization/irritation  potential
                           and sensitization/irritation potential      while
                                                          potentialwhile     maintaining
                                                                             maintaining    bioequivalence
                                                                                            bioequivalence
                                                                      while maintaining bioequivalence

06       Guidance to
   Draft Guidance
56 Draft
66                  to Industry:
                        Industry: Assessing
                                  Assessing the   Irritation and
                                             the Irritation
                                                  Irritation  andSensitization
                                                              and Sensitization Potential
                                                                  Sensitization  Potentialof
                                                                                Potential     Transdermaland
                                                                                           ofTransderrnal
                                                                                           of Transdermal andTopical
                                                                                                          and Topical
                                                                                                              Topical
Delivery
Delivery Systems
         Systerns for ANDAs,
                      ANDAs,October
                               October 2018.  Available at:
                                       2018. Available    at:
https://www.fda.govidownloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM622672.pdf.
https://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM622672.pdf.
https://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInforrnation/Guldances/UCM622672.pdf.
         Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 163 of 210

Division of
Division of Dockets
            Dockets Management   (HFA-305)
                                 (HFA-305)
                     Management (HFA-305)
December
December 28,28, 2018
                2018
Page 30



and product strength.
              strength. ItItisisnot
                                notcurrently
                                    currently mandated,
                                               mandated,andandhighly
                                                                highly unlikely that
                                                                       unlikely that  manufacturers have
                                                                                that manufacturers     have
voluntarily
voluntarily undertaken
             undertaken studies
                            studies to ensure,    thatOTC
                                         ensure, that
                                                  that OTC lidocaine
                                                            lidocaine
                                                            lidocaine patch   products have
                                                                       patch products          adequately
                                                                                         have adequately
undergone    clinical/nonclinical dermal
undergone clinical/nonclinical       dermalsafety     evaluation/characterization.
                                               safetyevaluation/characterization.      There also
                                                      evaluation/characterization. There
                                                                                      There   also lacks
                                                                                                    lacks aa
                                                                                                   lacks
standard reference
standard    reference product
                         product or  or general
                                          general benchmark       against which
                                                    benchmark against
                                                                  against   which to
                                                                            which    to standardize
                                                                                         standardize the
                                                                                         standardize    the
                                                                                                        the
sensitization/irritation profiles
sensitization/irritation  profiles of
                                    of these
                                        these products.


                    c.      Risk
                            Riskof
                                 ofInadvertent
                                    Inadvertent Exposure


                            i.      How
                                    How much
                                          much residual
                                                residual drug remains
                                                         drug remains  in
                                                               remains in
                                                                        in used patches and
                                                                           used patches and what
                                                                                            what risk
                                                                                            what  risk
                                                                                                  risk
                                    does this pose?

       FDA
       FDAhas
            hasrecently
                recentlyexpressed  concern with
                         expressedconcern   withinadvertent
                                                 inadvertent exposures  to children
                                                             exposures to  children or
                                                                                     or pets
                                                                                        pets from
                                                                                              from
patch products and has encouraged
                        encouraged designing
                                    designingpatches  to
                                               patchesto  minimize
                                                       to minimize residual
                                                          minimizeresidual   drug
                                                                    residualdrug  after
                                                                              drugafter  use.67
                                                                                    afteruse.b7  In
                                                                                                 In
                                                                                          use.' In
FDA's2018
FDA's  2018Guidance
           Guidancefor
                     forIndustry  onadhesion,
                         Industryon  adhesion, the
                                               the Agency  notes:
                                                   Agency notes:
                                                           notes:


                   During
                   During the     product's labeled
                             the product's              wear period,
                                              labeled wear                 TDS is
                                                              period, aaa TDS
                                                                           TDS   is reasonably
                                                                                     reasonably expected
                                                                                    reasonably     expected to
                                                                                                  expected       to
                   encounter     torsional strains
                   encounter torsional                  arising from
                                              strains arising    from bodybody movements,
                                                                         body     movements, changes
                                                                                  movements,        changes in
                                                                                                   changes        in
                                                                                                                 in
                   environmental      temperature or
                   environmental temperature          or humidity   such
                                                         humidity such
                                                                    such asas  the daily
                                                                           as the         exposure to
                                                                                    daily exposure
                                                                                    daily exposure      to water
                                                                                                            water
                                                                                                           water
                   (e.g., during
                   (e.g.,  during routine   showering), and
                                   routine showering),      and contact
                                                                contact with     clothing, bedding
                                                                          with clothing,
                                                                                 clothing,  bedding or
                                                                                            bedding     or other
                                                                                                            other
                   surfaces. TDS
                   surfaces.   TDSproducts
                                     productsthat
                                                that do       maintain consistent
                                                              maintain
                                                      do not maintain    consistent and
                                                                         consistent    and uniform
                                                                                       and  uniform adhesion
                                                                                            uniform     adhesion
                                                                                                       adhesion
                          the skin
                   with the         during the labeled
                              skin during       labeled wear   periodcan
                                                               period
                                                         wear period    canexperience
                                                                        can  experience    varying degrees
                                                                              experiencevarying
                                                                                           varying   degrees of
                                                                                                     degrees     of
                                                                                                                of
                   TDSdetachment,
                   TDS                   includingcomplete
                          detachment, including     completedetachment,
                                                               detachment, at  at different
                                                                                  different times
                                                                                             times during
                                                                                                     during the
                                                                                                     during    the
                   product    wear. ...
                   product wear.     ... When    the potential
                                          When the     potential for   complete detachment
                                                                  for complete
                                                                       complete     detachment of
                                                                                    detachment      of the
                                                                                                    of   theTDS
                                                                                                        the   TDS
                                                                                                             TDS
                   increases,
                   increases, thethe risk
                                      risk of   unintentional exposure
                                            of unintentional                  of
                                                                 exposure ofthe   the   drug
                                                                                   the drug    product
                                                                                        drug product       to
                                                                                               product to an    an
                                                                                                                an
                   unintended recipient
                   unintended     recipient (e.g.,
                                              (e.g., aa household   member
                                                        household member
                                                                    member who         may be
                                                                                       may
                                                                                 who may             child) also
                                                                                             be aaa child)
                                                                                                     child)   also
                                                                                                             also
                   increases.68
                   increases."

         Residualdrug
         Residual  drugininlidocaine
                            lidocainepatches    thathave
                                       patchesthat        detached
                                                     havedetached   or patches that
                                                                    or patches
                                                          detached or             that are
                                                                                       are not  properly
                                                                                            not properly
                                                                                                properly
disposed
disposed after       use present
              after use     present a asignificant      safety concern
                                           significant safety
                                                        safety   concern relative
                                                                 concern     relative toto
                                                                             relative         accidental
                                                                                              accidental
                                                                                         toaccidental
exposure.    Lidoderm® 5%
exposure. Lidoderrn®      5%and     theassociated
                                andthe  associatedgenerics
                                                    genericshave
                                                             havebolded    text
                                                                   boldedtext    relative
                                                                            text relative  to the
                                                                                 relative to  the safety
                                                                                                   safety
risks of
risks of the
          the high
              high level
                   level of
                          of residual  drug remaining
                              residual drug  remainingininthe  product
                                                           the product
                                                               product after   use.69 For
                                                                        after use.69        prescription
                                                                                        Forprescription
                                                                                       For  prescription

   Guidance for
67 Guidance     Industry: Residual
            for Industry:          Drug in Transdermal
                          Residual Drug    Transdermal and
                                                       andRelated
                                                       and        DrugDelivery
                                                           RelatedDrug
                                                                  Drug Delivery Systems, August
                                                                       Delivery Systems, August 2011,
                                                                                                2011, available
                                                                                                      available
at:
https://www.fda.govidownloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM220796.pdf.
https://www.fda.govidownloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM220796.pdf.
https://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM220796.pdf.

69
68            for Industry:
   Guidance for
  Guidance         Industry: Assessing
                             Assessing Adhesion With Transdermal
                                       Adhesion With
                                                With  Transdermaland
                                                     Transdermal  andTopical
                                                                  and         Systemsfor
                                                                      TopicalSystems
                                                                      Topical Systems forANDAs,
                                                                                      for ANDAs, October
                                                                                          ANDAs, October 2018,
                                                                                                         2018,
                                                                                                         2018,
available at:
https://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM504157.pdf.
https://www.fda.govidownloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM504157.pdf.
https://www.fda ,govidownloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM504157.pdf.

69
69   Lidoderm`
     Lidoderm°
     Licioderm'Prescribing
               PrescribingInformation,
                           Information, November 2018.
                                        November 2018.
       Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 164 of 210

Division
Division of
         ofDockets
            Dockets Management  (HFA-305)
                    Management (HFA-305)
December 28, 2018
Page
Page 31
      31



products
products the   residual drug
           the residual          levels after
                          drug levels   after use are     determined and
                                                     are determined      and included
                                                                              included in     the labeling;
                                                                                          in the   labeling;
however,
however, the    External Analgesics
           the External   Analgesics TFM
                                       TFM isis silent
                                                silent on   this risk
                                                        on this        and rnany
                                                                  risk and  manyOTC OTC lidocaine     patch
                                                                                           lidocaine patch
products do
          do not
             not recognize   residual drug
                  recognize residual   drugrisks  or provide
                                            risks or  provide instructions
                                                               instructionsofofsafe
                                                                                safedisposa1.7°
                                                                                      disposal. 7Q This
                                                                                      disposal.7°   This is
                                                                                                         is a
particular concern
           concern for  OTC lidocaine
                    for OTC   lidocainepatch   products with a combination
                                         patch products           combination of of a higher
                                                                                      higher level of drug
and low
     low bioavailability.
         bioavailability.

                            ii.      Is
                                     Is the               OTC lidocaine
                                        the packaging for OTC   lidocainepatches
                                                                          patches safe?


         In
         In accordance with 16 C.F.R. C.F.R. §§ 1700.14(a)(23),
                                                 1700.14(a)(23),products         containingmore
                                                                    productscontaining              than 5 mg of
                                                                                              more than          of
lidocaine in
lidocaine    in aa single
                    single package
                            package (i.e.,
                                        (i.e., retail
                                               retail unit)  shall be packaged
                                                      unit) shall        packaged in       accordance with
                                                                                       in accordance     with the
provisions
provisions of of §§ 1700.15(a)
                     1700.15(a) and     (b) that require
                                  and (b)          require child-resistant
                                                            child-resistant packaging
                                                                                packaging to protect      children
                                                                                                 protect children
under      years of
under 5 years      of age
                       age from              personal injury
                            from serious personal       injury or
                                                               or serious
                                                                    serious illness
                                                                              illness resulting
                                                                                        resulting from
                                                                                                  from ingesting
                                                                                                         ingesting
lidocaine.
lidocaine. Some of the       OTC lidocaine
                        the OTC    lidocainepatch
                                                patchproducts
                                                       productslisted
                                                                 listedininthe
                                                                            theattached
                                                                                  attached table
                                                                                            table note
                                                                                                  note the use of
                                                                                                                of
resealable
resealable pouches,
              pouches, which
                           which pose      particular concerns
                                    pose particular      concerns about       child-resistance. Most
                                                                     about child-resistance.        Most of of the
products
products    do not   acknowledge or note the
                     acknowledge                the presence
                                                     presence of
                                                               of child-resistant      packaging. If
                                                                   child-resistant packaging.       If a drug
                                                                                                         drug and
its packaging
    packaging are        violation of applicable
                 are in violation       applicable regulations under the          Poison Prevention
                                                                            the Poison     Prevention Packaging
                                                                                                        Packaging
Act,
Act, that
      that drug isis misbranded
                     misbranded under
                                   under the Federal Food, Drug,Drug,and andCosmetic
                                                                              CosmeticAct.'Act.'


          5.
          5.        OTC
                    OTCLabeling
                        Labelingand
                                 andMonograph
                                    Monograph Compliance
                                              Compliance


         The foregoing discussion identifies several patch-specific labeling deficiencies
                                                                                        deficiencies burdening
the current
    current process
               process (e.g.,
                        (e.g., lack
                                lack of product-appropriate directions
                                                                   directions for how to apply
                                                                                            apply and remove
                                                                                                          remove
patches; monitoring
            monitoring for               dermal irritation;
                          for potential dermal                  lack of provisions
                                                   irritation; lack       provisions to                  residual
                                                                                       to warn about residual
drug in
      in the             lack of
          the product; lack    of provisions
                                   provisionstoto warn
                                                  warn about      the effects of heat or
                                                          about the                     or other
                                                                                           other conditions
                                                                                                  conditions of
use
use (e.g.,
    (e.g., exercise)
             exercise) on safety and efficacy).
                                         efficacy). As As discussed,
                                                           discussed, the
                                                                        the TFM
                                                                             TFM did
                                                                                  did not provide
                                                                                            provide for patch-
specific
specificlabeling
           labelingfor
                    forthese
                        theseproducts
                                 productsbecause
                                          because the the dosage
                                                           dosage form     wasnot
                                                                    form was    not contemplated
                                                                                    contemplated at  at the time
the TFM
    TFM was  was being
                  being promulgated.
                           promulgated. This This has lead
                                                         lead manufacturers
                                                               manufacturers to undergo
                                                                                      undergo some
                                                                                                 some level
                                                                                                         level of
                                                                                                               of
labeling
labeling contortions
            contortions to   attempt to
                          to attempt   toadapt     theirlidocaine
                                          adapttheir       lidocaineOTCOTC patch    productlabeling
                                                                            patchproduct      labeling to
                                                                                                        toTFM-
                                                                                                            TFM-
specific requirements.
specific  requirements.


        Even
        Even more
              more generally,
                      generally, thethe TFM
                                        TFMisis outdated
                                                  outdated with
                                                             with respect  to current
                                                                  respect to    current lidocaine
                                                                                         lidocaine safety
                                                                                                     safety
information that  may affect
             that may    affect the
                                the labeling
                                     labeling of
                                              of all
                                                 all lidocaine-containing
                                                     lidocaine-containing dosage forms.      For example,
                                                                                    forms. For
lidocaine prescription
lidocaine  prescription products
                           products areare labeled   with contraindications
                                           labeled with    contraindications to    patients with
                                                                                to patients  with known
                                                                                                    known
history
history of
         of sensitivity
            sensitivity to   local anesthetics
                         to local   anesthetics of        amide type.
                                                 of the amide    type. OTC
                                                                        OTC lidocaine
                                                                              lidocaine patch
                                                                                          patch products
                                                                                                  products
present       same risk
present the same      risk and    potentially the
                            and potentially    thesamesamedrug    exposureasasprescription
                                                            drugexposure                         lidocaine
                                                                                  prescriptionlidocaine


70            that attempt
7° Products that     attempttotovoluntarily
                                  voluntarily include
                                               include cautionary
                                                        cautionary language
                                                                    language run into separatecornpliance
                                                                                 into separate compliance considerations
                                                                                                          considerations
vis-a-vis restrictions
vis-a-vis  restrictions against  theTFM
                        against the  TFM labeling.

71 21U.S.C.
71 21
71    U.S.C. §§ 352(p).
                352(p).
      Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 165 of 210

Division
Division of
Division    Dockets
            Dockets Management
         of Dockets              (HFA-305)
                     Management (HFA-305)
December
December 28,28, 2018
                2018
Page
Page 32
      32



products. However,
             However, the
                        the monograph
                            monograph labeling
                                            labeling is without
                                                          without these contraindications. Other  Other labeling
                                                                                                         labeling
issues  that also
issues that    also should
                     shouldbe beconsidered
                                  consideredfor  forlidocaine-containing
                                                       lidocaine-containing OTC  OTC products
                                                                                        products include
                                                                                                    include risks
                                                                                                             risks
related
related toto methemoglobinernia;
              methemoglobinemia; pregnancy;
                                        pregnancy; lactation;
                                                         lactation; risks
                                                                      risks in pediatrics;
                                                                                pediatrics; and
                                                                                             and concomitant
                                                                                                     concomitant
medication
rnedication use.     OTC lidocaine
              use. OTC    lidocainepatch
                                      patch products
                                              products are are inconsistent
                                                                inconsistent inin the
                                                                                   the way
                                                                                       way they
                                                                                            they address
                                                                                                  address these
risks.
risks. It also is conceivable
                  conceivable that        risks could affect the conclusions
                                     the risks
                                that the                              conclusions of qualified
                                                                                       qualified experts
                                                                                                   experts about
safety      particular products,
safety of particular     products, and      whether and
                                     and whether         and how
                                                              how labeling
                                                                     labeling rnight
                                                                                might enable
                                                                                         enable consumers
                                                                                                  consumers to
understand andand manage
                    manage risks.
                             risks. At
                                     At the
                                         thesame
                                              sametime,
                                                      time,OTC
                                                             OTC lidocaine
                                                                   lidocaine patch manufacturers may not
broadly update
broadly   update oror modify
                       modify the safety
                                    safety warnings
                                              warnings of  of the
                                                              the product     (however well-intentioned)
                                                                    product (however       well-intentioned) as
they   may then
they may     then be beout
                        outofof   compliancewith
                               compliance        withthethe                AnalgesicsTFM
                                                                ExternalAnalgesics
                                                            External                     TFM and
                                                                                               and considered
                                                                                                      considered
misbranded.

        6.
        6.       Conclusions
                 Conclusions


       Percutaneous   drug delivery
       Percutaneous drug    delivery is complex,
                                        complex, and                 and technologies
                                                   and the science and                    have evolved
                                                                           technologies have   evolved
over the past —35 years since the  External Analgesics
                               the External Analgesics TFMTFMwaswasfirst
                                                                     first drafted. Scilex agrees with
                                                                           drafted. Scilex         with
FDA's
 FDA's2003    determinationthat
        2003determination     that patch  dosage forms
                                   patch dosage                  properly excluded
                                                     forms are properly      excluded from
                                                                                       from the
                                                                                              the final
                                                                                                   final
External
External Analgesics  OTCmonograph.
         AnalgesicsOTC     monograph.The     dosage form-specific
                                         Thedosage                    concernsraised
                                                       form-specificconcerns     raised were
                                                                                         were based
                                                                                              based on
sound regulatory science,
                  science, and understanding
                                understanding ofof the                  patch dosage
                                                         complexity of patch
                                                    the complexity              dosage forms       only
                                                                                        forms has only
increased in the 15 years since the TFM
             the 15                 TFM was    firstamended
                                          was first            to exclude
                                                     arnended to  exclude these
                                                                            these products.


       In
       In the meantime,
               meantime, innovation
                          innovation has
                                      has led
                                           led to    proliferationofoflidocaine
                                                toaaproliferation       lidocaineOTC              being
                                                                                    OTC patches being
introduced
introduced to the
               the market.
                    market. These
                             Theselidocaine
                                   lidocaine OTCOTC patch
                                                     patch products
                                                             products dodo not conform
                                                                                conform to        1983
                                                                                           to the 1983
TFM
TFMforfor external
          external analgesics.  Most significantly,
                    analgesics. Most  significantly, for
                                                       forreasons
                                                            reasonssetset forth
                                                                           forth in
                                                                                 in detail
                                                                                     detail herein,
                                                                                            herein, the
advancements
advancements in     technology present
                 in technology  present the      potential safety
                                         the potential              risks identified
                                                            safety risks    identified by
                                                                                        by FDA
                                                                                            FDA when
                                                                                                  when
designating the dosage
                dosage form as Category Ill
                                          III in 2003.


        How
        How lidocaine
                lidocaine OTCOTCpatchpatchproducts
                                             productsareare designed
                                                             designed and
                                                                        and formulated;
                                                                             formulated; the         degree of
                                                                                               the degree    of
occlusion;
occlusion;the the selection
                   selection of of adhesives
                                   adhesives andand penetration
                                                     penetration enhancers
                                                                  enhancers allall impact
                                                                                   impact the safetysafety and
                                                                                                           and
efficacy
efficacy of
          of the lidocaine
                  lidocaine OTC
                              OTC patch
                                     patch products.
                                            products. There
                                                       There are  numerous complex
                                                              are numerous    complex scientific
                                                                                          scientific issues to
consider        developing lidocaine
consider in developing                     OTC patch
                               lidocaine OTC             products, including
                                                 patch products,     including consistency
                                                                                 consistency of adhesion
                                                                                                      adhesion
characteristics,
characteristics, amount
                    amount of of residual
                                  residual drug
                                            drug after
                                                  after use,
                                                        use, effects
                                                             effects of heat/exercise, and potential
                                                                                                 potential for
dermal
dermal irritation/sensitization,
         irritation/sensitization,all  allof
                                           of which   necessitate aa thorough
                                              whichnecessitate       thorough review
                                                                                review of           safety and
                                                                                           of the safety   and
efficacy
efficacyofofeach
              each patch
                     patch formulation     priorto
                            formulationprior     tomarketing.
                                                    marketing.ItIt cannot
                                                                    cannot be
                                                                            be assumed
                                                                               assumed that that these safety
risks
risks are    not present
       are not      present withwiththethecurrent
                                             currentproducts
                                                       productsbased
                                                                  basedonon     their
                                                                            their        pharmacovigilance.
                                                                                   pharmacovigilance.
Post-marketing
Post-marketing surveillance
                    surveillancereports
                                    reports to
                                             to document
                                                document marketing
                                                            marketing experience,
                                                                        experience, adverse
                                                                                       adverse events, and
complaints,
complaints, while
               whileofofinterest,
                         interest,areareplagued
                                         plaguedby byunderreporting72   and are
                                                      underreporting' and    are not
                                                                                  not in
                                                                                       in and
                                                                                          and ofof themselves



  Food and
 Food
72      andDrug
              DrugAdministration,  Center for
                   Administration, Center       Drug Evaluation
                                           for Drug   Evaluation and Research,
                                                                     Research, Summary
                                                                               Summary Minutes
                                                                                        Minutes of the
                                                                                                of the
Nonprescription   Drugs     Advisory    Committee
                                        Comm ttee      (NDAC)     Meeting,    September  4-5,    2014.
      Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 166 of 210

Division of
Division of Dockets
            Dockets Management   (HFA-305)
                     Management (HFA-305)
December 28,28, 2018
                2018
Page 33



           evidence to
sufficient evidence to confirm
                        confirm the
                                 thesafety
                                     safetyand
                                            andefficacy  (letalone
                                                efficacy(let
                                                         (let aloneGRAS/E  status)of
                                                                    GRAS/E status)
                                                                           status) ofan
                                                                                   of anOTC
                                                                                      an OTC drug
                                                                                         OTC drug
product.
product. ItItisisreasonable
                   reasonable totoassume
                                   assumethat
                                            thatthere
                                                  therewill    be
                                                        willbebe  continuousadvancement
                                                                continuous     advancementofof
                                                                               advancement     ofOTC
                                                                                                   OTC
                                                                                                   OTC
lidocaine
lidocaine patch    technology that will
          patch technology           will consequently        increasingly
                                                              increasingly affect
                                          consequently and increasingly    affect the safety
                                                                           affect the  safety risks
                                                                                      safety   risks of
                                                                                              risks  of
                                                                                                     of
these products.

       Given
       Given the     widespread availability
                the widespread      availability of OTC    lidocaine
                                                     OTC lidocaine      patch
                                                            lidocainepatch      products,
                                                                         patch products,
                                                                                products, it it is   likely that
                                                                                                 is likely
                                                                                                     likely   that   the
                                                                                                               that the
average consumer may  may perceive these      products as
                                      these products         "safe," may
                                                         as "safe,"
                                                             "safe,"   may not
                                                                       may   not follow
                                                                             not  follow directions
                                                                                  follow   directions presented
                                                                                           directions       presented
                                                                                                            presented
on maximum
   maximum numbers
                numbers ofof patches       use or
                               patches to use   or how
                                                    how long to     leave products
                                                                to leave    products on;
                                                                                       on; bebe aware
                                                                                                 aware of    of proper
                                                                                                                proper
administration,
administration, removal,
                    removal,and and disposal
                                     disposalof ofthe
                                                    the product;
                                                         product; or      be properly
                                                                         be
                                                                      or be                warned of
                                                                              properly warned
                                                                                          warned        of potential
                                                                                                        of   potential
                                                                                                             potential
adverse  effects. Some
adverse effects.     Some manufacturers
                           manufacturers seem seem to to be
                                                         be aware
                                                              aware andandconcerned
                                                                       and   concerned of
                                                                             concerned      ofthese
                                                                                           of   theseissues
                                                                                               these      issueswith
                                                                                                         issues     with
                                                                                                                    with
emphasized labeling
              labeling on the
                            the administration,
                                  administration, removal,       disposal, and
                                                     removal, disposal,
                                                                 disposal,    and additional
                                                                             and   additional safety
                                                                                   additional     safety warnings
                                                                                                  safety     warnings
                                                                                                             warnings
on patch products;
          products; however,            attempt to
                       however, this attempt       to reconcile
                                                       reconcile thethe dosage
                                                                         dosage form
                                                                         dosage    form labeling
                                                                                   form    labeling to
                                                                                          labeling           the 1983
                                                                                                        to the     1983
                                                                                                                   1983
External
External Analgesics
           AnalgesicsTFM  TFMparadoxically
                                  paradoxically  places
                                                     places      product
                                                                   productout
                                                           thetheproduct      out   of
                                                                               out of   compliance with
                                                                                        compliance
                                                                                     of compliance           with the
                                                                                                             with    the
monograph
monograph making
               makingthemthemmisbranded.          Rather than
                                  misbranded. Rather         than continuing
                                                             than    continuing to
                                                                     continuing     to  allow the
                                                                                        allow
                                                                                    to allow      the number
                                                                                                  the    number of
                                                                                                         number        of
                                                                                                                       of
unproven   and risky
unproven and     risky OTC    lidocaine patch
                       OTC lidocaine            products to
                                         patch products     to proliferate,
                                                                proliferate,Scilex     asksFDA
                                                                               Scilex asks
                                                                                       asks   FDA
                                                                                              FDA to             itsfull
                                                                                                                its
                                                                                                           use its
                                                                                                      to use          full
                                                                                                                     full
regulatory
regulatory  and   enforcement      authorities
                                  authorities toto  ensure    that  only
                                                to ensure that only legallylegally  marketed
                                                                           legally marketed        lidocaine
                                                                                    marketed lidocaine
                                                                                                  lidocaine patch patch
                                                                                                                  patch
products  are available
products are   available to
                         to the
                             the American
                                  American public.
                                             public.



                                           C. ENVIRONMENTAL  IMPACT
                                                             IMPACT
                                              ENVIRONMENTAL IMPACT


       The actions  requested in
           actions requested   in this
                                   this Citizen
                                        Citizen Petition are subject
                                                Petition are          tothe
                                                             subject to
                                                                      to thecategorical
                                                                         the categoricalexclusion
                                                                             categorical exclusion
                                                                                         exclusion
under 21C.F.R.
under 21 C.F.R. § 25.31.



                                               D. ECONOMIC IMPACT
                                                  ECONOMIC IMPACT


      Scilex
      Scilexwill
             willprovide
                  provideinformation
                          informationon
                                      onthe
                                         theeconomic impact
                                             economicimpact of
                                                             ofthis
                                                      impactof      petition
                                                                thispetition at
                                                                     petitionat  the request
                                                                              at the         of
                                                                                             of
                                                                                     request of
the Commissioner of
the Commissioner     Food and
                  of Food     Drugs.
                          and Drugs.




https://wayback.archiveitorg/7993/20170404152726/https://www.fda.gov/downloads/AdvisoryCommittees/Co
https://wayback.archiveit.org/7993/20170404152726/https://www.fda.gov/downloads/AdvisoryCommittees/Co
mmitteesMeetingMaterials/Drugs/NonprescriptionDrugsAdvisoryCommittee/UCM4213O4.pdf.
mmitteesMeetingMaterials/Drugs/NonprescriptionDrugsAdvisoryCommittee/UCM4213O4.pdf.
rnmitteesMeetingMaterials/Drugs/NonprescriptionDrugsAdvisoryCommittee/UCM421304.pdf.
            Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 167 of 210




Division of         Management (HFA-305)
         of Dockets Management (FIFA-305)
December 28, 2018
Page 34
      34



                                             E.  CERTIFICATION
                                             E. CERTIFICATION


        The
        The undersigned
              undersignedcertifies,      that, to
                              certifies,that,           best knowledge
                                                to the best  knowledge and
                                                                         and belief of the
                                                                                         the undersigned,
                                                                                             undersigned,
this petition  includes all information
     petition includes      information andand views
                                                 views on which the petition   relies, and that
                                                                      petition relies,          it inciudes
                                                                                           that it  includes
representative data
representative     data and
                        and information
                              information known
                                             known to  to the petitioner
                                                              petitioner which
                                                                          which are unfavorable
                                                                                       unfavorable to to the
petition.



                                                          Sincerely,

                                                                         ))

                                                         Kip Vaught
                                                             Vought
                                                         Vice President, Global R&D
                                                         Scilex
                                                         Scilex Pharmaceuticals,
                                                                Pharmaceuticals, Inc.
                                                                                 Inc,
                                                         Telephone: 949.441.2270
                                                                     949.441.2270
                                                         Fax:
                                                         Fax: 949.916.3010
                                                               949,915.3010
                                                               949,916.3010
                                                         kvoug  ht@scilexpharma.com
                                                         kvought@scilexpharma.com
                                                         kvoughtPscilexpharma.com



Attachments
                               Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 168 of 210




                                                                      ATTACHMENT 1


                               NDC        Marketing                                                       mg
        Product                Code       Start Date     Strength         Administration               Lidocaine/    Patch Dimensions              Notes
                                                                                                         Patch
Absorbine Jr. Lidocaine      69693-414       2017      Lidocaine 4%   Duration not labeled                246          10 cm x 14 cm    Not labeled to keep from heat
                                                                      While number of patches is                                        exposure
                                                                      not labeled, it states do not
                                                                      use on a large area of body                                       Does not restrict use with
                                                                      with multiple patches,                                            other topical analgesic
                                                                      particularly over raw or                                          products
                                                                      blistered area
                                                                      3-4 patches daily
                                                                      Maximum 7 days
Aspercreme Lidocaine Patch   62168-0584      2016      Lidocaine 4%   NMT 12 hours                        246          10 cm x 14 cm
                                                                      NMT 1 patch at a time
                                                                      Number of patches daily not
                                                                      labeled, but states 1 patch/12
                                                                      hours
                                                                      Maximum 7 days
Aspercreme Lidocaine Patch   41167-0584      2016      Lidocaine 4%   NMT 12 hours                        246          10 cm x 14 cm
Odor Free                                                             NMT 1 patch at a time
                                                                      Number of patches daily not
                                                                      labeled, but states 1 patch/12
                                                                      hours
                                                                      Maximum 7 days
Aspercreme Lidocaine Patch   62168-0585      2017      Lidocaine 4%   NMT 12 hours                        411.4        12 cm x 20 cm
XL                                                                    NMT 1 patch at a time
                                                                      Number of patches daily not
                                                                      labeled, but states 1 patch/12
                                                                      hours
                                                                      Maximum 7 days
Aspercreme Lidocaine Patch   41167-0585      2017      Lidocaine 4%   NMT 12 hours                        422          12 cm x 20 cm
XL Odor Free                                                          NMT 1 patch at a time
                                                                      Number of patches daily not
                                                                      labeled, but states 1 patch/12
                                                                      hours
                                                                      Maximum 7 days
Assured Pain Relief          69159-100       2017      Lidocaine 4%   NMT 8 hours                        4000 in       10 cm x 14 cm
                                                                      NMT 1 patch at a time              100,000
                                                                      3-4 times daily
                                                                      Maximum 7 days
Avalin External Analgesic    33358-901       2015      Lidocaine 4%   NMT 8 hours                      40 in 1,000       Not labeled    Allows for administration to
Patch                                                  Menthol 1%     NMT 1 patch at a time                                             children    years
                                                                                                                                        children ≥2 years
                                                                      3-4 times dailyMaximum 5
                                                                      days                                                              Does not restrict exposure to
                                                                                                                                        heat

                                                                                   1
                                Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 169 of 210



                                NDC       Marketing                                                mg
         Product                Code      Start Date     Strength           Administration      Lidocaine/    Patch Dimensions                Notes
                                                                                                  Patch
                                                                                                                                   Does not restrict use with
                                                                                                                                   other topical analgesic
                                                                                                                                   products
Benepatch                     69418-002      2015      Lidocaine 4%     NMT 8 hours               4000 in         Not labeled      Does not restrict exposure to
                                                       Menthol 1%       NMT 1 patch at a time     100,000                          heat
                                                                        NMT 4 patches/day
                                                                        Maximum 5 days                                             Does not restrict use with
                                                                                                                                   other topical analgesic
                                                                                                                                   products
CareOne Maximum               60000-911      2017      Lidocaine 4%     NMT 12 hours              4000 in      10 cm x 13.97 cm
Strength Lidocaine Pain                                                 NMT 1 patch at a time     100,000
Relief Patch                                                            Maximum 7 days
Coralite Lidocaine Pain       65923-159      2017      Lidocaine 4%     NMT 12 hours               560           10 cm x 14 cm
Relief                                                                  NMT 1 patch at a time
                                                                        Maximum 7 days
Coralite Odor Free Pain       65923-149      2018      Lidocaine 4%     NMT 12 hours            40 in 1,000      10 cm x 14 cm
Relief Lidocaine Patch                                                  NMT 1 patch at a time
                                                                        Maximum 7 days
CVS Hot and Cold              66902-218      2017      Lidocaine 4%     NMT 12 hours                40           10 cm x 14 cm
                                                       Menthol 1%       NMT 1 patch at a time
                                                                        Maximum 7 days
CVS Pain Relief Patch         66902-203      2017      Lidocaine 4%     NMT 12 hours                40           10 cm x 14 cm
                                                                        NMT 1 patch at a time
                                                                        Maximum 7 days
Discount Drug Mark Pain       53943-911      2017      Lidocaine 4%     NMT 12 hours              4000 in      10 cm x 13.97 cm
Relief Patches                                                          NMT 1 patch at a time     100,000
                                                                        Maximum 7 days
Dollar General Pain           55910-912      2017      Lidocaine 4%     NMT 12 hours              4000 in        10 cm x 14 cm
Relieving Patch                                                         NMT 1 patch at a time     100,000
                                                                        Maximum 7 days
Elite Pain Relief Patch       69418-004      2015      Lidocaine 4%     NMT 8 hours               4000 in         Not labeled      Does not restrict use with
                                                       Allantoin 2%     NMT 1 patch at a time     100,000                          other topical analgesic
                                                       Petrolatum 30%   NMT 4 patches/daily                                        products
                                                                        Maximum 5 days
                                                                                                                                   Does not restrict exposure to
                                                                                                                                   heat
Endoxcin                      45861-006      2014      Lidocaine 4%     NMT 8 hours               4000 in       8.5 cm x 12.5 cm   Does not restrict use with
                                                       Menthol 1%       NMT 1 patch at a time     100,000                          other topical analgesic
                                                                        NMT 4 patches/daily                                        products
                                                                        Maximum 5 days
                                                                                                                                   Does not restrict exposure to
                                                                                                                                   heat
Family Wellness Pain Relief   55319-959      2018      Lidocaine 4%     NMT 12 hours            40 in 1,000       10 x 14 cm
                                                                                                                  10x
Lidocaine Patch                                                         1 patch at a time
                                                                        Maximum 7 days


                                                                                    2
                                Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 170 of 210



                                NDC        Marketing                                                     mg
        Product                 Code       Start Date     Strength          Administration            Lidocaine/    Patch Dimensions               Notes
                                                                                                        Patch
FirstDoc Cold and Hot Pain    70355-001       2015      Lidocaine 4%    Duration not labeled            4000 in         Not labeled     Product exceeds menthol
Relief Patch                                            Menthol 5%      1 patch at a time               100,000                         strength allowed by 21 CFR
                                                        Methyl          NMT 4 times/day                                                 348.10(b)
                                                        Salicylate 4%   Maximum 7 days
                                                                                                                                        Notes that package is not child
                                                                                                                                        resistant

                                                                                                                                        Does not restrict use with
                                                                                                                                        other topical analgesic
                                                                                                                                        products
Good Neighbor Pharmacy        46122-450       2017      Lidocaine 4%    NMT 12 hours                    4000 in      10 cm x 13.97 cm
Maximum Strength                                                        NMT 1 patch at a time           100,000
Lidocaine Pain Relief Patch                                             Maximum 7 days
Harris Teeter 4% Lidocaine    72036-911       2018      Lidocaine 4%    NMT 8 hours                     4000 in      10 cm x 13.97 cm
Pain Relief Patch                                                       NMT 1 patch at a time           100,000
                                                                        Maximum 7 days
Hot and Cold Lidocaine        71318-001       2017      Lidocaine 4%    NMT 12 hours                      40            Not labeled     Does not restrict use with
with Menthol Pain Relief                                Menthol 1%      NMT 1 patch at a time                                           other topical analgesic
Patch                                                                   NMT 1 patch/day                                                 products
                                                                        Maximum 7 days
Hot and Cold Lidocaine        69159-004       2017      Lidocaine 4%    NMT 12 hours                      40            Not labeled
with Menthol                                            Menthol 1%      NMT 1 patch at a time
                                                                        Maximum 7 days
Hot and Cold Lidocaine        76168-099       2017      Lidocaine 4%    NMT 12 hours                      40          10 cm x 14 cm     Does not restrict use with
with Menthol Pain Relief                                Menthol 1%      NMT 1 patch/daily                                               other topical analgesic
Patch                                                                   Maximum 7 days                                                  products
IcyHot Lidocaine Patch Plus   62168-1720      2017      Lidocaine 4%    NMT 12 hours                     240          10 cm x 14 cm
Menthol                                                 Menthol 1%      NMT 1 patch at a time
                                                                        NMT 2 patch/daily (implied)
                                                                        Maximum 7 days
IcyHot Lidocaine Patch Plus   41167-1720      2018      Lidocaine 4%    NMT 12 hours                     240          10 cm x 14 cm
Menthol                                                 Menthol 4%      NMT 1 patch at a time
                                                                        Maximum 7 days
LenzaPro Patch                70512-011       2018      Lidocaine 4%    Duration not labeled          40 in 1,000       Not labeled     Product exceeds menthol
                                                        Menthol 4%      NMT 1 patch at a time, but                                      strength allowed by 21 CFR
                                                                        does not restrict multiple                                      348.10(b)
                                                                        patches
                                                                        NMT 2 times/day                                                 Multiple patches/pouch (does
                                                                        Maximum patches/day not                                         not comply with child-
                                                                        labeled                                                         resistance requirements)
                                                                        Maximum 7 days
                                                                                                                                        Does not restrict use with
                                                                                                                                        other topical analgesic
                                                                                                                                        products




                                                                                    3
                             Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 171 of 210



                             NDC       Marketing                                                       mg
        Product              Code      Start Date     Strength         Administration               Lidocaine/     Patch Dimensions                      Notes
                                                                                                      Patch
                                                                                                                                              Does not restrict exposure to
                                                                                                                                              heat
LenzaPatch                 45861-017      2013      Lidocaine 4%   NMT 8 hours                        4000 in         8.5 cm x 12.5 cm        Does not restrict use with
                                                    Menthol 1%     NMT 1 patch at a time              100,000                                 other topical analgesic
                           63187-162                               NMT 4 patches/day                                     Not labeled
                                                                                                                                              products
                                                                   Maximum 5 days
                                                                                                                                              Does not restrict exposure to
                                                                                                                                              heat
LidAll Lidocaine Patch     64533-000      2013      Lidocaine 4%   Duration not labeled               4000 in         8.5 cm x 12.5 cm        Multiple patches/pouch (does
                                                    Menthol 1%     No restriction to number of        100,000                                 not comply with child-
                                                                   patches in a single                                                        resistance requirements)
                                                                   administration, but does state
                                                                   do not use on a large area of                                              Does not restrict use with
                                                                   body with multiple patches,                                                other topical analgesic
                                                                   particularly over raw or                                                   products
                                                                   blistered area
                                                                   NMT 3 applications/day                                                     Does not restrict exposure to
                                                                   Maximum 7 days                                                             heat
Lidenza Patch              69329-017      2013      Lidocaine 4%   NMT 8 hours                        4000 in             Not listed          Listed as an RX product, but
                                                    Menthol 1%     NMT 1 patch at a time              100,000                                 with no NDA reference (or
                                                                   NMT 4 patches/day                                                          identified in the Orange Book)
                                                                   Maximum 5 days                                                             and has an OTC type label
                                                                                                                                              (i.e., drug facts panel)

                                                                                                                                              Does not restrict use with
                                                                                                                                              other topical analgesic
                                                                                                                                              products

                                                                                                                                              Does not restrict exposure to
                                                                                                                                              heat
Lidocare Lidocaine (Arm,   69993-450      2016      Lidocaine 4%   8-12 hours                           11          3.175 cm x 15.24 cm
Neck, and Leg) Patch                                               No restriction to number of
Lidocare Lidocaine (Back   69993-400                               patches in a single                 4000          6.35 cm x 15.24 cm
and Shoulder) Patch                                                administration
                                                                   NMT 3 applications/day
                                                                   Maximum 7 days
Lido-Flex Shoulder Patch   69313-636      2014      Lidocaine 4%   8-12 hours                       25.3 in 0.24     Not labeled (various     Label notes that the packaging
Lido-Flex Elbow Patch      69313-633                               No restriction to number of      21.5 in 0.24   sizes and shape for each   is not child resistant
Lido-Flex Back Patch       69313-632                               patches in a single               29 in 0.24            product)
Lido-Flex Knee Patch       69313-635                               administration, but does say     25.8 in 0.24                              Does not restrict use with
Lido-Flex Heel Patch       69313-634                               not to apply excessive           22.7 in 0.24                              other topical analgesic
Lido-Flex Strip Double     69313-637                               quantity of patches within a     28.1 in 0.24                              products
Patch                                                              24 hour period
                                                                   NMT 3 applications/day
                                                                   Maximum 7 days



                                                                               4
                   Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 172 of 210



                   NDC       Marketing                                              mg
       Product     Code      Start Date     Strength            Administration   Lidocaine/       Patch Dimensions               Notes
                                                                                   Patch
Lidonexe         69329-002      2014      Lidocaine 4%      NMT 8 hours             4000 in           Not labeled    Does not restrict use with
                                          Menthol 1%        1 patch at a time       100,000                          other topical analgesic
                                                            NMT 4 patches/day                                        products
                                                            Maximum 5 days
                                                                                                                     Does not restrict exposure to
                                                                                                                     heat
LidoPatch        10882-528      2015      Lidocaine 3.6%    NMT 12 hours              505           10 cm x 14 cm    Product exceeds menthol
                                          Menthol 1.25%     NMT 1 patch/day                                          strength allowed by 21 CFR
                                                            Maximum 7 days                                           348.10(b)

                                                                                                                     Restricts to adult use only, but
                                                                                                                     does not identify excluded
                                                                                                                     pediatric age groups

                                                                                                                     Does not restrict use with
                                                                                                                     other topical analgesic
                                                                                                                     products

                                                                                                                     Does not warn against heat
                                                                                                                     exposure
LidoPatch        10882-527      2016      Lidocaine 3.6%    NMT 12 hours           0.36 or 40,      10 cm x 14 cm    Product exceeds menthol
                                          or 3.99%          NMT 1 patch/day      depending on                        strength allowed by 21 CFR
                                          depending on      Maximum 7 days         packaging                         348.10(b)
                                          packaging                              configurations
                 70267-001                configuration                               0.36                           Restricts to adult use only, but
                                          Menthol 1.25%                                                              does not identify excluded
                                                                                                                     pediatric age groups

                                                                                                                     Does not restrict use with
                                                                                                                     other topical analgesic
                                                                                                                     products
LidoPatch        50682-527      2012      Lidocaine 3.99%   NMT 12 hours              40            10 cm x 14 cm    Restricts to adult use only, but
                                          Menthol 1%        NMT 1 patch/daily                                        does not identify excluded
                                                            Maximum 7 days                                           pediatric age groups

                                                                                                                     Does not restrict use with
                                                                                                                     other topical analgesic
                                                                                                                     products
LidoPatch        10882-527      2012      Lidocaine 3.99%   NMT 12 hours              40            10 cm x 14 cm    Product exceeds menthol
                                          Menthol 1.25%     NMT 1 patch/daily                                        strength allowed by 21 CFR
                                                            Maximum 7 days                                           348.10(b)

                                                                                                                     Restricts to adult use only, but
                                                                                                                     does not identify excluded
                                                                                                                     pediatric age groups



                                                                       5
                               Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 173 of 210




                                                                      ATTACHMENT 1


                               NDC        Marketing                                                       mg
        Product                Code       Start Date     Strength         Administration               Lidocaine/    Patch Dimensions              Notes
                                                                                                         Patch
Absorbine Jr. Lidocaine      69693-414       2017      Lidocaine 4%   Duration not labeled                246          10 cm x 14 cm    Not labeled to keep from heat
                                                                      While number of patches is                                        exposure
                                                                      not labeled, it states do not
                                                                      use on a large area of body                                       Does not restrict use with
                                                                      with multiple patches,                                            other topical analgesic
                                                                      particularly over raw or                                          products
                                                                      blistered area
                                                                      3-4 patches daily
                                                                      Maximum 7 days
Aspercreme Lidocaine Patch   62168-0584      2016      Lidocaine 4%   NMT 12 hours                        246          10 cm x 14 cm
                                                                      NMT 1 patch at a time
                                                                      Number of patches daily not
                                                                      labeled, but states 1 patch/12
                                                                      hours
                                                                      Maximum 7 days
Aspercreme Lidocaine Patch   41167-0584      2016      Lidocaine 4%   NMT 12 hours                        246          10 cm x 14 cm
Odor Free                                                             NMT 1 patch at a time
                                                                      Number of patches daily not
                                                                      labeled, but states 1 patch/12
                                                                      hours
                                                                      Maximum 7 days
Aspercreme Lidocaine Patch   62168-0585      2017      Lidocaine 4%   NMT 12 hours                        411.4        12 cm x 20 cm
XL                                                                    NMT 1 patch at a time
                                                                      Number of patches daily not
                                                                      labeled, but states 1 patch/12
                                                                      hours
                                                                      Maximum 7 days
Aspercreme Lidocaine Patch   41167-0585      2017      Lidocaine 4%   NMT 12 hours                        422          12 cm x 20 cm
XL Odor Free                                                          NMT 1 patch at a time
                                                                      Number of patches daily not
                                                                      labeled, but states 1 patch/12
                                                                      hours
                                                                      Maximum 7 days
Assured Pain Relief          69159-100       2017      Lidocaine 4%   NMT 8 hours                        4000 in       10 cm x 14 cm
                                                                      NMT 1 patch at a time              100,000
                                                                      3-4 times daily
                                                                      Maximum 7 days
Avalin External Analgesic    33358-901       2015      Lidocaine 4%   NMT 8 hours                      40 in 1,000       Not labeled    Allows for administration to
Patch                                                  Menthol 1%     NMT 1 patch at a time                                             children    years
                                                                                                                                        children ≥2 years
                                                                      3-4 times dailyMaximum 5
                                                                      days                                                              Does not restrict exposure to
                                                                                                                                        heat

                                                                                   1
                                Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 174 of 210



                                NDC       Marketing                                                mg
         Product                Code      Start Date     Strength           Administration      Lidocaine/    Patch Dimensions                Notes
                                                                                                  Patch
                                                                                                                                   Does not restrict use with
                                                                                                                                   other topical analgesic
                                                                                                                                   products
Benepatch                     69418-002      2015      Lidocaine 4%     NMT 8 hours               4000 in         Not labeled      Does not restrict exposure to
                                                       Menthol 1%       NMT 1 patch at a time     100,000                          heat
                                                                        NMT 4 patches/day
                                                                        Maximum 5 days                                             Does not restrict use with
                                                                                                                                   other topical analgesic
                                                                                                                                   products
CareOne Maximum               60000-911      2017      Lidocaine 4%     NMT 12 hours              4000 in      10 cm x 13.97 cm
Strength Lidocaine Pain                                                 NMT 1 patch at a time     100,000
Relief Patch                                                            Maximum 7 days
Coralite Lidocaine Pain       65923-159      2017      Lidocaine 4%     NMT 12 hours               560           10 cm x 14 cm
Relief                                                                  NMT 1 patch at a time
                                                                        Maximum 7 days
Coralite Odor Free Pain       65923-149      2018      Lidocaine 4%     NMT 12 hours            40 in 1,000      10 cm x 14 cm
Relief Lidocaine Patch                                                  NMT 1 patch at a time
                                                                        Maximum 7 days
CVS Hot and Cold              66902-218      2017      Lidocaine 4%     NMT 12 hours                40           10 cm x 14 cm
                                                       Menthol 1%       NMT 1 patch at a time
                                                                        Maximum 7 days
CVS Pain Relief Patch         66902-203      2017      Lidocaine 4%     NMT 12 hours                40           10 cm x 14 cm
                                                                        NMT 1 patch at a time
                                                                        Maximum 7 days
Discount Drug Mark Pain       53943-911      2017      Lidocaine 4%     NMT 12 hours              4000 in      10 cm x 13.97 cm
Relief Patches                                                          NMT 1 patch at a time     100,000
                                                                        Maximum 7 days
Dollar General Pain           55910-912      2017      Lidocaine 4%     NMT 12 hours              4000 in        10 cm x 14 cm
Relieving Patch                                                         NMT 1 patch at a time     100,000
                                                                        Maximum 7 days
Elite Pain Relief Patch       69418-004      2015      Lidocaine 4%     NMT 8 hours               4000 in         Not labeled      Does not restrict use with
                                                       Allantoin 2%     NMT 1 patch at a time     100,000                          other topical analgesic
                                                       Petrolatum 30%   NMT 4 patches/daily                                        products
                                                                        Maximum 5 days
                                                                                                                                   Does not restrict exposure to
                                                                                                                                   heat
Endoxcin                      45861-006      2014      Lidocaine 4%     NMT 8 hours               4000 in       8.5 cm x 12.5 cm   Does not restrict use with
                                                       Menthol 1%       NMT 1 patch at a time     100,000                          other topical analgesic
                                                                        NMT 4 patches/daily                                        products
                                                                        Maximum 5 days
                                                                                                                                   Does not restrict exposure to
                                                                                                                                   heat
Family Wellness Pain Relief   55319-959      2018      Lidocaine 4%     NMT 12 hours            40 in 1,000       10 x 14 cm
                                                                                                                  10x
Lidocaine Patch                                                         1 patch at a time
                                                                        Maximum 7 days


                                                                                    2
                                Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 175 of 210



                                NDC        Marketing                                                     mg
        Product                 Code       Start Date     Strength          Administration            Lidocaine/    Patch Dimensions               Notes
                                                                                                        Patch
FirstDoc Cold and Hot Pain    70355-001       2015      Lidocaine 4%    Duration not labeled            4000 in         Not labeled     Product exceeds menthol
Relief Patch                                            Menthol 5%      1 patch at a time               100,000                         strength allowed by 21 CFR
                                                        Methyl          NMT 4 times/day                                                 348.10(b)
                                                        Salicylate 4%   Maximum 7 days
                                                                                                                                        Notes that package is not child
                                                                                                                                        resistant

                                                                                                                                        Does not restrict use with
                                                                                                                                        other topical analgesic
                                                                                                                                        products
Good Neighbor Pharmacy        46122-450       2017      Lidocaine 4%    NMT 12 hours                    4000 in      10 cm x 13.97 cm
Maximum Strength                                                        NMT 1 patch at a time           100,000
Lidocaine Pain Relief Patch                                             Maximum 7 days
Harris Teeter 4% Lidocaine    72036-911       2018      Lidocaine 4%    NMT 8 hours                     4000 in      10 cm x 13.97 cm
Pain Relief Patch                                                       NMT 1 patch at a time           100,000
                                                                        Maximum 7 days
Hot and Cold Lidocaine        71318-001       2017      Lidocaine 4%    NMT 12 hours                      40            Not labeled     Does not restrict use with
with Menthol Pain Relief                                Menthol 1%      NMT 1 patch at a time                                           other topical analgesic
Patch                                                                   NMT 1 patch/day                                                 products
                                                                        Maximum 7 days
Hot and Cold Lidocaine        69159-004       2017      Lidocaine 4%    NMT 12 hours                      40            Not labeled
with Menthol                                            Menthol 1%      NMT 1 patch at a time
                                                                        Maximum 7 days
Hot and Cold Lidocaine        76168-099       2017      Lidocaine 4%    NMT 12 hours                      40          10 cm x 14 cm     Does not restrict use with
with Menthol Pain Relief                                Menthol 1%      NMT 1 patch/daily                                               other topical analgesic
Patch                                                                   Maximum 7 days                                                  products
IcyHot Lidocaine Patch Plus   62168-1720      2017      Lidocaine 4%    NMT 12 hours                     240          10 cm x 14 cm
Menthol                                                 Menthol 1%      NMT 1 patch at a time
                                                                        NMT 2 patch/daily (implied)
                                                                        Maximum 7 days
IcyHot Lidocaine Patch Plus   41167-1720      2018      Lidocaine 4%    NMT 12 hours                     240          10 cm x 14 cm
Menthol                                                 Menthol 4%      NMT 1 patch at a time
                                                                        Maximum 7 days
LenzaPro Patch                70512-011       2018      Lidocaine 4%    Duration not labeled          40 in 1,000       Not labeled     Product exceeds menthol
                                                        Menthol 4%      NMT 1 patch at a time, but                                      strength allowed by 21 CFR
                                                                        does not restrict multiple                                      348.10(b)
                                                                        patches
                                                                        NMT 2 times/day                                                 Multiple patches/pouch (does
                                                                        Maximum patches/day not                                         not comply with child-
                                                                        labeled                                                         resistance requirements)
                                                                        Maximum 7 days
                                                                                                                                        Does not restrict use with
                                                                                                                                        other topical analgesic
                                                                                                                                        products




                                                                                    3
                             Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 176 of 210



                             NDC       Marketing                                                       mg
        Product              Code      Start Date     Strength         Administration               Lidocaine/     Patch Dimensions                      Notes
                                                                                                      Patch
                                                                                                                                              Does not restrict exposure to
                                                                                                                                              heat
LenzaPatch                 45861-017      2013      Lidocaine 4%   NMT 8 hours                        4000 in         8.5 cm x 12.5 cm        Does not restrict use with
                                                    Menthol 1%     NMT 1 patch at a time              100,000                                 other topical analgesic
                           63187-162                               NMT 4 patches/day                                     Not labeled
                                                                                                                                              products
                                                                   Maximum 5 days
                                                                                                                                              Does not restrict exposure to
                                                                                                                                              heat
LidAll Lidocaine Patch     64533-000      2013      Lidocaine 4%   Duration not labeled               4000 in         8.5 cm x 12.5 cm        Multiple patches/pouch (does
                                                    Menthol 1%     No restriction to number of        100,000                                 not comply with child-
                                                                   patches in a single                                                        resistance requirements)
                                                                   administration, but does state
                                                                   do not use on a large area of                                              Does not restrict use with
                                                                   body with multiple patches,                                                other topical analgesic
                                                                   particularly over raw or                                                   products
                                                                   blistered area
                                                                   NMT 3 applications/day                                                     Does not restrict exposure to
                                                                   Maximum 7 days                                                             heat
Lidenza Patch              69329-017      2013      Lidocaine 4%   NMT 8 hours                        4000 in             Not listed          Listed as an RX product, but
                                                    Menthol 1%     NMT 1 patch at a time              100,000                                 with no NDA reference (or
                                                                   NMT 4 patches/day                                                          identified in the Orange Book)
                                                                   Maximum 5 days                                                             and has an OTC type label
                                                                                                                                              (i.e., drug facts panel)

                                                                                                                                              Does not restrict use with
                                                                                                                                              other topical analgesic
                                                                                                                                              products

                                                                                                                                              Does not restrict exposure to
                                                                                                                                              heat
Lidocare Lidocaine (Arm,   69993-450      2016      Lidocaine 4%   8-12 hours                           11          3.175 cm x 15.24 cm
Neck, and Leg) Patch                                               No restriction to number of
Lidocare Lidocaine (Back   69993-400                               patches in a single                 4000          6.35 cm x 15.24 cm
and Shoulder) Patch                                                administration
                                                                   NMT 3 applications/day
                                                                   Maximum 7 days
Lido-Flex Shoulder Patch   69313-636      2014      Lidocaine 4%   8-12 hours                       25.3 in 0.24     Not labeled (various     Label notes that the packaging
Lido-Flex Elbow Patch      69313-633                               No restriction to number of      21.5 in 0.24   sizes and shape for each   is not child resistant
Lido-Flex Back Patch       69313-632                               patches in a single               29 in 0.24            product)
Lido-Flex Knee Patch       69313-635                               administration, but does say     25.8 in 0.24                              Does not restrict use with
Lido-Flex Heel Patch       69313-634                               not to apply excessive           22.7 in 0.24                              other topical analgesic
Lido-Flex Strip Double     69313-637                               quantity of patches within a     28.1 in 0.24                              products
Patch                                                              24 hour period
                                                                   NMT 3 applications/day
                                                                   Maximum 7 days



                                                                               4
                                Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 177 of 210



                                NDC       Marketing                                                     mg
        Product                 Code      Start Date     Strength         Administration             Lidocaine/   Patch Dimensions                  Notes
                                                                                                       Patch
                                                                                                                                        Does not restrict use with
                                                                                                                                        other topical analgesic
                                                                                                                                        products
LidoPlus Maximum              70372-724      2016      Lidocaine 4%   NMT 12 hours                      600       10.16 cm x 15.24 cm   Does not restrict use with
Strength Pain Relief Patch                             Menthol 1%     NMT 1 patch/daily                                                 other topical analgesic
Lidosport Pain Relief Patch   70372-725      2016                     Maximum 7 Days                                                    products
                                                                      Warns that should be
                                                                      discontinued if symptoms                                          Does not warn against heat
                                                                      clear and occur again within                                      exposure
                                                                      a few days
                                                                                                                                        Makes numerous label claims
                                                                                                                                        that are inconsistent with the
                                                                                                                                        TFM 21 CFR 348 monograph,
                                                                                                                                        including (under patient
                                                                                                                                        medical information):
                                                                                                                                        - States that studies support
                                                                                                                                           that the two active
                                                                                                                                           ingredients significantly
                                                                                                                                           reduce pain and
                                                                                                                                           inflammation.
                                                                                                                                        - Notes MOA of both drugs
                                                                                                                                           including lidocaine’s
                                                                                                                                                      lidocaine's ability
                                                                                                                                           to not just preventing pain
                                                                                                                                          signals from propagating to
                                                                                                                                           the brain, but by stopping
                                                                                                                                           them before they begin.
                                                                                                                                        - Menthol MOA improves
                                                                                                                                           efficacy over other topical
                                                                                                                                           applications due to its
                                                                                                                                           vasodilation properties.
                                                                                                                                        - Superior therapy to oral
                                                                                                                                           analgesics such as NSAIDs
                                                                                                                                           and opioids (due to safety)
                                                                                                                                        - Suggests that the product
                                                                                                                                           can be used in a multimodal
                                                                                                                                          pain treatment setting — –
                                                                                                                                           including chronic pain
                                                                                                                                           indications
                                                                                                                                        - States that the drugs only
                                                                                                                                           act locally and do not enter
                                                                                                                                           the bloodstream, but later
                                                                                                                                           notes that the drugs
                                                                                                                                          penetrate to deeper tissues
                                                                                                                                          (joints and muscles)
                                                                                                                                        - Lists several off-label
                                                                                                                                           indications that the product


                                                                                  6
                              Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 178 of 210



                              NDC        Marketing                                              mg
        Product               Code       Start Date     Strength           Administration    Lidocaine/        Patch Dimensions              Notes
                                                                                               Patch
                                                                                                                                     can be used: low back pain,
                                                                                                                                     dermal procedures, laser
                                                                                                                                     treatments, body hair
                                                                                                                                     removal, body art, cosmetic
                                                                                                                                     procedures, other
                                                                                                                                     conditions/procedures
                                                                                                                                     where topical anesthetics
                                                                                                                                     are medically necessary
LidoPro Patch               68788-9975      2015      Lidocaine 4%     8-12 hours            0.04 (units not       Not labeled    21 CFR 348.20 does not
                                                      Menthol 5%       1 patch at a time       provided)                          permit combination of
LidoPro Patch               53225-1023      2014      Methyl           NMT 2 patches/day        4 in 100                          lidocaine with active
                                                      salicylate 4%                                                               ingredients listed in 21 CFR
                                                                                                                                  348.12 (methyl salicylate)

                                                                                                                                  Product exceeds menthol
                                                                                                                                  strength allowed by 21 CFR
                                                                                                                                  348.10(b)

                                                                                                                                  Multiple patches/pouch (does
                                                                                                                                  not comply with child-
                                                                                                                                  resistance requirements)

                                                                                                                                  Does not restrict use with
                                                                                                                                  other topical analgesic
                                                                                                                                  products
Lidothal Relief Medicated   71437-463       2017      Lidocaine 4%     NMT 8 hours              4000 in            Not labeled    Does not warn against heat
Patch                       69561-463                 Menthol 1%       1 patch at a time        100,000                           exposure
                                                                       NMT 4 patches/day
                                                                       Maximum 5 days                                             Does not restrict use with
                                                                                                                                  other topical analgesic
                                                                                                                                  products
Lidothol Medicated Patch    68788-7405      2018      Lidocaine 4.5%   8-12 hours                4500              Not labeled    Listed as an RX product, but
                            53225-1025                Menthol 5%       1 patch at a time                                          with no NDA reference (or
                                                                       NMT 2 patches/daily                                        identified in the Orange Book)
                                                                                                                                  and has an OTC type label
                                                                                                                                  (i.e., drug facts panel)

                                                                                                                                  Exceeds lidocaine and
                                                                                                                                  menthol strengths allowed by
                                                                                                                                  21 CFR 348.10(a) and 21 CFR
                                                                                                                                  348.10(b) respectively

                                                                                                                                  Multiple patches/pouch (does
                                                                                                                                  not comply with child-
                                                                                                                                  resistance requirements)



                                                                                  7
                              Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 179 of 210



                              NDC        Marketing                                              mg
        Product               Code       Start Date     Strength         Administration      Lidocaine/    Patch Dimensions                Notes
                                                                                               Patch
                                                                                                                                Does not warn against heat
                                                                                                                                exposure

                                                                                                                                Product exceeds lidocaine
                                                                                                                                strength allowed by 21 CFR
                                                                                                                                348.10(a)
Lidozen Patch               63187-917       2017      Lidocaine 4%   NMT 8 hours              40 in 1000       Not labeled      Does not warn against heat
                                                      Menthol 1%     1 patch at a time                                          exposure
                            71574-400                                NMT 4 patches/day                       12.5 cm x 8.5 cm
                                                                     Maximum 5 days                                             Does not restrict use with
                                                                                                                                other topical analgesic
                                                                                                                                products
Limencin Patch              50488-1201      2014      Lidocaine 4%   Duration not labeled        40            Not labeled      Product exceeds menthol
                                                      Menthol 4%     1-2 patches daily                                          strength allowed by 21 CFR
                                                                     No maximum duration                                        348.10(b)

                                                                                                                                Multiple patches/pouch (does
                                                                                                                                not comply with child-
                                                                                                                                resistance requirements)

                                                                                                                                Does not restrict use with
                                                                                                                                other topical analgesic
                                                                                                                                products

                                                                                                                                Does not warn against heat
                                                                                                                                exposure

                                                                                                                                Makes significant label claims
                                                                                                                                similar to those made for
                                                                                                                                LidoPlus
Lorenza Pain Relief Patch   69379-014       2015      Lidocaine 4%   8 hours                   4000 in         Not labeled      Listed as an RX product, but
                                                      Menthol 1%     NMT 1 patch at a time     100,000                          with no NDA reference (or
                                                                     NMT 4 patches/day                                          identified in the Orange Book)
                                                                     Maximum 5 days                                             and has an OTC type label
                                                                                                                                (i.e., drug facts panel)

                                                                                                                                Does not restrict use with
                                                                                                                                other topical analgesic
                                                                                                                                products
Maximum Strength            76168-067       2017      Lidocaine 4%   NMT 12 hours                40           10 cm x 14 cm     Does not warn against heat
Lidocaine Patch                                                      NMT 1 patch at a time                                      exposure
                                                                     Maximum 7 days
Maximum Strength            71318-002       2017      Lidocaine 4%   NMT 12 hours                40            Not labeled
Lidocaine Patch                                                      NMT 1 patch at a time
                                                                     Maximum 7 days



                                                                                8
                              Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 180 of 210



                              NDC       Marketing                                                      mg
         Product              Code      Start Date     Strength           Administration            Lidocaine/     Patch Dimensions              Notes
                                                                                                      Patch
1Ptst Medex Patch with      72137-555      2018      Lidocaine 4%     Duration not labeled          Not provided       Not labeled    21 CFR 348.20 does not allow
Lidocaine 4%                72137-113                Capsaicin        1-2 patches daily               in mass                         for combination of lidocaine
                                                     0.0375%          No maximum duration                                             with counterirritants listed in
                                                     Menthol 5%                                                                       21 CFR 348.12 (capsaicin and
                                                     Methyl                                                                           methyl salicylate)
                                                     salicylate 20%
                                                                                                                                      Product exceeds menthol
                                                                                                                                      strength allowed by 21 CFR
                                                                                                                                      348.10(b)

                                                                                                                                      Multiple patches/pouch (does
                                                                                                                                      not comply with child-
                                                                                                                                      resistance requirements)

                                                                                                                                      Does not restrict use with
                                                                                                                                      other topical analgesic
                                                                                                                                      products

                                                                                                                                      Does not warn against heat
                                                                                                                                      exposure

                                                                                                                                      NDC 72137-113 is listed as an
                                                                                                                                      RX product, but with no NDA
                                                                                                                                      reference (or identified in the
                                                                                                                                      Orange Book) and has an
                                                                                                                                      OTC type label (i.e., drug
                                                                                                                                      facts panel)
Medi-Patch and Lidocaine    76074-153      2012      Lidocaine 0.5%   Duration lot listed               250            Not listed     Listed as an RX product, but
                            76074-163                Capsaicin        NMT 3 times a day                                               with no NDA reference (or
                                                     0.035%           Maximum 7 days                                                  identified in the Orange Book)
                                                     Menthol 5%                                                                       and has an OTC type label
                                                     Methyl                                                                           (i.e., drug facts panel)
                                                     salicylate 20%
                                                                                                                                      Product exceeds menthol
                                                                                                                                      strength allowed by 21 CFR
                                                                                                                                      348.10(b)

                                                                                                                                      Does not restrict use with
                                                                                                                                      other topical analgesic
                                                                                                                                      products
Medi-Sulting Topical Pain   63187-067      2012      Lidocaine 0.5%   Duration not labeled             500 in          Not labeled    21 CFR 348.20 does not allow
Relief                      76074-123                Capsaicin        Number of patches in single     100,000                         for combination of lidocaine
                                                     0.035%           administration not labeled                                      with counterirritants listed in
                                                     Menthol 5%       NMT 4 patches daily                                             21 CFR 348.12 (capsaicin and
                                                     Methyl           Maximum 7 days                                                  methyl salicylate)
                                                     salicylate 20%


                                                                                  9
                                Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 181 of 210



                                NDC        Marketing                                                      mg
        Product                 Code       Start Date     Strength           Administration            Lidocaine/    Patch Dimensions                Notes
                                                                                                         Patch
                                                                                                                                          Product exceeds menthol
                                                                                                                                          strength allowed by 21 CFR
                                                                                                                                          348.10(b)

                                                                                                                                          Does not restrict use with
                                                                                                                                          other topical analgesic
                                                                                                                                          products
Meijer Maximum Strength       41250-841       2018      Lidocaine 4%     NMT 12 hours                    4,000 in       10 cm x 14 cm
Lidocaine Patch Plus                                    Menthol 1%       NMT 1 patch at a time           100,000
Menthol                                                                  Maximum 7 days
Meijer Pain Relief Patches    41250-972       2017      Lidocaine 4%     NMT 12 hours                    4000 in      10 cm x 13.97 cm
                                                                         NMT 1 patch at a time           100,000
                                                                         Maximum 7 days
Mencaine                      53225-1090      2017      Lidocaine 4.5%   8-12 hours                     4.5 in 100       Not labeled      Product exceeds menthol
                                                        Menthol 5%       1 patch at a time                                                strength allowed by 21 CFR
                                                                         NMT 2 patches/day                                                348.10(b)

                                                                                                                                          Product exceeds lidocaine
                                                                                                                                          strength allowed by 21 CFR
                                                                                                                                          348.10(a)
MTX Topical Pain              69889-026       2016      Lidocaine 4%     NMT 8 hours                     4000 in       12.5 cm x 8.5 cm   Does not warn against heat
                                                        Menthol 1%       1 patch at a time               100,000                          exposure
                                                                         NMT 4 patches/day
                                                                         Maximum 5 days
Nulido Lidocaine Patch Plus   53149-2200      2018      Lidocaine 4%     NMT 12 hours                    4000 in        10 cm x 14 cm     Multiple patches/pouch (does
Menthol                                                 Menthol 1%       1 patch at a time               100,000                          not comply with child-
                                                                         Number of patches daily not                                      resistance requirements)
                                                                         labeled
                                                                         Maximum 7 days
Odourless Lidocaine Pain      69159-003       2017      Lidocaine 4%     NMT 12 hours                      40            Not labeled
Relieving Patch                                                          NMT 1 patch at a time
                                                                         Maximum 7 days
Odynia-R Regular              69647-001       2015      Lidocaine 4%     NMT 8 hours                     4000 in         Not labeled      Does not restrict use with
                                                        Menthol 1%       NMT 3 patches/day               100,000                          other topical analgesic
                                                                         Maximum 7 days                                                   products
Odynia-U Ultra Patch          69647-002       2015      Lidocaine 4 %    NMT 8 hours                     4000 in         Not labeled      Does not restrict use with
                              69647-003                 Capsicum 0.03    NMT 3 patches/day               100,000                          other topical analgesic
                                                        %                Maximum 7 days                                                   products
Pain Relief Patches                                     Lidocaine 4%     NMT 12 hours                    4,000 in     10 cm x 13.97 cm
                                                                         NMT 1 patch at a time           100,000
                                                                         Maximum 7 days




                                                                                    10
                               Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 182 of 210



                               NDC       Marketing                                                   mg
        Product                Code      Start Date     Strength            Administration        Lidocaine/     Patch Dimensions                 Notes
                                                                                                    Patch
Permavan External Patch      69379-010      2015      Lidocaine 4%      8 hours                     4000 in          Not labeled       Listed as an RX product, but
                                                      Trolamine         1 patch at a time           100,000                            with no NDA reference (or
                                                      salicylate 10%    Maximum 4 patches/daily                                        identified in the Orange Book)
                                                      Dextromethorph    Maximum use 5 days                                             and has an OTC type label
                                                      an                                                                               (i.e., drug facts panel)
                                                      hydrobromide
                                                      4%                                                                               21 CFR 348.20 does not
                                                                                                                                       permit the combination of
                                                                                                                                       lidocaine with antihistamines
                                                                                                                                       listed in 21 CFR 348.10©
                                                                                                                                       (dextromethorphan
                                                                                                                                       hydrobromide 4%)

                                                                                                                                       Product exceeds menthol
                                                                                                                                       strength allowed by 21 CFR
                                                                                                                                       348.10(b)

                                                                                                                                       Trolamine salicylate is listed
                                                                                                                                       as a Category III drug by the
                                                                                                                                       Panel and Agency in 21 CFR
                                                                                                                                       348.
Point Relief Lidospot        51452-727      2016      Lidocaine 4%      NMT 12 hours                4000 in      10.16 cm x 15.24 cm   Does not restrict use with
                                                      Menthol 1%        1 patch at a time           100,000                            other topical analgesic
                                                                        NMT 4 patches/day                                              products
                                                                        Maximum 5 days
                                                                                                                                       Does not warn against heat
                                                                                                                                       exposure
Point Relief Lidospot with   51452-912      2018      Lidocaine 4%      NMT 12 hours               4,000 ion       10 cm x 15 cm
Menthol                                               Menthol 1%        1 patch at a time           100,000
                                                                        Maximum 7 days
Premier Value Pain Relief    68016-066      2017      Lidocaine 4%      NMT 12 hours                4,000 in      10 cm x 13.97 cm
Patches                                                                 NMT 1 patch at a time       100,000
                                                                        Maximum 7 days
Premier Scar Patch           69512-020      2015      Lidocaine 4 %     NMT 8 hours                 5,000 in         Not labeled       Listed as an RX product, but
                                                      Allantoin 2 %     1 patch at a time           100,000                            with no NDA reference (or
                                                      Petrolatum 30 %   Maximum 5 days            (incorrectly                         identified in the Orange Book)
                                                                                                    labeled)                           and has an OTC type label
                                                                                                                                       (i.e., drug facts panel)

                                                                                                                                       Does not restrict use with
                                                                                                                                       other topical analgesic
                                                                                                                                       products

                                                                                                                                       Does not warn against heat
                                                                                                                                       exposure



                                                                                   11
                               Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 183 of 210



                               NDC        Marketing                                                        mg
        Product                Code       Start Date     Strength            Administration             Lidocaine/     Patch Dimensions                 Notes
                                                                                                          Patch
Pure-Aid Maximum             67510-0280      2018      Lidocaine 4%      2 patches for up to 24 hours       240           10 cm x 14 cm
Strength Lidocaine Patch                                                 NMT 1 patch at a time
                                                                         Maximum 7 days
Pure-Aid Maximum             67510-0284      2018      Lidocaine 4%      2 patches for up to 24 hours       240           10 cm x 14 cm
Strength Lidocaine Plus                                Menthol 1%        NMT 1 patch at a time
Menthol Patch                                                            Maximum 7 days
Quality Choice Pain Relief   63868-309       2017      Lidocaine 4%      NMT 12 hours                     4,000 in      10 cm x 13.97 cm
Patches                                                                  NMT 1 patch at a time            100,000
                                                                         Maximum 7 days
Re-Lieved Lidocaine Pain     71662-000       2017      Lidocaine 4%      NMT 12 hours                       18          7.62 cm x 15.24 cm
Patch                                                                    1 patch at a time (implied)
                                                                         1-2 patches daily
                                                                         Maximum 7 days
Releevia LM Patch            69329-032       2013      Lidocaine 4%      NMT 8 hours                      4000 in          Not labeled       Listed as an RX product, but
                                                       Menthol 1%        NMT 1 patch at a time            100,000                            with no NDA reference (or
                                                                         NMT 4 patches/day                                                   identified in the Orange Book)
                                                                         Maximum 5 days                                                      and has an OTC type label
                                                                                                                                             (i.e., drug facts panel)

                                                                                                                                             Does not restrict use with
                                                                                                                                             other topical analgesic
                                                                                                                                             products

                                                                                                                                             Does not warn against heat
                                                                                                                                             exposure
Remaxazon External Patch     69379-285       2015      Lidocaine 4%      NMT 8 hours                      4000 in          Not labeled       Listed as an RX product, but
                                                       Glucosamine       NMT 1 patch at a time            100,000                            with no NDA reference (or
                                                       5%                Maximum 5 days                                                      identified in the Orange Book)
                                                       Chondroitin                                                                           and has an OTC type label
                                                       Sulfate Sodium                                                                        (i.e., drug facts panel)
                                                       3%
                                                       Capsaicin                                                                             21 CFR 348.20 does not allow
                                                       0.0285%                                                                               for combination of lidocaine
                                                                                                                                             with counterirritants listed in
                                                                                                                                             21 CFR 348.12 (capsaicin)

                                                                                                                                             Does not restrict use with
                                                                                                                                             other topical analgesic
                                                                                                                                             products
Renuu Patch                  69329-012       2014      Allantoin 2 %     NMT 8 hours                      5,000 in         Not labeled       Listed as an RX product, but
                                                       Lidocaine 5 %     NMT 1 patch at a time            100,000                            with no NDA reference (or
                                                       Petrolatum 30 %   Maximum 7 days                 (Incorrectly                         identified in the Orange Book)
                                                                                                          labeled)                           and has an OTC type label
                                                                                                                                             (i.e., drug facts panel)




                                                                                     12
                               Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 184 of 210



                               NDC       Marketing                                                   mg
          Product              Code      Start Date     Strength            Administration        Lidocaine/    Patch Dimensions              Notes
                                                                                                    Patch
                                                                                                                                   Does not restrict use with
                                                                                                                                   other topical analgesic
                                                                                                                                   products

                                                                                                                                   Does not warn against heat
                                                                                                                                   exposure
Ricora                       69418-006      2015      Lidocaine 4%      NMT 8 hours                4 in 1,000       Not labeled    Listed as an RX product, but
                                                      Menthol 1%        NMT 1 patch at a time                                      with no NDA reference (or
                                                                        Maximum 5 days                                             identified in the Orange Book)
                                                                                                                                   and has an OTC type label
                                                                                                                                   (i.e., drug facts panel)

                                                                                                                                   Does not restrict use with
                                                                                                                                   other topical analgesic
                                                                                                                                   products

                                                                                                                                   Does not warn against heat
                                                                                                                                   exposure
Rite Aid Hot and Cold        76168-302      2017      Lidocaine 4%      NMT 12 hours                  40          10 cm x 14 cm    Does not restrict use with
Lidocaine with Menthol       76168-304                Menthol 1%        NMT 1 patch at a time                                      other topical analgesic
Pain Relief Patch                                                       NMT 1 patch/daily                                          products
                                                                        Maximum 7 days
Rite Aid Maximum Strength    76168-305      2017      Lidocaine 4%      NMT 12 hours                  40          10 cm x 14 cm    Does not warn against heat
Lidocaine Patch              76168-308                                  NMT 1 patch at a time                                      exposure
                                                                        Maximum 7 days
SalonPas Lidocaine 4% Pain   46581-830      2016      Lidocaine 4%      NMT 8 hours                   560         10 cm x 14 cm    Does not restrict use with
Relieving Gel-Patch                                                     1 patch at a time                                          other topical analgesic
                                                                        3-4 patches/day                                            products
                                                                        Maximum of 7 days
Scadexe                      69329-040      2015      Allantoin 2 %     NMT 8 hours                 4000 in         Not labeled    Does not restrict use with
                                                      Lidocaine 4 %     NMT 1 patch at a time       100,000                        other topical analgesic
                                                      Petrolatum 30 %   NMT 4 patches/day                                          products
                                                                        Maximum 7 days
                                                                                                                                   Does not warn against heat
                                                                                                                                   exposure
Silvera Pain Relief Patch    69379-037      2014      Lidocaine 1%      8 hours                     1000 in         Not labeled    Listed as an RX product, but
                                                      Menthol 5%        1 patch at a time           100,000                        with no NDA reference (or
                                                      Capsaicin         Maximum 4 patches/daily                                    identified in the Orange Book)
                                                      0.0375%           Maximum use 5 days                                         and has an OTC type label

                                                                                                                                   21 CFR 348.20 does not allow
                                                                                                                                   for combination of lidocaine
                                                                                                                                   with counterirritants listed in
                                                                                                                                   21 CFR 348.12 (capsaicin)




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                      Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 185 of 210



                      NDC       Marketing                                                  mg
          Product     Code      Start Date     Strength            Administration       Lidocaine/      Patch Dimensions              Notes
                                                                                          Patch
                                                                                                                           Product exceeds menthol
                                                                                                                           strength allowed by 21 CFR
                                                                                                                           348.10(b)

                                                                                                                           Does not restrict use with
                                                                                                                           other topical analgesic
                                                                                                                           products
Siterol             69440-007   2015         Lidocaine 3.99%   NMT 8 hours                3,990 in        12 cm x 7.6 cm   Listed as an RX product, but
                                             Menthol 1%        NMT 1 patch at a time      100,000                          with no NDA reference (or
                                                               NMT 4 patches/day                                           identified in the Orange Book)
                                                               Maximum 5 days                                              and has an OTC type label

                                                                                                                           Does not restrict use with
                                                                                                                           other topical analgesic
                                                                                                                           products

                                                                                                                           Does not warn against heat
                                                                                                                           exposure
Solmara             69833-011   2015         Lidocaine 4%      NMT 2 times/day             4000             Not listed     Product exceeds menthol
                                             Menthol 5%        Duration not listed                                         strength allowed by 21 CFR
                                                                                                                           348.10(b)

                                                                                                                           Multiple patches/pouch (does
                                                                                                                           not comply with child-
                                                                                                                           resistance requirements)

                                                                                                                           Does not restrict use with
                                                                                                                           other topical analgesic
                                                                                                                           products

                                                                                                                           Does not warn against heat
                                                                                                                           exposure
Soothee Patch       69592-001   2014         Lidocaine 0.5%    NMT 8 hours in 24 hour   0.5 in 10,000       Not listed     Listed as an RX product, but
                                             Menthol 5%        period                                                      with no NDA reference (or
                                             Capsaicin         NMT 4 patches/day                                           identified in the Orange Book)
                                             0.0375%           Apply NMT 3 times/day                                       and has an OTC type label
                                             Methyl
                                             Salicylate 2%                                                                 Product exceeds menthol
                                                                                                                           strength allowed by 21 CFR
                                                                                                                           348.10(b)

                                                                                                                           21 CFR 348.20 does not allow
                                                                                                                           for combination of lidocaine
                                                                                                                           with counterirritants listed in
                                                                                                                           21 CFR 348.12 (capsaicin)



                                                                           14
                                Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 186 of 210



                                NDC        Marketing                                                     mg
        Product                 Code       Start Date     Strength         Administration             Lidocaine/   Patch Dimensions                Notes
                                                                                                        Patch
                                                                                                                                        Multiple patches/pouch (does
                                                                                                                                        not comply with child-
                                                                                                                                        resistance requirements)

                                                                                                                                        Does not warn against heat
                                                                                                                                        exposure
Soundbody Lidocaine Patch     67510-0283      2018      Lidocaine 4%   NMT 12 hours                       240        10 cm x 14 cm
                                                                       2 patches for up to 24 hours
                                                                       Maximum 7 days
Soundbody Lidocaine with      67510-0636      2018      Lidocaine 4%   NMT 1 patch at a time              40         10 cm x 14 cm
Menthol Patch                                           Menthol 1%     2 patches for up to 24 hours
                                                                       Maximum 7 days
TDS Pharm Lidocaine           42912-0150      2017      Lidocaine 4%   1 patch at a time                  246       10.3 cm x 14.5 cm
Maximum Strength Patch                                                 NMT 12 hours
                                                                       Maximum 6 days
Terocin Lidocaine, Menthol    50090-3538      2013      Lidocaine 4%   Duration not labeled               600          Not labeled      Multiple patches are provided
Patch                         50488-1001                Menthol 4%     Number of patches in single                                      in the pouch (not compliant
                              55700-0048                               administration not labeled                                       with child resistance
                              68071-4593                               1 to 2 patches daily                                             requirements)
                              68788-9555                               Maximum use not labeled
                                                                                                                                        Product exceeds menthol
                                                                                                                                        strength allowed by 21 CFR
                                                                                                                                        348.10(b)

                                                                                                                                        Elaborate label that far
                                                                                                                                        exceeds 21 CFR 348 including
                                                                                                                                        suggestions of opioid sparing

                                                                                                                                        Does not restrict use with
                                                                                                                                        other topical analgesic
                                                                                                                                        products

                                                                                                                                        Does not warn against heat
                                                                                                                                        exposure
Thera Care Pain Therapy       71101-911       2018      Lidocaine 4%   NMT 8 hours                      4000 in      10 cm
                                                                                                                        cmxx 14 cm
                                                                       NMT 1 patch at a time            100,000
                                                                       Maximum 7 days
Topcare Pain Relief Patches   36800-156       2017      Lidocaine 4%   NMT 12 hours                     4,000 in     10 cm x 14 cm
                                                                       NMT 1 patch at a time            100,000
                                                                       Maximum 7 days
Ultimate Lidocaine Pain       69159-920       2016      Lidocaine 4%   8 hours                          4000 in        Not labeled
Relief Patch                                            Menthol 1%     Number of patches at a time      100,000
                                                                       not labeled
                                                                       Number of patches daily not
                                                                       labeled
                                                                       Maximum 7 days


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                             Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 187 of 210



                             NDC        Marketing                                                     mg
        Product              Code       Start Date     Strength           Administration           Lidocaine/    Patch Dimensions                Notes
                                                                                                     Patch
Velma Pain Relief Patch    69379-016       2014      Lidocaine 4%     8 hours                        4000 in         Not labeled      Listed as an RX product, but
                                                     Menthol 2%       1 patch at a time              100,000                          with no NDA reference (or
                                                     Methyl           Maximum 4 patches/daily                                         identified in the Orange Book)
                                                     salicylate 2%    Maximum use 5 days                                              and has an OTC type label

                                                                                                                                      21 CFR 348.20 does not allow
                                                                                                                                      for combination of lidocaine
                                                                                                                                      with counterirritants listed in
                                                                                                                                      21 CFR 348.12 (methyl
                                                                                                                                      salicylate)

                                                                                                                                      Product exceeds menthol
                                                                                                                                      strength allowed by 21 CFR
                                                                                                                                      348.10(b)

                                                                                                                                      Does not restrict use with
                                                                                                                                      other topical analgesic
                                                                                                                                      products
Venia Premium Pain Patch   69512-700       2015      Lidocaine 4%     NMT 2 applications per day     4 in 100         Not listed      Multiple patches are provided
                                                     Menthol 1%                                                                       in the pouch (not compliant
                                                                                                                                      with child resistance
                                                                                                                                      requirements)

                                                                                                                                      Does not restrict use with
                                                                                                                                      other topical analgesic
                                                                                                                                      products

                                                                                                                                      Does not warn against heat
                                                                                                                                      exposure
Vexa                       49430-053       2015      Lidocaine 4%     NMT 8 hours                       4          12.5 cm x 8.5 cm   Listed as an RX product, but
                                                     Allantoin 2%     NMT 4 patches/day                                               with no NDA reference (or
                                                     Petrolatum 30%                                                                   identified in the Orange Book)
                                                                                                                                      and has an OTC type label

                                                                                                                                      Does not warn against heat
                                                                                                                                      exposure
Viva Patch                 53225-1030      2016      Lidocaine 2.5%   8 —12
                                                                        – 12 hours                  2.5 in 100       Not labeled      Multiple patches are provided
                                                     Camphor 2%       NMT 2 patches/day                                               in the pouch (not compliant
                                                     Methyl           NMT 1 patch at a time                                           with child resistance
                                                     Salicylate 4%                                                                    requirements)

                                                                                                                                      Does not restrict use with
                                                                                                                                      other topical analgesic
                                                                                                                                      products




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                               Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 188 of 210



                               NDC       Marketing                                                        mg
        Product                Code      Start Date     Strength             Administration            Lidocaine/   Patch Dimensions                    Notes
                                                                                                         Patch
                                                                                                                                             Does not list inactive
                                                                                                                                             ingredients; only onion and
                                                                                                                                             alpha-tocopherol
Walgreens Maximum            0363-9110      2018      Lidocaine 4%       NMT 8 hours                     4,000 in       10 cm x 14 cm
Strength Pain Relief Patch                                               NMT 1 patch at a time           100,000
                                                                         Maximum 7 days
Zims Max Freeze              66902-213      2016      Lidocaine 4%       Duration not labeled              40        7.6 cm x 12.7 cm (M)
                                                      Menthol 1%         Number of patches in single                 10.2 cm x 14 cm (L)
                                                                         administration not labeled                 10.2 cm x 20.3 cm (XL)
                                                                         1 to 2 patches daily
                                                                         Maximum use 7 days
Zims Max Freeze Patch        66902-113      2016      Menthol 5%         Duration not labeled              40        7.6 cm x 12.7 cm (M)    21 CFR 348.20 does not allow
                                                      Lidocaine 4%       Number of patches in single                 10.2 cm x 14 cm (L)     for combination of lidocaine
                                                      Methyl             administration not labeled                 10.2 cm x 20.3 cm (XL)   with counterirritants listed in
                                                      salicylate 0.04%   1 to 2 patches daily                                                21 CFR 348.12 (methyl
                                                                         Maximum use not labeled                                             salicylate)

                                                                                                                                             Product exceeds menthol
                                                                                                                                             strength allowed by 21 CFR
                                                                                                                                             348.10(b)




                                                                                    17
Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 189 of 210




 EXHIBIT 17
Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 190 of 210



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                                                                          Amendment of Tentative Final
                                                                          Monograph; Notice of Proposed
                                                                          Rulemaking
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                                                                 No. 39
                                                                      39 // Tuesday,
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                                                                                                                                                           certain conditions
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                                                                                                                                                                                             met.
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 ExternalAnalgesic
External        AnalgesicDrug   DrugProducts
                                         Products for for     1980.
                                                                 1980.                                                              considered
                                                                                                                                     considered by     by anan OTC
                                                                                                                                                                 OTC drugdrug advisory
                                                                                                                                                                                advisory
 Over-the-CounterHuman
Over-the-Counter               HumanUse;   Use;                    In
                                                                    In the
                                                                         the advance
                                                                               advance noticenotice of ofproposed
                                                                                                           proposed                 review
                                                                                                                                     review panel
                                                                                                                                                panel and and either
                                                                                                                                                                 either been
                                                                                                                                                                           been
 Amendmentof
Amendment                  TentativeFinal
                       ofTentative        Final                rulemaking,
                                                                 rulemaking, the    the Panel
                                                                                          Panel recommended
                                                                                                   recommended
Monograph
 Monograph
                                                                                                                                    recommended
                                                                                                                                     recommended for       forOTCOTC marketing
                                                                                                                                                                          marketing by    by the
                                                                                                                                                                                              the
                                                                that
                                                                 that hydrocortisone
                                                                        hydrocortisone and       and hydrocortisone
                                                                                                       hydrocortisone               panel
                                                                                                                                     panel ororsubsequently
                                                                                                                                                  subsequently determined
                                                                                                                                                                        determined by     by
 AGENCY: Food
AGENCY:        Food and  and Drug     Administration, acetate
                               DrugAdministration,               acetate be   be categorized
                                                                                  categorized as     as safe
                                                                                                         safe andand                FDA
                                                                                                                                     FDA to to be
                                                                                                                                                be suitable
                                                                                                                                                      suitable for forOTCOTC marketing.
                                                                                                                                                                                marketing.
 NNS.
NNS.                                                           effective
                                                                 effective for  forantipruritic
                                                                                     antipruritic use  use at at                    Hydrocortisone
                                                                                                                                     Hydrocortisone at        at aa1-percent
                                                                                                                                                                     1-percent
 a c t io n : Notice
ACTIOPI:      Notice of       proposed rulemaking.
                          ofproposed        rulemaking.        concentrations
                                                                 concentrations of       of0.25
                                                                                             0.25 toto 0.5
                                                                                                        0.5 percent.
                                                                                                              percent. The  The     concentration
                                                                                                                                     concentration and     and above
                                                                                                                                                                  above was  was evaluated
                                                                                                                                                                                   evaluated
                                                               Panel
                                                                 Panel provided
                                                                           provided aa chart chart ofof the
                                                                                                         the controlled
                                                                                                                controlled          by
                                                                                                                                     by the
                                                                                                                                          the Panel
                                                                                                                                               Panel in  in its
                                                                                                                                                             its consideration
                                                                                                                                                                  consideration of      ofthe
                                                                                                                                                                                           the
                  The Food
 s u m m a r y :The
SUMMARY:                 Food andand Drug
                                        Drug                   studies
                                                                 studies that that demonstrated
                                                                                    demonstrated effectiveness
                                                                                                          effectiveness             prescription-to-OTC
                                                                                                                                     prescription-to-OTC switch      switch of  of
Administration
 Administration (FDA)     (FDA) is is issuing
                                       issuing aa notice
                                                    notice of    of topical
                                                                     topical hydrocortisone
                                                                                 hydrocortisone (44      (44 FRFR69768
                                                                                                                    69768at    at   hydrocortisone
                                                                                                                                     hydrocortisone preparations;
                                                                                                                                                             preparations; however,
                                                                                                                                                                                  however,
of                   rulemaking amending
     proposed rulemaking
 ofproposed                           amending the  the        69822)
                                                                 69822) and and noted
                                                                                   noted that
                                                                                            that aa1-percent
                                                                                                      1-percent                     the
                                                                                                                                     the Panel
                                                                                                                                           Panel recommended
                                                                                                                                                    recommended that       that the
                                                                                                                                                                                 the
tentative
 tentative finalfinal monograph
                         monograph (proposed
                                          (proposed            concentration
                                                                 concentration of      of hydrocortisone
                                                                                           hydrocortisone was       was             concentration
                                                                                                                                     concentration of      ofOTC
                                                                                                                                                               OTC drugdrug products
                                                                                                                                                                               products be   be
rule)    for over-the-counter
 rule) for     over-the-counter (OTC)    (OTC)                  used
                                                                 used in  in aa number
                                                                                number of    of these
                                                                                                 these studies.
                                                                                                          studies.                  limited
                                                                                                                                     limited to to 0.25
                                                                                                                                                     0.25 to
                                                                                                                                                           to 0.5
                                                                                                                                                               0.5 percent
                                                                                                                                                                     percent
external       analgesic drug
 external analgesic            drug products.
                                     products. ThisThis            The
                                                                    The agency's
                                                                            agency’s proposed
                                                                                          proposed regulation,
                                                                                                         regulation, in     in       hydrocortisone (44
                                                                                                                                    hydrocortisone           (44FR FR69768
                                                                                                                                                                        69768 at at 69813
                                                                                                                                                                                     69813 to to
                 rulemaking would
 proposed rulemaking
proposed                          would establish
                                             establish          the
                                                                 the form
                                                                       form of  ofaa tentative
                                                                                      tentative final
                                                                                                    final monograph,
                                                                                                             monograph,             69824).
                                                                                                                                     69824).
 conditions under
conditions                   which products
                   under which       products                  for    OTC external
                                                                 for OTC       external analgesic
                                                                                             analgesic drug drug                       IHydrocortisone
                                                                                                                                         fydrocortisone 11 percent  percent and and
 containing hydrocortisone
containing         hydrocortisone or      or its
                                              its               products
                                                                 products was   was published
                                                                                       published in   in the
                                                                                                           the Federal
                                                                                                                 Federal            hydrocortisone
                                                                Register                                                             hydrocortisone acetate  acetate equivalent
                                                                                                                                                                          equivalent to   to11
hydrocortisone
 hydrocortisone acetate              equivalent for
                          acetate equivalent         for         Register of   of February
                                                                                   February 8.      1983 (48
                                                                                                  8,1983     (48FR FR 5852).
                                                                                                                        5852).      percent
                                                               In                                                                    percent hydrocortisone
                                                                                                                                                 hydrocortisone were      were also
                                                                                                                                                                                  also
topical
 topical useuse in in concentrations
                        concentrations from   from 0.25
                                                    0.25         In that
                                                                     that tentative
                                                                             tentative final
                                                                                           final monograph,
                                                                                                   monograph, the      the          specifically
                                                               agency                                                                specifically considered
                                                                                                                                                        considered by     by the
                                                                                                                                                                              the
        percent are
 to11 percent
to                        generally recognized
                     are generally       recognized as   as      agency agreedagreed with
                                                                                        with thethe Panel
                                                                                                      Panel and and                 Dermatologic
                                                                tentatively                                                          Dermatologic Drugs   Drugs Advisory
                                                                                                                                                                     Advisory
safe
 safe andand effective
               effective and       not misbranded.
                              and not     misbranded.            tentatively concluded
                                                                                   concluded that  that                             Committee
 FDA is      issuing this
         is issuing      this notice
                               notice of of proposed
                                             proposed          hydrocortisone
                                                                 hydrocortisone and      and hydrocortisone
                                                                                                hydrocortisone                       Committee (the    (the Committee)
                                                                                                                                                              Committee) at     at its
                                                                                                                                                                                    its
FDA                                                                                                                                 meeting
rulemaking
 rulemaking after   after considering
                             considering aa citizen
                                                citizen        acetate
                                                                 acetate at   at concentrations
                                                                                 concentrations of       of0.25
                                                                                                              0.25 toto 0.5
                                                                                                                        0.5          meeting heldheld on  on November
                                                                                                                                                              November18,          1935 (Ref.
                                                                                                                                                                               18,1985      (Ref.
                                                                                                                                    2).
                                                                                                                                     2), but
                                                                                                                                         but the    Committee did
                                                                                                                                               the„Committee          did notnot
petition      [Docket No.
 petition [Docket                78N-0301/CP00005] percent
                           No. 78N-0301/CP00005]                 percent were were safe
                                                                                      safe andand effective
                                                                                                    effective for  for the
                                                                                                                         the        recommend
 that requested
that    requested OTC    OTC status
                                status forfor products
                                               products         proposed
                                                                 proposed OTC    OTC uses
                                                                                        uses and and that
                                                                                                       that thethe                  recommend OTC       OTC marketing
                                                                                                                                                                marketing statusstatus
                                                                                                                                    because
                                                                                                                                    because of    of concerns
                                                                                                                                                      concerns about about adverse
                                                                                                                                                                               adverse
containing        hydrocortisone above
 containing hydrocortisone                above 0.50.5          benefits
                                                                 benefits of   of OTC
                                                                                  OTC availability
                                                                                           availability outweigh
                                                                                                              outweigh              reactions
                                                                                                                                    reactions not   not being
                                                                                                                                                          being recognized
                                                                                                                                                                   recognized or     or
 percent up
percent       up to      percent. This
                   to11 percent.             proposal is
                                     This proposal        is   any
                                                                 any potential
                                                                        potential misuse
                                                                                      misuse that that may
                                                                                                         may occur
                                                                                                                 occur (48  (48     reported,
                                                                                                                                    reported, inappropriate
                                                                                                                                                   inappropriate promotion,
                                                                                                                                                                          promotion,
 part of
part        the ongoing
        of the                 review of
                  ongoing review          of OTC
                                              OTC drug
                                                     drug      FR
                                                                FR 5854).
                                                                      5854).
                                                                   Subsequently,                                                    credibility
                                                                                                                                     credibility of   of advertising,
                                                                                                                                                         advertising, and    and
                conducted by
 products conducted
products                        by FDA.
                                    FDA.                            Subsequently, the      the agency
                                                                                                 agency received
                                                                                                             received aa            appropriate
                                                                                                                                     appropriate labeling.
                                                                                                                                                        labeling.
 DATES: Written
DATES:                    comments, objections,
            W ritten comments,             objections, or  or citizen
                                                                citizen petition
                                                                             petition (Ref.
                                                                                         (Ref.1) 1) containing
                                                                                                     containing
                                                                                                                                       FDA
requests
 requests for  for oral     hearing on
                     oral hearing      on the
                                            the                additional
                                                                 additional safetysafety andand effectiveness
                                                                                                   effectiveness data    data           FDA concludes
                                                                                                                                                concludes that   that public
                                                                                                                                                                       public comments
                                                                                                                                                                                  comments
                                                               in
                                                                in  support
                                                                    support      of
                                                                                  of OTC
                                                                                     OTC     status
                                                                                              status   for
                                                                                                        for11 percent
                                                                                                                 percent            submitted
                                                                                                                                     submitted in    in response
                                                                                                                                                         response to    to the
                                                                                                                                                                            the proposed
                                                                                                                                                                                 proposed
                regulation
 proposed regulation before the
proposed                        before     the                                                                                      switch
 Commissioner of
Commissioner                 Food and
                         of Food    and Drugs
                                           Drugs byby          hydrocortisone
                                                                hydrocortisone and       and hydrocortisone
                                                                                                hydrocortisone                       switch in in status
                                                                                                                                                   status should
                                                                                                                                                              should be  be evaluated
                                                                                                                                                                              evaluated
                                                               acetate
                                                                acetate equivalent
                                                                              equivalent to    to11 percent
                                                                                                     percent                        before
                                                                                                                                    before aa final
                                                                                                                                                  final agency
                                                                                                                                                          agency decision
                                                                                                                                                                      decision on  on OTC
                                                                                                                                                                                        OTC
 April 30,
April     30,1990.       W ritten comments
              1990. Written        comments on     on the
                                                       the                                                                          status
               economic impact
 agency’s economic
agency's                                  determination hydrocortisone.
                               impact determination             hydrocortisone. FDA       FDA has has evaluated
                                                                                                        evaluated                    status isis made
                                                                                                                                                  made and  and before
                                                                                                                                                                   before OTC OTC
                                                                these
                                                                these data data and,
                                                                                  and, inin this
                                                                                              this amendment
                                                                                                    amendment to        to the      marketing
                                                                                                                                    marketing begins.begins. Therefore,
                                                                                                                                                                 Therefore,
 by April
by   April 30.      1990.
               30,1990.                                                                                                             hydrocortisone
                                                                tentative
                                                                tentative      final
                                                                                final  monograph,
                                                                                       monograph,         is
                                                                                                           is stating
                                                                                                               stating    its
                                                                                                                           its      hydrocortisone above     above 0.5 0.5 percent
                                                                                                                                                                             percent up  up to
                                                                                                                                                                                             to 11
 ADDRESSES: Written
ADDRESSES:           W ritten comments,
                                 comments,                                                                                          percent
                                                                                                                                    percent and  and hydrocortisone
                                                                                                                                                        hydrocortisone acetate  acetate
                                                               position
                                                                position on    on hydrocortisone
                                                                                   hydrocortisone 11 percent  percent
objections,
 objections, or    or requests
                        requests for      oral hearing
                                    for oral    hearing                                                                             equivalent
                                                                                                                                    equivalent to         above 0.5
                                                                                                                                                      to above      0.5 percent
                                                                                                                                                                         percent up  up toto 11
                                                               and
                                                                and hydrocortisone
                                                                        hydrocortisone acetate  acetate equivalent
                                                                                                            equivalent
to the Dockets           Management Branch
           Dockets Management               Branch              to 11 percent                                                       percent
                                                                                                                                    percent hydrocortisone do             do not
                                                                                                                                                                              not qualify
                                                                                                                                                                                   qualify
                                                                to     percent      hydrocortisone
                                                                                    hydrocortisone          for
                                                                                                            for OTC
                                                                                                                  OTC use. use.
 (HFA-305), Food
(HFA-305).          Food and and Drug
                                  Drug                                                                                              for
                                                                                                                                    for early
                                                                                                                                          early OTCOTC marketing
                                                                                                                                                           marketing under under the the
                                                               Final
                                                                Final agency
                                                                          agency action
                                                                                     action on  on this matter
                                                                                                            matter willwill
Administration,
 Administration, Rm.             4-62, 5600
                           Rm. 4-62,     5600 Fishers
                                                Fishers        occur                                                                terms of of the
                                                                                                                                                  the enforcement
                                                                                                                                                        enforcement policy  policy setset out
                                                                                                                                                                                           out
Lane, Rockville,
          Rockville, MD    MD 20857.
                                 20857.                         occur with with the publication
                                                                                        publication at    at aa future
                                                                                                                  future
                                                               data
                                                                data of  of aa final
                                                                                final monograph,
                                                                                       monograph, which   which will  will be be    in
                                                                                                                                    in §§ 330.13.
                                                                                                                                           330.13. Until
                                                                                                                                                       Until the
                                                                                                                                                               the comments
                                                                                                                                                                     comments to     to this
 FOR FURTHER
FOR                   INFORMATION
        FURTHER INFORMATION CONTACT:       CONTACT:            aa final                                                             proposal
                                                                                                                                    proposal are   are reviewed, hydrocortisone
                                                                   final rule
                                                                            rule establishing
                                                                                   establishing aa monograph
                                                                                                         monograph for        for
 William E.
William       E. Gilbertson.
                  Gilbertson, Center
                                   Center for  for Drug
                                                   Drug        OTC
                                                                OTC external analgesic analgesic drug drug products.                above
                                                                                                                                    above 0.5 0.5 percent
                                                                                                                                                    percent up   up to 11 percent
                                                                                                                                                                            percent and and
Evaluation
 Evaluation and           Research (HFD-210),
                   and Research         (HFD-210),                 Although
                                                                   Although the          agency is proposing in
                                                                                   the agency                             in        hydrocortisone acetate   acetate equivalent
                                                                                                                                                                         equivalent to
Food and        Drug Administration,
          and Drug       Administration, 5600    5600           this amendment
                                                                       amendment to the tentative final            final            above
                                                                                                                                    above 0.5 0.5 percent up to 11 percent
Fishers Lane.Lane, Rockville,
                       Rockville, MD MD 20857,
                                            20857, 301-
                                                     301-      monograph
                                                                monograph to       to switch
                                                                                       switch hydrocortisone at             at      hydrocortisone remain prescription
 295-8000.
295-8000.                                                      aa concentration
                                                                   concentration above    above 0.5 0.5 percent
                                                                                                         percent up to       to     drugs
                                                                                                                                    drugs subject
                                                                                                                                             subject to the   the terms
                                                                                                                                                                    terms andand
 SUPPLEMENTARY INFORMATION:
SUPPLEMENTARY               INFORMATION: In     In the        11 percent
                                                                   percent and  and hydrocortisone acetate      acetate             conditions
                                                                                                                                    conditions specified
                                                                                                                                                      specified in their approved
                                                                                                                                                                                approved
Federal Register
             Register of   of December
                               December 4,       1979 (44
                                               4,1979   (44 equivalent
                                                                equivalent to above   above 0.5 0.5 percent
                                                                                                     percent up to 11               applications.
                                                                                                                                    applications.
FR 69768),
FR   69768), FDA  FDA published, under                         percent hydrocortisone from           from their                        The agency
                                                                                                                                              agency advises
                                                                                                                                                          advises that that the
§§ 330.10(a)(6)
   330.10(a)(6) (21         CFR 330.10(a)(6)),
                       (21 CFR    330.10(a)(6)), an            present
                                                                present statusstatus asas prescription
                                                                                            prescription drugs, drags,              conditions under which the drug            drug
advance
 advance notice of        of proposed rulemaking               currently
                                                                currently subject
                                                                                subject to an   an approved
                                                                                                    approved new                    products that are     are subject
                                                                                                                                                                subject to this
to establish a monograph for OTC             OTC               drug
                                                                drug application,
                                                                        application, to OTC     OTC status,
                                                                                                        status, OTCOTC              monograph
                                                                                                                                    monograph would be generally
               analgesic drug products,
external analgesic                                             marketing may not begin at this time. In                             recognized as     as safe
                                                                                                                                                          safe andand effective
                                                                                                                                                                         effective andand not
together with the recommendations of                  of       the Federal
                                                                      Federal Register
                                                                                   Register of   of June 3,     1983 (48
                                                                                                            3,1983                  misbranded (monograph
                                                                                                                                                        (monograph conditions) will
the Advisory Review Panel on OTC                              FRFR 24925),
                                                                      24925), FDAFDA explained the                                  be effective 12    12 months after the date of           of
Topical Analgesic, Antirheumatic, Otic,
Topical                                                        enforcement policy for drugs that were                               publication of     of the final monograph in the
                  Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 192 of 210
                      Federal
                      Federal Register
                              Register // Vol.
                                          Vol. 55,
                                               55, No.
                                                   No. 39
                                                       39 // Tuesday,
                                                             Tuesday, February
                                                                      February 27,
                                                                               27, 1990
                                                                                   1990 // Proposed
                                                                                           Proposed Rules
                                                                                                    Rules                                                                  G933
                                                                                                                                                                           6933

Federal
Federal Register.
            Register. On  On oror after
                                   after that
                                           that date,
                                                 date,      irritations
                                                            irritations and
                                                                          and rashes
                                                                                rashes due due toto “eczema,”
                                                                                                     "eczema,"        monograph
                                                                                                                       monograph for   for OTC
                                                                                                                                            OTC external
                                                                                                                                                    external analgesic
                                                                                                                                                                  analgesic
no
no OTC
     OTC drug
            drug product.that
                    product that is   is subject
                                          subject to to     “insect
                                                            "insect bites,”
                                                                      bites," “poison
                                                                                "poison ivy,ivy, poison
                                                                                                   poison oak,
                                                                                                            oak,      drug
                                                                                                                      drug products
                                                                                                                              products in  in 21
                                                                                                                                              21 CFR
                                                                                                                                                   CFR part
                                                                                                                                                          part 348
                                                                                                                                                                 348 to to
the
 the monograph
      monograph and    and that
                             that contains
                                    contains aa             or
                                                            or poison
                                                                poison sumac,"
                                                                         sumac," "soaps,”
                                                                                      "soaps," “detergents,”
                                                                                                   "detergents,"      include
                                                                                                                       include concentrations
                                                                                                                                  concentrations above  above 0.5 0.5 upup to to 11
nonmonograph
nonmonograph condition,condition, i.e.,
                                      i.e., aa              “cosmetics,”
                                                            "cosmetics," “jewelry,”
                                                                              "jewelry," and  and external
                                                                                                    external          percent
                                                                                                                      percent hydrocortisone
                                                                                                                                  hydrocortisone and     and
condition
condition that that would
                      would cause'the
                               cause the drug  drug to
                                                     to     “genital,”
                                                            "genital," “feminine,”
                                                                         "feminine," and   and "anal
                                                                                                 "anal                hydrocortisone
                                                                                                                      hydrocortisone acetateacetate equivalent
                                                                                                                                                         equivalent to     to 0.5
                                                                                                                                                                                0.5
be
be not
     not generally
          generally recognized
                         recognized as   as safe
                                              safe and
                                                   and      itching”).
                                                            itching"). AsAs aa result,
                                                                                result, FDAFDA hashas received
                                                                                                        received      to  1 percent
                                                                                                                       to 1  percent hydrocortisone.
                                                                                                                                        hydrocortisone.
effective
effective or  or to
                  to be
                      be misbranded,
                          misbranded, may    may bebe       several
                                                            several requests
                                                                       requests to to amend
                                                                                       amend the  the tentative
                                                                                                       tentative      Accordingly,
                                                                                                                      Accordingly, the   the agency
                                                                                                                                               agency is  is publishing
                                                                                                                                                              publishing
initially
initially introduced
            introduced or    or initially
                                 initially delivered
                                             delivered      final
                                                             final monograph
                                                                   monograph for   for OTC
                                                                                         OTC external
                                                                                                external              this
                                                                                                                       this notice
                                                                                                                             notice of proposed
                                                                                                                                          proposed rulemaking
                                                                                                                                                         rulemaking to      to
for
for introduction
     introduction into  into interstate
                              interstate                    analgesic
                                                            analgesic drug
                                                                         drug products
                                                                                products to   to include
                                                                                                  include 1 1         invite
                                                                                                                      invite public
                                                                                                                               public comment
                                                                                                                                         comment on     on the
                                                                                                                                                            the proposed
                                                                                                                                                                  proposed
commerce
commerce unless unless itit is
                             is the
                                the subject of an   an      percent
                                                             percent hydrocortisone
                                                                       hydrocortisone and    and                      switch
                                                                                                                      switch of concentrations
                                                                                                                                     concentrations of
approved
approved application.
               application. Further,
                                 Further, any any OTC
                                                   OTC      hydrocortisone
                                                             hydrocortisone acetate
                                                                                 acetate for for OTC
                                                                                                  OTC use.use.        hydrocortisone
                                                                                                                      hydrocortisone above  above 0.5  0.5 percent
                                                                                                                                                            percent up   up to to 11
drug
drug product
        product subject to     to this
                                   this monograph
                                         monograph          B.   Petition ToToAmend
                                                                                A m endTentative
                                                                                            TentativeFinalF inal      percent
                                                                                                                      percent fromfrom prescription
                                                                                                                                         prescription to    to OTC
                                                                                                                                                                OTC status.
                                                                                                                                                                         status.
                                                            B. Petition
that
 that is
       is repackaged
          repackaged or     or relabeled
                                relabeled afterafter the
                                                      the   M  onograph
                                                            Monograph                                                 C.   ThePanel
                                                                                                                      C. The     Paneland andCommittee
                                                                                                                                                 Com m ittee
effective
effective datedate of thethe monograph
                              monograph must    must bebe
                                                               The
                                                               The citizen
                                                                     citizen petition
                                                                               petition requesting
                                                                                           requesting OTC  OTC        D  eliberations
                                                                                                                      Deliberations
in
in compliance
    compliance with   with the
                             the monograph
                                  monograph
regardless
 regardless of the  the date
                          date the
                                 the product
                                     product w      as
                                                  was       marketing
                                                             marketing status
                                                                          status for
                                                                                   for hydrocortisone
                                                                                         hydrocortisone 1     1          The
                                                                                                                         The Panel’s
                                                                                                                                Panel's report
                                                                                                                                           report indicates
                                                                                                                                                     indicates thatthat the the
initially
 initially introduced
            introduced or    or initially
                                 initially delivered        percent
                                                             percent and
                                                                       and hydrocortisone
                                                                             hydrocortisone acetate acetate           first
                                                                                                                      first effort to to change
                                                                                                                                         change hydrocortisone
                                             delivered                                                                                               hydrocortisone to         to
for introduction
     introduction into  into interstate
                              interstate                    equivalent to     1 percent
                                                                           to 1  percent hydrocortisone,
                                                                                             hydrocortisone.          OTC
                                                                                                                      OTC status
                                                                                                                              status occurred
                                                                                                                                       occurred in    in 1956 (44 FR  FR
commerce.
commerce. Manufacturers
                 Manufacturers are     are                  as
                                                            as antipruritic
                                                                antipruritic active
                                                                                active ingredients
                                                                                          ingredients in              69768 at at 69813).
                                                                                                                                   69813). Public
                                                                                                                                             Public hearings
                                                                                                                                                        hearings were
                                                            cream,                                                                                                    were
encouraged to     to comply
                      comply voluntarily
                                 voluntarily with           cream, ointment,
                                                                      ointment, lotion,
                                                                                    lotion, and
                                                                                              and spray
                                                                                                    spray             held from August 15       15 to   17,1956,
                                                                                                                                                    to 17,  1956, to  to
the
 the monograph at the      the earliest possible            dosage
                                                            dosage forms,
                                                                      forms, w    as submitted
                                                                                was    submitted on May   May 26,     examine
                                            possible                                                                  examine aa petition
                                                                                                                                      petition request
                                                                                                                                                  request for possible
                                                                                                                                                                   possible
                                                            1987 (Ref.
                                                                   (Ref. 3). The
                                                                              The petitioner
                                                                                     petitioner pointed
                                                                                                   pointed out        transfer
date.
date.                                                                                                                 transfer to  to OTC
                                                                                                                                      OTC status.
                                                                                                                                             status. Based
                                                                                                                                                         Based on  on these
                                                                                                                                                                        these
   If the
      the agency
            agency determines
                       determines that any                  that,
                                                             that, after 7 years
                                                                            years of OTC OTC marketing,
                                                                                                marketing, 0.5        hearings,
                                               any                                                                    hearings, the  the petition
                                                                                                                                         petition was was denied
                                                                                                                                                            denied in    in the
                                                                                                                                                                              the
labeling
labeling for for a condition included in the                percent
                                                             percent hydrocortisone
                                                                       hydrocortisone may not provide     provide     Federal Register
                                                   the                                                                            Register of of January
                                                                                                                                                  January 17,  17,1957
                                                                                                                                                                    1957 (22 (22
final monograph should be           be implemented
                                        implemented         optimal therapy
                                                                       therapy for the  the various
                                                                                             various                  FR 353).
                                                            conditions                                                     353).
sooner thanthan thethe 12-month effective
                                     effective date,
                                                   date,    conditions for which it is      is indicated,
                                                                                               indicated, that           At its
                                                                                                                              its January 21,1975
                                                                                                                                              21, 1975 meeting,
                                                                                                                                                           meeting. the  the
a shorter
   shorter deadline
              deadline may  may be be established.
                                       established.         1 percent hydrocortisone would be             be more
                                                                                                             more     Panel was
                                                            effective (based on consumer experience                            was informed that    that nono one
                                                                                                                                                               one among
                                                                                                                                                                      among
Similarly,
Similarly, if  if a safety
                     safety problem
                              problem is    is                                                        experience      the
                                                            and data in the the literature),                           the physicians
                                                                                                                            physicians contacted had any          any strong
                                                                                                                                                                         strong
identified for a particular condition,
                                     condition, a                                literature), and that risks  risks   feelings
                                                            are
                                                            are estimated to be    be minimal while while             feelings against hydrocortisone being           being
shorter deadline
           deadline may be      be set for removal                                                                    OTC
                                                                                                                      OTC (Ref. 5). At the    the May
                                                                                                                                                   May 22,1975
                                                                                                                                                           22, 1975
of that condition from OTC drug          drug               benefits
                                                            benefits would be         substantial. The
                                                                                 be substantial.                      meeting,
                                                                                                                      meeting. therethere wwasas an extended
                                                                                                                                                       extended
products.
products.                                                   petition discussed the    the history of
                                                            hydrocortisone use, its safety and                        discussion whether the Panel       Panel ought
                                                                                                                                                                  ought to   to
                                                                                                      and             recommend a higher concentration
I. Background
    BackgroundInformation
                       Information                          effectiveness,
                                                            effectiveness, its approval for OTC use          use                                     concentration than     than
                                                            in foreign countries, drug experience                     0.5 percent (Ref. 6). However,
                                                                                                                                                   However, at    at the
                                                                                                                                                                       the
A
A.. Introduction
     Introduction                                                                                                     March 4 through 5,1976  5, 1976 meeting,
                                                                                                                                                          meeting. the  the
                                                            reports, and the the proposed OTC labeling. labeling.
   Hydrocortisone has  has been m  arketed in
                                 marketed                   The petition included extensive data                      Panel voted not to approve 1            1 percent
                                                                                                                                                                 percent
the United States
              States since 1952 asas a                                                                                hydrocortisone for OTC status       status by by aa vote
                                                                                                                                                                             vote
                                                            and information from published studies
prescription drug. On December 4,1979,4, 1979,              on issues                                                 of 5 to 1 1 with 1 1 abstention and approved approved
                                                                issues related to the safety and      and
FDA’s
FDA's Advisory Review Panel on OTC                          effectiveness of topical hydrocortisone.                  0.25 to 0.5 percent hydrocortisone
                                                                                                                                                 hydrocortisone for       for
                                                                                             hydrocortisone.
Topical Analgesic, Antirheumatic, Otic,                        In further support of the petition to                  OTC status by a vote of 6 to 1            1 (Ref. 7). 7).
Burn, and Sunburn Prevention and                            switch 1 1 percent hydrocortisone from                    The Panel's decision at that       that time
                                                                                                                                                               time was was
Treatment Drug Products recommended                         prescription to OTC status, a                             based on the fact that there     there w wasas nono
to the agency that hydrocortisone could                     manufacturers’
                                                            manufacturers' association provided                       marketing history for hydrocortisone
                                                                                                                                                      hydrocortisone at         at
be considered safe and effective for                        additional information (Ref. 4) which it                  any concentration for OTC        OTC use.
                                                                                                                                                              use. At At its
                                                                                                                                                                           its
OTC use at concentrations of 0.25 to 0.5                    believed would be helpful to the agency                   final meeting on May 22 and         and 23,
                                                                                                                                                                23,1978,
                                                                                                                                                                      1978,
percent (44 FR 69768). Based on the                         in evaluating the citizen petition. The                   the Panel adopted its report on external       external
Panel’s
Panel's recommendations, the agency                         association stated that the additional                    analgesic drug products for OTC          OTC use, use,
allowed OTC marketing of products                           data provide further support that                         which included its recommendation
                                                                                                                                                 recommendation for          for
containing 0.25 to 0.5 percent                              optimal therapy can be provided by the                    0.25 to 0.5 percent hydrocortisone
                                                                                                                                                 hydrocortisone for      for
hydrocortisone to begin on December 4,                      1-percent concentration of
                                                            1-percent                                                 OTC status (Ref. 8).     8).
1979. During the years of OTC
1979.                                                       hydrocortisone and that consumers will                       Two other OTC drug advisory     advisory review
                                                                                                                                                                       review
marketing, it has been shown from the                       not be at any additional risk by the                      panels proposed 1       1 percent
                                                                                                                                                 percent
experience of consumers and                                 marketing of a more effective product                     hydrocortisone for inclusion in OTC            OTC
physicians, and from data from clinical                     for pruritic conditions indicated on                      drug monographs. The       The Advisory
                                                                                                                                                        Advisory ReviewReview
investigators, that 0.25- to 0.5-percent                    current OTC drug product labels for 0.5                                        Miscellaneous External
                                                                                                                      Panel on OTC Miscellaneous                  External
concentration of hydrocortisone does                        percent hydrocortisone. The                               Drug Products (Miscellaneous External        External
not provide the optimal therapy in all                      manufacturers’ association noted that
                                                            manufacturers'                                            Panel) proposed 0.25    0.25 to'l
                                                                                                                                                     to 'l percent
                                                                                                                                                           percent
individuals for all the conditions for                             130 million OTC units of 0.5 percent
                                                            over 130                                                  hydrocortisone for use (e.g., to relieve      relieve
which the drug may be used. It has been                     hydrocortisone had been bought in this                    itching) on dandruff, seborrheic
                                                                                                                                                     seborrheic
suggested that a 1-percent
                      1-percent concentration               country to date, and most of the                          dermatitis, and psoriasis, but classified   classified
of hydrocortisone would provide a more
of                                                          negative reports received by                              the ingredient in Category III         III because
                                                                                                                                                                 because
            treatm ent for pruritus and
effective treatment                                         manufacturers of    of these products                     the studies
                                                                                                                            studies were inadequate to support       support
inflammation associated with the                            involved a lack of effectiveness.                         effectiveness for this use (47 FR 54646         54646 at   at
conditions listed in the current labeling                      After carefully reviewing the safety      safety       54674 and 54675). The Advisory   Advisory ReviewReview
for the lower concentrations of                             and effectiveness data and      and other                                      Antimicrobial II
                                                                                                                      Panel on OTC Antimicrobial                 II Drug
                                                                                                                                                                    Drug
hydrocortisone and hydrocortisone                                           submitted, the agency
                                                            information submitted,                agency              Products (Antimicrobial II          II Panel)
acetate (i.e.,
acetate   (i.e., the temporary relief of                    tentatively concludes that they support                   recommended combinations
                                                                                                                                           combinations of      of upup toto
itching associated with minor skin  skin                    a proposal to amendamend the tentative final                       antifungals with hydrocortisone
                                                                                                                      three antifungals
                  Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 193 of 210
6934
 6934                                          Vol. 55,
                                  Register / / Vol.
                          Federal Register
                          Federal                        No. 39
                                                     55, No.                  February 27,
                                                                     Tuesday, February
                                                              39 / / Tuesday,           27, 1990     Proposed Rules
                                                                                            1990 / / Proposed Rules

             percentfor
  0.5toto11percent
0.5                         forfungal         infectionsof
                                  fungalinfections            of      hydrocortison
                                                                       hydrocortisone      e waswasthe         lowesteffective
                                                                                                        thelowest         effective        (1986).In
                                                                                                                                          (1986).         addition,aa “switch
                                                                                                                                                      Inaddition,                          petition"isis
                                                                                                                                                                            "switchpetition”
       akin(47
  theskin
the            (47FFR      12480at
                       R 12480            12554and
                                      at12554       and               dose.
                                                                       dose.                                                               currentlyunder
                                                                                                                                          currently       underreviewreviewininGermany.
                                                                                                                                                                                     Germany.
             However,the
 12555).However,
12555}.                              agencydissented
                               theagency           dissented                    FederalTrade
                                                                          TheFederal
                                                                         The                             Commission(FTC),
                                                                                              TradeCommission                 (FTC),       Informationregarding
                                                                                                                                          Information          regardingthe           basisfor
                                                                                                                                                                               thebasis         for
  fromthe
from            Antimicrobial
          theAntimicrobia             l IIIIPanel’s
                                              Panel's                 not   FDA.isisthe
                                                                       notFDA,                 agencythat
                                                                                         theagency           thathashasthe the             approvalfor
                                                                                                                                          approval        forOTC        marketinginin Sweden
                                                                                                                                                                OTCmarketing                    Sweden
  recommendation
recommenda            tion (47 (47FR FR12481).
                                           12481).                                 responsibilityfor
                                                                       primaryresponsibility
                                                                      primary                               forregulating
                                                                                                                  regulating               andGreat
                                                                                                                                          and               Britainwwas
                                                                                                                                                   GreatBritain                provided (Ref.
                                                                                                                                                                          as provided            (Ref.
    At the
    At          November18,1985
          theNovember                            meetingof
                                   18, 1985meeting             of      OTCdrag
                                                                      OTC              advertising.However,
                                                                               drugadvertising.             However,FDA      FDA          11 ).
                                                                                                                                           11).
       DermatologicDrug3
  theDermatologic
the                                        Advisory
                               DrugsAdvisory                           hasthe
                                                                      has         authoritytotoregulate
                                                                             theauthority              regulate OTC   OTCdrag drug           Hydrocortiso
                                                                                                                                              Hydrocortisone      ne aat t aa maximum
                                                                                                                                                                               maximum
 Committee (the
Committee                   Committee)(Ref.
                    (theCommittee)               (Ref.9),9),the
                                                              the      advertisingthat
                                                                      advertising                constituteslabeling
                                                                                         thatconstitutes            labeling               strength of
                                                                                                                                          strength              percent wwas
                                                                                                                                                         of11percent                 switched from
                                                                                                                                                                              as switched             from
 question of
question             whethertotoswitch
                ofwhether               switch11percentpercent         underthe
                                                                      under          FederalFood,
                                                                                theFederal         Food,Drag,  Drug,and and               prescription-t
                                                                                                                                           prescription-to-OTC              marketingstatus
                                                                                                                                                               o-OTC marketing                 statusinin
 hydrocortisone
hydrocortison          e from        prescriptionto
                           fromprescription              to            CosmeticAct
                                                                      Cosmetic       Act (the       act).See,
                                                                                             (the act).      See, e.g.,       nited
                                                                                                                     e.g., UUnited         Sweden on
                                                                                                                                          Sweden         onOctober         1, 1983.However,
                                                                                                                                                              October1,1983.            However,
         statuswas
 OTCstatus
OTC                          discussed.Four
                     was discussed.             Four                  States          rticle oof
                                                                       Statesv.v.AArticle               rug.. .. ..B-
                                                                                                  f DDrug             B-                   information wwas
                                                                                                                                          information                 provided toto consumers
                                                                                                                                                                 as provided              consumers
 physiciansspoke
physicians          spokein         favorof
                               infavor            the switch.
                                              of the   switch.        Complex                        Capsules, 362
                                                                                     CholinosCapsules,
                                                                       Complex Cholinos                               362F.2dF.2d          regardingself-medicati
                                                                                                                                          regarding        self.medication     on to     help them
                                                                                                                                                                                      tohelp        them
        reasonsgiven
 Thereasons
The                    givenwere were that  that most
                                                  most                923   (3dCir.
                                                                       923(3d           1966); V.E.
                                                                                 Cir.1966);                 Irons,Inc.
                                                                                                   V.E.Irons,         Inc.v.v.             distinguish between
                                                                                                                                          distinguish         between mild  mild andand severe
                                                                                                                                                                                            severe
 people make
people                                decisionsabout
                       rational decisions
             make rational                            about                      States, 244
                                                                         nited States,
                                                                      UUnited                       F.2d 34
                                                                                              244F.2d        34 (10    Cir.);cert,
                                                                                                                 (10Cir.};     cert.                    conditionsfor
                                                                                                                                           disease conditions
                                                                                                                                          disease                              which the
                                                                                                                                                                          forwhich         the product
                                                                                                                                                                                                   product
           treatment;there
 home treatment;
home                          therehad         been no
                                        had been       no              denied, 354
                                                                      denied,           U.S.923
                                                                                  354U.S.              (1957).In
                                                                                                 923(1957).        In addition,
                                                                                                                       addition,           would be
                                                                                                                                          would       be considered          appropriate for
                                                                                                                                                           considered appropriate                   for
 toxicityfrom
toxicity      from local         absorption,no
                        local absorption,            no abuse,
                                                          abuse,      for       OTCdrag
                                                                           an OTC
                                                                       for an            drugtotobe   begenerally
                                                                                                           generally                               Swedish drug
                                                                                                                                           use. Swedish
                                                                                                                                          use.                           companiesgave
                                                                                                                                                                 drug companies             gave
no    seriouslocal
 no serious        local or       systemicside
                             or systemic         side effects,
                                                         effects,      recognized as
                                                                      recognized             safe and
                                                                                        as safe              effective and
                                                                                                     and effective          and not
                                                                                                                                  not      information about
                                                                                                                                          information          about hydrocortiso
                                                                                                                                                                         hydrocortisone       ne drags
                                                                                                                                                                                                     drugs
 and no
and          exacerbation of
        noexacerbation                    local infection
                                     oflocal       infection           misbranded, the
                                                                      misbranded,                advertising for
                                                                                           the advertising                 the drug
                                                                                                                     for the    drug      in    themass
                                                                                                                                           in the             media.The
                                                                                                                                                     massmedia.                  Swedish Board
                                                                                                                                                                          The Swedish             Eoard
            percent; that
 with 11percent;
with                               local toxicity
                           that local        toxicity                          satisfy the
                                                                       must satisfy
                                                                      must                the FDA         regulationsin
                                                                                                 FDA regulations             in           of    Health and
                                                                                                                                           of Health              Welfare developed
                                                                                                                                                           and Welfare          developed
 resulted only
resulted       only whenwhen the         drug had
                                   the drug       had been
                                                        been             330.1(d) (21
                                                                      §§ 330.1(d)     (21CFR        330.1(d)), which
                                                                                            CFR330.1(d)),            which state
                                                                                                                               state       directives to
                                                                                                                                          directives                    companiesgiving
                                                                                                                                                                drug companies
                                                                                                                                                            to drag                        giving
 applied for
applied       for 33 or        months;and
                       or 44 months;          and 0.5
                                                    0.5               that           advertising for
                                                                             "The advertising
                                                                       that “The                                the product
                                                                                                          for the     product                            instructions about
                                                                                                                                           detailed instructions
                                                                                                                                          detailed                           about the the labeling
                                                                                                                                                                                               labeling
              productshad
 percent products
percent                        had not       been effective
                                      not been       effective                          recommends, or
                                                                       prescribes, recommends,
                                                                      prescribes,                                   suggests its
                                                                                                                or suggests       its      of hydrocortison
                                                                                                                                          of    hydrocortisone.                 label indications
                                                                                                                                                                         The label
                                                                                                                                                                     e. The               indications
 for some
for   some uses.          However, one
                uses.However,                one physician
                                                   physician           use only
                                                                      use          under the
                                                                            only under               conditions stated
                                                                                               the conditions          stated in  in       stated that
                                                                                                                                          stated                   drug was
                                                                                                                                                             the drag
                                                                                                                                                      that the             was onlyonly intended
                                                                                                                                                                                            intended
 stated the
stated            following caveats:
            the following           caveats:the    the product
                                                         product       the labeling.”
                                                                      the   labeling."                                                     for mild
                                                                                                                                          for            eczema, to
                                                                                                                                                 mild eczema,         to be    used 22 to
                                                                                                                                                                           be used          to 33 times
                                                                                                                                                                                                    times
 should not
should       not be      labeled for
                   be labeled                      around the
                                             use around
                                       for use                  the       Although the
                                                                         Although              Panel had
                                                                                         the Panel        had discussed
                                                                                                                 discussed                   day, and
                                                                                                                                          aa day,     and notnot to    be used
                                                                                                                                                                   to be             longer than
                                                                                                                                                                            used longer           than aa
 eyes or
eyes         for use
         or for     use on      infants and
                           on infants         and small
                                                    small              advertising and
                                                                      advertising               promotion of
                                                                                        and promotion              of OTC
                                                                                                                       OTC                                        contacting aa physician.
                                                                                                                                                     without contacting
                                                                                                                                           week without
                                                                                                                                          week                                         physician.
 children. The
children.               Committee felt
                The Committee                      that greater
                                             felt that    greater     hydrocortison
                                                                       hydrocortisone,     e, its    report did
                                                                                                its report       did not
                                                                                                                       not                Hydrocortiso
                                                                                                                                           Hydrocortisone      ne w  was    not to
                                                                                                                                                                       as not      to be     used on
                                                                                                                                                                                       be used         on
                                                                       include any
                                                                      include            statements of
                                                                                  any statements                 concern about
                                                                                                              of concern       about
 absorption results
absorption          results from from these         uses with
                                           these uses       with                                                                           wounds or
                                                                                                                                          wounds             near the
                                                                                                                                                         or near           eyes, and
                                                                                                                                                                     the eyes,      and not not on  on
    potential for
aa potential        for ocular,        cutaneous, and
                          ocular, cutaneous,             and                    advertising or
                                                                       either advertising
                                                                      either                            promotion of
                                                                                                   or promotion            of such
                                                                                                                              such         children under
                                                                                                                                          children       under22 yearsyears of of age.
                                                                                                                                                                                    age.
systemic        toxicity.
 systemic toxicity.                                                    products. The
                                                                      products.              agency has
                                                                                     The agency                  considered the
                                                                                                          has considered            the   Hydrocortiso
                                                                                                                                           Hydrocortisone      ne was       available in
                                                                                                                                                                     was available            in cream,
                                                                       advertising of
                                                                      advertising       of hydrocortison            e-containing
                                                                                             hydrocortisone-containing                                                                             cream,
             physicians (one
    Two physicians
    Two                                  presenting the
                                 (one presenting           the                products over
                                                                       drug products
                                                                      drag                   over the              years since
                                                                                                            ten years
                                                                                                      the ten               since
                                                                                                                                                                         solution, and
                                                                                                                                                           powder, solution,
                                                                                                                                           ointment, powder,
                                                                                                                                          ointment,                                     and liniment
                                                                                                                                                                                                 liniment
 position of
position       of the     American Academy
                    the American             Academy of      of                products were
                                                                       these products
                                                                      these                   were first        marketed OTC
                                                                                                        first marketed          OTC
                                                                                                                                          dosage       forms. The
                                                                                                                                           dosage forms.          The most        suitable dosage
                                                                                                                                                                         most suitable            dosage
 Dermatology) spoke
Dermatology)             spoke in       opposition to
                                    in opposition          to the
                                                               the     and has
                                                                      and                 observed any
                                                                                   not observed
                                                                             has not                      any major
                                                                                                                  major
                                                                                                                                           form to
                                                                                                                                          form                depended on
                                                                                                                                                        use depended
                                                                                                                                                    to use                    on thethe symptoms
                                                                                                                                                                                          symptoms
         status of
 OTC status
OTC                       the 1-percent
                     of the     1-percent                                                                                                 of    the eczema.
                                                                                                                                           of the    eczema.
                                                                       problems regarding
                                                                      problems                         advertising or
                                                                                     regarding advertising                 or
 concentration (Ref.
concentration            (Ref. 2).     They expressed
                                   2). They      expressed             promotion. The
                                                                      promotion.                agency has
                                                                                        The agency           has contacted
                                                                                                                    contacted
                                                                                                                                             ItIt wT
                                                                                                                                                  was    noted that
                                                                                                                                                     as noted      that all    drugs in
                                                                                                                                                                           all drugs      in Sweden
                                                                                                                                                                                               Sweden
several      concerns: (1)
 several concerns:                   consumers would
                                (1) consumers          would           FTC (Ref.
                                                                      FTC            10) and
                                                                              (Ref. 10)                    agency also
                                                                                                   that agency
                                                                                            and that                   also hashas         are distributed
                                                                                                                                          are                       through the
                                                                                                                                                  distributed through            the
find         1-percent product
        the 1-percent
 find the                       product more  more effective
                                                       effective                                                                          Apoteksbola
                                                                                                                                           Apoteksbolaget      get (a(a government-
                                                                                                                                                                         government-owned      owned
                                                                            observed any
                                                                       not observed
                                                                      not                         major problems
                                                                                            any major          problems
 than the
than                 percent and
               0.5 percent
         the 0.5                    and thus       tend to
                                            thus tend      to use
                                                               use                   advertising or
                                                                       regarding advertising
                                                                      regarding                                promotion of
                                                                                                          or promotion          of         company for
                                                                                                                                          company         for Swedish         pharmacies) (Ref.
                                                                                                                                                                Swedish pharmacies)                   (Ref.
       product for
 the product
the                        prolonged periods,
                     forprolonged             periods, which
                                                           which       OTC hydrocortison
                                                                      OTC      hydrocortisone            drug products.
                                                                                                     e drag      products.                12). OTC
                                                                                                                                          12).    OTC salesale of              outside of
                                                                                                                                                                      drugs outside
                                                                                                                                                                 of drags                    of this
                                                                                                                                                                                                   this
 would lead
would       lead to                   absorption and
                         greater absorption
                     to greater                          and           Based on
                                                                      Based                above, the
                                                                                     the above,
                                                                                on the                         agency does
                                                                                                        the agency         does notnot     organization is
                                                                                                                                          organization              forbidden. The
                                                                                                                                                                is forbidden.         The personnel
                                                                                                                                                                                             personnel
               effects, (2)
 adverse effects,
adverse                            potential use
                            (2) potential         use inin some
                                                             some                   hypothetical advertising
                                                                       consider hypothetical
                                                                      consider                             advertising                               organization were
                                                                                                                                               the organization
                                                                                                                                           in the
                                                                                                                                          in                                       instructed by
                                                                                                                                                                          were instructed              by
 products of vehicles
products             vehicles that  that enhance
                                             enhance                   problems to
                                                                      problems       to be     sufficient basis
                                                                                          be sufficient         basis to  to              dermatologis
                                                                                                                                           dermatologists      ts and      pharmacists about
                                                                                                                                                                   and pharmacists               about
 absorption of
absorption          of hydrocortison
                         hydrocortisone,            and (3)
                                                e, and     (3)         disallow the
                                                                      disallow                     marketing of
                                                                                          OTC marketing
                                                                                    the OTC                           of drag
                                                                                                                          drug            mild     eczema, and
                                                                                                                                           mild eczema,                 written information
                                                                                                                                                                 and written         information
inappropriate            advertising.
 inappropriate advertising.                                           products      containing above
                                                                       products containing             above 0.5   0.5 percent
                                                                                                                        percent           wwas     distributed to
                                                                                                                                             as distributed              all pharmacy
                                                                                                                                                                     to all   pharmacy
    On the
    On          question of switching
           the question              switching 1      1 percent
                                                         percent       up to
                                                                      up   to 1  percent hydrocortison
                                                                               1 percent       hydrocortisone.        e.                   personnel. A
                                                                                                                                          personnel.            pamphlet was
                                                                                                                                                             A pamphlet         was developed
                                                                                                                                                                                        developed
 hydrocortisone
hydrocortison           e from       prescription to
                           from prescription             to                                                                                      customers who
                                                                                                                                           for customers
                                                                                                                                          for                     who w     anted to
                                                                                                                                                                         wanted             learn more
                                                                                                                                                                                       to learn       more
         status, the
 OTC status,
OTC                         Committee vote
                      the Committee             vote resulted
                                                        resulted      D.   Tentative Final
                                                                       D. Tentative                 Monograph fo
                                                                                           Final Monograph               forr OTC
                                                                                                                              OTC         about OTC  OTC hydrocortison
                                                                                                                                                              hydrocortisone.       e. AA customer
                                                                                                                                                                                             customer
        tie (4 to
 in aa tie
in                    4). Most
                 to 4).              members felt
                           Most members              felt that
                                                            that                      nalgesic Drug
                                                                         xternal AAnalgesic
                                                                      EExternal                       Drug Products
                                                                                                                Products                   survey (Ref.
                                                                                                                                           survey              12) w
                                                                                                                                                       (Ref. 12)     was    undertaken by
                                                                                                                                                                       as undertaken              by the
                                                                                                                                                                                                       the
the    drug was
 the drug      was safesafe and and effective.
                                        effective.                                           included hydrocortison
                                                                                agency included
                                                                          The agency
                                                                          The                                hydrocortisone       e       Apoteksbola
                                                                                                                                           Apoteksbolaget            and the
                                                                                                                                                               get and            Department of
                                                                                                                                                                            the Department              of
 I Iowever, there
However,          there were          concerns about
                            were concerns            about             and hydrocortiso
                                                                       and   hydrocortisone            acetate at
                                                                                                 ne acetate         at                                Pharmacy to
                                                                                                                                           Social Pharmacy
                                                                                                                                          Social                           analyse the
                                                                                                                                                                       to analyse               effect of
                                                                                                                                                                                        the effect        of
               reactions not
 adverse reactions
 adverse                               being recognized
                                not being        recognized            concentration
                                                                       concentrations       s equivalent to           0.25 to
                                                                                                                  to 0.25    to 0.5
                                                                                                                                 0.5       OTC use
                                                                                                                                          OTC       use of hydrocortiso
                                                                                                                                                              hydrocortisone      ne 33 months
                                                                                                                                                                                           months
 or                   inappropriate promotion,
     reported, inappropriate
 or reported,                                  promotion,              percent hydrocortiso
                                                                      percent     hydrocortisone        ne in     the tentative
                                                                                                              in the   tentative           before the
                                                                                                                                          before                                       switch and
                                                                                                                                                                          1, 1983, switch
                                                                                                                                                            October 1,1983,
                                                                                                                                                      the October                                    and 1 1
                     credibility, and
 advertising credibility,
 advertising                            and appropriate
                                                appropriate                   monograph for OTC
                                                                       final monograph                 OTC external
                                                                                                                 external                  and 9 months
                                                                                                                                          and                    afterwards. The
                                                                                                                                                     months afterwards.              The results
                                                                                                                                                                                             results
 labeling (Ref. 9). One
 labeling                            committee member
                             One committee             member          analgesic drag
                                                                       analgesic              products that w
                                                                                     drug products                    wasas                indicated that misuse
                                                                                                                                          indicated               misuse of       the drag
                                                                                                                                                                              of the    drug
pointed out          that side
              nut that               effects were
                             side effects        were not not          published in the   the Federal Register of            of            (defined as   as frequent use)   use) seldom
                                                                                                                                                                                    seldom
                because they
 reported because
reported                       they werewere minimal
                                                 minimal                            8, 1983 (48 FR 5852).
                                                                       February 8,1983
                                                                      February                                         During the
                                                                                                             5852). During         the     occurred. Six
                                                                                                                                           occurred.      Six of 104       customers noted
                                                                                                                                                                     104 customers            noted
 and not significant and,                  therefore, were
                                  and, therefore,          were        comment period following publication       publication of     of            changes as
                                                                                                                                           skin changes         as mild side side effects.
                                                                                                                                                                                     effects.
 ignored. Another member would have
 ignored.                                               have                 proposal, the
                                                                       that proposal,
                                                                       that                  the agency did not receive      receive       Opinions of Swedish physicians
                                                                                                                                           Opinions                          physicians toward   toward
 voted for 1 percent hydrocortison
voted                             hydrocortisone         e             any comments relating
                                                                       any                    relating to    to the switch of 1       1    the switch were           divided. However,
                                                                                                                                                            were divided.           However,
 becoming OTC
 becoming        OTC if there  there could be      be                 percent hydrocortiso
                                                                                  hydrocortisone        ne to OTC status. status.          among the dermatologis
                                                                                                                                                             dermatologists           there was,
                                                                                                                                                                                 ts there       was, in  in
 assurance about the advertising    advertising and
                                                                                                            xperience
                                                                                                                                           general,        positive attitude
                                                                                                                                           general, a positive                         toward OTC
                                                                                                                                                                         attitude toward              OTC
                                                                      E. Foreign M        arketing E
                                                                                      Marketing           Experience                       hydrocortison         e.
              issues. Still another member
 labeling issues.
 labeling                                                                                                                                  hydrocortisone.
 referred to the Panel’s  Panel's opinion that OTC                        The petitioner and the manufacture    manufacturers'     rs’       The agency notes              that the
                                                                                                                                                                  notes that       the information
                                                                                                                                                                                         information
 drug products should contain the lowest                               association have indicated that 1                   1                                               marketing of
                                                                                                                                                           Sweden's marketing
                                                                                                                                           regarding Sweden’s                                of 1  1
                dosages. and pointed out that
 effective dosages,                                                    percent hydrocortiso
                                                                                  hydrocortisone        ne for OTC use has       has       percent hydrocortiso
                                                                                                                                                        hydrocortisone      ne without
                                                                                                                                                                                 without
                    hydrocortisone
 0.5 percent hydrocortiso                 ne w wasas not               been approved in several foreign                                    prescription did not      not include
                                                                                                                                                                           include any  any
 effective in most cases      cases in 15 years of                     countries: Sweden (1983), Denmark                                   information on safety and          and effectiveness
                                                                                                                                                                                      effectiveness
 practice, implying that 1              1 percent                      (1984), Norway (1985),  (1985). and Great Britain     Britain       consideration
                                                                                                                                           considerations.           However, the
                                                                                                                                                                s. However,                 agency
                                                                                                                                                                                     the agency
                    Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 194 of 210

                        Federal Register
                        Federal Register // Vol.
                                            Vol. 55,
                                                  55, No.  39 // Tuesday,
                                                      No. 39     Tuesday, February
                                                                          February 27,
                                                                                    27, 1990
                                                                                         1990 // Proposed
                                                                                                 Proposed Rules
                                                                                                          Rules                                                                  6935
                                                                                                                                                                                  6935

recognizes
  recognizes that         Swedenexerts
                  thatSweden            exerts                         (11)
                                                                        (11)The
                                                                              The labeling
                                                                                     labelingmust  muststate:
                                                                                                          state:"If “Ifthethe       persist
                                                                                                                                     persistforformore
                                                                                                                                                   morethan
                                                                                                                                                          than77days,
                                                                                                                                                                    days,discontinue
                                                                                                                                                                           discontinue
  continuingcontrol
continuing        controlover  overthe thedispensing
                                              dispensingof    of   condition
                                                                    conditionisisnot   notimproved.
                                                                                              improved,consult
                                                                                                             consultyour   your     use
                                                                                                                                     use of
                                                                                                                                          ofthe
                                                                                                                                              the product
                                                                                                                                                   productandandconsult
                                                                                                                                                                    consultaa
  OTCdrugs
OTC       drugsby  by its    methodof
                        itsmethod         ofdistribution.
                                               distribution.       doctor;"
                                                                    doctor;”                                                        physician."
                                                                                                                                     physician.”
Also,
 Also,in  inaddition
              addition to   tolabeling
                                labelinginstructions,
                                               instructions,           (12)
                                                                        (12)The
                                                                              Thelabel
                                                                                     labelshould
                                                                                               shouldstate
                                                                                                        state clearly
                                                                                                                 clearly                As
                                                                                                                                        As with
                                                                                                                                             with many
                                                                                                                                                   manydrugs,
                                                                                                                                                           drugs, FDA
                                                                                                                                                                    FDAfinds
                                                                                                                                                                          finds the
                                                                                                                                                                                  the
 instructions regarding
instructions        regardingOTC    OTC                            "Contains
                                                                    “ContainsHydrocortisone,"
                                                                                     Hydrocortisone,”except     except              methods
                                                                                                                                     methods of  ofmarketing
                                                                                                                                                    marketingand   and labeling
                                                                                                                                                                        labeling forfor
hydrocortisone
 hydrocortisone use       usewere
                                weregivengiven to   to             where
                                                                    where the  the product
                                                                                     productname  name includes
                                                                                                          includes                  OTC
                                                                                                                                     OTChydrocortisone
                                                                                                                                            hydrocortisone to    to vary
                                                                                                                                                                     vary among
                                                                                                                                                                           among
 individual customers
individual        customers by     by the
                                        the                        hydrocortisone
                                                                    hydrocortisone and        and appears
                                                                                                    appears on  on thethe           foreign
                                                                                                                                     foreigncountries.
                                                                                                                                               countries. Far
                                                                                                                                                            Forexample,
                                                                                                                                                                  example, in  in
 government-ownedpharmacies.
government-owned                pharmacies. From      From         label;
                                                                    label;                                                          Sweden
                                                                                                                                     Sweden the the OTC
                                                                                                                                                     OTCindication
                                                                                                                                                            indication includes
                                                                                                                                                                          includes
       informationavailable
 theinformation
the                        available from  fromSweden,
                                                    Sweden,            (13)
                                                                        (13)The
                                                                              The package
                                                                                     packagesize   sizemust
                                                                                                         mustbe   be                "mild
                                                                                                                                     “mild eczema,"
                                                                                                                                             eczema,”but but this
                                                                                                                                                               this term
                                                                                                                                                                     term isisnot
                                                                                                                                                                              not
there
 there appeared
          appeared to         be no
                          to be   no problems
                                        problems                   between
                                                                    between10     10andand15  15grams;
                                                                                                  grams;                            allowed
                                                                       (14)                                                          allowed in inGreat
                                                                                                                                                    GreatBritain.
                                                                                                                                                           Britain. Based
                                                                                                                                                                       Based upon
                                                                                                                                                                                upon10 10
 related to
related          the OTC
             to the    OTCmarketing
                                marketingof       of1-1-                (14)Any
                                                                              Any package
                                                                                      package insertinsertshould
                                                                                                            should be    be         years
                                                                   limited                                                           years ofofOTC
                                                                                                                                                OTCmarketing
                                                                                                                                                      marketing experience
                                                                                                                                                                      experience of  of
percent       hydrocortisone products.
 percent hydrocortisone                products.                    limited to  to the
                                                                                    the information
                                                                                          information required
                                                                                                           required by     by       0.25
                                                                                                                                     0.25toto0.5
                                                                                                                                              0.5percent
                                                                                                                                                  percent hydrocortisone
                                                                                                                                                             hydrocortisone in    in th
                                                                                                                                                                                      the
    Included
     Included in       the manufacturers'
                   in the    manufacturers’                        the    Medicines (Leaflets)
                                                                    the Medicines           (Leaflets) Regulations
                                                                                                          Regulations               United
                                                                   1977.                                                             United States,
                                                                                                                                               States, the
                                                                                                                                                        the agency
                                                                                                                                                             agency believes
                                                                                                                                                                       believes that
                                                                                                                                                                                   that
 association’ssubmission
association's         submissionon       on foreign
                                               foreign              1977.The The DHSS
                                                                                    DHSS will  will wish,
                                                                                                     wish, for
                                                                                                             for the
                                                                                                                   the time
                                                                                                                         time       products
                                                                   being,                                                            products containing
                                                                                                                                                 containing hydrocortisone
                                                                                                                                                                hydrocortisone at    at
 marketing was
marketing        w as aa copy
                            copyof  ofthethe Medicines
                                               Medicines            being, to to approve
                                                                                  approve all   all promotional
                                                                                                     promotionalcopy.    copy.      concentrations
                                                                       The
                                                                        The.agency
                                                                              agency notes notes thethe following
                                                                                                         following                   concentrations of   of0.25
                                                                                                                                                            0.25 to
                                                                                                                                                                  to11percent
                                                                                                                                                                        percent andand
 Act Information
Act     Information Letter Letter Issued
                                     issued by    by Great
                                                       Great                                                                        hydrocortisone
                                                                                                                                     hydrocortisone acetate
                                                                                                                                                         acetate equivalent
                                                                                                                                                                    equivalent to  to
 Britain’s Department
Britain's      Department of      ofHealth
                                       Health and   and            differences        between FDA's
                                                                    differences between              FDA’s monograph
                                                                                                              monograph             0.25
                                                                   proposals
                                                                    proposals for   forhydrocortisone
                                                                                          hydrocortisone (February
                                                                                                                 (February           0.25 to
                                                                                                                                           to11 percent
                                                                                                                                                percent hydrocortisone
                                                                                                                                                          hydrocortisone may    may be be
 SocialSecurity
Social      Security (DHHS)
                          (DHHS) to    to product
                                            product                                                                                 safely
                                                                                                                                     safely marketed
                                                                                                                                              m arketed inin the
                                                                                                                                                              the United
                                                                                                                                                                   United States
                                                                                                                                                                             States
 license holders
license      holders (Ref,        13).This
                          (Ref.13).     This letter
                                                  letter           8.8,1983
                                                                      1983 and and this
                                                                                      this document)
                                                                                              document) and  and the the
                                                                   practice                                                         under
                                                                                                                                     underexisting
                                                                                                                                             existing procedures.
                                                                                                                                                        procedures.
                detailed information
 provides detailed
provides                     information to        to               practice in  in Great
                                                                                      GreatBritain:
                                                                                                Britain;
 industry concerning
industry       concerning what   w hat constitutes
                                           constitutes an   an         (1)
                                                                        (1) Only
                                                                             Only cream
                                                                                     cream and  and ointment
                                                                                                      ointment dosagedosage         II.
                                                                                                                                     II.Safety
                                                                                                                                         Safety
acceptable                             Guidance was
                   application. Guidance
 acceptable application.                                was        forms
                                                                    forms are are allowed
                                                                                    allowed in   in Great
                                                                                                     Great Britain;
                                                                                                              Britain; FDA fT)A
                                                                   proposes
                                                                    proposes to    to allow
                                                                                       allow lotion
                                                                                                 lotion and
                                                                                                          and spray
                                                                                                                 spray              A.
                                                                                                                                    A. Introduction
                                                                                                                                        Introduction
provided
 provided for   for companies
                     companies with    with an   an interest
                                                      interest
 in marketing
in    marketing OTC  OTC topical
                              topical                              products
                                                                    products as   as well.
                                                                                       well.                                           The
                                                                                                                                       The agency
                                                                                                                                            agency has
                                                                                                                                                     has reviewed
                                                                                                                                                          reviewed the   the
                                                                       (2)
                                                                        (2) Both
                                                                             Both countries
                                                                                    countries have  have expressed
                                                                                                           expressed                submitted
 hydrocortisone preparations
hydrocortisone            preparations and      and thethe                                                                           submitted data
                                                                                                                                                data asas well
                                                                                                                                                          well asas the
                                                                                                                                                                      the
                                                                   concern
                                                                    concern aboutabout the  the effect
                                                                                                 effect ofof bases
                                                                                                             bases or    or         conclusions
 following conditions
following       conditions were   were listed:
                                            listed:
                                                                   vehicles                                                          conclusions of
                                                                                                                                                  of the
                                                                                                                                                      the three
                                                                                                                                                           three panels
                                                                                                                                                                   panels that
                                                                                                                                                                             that
         Only Hydrocortisone
     (1) Only
    (1)           Hydrocortisone and         and                    vehicles on  on bioavailability
                                                                                      bioavailability and    and aa needneed toto   evaluated
                                                                                                                                     evaluated the
                                                                                                                                                the safety
                                                                                                                                                     safety ofofhydrocortisone
                                                                                                                                                                 hydrocortisone
                                                                   show
                                                                    show clinical
                                                                             clinical effectiveness
                                                                                          effectiveness for   for low
                                                                                                                    low             for
 Hydrocortisone Acetate
Hydrocortisone            Acetate preparations
                                        preparations                                                                                 for OTC
                                                                                                                                         OTC use.
                                                                                                                                              use. The
                                                                                                                                                   The agency
                                                                                                                                                         agency believes
                                                                                                                                                                     believes that
                                                                                                                                                                                 that
 will be
will    be considered;
            considered;
                                                                   concentrations
                                                                    concentrations or           unusual formulations.
                                                                                             or unusual     formulations.           products
                                                                                                                                    products containing
                                                                                                                                               containing 0.25
                                                                                                                                                             0.25 toto11 percent
                                                                                                                                                                          percent
                                                                   (The
                                                                    (The agency's
                                                                            agency’s conclusions
                                                                                           conclusions on   on suitable
                                                                                                                  suitable          hydrocortisone
    (2)  The maximum
     (2) The    maximum strength strength is    is I1              dosage                                                           hydrocortisone and and hydrocortisone
                                                                                                                                                             hydrocortisone
                                                                    dosage formsforms are are discussed
                                                                                                discussed in   in Part
                                                                                                                   Part V. V.       acetate
percent;
 percent;                                                          paragraph                                                         acetate equivalent
                                                                                                                                             equivalent to to 0.25
                                                                                                                                                              0.25 to to11 percent
                                                                                                                                                                            percent
                                                                    paragraph C.     C. below—Discussion
                                                                                         below—D iscussion of           of          hydrocortisone
    (3)         vehicle must
         The vehicle
     (3) The                must be be aa cream
                                              cream or   or        Vehicles                                                         hydrocortisone are are safe
                                                                                                                                                            safe for
                                                                                                                                                                   for OTC
                                                                                                                                                                        OTC use.
                                                                                                                                                                               use.
                                                                    Vehicles in   in Submissions.)
                                                                                      Subm issions.)                                Concentrations
 ointment;
ointment;                                                              (3)
                                                                        (3) Great
                                                                            Great Britain
                                                                                      Britain doesdoes not
                                                                                                         not propose
                                                                                                              propose to    to      Concentrations fromfrom 0.25
                                                                                                                                                              0.25 toto 0.5
                                                                                                                                                                        0.5 percent
                                                                                                                                                                             percent
         The suitability
     (4) The
    (4)         suitability of       the cream
                                 of the     cream or   or                                                                           have
                                                                                                                                    have been
                                                                                                                                           been marketed
                                                                                                                                                marketed OTC  OTC in  in the
                                                                                                                                                                          the United
                                                                                                                                                                              United
                                                                   allow
                                                                    allow eczema
                                                                             eczema as     as an
                                                                                               an indication,
                                                                                                   indication, whilewhile           States
 ointment base
ointment        base andand itsits possible
                                   possible effect  effect on
                                                            on     FDA
                                                                   FDA does.does.                                                   States since
                                                                                                                                            since December
                                                                                                                                                  December 4,       1979. without
                                                                                                                                                                 4,1979,     without
bioavailability
 bioavailability of      of the
                            the Hydrocortisone
                                  Hydrocortisone                       (4)                                                          any
                                                                                                                                    any major
                                                                                                                                          major problems
                                                                                                                                                problems occurring,
                                                                                                                                                             occurring, as   as noted
                                                                                                                                                                                noted
                                                                        (4) Great
                                                                            Great Britain
                                                                                      Britain requires
                                                                                                  requires advertising
                                                                                                              advertising           throughout
 will be
will        considered by
        be considered              the licensing
                              by the      licensing                and
                                                                    and labeling
                                                                           labeling to  to include
                                                                                             include                                throughout this
                                                                                                                                                 this document.
                                                                                                                                                       document.
 authority. Excipients
authority.       Excipients which which significantly
                                              significantly        contraindications
                                                                    contraindications against   against useuse on on the
                                                                                                                       the          B.
increase
 increase the  the bioavailability
                    bioavailability at        at the
                                                   the                                                                              B. Studies
                                                                                                                                        Studies Reviewed
                                                                                                                                                R eview ed by b y the
                                                                                                                                                                  the Panel
                                                                                                                                                                        Panel
                                                                   eyes/face.
                                                                    eyes/face, anogenital
                                                                                     anogenital region,
                                                                                                      region, broken
                                                                                                                 broken or   or
maximum
 maximum strengthstrength will will not
                                      not be be suitable;
                                                  suitable;        infected
                                                                   infected skin,skin, including
                                                                                          including coldcold sores,
                                                                                                                sores, acne,
                                                                                                                           acne,       The
                                                                                                                                       The Panel's
                                                                                                                                            Panel’s conclusion
                                                                                                                                                     conclusion that  that up
                                                                                                                                                                            up to
                                                                                                                                                                                to 0.5
                                                                                                                                                                                   0.5
     (5) Evidence
    (5)  Evidence of        clinical efficacy
                         of clinical     efficacy and/  and/       and
                                                                    and athlete's
                                                                           athlete’s foot.
                                                                                         foot. FDA
                                                                                                 FDA proposes to        to          percent
                                                                                                                                    percent hydrocortisone is      is safe
                                                                                                                                                                       safe for
                                                                                                                                                                             for OTC
                                                                                                                                                                                 OTC
 or bioavailability
or    bioavailability will  will bebe required
                                         required for   for        require
                                                                   require aa label
                                                                                  label warning            avoid contact
                                                                                            warning to avoid           contact      use
                                                                                                                                    use was
                                                                                                                                         w as based
                                                                                                                                              based inin part
                                                                                                                                                          part on     its assessment
                                                                                                                                                                 on its   assessment
low     strengths or
low strengths              novel formulations;
                      or novel      formulations;                  with
                                                                   with the the eyes.
                                                                                 eyes.                                              of
                                                                                                                                    of studies
                                                                                                                                       studies in
                                                                                                                                                in which
                                                                                                                                                   which concentrations
                                                                                                                                                             concentrations of    of
     (6) The
    (6)         only indications
         The only       indications are    are to to be
                                                      be               FDA
                                                                       FDA doesdoes notnot include
                                                                                              include specific
                                                                                                         specific                   hydrocortisone
                                                                                                                                    hydrocortisone of  of11 percent
                                                                                                                                                              percent or or more
                                                                                                                                                                             more
irritant dermatitis,
irritant                      contact allergic
            dermatitis, contact             allergic               contraindications
                                                                   contraindications (non-use   (non-use situations)
                                                                                                             situations) in   in    were
                                                                                                                                    were used.
                                                                                                                                           used. One
                                                                                                                                                 One ofof the
                                                                                                                                                            the Panel's
                                                                                                                                                                 Panel’s
dermatitis
 dermatitis and          insect bite reactions.
                 and insect                                        the labeling
                                                                          labeling as  as Great
                                                                                            Great Britain
                                                                                                     Britain does;
                                                                                                                does; FDA           conclusions
                                                                                                                                    conclusions regarding the safety   safety of
                                                                                                                                                                               of 0.5
                                                                                                                                                                                  0.5
           indications may
These indications
These                        may be wordedworded in     in         handles this by stating   stating the useuse                     percent
                                                                                                                                    percent hydrocortisone was    w as that
                                                                                                                                                                          that
advertising
advertising and    and labeling
                          labeling ** * *,       *, but
                                                     but the       conditions
                                                                   conditions in     in the
                                                                                         die indications
                                                                                               indications for  for the             percutaneous absorption
                                                                                                                                                     absorption is minimal
                                                                                                                                                                         minimal andand
term "eczema"
         “eczema” should should not not be used;                   product.
                                                                   product FDA   FDA does does require when when the                that
                                                                                                                                    that systemic
                                                                                                                                          systemic effects
                                                                                                                                                     effects such
                                                                                                                                                               such as as those
"rash"
 “rash” and       “dermatitis” would
            and "dermatitis"           would need   need           product
                                                                   product is labeled
                                                                                    labeled for  for external
                                                                                                      external genital
                                                                                                                   genital or       observed
                                                                                                                                    observed after
                                                                                                                                               after systemic
                                                                                                                                                      systemic administration
                                                                                                                                                                    administration
qualification;                                                     feminine
                                                                   feminine itching that it bear aa warning                         are
                                                                                                                                    are unlikely (44
                                                                                                                                                   (44 FR    69768 at
                                                                                                                                                       FR 69708      at 69818).
                                                                                                                                                                         69818). This
                                                                                                                                                                                  This
    (7)  The contraindications
    (7) The     contraindications should      should be:           stating
                                                                   stating "Do “Do notnot use ifif you have aa vaginal              conclusion
                                                                                                                                    conclusion isis supported
                                                                                                                                                    supported by the results of       of
use on           eyes/face, anogenital
       on the eyes/face,           anogenital region,              discharge. Consult
                                                                   discharge.       Consult a doctor."
                                                                                                    doctor.”                        an
                                                                                                                                    an absorption
                                                                                                                                        absorption study
                                                                                                                                                     study conducted by
broken or   or infected skin  skin including cold                      (5)
                                                                       (5) Great Britain recommends that the                        Malkinson
                                                                                                                                    Malkinson (Ref.
                                                                                                                                                 (Ref. 14)
                                                                                                                                                        14) on the percutaneous
sores, acne and
sores,                    athlete’s foot. These
                   and athlete's                                   product not be used on          on children under                absorption
                                                                                                                                    absorption ofof topically applied
                                                                                                                                                                  applied 2.5-
contraindications should                 appear on
                             should appear            on           10
                                                                   10 years of              without medical
                                                                                 of age without                                     percent
                                                                                                                                    percent hydrocortisone preparations.
advertising
advertising and    and labeling '* •* `;         *;                supervision; FDA's  FDA’s age limit is not for                      Malkinson
                                                                                                                                       Malkinson wasw as unable
                                                                                                                                                           unable to demonstrate
    (8) The product should not be
    (8)                                                            use on children under 2 years of               of age.           any
                                                                                                                                    any absorption of hydrocortisone by
recommended for use on children under                                  (6)            Britain’s directions are
                                                                       (6) Great Britain's                          are to          normal
                                                                                                                                    normal skin
                                                                                                                                             skin for 55%
                                                                                                                                                        1/ 2 to 6 hours after
                                                                                                                                                                            after the
10 years of
10            of age without medical                               use sparingly
                                                                          sparingly over aa small   small area 1     1 or 2         topical
                                                                                                                                    topical application
                                                                                                                                             application of  of a radioactively-
supervision;
supervision;                                                       times a day for a maximum period of 11                           labeled
                                                                                                                                    labeled 2.5-percent
                                                                                                                                             2.5-percent hydrocortisone
    (9) The product label should      should carry the     die     week; FDA's
                                                                             FDA’s directions are as follows:                       ointment by using a gas-flow cell that
following warning: "Do         “Do not use in                      Adults and childrenchildrens2 years of age or                    measured
                                                                                                                                    measured thethe residual radiation at the
pregnancy without medical advice;"           advice;”              older: Apply to affected area not more                           site
                                                                                                                                    site of application. Malkinson further
    (10) The dosage instruction should be:                         than 3 or 4 times daily. Children under 2                        reported that
                                                                                                                                    reported  that there wasw as also no evidence
“Use sparingly over a small area once/
"Use                                                               years of age: consult a physician or                             of
                                                                                                                                    of absorption of the radioactively-
twice a day for a maximum period of                                doctor. Also, FDA has a warning, "If                 “If         labeled
                                                                                                                                    labeled 2.5-percent
                                                                                                                                             2.5-percent hydrocortisone
one week;"
       week;”                                                      condition worsens or if symptoms                                 ointment   before or after exposure 3f
                                                                                                                                    ointment before                              of the
                  Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 195 of 210

6936
 6936                    Federal  Register / / Vol.
                          Federal Register           55, No.
                                               Vol. 55,       39 / / Tuesday,
                                                         No. 39               February 27,
                                                                     Tuesday, February              Proposed Rules
                                                                                            1990 // Proposed
                                                                                        27, 1990             Rules

        sitestotoan
 skinsites
skin                 anerythema-pro
                           erythema-producing    ducing               surfaceof
                                                                     surface           thebody
                                                                                   ofthe      bodyfrom fromthe   thenecknecktotothe the    C.
                                                                                                                                            C. Systemic           E ffects and
                                                                                                                                                  System ic Effects                   R isk of
                                                                                                                                                                                and Risk       of
  dose of
dose          ultravioletlight.
         ofultraviolet           light.Malkinson
                                          Malkinson                   kneesinin48
                                                                     knees               subjects.The
                                                                                    48subjects.                   authorsdid
                                                                                                         Theauthors            didnotnot   Superinfectio
                                                                                                                                            Superinfection        n
  statedthat
stated      thatititwwas as not       surprisingthat
                                notsurprising          that the
                                                             the      considerthese
                                                                     consider                                  significantbut
                                                                                               changessignificant
                                                                                     thesechanges                                but
 gas-flowcell
gas-flow        cellwwas        unabletotodetect
                         as unable              detect anyany         suggestedthat
                                                                     suggested                 theymay
                                                                                       that they       maybe          indicativeof
                                                                                                                 beindicative         of
                                                                                                                                               The     agencyhas
                                                                                                                                                Theagency            hasalso        conductedan
                                                                                                                                                                            alsoconducted             an
 absorption of
absorption         ofthe       ointment by
                        theointment            bynormal
                                                    normal            somegeneral
                                                                     some                    internal effect
                                                                               generalinternal              effect of  of                   extensivereview
                                                                                                                                           extensive          reviewof     ofthe     data submitted
                                                                                                                                                                                the data     submitted
        becausethe            quantitativeabsorption
                       thequantitative             absorption        hydrocortiso
                                                                      hydrocortisone      ne after       topical application
                                                                                                aftertopical           application               demonstratethe
                                                                                                                                           totodemonstrate                    comparativeefficacy
                                                                                                                                                                       the comparative             efficacy
 skinbecause
skin                                                                                                                                                                                              ne as
            compound isiswell
     thiscompound
 ofthis
of                                         withinthe
                                   wellwithin         the                  the skin.
                                                                     totothe    skin.                                                      of   0.5and
                                                                                                                                            of0.5                percenthydrocortiso
                                                                                                                                                      and 11percent             hydrocortisone           as
               percentage of
 inherentpercentage
inherent                                errorof
                                   oferror       ofthis
                                                     this                The                conducted aa thorough
                                                                                 Panel conducted
                                                                          ThePanel                                thorough                  well as
                                                                                                                                           well     asthe       efficacystudies
                                                                                                                                                         the efficacy                      submittedtoto
                                                                                                                                                                               studies submitted
 device.He
device.      Henoted,           however, that
                   noted,however,               that                  reviewof
                                                                     review       ofthe      availableliterature"on
                                                                                      the available            literature- on                     Panelin
                                                                                                                                            thePanel
                                                                                                                                           the                   which concentration
                                                                                                                                                             inwhich         concentrations        s ofof11
 previousstudies
previous        studieshad          shown that
                             had shown           that 11toto22       hydrocortiso
                                                                      hydrocortisone      ne and       stated that
                                                                                                andstated            thatitit found
                                                                                                                               found        percent hydrocortiso
                                                                                                                                           percent       hydrocortisone         ne or    morewere
                                                                                                                                                                                     ormore       were
 percent of
percent              topically applied
              ofaa topically          applied dose dose of of               report of
                                                                      noreport
                                                                     no                         aggravationof
                                                                                           the aggravation
                                                                                      of the                           of                   used.While
                                                                                                                                           used.                  evaluating the
                                                                                                                                                      While evaluating                    efficacydata,
                                                                                                                                                                                     theefficacy         data,
 hydrocortisone-4-C"
hydrocortison         e-4-C14wwas            absorbed by
                                       as absorbed          by       cutaneous          bacterial,fungal,
                                                                      cutaneousbacterial,                fungal, or    or viral
                                                                                                                           viral                  agencyalso
                                                                                                                                            theagency
                                                                                                                                           the                          looked to
                                                                                                                                                                alsolooked          to seewhether
                                                                                                                                                                                        see    whether
 normal skin.
normal                Malkinson also
             skin.Malkinson               also                                       attributable to
                                                                      infection attributable
                                                                     infection                             tothethetopical
                                                                                                                       topical             the    studies showed
                                                                                                                                            the studies         showedpossible possible systemic
                                                                                                                                                                                            systemic
 demonstrated that
demonstrated                     skin stripping
                         that skin       stripping                    application of
                                                                     application          of hydrocortison            e-containing
                                                                                              hydrocortisone-containing                     effectsor
                                                                                                                                           effects              worsening of
                                                                                                                                                        or aa worsening                symptomsdue
                                                                                                                                                                                   of symptoms           due
                      increased the
 dramatically increased
dramatically                                   amount of
                                         the amount        of         products (44
                                                                     products        (44 FR     69768at
                                                                                            FR 69768             69817).This
                                                                                                            at 69817).       This                                resultingfrom
                                                                                                                                                 infection resulting
                                                                                                                                            toinfection
                                                                                                                                           to                                    from thethe
                                                                                                                                            application of
                                                                                                                                           application               topical hydrocortiso
                                                                                                                                                                of topical        hydrocortisone      ne
 absorption of
absorption              hydrocortisone
                   of hydrocortiso                 that could
                                             ne that      could                   included the
                                                                      reviewincluded
                                                                     review                       the 37     efficacy studies
                                                                                                        37 efficacy         studies
      expected after
 be expected
be                              topical administratio
                     after topical          administration.     n.    cited by
                                                                     cited     by the      Panel.Of
                                                                                    the Panel.              those 37
                                                                                                     Of those          37 studies,
                                                                                                                           studies,         products.Based
                                                                                                                                           products.         Based on    on this     review, as
                                                                                                                                                                               this review,       as
          additional evidence
    As additional
    As                       evidence of         the low
                                             of the    low           31    involved concentration
                                                                      31involved          concentrations         s of of                    discussed below,
                                                                                                                                           discussed          below, the         agency concludes
                                                                                                                                                                           the agency        concludes
 level of
level         absorption of
         of absorption                topically applied
                                  of topically       applied         hydrocortiso
                                                                      hydrocortisone      ne of        percent or
                                                                                                of 11percent          or greater.
                                                                                                                          greater.          that the
                                                                                                                                           that           likelihood of
                                                                                                                                                    the likelihood               systemic toxic
                                                                                                                                                                             of systemic        toxic
 hydrocortisone,
hydrocortison         e, the                 cited studies
                                   Panel cited
                            the Panel                studies         The      Panel did
                                                                      The Panel               report two
                                                                                       did report        two casescases of  of              effects or
                                                                                                                                           effects      or an      increased risk
                                                                                                                                                             an increased           risk ofof infection
                                                                                                                                                                                               infection
                (Refs. 15
      Smith (Refs.
 by Smith
by                         15and       16). Fleischmajer
                                 and 16),     Fleischmajer                              infection in
                                                                      secondary infection
                                                                     secondary                               patients treated
                                                                                                        in patients         treated         due to
                                                                                                                                           due                             application of
                                                                                                                                                              topical application
                                                                                                                                                       the topical
                                                                                                                                                   to the                                     of 11
                                                                                                                          ne                percent hydrocortiso
                                                                                                                                           percent       hydrocortisone         ne oror
         17), and
 (Ref. 17),
(Ref.                                 Shapiro, and
                       Witten, Shapiro,
                and Witten,                         and              with        2.5-percent hydrocortiso
                                                                      with aa 2.5-percent            hydrocortisone
 Silber (Ref.
Silber                     These studies
                   18). These
           (Ref. 18).                  studies                        ointment as
                                                                     ointment              part of
                                                                                     as part          the Fleischmajer
                                                                                                  of the      Fleischmajer                 hydrocortiso
                                                                                                                                            hydrocortisone       ne acetate             quite small.
                                                                                                                                                                       acetate isis quite        small.
 demonstrated no
demonstrated                   significant systemic
                        no significant           systemic                       (Ref. 17).
                                                                      study (Ref.
                                                                     study                      However, Fleischmajer
                                                                                        17). However,             Fleischmajer                  In a study by Robinson, Robinson,
                                                                                                                                               In  a  study      by   Robinson,          Robinson. and     and
                  drop in
            i.e., drop
 effect, i.e.,
effect,                          circulating eosinophil
                            in circulating         eosinophil         stated that
                                                                     stated      that the      infections were
                                                                                         the infections           were in  in areas
                                                                                                                               areas        Strahan (Ref.
                                                                                                                                           Strahan        (Ref. 22)       using concentration
                                                                                                                                                                    22) using       concentrations        s of
                                                                                                                                                                                                            of
           alteration in
 count, alteration
count,                            plasma or
                              in plasma        or urinary
                                                    urinary           affected by
                                                                     affected                        excoriation due
                                                                                          severe excoriation
                                                                                    by severe                              due to to       hydrocortiso
                                                                                                                                            hydrocortisone       ne or or hydrocortison
                                                                                                                                                                            hydrocortisone        e
 steroids, or
steroids,           changes in
                or changes              blood glucose
                                   in blood       glucose             scratching and
                                                                     scratching                that the
                                                                                        and that       the infections
                                                                                                              infections                    acetate of
                                                                                                                                           acetate            0.5, 1.0, and
                                                                                                                                                         of 0.5,1.0,        and 2.5     percent in
                                                                                                                                                                                   2.5 percent        in
            after the
 levels, after
levels,              the topical        application of
                            topical application            of aa     promptly         cleared after
                                                                       promptly cleared                      local and
                                                                                                   after local         and                 1,655     subjects with
                                                                                                                                            1.655 subjects                    various dermatitides,
                                                                                                                                                                     with various         dermatitides,
                    containing 2.5
 preparation containing
preparation                             2.5 percent
                                              percent                 systemic antibiotic
                                                                     systemic                         therapy without
                                                                                     antibiotic therapy               without any  any      there w
                                                                                                                                           there     wasas no       evidence of
                                                                                                                                                              no evidence               serious side
                                                                                                                                                                                    of serious       side
 hydrocortisone.
hydrocortison               Smith (Ref.
                       e. Smith                15) reported
                                       (Ref. 15)     reported         interruption of
                                                                     interruption          of hydrocortison
                                                                                               hydrocortisone           e therapy.
                                                                                                                           therapy.         effects or
                                                                                                                                           effects          systemic toxic
                                                                                                                                                        or systemic                   reactions. A
                                                                                                                                                                              toxic reactions.          A
                       alteration in
      consistent alteration
 no consistent
no                                        in circulating
                                              circulating                     another study
                                                                          In another
                                                                         In                           cited by
                                                                                            study cited         by thethe Panel,
                                                                                                                            Panel,                      conclusion w
                                                                                                                                            similar conclusion
                                                                                                                                           similar                           was    stated by
                                                                                                                                                                                as stated      by
 eosinophil counts
eosinophil        counts after                       grams (g)
                                        using 66 grams
                                after using                    (g)    conducted by
                                                                     conducted          by the     Staff of
                                                                                              the Staff           Saint John’s
                                                                                                             of Saint       John's          Robinson and
                                                                                                                                           Robinson                  Robinson (Ref.
                                                                                                                                                             and Robinson                     23) in
                                                                                                                                                                                      (Ref. 23)      in aa
        2.5-percent hydrocortiso
 of aa 2.5-percent
of                          hydrocortisone       ne acetate
                                                      acetate         Hospital for
                                                                     Hospital                      Diseases and
                                                                                           Skin Diseases
                                                                                     for Skin                        and Institute
                                                                                                                            Institute       followup study
                                                                                                                                           followup                   using 11 and
                                                                                                                                                            study using                   2.5 percent
                                                                                                                                                                                    and 2.5     percent
 ointment on
ointment        on eight                    subjects and
                                normal subjects
                     eight normal                         and              Dermatology (Ref.
                                                                      of Dermatology
                                                                     of                                  20), the
                                                                                                (Ref. 20),        the authors
                                                                                                                        authors            hydrocortiso
                                                                                                                                            hydrocortisone       ne andand hydrocortison
                                                                                                                                                                               hydrocortisone        e
           subjects with
 seven subjects
seven                              generalized skin
                           with generalized            skin           reported aa few
                                                                     reported                  cases of
                                                                                        few cases              worsening of
                                                                                                          of worsening           of         acetate concentration
                                                                                                                                           acetate       concentrations,             other steroids,
                                                                                                                                                                                 s, other     steroids,
 disease. In
disease.              subsequent study
               In aa subsequent            study by  by Smith
                                                          Smith       symptoms due
                                                                     symptoms           due to     infection in
                                                                                               to infection                 study of
                                                                                                                     in aa study     of    and               salts of
                                                                                                                                                   other salts
                                                                                                                                            and other                 of hydrocortiso
                                                                                                                                                                           hydrocortisone      ne on  on
         16), no
 (Ref. 16),
(Ref.                                   alteration in
                    significant alteration
                no significant                           in                  subjects with
                                                                      708 subjects
                                                                     708                           various eczemas
                                                                                           with various            eczemas                 2,542     subjects with
                                                                                                                                            2.542 subjects                    steroid sensitive
                                                                                                                                                                     with steroid        sensitive
             17-ketosteroids
 urinary 17-ketosteroi
urinary                            ds or or 17-
                                             17-                     treated                preparations containing
                                                                                  with preparations
                                                                       treated with                                containing               dermatitides. Sulzberger
                                                                                                                                           dermatitides.            Sulzberger and     and W     itten
                                                                                                                                                                                             Witten
                     costeroids as
 hydroxycorticosteroids
hydroxycorti                                  compared to
                                         as compared          to      0.25 to
                                                                     0.25              percent hydrocortiso
                                                                                 2.5 percent
                                                                              to 2.5                 hydrocortisone        ne oror          (Ref. 24)
                                                                                                                                            (Ref.          treated 252
                                                                                                                                                     24) treated                subjects with
                                                                                                                                                                         252 subjects        with
               values w
 baseline values
baseline                    was     demonstrated after
                               as demonstrated             after     hydrocortison
                                                                      hydrocortisone            acetate. The
                                                                                             e acetate.         The authors
                                                                                                                        authors            selected        dermatitides with
                                                                                                                                            selected dermatitides                 with various
                                                                                                                                                                                          various
       use of
 the use
the              10 gg of
             of 10       of aa 2.5-percent
                                 2.5-percent                          concluded, however,
                                                                      concluded,         however, that             there seemed
                                                                                                          that there        seemed         ointments          containing hydrocortiso
                                                                                                                                            ointments containing                  hydrocortisone      ne 1
 hydrocortisone
hydrocortison              ointment on
                       e ointment                eight normal
                                           on eight      normal        to be
                                                                      to       little or
                                                                           be little    or no     evidence that
                                                                                             no evidence            that                    and 2.5
                                                                                                                                           and          percent and
                                                                                                                                                   2.5 percent                  reported that
                                                                                                                                                                       and reported          that the the
 subjects.
subjects.                                                            hydrocortiso
                                                                      hydrocortisone            ointment positively
                                                                                           ne ointment           positively                 topical     application did
                                                                                                                                            topical application                           produce any
                                                                                                                                                                                    not produce
                                                                                                                                                                              did not                   any
    Fleischmajer (Ref.
    Fleischmajer           (Ref. 17)      reported no
                                    17) reported         no                      superficial infections.
                                                                      favors superficial
                                                                      favors                        infections.                            clinical      evidence of
                                                                                                                                            clinical evidence                  adverse systemic
                                                                                                                                                                          of adverse        systemic
clinical side                      directly attributable
                     effects directly
              side effects                      attributable             The     Panel also
                                                                          The Panel                mentioned aa
                                                                                            also mentioned                                  effects.    Calm and
                                                                                                                                            effects. Cahn                  Levy (Ref.
                                                                                                                                                                    and Levy                25) also
                                                                                                                                                                                    (Ref. 25)     also
     treatment and
 to treatment
 to                   and no  no distinct changeschanges in   in      multicenter         double-blind study
                                                                       multicenter double-blind                  study by   by              reported no
                                                                                                                                            reported             manifestation of
                                                                                                                                                           no manifestation              of systemic
                                                                                                                                                                                             systemic
              laboratory analyses
 various laboratory
various                           analyses performed
                                                 performed            Carpenter et al.
                                                                      Carpenter                  (Ref. 21)
                                                                                            al. (Ref.     21) in in which aa                toxicity in
                                                                                                                                            toxicity              study that
                                                                                                                                                          in aa study               included the
                                                                                                                                                                             that included         the
               study of 19 subjects
 during aa study
 during                            subjects treated
                                                  treated              product containing
                                                                      product                         clioquinol (formerly
                                                                                   containing clioquinol                 (formerly          application of 1.0
                                                                                                                                            application              1.0 percent
                                                                                                                                                                           percent
                   with aa 2.5-percent
           daily with
 twice daily
 twice                                                                known as
                                                                      known       as iodochlorhyd
                                                                                       iodochlorhydroxyquin)  roxyquin) and 1        1      hydrocortison
                                                                                                                                            hydrocortisone             to 58
                                                                                                                                                                    e to         subjects in
                                                                                                                                                                            58 subjects       in the
                                                                                                                                                                                                   the
 hydrocortisone
 hydrocortison         e ointment for      for periods
                                                 periods              percent hydrocortiso
                                                                     percent       hydrocortisone       ne was was compared
                                                                                                                       compared             treatment of aa variety  variety of    of common
                                                                                                                                                                                      common
 ranging from
 ranging      from 3 to            months. The
                          to 20 months.          The                  to the
                                                                      to                          components in
                                                                                individual components
                                                                          the individual                                 in the
                                                                                                                             the            dermatoses.
                                                                                                                                            dermatoses.
               received total doses
 subjects received
 subjects                               doses of                       treatment of subjects
                                                                      treatment             subjects with with acute acute                             study by
                                                                                                                                               In a study              Mullins and
                                                                                                                                                                  by Mullins                Hicks (Ref.
                                                                                                                                                                                     and Hicks         (Ref.
 hydrocortisone
 hydrocortison         e acetate         ranging from
                           acetate ranging                            dermatitis complicated by
                                                                      dermatitis                              by secondary
                                                                                                                     secondary                    comparing the
                                                                                                                                            26) comparing                   effectiveness of
                                                                                                                                                                     the effectiveness            of 1-1- and
                                                                                                                                                                                                           and
 8,750 to                milligrams (mg).
          to 95,000 milligrams              (mg).                     bacterial or fungal infection.
                                                                      bacterial                      infection. Carpenter
                                                                                                                        Carpenter           2.5-percent hydrocortiso
                                                                                                                                                                hydrocortisone       ne preparations
                                                                                                                                                                                          preparations
    Witten,      Shapiro, and
    Witten, Shapiro,              and Silber (Ref. 18)                    al. found no
                                                                      et al.                   evidence of the
                                                                                          no evidence                the                              subjects with
                                                                                                                                            in 100 subjects           with selected
                                                                                                                                                                                selected
 reported no
 reported           increase in
                no increase             17,21-dihydroxy-
                                     in 17,21-dihydroxy-              exacerbation of infection in the                 the 6868             dermatitides, the
                                                                                                                                            dermatitides,                               reported that
                                                                                                                                                                          authors reported
                                                                                                                                                                    the authors                        that
 20-ketosteroid
 20-ketosteroi            levels in mine
                      d levels           urine and blood              subjects who
                                                                      subjects      who received the         the 1-percent                           were no
                                                                                                                                            there were
                                                                                                                                            there              no untoward
                                                                                                                                                                     untoward systemicsystemic
         using a 2.5-percent hydrocortison
 after using                               hydrocortisone       e     hydrocortison
                                                                      hydrocortisone         e component.
                                                                                                component.                                  absorption effects in                any of
                                                                                                                                                                            in any     of the    subjects.
                                                                                                                                                                                           the subjects.
 acetate ointment on six normal subjects
 acetate                                              subjects                   Panel's extensive review of the
                                                                         The Panel’s                                             the        Kalz, McCorriston, and                   Prichard (Ref.
                                                                                                                                                                              and Prichard          (Ref.
 and nine subjects with extensive or                                  literature revealed no evidence of local
                                                                      literature                                                local       27) observed 581 subjects     subjects with with multiple
                                                                                                                                                                                                multiple
 generalized skin disease.   disease. However, the          the       changes in the
                                                                      changes           the skin such as              striae
                                                                                                                 as striae                  dermatitides treated with
                                                                                                                                            dermatitides                         with preparations
                                                                                                                                                                                        preparations
 Panel noted that Gemzell,   Cemzell. Hard, and         and                                 telangiectasiaa (a vascular
                                                                      formation or telangiectasi                                            containing 1-to           2.5 percent
                                                                                                                                                               l.to 2.5     percent
 Nilzen (Ref. 19) reported an increase in                             lesion formed by the dilation of a group                              hydrocortiso
                                                                                                                                            hydrocortisone        ne and noted noted no  no evidence
                                                                                                                                                                                             evidence
                                   17-hydroxycortico-
 the plasma levels of 17-hydroxycortico-                              of small blood vessels)  vessels) directly                            of systemic effects due          due to     the absorption
                                                                                                                                                                                    to the    absorption
 steroids followed by a decrease in                                   attributable to the topical application of                     of     of hydrocortison
                                                                                                                                                hydrocortisone.             However, they
                                                                                                                                                                        e. However,          they
 circulating eosinophil levels after the                              1 percent hydrocortison
                                                                                      hydrocortisone.         e. The PanelPanel alsoalso    observed the development of                   of follicular
                                                                                                                                                                                              follicular
 application of 200 mg of hydrocortison   hydrocortisone        e     found there was a low incidence of                      of            pustules and boils in the                           treated in
                                                                                                                                                                                       areas treated
                                                                                                                                                                                 the areas                  in
 in various vehicles to the anterior                                  allergic reactions.
                                                                                   reactions.                                               four of the patients included     included in   in their
                                                                                                                                                                                                 their
                   Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 196 of 210

                    Federal
                    Federal Register
                            Register // Vol.
                                        Vol. 55,
                                             55, No.
                                                 No. 39
                                                     39 // Tuesday,
                                                           Tuesday, February
                                                                    February 27,
                                                                             27. 1990
                                                                                 1990 // Proposed
                                                                                         Proposed Rules
                                                                                                  Rules                                                              6937
                                                                                                                                                                     6937

study.
study. Polano
          Polano (Ref.
                    (Ref. 28)
                           28) also
                               also reported
                                      reported no  no   systemic
                                                         systemic effects
                                                                       effects were
                                                                                  were noted
                                                                                           noted in  in any
                                                                                                        any of of      weeping
                                                                                                                        weeping eczema
                                                                                                                                   eczema of   of the
                                                                                                                                                   the face
                                                                                                                                                        face and
                                                                                                                                                              and hands
                                                                                                                                                                     hands
untoward
untoward side side reactions
                     reactions in in aa study
                                        study           these
                                                         these studies.
                                                                  studies. While
                                                                               While some
                                                                                        some cases
                                                                                                 cases of  of          whose
                                                                                                                        whose condition
                                                                                                                                condition worsened
                                                                                                                                               worsened afterafter
comparing
comparing 11 percent
                  percent hydrocortisone
                            hydrocortisone to      to   secondary
                                                         secondary infection
                                                                          infection have
                                                                                       have beenbeen reported,
                                                                                                         reported.     treatment
                                                                                                                        treatment with
                                                                                                                                     with aa 1-percent
                                                                                                                                              1-percent
other
other treatm     ents in
        treatments      in 245
                           245 subjects
                                subjects with
                                            with aa     they
                                                         they dodo not
                                                                     not appear
                                                                            appear to to be
                                                                                          be ofof aa serious
                                                                                                      serious          hydrocortisone
                                                                                                                        hydrocortisone ointment.
                                                                                                                                             ointment. Positive
                                                                                                                                                           Positive patch
                                                                                                                                                                        patch
variety
variety of of dermatitides.
              dermatitides.                             nature.
                                                         nature. TheThe agency
                                                                            agency believes
                                                                                      believes that  that these
                                                                                                            these      test
                                                                                                                        test results
                                                                                                                             results were
                                                                                                                                      were obtained
                                                                                                                                               obtained withwith several
                                                                                                                                                                    several
   In
   In aa study
         study involving
                  involving 259259 subjects
                                     subjects with
                                                with    potential
                                                         potential risks
                                                                       risks would
                                                                                would be  be further
                                                                                               further                 brands
                                                                                                                        brands of hydrocortisone
                                                                                                                                     hydrocortisone preparations
                                                                                                                                                           preparations
various
various dermatitides,
           dermatitides, Howell
                             Howell (Ref.(Ref. 29)
                                                29)     diminished
                                                         diminished under  under thethe proposed
                                                                                          proposed label label         (ranging
                                                                                                                        (ranging from
                                                                                                                                   from 0.5-
                                                                                                                                          0.5- to
                                                                                                                                                to 1.5-percent
                                                                                                                                                    1.5-percent
reported
reported no  no evidence
                 evidence of percutaneous
                                 percutaneous           limitations
                                                         limitations of    of OTC
                                                                               OTC use,
                                                                                      use. i.e.,
                                                                                             i.e., aa 7-day
                                                                                                       7-day           concentration)
                                                                                                                        concentration) and  and toto aa pure
                                                                                                                                                         pure solution
                                                                                                                                                               solution of   of
absorption
absor ption fromfrom aa 1-
                         1- or
                            or 2.5-percent
                                2.5-percent             maximum
                                                         maximum treatment
                                                                         treatment period
                                                                                        period on   on minor
                                                                                                        minor          66 percent
                                                                                                                          percent hydrocortisone
                                                                                                                                    hydrocortisone succinate
                                                                                                                                                           succinate in   in
hydrocortisone
hydrocortisone ointment.
                      ointment. Howell
                                   Howell alsoalso .    skin
                                                         skin irritations
                                                                irritations withwith aa warning
                                                                                           warning to   to             water.
                                                                                                                        water. Kooij
                                                                                                                                Kooij concluded
                                                                                                                                       concluded that,  that, based
                                                                                                                                                               based on   on
noted
 noted that
         that six
               six subjects
                    subjects with
                                with chronic
                                       chronic          discontinue
                                                         discontinue use    use of the
                                                                                     the product
                                                                                           product and  and            these
                                                                                                                        these results,
                                                                                                                               results. itit could bebe assumed
                                                                                                                                                          assumed that  that
allergic
allergic (atopic)
           (atopic) eczema
                       eczema included
                                 included in  in the
                                                  the   consult
                                                         consult aa doctor
                                                                       doctor ifif the
                                                                                     the condition
                                                                                           condition                   this
                                                                                                                        this w as aa case
                                                                                                                             was     case of hypersensitivity
                                                                                                                                                hypersensitivity to      to a
study
study had
        had practically
              practically generalized
                             generalized                worsens,
                                                         worsens, or if     if symptoms
                                                                               symptoms persistpersist for for more
                                                                                                               more    pure
                                                                                                                        pure hydrocortisone
                                                                                                                              hydrocortisone compound.
                                                                                                                                                    compound.
involvement
involvement and   and that
                        that thé
                              the ointment w    wasas   than
                                                         than 77 days
                                                                   days or  or clear
                                                                                clear up
                                                                                       up and
                                                                                            and occur again  again        Alani
                                                                                                                           Alani and
                                                                                                                                 and Alani
                                                                                                                                       Alani (Ref.
                                                                                                                                                 (Ref. 44)
                                                                                                                                                         44) performed
                                                                                                                                                              performed aa
applied
applied overover extensive
                   extensive areas
                                areas of thethe body
                                                 body   within
                                                         within aa fewfew days.
                                                                             days. These
                                                                                     These warnings
                                                                                                warnings were  were    series
                                                                                                                        series of routine
                                                                                                                                   routine patch
                                                                                                                                              patch tests
                                                                                                                                                       tests to
                                                                                                                                                              to study
                                                                                                                                                                  study the the
for
 for as
     as long
         long as
               as 2 months
                      months without
                                without any             proposed
                                                         proposed in    in § 348.50(c)     (l)(iii) of the
                                                                               348.50(c)(1)(iii)          the          incidence
                                            any                                                                         incidence of cortisone
                                                                                                                                       cortisone and   and other
                                                                                                                                                             other
untoward
untoward effect.
              effect. Portnoy
                        Portnoy (Ref.
                                   (Ref. 30) noted      tentative
                                                         tentative final monograph for OTC             OTC             corticosteroid
                                               noted                                                                    corticosteroid sensitivity.
                                                                                                                                           sensitivity. Tests
                                                                                                                                                           Tests were
                                                                                                                                                                    were
no
no cutaneous
     cutaneous or systemic
                       systemic reactions
                                    reactions in        external
                                                         external analgesic
                                                                      analgesic drug drug products
                                                                                             products (47 FR     FR    performed
                                                 in                                                                     performed on 1,835
                                                                                                                                         1,835 subjects
                                                                                                                                                  subjects withwith contact .
any
any of 129 subjects
               subjects with pruritus
                                  pruritus ani,
                                              ani,      5852 at at 5868).
                                                                    5868).                                              dermatitis.
                                                                                                                        dermatitis. A A retrieval
                                                                                                                                         retrieval search
                                                                                                                                                       search forfor
pruritus
pruritus vulvae,
            vulvae, infantile
                       infantile eczema,
                                   eczema,              D.    Sensitizationand
                                                         D. Sensitization          andIrritation
                                                                                          IrritationPotential
                                                                                                         P otential     subjects
                                                                                                                        subjects with allergic
                                                                                                                                          allergic contact dermatitis
                                                                                                                                                                 dermatitis
contact dermatitis,
           dermatitis. and and flexural prurigo
                                            prurigo     ooff H ydrocortisone
                                                             Hydrocortisone                                             suspected of being
                                                                                                                                        being sensitive
                                                                                                                                                 sensitive to  to steroid
                                                                                                                                                                   steroid
who
who were
       were treated
              treated with
                         with 0.1
                                0.1 percent
                                     percent 9a-
                                               9a-                                                                      creams
                                                                                                                        creams was
                                                                                                                                 was also
                                                                                                                                       also performed.
                                                                                                                                               performed. The  The 17
                                                            Few
                                                             Few cases
                                                                   cases of sensitization
                                                                                 sensitization or irritation
                                                                                                          L-ritation
fluorohydrocortisone
fluorohydrocortisone or 1-percent                                                                                       subjects
                                                                                                                        subjects obtained from the      the retrieval
                                                                                                                                                             retrieval
                                                        due
                                                         due toto the
                                                                   the topical application
                                                                                    application of
hydrocortisone
 hydrocortisone ointment.
                      ointment. W      arm (Ref.
                                   Warin     (Ref.                                                                      search
                                                                                                                        search were
                                                                                                                                were also
                                                                                                                                       also tested
                                                                                                                                               tested with
                                                                                                                                                         with the
                                                                                                                                                                the routine
                                                                                                                                                                     routine
                                                        hydrocortisone
                                                         hydrocortisone or       or hydrocortisone
                                                                                    hydrocortisone
31) reported
     reported no  no tendency
                      tendency to  to secondary
                                       secondary         acetate                                                       patch
                                                                                                                        patch test series.
                                                                                                                                     series. Included in the    the test
                                                                                                                                                                      test
infection                                                acetate have
                                                                    have been been reported in clinical
infection or systemic
                 systemic effects
                             effects in treating
                                           treating      studies                                                        were
                                                                                                                        were purified
                                                                                                                               purified preparations
                                                                                                                                          preparations of
40 infants                                               studies involving
                                                                    involving over 6,000 subjects   subjects
    infants and children
                     children suffering from             (Refs.                                                         hydrocortisone
                                                                                                                        hydrocortisone and   and hydrocortisone
                                                                                                                                                    hydrocortisone
infantile                                                (Refs. 20,
                                                                  20. 22, 24, 25, 26, 27, and 32
infantile eczema with   with 11 or 2.5 percent           through 40). Rather,
                                                                            Rather, patch testing,
                                                                                                 testing, when
                                                                                                                        acetate,
                                                                                                                        acetate, two
                                                                                                                                  two proprietary
                                                                                                                                        proprietary preparations,
                                                                                                                                                          preparations.
hydrocortisone
 hydrocortisone acetate.
                      acetate.                           done                                                           two
                                                                                                                        two mixtures
                                                                                                                              mixtures of hydrocortisone
                                                                                                                                              hydrocortisone and
                                                         done on subjects
                                                                     subjects who  who had exacerbation
   Infectious
   Infectious complications
                  complications occurred in 9            of symptoms
                                                             symptoms during treatment,                                 hydrocortisone
                                                                                                                        hydrocortisone acetate
                                                                                                                                             acetate by two different
                                                                                                                                                                   different
                                                                                       treatment, showed
(2.23 percent)
       percent) out of the 402 subjectssubjects          reactions                                                      manufacturers,
                                                                                                                        manufacturers, various brands   brands of
                                                         reactions for the    the most part to be due to         to
with chronic dermatitides who       who were
                                           were          local irritations                                              hydrocortisone
                                                                                                                        hydrocortisone and hydrocortisone
                                                                                                                                                    hydrocortisone
                                                                 irritations from ingredients
                                                                                         ingredients in the
treated
 treated with 1.0 and 2.5 percent                        vehicle or base                                                acetate,
                                                                                                                        acetate. and twotwo brands
                                                                                                                                               brands of prednisone.
                                                                                                                                                             prednisone.
                                                                         base (e.g., lanolin),
                                                                                        lanolin), and not to      to
hydrocortisone or hydrocortisone
                          hydrocortisone                 hydrocortisone or hydrocortisone
                                                                                    hydrocortisone                      Concentrations
                                                                                                                        Concentrations of hydrocortisone and            and
acetate
acetate in a study by W         elsh and Ede
                             Welsh                       acetate
                                                         acetate ((Refs. 20, 22, 32, 33, 37, and 38).                   hydrocortisone acetate
                                                                                                                                             acetate used in the patch
(Ref. 32). However,
             However, these secondary                    However, there have been some verified                         tests
                                                                                                                        tests were 10,
                                                                                                                                     10,15,
                                                                                                                                          15, and 25 percent.
                                                                                                                                                          percent. AllAll
infections
infections were
              were easily controlled with                reports
                                                         reports of allergic sensitivity to                             subjects who showed sensitivity by
                                                                                                                        subjects
topical antibiotics.
           antibiotics. The authors
                                authors                  hydrocortisone or hydrocortisone                               patch testing to cortiscosteroids were       were
considered this a low incidence of                       acetate.
                                                         acetate.                                                       subsequently patch-tested with       with
secondary infection and concluded that                       Coskey (Ref. 41) reported two cases of                     supplemental patch tests that included   included
based on these resultsresults and the known              allergic reactions in subjects with otitis                     previously-used topical steroids steroids andand allall
sensitizing properties
                properties of antibiotics, that          externa whose conditions were                                  other constituents of the suspected
                                                                                                                                                          suspected
it is inadvisable to use hydrocortisone                  aggravated by the application of                               offending steroid cream. The
with a topical antibiotic as a regular                   topically applied preparations                                 consecutive routine patch test revealed   revealed
therapeutic approach. In a study of 1            1       containing 1     1 percent hydrocortisone.                     six subjects (0.3 percent) who    w'ho gave
 and 2.5 percent hydrocortisone by                       Patch tests conducted on these subjects                        positive reactions to two mixtures mixtures of   of
Russell et al. (Ref. 33), one out of the 132             revealed a sensitivity to hydrocortisone.                      hydrocortisone and hydrocortisone
subjects developed a secondary                           Coskey stated that it was difficult to                         acetate of two different brands. Alani
infection. This subject, who was       w as being        explain why one subject was sensitive                          and Alani concluded that based on the             the
 treated for otitis externs,
                        externa, experienced             to hydrocortisone alcohol but not to                           negative reactions among 1.835      1,835
 an increase in swelling and exudation of                hydrocortisone acetate. Coskey                                 consecutive subjects, irritant reactionsreactions
 the ears shortly after treatment was                    theorized that the subjects may have                           are rare. However, they stated   stated that
                                                                                                                                                                   that they
                                                                                                                                                                          they
 begun with the hydrocortisone ointment.   ointm ent     been sensitive to one of the precursors                                                            corticosteroid
                                                                                                                        expected the incidence of corticosteroid
      patient’s eyes also became swollen.
The patient's                                            of hydrocortisone (e.g., 21-diol acetate),                     sensitivity to increase due to the      the
Culture revealed Staphylococcus                          but this could not be determined                               tendency of higher concentrations
                                                                                                                                                  concentrations of      of
pyogenes, Streptococcus haemolyticus,
                                  haem olyticus,         because patch tests for these substances      substances       steroids in proprietary preparations.
                                                                                                                                                       preparations. The    The
 and Pseudomonas
      Pseudom onas pyocyanea. Patch                      were not available. Edwards and                                incidence of sensitivity reactions
                                                                                                                                                        reactions in   in this
                                                                                                                                                                           this
 tests with hydrocortisone and the                       Rudner (Ref. 42) reported a case that                          study from Sweden is apparently higher
 vehicle were negative.                                  w
                                                         wasas interpreted as an example of pure                        than the incidence observed in the
   The observations of these                             hydrocortisone sensitivity
                                                                                 sensitivity in an aatopic,  topic      clinical studies discussed below.   below. This
                                                                                                                                                                      This
 investigators indicate that even under                  subject treated for a weeping                                  may in part be due to differences in
 the exaggerated conditions of use                       eczematous dermatitis of the feet with a                       European and United States drug
                OTC use) found in these
 (relative to OTC                                        1-percent hydrocortisone cream. A patch
                                                        1-percent                                                       product formulations and the lack of             of
 studies, the risk of  of systemic effects or an         test ruled out all components of the                           patch testing with the chemical
                                secondary
 increased incidence of secondary                        suspected product except for the pure
                                                         suspected                                                                            synthesis of
                                                                                                                        precursor in the synthesis          of
 infections following the use of       of topical 11     hydrocortisone powder. Kooij (Ref. 43)                         hydrocortisone acetate, 21-diol acetate.    acetate.
 percent hydrocortisone or                               reported a case of       of sensitivity
                                                                                     sensitivity to                     For example, in a European study,     study,
 hydrocortisone acetate is minimal. No                   hydrocortisone in a subject   subject with                              (Ref. 45) demonstrated that five
                                                                                                                        Church (Ref.
              Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 197 of 210

 6938
6938                             Register // Vol.
                         Federal Register
                         Federal                   55, No.
                                             Vol. 55,  No. 39
                                                            39 // Tuesday,
                                                                  Tuesday, February
                                                                           February 27,
                                                                                     27, 1990
                                                                                          1990 // Proposed
                                                                                                  Proposed Rules
                                                                                                           Rules

 cases
   cases of      apparentsensitivity
             ofapparent          sensitivity to    toanan           eczematous
                                                                      eczematous lesions.lesions. PatchPatch testing
                                                                                                                 testing                  aggravation
                                                                                                                                           aggravationand     and progression
                                                                                                                                                                     progression of       ofpoison
                                                                                                                                                                                               poison
 ointment         containing hydrocortisone
   ointmentcontaining                hydrocortisone                 revealed
                                                                      revealed no   no hypersensitivity
                                                                                         hypersensitivity to         to                   ivy
                                                                                                                                           ivy lesions
                                                                                                                                                 lesions after
                                                                                                                                                             after extensive
                                                                                                                                                                     extensive local  local
   acetate were
 acetate       were actually
                         actually due   due to to21-diol
                                                   21-diol          hydrocortisone,
                                                                      hydrocortisone, but       butoccasional
                                                                                                      occasional                          application
                                                                                                                                           application of     ofhydrocortisone
                                                                                                                                                                 hydrocortisone in          inboth
                                                                                                                                                                                                both
 acetate
   acetate thatthat was        present inin the
                       was present               the product
                                                       product      intolerance
                                                                      intolerance to    toallallavailable
                                                                                                  available                               types
                                                                                                                                           types of  ofointment
                                                                                                                                                        ointmentbases. bases. Patch
                                                                                                                                                                                  Patch tests tests
                amounts as
       smallamounts
 ininsmall                      as aa contaminant.
                                         contaminant,               hydrocortisone
                                                                      hydrocortisone products  products was    was                        performed
                                                                                                                                           performed severalseveralweeksweeks after afterthe the
   apparently left
 apparently                 over from
                     leftover        from thethe                    demonstrated.
                                                                      demonstrated.                                                       complete
                                                                                                                                           complete subsidence
                                                                                                                                                          subsidence of      ofthe
                                                                                                                                                                                 the dermatitis
                                                                                                                                                                                        dermatitis
 manufacturing
  manufacturing process.    process.                                    Malkinson
                                                                         Malkinson and     and Wells
                                                                                                   Wells (Ref.
                                                                                                             (Ref.36)36)                  failed
                                                                                                                                           failed to to reveal
                                                                                                                                                         revealany any evidence
                                                                                                                                                                          evidence of      ofspecific
                                                                                                                                                                                                specific
     In
      In the    clinicalstudy
          the clinical                   conducted by
                              study conducted            by         reported
                                                                      reported that that irritation        occurred in
                                                                                           irritation occurred            in44of of       sensitization.
                                                                                                                                           sensitization. Further,
                                                                                                                                                                Further, the  thesubject
                                                                                                                                                                                     subjectwas   was
 Robinson,
  Robinson, Robinson.
                    Robinson, and      and Strahan
                                             Strahan (Ref.(Ref.     71    subjects with
                                                                      71subjects        with various
                                                                                                 various superficial
                                                                                                              superficial                given
                                                                                                                                           given thethe ointments
                                                                                                                                                          ointments to    to rub
                                                                                                                                                                               rub into
                                                                                                                                                                                      into thethe skin
                                                                                                                                                                                                    skin
  22) involving
22)     involving1,655   1,655subjects,
                                   subjects, no   no serious
                                                      serious       inflammatory
                                                                      inflammatory dermatoses
                                                                                            dermatoses who      who werewere              daily
                                                                                                                                           daily forforseveral
                                                                                                                                                         several weeks
                                                                                                                                                                     weeks and   and no  no irritation
                                                                                                                                                                                              irritation
 cutaneous
  cutaneous reactions
                    reactions were   were observed.
                                               observed. The  The   treated
                                                                      treated withwith an      ointment containing
                                                                                          an ointment          containing 2.5    2.5      resulted.
                                                                                                                                           resulted. The The authors
                                                                                                                                                                authors felt felt that
                                                                                                                                                                                    that "the
                                                                                                                                                                                            “the
 majority
  majority of    ofthe      local reactions
                     the local        reactions notednoted            percent hydrocortisone
                                                                     percent      hydrocortisone acetate.   acetate#                      aggravation
                                                                                                                                           aggravation noted  noted was was due due to  to primary
                                                                                                                                                                                            primary
 was
  was due due to to local      irritative phenomena
                     local irritative          phenomena            However,
                                                                      However, the    the authors
                                                                                            authors further
                                                                                                         further reported
                                                                                                                     reported             irritation
                                                                                                                                           irritation by  by an
                                                                                                                                                              an ointment
                                                                                                                                                                   ointment in     inan an acute
                                                                                                                                                                                             acute
and
  and notnot primarily
               primarily to     to sensitization.
                                     sensitization.                 that    no evidence
                                                                      that no     evidence of     ofallergic
                                                                                                      allergicsensitivity
                                                                                                                  sensitivity to    to    phase
                                                                                                                                           phase of  ofaa dermatitis
                                                                                                                                                            dermatitis which which ordinarily
                                                                                                                                                                                         ordinarily
 Further,
  Further, the         more complicated
                the more        complicated the      the            hydrocortisone
                                                                      hydrocortisone was      was demonstrated.
                                                                                                       demonstrated.                      would
                                                                                                                                           would be   be treated
                                                                                                                                                          treated by  by bland
                                                                                                                                                                           bland locallocal therapy
                                                                                                                                                                                                therapy
  product base
 product       base was, was, the the higher
                                         higher thethe              Russell
                                                                      Russell et  et al.
                                                                                      al. (Ref.
                                                                                           (Ref.33) 33) reported
                                                                                                         reported no    no cases
                                                                                                                             cases        such
                                                                                                                                           such as as compresses,
                                                                                                                                                       compresses, colloid colloid baths,baths, andand
percentage
  percentage of      ofreactions.
                          reactions. Local  Local irritations
                                                     irritations    ofofsensitization
                                                                         sensitization in          132subjects
                                                                                               in132     subjects treated
                                                                                                                        treated          shake
                                                                                                                                           shake lotions."
                                                                                                                                                     lotions.”The  The cause
                                                                                                                                                                          cause of   ofthe
                                                                                                                                                                                         the
were       noted in
  were noted          in81 81individuals,
                               individuals, who    who were
                                                          were      for
                                                                      for various
                                                                           various dermatological
                                                                                       dermatological conditions conditions              aggravation
                                                                                                                                           aggravation of     ofsymptoms
                                                                                                                                                                  symptoms was      w as notnot
  patch tested
patch       tested withwith the the vehicle
                                       vehicle minus
                                                   minus the the    with
                                                                     with an an ointment
                                                                                   ointment containing
                                                                                                  containing                              determined
                                                                                                                                           determined in     in one
                                                                                                                                                                 one subject.
                                                                                                                                                                        subject.
steroid.
  steroid. In       each instance,
               In each       instance, the   the irritation
                                                   irritation       hydocortisone
                                                                     hydocortisone11or          or 2.5    percent or
                                                                                                     2.5 percent       or the
                                                                                                                           the               Welsh
                                                                                                                                              W elsh and and EdeEde (Ref.
                                                                                                                                                                       (Ref. 32)32) reported
                                                                                                                                                                                      reported that  that
was
  was due due to to the
                     the vehicle
                            vehicle in   in which
                                             which the the          ointment
                                                                     ointment vehicle.
                                                                                    vehicle. ThreeThree subjects
                                                                                                            subjects                     33of of402
                                                                                                                                                 402subjects
                                                                                                                                                       subjects with with chronic
                                                                                                                                                                             chronic
active
  active ingredient
             ingredient was    was dispensed.
                                        dispensed. Two   Two        abandoned
                                                                     abandoned treatmenttreatment due    due to to aa                     dermatitides
                                                                                                                                           dermatitides had    had reactions
                                                                                                                                                                      reactions to     to1.0
                                                                                                                                                                                           1.0or or 2.5
                                                                                                                                                                                                     2.5
subjects
  subjects with with acne acne vulgaris
                                   vulgaris developed
                                                 developed          worsening
                                                                     worsening of      ofsymptoms.
                                                                                           symptoms. Two      Two of  of these
                                                                                                                          these           percent
                                                                                                                                           percent hydrocortisone
                                                                                                                                                       hydrocortisone acetate.  acetate.
  numerous new
numerous           new follicular
                            follicular lesions
                                            lesions                 were
                                                                     were either
                                                                              either sensitive
                                                                                        sensitive to    to the
                                                                                                            the vehicle
                                                                                                                  vehicle or   or        However,
                                                                                                                                           However, in     in subsequent
                                                                                                                                                               subsequent patch   patch tests,
                                                                                                                                                                                             tests, the
                                                                                                                                                                                                      the
following
  following the   the application
                         application of      of1.0-percent
                                                 1.0-percent        one
                                                                     one of     its constituents,
                                                                            of its   constituents, and    and the the third
                                                                                                                        third            reactions
                                                                                                                                           reactions proved
                                                                                                                                                          proved to  to bebe due
                                                                                                                                                                               due to  to the
                                                                                                                                                                                           the
hydrocortisone
  hydrocortisone acetate     acetate greaseless
                                          greaseless                abandoned
                                                                     abandoned treatmenttreatment apparently
                                                                                                         apparently in      in           ointment
                                                                                                                                           ointment base base andand notnot to to
cream,
  cream, but  but no      other reactions
                    no other        reactions that  that could
                                                           could    response
                                                                     response to    to aa secondary
                                                                                            secondary infection.
                                                                                                              infection. One  One        hydrocortisone.
                                                                                                                                           hydrocortisone. Kalz,    Kalz, McCorriston,
                                                                                                                                                                             McCorriston, and       and
bebe attributed
       attributed to     to the
                             the local       application of
                                    local application         of    subject
                                                                     subject who  who complained
                                                                                         complained that      that the
                                                                                                                     the                 Prichard
                                                                                                                                           Prichard (Ref.        27) reported
                                                                                                                                                         (Ref. 27)    reported12      12 instances
                                                                                                                                                                                           instances
 the    steriod occurred
  the steriod       occurred in      in any
                                         any of of the
                                                    the             ointment
                                                                     ointment "burned"
                                                                                    “burned” was     was using
                                                                                                            using the the                ofof irritation
                                                                                                                                               irritation or or exacerbation
                                                                                                                                                                 exacerbation of         of the
                                                                                                                                                                                             the skin
                                                                                                                                                                                                   skin
  subjects. Two
subjects.                  subjects, treated
                 Two subjects,             treated with
                                                      with an an    vehicle.
                                                                     vehicle. Another
                                                                                  Another subjectsubject complained
                                                                                                              complained of      of      condition
                                                                                                                                           condition treated
                                                                                                                                                          treated in  in 581
                                                                                                                                                                          581 subjects.
                                                                                                                                                                                 subjects. The   The
  oily base
oily              containing lanolin,
         base containing             lanolin, developed
                                                  developed         aa fresh
                                                                        fresh outcrop
                                                                                 outcrop of   of vesicles
                                                                                                   vesicles after
                                                                                                                after applying
                                                                                                                         applying        ointment
                                                                                                                                           ointment base base rather
                                                                                                                                                                 rather thanthan the the
erythema
  erythema at          the site
                  at the      site ofof application.
                                         application.               the
                                                                     the hydrocortisone
                                                                           hydrocortisone ointment   ointment for   for three
                                                                                                                         three           hydrocortisone
                                                                                                                                           hydrocortisone acetate  acetate (1   (1 to
                                                                                                                                                                                    to 2.5
                                                                                                                                                                                         2.5 percent)
                                                                                                                                                                                               percent)
Patch
 Patch teststests on on both
                           both of      these individuals
                                    of these     individuals        days.
                                                                     days. Patch
                                                                              Patch tests
                                                                                        tests conducted
                                                                                                  conducted with   with thethe           was
                                                                                                                                          w as found
                                                                                                                                                  found to  to be
                                                                                                                                                                be responsible
                                                                                                                                                                    responsible in       in all
                                                                                                                                                                                             all cases.
                                                                                                                                                                                                  cases.
were
 were positive
           positive for   for lanolin.
                               lanolin.                             hydrocortisone
                                                                     hydrocortisone ointment  ointment and    and thethe vehicle
                                                                                                                           vehicle       The
                                                                                                                                          The carbowax
                                                                                                                                                  carbowax base   base wasw as thethe offending
                                                                                                                                                                                         offending
     In  another study
     In another         study by   by Robinson
                                        Robinson and    and         were
                                                                     were negative.
                                                                             negative. However,
                                                                                             However, when     when patch
                                                                                                                        patch            agent
                                                                                                                                           agent in in most
                                                                                                                                                        most instances,
                                                                                                                                                                instances, eithereither because
                                                                                                                                                                                             because
Robinson
 Robinson (Ref.   (Ref. 34) 34) involving
                                  involving 418   418 subjects
                                                        subjects    testing
                                                                     testing wasw as carried
                                                                                        carried out  out with
                                                                                                           with thethe                   of
                                                                                                                                          of its
                                                                                                                                               its drying
                                                                                                                                                   drying properties
                                                                                                                                                              properties or    or allergic
                                                                                                                                                                                    allergic
treated
 treated with with concentrations
                       concentrations of         of0.5,
                                                     0.5,1.0,
                                                          1.0,      separate
                                                                     separate constituents
                                                                                    constituents of      of the
                                                                                                             the vehicle,
                                                                                                                   vehicle, aa           sensitization.
                                                                                                                                          sensitization. Petrolatum
                                                                                                                                                                Petrolatum and    and oilyoily cold
                                                                                                                                                                                                  cold
and
 and 2.5      percent hydrocortisone
         2.5 percent        hydrocortisone and        and           positive
                                                                     positive reaction
                                                                                   reaction was  was obtained
                                                                                                         obtained to    to               creams
                                                                                                                                          creams were  were notnot well
                                                                                                                                                                     well tolerated
                                                                                                                                                                             tolerated in     in some
                                                                                                                                                                                                  some
hydrocortisone
 hydrocortisone acetate     acetate in    in several
                                              several               propylene
                                                                     propylene glycol.
                                                                                     glycol.                                             cases
                                                                                                                                          cases because
                                                                                                                                                    because of   of their
                                                                                                                                                                     their oily
                                                                                                                                                                              oily andand heavy
                                                                                                                                                                                             heavy
 different vehicles,
different        vehicles, two           subjects with
                                 two subjects         with              Rein
                                                                        Rein (Ref.       37) reported
                                                                                 (Ref. 37)     reported that  that 44 ofof131
                                                                                                                            131          consistency.
                                                                                                                                          consistency.
acne      vulgaris developed
 acne vulgaris           developed numerous numerous new   new      subjects
                                                                     subjects experienced
                                                                                   experienced aa flare-up flare-up of   of their
                                                                                                                             their           Brodthagen
                                                                                                                                              Brodthagen (Ref.  (Ref. 39)39) reported
                                                                                                                                                                              reported several several
lesions
 lesions afterafter thethe application
                              application of     of aa 1.0-
                                                        1.0-        dermatitides
                                                                     dermatitides after   after thethe use
                                                                                                         use ofof                        instances
                                                                                                                                          instances of    of exacerbation
                                                                                                                                                              exacerbation of        of symptoms
                                                                                                                                                                                         symptoms
percent        hydrocortisone acetate
 percent hydrocortisone                   acetate                   hydrocortisone
                                                                     hydrocortisone acetate   acetate ointment.
                                                                                                           ointment. Patch Patch         in   195 subjects
                                                                                                                                          in 195    subjects treated
                                                                                                                                                                  treated withwith aa 22-percent
                                                                                                                                                                                            -percent
 greasejess cream.
greaseless         cream. The   The authors
                                        authors stated
                                                     stated         tests
                                                                     tests onon these
                                                                                  these subjects
                                                                                            subjects conducted
                                                                                                          conducted with    with         hydrocortisone
                                                                                                                                          hydrocortisone acetate   acetate ointment.
                                                                                                                                                                                ointment.
that     this was
 that this      was the        only adverse
                        the only        adverse reaction
                                                     reaction       the
                                                                     the free
                                                                          free alcohol,
                                                                                  alcohol, the  the acetate,
                                                                                                      acetate, and and the the           IHowever,
                                                                                                                                            lowever. this this exacerbation
                                                                                                                                                                 exacerbation generally generally
that
 that could
         could be  be attributed
                        attributed to          the primary
                                           to the                   base
                                                                     base allall gave
                                                                                  gave negative
                                                                                           negative reactions.
                                                                                                         reactions.                      subsided
                                                                                                                                          subsided under under continued
                                                                                                                                                                   continued treatment.
                                                                                                                                                                                     treatment. In    In
ingredient
 ingredient in     in the cream.
                              cream. Thirty-eight
                                           Thirty-eight                 Friedlaender
                                                                        Friedlaender and      and Friedlaender
                                                                                                     Friedlaender (Ref.    (Ref.         three
                                                                                                                                          three of of these
                                                                                                                                                       these subjects.
                                                                                                                                                                subjects, an   an eczema
                                                                                                                                                                                     eczema test  test
 subjects (treated
subjects        (treated with           three different
                               with three        different          38)
                                                                     38) reported
                                                                          reported that  that thethe dermatitis
                                                                                                       dermatitis becamebecame           was
                                                                                                                                          was performed
                                                                                                                                                  performed with  with thethe ointment
                                                                                                                                                                                 ointment with    with
hydrocortisone
 hydrocortisone preparations) developed            developed        worse
                                                                     worse in  in 99 (5.6
                                                                                      (5.6 percent)
                                                                                             percent) of       159 subjects
                                                                                                           of159      subjects           negative
                                                                                                                                          negative results.
                                                                                                                                                        results. Sulzberger
                                                                                                                                                                    Sulzberger (Ref.    (Ref. 40).
                                                                                                                                                                                                 40), in
                                                                                                                                                                                                       in
 mild adverse
mild      adverse reactions
                        reactions as     as evidenced
                                              evidenced by          following
                                                                     following the use     use of of one
                                                                                                      one ofof various
                                                                                                                various                  aa symmetrical
                                                                                                                                             symmetrical pared   pared comparison
                                                                                                                                                                           comparison of         of 9a-
                                                                                                                                                                                                    9a-
    moderate increase
aa moderate          increase in     in erythema
                                         erythema and    and        hydrocortisone
                                                                     hydrocortisone or        or hydrocortisone                          fluorohydrocortisone
                                                                                                                                          fluorohydrocortisone to           to hydrocortisone
                                                                                                                                                                                hydrocortisone
              However, the authors
 itching. However,
itching.                               authors concluded
                                                    concluded       acetate
                                                                     acetate ointments
                                                                                  ointments or     or hydrocortisone
                                                                                                       hydrocortisone                    in
                                                                                                                                          in the
                                                                                                                                              the treatment
                                                                                                                                                    treatment of    of 82
                                                                                                                                                                        82 subjects
                                                                                                                                                                            subjects with   with
 that any
that     any evidence
                evidence of     of local
                                     local sensitivity
                                              sensitivity           acetate/neomycin
                                                                     acetate/neomycin combinations.combinations.                         assorted
                                                                                                                                          assorted dermatitides,
                                                                                                                                                        dermatitides, reportedreported that   that nono
was invariably caused       caused by    by the
                                              the base in  in       Sensitization
                                                                    Sensitization to hydrocortisone,                                     instances
                                                                                                                                          instances of    of allergic
                                                                                                                                                              allergic sensitization
                                                                                                                                                                          sensitization were     were
which
 which the drug   drug was dispensed.
                                    dispensed.                      hydrocortisone
                                                                    hydrocortisone acetate,   acetate, or   or neomycin
                                                                                                                neomycin                 observed
                                                                                                                                          observed following
                                                                                                                                                         following the topical
     Rattner (Ref.
    Rattner       (Ref. 35) 35) reported in     in aa study
                                                       study ofof   could
                                                                    could not not be demonstratred
                                                                                         dem onstrated in         in any
                                                                                                                       any of of         application
                                                                                                                                          application of     of any
                                                                                                                                                                any of of the
                                                                                                                                                                           the hydrocortisone
 1,200 subjects
1.200     subjects with   with various                              these subjects.
                                                                             subjects. Six   Six subjects
                                                                                                    subjects were felt     felt to       derivatives.
                                                                                                                                          derivatives. Sulzberger
                                                                                                                                                             Sulzberger and    and Witten
                                                                                                                                                                                       W itten (Ref.
                                                                                                                                                                                                   (Ref.
dermatological
 dermatological conditions, conditions, who were                    be sensitive
                                                                         sensitive to the oinment  oinment base used as           as     24)
                                                                                                                                          24) reported
                                                                                                                                                reported no   no cases
                                                                                                                                                                  cases of  of allergic
                                                                                                                                                                                 allergic
treated with concentrations
                       concentrations of         of                 determined by patch tests or               or repeated               sensitization
                                                                                                                                          sensitization directly
                                                                                                                                                               directly attributable
                                                                                                                                                                           attributable to the
hydrocortisone or           or hydrocortisone                       applications
                                                                    applications of      of the base ointment
                                                                                                            ointment to                  1.0
                                                                                                                                          1.0 and     2.5 percent
                                                                                                                                                and 2.5    percent hydrocortisone
acetate
 acetate of   of 0.5,
                  0.5,1,1, and
                             and 2.5 2.5 percent, that              areas
                                                                    areas of of the dermatitis
                                                                                        dermatitis and    and uninvolved                 acetate
                                                                                                                                          acetate or  or the hydrocortisone free
neither the acetate acetate nor the free alcohol      alcohol       skin.
                                                                    skin. Three
                                                                            Three subjects
                                                                                       subjects were determineddetermined to             alcohol
                                                                                                                                          alcohol ointments
                                                                                                                                                      ointments used to treat       treat 252252
proved irritating and         and that both caused                  be sensitive
                                                                         sensitive to the wool-fat wool-fat base. Two      Two           subjects.
                                                                                                                                          subjects. The The authors
                                                                                                                                                               authors reported that        that they
only aa localized action.
only                         action. In another report              subjects
                                                                    subjects were felt     felt to be sensitive
                                                                                                           sensitive to                  had
                                                                                                                                         had not not observed
                                                                                                                                                       observed any  any instances of          of
(Ref. 20),20), 22    (approximately 33 percent) of
                22 (approximately                              of   petrolatum, while two subjects       subjects appeared               allergic
                                                                                                                                         allergic sensitization
                                                                                                                                                      sensitization even after      after
              subjects treated with
the 708 subjects                                                    to be irritated due    due to the use of       of anan               prolonged
                                                                                                                                         prolonged use and      and predicted that the
hydrocortisone or hydrocortisone                                    ointment
                                                                    ointment during an acute phase of                   of their         sensitization
                                                                                                                                         sensitization index for these ingredients
acetate experienced a worsening of                       of their   dermatitis. One subject   subject showed
                                                                                                           showed                        would
                                                                                                                                         would be    be very
                                                                                                                                                         very low. Mullins and         and Hicks
                  Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 198 of 210

                      Federal
                      Federal Register
                              Register // Vol.
                                          Vol. 55,
                                               55, No.
                                                   No. 39
                                                       39 // TTuesday,
                                                               u esd ay , FFebruary
                                                                            eb ru ary 27,
                                                                                      27, 1990
                                                                                          1990 // PProposed
                                                                                                    ro p o sed RRules
                                                                                                                 ules                                                             6939
                                                                                                                                                                                  6939

(Ref.
 (Ref.26)
       26) similarly
           similarlyreported
                       reported no no evidence
                                      evidence               measure
                                                              measure changes
                                                                           changes in    in skin
                                                                                             skin thickness,
                                                                                                      thickness.             formulations
                                                                                                                              formulations of    of aa 1-percent
                                                                                                                                                       1-percent
of
 of primary
    primary irritation
              irritation or
                          or sensitization
                             sensitization                   support
                                                              support thethe safety
                                                                               safety of   of 11percent
                                                                                                 percent                     hydrocortisone
                                                                                                                              hydrocortisone cream,  cream, aa 0.1-percent
                                                                                                                                                                   0.1-percent
during
 duringtreatm    ent of
         treatment    of 100
                         100 subjects
                              subjects with
                                         with 11             hydrocortisone
                                                              hydrocortisone for     for OTC
                                                                                           OTC use.  use.James,
                                                                                                            James.           triamcinolone
                                                                                                                              triamcinolone acetonide
                                                                                                                                                  acetonide cream,  cream. and and aa
and
 and 2.5
      2.5percent
          percent hydrocortisone
                    hydrocortisone acetate.
                                       acetate.              Black,
                                                              Black, and
                                                                      and Sparkes
                                                                              Sparkes (Ref. (Ref.49) 49) studied
                                                                                                           studied the the   placebo
                                                                                                                              placebo cream.
                                                                                                                                         cream.Five  Five dermatologically
                                                                                                                                                             dermatologically
Cahn
 Cahn and
        and Levy
             Levy (Ref.
                    (Ref. 25)
                           25) reported
                                reported that
                                           that              localized
                                                              localized dermal
                                                                            dermal effects
                                                                                       effects of   of 44 test
                                                                                                           test              normal
                                                                                                                              normal male
                                                                                                                                        male andand female
                                                                                                                                                        female volunteers
                                                                                                                                                                    volunteers
there
 there were
       were nono manifestations
                  manifestations of  of local
                                         local               steroids
                                                              steroids in in 20
                                                                              20 normal
                                                                                 normal adult   adult males
                                                                                                         males 25  25 to
                                                                                                                       to    were
                                                                                                                              were randomly
                                                                                                                                     randomly assigned
                                                                                                                                                     assigned coded coded creams
                                                                                                                                                                              creams
hypersensitivity
 hypersensitivity in in 58
                        58subjects
                            subjects who
                                       who                   40
                                                              40 years
                                                                  years ofof age.
                                                                              age.TheThe testtest steroids
                                                                                                     steroids werewere       and
                                                                                                                              and instructed
                                                                                                                                    instructed to  to apply
                                                                                                                                                        apply eacheach cream
                                                                                                                                                                          cream to   to
applied
 applied 1.0
          1.0 percent
               percent hydrocortisone
                         hydrocortisone to   to              0.0125-percent
                                                              0.0125-percent flurandrenolone
                                                                                   fl urandrenolone cream,      cream.       an
                                                                                                                              an appropriately
                                                                                                                                  appropriately demarcated
                                                                                                                                                       demarcated area      area onon
various
 various dermatoses.
          dermatoses.                                        0.05-percent
                                                              0.05-percent clobetasone
                                                                                clobetasone butyrate  butyrate               the
                                                                                                                              the volar
                                                                                                                                   volar forearm
                                                                                                                                           forearm three three times
                                                                                                                                                                  times aa day.
                                                                                                                                                                              day. AA
                                                             cream,
                                                              cream, 0.1-percent
                                                                       0.1-percent hydrocortisone
                                                                                           hydrocortisone 17-       17-      small
                                                                                                                              small amount
                                                                                                                                      amount of.  of each
                                                                                                                                                      each cream
                                                                                                                                                               cream wwas    as rubbed
                                                                                                                                                                                 rubbed
E.   LocalEffects
 E. Local    E ffects of o fHydrocortisone
                             H ydrocortisone
                                                             butyrate
                                                              butyrate cream,
                                                                           cream, and and 1-percent
                                                                                             1-percent                       into
                                                                                                                              into an
                                                                                                                                    an area
                                                                                                                                        area of of approximately
                                                                                                                                                   approximately 88 square     square
   Localized
    Localized dermal
                  dermal effects
                              effects such
                                        such asas skin
                                                    skin     hydrocortisone
                                                              hydrocortisone cream. cream. The   The control
                                                                                                         control             centimeters
                                                                                                                              centimeters (chi*)
                                                                                                                                               (cm 2) andand thethe excess
                                                                                                                                                                      excess was was
atrophy,
 atrophy, striae,
            striae. or or telangiectasia
                            telangiectasia that  that        steroid
                                                              steroid used
                                                                        used waswas 0.025-percent
                                                                                        0.025-percent                        removed
have                                                                                                                          removed by   by blotting.
                                                                                                                                               blotting. No   No more
                                                                                                                                                                    more thanthan two
                                                                                                                                                                                    two
 have been
        been observed
               observed following
                               following topical
                                             topical         fluocinolone
                                                              fluocinolone acetonide
                                                                                acetonide cream.  cream.                     creams
                                                                                                                              creams were
use                                                                                                                                     were applied
                                                                                                                                                 applied to   to each
                                                                                                                                                                  each forearm.
                                                                                                                                                                           forearm.
 use of
      of more
         more potent
                  potent fluorinated
                             fluorinated steroids
                                             steroids        Volunteers
                                                              Volunteers were were asked
                                                                                       asked to    to rub
                                                                                                       rub aa                Daily
have                                                                                                                          Daily treatment
                                                                                                                                      treatment continued
                                                                                                                                                      continued withoutwithout
 have rarely
        rarely been
                  been reported
                          reported following
                                       following             standard
                                                              standard amount
                                                                           amount of    of the
                                                                                             the control
                                                                                                   control and  and test
                                                                                                                      test   exception
topical
 topical application
           application of    of aa hydrocortisone.
                                   hydrocortisone.                                                                            exception for for 12
                                                                                                                                                 12 weeks
                                                                                                                                                      weeks at   at which
                                                                                                                                                                      which timetime allall
                                                             steroids
                                                              steroids into
                                                                          into an
                                                                                an outline
                                                                                      outline area area of of the
                                                                                                                the          treatments
                                                                                                                              treatments ceased.
                                                                                                                                             ceased. Skin
In
 In addition
    addition to  to the
                     the case
                           case report
                                  report ofof aa                                                                                                           Skin thickness
                                                                                                                                                                   thickness of    of the
                                                                                                                                                                                       the
                                                             middle
                                                              middle one-third
                                                                       one-third of    of the
                                                                                            the radial
                                                                                                   radial aspect
                                                                                                             aspect of  of   test
                                                                                                                              test area
                                                                                                                                   area w    as measured
woman
 woman who  who developed
                   developed atrophy
                                   atrophy withwith                                                                                        was    measured by      by soft
                                                                                                                                                                        soft tissue
                                                                                                                                                                               tissue X- X-
                                                             contralateral
                                                              contralateral forearms
                                                                                 forearms twice   twice daily
                                                                                                            daily for
                                                                                                                    for 33   ray
telangiectasia
 telangiectasia of    of the
                          the eyelid
                               eyelid skin
                                        skin                                                                                  ray techniques.
                                                                                                                                   techniques. After After approximately
                                                                                                                                                               approximately 22
                                                             months.
                                                              months. Radiographs
                                                                         Radiographs of         of the
                                                                                                    the forearm
                                                                                                          forearm skinskin   months
following
 following topical
              topical application
                           application of  of aa                                                                              months of of treatment
                                                                                                                                            treatment with   with thethe 0.1-percent
                                                                                                                                                                            0.1-percent
                                                             were
                                                              were taken
                                                                     taken before
                                                                               before application
                                                                                           application and    and atat       triamcinolone
hydrocortisone
 hydrocortisone preparation
                       preparation to    to her
                                            her                                                                               triamcinolone acetonide
                                                                                                                                                  acetonide cream,  cream, all all
                                                             monthly
                                                              monthly intervals
                                                                          intervals for   for 33 months.
                                                                                                  months. The    The         subjects
eyelids
eyelids forfor “several
                "several years”
                              years" as as aa cosmetic
                                               cosmetic      authors                                                          subjects showed
                                                                                                                                          showed clinical
                                                                                                                                                       clinical signs
                                                                                                                                                                    signs of of skin
                                                                                                                                                                                 skin
                                                              authors reported
                                                                        reported that   that at at 33 months
                                                                                                       months                atrophy.
                                                                                                                              atrophy. At At nono time
(Ref.
(Ref. 46),
       46), which
             which w    wasas cited
                               cited byby the
                                           the Panel
                                                 Panel       significant                                                                            time during
                                                                                                                                                            during the the 12-week
                                                                                                                                                                             12-week
                                                              significant atrophy
                                                                             atrophy was    was seen'
                                                                                                    seen in in 14
                                                                                                                14 of
                                                                                                                    of 19
                                                                                                                       19    treatment
                                                                                                                              treatment period
(44
(44 FR
     FR 69768
          69768 at at 69817),
                       69817), thethe agency
                                       agency has has        subjects                                                                       period did did thethe 1-percent
                                                                                                                                                                   1-percent
                                                              subjects using
                                                                          using fluocinolone
                                                                                   fluocinolone acetonide,
                                                                                                         acetonide, 33       hydrocortisone
identified
 identified only
              only one one other
                             other similar
                                     similar report
                                                report       of                                                               hydrocortisone or      or placebo
                                                                                                                                                          placebo treated
                                                                                                                                                                       treated sites
                                                                                                                                                                                   sites
                                                              of the
                                                                 the 55 subjects
                                                                        subjects using using clobetasone
                                                                                                 clobetasone                 show
in
in the
    the literature.
         literature. GuinGuin (Ref.
                                 (Ref. 47)
                                        47) reported
                                             reported        butyrate,                                                        show anyany clinical
                                                                                                                                            clinical signs
                                                                                                                                                         signs of of atrophy.
                                                                                                                                                                      atrophy. The  The
                                                              butyrate, all all of the
                                                                                    the 55 subjects
                                                                                              subjects using using           average
atrophy
atrophy of  of the
               the skin
                      skin and
                             and telangiectasia
                                    telangiectasia of   of   hydrocortisone
                                                              hydrocortisone 17-butyrate,
                                                                                    17-butyrate, 1        1 of
                                                                                                             of 44            average percent
                                                                                                                                          percent decreases
                                                                                                                                                      decreases in     in skin
                                                                                                                                                                            skin
the
 the eyelids
     eyelids in in two
                     two women
                            women who  who hadhad used
                                                    used                                                                     thickness
                                                                                                                              thickness measured
                                                                                                                                            measured after  after 88 weeks
                                                                                                                                                                        weeks of  of
                                                             subjects
                                                              subjects using
                                                                          using flurandrenolone,
                                                                                  flurandrenolone, and           and
preparations
 preparations containing
                    containing 1    1 percent
                                       percent                                                                               treatment
                                                                                                                              treatment werewere 66 percent
                                                                                                                                                        percent for  for the
                                                                                                                                                                           the placebo
                                                                                                                                                                                placebo
                                                             none
                                                              none of the
                                                                        the 55 subjects
                                                                                 subjects using           1-percent
                                                                                                 using 1-percent
hydrocortisone
 hydrocortisone for    for periods
                             periods of 12 12 and
                                                and 44       hydrocortisone                                                  and
                                                                                                                              and hydrocortisone
                                                                                                                                    hydrocortisone test     test sites
                                                                                                                                                                   sites andand 17.1
                                                                                                                                                                                  17.1
                                                              hydrocortisone cream. cream.                                   percent
months,
 months, respectively.
            respectively. The    The agency
                                       agency is  is not
                                                     not        A                                                             percent forfor the
                                                                                                                                              the triamcinolone
                                                                                                                                                    triamcinolone acetonide acetonide
                                                                 A double-blind,
                                                                   double-blind, half-sidehalf-side studystudy by  by        cream
aware
 aware of anyany studies
                    studies or case case reports
                                           reports of        Black,                                                           cream test
                                                                                                                                       test sites.
                                                                                                                                             sites. The
                                                                                                                                                      The authors
                                                                                                                                                             authors reported
                                                                                                                                                                           reported
                                                              Black. Platt,
                                                                      Platt. andand Mugglestone
                                                                                       Mugglestone (Ref.     (Ref. 50)
                                                                                                                     50)     that,
skin atrophy
       atrophy occurring
                   occurring with  with                      compared                                                         that, based
                                                                                                                                     based on aa matched-pair
                                                                                                                                                      matched-pair
                                                              compared dermal atrophy    atrophy in     in 29 healthy
                                                                                                                 healthy     comparison
hydrocortisone
 hydrocortisone under  under conditions
                                 conditions of OTC  OTC      male
                                                              male volunteers
                                                                     volunteers using using various
                                                                                                 various steroid
                                                                                                              steroid         comparison test, test, the
                                                                                                                                                       the difference
                                                                                                                                                             difference in    in skin
                                                                                                                                                                                  skin
use
 use as
      as proposed
          proposed in    in the
                             the tentative
                                  tentative final
                                                final        preparations:                                                   thickness
                                                                                                                              thickness between
                                                                                                                                            between triamcinolone
                                                                                                                                                           triamcinolone
monograph                                                     preparations: 0.75 percent  percent fluocortin
                                                                                                       fluocortin
 monograph for OTC     OTC external
                               external analgesic
                                           analgesic         butylester,                                                     acetonide
                                                                                                                              acetonide and        1-percent hydrocortisone
                                                                                                                                            and 1-percent          hydrocortisone
drug                                                          butylester, 0.050.05 percent
                                                                                    percent clobetasone
                                                                                                   clobetasone
 drug products
       products (48 FR     FR 5852 at 5868).
                                          5868).
                                                             butyrate,                                                       treatment
                                                                                                                              treatment was was significant
                                                                                                                                                   significant at    at 0.1
                                                                                                                                                                          0.1 >> pp > >
   Smith,
    Smith, Wehr,
             Wehr, and  and Chalker (Ref. (Ref. 48)           butyrate, 1 percent
                                                                              percent hydrocortisone
                                                                                            hydrocortisone
                                                              acetate,                                                       0.05 and
                                                                                                                                    and that
                                                                                                                                          that there
                                                                                                                                                 there was was no no significant
                                                                                                                                                                       significant
used
 used a bioassay
          bioassay methodmethod to   to evaluate
                                        evaluate the  the     acetate, and the  the base
                                                                                      base placebo
                                                                                                placebo creams.
                                                                                                              creams.
                                                             Each volunteer                                                   difference
                                                                                                                              difference in skin thickness
                                                                                                                                                         thickness between
                                                                                                                                                                         between
adverse
adverse effects
            effects (including
                        (including skin       atrophy
                                       skin atrophy                  volunteer w    was as instructed to       to apply
                                                                                                                   apply
                                                              a 1 centimeter (cm) length of the                               skin treated with hydrocortisone
                                                                                                                                                        hydrocortisone and       and
and
and telangiectasia)
      telangiectasia) of nine           topically
                                 nine topically                                                             the cream
                                                                                                                  cream
                                                              being
                                                              being used
                                                                      used to to a clearly
                                                                                    clearly defined area on                  placebo
                                                                                                                              placebo cream.
                                                                                                                                         cream. During
                                                                                                                                                     During the  the first
                                                                                                                                                                       first week
                                                                                                                                                                              week
applied corticosteroids, which included                                                                                       after cessation
                                                                                                                                     cessation of treatment,
                                                                                                                                                        treatment, the    the clinical
                                                              each forearm
                                                                     forearm twice
                                                                                 twice dailydaily for a period of                                                               clinical
1.0-percent hydrocortisone cream.       cream. A                                                                              appearance
                                                                                                                              appearance of the skin began to               to improve
                                                                                                                                                                                improve
topical
 topical application of 0.1 g of the cream                    8 weeks.
                                                                weeks. The The skin thickness
                                                                                          thickness at the     the site
                                                                                                                    site
                                                              of application w    was as determined by a                      and by 1I month
                                                                                                                                           month all all treated
                                                                                                                                                           treated areas
                                                                                                                                                                       areas had had
was
 was applied to    to a shaved midposterior                                                                                   essentially returned to pretreatment
                                                              modified radiographic
                                                                           radiographic technique                                                                pretreatment
lateral area of the   the back of youngyoung                                                                                  thickness.
                                                                                                                              thickness.
Sprague-Dawley rats       rats for 28 days.
                                         days. The            immediately prior to the         the first application
                                                              of the creams and again after the eighth                           In a double-blind
                                                                                                                                       double-blind controlled
                                                                                                                                                            controlled
animals were weighed twice weekly and                  and
                                                              week of application.
                                                                         application. Clinically                              investigation by Tan,   Tan. Marks,
                                                                                                                                                               Marks, and  and Payne
                                                                                                                                                                                 Payne
evaluated for telangiectasia.
                     telangiectasia. On day 28
                                                              significant skin thinning occurred in 3 of                      (Ref. 52), 48 healthy adult   adult male
                                                                                                                                                                     male and and
of the study, the animals were sacrificed
                                                              the 10 subjects treated with clobetasone    clobetasone         female volunteers
                                                                                                                                        volunteers were   were randomly
                                                                                                                                                                  randomly
and the skin thickness w          wasas determined
by lifting a skin fold and measuring the                      butyrate, and atrophy of a marginal                             assigned to treatments of          of 22 of
                                                                                                                                                                        of 66
double skin-fold thickness with a                             significance occurred in 1            1 of the 29               preparations (1 for each     each forearm).
                                                                                                                                                                   forearm). The  The
micrometer with a potential accuracy of                       subjects treated with fluocortin                                treatments were two of          of the
                                                                                                                                                                  the following
                                                                                                                                                                        following
0.0001 inch. The authors found no                             butylester. Only 1       1 of 10 10 subjects treated            applied to the flexor aspect   aspect of   of the
                                                                                                                                                                             the
evidence of telangiectasia in any of the                      with a 1-percent
                                                                       1-percent hydrocortisone cream                         forearm twice a day: The               cream base,
                                                                                                                                                              The cream         base, aa
rats
 rats treated with the 1.0-percent
                               1.0-percent                    experienced a statistically significant                         1-percent hydrocortisone
                                                                                                                             1-percent     hydrocortisone cream,     cream, aa 0.1-0.1-
hydrocortisone, while the other eight                         increase in skin thickness. However, the                        percent hydrocortisone              17-butyrate
                                                                                                                                         hydrocortisone 17-butyrate
corticosteroids produced mild to severe                       authors judged this increase not to be                          cream, a 0.05-percent clobetasoneclobetasone
 telangiectasia. The authors concluded                        clinically significant. The remaining nine                      butyrate cream, a 0.1-percent
 that the weight gain correlated
                               Correlated well with           Subjects treated with 1-percent
                                                              subjects                          1-percent                     betamethasone 17-valerate
                                                                                                                                                     17-valerate cream, cream, and and aa
skin thickness and that 1.0        1.0 percent                hydrocortisone cream had no significant                         0.05-percent clobetasol propionate propionate
 hydrocortisone (and 0.1 percent                              difference between the initial and post-              post­                         centimeter extrusion
                                                                                                                              cream. A one centimeter               extrusion of    of the
                                                                                                                                                                                        the
 betamethasone valerate) had the least                        treatment skin thickness.                                       cream wasw as applied to a defined  defined area area
effects on weight gain and double skin                          Snyder and Greenberg (Ref. 51) also                           measuring 10   10 x X 5 5 cm
                                                                                                                                                         cm andand the      area was
                                                                                                                                                                      the area     was
 thickness as compared with controls.                         used a double-blind comparative                                 not washed for at      at least
                                                                                                                                                         least 1  1 hour
                                                                                                                                                                    hour after
                                                                                                                                                                             after
    Other data in humans.humans, in which                     methodology to study the effects of                             application. The total amount    amount of     of cream
                                                                                                                                                                                cream
 sophisticated techniques were used to                        chronic usage of commercially prepared                          applied to each area over the 6-week          6-week
           Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 199 of 210

6940             Federal Register / Vol. 55, No. 39 / Tuesday, February 27, 1990
                                                                            1990 / Proposed Rules

treatment period w    as approximately 30
                    was                         showed a further decrease in skin               of higher than 0.5 percent. However, a
g.
g-                                              thickness on the corticosteroid treated         review of the published literature
   Both xeroradiographic and pulsed             sites in Group I while the two week             reveals only descriptions of relapse of
ultrasound techniques were used to              measurements in Group II showed a               symptoms upon discontinuance of
measure skin thickness before and after         varied response, with some preparations         hydrocortisone therapy at
6 weeks of treatment. Measurements              (including 0.1 percent hydrocortisone)          concentrations greater than 0.5 percent
using the ultrasound technique were             showing an increase in thickness                and no tendency for rebound.
also made at days 2,    4-5. 8-9,
                      2,4-5,      14-16. 28-
                             8-9,14-16,                            week’s readings. Among
                                                beyond the first week's                            Heilesen, Kristjansen.
                                                                                                              Kristjansen, and Reymann
30, and 42-44, and at 4 weeks after             the steroids tested, the 0.1-percent            (Ref. 54) reported that relapse occurred
cessation of treatment. Dermal thinning         hydrocortisone preparation produced             in the majority of 25 subjects suffering
of 4 to 5 percent could be detected by          less thinning than any of the other             from anogenital eczema when
ultrasound measurement as early as 2            steroid preparations tested in the two          withdrawal of 1-percent
                                                                                                                 1-percent hydrocortisone
days after treatment with                       groups, but more thinning than the              therapy was
                                                                                                          w as attempted. However, the
betamethasone 17-valerate
                  17-valerate and               placebo. However, it is unclear from the        authors pointed out that several of these
clobetasol propionate. Dermal thinning                     w hat extent the base for the 0.1-
                                                study to what                                   subjects had symptoms for 10 to 15
in the hydrocortisone group was w as 13
                                     13         percent hydrocortisone product
                                                                            produpt             years before the study and had been
percent as measured by ultrasound and           resembled the placebo used in the study.        resistant to the dermatologic treatments
7 to 8 percent m   easured by the
                measured                        Because other investigators (Refs. 51           generally employed. Relapse was  w as also
radiographic technique. The placebo             and 52) have demonstrated that the base         reported in one subject with nummular
group showed 9 percent dermal thinning          can produce dermal thinning of its own          eczema. Treatment of this subject with
using ultrasound measurements and 4              that is comparable to that demonstrated        hydrocortisone produced a rapid
percent using the radiographic                   by the 0.1-percent hydrocortisone in this      regression of symptoms that was
technique. Overall, the degree of dermal        study, the conclusion that the observed         followed by a prompt relapse of
thinning was greater as measured by the          dermal thinning is attributable to the         symptoms upon transition to therapy
ultrasound technique than when                   hydrocortisone content of the                  with the ointment base alone. However,
measured by the radiographic technique.          preparation is in doubt. Recovery of           the authors further reported several
The authors found that an analysis of            thinning was noted within two weeks            cases in which no relapse occurred. One
variance comparing the dermal thinning          with three of the preparations tested,          subject with neurodermatitis of 10 years
                  1-percent hydrocortisone
induced by the 1-percent                        including the 0.1-percent hydrocortisone        standing was
                                                                                                           w as able to do without
cream versus the base from data derived          preparation.                                   hydrocortisone treatment
                                                                                                                  treatm ent for a month
from both techniques did not reach the             In summary, the studies conducted on         without experiencing a relapse, and two
                                                 humans on the effects of these                 other subjects with neurodermatitis
nominal p   =0.05 level of statistical
          p=0.05
                                                 corticosteroids on skin thickness show         needed only to apply the hydrocortisone
significance. Recovery from dermal               that prolonged use without occlusion of
thinning, to 91 to 96 percent of the                                                            ointment at intervals of several days.
                                                11 percent hydrocortisone for periods of
pretreatment values, was w as apparent in all                                                      In their study of 1,655
                                                                                                                      1,655 patients,
                                                        11 weeks does not produce
                                                 up to 11
treatment groups 4 weeks after                   changes in skin thickness that are
                                                .changes
                                                                                                Robinson, Robinson, and Strahan (Ref.
cessation of therapy.                            statistically or clinically significant from   22) noted that in most instances
   Kirby and Munro (Ref. 53) studied the         the control base. Moreover, these
                                                                                                continued applications of
         on mice and humans of several
effects or.                                      studies demonstrate that whatw hat changes     hydrocortisone free alcohol and
different steroid preparations                   do occur readily reverse themselves            hydrocortisone acetate in
commercially available in the United             after cessation of treatment. These            concentrations of 0.5,   1.0, and 2.5
                                                                                                                     0.5,1.0,
Kingdom. Included in both segments of            findings also indicate that the                percent were necessary to maintain the
            w as 0.1 percent
the study was                                    occasional case reports of skin atrophy        relief of symptoms of atopic dermatitis,
hydrocortisone incorporated in a waterw ater     that have appeared in the literature           neurodermatitis, allergic contact
miscible base. In the human portion of           result from the use of hydrocortisone          dermatitis, stasis dermatitis, and
the study, 0.05 milliliter (mL) of the test      preparations on susceptible areas of the       pruritus ant
                                                                                                          ani and vulvae. Relapses
preparation w    as applied to a well
               was                               body well inm excess of the recommended        occurred when the applications were
defined area of the forearm of two               period of use in the proposed OTC              discontinued. However, the authors also
groups (Groups I and II) of normal adult         labeling for products containing this          stated that when the eruption or
volunteers and covered by an occlusive           ingredient. Based on the above studies,        symptoms had completely subsided it
dressing. In Group I, the site of                the agency believes that the risk of skin      was possible in the majority of subjects
              w as not varied. In Group II,
application was                           n,     atrophy, striae, and telangiectasia is         to reduce the frequency of applications
the site of application on the forearm           small within the recommended period of         to once daily or once every other day.
w as varied. Changing sites did not
was                                              use being proposed far for OTC drug               The staff of Saint John's
                                                                                                                        John’s Hospital (Ref.
produce statistically significant                products containing up to 1   1 percent        20) reported that complete clearing of
differences between right or left arm,           hydrocortisone.                                symptoms without relapse was
proximal or distal placement on the                                                              uncommon (6 percent) in the 100 100
same side.                                      F. Rebound
                                                    ReboundPotential
                                                              P otential                         patients treated for atopic eczema with
   Skin-fold thickness measurements                The Miscellaneous External Panel in           concentrations of hydrocortisone and
were made at points on the flexor of the        its review of hydrocortisone stated that         hydrocortisone acetate ranging from 0.25
forearm before the initial application of       there is a rebound effect, i.e., a return of     to 2.5 percent. The authors further
the test preparations and repeated at 7-        symptoms more severe than those                  reported that in 86 subjects suffering
day intervals for 2 weeks. The dressings        experienced prior to treatment, when             from discoid eczema, relapse occurred
were renewed after each of the                  therapy with fluorinated corticosteroids         regularly on withdrawal of
measurements taken at weeks one and             is gradually discontinued (47 FR 54648
                                                                                     54646 at    hydrocortisone therapy. Kalz,
 two. After one w   eek all compounds
                  week                          54675). The Panel further stated that it         McCorriston, and Prichard (Ref. 27)
 tested produced thinning skin in both          was
                                                w as not known whether this effect may           similarly reported that short remissions




                                                                                                                                                1
groups. Two week measurements                   occur with hydrocortisone preparations           were induced in many subjects treated
                      Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 200 of 210

                         Federal Register
                         Federal Register // Vol.
                                             Vol. 55,
                                                   55, No.
                                                       No. 39
                                                            39 I/ Tuesday,
                                                                  Tuesday, February
                                                                           February 27,
                                                                                     27, 1990
                                                                                          1990 // Proposed
                                                                                                  Proposed Rules
                                                                                                           Rules                                                                                  6941
                                                                                                                                                                                                   6941

      atopicdermatitis
  foratopic
for             dermatitiswith   withaa1-1-or    or2.5-
                                                     2.5-        acetate
                                                                   acetate containing
                                                                               containingdrug      drugproducts
                                                                                                             productsinin              components
                                                                                                                                         componentsof          ofthe
                                                                                                                                                                   theproduct,
                                                                                                                                                                         product,sensitivity
                                                                                                                                                                                        sensitivityor      or
  percenthydrocortisone
percent      hydrocortisoneointment,  ointment,but    but        varying
                                                                  varyingconcentrations
                                                                                concentrationsfrom          from0.25 0.25to to2.5
                                                                                                                                2.5    irritation
                                                                                                                                         irritationdue   due to  toone
                                                                                                                                                                     oneor  ormore
                                                                                                                                                                                 moreof   ofthe
                                                                                                                                                                                              the
 that   somerelapses
  thatsome                    occurredafter
                 relapses occurred            after            * percent.
                                                                  percent.Virtually
                                                                                 Virtuallyall     allofofthethereported
                                                                                                                   reported            excipients
                                                                                                                                         excipientsincludedincludedininthe      the product
                                                                                                                                                                                      productwas    was
several
  Severalweeks.
             weeks.In   Insome        instances, the
                            someinstances,             the       reactions
                                                                  reactions relatedrelated to   to the
                                                                                                     the useuse of ofthese
                                                                                                                       these           demonstrated
                                                                                                                                         demonstrated(Ref.        (Ref.61).61).While
                                                                                                                                                                                  Whileno    no
relapses
  relapseswerewere not notwell
                            wellcontrolled
                                     controlled by    by the
                                                           the products
                                                                  productsare     are of  ofaa topical
                                                                                                topicalnature,nature, withwith         conclusions
                                                                                                                                         conclusions regardingregarding the     the incidence
                                                                                                                                                                                      incidenceof      of
1-percent       hydrocortisoneointment
  1-percenthydrocortisone                ointmentand     and     contact
                                                                  contactdermatitis
                                                                                dermatitis (61     (61reports),
                                                                                                         reports),allergic
                                                                                                                         allergic      sensitivity
                                                                                                                                         sensitivityor     orirritation
                                                                                                                                                                irritation to    to hydrocortisone
                                                                                                                                                                                     hydrocortisone
the   2.5-percentointment
  the2.5-percent        ointmentwas    w as required.
                                               required.         reaction
                                                                  reaction (48   (48reports),
                                                                                        reports), rash rash (33  (33reports).
                                                                                                                      reports),        ororhydrocortisone
                                                                                                                                             hydrocortisoneacetate      acetate among amongthese  these
Brodthagen
  Brodthagen(Ref.  (Ref.39)     also observed
                           39)also       observed                application
                                                                  applicationsite       site reaction
                                                                                              reaction(23     (23reports),
                                                                                                                    reports),          reported
                                                                                                                                         reported reactions
                                                                                                                                                        reactions can    can be  be made
                                                                                                                                                                                      made because
                                                                                                                                                                                                because
  relapses during
relapses      duringand  and after       treatmentof
                               after treatment            of     and
                                                                  and pain
                                                                         pain and and pruritus
                                                                                           pruritus (29  (29reports)
                                                                                                               reports) beingbeing     ofofthe
                                                                                                                                             thelack
                                                                                                                                                   lackof   ofdefinitive
                                                                                                                                                                definitive patch  patch tests
                                                                                                                                                                                            tests in in
  subjectssuffering
subjects      sufferingfrom fromaa variety
                                        variety of   of          the
                                                                  the most
                                                                        mostfrequently
                                                                                  frequentlyreportedreported reactions.
                                                                                                                     reactions.        the
                                                                                                                                         the majority
                                                                                                                                               majorityof     ofthese
                                                                                                                                                                   these reports,
                                                                                                                                                                             reports, the  the agency
                                                                                                                                                                                                 agency
  dermatitides with
dermatitides         with aa 2-percent
                               2-percent                         AA review
                                                                      review of    ofthethe corresponding
                                                                                              corresponding case        case           believes
                                                                                                                                         believes that that the the information
                                                                                                                                                                      information derived  derived
hydrocortisone
  hydrocortisone acetate acetate ointment.
                                     ointment.                   reports
                                                                  reports for  forthese
                                                                                      these reactions
                                                                                               reactions (Ref.    (Ref. 56)
                                                                                                                          56)          from
                                                                                                                                         from thethe patch
                                                                                                                                                        patch teststests that
                                                                                                                                                                            that were
                                                                                                                                                                                   were
                Brodthagen reported
   lowever, Brodthagen
IHowever,                          reported that  that thethe    indicates
                                                                  indicates that   that thethe reactions
                                                                                                 reactions reportedreported for  for   performed
              were rarely
  relapses were        rarely as      severe as
                                 as severe        as the
                                                      the                                                                                performedsupports supports the    the occurrence
                                                                                                                                                                                  occurrence of      of
relapses                                                         drug
                                                                  drug products
                                                                         products containing
                                                                                           containing0.5       0.5andand11             confirmed
original     eruptions and,
  original eruptions        and, as  as might
                                         mightbe   be                                                                                    confirmedallergic allergic sensitivity
                                                                                                                                                                        sensitivity reactions
                                                                                                                                                                                           reactions
                                                                 percent
                                                                  percent hydrocortisone
                                                                               hydrocortisone or            or                         toto hydrocortisone
                                                                                                                                            hydrocortisone or          or hydrocortisone
                                                                                                                                                                             hydrocortisone
  expected, the
expected,       the frequency
                      frequency of     ofrelapse
                                           relapse isis thethe hydrocortisone
                                                                  hydrocortisone acetate     acetate are    are similar
                                                                                                                   similarand and      acetate,
highest     after the
  highestafter      the shortest        period of
                          shortest period           of                                                                                   acetate, at  at least
                                                                                                                                                           least for forsome
                                                                                                                                                                           some individuals,
                                                                                                                                                                                    individuals,
                                                                 that
                                                                  that use
                                                                         use of ofthe the higher
                                                                                            higher1-percent
                                                                                                       1-percent                       that
                                                                                                                                         that was
                                                                                                                                                w as observed
                                                                                                                                                        observed by      by thethe agency
                                                                                                                                                                                     agency in    in its
                                                                                                                                                                                                      its
treatment.
  treatment.                                                     concentration
                                                                  concentration does       does not not appear
                                                                                                           appear to    to result
                                                                                                                            result     safety
     The above
    The   above data data demonstrate
                            demonstrate that      that                                                                                   safety evaluation
                                                                                                                                                   evaluation of       ofclinical
                                                                                                                                                                            clinical studies
                                                                                                                                                                                         studies of   of
                                                                 in
                                                                  in more
                                                                      more severe
                                                                                severe reactions.
                                                                                            reactions. None    None of   ofthese
                                                                                                                             these     the
                                                                                                                                         the drug.
                                                                                                                                              drug. (See (See part
                                                                                                                                                                 part H. II. paragraph
                                                                                                                                                                              paragraph D.      D.
 hydrocortisone, and hydrocortisone
hydrocortisone.and            hydrocortisone                     reports
                                                                  reports indicate
                                                                              indicate that   that disability
                                                                                                      disability or     ordeath
                                                                                                                            death      above—Sensitization
                                                                                                                                         above—Sensitization and              andIrritation
                                                                                                                                                                                      Irritation
  acetate provide
acetate     provide only only aa temporary
                                    temporary                   occurred
                                                                  occurred as     as an an outcome
                                                                                             outcome to      to these
                                                                                                                  these
 control of ofsymptoms
                symptoms for    for certain
                                       certain types
                                                   types of of reactions.
                                                                                                                                       Potential
                                                                                                                                        P otentialof     o fHydrocortisone.)
                                                                                                                                                             H ydrocortisone.)
control                                                           reactions.
  skin conditions
skin   conditions and    and that         relapse of
                               that aa relapse         of                                                                                  The
                                                                                                                                            The adverse
                                                                                                                                                   adverse drug    drug reaction
                                                                                                                                                                           reaction data  data for for
                                                                    Two
                                                                     Two case case reports
                                                                                        reports (Refs.
                                                                                                    (Refs. 57   57andand 58)
                                                                                                                           58)         single
symptoms
 symptoms can          occur when
                 can occur      when treatment
                                           treatment             indicated                                                              single entity
                                                                                                                                                   entity hydrocortisone
                                                                                                                                                              hydrocortisone or          or
                                                                  indicated hospitalization
                                                                                   hospitalization occurred    occurred as    as an
                                                                                                                                  an   hydrocortisone
 with concentrations
with    concentrations of      of0.50.5 percent
                                          percent or   or       outcome                                                                 hydrocortisone acetate      acetate containing
                                                                                                                                                                                 containing
                                                                  outcome of     of reported
                                                                                       reported reactions
                                                                                                      reactions                        products
greater
 greater of     these ingredients
            of these     ingredients is     is stopped.
                                                stopped.        associated                                                              products provided
                                                                                                                                                        provided by     by manufacturers
                                                                                                                                                                              manufacturers of          of
                                                                  associated with    with the the use
                                                                                                    use of  ofan an OTC
                                                                                                                      OTC drugdrug     these
However,
 However, the   the data     further demonstrate
                      data further        demonstrate            product                                                                these drugdrug products
                                                                                                                                                           products from   from their
                                                                                                                                                                                    their ownown
                                                                  product containing
                                                                               containing 0.5      0.5 percent
                                                                                                         percent                       adverse
 that in
that   in those     cases where
           those cases       where                               hydrocortisone                                                         adverse drug  drug reaction
                                                                                                                                                                reaction files files (Refs.
                                                                                                                                                                                       (Refs. 33and  and
                                                                  hydrocortisone acetate.    acetate. Although
                                                                                                            Although not    not        4)
hydrocortisone
 hydrocortisone therapy therapy does  does notnot effect
                                                     effect aa indicated
                                                                  indicated by     by thethe case
                                                                                               case report
                                                                                                       report for   for the
                                                                                                                         the            4) to
                                                                                                                                            to support
                                                                                                                                                support the   lh e safety
                                                                                                                                                                     safety of   of the
                                                                                                                                                                                     the OTC
                                                                                                                                                                                           OTC use   use
 cure but
cure         is only
        but is   only used
                         used to to provide
                                     provide                                                                                           of
                                                                                                                                        of these
                                                                                                                                            these ingredients
                                                                                                                                                      ingredients describe describe the   the same
                                                                                                                                                                                                 same
                                                                 reaction
                                                                  reaction (Ref. (Ref. 59),59), the
                                                                                                 the agency
                                                                                                       agency was    w as              type
 symptomatic relief,
symptomatic          relief, no    rebound of
                              no rebound          of            subsequently
                                                                  subsequently informed   informed of      ofaa third
                                                                                                                   third                type of of topical
                                                                                                                                                    topical reactions
                                                                                                                                                                  reactions as     as disclosed
                                                                                                                                                                                       disclosed by     by
 symptoms upon
symptoms         upon cessation
                         cessation of     of therapy
                                              therapy                                                                                  the
                                                                                                                                        the agency's
                                                                                                                                              agency’s Spontaneous
                                                                                                                                                              Spontaneous Reporting   Reporting
                                                                 hospitalization
                                                                  hospitalization associated associated with     with thethe use
                                                                                                                               use     System.
would
 would be be expected.
               expected. With With regard
                                        regard to   to the
                                                         the     of
                                                                  of the
                                                                      the same
                                                                            same OTC    OTC hydrocortisone
                                                                                                hydrocortisone                          System. Some  Some additional
                                                                                                                                                                  additional reports
                                                                                                                                                                                   reports are  are
possibility
 possibility of  of aa relapse
                        relapse of  ofsymptoms
                                         symptoms                                                                                      included
                                                                                                                                        included in     in the
                                                                                                                                                            the data
                                                                                                                                                                   data provided
                                                                                                                                                                           provided by     by thethe
                                                                 product
                                                                  product (Ref.(Ref. 60). 60). However,
                                                                                                However, the       the agency
                                                                                                                         agency
when
 when thethe use
               use ofof OTC
                         OTC drug drug products
                                          products                                                                                     manufacturers.
                                                                                                                                        manufacturers. However,    However, none    none of   of these
                                                                                                                                                                                                  these
                                                                notes
                                                                  notes   that
                                                                           that    in
                                                                                    in  each
                                                                                         each   case
                                                                                                 case     the
                                                                                                           the   product
                                                                                                                  product     was
                                                                                                                              was
                 hydrocortisone or
 containing hydrocortisone
containing                                or                                                                                           reports
                                                                                                                                        reports provide
                                                                                                                                                    provide sufficient
                                                                                                                                                                    sufficient detail
                                                                                                                                                                                    detail to  to
                                                                not
                                                                  not used
                                                                        used according
                                                                                 according to      to the
                                                                                                        the indications
                                                                                                               indications
hydrocortisone          acetate     is
 hydrocortisone acetate is stopped, the stopped,       the                                                                             permit
                                                                                                                                        permit aa definitive
                                                                                                                                                       definitive evaluation
                                                                                                                                                                        evaluation of       of the
                                                                                                                                                                                                the
                                                                 currently
                                                                  currently proposed
                                                                                  proposed in      in §§ 348.50(b)(3)
                                                                                                            348.50(b)(3) (i)   (i)
agency
 agency believes
            believes thatthat the
                                the risk
                                       risk toto                and                                                                    cause
                                                                                                                                        cause of  of these
                                                                                                                                                       these reactions.
                                                                                                                                                                  reactions.
consumers
 consumers is    is minimal.
                     minimal. The  The studies
                                           studies                and (ii)
                                                                        (ii) of
                                                                              of the
                                                                                   the tentative
                                                                                          tentative final  final monograph
                                                                                                                    monograph
                                                                for
                                                                 for OTC
                                                                       OTC external
                                                                                external analgesic
                                                                                                analgesic drug     drug                    Not
                                                                                                                                           Not allall ofof the
                                                                                                                                                             the adverse
                                                                                                                                                                    adverse reaction
                                                                                                                                                                                  reaction data  data
 where relapse
where     relapse was  w as reported
                             reported involved
                                             involved                                                                                  provided
                                                                                                                                        provided by     by manufacturers
                                                                                                                                                              manufacturers' relate    relate to  to the
                                                                                                                                                                                                       the
                                                                 products
                                                                 products       (48
                                                                                 (48    FR
                                                                                         FR  5852
                                                                                              5852   at
                                                                                                      at 5868),
                                                                                                           5868), which
                                                                                                                      which
subjects
 subjects with       dermatological disorders
             with dermatological               disorders                                                                               safety
                                                                                                                                        safety of  of11 percent
                                                                                                                                                           percent hydrocortisone
                                                                                                                                                                        hydrocortisone or           or
                                                                states
                                                                  states that
                                                                            that these
                                                                                     these products
                                                                                               products are     are indicated
                                                                                                                      indicated
more     severe than
 more severe       than thethe indications
                                 indications                                                                                           hydrocortisone
                                                                                                                                        hydrocortisone products.   products. One    One
 proposed for  for hydrocortisone-containing
                    hydrocortisone-containing
                                                                 for
                                                                 for   the  temporary
                                                                             temporary          relief
                                                                                                relief    of
                                                                                                           of  itching
                                                                                                                itching
proposed                                                        associated                                                             manufacturer
                                                                                                                                        manufacturer reported   reported that   that 67.7
                                                                                                                                                                                       67.7 percent
                                                                                                                                                                                              percent
 products in
products      in the tentative
                        tentative finalfinal                      associated with    with minor
                                                                                              minor skin skin irritations
                                                                                                                  irritations
                                                                and
                                                                 and rashes
                                                                        rashes due    due to to minor
                                                                                                 minor conditions
                                                                                                             conditions such   such    of
                                                                                                                                        of the
                                                                                                                                            the reports
                                                                                                                                                  reports received
                                                                                                                                                                received by     by the
                                                                                                                                                                                     the company
                                                                                                                                                                                           company
monograph
 monograph for                 external analgesic
                       OTC external
                  for OTC                      analgesic                                                                               for
                                                                                                                                        for its
                                                                                                                                             its 0.5
                                                                                                                                                  0.5 percent
                                                                                                                                                         percent hydrocortisone
                                                                                                                                                                      hydrocortisone acetate     acetate
       products (48
 drug products        (48 FR    5852 at
                           FR 5852       at 5868).
                                             5868). ,
                                                                as
                                                                 as  eczema,
                                                                      eczema,        insect
                                                                                      insect    bites,
                                                                                                bites,     or
                                                                                                            or  poison
                                                                                                                poison     ivy.
                                                                                                                            ivy.
drug                                                            Two                                                                    products
                                                                                                                                       products from   from December
                                                                                                                                                                 December 10,           1979,
                                                                                                                                                                                   10,1979,
 Moreover, the agency
Moreover,             agency believes
                                  believes that  that            Two of  of the
                                                                              the reports (Refs.  (Refs. 57   57 and
                                                                                                                   and 58)58)
                                                                involved
                                                                 involved       an
                                                                                 an    exacerbation
                                                                                        exacerbation           of
                                                                                                               of  an
                                                                                                                    an  existing
                                                                                                                         existing      through
                                                                                                                                        through December
                                                                                                                                                     December 31,            1987, were for
                                                                                                                                                                        31,1987,                 for aa
 consumers who
consumers                experience aa relapse
                 who experience                relapse of  of                                                                          lack
                                                                infection
                                                                 infection while while the  the third
                                                                                                  third report
                                                                                                            report (Refs.
                                                                                                                        (Refs. 5959    lack of of effectiveness
                                                                                                                                                    effectiveness (Ref.     (Ref. 4).4).
 symptoms are
symptoms              provided adequate
                are provided         adequate
guidance by the    the proposed
                         proposed warningwarning in             and
                                                                 and GO)60) involved
                                                                              involved an      an incidence
                                                                                                    incidence of      of                   The
                                                                                                                                           The agency
                                                                                                                                                  agency finds that       that the adverse
                                                                                                                                                                                        adverse
guidance                                                in
                                warns against
                      which warns
    348.50(b)(7), which                                         bullious erythema
                                                                               erythema multiforme associated         associated       drug
                                                                                                                                       drug reaction
                                                                                                                                                reaction data   data in in its
                                                                                                                                                                             its Spontaneous
                                                                                                                                                                                  Spontaneous
§§ 348.50(b)(7),                            agaipst
 further use of
further              these products without
                 of these                     without           with the use    use of  of the
                                                                                            the hydrocortisone                         Reporting
                                                                                                                                       Reporting System   System and   and reported by the         the
       consulting aa physician when
first consulting
first                                                           product
                                                                 product under aa band aid             aid on  on aa scratch
                                                                                                                       scratch         manufacturers
                                                                                                                                       manufacturers of           of these products are         are
symptoms
 symptoms clear clear up and         occur again
                             and occur         again in aa      and
                                                                 and aa blister.
                                                                          blister. The    The physician reporting                      consistent
                                                                                                                                       consistent and     and reflective of        of the adverse
                                                                                                                                                                                             adverse
few days.
      days.                                                      this reaction commented commented that the precise                    drug
                                                                                                                                       drug reaction profile described      described in     in the
                                                                etiology of    of his patient's
                                                                                           patient’s rash was       w as never         clinical
                                                                                                                                       clinical studies
                                                                                                                                                    studies discussed
                                                                                                                                                                   discussed above. above. (See (See
 G. Adverse
G.    A dverseDrug DrugReactions
                           R eactions                           determined
                                                                 determined and        and that the patient patient had                part
                                                                                                                                       part II.II. paragraphs C. through E. above.)            above.)
          agency has reviewed aa summary
    The agency                                  summary         reported aa preceding respiratory                                      As
                                                                                                                                       As in in the
                                                                                                                                                 the clinical
                                                                                                                                                        clinical studies,
                                                                                                                                                                      studies, the majority of           of
listing ofof adverse drug reactions                             reaction, which could not be ruled out                       out as    the
                                                                                                                                       the adverse
                                                                                                                                              adverse drug  drug reactions reported
reported for single entity hydrocortisone the cause of                            of the rash (Ref.   (Ref. 59.)                       were
                                                                                                                                       were minor
                                                                                                                                                minor topical
                                                                                                                                                            topical reactions. With the
drug products (both prescription and                and             The agency notes that the majority of                              exception of       of aa single
                                                                                                                                                                 single foreign report of
                  Spontaneous Reporting
OTC) to its Spontaneous                Reporting                the reported reactions appears to be the                               hypokalemia (Ref.       (Ref. 62), there is no
System for the years 1970       1970 through 1989     1989      result of irritancy or sensitivity  sensitivity resulting              evidence
                                                                                                                                       evidence of     of the putative systemic effects
                      summary listing includes
(Ref. 55). This summary                                         from use of      of the products. In a few cases,                      cited
                                                                                                                                       cited by the Panel that can occur when
724 reports of adverse drug reactions to                        the cause of the reaction is confirmed by                              hydrocortisone
                                                                                                                                       hydrocortisone is administered orally or
these products. Of these reports, 207                            patch testing with the individual                                     parenterally, i.e., suppression of the
relate to adverse drug reactions                                components of the product. In the                                      adrenal
                                                                                                                                       adrenal axis (44 FR 69768 at 69818).
associated with the topical use of                              majority of the instances where patch                                  Further,
                                                                                                                                       Further, the  the report of hypokalemia is
hydrocortisone or hydrocortisone                                tests were performed using the                                         questionable
                                                                                                                                       questionable because the route of
                 Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 201 of 210
 6942                      Federal      R eg ister // Vol.
                           F e d e ra l Register      Vol. 55,
                                                            55, No.
                                                                No. 39
                                                                     39 // Tuesday,
                                                                           T u esd ay , February
                                                                                        F eb ru ary 27,
                                                                                                     27, 1990
                                                                                                          19S0 // Proposed
                                                                                                                  P ro p o sed Rules
                                                                                                                               R ules
 <i»w^MMMnmii-irwi-TfirTToiiiirffiri-Tir"[iri iiiiwwnr niiiwirrirrrrrnr iifrMnfi rrinwa-tTniTiin— wnnrrMininiwiMiiiiiHiii m — mmm iimniinniiiiniii n     i nn— ■Piiwmiimiinamiinjuiij

administration
  administrationof         the hydrocortisone
                       ofthe    hydrocortisone                             preparations
                                                                            preparations (ointment, (ointment,cream,  cream, lotion,
                                                                                                                                  lotion,      other
                                                                                                                                                 othervasoconstriction
                                                                                                                                                         vasoconstrictionassays      assays in    in that
                                                                                                                                                                                                       thataa
  treatment isisnot
treatment          notspecified.
                        specified.                                        aerosol
                                                                            aerosolspray,spray, or    oranyanyother
                                                                                                                 otherform formsuitable
                                                                                                                                     suitable more
                                                                                                                                                moresensitive
                                                                                                                                                         sensitive estimation
                                                                                                                                                                        estimationof       ofpallor
                                                                                                                                                                                               pallorand   and
     Theadverse
    The    adverse drugdrug reaction
                              reaction datadata                            for
                                                                            for topical
                                                                                  topicalapplication)
                                                                                               application) were     were effective
                                                                                                                              effective        more
                                                                                                                                                more reading
                                                                                                                                                         reading timestimeswere were employed
                                                                                                                                                                                         employed inin
 include one
include      one report
                  report of ofsecondary
                                secondary                                  for
                                                                            forsymptomatic
                                                                                  symptomatic relief     reliefand and adjunctive
                                                                                                                          adjunctive           order
                                                                                                                                                order to to determine
                                                                                                                                                              determine the    thecomplete
                                                                                                                                                                                     complete
infection
 infection(Ref.       63),one
               [Ref.63),    one report
                                  reportof  of                             management
                                                                            managementof           ofcertain
                                                                                                        certain dermatoses.
                                                                                                                     dermatoses.               blanching
                                                                                                                                                blanching profile
                                                                                                                                                                profileof   ofthe
                                                                                                                                                                                the preparation.
                                                                                                                                                                                       preparation.
 withdrawalsymptoms
withdrawal        symptoms (Ref.  (Ref.64).
                                          64),and
                                                and two
                                                      two                 Based
                                                                            Basedon    on the
                                                                                            the NAS-NRC
                                                                                                    NAS-NRC evaluationevaluationand      and   Hydrocortisone
                                                                                                                                                Hydrocortisone and        and itsits acetate
                                                                                                                                                                                      acetateat     ataa1-  1-
reports
 reportsof      skinatrophy
            ofskin    atrophy (Ref.(Ref.65)
                                          65)                             subsequent
                                                                            subsequent data      data thatthat have
                                                                                                                 have beenbeen                 percent
                                                                                                                                                percentconcentration
                                                                                                                                                             concentration were      were ranked
                                                                                                                                                                                              ranked 29th  29th
associated
 associated with        the topical
                 with the     topical useuse of
                                              of                          submitted
                                                                            submitted to      to the
                                                                                                   theagency
                                                                                                         agencyand    and reviewed
                                                                                                                              reviewed         (hydrocortisone)
                                                                                                                                                (hydrocortisone)and        and 30th30th(acetate)
                                                                                                                                                                                           (acetate) with  with
hydrocortisone
 hydrocortisone or     orhydrocortisone
                           hydrocortisone                                  by
                                                                            by the
                                                                                 the Panel
                                                                                       Paneland    and FDA.FDA, the theagency
                                                                                                                          agency has    has    area
                                                                                                                                                area under
                                                                                                                                                        under the the blanching
                                                                                                                                                                        blanching curve  curve values
                                                                                                                                                                                                    values of   of
acetate     drug products.
 acetate drug      products.The  The agency
                                         agency finds
                                                    finds                 determined
                                                                            determined that      that substantial
                                                                                                         substantial data   data exist
                                                                                                                                     exist     180
                                                                                                                                                180andand167, 167, respectively,
                                                                                                                                                                    respectively, when    when
 the incidence
the    incidence of     these reports
                    ofthese      reports andand thethe                     that
                                                                            thatdemonstrate
                                                                                    demonstrate the        the effectiveness
                                                                                                                 effectiveness of       of11   occluded.
                                                                                                                                                occluded. Comparatively,
                                                                                                                                                                Comparatively, the         the highest
                                                                                                                                                                                                 highest
accounts
 accounts of   ofhospitalization
                  hospitalization to     to be
                                            be aa very
                                                    very                   percent
                                                                            percent hydrocortisone
                                                                                         hydrocortisone for          for various
                                                                                                                          various              ranked
                                                                                                                                                ranked drug,drug,withWithaa value
                                                                                                                                                                                value of   of2,800
                                                                                                                                                                                               2,800
 small percentage
small     percentage of   ofthe    total number
                              the total    numberof    of                 dermatitides,
                                                                            derma titides, eczemas, eczemas, and    and other
                                                                                                                            other              occluded,
                                                                                                                                                occluded, was   w as clobetasol
                                                                                                                                                                       clobetasol propionate
                                                                                                                                                                                          propionate
reported      reactions, considering
 reported reactions,         considering the  the                          indications
                                                                            indications that    that areare discussed
                                                                                                               discussed below.  below.        0.05
                                                                                                                                                0.05 percent.
                                                                                                                                                      percent. The   The authors
                                                                                                                                                                            authors statedstated that that
widespread
 widespread use   use ofofthese
                            these products.
                                    products.                              B.
                                                                            B. AALow  LowPotency
                                                                                              PotencySteroid  Steroid                          hydrocortisone
                                                                                                                                                hydrocortisone and       and itsits acetate
                                                                                                                                                                                     acetate are   are
    Therefore,     based on
    Therefore, based         on the
                                 the safety
                                        safety data
                                                 data                                                                                          recognized
                                                                                                                                                recognized as     as being
                                                                                                                                                                      being less less potent
                                                                                                                                                                                        potent than  than
cbtained
 obtained fromfrom the
                     the thousands
                           thousands of    ofsubjects
                                               subjects                        Several reports
                                                                              Several        reports show   show thatthat                      newer
                                                                                                                                                newer steroids
                                                                                                                                                          steroids and  and werewere at  at the
                                                                                                                                                                                              the bottom
                                                                                                                                                                                                    bottom
who
 who participated
        participated in       the clinical
                          in the   clinical studies
                                               studies                    hydrocortisone
                                                                            hydrocortisone (alcohol    (alcohol or    or acetate)
                                                                                                                          acetate) is    is aa of
                                                                                                                                                of the
                                                                                                                                                    the classification
                                                                                                                                                          classification table  table of  of
of   the safety
 ofthe             and effectiveness
          safety and     effectiveness of    ofthese
                                                 these                    low
                                                                            low potency
                                                                                   potency steroid.
                                                                                                  steroid. As   As aa result
                                                                                                                        result of   ofthe
                                                                                                                                        the    preparations.
                                                                                                                                                preparations. As      As was
                                                                                                                                                                           was alsoalso noted
                                                                                                                                                                                            noted in   in the
                                                                                                                                                                                                           the
products
 products and and the    supportive evidence
                    the supportive        evidence of   of                chemical         synthesis
                                                                            chemical synthesis of more potentof  more     potent               Miller
                                                                                                                                                Miller andand Munro
                                                                                                                                                                 Munro study study (Ref.
                                                                                                                                                                                       (Ref.66),66), thethe
the    subsequent adverse
 the subsequent        adverse drug drug reaction
                                           reaction                        topical
                                                                            topical steroids,
                                                                                        steroids, aa rankingranking system
                                                                                                                         system for    for     authors
                                                                          relative                                                              authors thought
                                                                                                                                                             thought the  the results
                                                                                                                                                                                results indirectly
                                                                                                                                                                                            indirectly
experience
 experience for       these products
                 for these     products reported
                                            reported                        relative potency
                                                                                         potency was     was developed.
                                                                                                                 developed. Miller  Miller     suggest
                                                                                                                                                suggest     that
                                                                                                                                                             that  the
                                                                                                                                                                    the  ranking
                                                                                                                                                                          ranking     of
                                                                                                                                                                                       of  proprietary
                                                                                                                                                                                            proprietary
to   the manufacturers
 to the   manufacturers and     and the
                                      the agency,
                                           agency, the the                and
                                                                            and Munro
                                                                                   Munro (Ref.  (Ref. 66)66) described
                                                                                                               described one     one           corticosteroid
                                                                          method                                                                corticosteroid preparations
                                                                                                                                                                       preparations based    based on    on the
                                                                                                                                                                                                              the
agency      proposes that
 agency proposes         that hydrocortisone
                                hydrocortisone or      or                   method (the  (the vasoconstrictor
                                                                                                  vasoconstrictor test)      test) forfor      skin
                                                                          assessing                                                             skin blanching
                                                                                                                                                       blanching tests  tests maymay reflect
                                                                                                                                                                                         reflect theirtheir
 hydrocortisone acetate
hydrocortisone         acetate at  at aa                                    assessing topicaltopical corticosteroid
                                                                                                           corticosteroid activity.activity. relative
                                                                                                                                                relative clinical
                                                                                                                                                             clinical efficacy.
                                                                                                                                                                          efficacy.
concentration
 concentration of           percent can
                     of11 percent       can be
                                             be safely
                                                  safely                  Effectiveness
                                                                            Effectiveness is        is judged
                                                                                                        judged by   by the
                                                                                                                         the drug's
                                                                                                                                drug’s            Barry     and
                                                                          ability
                                                                            ability to to cause
                                                                                            cause skin  skin blanching
                                                                                                               blanching under   under             Barry     and Woodford
                                                                                                                                                                    Woodford (Ref.    (Ref. 70)70) diddid aa
 used topically
used     topically as    an OTC
                     as an    OTC drug drug product
                                             product                                                                                           similar
                                                                                                                                                similar    study
                                                                                                                                                            study    with
                                                                                                                                                                     with    31
                                                                                                                                                                             31   corticosteroid
                                                                                                                                                                                  corticosteroid
 for the
for   the indications       discussed above.
           indications discussed           above.                         occlusion.         By    this    assay
                                                                            occlusion. By this assay method, the     method,        the
                                                                                                                                               ointments.
                                                                                                                                                ointments. The   The concentration
                                                                                                                                                                        concentration for       for
                                                                          relative
                                                                            relative potency
                                                                                         potency is      is aa composite
                                                                                                                composite of      of
III.
 III. Effectiveness
       Effectiveness                                                      several                                                              hydrocortisone
                                                                                                                                                hydrocortisone and       and hydrocortisone
                                                                                                                                                                                hydrocortisone
                                                                            several of   of the
                                                                                             the corticosteroid's
                                                                                                     corticosteroid’s properties:
                                                                                                                                properties: acetate
                                                                          its
                                                                            its ability
                                                                                ability to  to penetrate
                                                                                                  penetrate the    the skin
                                                                                                                         skin barrier
                                                                                                                                  barrier       acetate was was 0.1 0.1 percent.
                                                                                                                                                                         percent. Hydrocortisone
                                                                                                                                                                                       Hydrocortisone
A. Introduction
A.  Introduction                                                                                                                               acetate
                                                                                                                                                acetate    ranked
                                                                                                                                                            ranked      30th
                                                                                                                                                                        30th   and
                                                                                                                                                                                and hydrocortisone
                                                                                                                                                                                       hydrocortisone
                                                                            after release
                                                                          after     release from  from the  the vehicle,
                                                                                                                  vehicle, its  its            31st
   After
   After reviewing
            reviewing the  the data
                                 data and and other
                                                 other                    intrinsic
                                                                           intrinsic activity
                                                                                          activity at    at the
                                                                                                              the receptor,
                                                                                                                    receptor, and   and itsits  31st with
                                                                                                                                                      with values
                                                                                                                                                               values of   of388
                                                                                                                                                                              368 andand 175,175,
 information relating
information       relating to  to the
                                   the effectiveness
                                         effectiveness                    rate     of  clearance         from     the   site.   There      is  respectively,
                                                                                                                                                respectively,       when
                                                                                                                                                                     when     occluded.
                                                                                                                                                                              occluded.
                                                                           rate of clearance from the site. There is
of
 of11 percent     hydrocortisone provided
      percent hydrocortisone               provided in   in                usually
                                                                           usually aa strongstrong correlation
                                                                                                        correlation betweenbetween
                                                                                                                                               Fluocinolone
                                                                                                                                                Fluocinolone acetonide
                                                                                                                                                                     acetonide 0.025  0.025 percent
                                                                                                                                                                                                percent
the   citizen petition
 the citizen                 (Ref. 3)
                petition (Ref.       3) and
                                         and in in the
                                                    the                   clinical                                                             ranked
                                                                                                                                                ranked firstfirst with
                                                                                                                                                                   with aa value
                                                                                                                                                                              value of   of 2,750
                                                                                                                                                                                             2,750
                                                                            clinical and and assay
                                                                                                 assay results,
                                                                                                            results, but but thethe
 submission by
submission            the manufacturers'
                  by the   manufacturers’                                 evidence
                                                                            evidence does   does not  not suggest
                                                                                                            suggest that that
                                                                                                                                               occluded,
                                                                                                                                                occluded, and   and 2,530
                                                                                                                                                                       2,530 nonoccloded.
                                                                                                                                                                                nonoccluded.
 association (Ref.
association                   the agency
                         4), the
                  (Ref. 4),          agency                               increased
                                                                           increased absorption
                                                                                             absorption is       is responsible
                                                                                                                     responsible for      for
                                                                                                                                               Although
                                                                                                                                                Although hydrocortisone
                                                                                                                                                               hydrocortisone and        and
 concludes that
concludes                     demonstrate that
                      they demonstrate
                that they                          that11                  the
                                                                           the increased
                                                                                  increased clinicalclinical activity
                                                                                                                 activity of    of the
                                                                                                                                    the        hydrocortisone
                                                                                                                                                hydrocortisone acetate  acetate ointments
                                                                                                                                                                                      ointments were    were
percent hydrocortisone
percent     hydrocortisone is       is aa more
                                          more                            more
                                                                           more potent
                                                                                     potent compounds.
                                                                                                  compounds. The       The clinical
                                                                                                                               clinical        tested
                                                                                                                                                tested at at aa lower
                                                                                                                                                                 lower concentration
                                                                                                                                                                           concentration (0.1       (0.1
 effective concentration
effective    concentration than            0.5 percent
                                    than 0.5     percent                  potency
                                                                           potency of     of hydrocortisone
                                                                                              hydrocortisone (alcohol    (alcohol and    and   percent)
                                                                                                                                                percent) than than the
                                                                                                                                                                     the creams
                                                                                                                                                                            creams (1    (1 percent)
                                                                                                                                                                                             percent)
 for OTC
for  OTC use use to   provide relief
                   to provide       relief inin many
                                                 many                     acetate)       0.1   to   1.0   percent
                                                                           acetate) 0.1 to 1.0 percent was rated as    was      rated    as    used
                                                                                                                                               used    in
                                                                                                                                                        in the
                                                                                                                                                            the  first
                                                                                                                                                                  first  study
                                                                                                                                                                         study     (Ref.
                                                                                                                                                                                    (Ref.   69),
                                                                                                                                                                                            69),   the
                                                                                                                                                                                                    the
pruritic conditions.
pruritic   conditions. Based Based on   on the view
                                                  view                    "mild"
                                                                            "mild” (lowest
                                                                                        (lowest potency) by           by this
                                                                                                                           this assay.
                                                                                                                                   assay,      values
                                                                                                                                               values obtained
                                                                                                                                                           obtained were  were higher.
                                                                                                                                                                                   higher, especially
                                                                                                                                                                                                especially
that
 that OTC
       OTC drug       products should
              drug products          should contain
                                                contain                   while
                                                                           while beclomethasone
                                                                                      beclomethasone dipropionate  dipropionate 0.5       0.5  for
                                                                                                                                               for hydrocortisone
                                                                                                                                                     hydrocortisone acetate.  acetate. The  The authors
                                                                                                                                                                                                     authors
the  lowest effective
 the lowest                   dosage, the
                effective dosage,          the Panel
                                                 Panel                    percent
                                                                           percent was   w as ranked
                                                                                                  ranked as    as "very
                                                                                                                    "very potent,"
                                                                                                                              potent,”         did
                                                                                                                                               did   not
                                                                                                                                                     not   provide      an
                                                                                                                                                                         an  explanation
                                                                                                                                                                              explanation          of
                                                                                                                                                                                                   of these
                                                                                                                                                                                                        these
recommended
recommended 0.25     0.25 to    0.5 percent
                            to 0.5    percent as   as the
                                                       the                hydrocortisone
                                                                           hydrocortisone butyrate     butyrate 0.1   0.1 percent
                                                                                                                           percent as    as    results.
                                                                                                                                               results. However,
                                                                                                                                                            However, itit was   w as indicated
                                                                                                                                                                                        indicated that   that
             OTC concentration
 effective OTC
effective            concentration for      for                           "potent,"
                                                                           “potent,” and    and fluocinolone
                                                                                                    fluocinolone acetonideacetonide            the
                                                                                                                                               the area
                                                                                                                                                     area under
                                                                                                                                                              under thethe curve
                                                                                                                                                                             curve values
                                                                                                                                                                                        values in    in the
                                                                                                                                                                                                         the
hydrocortisone
hydrocortisone and     and hydrocortisone
                              hydrocortisone                              0.01
                                                                           0.01 percent
                                                                                   percent as    as "moderately
                                                                                                      “moderately potent."  potent.”           tests
                                                                                                                                               tests were
                                                                                                                                                       were often
                                                                                                                                                                often higher
                                                                                                                                                                          higher for for ointments
                                                                                                                                                                                           ointments
acetate    equivalent to
 acetate equivalent         to hydrocortisone.
                                hydrocortisone.                               Sneddon
                                                                               Sneddon (Ref.   (Ref. 67) 67) divided
                                                                                                               divided topical                 probably becausebecause of    of the
                                                                                                                                                                                 the occlusive
                                                                                                                                                                                       occlusive effect  effect
However,
However, the         agency notes that
               the agency                 that the
                                                 the                      corticosteroids
                                                                           corticosteroids into       into four
                                                                                                              four grades
                                                                                                                      grades of   of           of
                                                                                                                                               of the
                                                                                                                                                   the ointment
                                                                                                                                                         ointment vehicle.
                                                                                                                                                                        vehicle. In   In both
                                                                                                                                                                                           both studies,
                                                                                                                                                                                                    studies,
majority
majority of  of the   controlled studies
                 the controlled         studies cited
                                                    cited                 potency
                                                                           potency and    and classified
                                                                                                  classified hydrocortisone 11                 the
                                                                                                                                               the hydrocortisone
                                                                                                                                                     hydrocortisone and       and hydrocortisone
by the Panel
by        Panel as as demonstrating
                       demonstrating                                       percent as
                                                                          percent        as "weak"
                                                                                              “weak” (grade  (grade IV-lowest
                                                                                                                        IV-lowest              acetate
                                                                                                                                               acetate ointment
                                                                                                                                                            ointment and   and cream
                                                                                                                                                                                   cream were were
effectiveness
effectiveness for       topical hydrocortisone
                    for topical      hydrocortisone                       rating). Stoughton
                                                                                        Stoughton (Ref.     (Ref. 68)
                                                                                                                    68) used                   ranked
                                                                                                                                               ranked last last ofof all
                                                                                                                                                                      all the products
                                                                                                                                                                                  products tested.
                                                                                                                                                                                                 tested,
involved        percent hydrocortisene,
involved 11 percent        hydrocortisone, and       and                  vasoconstriction
                                                                           vasoconstriction bioassay     bioassay techniques to                demonstrating
                                                                                                                                               demonstrating that      that hydrocortisone
                                                                                                                                                                              hydrocortisone is aa
in several
in             studies 2.5
    several studies             percent was
                          2.5 percent        w as the                     compare
                                                                           compare the     the relative effectiveness
                                                                                                                effectiveness of        of     low potency steroid. steroid.
concentration used (44
concentration                     FR 69768
                             (44 FR     69768 at  at                      various corticosteroids
                                                                                         corticosteroids applied    applied topically
                                                                                                                                  topically       Cahn
                                                                                                                                                   Cahn and and Levy
                                                                                                                                                                   Levy (Ref.
                                                                                                                                                                            (Ref. 25)25) used
69322).
69822).                                                                   in
                                                                           in controlled
                                                                               controlled clinical clinical studies.
                                                                                                                studies.                       hydrocortisone 1.0       1.0 percent as      as the
   The effectiveness
   The   effectiveness of     of concentrations
                                  concentrations of       of              Hydrocortisone
                                                                           Hydrocortisone acetate       acetate 1.0  1.0 percent
                                                                                                                          percent had          reference standard
                                                                                                                                                               standard in evaluating the
hydrocortisone and     and hydrocortisone                                 aa comparative
                                                                              comparative effectiveness
                                                                                                     effectiveness of       of1, % versus      relative effectiveness
                                                                                                                                                             effectiveness of      of several
                                                                                                                                                                                       several topical
                                                                                                                                                                                                     topical
acetate    above 0.5 percent was evaluated
acetate above                                                             10
                                                                           10 for flurandreualone
                                                                                     flurandrenalone acetonide 0.05                            corticosteroids.
                                                                                                                                               corticosteroids. The      The investigators noted
as part of
as                  agency’s Drug Efficacy
           of the agency's                                                percent, 100    100 for triamcinclone
                                                                                                       triamcinolone acetonide                 that
                                                                                                                                               that hydrocortisone had received the
Study Implementation
Study    Implementation (DESI)   (DESI) review of       of                0.1
                                                                           0.1 percent, and 360         360 for betamethasone                  widest
                                                                                                                                               widest recognition and         and most extensive
                                                                                                                                                                                               extensive
                              corticosteroid drugs.
prescription topical corticosteroid                                       valerate 0.1 percent.                                                use
                                                                                                                                               use inin the
                                                                                                                                                         the treatment of       of inflammatory
In the Federal Register of        of April 1,      1971
                                               1,1871                         Barry and  and Woodford (Ref.         (Ref. 69)                  dermatoses
                                                                                                                                               dermatoses and had been considered for                         for
(36       7982), based cn
     FR 7982),
(36 FR                       on reports received                          evaluated the comparative                                            years
                                                                                                                                               years as  as the benchmark against      against which
from the National Academy of Sciences-         Sciences-                  bioavailability of          of 30
                                                                                                          30 topical                           the
                                                                                                                                               the effectiveness of        of new steroids
                                                                                                                                                                                       steroids was
National Research Council (NAS-NRC),                                      corticosteroid creams      creams and gels    gels fur for           measured.
the agency       stated conditions under
     agency stated                                                        vasoconstriction using an                an occluded                    The
                                                                                                                                                   The Medical
                                                                                                                                                         M edical LetterL etter (Ref.
                                                                                                                                                                                   (Ref. 71) has
                   2.5-percent hydrocortisone
which 0.5- to 2.5-percent                                                 blanching test. The method differed from stated                      stated that topical corticosteroids are
                   Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 202 of 210

                         Federal Register
                         Federal Register // Vol.  55, No.
                                             Vol. 55,  No. 39
                                                            39 // Tuesday,
                                                                  Tuesday, February
                                                                           February 27.
                                                                                     27, 1990
                                                                                          1990 // Proposed
                                                                                                  Proposed Rules
                                                                                                           Rules                                                                              6943
                                                                                                                                                                                             6943

effective
  effective in in the
                   fee treatment
                         treatmentof      ofaa variety
                                                  variety of   of   another
                                                                     another product
                                                                                   productapplied appliedsimultaneously
                                                                                                               simultaneously           indicated
                                                                                                                                         indicated that  that0.505 percent
                                                                                                                                                                      percent
common
  commonskin          disorders including
               skindisorders           including                    on
                                                                     on the
                                                                          theother
                                                                                 otherside side of ofthe
                                                                                                       the body.
                                                                                                             body.In   Incertain
                                                                                                                           certain      hydrocortisone
                                                                                                                                         hydrocortisone(alcohol   (alcoholand  andacetate)
                                                                                                                                                                                       acetate)
seborrheic        dermatitis, neurodermatitis,
  seborrheic dermatitis,            neurodermatitis,                conditions
                                                                     conditions(e.g..   (e.g.,anogenital
                                                                                                 anogenitalpruritus),
                                                                                                                   pruritus),           was
                                                                                                                                         was effective
                                                                                                                                                effective in       60percent
                                                                                                                                                               inPin    percentof   ofthe
                                                                                                                                                                                        the
 psoriasis,atopic
psoriasis,       atopic determatitis,
                            determatitis,and      and               contralateral
                                                                     contralateral areas    areas may may be  be ininopposition
                                                                                                                       opposition       subjects
                                                                                                                                         subjects studied.
                                                                                                                                                       studied.This This concentration
                                                                                                                                                                             concentration was     w as
anogenital        pruritis,and,
  anogenital pruritis,          and, in ingeneral,
                                             general, the  the      to
                                                                     toone
                                                                         one another,
                                                                                 another, thus  thusmaking
                                                                                                        makingdiscrete
                                                                                                                    discrete            also
                                                                                                                                         also effective
                                                                                                                                                effective in   m maintaining
                                                                                                                                                                   maintaining
 fluorinatedtopical
fluorinated        topical corticosteroids
                               corticosteroids are        are       unilateral
                                                                     unilateral topical
                                                                                      topicalapplications
                                                                                                   applications                         symptomatic
                                                                                                                                         symptomatic relief   reliefwhenwhen treatment
                                                                                                                                                                                 treatmentwas    w as
 more effective
more     effective than than other
                                other preparations.
                                          preparations.             impossible.
                                                                     impossible.                                                        initiated
                                                                                                                                         initiated withw ithaa higher
                                                                                                                                                                  higherconcentration.
                                                                                                                                                                             concentration.
However.
 However, itit was  w as indicated
                            indicated that   that many
                                                     many              The
                                                                        The crossover
                                                                                crossover technique
                                                                                                  techniqueisis well- well-             The
                                                                                                                                         The paired
                                                                                                                                               paired comparison
                                                                                                                                                           comparison method   method was  was
 disorders respond
disorders       respond equally
                              equally well  well to  to the
                                                         the        known
                                                                     known and    and isisan an effective
                                                                                                  effective way  way to  to             used
                                                                                                                                         used in inseveral
                                                                                                                                                     severalcasescases of   ofextensive
                                                                                                                                                                               extensive atopic atopic
 less potent
less   potent and  and less      expensive steroids
                          less expensive            steroids        determine
                                                                     determine the     the minimal
                                                                                              minimal effective
                                                                                                            effective dose dose of of   dermatitis,
                                                                                                                                         dermatitis, with  with placebo
                                                                                                                                                                   placebo applied
                                                                                                                                                                                applied to   to one
                                                                                                                                                                                                 one
such
 such as as hydrocortisone.
             hydrocortisone. Topical    Topicalsteroid steroid      aa drug,
                                                                        drug, particularly
                                                                                 particularly in      in conditions
                                                                                                          conditions that   feat        part
                                                                                                                                         part ofof the
                                                                                                                                                    the body
                                                                                                                                                          body and andactive
                                                                                                                                                                           activedrugdrug to to
preparations
 preparations were   were arranged
                               arranged in     in aa chart
                                                       chart        are    longstanding and
                                                                     are longstanding              and generally
                                                                                                         generally                      another
                                                                                                                                         another part.
                                                                                                                                                     part. In Insubjects
                                                                                                                                                                  subjects with with atopic
                                                                                                                                                                                        atopic
roughly
 roughly according
             according to     to strength.
                                  strength.                         unresponsive
                                                                     unresponsive to         to previous
                                                                                                 previous therapy.
                                                                                                                therapy. In   In aa     dermatitis.
                                                                                                                                         dermatitis, 0.5   0.5percent
                                                                                                                                                                percenthydrocortisone
                                                                                                                                                                             hydrocortisone
Hydrocortisone
 Hydrocortisone 0.25      0.25and.0.5
                                 a n d 0,5percent
                                               percent              number
                                                                     number of     ofinstances
                                                                                       instances where  where investigators
                                                                                                                   investigators        proved
                                                                                                                                         proved to  to bebe effective
                                                                                                                                                              effectivefor   for60
                                                                                                                                                                                 60perr.ent.1
                                                                                                                                                                                      percent, 1
 were considered
were     considered the           w eakeststrengths,
                            the weakest           strengths,        had
                                                                     had accepted
                                                                            accepted the     the therapeutic
                                                                                                   therapeutic                          percent
                                                                                                                                         percent was w as effective
                                                                                                                                                             effective for  for 00
                                                                                                                                                                                 80percent.
                                                                                                                                                                                     percent and   and
 while hydrocortisone
while     hydrocortisone1.0              percent was
                                   1.0 percent          w as        effectiveness
                                                                     effectiveness of       of topical
                                                                                                 topical hydrocortisone,
                                                                                                             hydrocortisone,             2.5percent
                                                                                                                                        2.5     percent   effective
                                                                                                                                                             effectiveforfor  9090percent.
                                                                                                                                                                                     percentThe   The
 rated aa little
rated       little higher,
                     higher,equivalent
                                 equivalent to       to             crossover
                                                                     crossover comparisons
                                                                                      comparisons were       were no  no longer
                                                                                                                          longer        1-
                                                                                                                                         1-and
                                                                                                                                            and 2.5    -percent concentrations
                                                                                                                                                   2.5-percent        concentrations were      were
fluocinolone         acetonide 0.01
 fluocinolone acetonide               0.01 percent
                                              percentand   and      made
                                                                     made to   to placebo
                                                                                    placebo (or   (or previously
                                                                                                        previously accepted
                                                                                                                         accepted       of
                                                                                                                                         ofgreat
                                                                                                                                            great value
                                                                                                                                                     value in  in the
                                                                                                                                                                   fee treatment
                                                                                                                                                                          treatment of    of
flurandrenolide
 flurandrenolide0.025     0.025 percent.
                                   percent. The    The              topical
                                                                     topical therapy)
                                                                                 therapy) but    but were
                                                                                                       w ere made
                                                                                                                made to   to higher
                                                                                                                              higher    dermatitis
                                                                                                                                         dermatitis venenata,
                                                                                                                                                          venenata, while  while thefee 0.5-
                                                                                                                                                                                          05-
 M edicalLetter
Medical       L etter noted
                         noted thatthat absolute
                                           absolute                 or
                                                                     or lower
                                                                         lower concentrations
                                                                                    concentrationsof          of                        percent
                                                                                                                                         percent concentration
                                                                                                                                                     concentration was      w as notnot effective.
                                                                                                                                                                                          effective.
 equivalents of
equivalents         of topical      steroids have
                        topical steroids           have not not     hydrocortisone.
                                                                     hydrocortisone. This        This approach
                                                                                                         approach provide
                                                                                                                        provide         In
                                                                                                                                         In anogenital
                                                                                                                                             anogenital pruritis,
                                                                                                                                                              pruritis, the the improved.
                                                                                                                                                                                 improved,
 been established.
been     established, and    and some
                                    some                            data
                                                                     daia on on thethe minimum
                                                                                         minimumeffective effective dosedose forfor     partially
                                                                                                                                         partially improved,
                                                                                                                                                       improved, and     and not
                                                                                                                                                                               not improved
                                                                                                                                                                                     improved
dermatologists
 dermatologists might    might disagree
                                   disagree with   with thethe      maintenance
                                                                     m aintenanceor         or cure
                                                                                                 cure ofofthethe condition.
                                                                                                                  condition.            results
                                                                                                                                         results were
                                                                                                                                                    w ere as as follows:
                                                                                                                                                                 follows: 7:2:47:2:4 for
                                                                                                                                                                                       for0.5
                                                                                                                                                                                            05
poSitions
 positions given
               given to  to some
                             some of   ofthethe                        Frank,
                                                                        Frank, Stritzler,
                                                                                    Stritzler, and  and Kaufman
                                                                                                           Kaufman (Ref.   (Ref. 72)
                                                                                                                                  72)   percent,
                                                                                                                                         percent, 27:9:6
                                                                                                                                                      27:9:0f  for
                                                                                                                                                                 o1 r i percent,
                                                                                                                                                                         percent, and and 18:3:2
                                                                                                                                                                                            18:3:2
formulations         presented in
 formulations presented               in the
                                           the chart.
                                                  chart.            studied
                                                                     studied 282  282 subjects
                                                                                         subjects with  w ife atopic
                                                                                                                atopic                  for   2.5 percent.
                                                                                                                                         for 2.5   percent. Robinson,
                                                                                                                                                                 Robinson, Robinson,
                                                                                                                                                                                  Robinson, and   and
    The above
   The    above data data showshow that,that, inin                   dermatitis, contact
                                                                    dermatitis,         contact dermatitis,
                                                                                                     dermatitis, nummular
                                                                                                                        nummular        Strahan
                                                                                                                                         Strahan concluded
                                                                                                                                                      concluded from    from this
                                                                                                                                                                               this study
                                                                                                                                                                                      study thatthat
comparison
 comparison to          other steroids,
                    to other     steroids,                          and
                                                                     and hand
                                                                            hand eczema,
                                                                                      eczema, neurtglermatitia.
                                                                                                    neurodermatitis,                    both
                                                                                                                                         both 0.5-
                                                                                                                                                0.5- and
                                                                                                                                                       and1-percent
                                                                                                                                                              1-percent hydrocortisone
                                                                                                                                                                              hydrocortisone
 hydrocortisone has
hydrocortisone                  been determined
                         has been        determined to       to     seborrheic
                                                                     seborrheic eczema,eczema, and    and pruritus
                                                                                                              pruritus an  ani and
                                                                                                                                and     concentrations
                                                                                                                                         concentrations were     were useful
                                                                                                                                                                          useful andand that
                                                                                                                                                                                           that I1
be
 be aa low    potency drug
        low potency          drug that
                                     that is is effective
                                                 effective          vulvae
                                                                     vulvae to   to compare
                                                                                     compare the     the effects
                                                                                                           effects of  of0.5-
                                                                                                                           0.5-and
                                                                                                                                 and    percent
                                                                                                                                         percent was was the the optimum
                                                                                                                                                                   optimum concentration.
                                                                                                                                                                                 concentration.
 for the
for   the treatment
           treatm ent of    of many
                                many commoncommon                   1-percent
                                                                     1-percent hydrocortisone
                                                                                     hydrocortisone alcohol.    alcohol. The The        The
                                                                                                                                         The authors
                                                                                                                                               authors also also concluded
                                                                                                                                                                    concluded that   that there
                                                                                                                                                                                            there isis
 dermatoses..The
dermatoses.                Panel concluded
                    The Panel         concluded that     that       subjects
                                                                     subjects were            treated with
                                                                                    were treated          w ith two
                                                                                                                  two                   not
                                                                                                                                         not appreciable
                                                                                                                                              appreciable difference
                                                                                                                                                                  difference between
                                                                                                                                                                                   between the   the
 numerous controlled
numerous         controlled and   and uncontrolled
                                          uncontrolled              ointments:                                                          local
                                                                                                                                         local action
                                                                                                                                                 action of  of hydrocortisone
                                                                                                                                                                hydrocortisone free
                                                                     ointments: one    one containing
                                                                                               containing 0.5-percent
                                                                                                                 05-percent                                                              free
 studies provide
studies     provide strongstrong documentation
                                     documentation                  hydrocortisone                                                      alcohol
                                                                                                                                         alcohol and and hydrocortisone
                                                                                                                                                            hydrocortisone acetate.
                                                                     hydrocortisone free        free alcohol
                                                                                                       alcohol and  an d the
                                                                                                                           fee                                                       acetate.
 for the
for        efficacy of
      the efficacy       ofhydrocortisone
                             hydrocortisone and          and        other
                                                                     other containing
                                                                              containing1-percent1-percent                                 Rattner
                                                                                                                                            Rattner (Ref.        35) studied
                                                                                                                                                         (Ref. 35)                 1,200 subjects
                                                                                                                                                                       studied 1,200        subjects
 hydrocortisone acetate
hydrocortisone           acetate for  for antipruritic
                                            antipruritic            hydrocortisone                                                      having
                                                                     hydrocortisone free        free alcohol.
                                                                                                       alcohol. Whenever
                                                                                                                    W henever            having various
                                                                                                                                                   various dermatoses
                                                                                                                                                                dermatoses using    using topical
                                                                                                                                                                                              topical
 and anti-inflammatory
and    anti-inflammatory use         use in  in the
                                                 the 0.5-
                                                        0.5- to
                                                              to    possible,
                dosage range.
  -percent dosage
55-percent                  range. As         noted above,
                                       As noted          above,      possible, contralateral
                                                                                     contralateral areas    areas were
                                                                                                                     were               hydrocortisone
                                                                                                                                         hydrocortisone acetate  acetate in   in various
                                                                                                                                                                                  various
                                                                    treated
                                                                     treated with wife eacheach ointment
                                                                                                    ointment for   for                  concentrations
                                                                                                                                         concentrations and     and bases
                                                                                                                                                                        bases and and
 the Panel
the             identified aa number
      Panel identified             num berof      of                comparative
effectiveness
 effectiveness studiesstudies in      which the
                                  in which         the1- 1-          comparative evaluation.
                                                                                           evaluation. When   When                      comparing
                                                                                                                                         comparing them   them withwife placebo
                                                                                                                                                                           placebo basesbases and and
                                                                    contralateral
                                                                     contralateral areas    areas could
                                                                                                      could not not bebe treated
                                                                                                                           treated      standard
                                                                                                                                         standard ointments.
                                                                                                                                                        ointments. Whenever
                                                                                                                                                                          Whenever possible,
                                                                                                                                                                                          possible,,
 percent concentration
percent      concentration of       of hydrocortisone
                                         hydrocortisone
       used and
 was used
was                       high percentage
                and aa high      percentage of        of
                                                                    because
                                                                     because of     of location,
                                                                                       location, both  both ointments
                                                                                                                ointments               simultaneously
                                                                                                                                         simultaneously paired   paired comparisons
                                                                                                                                                                             comparisons
                                                                    were
                                                                     w ere alternated.
                                                                             alternated. Of       Of the
                                                                                                      the 282282 subjects
                                                                                                                   subjects             were
                                                                                                                                         were made,
                                                                                                                                                 made, usingusing thethe hydrocortisone
                                                                                                                                                                           hydrocortisone
            improvement occurred
 subject improvement
subject                           occurred for     for
                                                                    using
                                                                    using bothboth ointments,
                                                                                       ointments,166      169 found
                                                                                                                found the the 0.5-
                                                                                                                               05-      product
                                                                                                                                         product on  on one
                                                                                                                                                          one side
                                                                                                                                                                 side of of the
                                                                                                                                                                             the body
                                                                                                                                                                                  body and and
 various dermatoses
various     dermatoses (44      [44 FR      69750at
                                      FR 69768         at
                                                                    percenf and
                                                                    percent       and the the 1-percent
                                                                                                1-percent products
                                                                                                                products                using
                                                                                                                                        using thethe base
                                                                                                                                                        base on on aa similar
                                                                                                                                                                        similar lesion
                                                                                                                                                                                   lesion on   on the
                                                                                                                                                                                                  the
 69822f.
69822).
                                                                    equally       effective, ao
                                                                     equally effective,            80 found
                                                                                                       found the the 11 percent
                                                                                                                          percent       opposite
                                                                                                                                         opposite side side ofof the
                                                                                                                                                                  the body.
                                                                                                                                                                         body. OneOne percent
                                                                                                                                                                                          percent
C.    H ydrocortisone1 1Percent
 C. Hydrocortisone                PercentIsIsMore     M ore         more
                                                                    more effective.
                                                                              effective, and   and 33 33.found
                                                                                                           found the the 0.5
                                                                                                                           0.5          hydrocortisone
                                                                                                                                        hydrocortisone acetate   acetate yielded
                                                                                                                                                                              yielded excellent
                                                                                                                                                                                          excellent
Effective      Than 0.5
 E ffective Than         0.5 Percent
                              Percent                               percent
                                                                    percent more  m ore effective.
                                                                                            effective. The  The authors
                                                                                                                   authors              results
                                                                                                                                        results in in aa majority
                                                                                                                                                           majority of    of cases
                                                                                                                                                                              cases of of atopic
                                                                                                                                                                                           atopic
    Seven controlled
   Seven                       clinical trails
              controlled clinical            trails (Refs.
                                                        (Refs.      stated
                                                                     stated that,
                                                                                feat, in in general,
                                                                                             general, the impression
                                                                                                                 impression             eczema,
                                                                                                                                         eczema, contact
                                                                                                                                                      contact dermatitis,
                                                                                                                                                                   dermatitis, localized
                                                                                                                                                                                    localized
 22, 32,
22,  32, 35,
          35, 54,
                54, 72,    73, and
                     72, 73,    and 74]74} involving
                                              involving             was
                                                                    w as that
                                                                            that the 0.5       -percent concentration
                                                                                           0.5-percent        concentration             neurodermatitis,
                                                                                                                                        neurodermatitis, otitis    otitis extema,
                                                                                                                                                                            externa, and  and
        4,000 subjects
 over 4,000
over             subjects with with various
                                       various                      was
                                                                    w as about
                                                                            about 75        percent as
                                                                                       75 percent        as effective
                                                                                                              effective as   as the
                                                                                                                                 fee    pruritus
                                                                                                                                        pruritus ani.       Rattner found
                                                                                                                                                     ani. Rattner         found thethe 1-percent
                                                                                                                                                                                         1-percent
 dermatoses demonstrate
dermatoses         demonstrate that      that 11 percent
                                                    percent         1-percent
                                                                    1-percent concentration.
                                                                                     concentration. The       The authors
                                                                                                                     authors            concentration
                                                                                                                                        concentration (in      (in an
                                                                                                                                                                    an ointment
                                                                                                                                                                          ointment base)base) to to
 hydrocortisone is
hydrocortisone               more effective
                         is more      effective than                also
                                                                     also noted
                                                                            noted that that frequently
                                                                                               frequently aa better                     be
                                                                                                                                        be more
                                                                                                                                             more effective
                                                                                                                                                     effective than  than the 0.5-percent
                                                                                                                                                                                  0.5-percent
      0.5-percent concentration
the 0.5-percent         concentration in        in many             response to the 0.5            -percent
                                                                                                0.5-percent                             concentration but
                                                                                                                                        concentration          but occasionally
                                                                                                                                                                      occasionally less
 subjects. The
subjects.     The methodology used by                 by            concentration was
                                                                    concentration            was obtained
                                                                                                     obtained in    in areas
                                                                                                                        areas           effective
                                                                                                                                        effective than than thethe 2.5   -percent
                                                                                                                                                                     25-percent
many of      the investigators in
         of the                           in these                  where treatment
                                                                                treatment was            initiated with
                                                                                                  w as initiated        with the
                                                                                                                               fee      concentration. Rattner
                                                                                                                                        concentration.          Rattner also also reported that   that
 clinical trials was either
clinical                     either paired
                                        paired                      1-percent product
                                                                    1-percent        product and   and then
                                                                                                          then maintained               no
                                                                                                                                        no difference
                                                                                                                                             difference in    in results
                                                                                                                                                                  results was w as observed
                                                                                                                                                                                     observed
                      comparisons of
 simultaneous comparisons
simultaneous                                    active vs.
                                            o f active              with the 0.5       -percent product.
                                                                                   0.5-percent                                          between
                                                                                                                                        between the hydrocortisone
                                                                                                                                                            hydrocortisone acetate   acetate and and
placebo
 placebo or       active vs. active,
             or active            active, or   or crossover
                                                    crossover          Robinson, Robinson, and              and Strahan
                                                                                                                   Strahan              the
                                                                                                                                        the free
                                                                                                                                              free alcohol
                                                                                                                                                     alcohol preparation.
patterns using                      and/or placebo.
                       actives and/or
             using actives                                          (Ref.
                                                                    (Ref. 22)22) evaluated
                                                                                   evaluated the effects   effects of  of                  Irke
                                                                                                                                           Irke and
                                                                                                                                                  and Griffin
                                                                                                                                                          Griffin (Ref.       73) used paired
                                                                                                                                                                      (Ref. 73)
                  simultaneous comparison
The paired simultaneous
The                                      comparison                 multiple combinations
                                                                                   combinations of         of different
                                                                                                               different                simultaneous
                                                                                                                                        simultaneous comparisons
                                                                                                                                                              comparisons in       in 60
                                                                                                                                                                                       60 elderly
                                                                                                                                                                                           elderly
technique is used               study the effects of
                    used to study                            of     vehicles and   and concentrations of            of topical          subjects
                                                                                                                                        subjects (between
                                                                                                                                                      (between 60     60 and
                                                                                                                                                                           and 9090 years of   of
different     concentrations of
 different concentrations              of active
                                            active                  hydrocortisone
                                                                    hydrocortisone (0.5,              1.0, and
                                                                                               (0.5,1.0,     and 2.5 percent)           age.
                                                                                                                                        age, average 66      6&years)
                                                                                                                                                                 years) of  of combination
                                                                                                                                                                                combination
                  applied topically on
ingredients applied                             on the              in the treatment
                                                                              treatment of       of various dermatoses
                                                                                                                  dermatoses            products containing
                                                                                                                                                       containing aa fixed amount of             of
same     subject. In this procedure, subjects
 same subject.                                        subjects      in 1,655
                                                                        1,655 subjects.
                                                                                  subjects. Hydrocortisone free                         neomycin with   wife various concentrations of              of
           symmetrical skin
having symmetrical              skin lesions of       of            alcohol
                                                                    alcohol 0.5,       1.0, and
                                                                                 0.5,1.0,      and 2.52.5 percent in                    hydrocortisone from 0.5                   25 percent.
                                                                                                                                                                          0.5 to 2.5
closely    similar duration, degree,
closely similar                         degree, and                 various vehicles was         w as used on 757     757               The
                                                                                                                                        The conditions studied  studied included lichen
extent           selected for comparative
extent are selected                                                 subjects,
                                                                    subjects, and   and hydrocortisone acetate       acetate 0.5.0.5,   simplex
                                                                                                                                        simplex chronicus,
                                                                                                                                                     chronicus, anogenital
                                                                                                                                                                       anogenital pruritus,
evaluation of        fee effects of
                 of the                of one product               1.0,
                                                                    1.0, andand2.5        percentininvarious
                                                                                    2.5percent             variousvehicles
                                                                                                                        vehicles        severe
                                                                                                                                        severe and and prolonged contact dermatitis.    dermatitis,
applied on one
applied          erne side of   of the body vs.                     was
                                                                    w as used on 349 subjects.   subjects. The results                  seborrheic
                                                                                                                                        seborrheic dermatitis, stasis       stasis dermatitis,
                                                                                                                                                                                      dermatitis.
                     Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 203 of 210

6944
0944                   Federal
                       Federal Register
                               Register // Vol.
                                           Vol. 55,
                                                55, No.
                                                    No. 39
                                                        39 // Tuesday,
                                                              Tuesday, February
                                                                       February 27,
                                                                                27, 1990
                                                                                    1990 // Proposed
                                                                                            Proposed Rules
                                                                                                     Rules

infectious
 infectious eczematoid
               eczematoid dermatitis,
                                    dermatitis,                 1-percent
                                                                1-percent concentration
                                                                              concentration ofof                                    The
                                                                                                                                     The labeling
                                                                                                                                             labelingproposed
                                                                                                                                                            proposed by        by thethe
dishidrosis,
 dishidrosis, and  and nummular
                          nummular eczema. eczema.              hydrocortisone
                                                                 hydrocortisone isis more
                                                                                       more effective
                                                                                             effective than
                                                                                                          than aa                petitioner
                                                                                                                                  petitioner (Ref.  (Ref. 3)3) for
                                                                                                                                                                 for11percent
                                                                                                                                                                           percent
They
 They found
         found thatthat the
                          the 0.5-percent
                                0.5-percent                     0.5-percent
                                                                 0.5-percent concentration
                                                                               concentration forfor aa number
                                                                                                       number                    hydrocortisone
                                                                                                                                  hydrocortisone isis as         as follows:
                                                                                                                                                                      follows:
hydrocortisone
 hydrocortisone preparation
                        preparation was     was thethe          of
                                                                 of dermatologic
                                                                    dermatologic conditions
                                                                                     conditions that
                                                                                                  that are
                                                                                                        are                         Indications.
                                                                                                                                     Indications. For thetemporary
                                                                                                                                                       For    the    temporaryrelief   relief ofof
least
 least satisfactory,
        satisfactory, the    the 2.5-percent
                                   2.5-percent                  included
                                                                 included inin the
                                                                                the OTC
                                                                                    OTClabeling
                                                                                          labeling for
                                                                                                     for                         minor
                                                                                                                                  minor skin
                                                                                                                                           skin irritations;
                                                                                                                                                   irritations;inflammation,
                                                                                                                                                                     inflammation,itches,    itches.
hydrocortisone
 hydrocortisone was     was the  the most
                                       most effective,
                                              effective,        products
                                                                 products containing
                                                                             containing this
                                                                                         this ingredient.
                                                                                               ingredient.                       and
                                                                                                                                  and rashes
                                                                                                                                        rashesdue  due totoinsect
                                                                                                                                                              insect bites;
                                                                                                                                                                         bites:external
                                                                                                                                                                                   external anal anal
and
 and the   l-percent hydrocortisone
       the'1-percent        hydrocortisone wwas       as        However,
                                                                 However, the the agency
                                                                                  agency concludes
                                                                                           concludes thatthat aa                 itching;
                                                                                                                                  itching;and and allergic
                                                                                                                                                     allergicand andirritant
                                                                                                                                                                         irritant dermatitis
                                                                                                                                                                                      dermatitis
somewhat
 somewhat less   less effective
                        effective than than thethe 2.5-
                                                    2.5-        range
                                                                 range of
                                                                       of concentrations
                                                                            concentrations from
                                                                                              from 0.25
                                                                                                     0.25 to
                                                                                                           to 11                 caused
                                                                                                                                  caused by  by poison
                                                                                                                                                  poison ivy,ivy, poison
                                                                                                                                                                     poison oak, oak,poison
                                                                                                                                                                                         poison
percent                                                         percent
                                                                 percent isis appropriate
                                                                              appropriate for
                                                                                            for OTC
                                                                                                 OTC drug                        sumac,
                                                                                                                                  sumac, soaps,
                                                                                                                                             soaps, detergents,
                                                                                                                                                        detergents, cosmetics,
                                                                                                                                                                           cosmetics, or     or
 percent butbut waswas considered
                          considered adequate
                                            adequate                                                    drug
                                                                                                                                 jewelry.
for
 for most
      most conditions
             conditions studied.
                               studied.                         products
                                                                 products containing
                                                                             containing hydrocortisone.
                                                                                         hydrocortisone.                          jewelry. Other uses or the use of theproduct
                                                                                                                                              Other     uses    or   the   use    of  the    product
                                                                                                                                 for  more     than    7 days     should
                                                                                                                                  for more than 7 days should be undertaken   be   undertaken
   Heilesen,
    Ileilesen, Kristjansen,
                   Kristjansen, and    and Reymann
                                              Reymann                                                                            only
                                                                IV.   Labeling
                                                                 IV. Labeling                                                     only under
                                                                                                                                         under the the advice
                                                                                                                                                         advice and  and supervision
                                                                                                                                                                            supervision of      of aa
(Ref.
 (Ref. 54)
        54) in
             in aa study
                     study of of 130
                                   130 subjects
                                         subjects withwith                                                                       physician.
                                                                                                                                  physician.
various
 various dermatoses
            dermatoses reported reported that that 0.1-
                                                     0.1- or
                                                           or   AA.. Introduction
                                                                      Introduction                                                   Warnings. For
                                                                                                                                     Warnings.        For external
                                                                                                                                                            external use   use only.
                                                                                                                                                                                  only. Avoid
                                                                                                                                                                                           Avoid
0.5-percent
 0.5-percent concentration
                  concentration of       of                         Labeling
                                                                     Labeling forfor 0.25
                                                                                       0.25 toto 0.5
                                                                                                  0.5 percent
                                                                                                       percent                   contact
                                                                                                                                  contact withwith eyes.
                                                                                                                                                      eyes. IfIf the
                                                                                                                                                                  the condition
                                                                                                                                                                        condition being  being
hydrocortisone
 hydrocortisone w       wasas notnot capable
                                       capable of  of           hydrocortisone                                                   treated
                                                                                                                                  treated worsens, or if symptoms persist for
                                                                                                                                             worsens,      or   if  symptoms          persist    for
                                                                 hydrocortisone and      and hydrocortisone
                                                                                                hydrocortisone
                                                                                                                                 more
maintaining
 maintaining the    the effect
                         effect obtained
                                    obtained from from          acetate
                                                                 acetate was was proposed
                                                                                   proposed by     by the
                                                                                                        the agency
                                                                                                              agency in   in      more than
                                                                                                                                          than 77 days,
                                                                                                                                                     days, discontinue
                                                                                                                                                              discontinue use      use ofof this
                                                                                                                                                                                             this
using
 using the
         the 1-percent
              1-percent concentration.
                               concentration. The     The                                                                        product      and    consult     a  physician.
                                                                                                                                  product and consult a physician. Do not use         Do    not  use
                                                                the
                                                                  the tentative
                                                                       tentative final
                                                                                     final monograph
                                                                                            monograph for       for OTC
                                                                                                                     OTC         fo r the
authors
 authors concluded
            concluded that    that thethe 1-percent
                                           1-percent             external                                                         for  the treatm
                                                                                                                                             treatmentent ooff diaper
                                                                                                                                                                 diaperrash  rash or or onon
                                                                  external analgesic
                                                                              analgesic drug drug products
                                                                                                     products (48    (48 FR
                                                                                                                         FR      children
                                                                                                                                  children underunder 22 years
                                                                                                                                                           years of   of age
                                                                                                                                                                          age except
                                                                                                                                                                                 except underunder
concentration
 concentration seems  seems clearly
                                  clearly to to mark
                                                 mark thethe    5852
                                                                 5852 at at 5868
                                                                            5868 and
                                                                                   and 5869).
                                                                                           5869). ItIt w
                                                                                                       wasas revised
                                                                                                                revised in in    the
threshold                                                                                                                         the advice
                                                                                                                                       advice and  and supervision
                                                                                                                                                         supervision of       of aa physician.
                                                                                                                                                                                     physician.
 threshold of  of effectiveness.
                    effectiveness.                               amendments
                                                                 amendments to       to that
                                                                                          that proposed
                                                                                                proposed                         Keep
                                                                                                                                  Keep this
                                                                                                                                          this and
                                                                                                                                                 and allall drugs
                                                                                                                                                            drugs out  out of of the
                                                                                                                                                                                  the reach
                                                                                                                                                                                        reach of of
   Welsh
    Welsh and and Ede Ede (Ref.
                            (Ref. 32)32) compared
                                          compared the    the   monograph
                                                                 monograph in     in the
                                                                                       the Federal
                                                                                            Federal Register
                                                                                                          Register of  of        children.
                                                                                                                                  children. In  In case
                                                                                                                                                    case of of accidental
                                                                                                                                                                accidental ingestion,
                                                                                                                                                                                   ingestion, seek seek
effects
 effects ofof 1.0
              1.0 andand 2.5
                           2.5 percent
                                  percent                       July
                                                                 July 30,1986
                                                                        30, 1986 (51(51 FRFR 27360
                                                                                              27360 at  at 27363)
                                                                                                             27363) andand       professional        assistance        or   contact
                                                                                                                                  professional assistance or contact a poison            a  poison
hydrocortisone
 hydrocortisone and     and its its acetate
                                     acetate in  in 402
                                                    402         August
                                                                 August 5,1988
                                                                            5, 1988 (53 (53 FR
                                                                                             FR 32592
                                                                                                  32592 at  at 32593).
                                                                                                                32593).          center
                                                                                                                                  center immediately..
                                                                                                                                            immediately.
subjects
 subjects with
             with chronic
                      chronic dermatoses
                                   dermatoses                   The                                                                 D  irections fo
                                                                                                                                     Directions       for  use. For
                                                                                                                                                        r use.     For adults
                                                                                                                                                                          adults and and children
                                                                                                                                                                                            children
                                                                 The labeling
                                                                        labeling contains
                                                                                    contains indications
                                                                                                   indications that   that       22 years
refractory
 refractory to  to other
                     other available
                              available topical
                                             topical             the
                                                                  the agency
                                                                       agency considers
                                                                                 considers as     as being
                                                                                                      being amenable
                                                                                                                amenable            years of  of age
                                                                                                                                                  age and
                                                                                                                                                        and older:
                                                                                                                                                               older: Apply
                                                                                                                                                                          Apply to   to affected
                                                                                                                                                                                         affected
remedies.                                                                                                                        area
                                                                                                                                  area not
                                                                                                                                         not more
                                                                                                                                               more thanthan 33 or  or 44 times
                                                                                                                                                                           times daily.
                                                                                                                                                                                     daily. Do Do not
                                                                                                                                                                                                    not
 remedies. TheyThey foundfound both both                         for
                                                                 for using
                                                                       using hydrocortisone
                                                                               hydrocortisone for      for self­
                                                                                                             self-               use
concentrations
 concentrations adequately
                        adequately treated treated acute
                                                      acute      treatment,                                                       use inin children
                                                                                                                                            children underunder 22 years
                                                                                                                                                                      years of   of age
                                                                                                                                                                                     age except
                                                                                                                                                                                            except
                                                                  treatment, such
                                                                                such as   as “For
                                                                                             "For thethe temporary
                                                                                                            temporary            under     the   advice     and     supervision
                                                                                                                                  under the advice and supervision of a                of   a
contact
 contact dermatitis,
            dermatitis, mild  mild transient
                                       transient atopic
                                                     atopic      relief
                                                                  relief of
                                                                          of itching
                                                                             itching associted
                                                                                         associted with  with minor
                                                                                                                  minor          physician.
                                                                                                                                  physician.
dermatitis,
 dermatitis, eczema,
                  eczema, uncomplicated
                                uncomplicated                    skin
                                                                 skin irritations
                                                                        irritations ** *` *' and  and rashes
                                                                                                         rashes ** * *."
stasis
 stasis dermatitis,
          dermatitis, and  and pruritus
                                   pruritus ani.ani. They
                                                      They       The                                                                 The
                                                                                                                                     The petitioner
                                                                                                                                             petitioner excluded
                                                                                                                                                               excluded w            hat itit
                                                                                                                                                                                  what
                                                                 The proposed
                                                                        proposed warnings
                                                                                      warnings and   and directions
                                                                                                             directions
                                                                                                                                 considered
concluded
 concluded that that thethe therapeutic
                              therapeutic                        applicable
                                                                 applicable to   to all OTCOTC external
                                                                                                   external analgesic
                                                                                                                  analgesic       considered “chronic "chronic conditions”
                                                                                                                                                                      conditions" (i.e.,     (i.e.,
effectiveness
 effectiveness betweenbetween the   the two
                                          two                    drug                                                            eczema)
                                                                                                                                  eczema) from   from the the proposed
                                                                                                                                                                 proposed indications
                                                                                                                                                                                    indications
                                                                  drug products
                                                                         products also also apply
                                                                                              apply to  to
                                                                                                                                 for
concentrations
 concentrations w       wasas not
                                not striking.
                                      striking. Later
                                                   Later         hydrocortisone,
                                                                  hydrocortisone, e.g.,   e.g., for
                                                                                                 for external
                                                                                                     external use   use           for use
                                                                                                                                       use because
                                                                                                                                              because itit felt  felt that
                                                                                                                                                                         that OTC OTC topical
                                                                                                                                                                                            topical
they
 they expanded
        expanded the    the study
                              study (Ref.
                                        (Ref. 74) andand         only                                                            hydrocortisone
                                                                                                                                  hydrocortisone 1          1 percent
                                                                                                                                                                percent should should be     be
                                                                 only andand 7-day
                                                                               7-day use use limitation.
                                                                                              limitation. In    In
included
 included 306 additional subjects     subjects (708(708          addition,                                                        reserved
                                                                                                                                  reserved for    for short-term
                                                                                                                                                        short-term use      use in  in acute
                                                                                                                                                                                        acute
                                                                 addition, the the following
                                                                                     following warning
                                                                                                    warning is     is             dermatologic
total)
 total) with
         with dermatoses
                 dermatoses known    known to   to be
                                                    be           specifically
                                                                 specifically required
                                                                                  required for   for OTC
                                                                                                      OTC                         dermatologic conditions,conditions, and      and thatthat
refractory
 refractory to to usual
                     usual treatment.
                              treatment.                         hydrocortisone                                                   conditions
                                                                                                                                  conditions requiring
                                                                                                                                                     requiring therapytherapy for     for more
                                                                                                                                                                                             more
                                                                 hydrocortisone products products bearing
                                                                                                       bearing aa label
Hydrocortisone
 Hydrocortisone ointment (acetate        (acetate andand         indication                                                       than
                                                                                                                                  than 77 daysdays should
                                                                                                                                                       should be     be treated
                                                                                                                                                                          treated by    by aa
                                                                  indication forfor external genital itching     itching or       physician.
alcohol)
 alcohol) in in 0.5-, 1.0-, and and 2.5-percent                  for
                                                                  for external feminine
                                                                                   feminine itching:
                                                                                                  itching: “Do "Do not            physician. The     The petitioner
                                                                                                                                                            petitioner also    also proposed
                                                                                                                                                                                        proposed
concentrations
 concentrations w       wasas used.
                                used. TheThe alcohol             use                                                              the
                                                                                                                                  the following
                                                                                                                                        following new     new statement:
                                                                                                                                                                  statement: “Other    "Other
                                                                  use if
                                                                       if you have
                                                                                have aa vaginal discharge.
                                                                                                        discharge.
w  as more
       more effective
               effective than  than thethe acetate.
                                             acetate. All        Consult a”                                                       uses
                                                                                                                                  uses or or the
                                                                                                                                               the useuse ofof the
                                                                                                                                                                 the product
                                                                                                                                                                        product for     for more
                                                                                                                                                                                              more
 was                                                                         a" (select one  one of the following:
                                                                                                              following:
three
 three concentrations
         concentrations were effective    effective in           “physician”                                                      than
                                                                                                                                  than 77 daysdays should
                                                                                                                                                       should be    be undertaken
                                                                                                                                                                          undertaken only       only
                                                                 "physician" or “doctor”).
                                                                                        "doctor"). The  The agency
                                                                                                                agency
treating
 treating mild
            mild dermatoses, but for very           very         concludes                                                        under
                                                                                                                                  under the  the advice
                                                                                                                                                   advice and   and supervision
                                                                                                                                                                        supervision of         of aa
                                                                  concludes from the     the safety
                                                                                              safety and  and                     physician.”
 acute
 acute or chronic dermatoses
                          dermatoses only 1 and        and       effectiveness
                                                                 effectiveness data   data presented
                                                                                             presented that the       the         physician."
 2.5 percent
      percentwere  wereeffective.
                            effective.The   Theauthors
                                                  authors        labeling                                                            The petitioner
                                                                                                                                             petitioner stated stated that  that the the
                                                                  labeling that w   was as proposed for 0.25 to         to 0.5
 stated that their observations
                          observations failed to        to       percent                                                          proposed
                                                                                                                                  proposed warning warning “do     "do not not useuse forfor the
                                                                                                                                                                                               the
                                                                  percent hydrocortisone,
                                                                             hydrocortisone, with the          the
 confirm those reported by others,        others. i.e.,          modifications described below, would                             treatment
                                                                                                                                  treatment of      of diaper
                                                                                                                                                        diaper rash  rash ** ** *• exceptexcept
 that the 1-percent concentration clearly          clearly       also be appropriate for OTC drug                                 under
                                                                                                                                  under the  the advice
                                                                                                                                                   advice and   and supervision
                                                                                                                                                                        supervision of         of aa
                                                                                                              drug
 marked the threshold of effectiveness,effectiveness,            products                                                         physician”
                                                                                                                                  physician" w        wasas based
                                                                                                                                                              based on    on thethe
                                                                  products containing 1 percent
 and that 0.5 percent is not capable of                          hydrocortisone.                                                  Dermatologic
                                                                                                                                  Dermatologic Drugs      Drugs Advisory
                                                                                                                                                                      Advisory
                                                                  hydrocortisone.
 maintaining the effects obtained with 1                                                                                          Committee’s
                                                                                                                                  Committee's concern   concern regarding
                                                                                                                                                                        regarding the      the
 percent hydrocortisone.                                         B. Proposed OTC   OTC Labeling fo         forr 1 Percent         potential
                                                                                                                                  potential use   use of of 11 percent
                                                                                                                                                                 percent
            hydrocortisone.
                                                                 H  ydrocortisone
                                                                  Hydrocortisone                                                  hydrocortisone
                                                                                                                                  hydrocortisone in          in the
                                                                                                                                                                  the treatment
                                                                                                                                                                         treatment of       of
   The Panel evaluated 37 studies        studies
 demonstrating the effectiveness of                                  The citizen petition (Ref. 3) contained                      diaper
                                                                                                                                  diaper rash.rash. TheThe petitioner
                                                                                                                                                               petitioner considered
                                                                                                                                                                                   considered
 topical hydrocortisone at concentrations                        proposed labeling for 1          1 percent                       this to be  be aa valid       concern. The
                                                                                                                                                      valid concern.             The petitioner
                                                                                                                                                                                         petitioner
 ranging from 0.1 to 2.5 percent. In 22                          hydrocortisone, while the                                        also felt
                                                                                                                                  also    felt that
                                                                                                                                                 that thethe warning
                                                                                                                                                               warning w        wasas necessary
                                                                                                                                                                                         necessary
 studies, 1 1 percent hydrocortisone was                         manufacturers’          association’s (Ref. 4)
                                                                  manufacturers' association's                                    to
                                                                                                                                  to help
                                                                                                                                      help restrict
                                                                                                                                               restrict use use of  of 11 percent
                                                                                                                                                                            percent
 the concentration used, and 9 other                             proposed labeling w         wasas for                            hydrocortisone
                                                                                                                                  hydrocortisone to               children 22 years
                                                                                                                                                             to children              years of  of age
                                                                                                                                                                                                     age
 studies included 1       1 percent                              concentrations "up      “up to”
                                                                                               to" 11 percent. The                and older
                                                                                                                                  and    older and and adults.
                                                                                                                                                           adults.
 hydrocortisone in a range of                                    labeling proposed by these two parties                              The labeling
                                                                                                                                     The     labeling proposed
                                                                                                                                                            proposed by        by thethe
 concentrations that were evaluated (44                          is substantially similar to the labeling                         manufacturers’ association
                                                                                                                                  manufacturers'             association (Ref.      (Ref. 4)     for
                                                                                                                                                                                             4) for
 FR 69768 at 69822). The agency notes                            proposed by the agency for the 0.25- to                          OTC topical
                                                                                                                                  OTC      topical hydrocortisone
                                                                                                                                                        hydrocortisone and           and
 that five of the seven studies (Refs. 22,                       0.5-percent concentration of                                     hydrocortisone
                                                                                                                                  hydrocortisone acetate     acetate for    for short-term
                                                                                                                                                                                   short-term
 35, 54, 72, and 74) described above were                        hydrocortisone in the tentative final                            therapy
                                                                                                                                  therapy as    as antipruritics
                                                                                                                                                     antipruritics in        in
                                                                  monograph for OTC external analgesic                            concentrations up
                                                                                                                                  concentrations            up to  to 11 percent
                                                                                                                                                                          percent w      was as as
                                                                                                                                                                                                 as
 cited by the Panel as supporting the
 effectiveness of     of hydrocortisone (44 FR                    drug products (48 FR 5852 at 5868) and                          follows:
                                                                                                                                  follows:
 69822). The agency has determined that                           the amended tentative final monograph      monograph               Indications.
                                                                                                                                     Indications. For   For thethe temporary
                                                                                                                                                                     temporary relief  relief ofof
 these clinical stud  studieses demonstrate that a               (51 FR 27360 at 27363).                                          itching associated
                                                                                                                                  itching    associated with   with minor
                                                                                                                                                                       minor skin skin irritations.
                                                                                                                                                                                          irritations,
                Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 204 of 210

                                                    39 // Tuesday, February 27, 1990
                    Federal Register / Vol. 55, No. 39                          1990 / Proposed Rules                                                   6945

 inflammation, and rashes due to (select one                                   agency’s original
                                                       drug products. The agency's                        "doctor").
                                                                                                          “doctor”). The agency is not including
 or more of the following: eczema, insect bites,       proposal in 1983              5888) did not
                                                                      1983 (48 FR 5868)                   the words "for “for more than 7 days"days”
 poison ivy.            oak, or poison sumac,
          ivy, poison oak.                             include seborrheic dermatitis or
                       cosmetics, jewelry,
 soaps, detergents, cosmetics.     jewelry.                                                               because it believes that these words
                                                       psoriasis as indications. In the Federal           might inadvertently encourage use of the
 seborrheic dermatitis, psoriasis) and/or (and
 for external (select one or more of the               Register of July 30,    1986 (51 FR 27360),
                                                                           30,1986                        product for more than 7 days.
              genital, feminine, and anal)
 following: genital.                                   the agency amended the indications in                 The agency agrees with the
 itching).                                                34&50(b)(3) (i) and (ii) of the tentative
                                                       §§ 348.50(b)(3)                                    manufacturer s’ association that addition
                                                                                                          manufacturers'
    Warnings. For external use only. Avoid             final monograph to include seborrheic              of the phrase "*  “* '* '* do not use this or
 contact with the eyes. If condition worsens,          dermatitis and psoriasis as conditions             any other hydrocortiso
                                                                                                                         hydrocortisone   ne product unless
 or if symptoms persist for more than 7 days           for which hydrocortiso
                                                                    hydrocortisone                 0,5-
                                                                                   ne at 0.25- to 0.5-
 or clear up and occur again within a few                                                                 you have consulted a (physician/
                                                       percent concentration can be labeled for           doctor)"
                                                                                                          doctor)” to the 7 day limit-of-use
 days, do not use this or any other                    OTC use. The agency has determined
 hydrocortisone product unless you have                                                                   warning will be helpful to consumers
                     (physieian/doctor). Do not
 consulted with a (physician/doctor).         not             “eczema” can remain the OTC
                                                       that "eczema"                                      because of the proposed availability of
 use on children under 2 years of age except           labeling for these products because                hydrocortisone
                                                                                                          hydrocortiso     ne for OTC use at
 under the advice and supervision of a                 many of the safety and effectiveness               concentrationss ranging from 0.25 to 11
                                                       studies described above involved the               concentration
 physician. Do not use if you have a vaginal                                                              percent. Accordingly, the agency is          is
                          (physician/doctor).
discharge. Consult a (physician/doctor).               treatment of eczematous conditions,
(Only if indications include genital or                with improvement evident within a                  revising proposed § 348.50(c)(7) to add
 feminine itching.)                                                           above—Safe ty and
                                                       week. (See Part II. above—Safety                   paragraph (i), to read as follows:
    D irections. Adults and children 2 years of
    Directions.                                                   above—Effec tiveness.) In
                                                       Part III. above—Effectiveness.)                       (7) For For   products
                                                                                                                       products          containing
                                                                                                                                    containing
           olden Apply to affected area not
 age and older:                                        addition, the 7-day limit of use warning           hydrocortisone
                                                                                                          hydrocortiso     ne preparations id       en tified
                                                                                                                                                 identified
more than 3 to 44 times daily. For children                                                               in § 348.10(d) (1) and (2). (i) "If   “If condition
 under 2 years of age there is no                      is intended to prevent long-term use of
recommended dosage except under the                    hydrocortisone
                                                       hydrocortiso    ne for any indication, such        worsens, or if symptoms persist for more
 advice and supervision of a physician.                    “eczema,” without consulting a
                                                       as "eczema,"                                       than 7 days or clear up and occur again
                                                       physician/doctor.
                                                       physician/do    ctor. Therefore, the agency        within a few days, do not use this or any
    There are some differences in these                is proposing that the indications in               other hydrocortiso
                                                                                                                 hydrocortisone     ne product unless you
 two proposed labels for OTC                           § 348.50(b)(3) (i) and (ii), as amended m     in   have consulted a"     a ” (select one of the
 hydrocortisone
hydrocortiso      ne drug products. The                                         concentratio ns of        following: "Physician"             “doctor”).
                                                                                                                         “Physician” or "doctor").
                                      “eczema,’*       1986, be used for all concentrations
                                                       1936,
indications for itching due to "eczema,"               hydrocortisone
                                                       hydrocortiso    ne from 0.25 to 1  1 percent.         The warning currently proposed in
 “seborrheic dermatitis,"
"seborrheic                      “psoriasis,”
                 dermatitis,” "psoriasis,"             These indications are currently
                                             ere                                                          § 348.50(c)(7) in the tentative final
"genital,"          “feminine” itching w
 “genital,” and "feminine"                 were
                                                       proposed as follows: (i): "For “For the            monograph (February 8,            1983; 48 FR 5852
                                                                                                                                        8,1983;
included in one proposal, but excluded                 temporary relief of itching associated             at 5869) for products with an indication
in the other proposal. The phrase "'        “* *' •*   with minor skin irritations and rashes”
                                                                                             rashes"                                                  itching’
                                                                                                                           “genital or feminine itching"
                                                                                                          for external "genital
do not use this or any other                           [which may be followed by: "due     “due to”
                                                                                                to"                                          348.50(c)(7)(ii).
                                                                                                          will be redesignated as § 348.50(c)(7)(ii).
hydrocortisone
hydrocortiso     ne product unless you have            (select one oro r more of the following:
                        (physician/do ctor)"
consulted with a (physician/doctor)"                                                                         Other warnings being included in this
                                                       "eczema,"     “insect bites,”
                                                       “eczema,” "insect               “poison ivy,
                                                                              bites," "poison
was
w   as proposed as an addition to the 7                                                                   proposed amendment apply to products
                                                                                             “soaps,”
                                                                                  sumac,” "soaps,"
                                                       poison oak, or poison sumac,"                                                itching." In the
                                                                                                               “external anal itching.”
                                                                                                          for "external
day limit-of-use warning by the                        "detergents,"
                                                       “detergents,” "cosmetics,"        “jewelry,”
                                                                         “cosmetics,” "jewelry,"
manufacturers'
manufacture      rs’ associations for the                                                                 Federal Register published August 25,
                                                       "seborrheic
                                                       “seborrheic dermatitis,"       “psoriasis”)
                                                                      dermatitis,” "psoriasis")           1988 (53 FR 32592 at 32593), the agency
reason that this additional wording is                 and/or ("and for external"
                                                                             external” (select one or
more directly informative and                                                                             amended the   foe tentative final monograph
                                                                                   “genital,”
                                                       more of the following, "genital,"                  for OTC external analgesic drug
instructional to the consumer,                         "feminine,"                    “itching”)).
                                                                            “anal”) "itching")].
                                                       “feminine,” and "anal")
particularly with market availability of                                                                  products to include foe     the hydrocortiso
                                                                                                                                           hydrocortisone-ne-
                                                                “For the temporary relief of
                                                          (ii): "For
                                                                                                          containing products warnings and
        hydrocortisone
OTC hydrocortiso         ne at several                 itching associated with minor skin
concentrations.
concentration      s. The other proposal                                                                  directions proposed in § 346.50(c) (2), (3),      (3),
                                                                     inflammation,, and rashes due
                                                       irritations, inflammation
contained a similar statement: "Other   “O ther        to" (select one or more of the following:
                                                                                                          and (4), and (d)(1) of foe   the tentative final
                                                       to”
uses or the use of the product for more                "eczema,"
                                                       “eczema,” "insect               “poison ivy,
                                                                              bites,” "poison
                                                                     “insect bites,"                      monograph for OTC anorectal drug
than 7 days should be undertaken only                                                        “soaps,”
                                                                                  sumac,” "soaps,"        products. These warnings are now being
                                                       poison oak, or poison sumac,"
under the advice and supervision of a                  "detergents,"
                                                       “detergents,” "cosmetics,"        “jewelry,”
                                                                         “cosmetics,” "jewelry,"                            348.50(c)(7j(iii), instead of
                                                                                                          included in § 348.50(c)(7)(iii),
 physician."
physician.”                                            "seborrheic                                        (c)(9) as
                                                                                                                 a s previously designated, and
                                                       “seborrheic dermatitis."
                                                                      dermatitis,” "psoariasis),"
                                                                                      “psoariasisl,”
    The agency believes that the labeling              and/or
                                                       an d/or ("and         external" (select one or
                                                                 (“and for external”                             “For products containing
                                                                                                          read: "For
                  hydrocortisone
proposed for hydrocortison          e and                                         “genital,"
                                                       more of the following: "genital,"                  hydrocortisone
                                                                                                          hydrocortiso     ne preparations identified
hydrocortisonee acetate should apply to
hydrocortison                                          "feminine,"
                                                       “feminine,” and "anal")        “itching”).
                                                                           “anal”) "itching").            in § 348.10(d) (1) and (2) that are labeled
                                concentration s
and be the same for all concentrations                    The agency believes that ppart   art of the                 indication’ •* •* '* for external
                                                                                                          with the indication'
(0.25 to 1.01.0 percent), just as the labeling                      “other uses or the use of this
                                                       statement "other                                         itching." In addition to the
                                                                                                          anal itching.”                        foe
                  hydrocortisone
proposed for hydrocortiso          ne and              product (for more than 7 days) should be           warnings in paragraph (c)(1) of this
 hydrocortisonee acetate in the tentative
hydrocortison                                          undertaken only under the advice and                          foe labeling of foe
                                                                                                          section, the                    the product also
 final monograph for OTC external                                           physician," proposed by
                                                       supervision of a physician,”                       contains foe the warnings proposed in
analgesic drug products applies to both                the petitioner for inclusion with the              § 346.50(c) (2), (3), and (4) of this
                            concentration s (48
0.25 and 0.5 percent concentrations                    indications, may help prevent misuse of            chapter. (See foe the Federal Register of
 FR 5852 at 5868 and 5869, 51 FR 27360 at
,FR                                                    hydrocortisone
                                                       hydrocortiso    ne for cuts, blisters,             August 15,15,1988;             30756.)”
                                                                                                                         1988; 53 FR 30756.)"
 27363, and 53 FR 35292 at 35293).                                        (nonindicatio ris), which
                                                       infections, etc. (nonindications).                    The agency notes that foe      the Panel did
    The agency has considered the two                  could result in adverse reactions.                 not discuss foe the use of hydrocortiso
                                                                                                                                        hydrocortisone   ne for
 labeling proposals and determined that                Accordingly, the agency is amending                the treatment of
                                                                                                          foe                o f diaper rash. The
 they are not significantly different in               proposed § 348.50(b)(3) to add                     Miscellaneou s External Panel briefly
                                                                                                          Miscellaneous
 concept from die  the labeling that the                                            “O ther uses of
                                                       paragraph (iii) to read: "Other                    mentioned the use of 0.5 to 1        1 percent
 agency has proposed for hydrocortison
                                  hydrocortisone  e    this product should be only under the              hydrocortisone
                                                                                                          hydrocortiso     ne for foethe treatment of
 in § 348.50 in the tentative final                    advice and supervision of a"     a” (select one    severe diaper rash by physicians (47 FR
 monograph for OTC external analgesic                                       “physician” or
                                                       of the following: "physician"                      39412 at 39416).
                      Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 205 of 210

6946
 6946                    Federal
                          Federal Register
                                  Register / / Vol.
                                               Vol. 55,
                                                     55, No.
                                                         No. 39
                                                              39 / / Tuesday,
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                                                                                         27, 1990
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                                                                                                       Proposed Rules
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   The
    Theagency
            agencybelieves
                        believesthat  thatthe        proposed general
                                               theproposed          generaldirections
                                                                               directionsthat    thatapply
                                                                                                         applytotoall     allOTC
                                                                                                                               OTC         appropriate
                                                                                                                                            appropriateproduct  productconcentration
                                                                                                                                                                             concentrationfor          for
warning
 warning“do    "donotnotuse usefor forthethetreatment
                                               treatmentof      of external
                                                                    externalanalgesic
                                                                                 analgesicdrug    drugproducts
                                                                                                           products(which    (which        their
                                                                                                                                             theirspecific
                                                                                                                                                    specificneeds.needs.
diaper
 diaperrash rashor oron  onchildren
                             childrenunder   under22years years includes
                                                                    includeshydrocortisone)
                                                                                 hydrocortisone)ininproposed       proposed                    The
                                                                                                                                               Theagency
                                                                                                                                                      agencyrecognizes
                                                                                                                                                                    recognizesthat     thatcurrently
                                                                                                                                                                                               currently
of
 ofage
    ageexcept
           exceptunder underthe   theadvice
                                        adviceand    and           §§348.50(d)(1)
                                                                       348.50(d)(1)totoread   readas   asfollows:
                                                                                                            follows:** * *                 there
                                                                                                                                             thereareareOTCOTCdrugs  drugson  onthe  themarket
                                                                                                                                                                                           market
supervision
 supervision of     ofaaphysician”
                           physician"isis                          “Adults
                                                                    "Adultsand  andchildren
                                                                                        children22years   yearsof     ofageageandarid      containing
                                                                                                                                             containingvarying varyingconcentrations
                                                                                                                                                                           concentrationsof            of
appropriate,
 appropriate,even   eventhoughthoughdiaper diaperrash  rashisis    older:
                                                                    older:Apply
                                                                             Applytotoaffected
                                                                                            affectedarea    area not  notmoremore          active
                                                                                                                                            activeingredients
                                                                                                                                                       ingredientsper     perdosage
                                                                                                                                                                                 dosageunit.   unit.
not
 not an
      anindication
            indicationin     in thé
                                 thetentative
                                        tentativefinal  final      than
                                                                    than 33toto44times
                                                                                     timesdaily.
                                                                                               daily.Children
                                                                                                         Childrenunder      under22        Although
                                                                                                                                            Althoughterms   termssuch  suchas  as“regular
                                                                                                                                                                                     "regular
monograph
 monograph for     forOTCOTCexternal
                                  external analgesic
                                                  analgesic        years
                                                                    yearsof ofage:
                                                                                age:Do  Donot notuse,use,consult
                                                                                                             consulta”      a"             strength”
                                                                                                                                            strength"and    and “maximum
                                                                                                                                                                   "maximum strength”   strength"may    may
drug
 drugproducts,
         products,and    andthethedirections
                                      directions state  state      (select
                                                                    (select one
                                                                              oneof  of the
                                                                                          thefollowing:
                                                                                                following:“physician”
                                                                                                                    "physician"            be
                                                                                                                                            behelpful
                                                                                                                                                 helpful totoconsumers
                                                                                                                                                                  consumersby        byalerting
                                                                                                                                                                                          alertingthem  them
not
 not totouse
           useon onchildren
                      children under under22years  yearsof   of    or
                                                                    or “doctor").
                                                                        "doctor").                                                         totothe
                                                                                                                                                the fact
                                                                                                                                                      fact that
                                                                                                                                                              that products
                                                                                                                                                                      productswith    with such
                                                                                                                                                                                              such
age.
 age.TheThePanel
               Panel advised
                         advised that  thatproducts
                                                products              The
                                                                       Theagency
                                                                             agency tentatively
                                                                                          tentatively concludesconcludesthat     that      labeling
                                                                                                                                             labelingmay maynot   notnecessarily
                                                                                                                                                                         necessarilycontain   containthe  the
containing
 containingany    any external
                          external analgesic
                                        analgesicactive  active the the changes
                                                                         changesproposed
                                                                                       proposed in      in this
                                                                                                             this amendment
                                                                                                                     amendment             quantity
                                                                                                                                            quantity of   ofingredient
                                                                                                                                                               ingredient contained
                                                                                                                                                                                 contained in       in other
                                                                                                                                                                                                       other
ingredient
 ingredient not  not be beused
                             used on  on children
                                            childrenunder under should
                                                                    shouldresult
                                                                              result in  in labeling
                                                                                             labelingthat   that isisclear
                                                                                                                         cleartoto         products
                                                                                                                                             productsthey  theyhavehave purchased,
                                                                                                                                                                            purchased,the       the
22years
   yearsof   of age
                 age except
                        except underunder the  the advice
                                                      advice       consumers
                                                                    consumersand     and that
                                                                                            that assures
                                                                                                     assuressafe    safe andand            agency
                                                                                                                                            agency believes
                                                                                                                                                        believes such  such terms
                                                                                                                                                                                termsand   and other
                                                                                                                                                                                                   other
and
 and supervision
        supervision of     ofaa physician.
                                   physician.The      The          proper
                                                                    proper self-use
                                                                              self-use of   of OTC
                                                                                                OTC topical
                                                                                                          topical                          similar
                                                                                                                                            similartermsterms are  are only
                                                                                                                                                                         onlyperipherally
                                                                                                                                                                                  peripherally
Panel’s
 Panel'smain main concern
                      concern wwas    as related
                                             related toto          hydrocortisone
                                                                    hydrocortisone drug     drugproducts
                                                                                                     products up       up to to 1-
                                                                                                                                1-         related
                                                                                                                                             related to to an
                                                                                                                                                            an OTCOTC drug drugproduct’s
                                                                                                                                                                                    product's safety safety
                                                                   percent
                                                                    percentconcentration.
                                                                               concentration.Because     Because OTC      OTC              and
                                                                                                                                            and effectiveness.
                                                                                                                                                   effectiveness.Therefore,
                                                                                                                                                                          Therefore, the
increased
 increased cutaneous
                 cutaneouspenetration
                                   penetration of       of aa                                                                                                                                 the agency
                                                                                                                                                                                                     agency
                                                                   marketing
                                                                    marketingof     of hydrocortisone
                                                                                        hydrocortisone isisaa                              considers
                                                                                                                                             considers such such terms
drug
 drugunder
         under thethe occlusive
                         occlusive conditions
                                          conditions                                                                                                                  terms to  to bebe outside
                                                                                                                                                                                          outside the  the
                                                                   prescription-to-OTC
                                                                    prescription-to-OTC switch,      switch, agency  agency                scope
                                                                                                                                            scope of  of the
                                                                                                                                                          the OTCOTC drug
found
 found in  in infants
               infants resulting
                           resultingfrom   from aa diaper,
                                                       diaper.                                                                                                            drug review
                                                                                                                                                                                   review and  and isis not
                                                                                                                                                                                                          not
                                                                   regulations
                                                                    regulations in    in 21
                                                                                          21CFRCFR 330.13(b)(2)
                                                                                                       330.13(6)(2)                        including
lying
 lying onon aa waterproof
                 waterproof mattress,mattress, wet    wet                                                                                    including suchsuch termsterms in  in the
                                                                                                                                                                                    the monograph.
                                                                                                                                                                                          monograph.
                                                                   require
                                                                    require that
                                                                               that such
                                                                                       such aa product
                                                                                                   product be     be marketed
                                                                                                                       marketed                The
clothing,
 clothing, or  or from
                   from bodybody folds
                                     folds touching
                                                touching
                                                                   with                                                                        The agency
                                                                                                                                                      agency isis aware aware that  that the
                                                                                                                                                                                           the term
                                                                                                                                                                                                  term
each
 each other.
         other.TheThe PanelPanel noted
                                     noted that that thethe         with labeling
                                                                           labeling that that isis inin accord
                                                                                                         accord with   with aa             “maximum
                                                                                                                                            "maximum strength” strength" currently
                                                                                                                                                                               currently appearsappears
                                                                   proposed
                                                                    proposed monograph
                                                                                  monograph or         or aa tentative
                                                                                                                tentative final final      in
penetration
 penetration of    of hydrocortisone
                         hydrocortisone isis
                                                                   monograph.         Accordingly,            the    labeling               in the
                                                                                                                                                the labeling
                                                                                                                                                      labeling of    of some
                                                                                                                                                                         some 0.5  0.5percent
                                                                                                                                                                                         percent OTC   OTC
enhanced
 enhanced 10-   10- to to 100-fold
                           100-fold by    by occlusion,
                                               occlusion,           monograph.         Accordingly,            the    labeling             hydrocortisone
                                                                                                                                            hydrocortisone drug       drug products.
                                                                                                                                                                              products. The     The
                                                                   proposed
                                                                    proposed in    in 1979
                                                                                       1979 (44(44 FR FR 69768
                                                                                                           69788 at    at 69865
                                                                                                                            69865          agency
and
 and that
        that ingredients
               ingredients under   under occlusion
                                              occlusion
                                                                   and   69866)     or  1983     (48   FR     5852     at   5868            agency isis concerned
                                                                                                                                                            concerned about   about the   the degree
                                                                                                                                                                                                degree of   of
may     possibly
 may possibly be      be   corrosive
                            corrosive       to
                                             to  the
                                                  the  infant’s
                                                        infant's    and   69866)     or  1983    (48    FR     5852    at    5868          confusion
                                                                                                                                            confusion that   that maymay be be caused
                                                                                                                                                                                  caused to    to
                                                                   and
                                                                    and  5869),
                                                                          5869),    as
                                                                                    as  amended
                                                                                         amended         in
                                                                                                          in  1986
                                                                                                              1986     (51
                                                                                                                        (51   FR
                                                                                                                              FR           consumers
skin
 skin (44
        (44 FRFR 69768
                  69768 at   at 69773
                                 69773 and  and 69774).
                                                    69774).
                                                                   27360    at  27363)     and     in  1988      (53   FR     32592          consumers ifif products
                                                                                                                                                                  products containing
                                                                                                                                                                                  containing 0.5     0.5
                                                                    27360   at  27363)      and     in  1988      (53   FR    32592        percent
                                                                                                                                             percent hydrocortisone
   The
    The    agency
           agency      is
                        is aware
                           aware      that
                                       that   children
                                               children            at                                                                                    hydrocortisone are         are relabeled
                                                                                                                                                                                           relabeled to    to
                                                                    at 32593),
                                                                        32593), should
                                                                                  should continue
                                                                                               continue to      to bebe used
                                                                                                                           used for for    state
                                                                                                                                            state “regular
over
 over 22 years
            years ofof ageage may
                                may also also have
                                                 have              OTC     hydrocortisone-containing                       drug                     "regular strength”
                                                                                                                                                                   strength" without without further
                                                                                                                                                                                                   further
                                                                    OTC    hydrocortisone-containing                       drug            explanation
diaper
 diaper rashrash (Refs.
                   (Refs. 75, 75, 76,
                                    76, and
                                          and 77).77). The
                                                        The        products.                                                                 explanation regarding
                                                                                                                                                                 regarding the    the change.
                                                                                                                                                                                         change. ItIt isis
                                                                    products. ThisThis document,
                                                                                           document, while     while itit doesdoes         possible
above
 above warning
            warning would would also also alert
                                              alert parents
                                                       parents     not   allow    OTC      marketing           of                            possible thatthat thethe same
                                                                                                                                                                        same entityentity (a  (a 0.5-
                                                                                                                                                                                                  0.5-
                                                                    not  allow     OTC      marketing          of products
                                                                                                                     products              percent
of
 of children
    children over over 22 years
                              years of  of age
                                             age notnot toto use
                                                              use containing above 0.5 percent                                               percent hydrocortisone
                                                                                                                                                         hydrocortisone product),   product).
                                                                    containing above 0.5 percent                                           marketed
hydrocortisone-containing
 hydrocortisone-containing dnxg              drug products
                                                      products hydrocortisone              up                                               marketed by     by either
                                                                                                                                                                  either thethe same
                                                                                                                                                                                   same
                                                                    hydrocortisone          up to to 11 percent
                                                                                                         percent                           manufacturer
for
 for diaper
     diaper rash rash unless
                          unless directed
                                     directed to     to do
                                                         do so
                                                             so    hydrocortisone,           does     apply                                 manufacturer or        or different
                                                                                                                                                                        different
                                                                    hydrocortisone,          does      apply to    to currently
                                                                                                                       currently           manufacturers,
by
 by aa physician.
         physician. The   The agency
                                 agency believes
                                               believes            marketed
                                                                    marketed products
                                                                                   products containing
                                                                                                   containing 0.25     0.25 to to 0.5
                                                                                                                                    0.5     manufacturers, could      could appear
                                                                                                                                                                                appear on     on the
                                                                                                                                                                                                   the
possible
 possible     enhanced
               enhanced        penetration
                               penetration          of
                                                     of                                                                                     store
                                                                                                                                            store shelf
                                                                                                                                                    shelf side-by-side
                                                                                                                                                              side-by-side with     with different
                                                                                                                                                                                             different
                                                                    percent
                                                                    percent    hydrocortisone.
                                                                                hydrocortisone.            Irrespective
                                                                                                            Irrespective          of
                                                                                                                                  of        labeling:
hydrocortisone
 hydrocortisone could     could alsoalso be  be aa potential
                                                     potential the final decision on OTC status of
                                                                    the final decision on OTC status of                                     labeling: one one stating
                                                                                                                                                                  stating thatthat the the product
                                                                                                                                                                                             product is   is
problem
 problem ifif an an occlusive
                       occlusive environment
                                       environment                                                                                          “regular
                                                                                                                                            "regular strength”
                                                                                                                                                          strength" and   and the  the other
                                                                                                                                                                                         other stating
                                                                                                                                                                                                   stating
                                                                    hydrocortisone
                                                                    hydrocortisone          above
                                                                                            above 0.5   0.5 percent
                                                                                                               percent up     up toto 11
 existed
 existed in  in aa child
                   child overover 2 yearsyears of   of age.
                                                        age.                                                                                that
                                                                                                                                             that the
                                                                                                                                                   the same
                                                                                                                                                         same strength
                                                                                                                                                                   strength product
                                                                                                                                                                                  product is    is
                                                                    percent,
                                                                    percent,    the
                                                                                 the   agency
                                                                                       agency       intends
                                                                                                    intends        for
                                                                                                                    for  thè
                                                                                                                          the
Accordingly,
 Accordingly, the     the agency
                            agency is    is proposing
                                              proposing aa                                                                                  “maximum
                                                                                                                                            "maximum strength.”strength." Further,
                                                                                                                                                                                Further, referring
                                                                                                                                                                                               referring
                                                                    labeling
                                                                    labeling revisions
                                                                                revisions proposed
                                                                                                 proposed in        in this
                                                                                                                        this
new
 new paragraph
         paragraph (iv)   (iv) in
                                in §§ 348.50(c)(7)
                                        348.50(c)(7) to     to                                                                              to  1 percent
                                                                                                                                             to 1  percent hydrocortisone
                                                                                                                                                                hydrocortisone as          as
                                                                    document
                                                                    document to     to apply
                                                                                        apply to   to OTC
                                                                                                       OTC drug  drug
 read:
 read: “Do"Do not
                not useuse forfor the
                                    the treatm
                                          treatment  ent of         products                                                                “maximum
                                                                                                                                            "maximum strength” strength" could could not  not only
                                                                                                                                                                                                 only be be
                                                                     products containing
                                                                                  containing 0.25    0.25 to to 0.5
                                                                                                                  0.5 percent
                                                                                                                        percent             confusing
 diaper
 diaper rash.
            rash. Consult a”       a" (select one   one of the the hydrocortisone.
                                                                    hydrocortisone. Accordingly,
                                                                                             Accordingly.                                    confusing but  but also
                                                                                                                                                                   also be be considered
                                                                                                                                                                                considered
 following:      “physician”         or
 following: "physician" or "doctor"). The “doctor").        The     manufacturers                                                           misleading
                                                                                                                                            misleading because because there there are  are higher
                                                                                                                                                                                              higher
                                                                    manufacturers may      may use  use thethe labeling
                                                                                                                  labeling                  concentrations
 agency
 agency invites
             invites comments
                         comments regardingregarding this   this    proposed
                                                                    proposed in    in this
                                                                                       this amendment on             on                     concentrations of         of hydrocortisone
                                                                                                                                                                          hydrocortisone
 proposed
 proposed warning.
                warning.                                            currently                                                               available
                                                                                                                                            available by    by prescription.
                                                                                                                                                                  prescription. In      In addition,
                                                                                                                                                                                             addition,
                                                                    currently marketed
                                                                                  marketed OTC      OTC                                     the
   External
    External analgesic
                  analgesic drug   drug products
                                            products for            hydrocortisone-containing
                                                                    hydrocortisone-containing drug               drug                        the agency
                                                                                                                                                  agency questions
                                                                                                                                                               questions which which term   term would
                                                                                                                                                                                                     would
 diaper
 diaper rashrash use
                   use werewere evaluated
                                    evaluated by      by the
                                                           the      products.                                                               be
                                                                                                                                            be used
                                                                                                                                                 used to to designate
                                                                                                                                                              designate the    the 0.25-percent
                                                                                                                                                                                      0.25-percent
                                                                    products. The The final monograph,
                                                                                                   monograph, when        when              concentration
 Miscellaneous
 Miscellaneous External Panel in an                    an           published,
                                                                    published, will establish the            the final
                                                                                                                     final                   concentration of       of hydrocortisone
                                                                                                                                                                        hydrocortisone and         and anyany
 advance
 advance noticenotice of proposed
                              proposed rulemaking
                                                rulemaking          labeling                                                                concentrations
                                                                                                                                            concentrations in         in between
                                                                                                                                                                          between 0.25    0.25 percent
                                                                                                                                                                                                 percent
                                                                    labeling that will be      be required for all                          and    1 percent,
 published in the    the Federal Register of                        OTC drug products
                                                                                    products that contain                                   and 1    percent, which which mightmight be    be marketed
                                                                                                                                                                                                marketed
 September 7,1982 7, 1982 (47 FR 39412). The                        hydrocortisone.                                                         under
                                                                                                                                             under thethe OTC
                                                                                                                                                            OTC drug  drug monograph.
                                                                                                                                                                             monograph. Based       Based
                                                                    hydrocortisone.
 agency will present its         its tentative
                                      tentative findings
                                                       findings                                                                             on
                                                                                                                                             on the
                                                                                                                                                 the above,
                                                                                                                                                       above, if   if these
                                                                                                                                                                       these terms
                                                                                                                                                                                 terms are  are used
                                                                                                                                                                                                  used in in
 on these                                                           C.   D ifferentiationBetween
                                                                        Differentiation           B etw eenProduct  Product                 the
                                                                                                                                             the labeling
                                                                                                                                                  labeling of   of OTC
                                                                                                                                                                     OTC hydrocortisone-
     these products, which includes        includes                                                                                                                          hydrocortisone-
 hydrocortisone-containing products,         products, in a Strengths
                                                                    Strengths in OTC   OTC Labeling
                                                                                                Labeling                                    containing
                                                                                                                                             containing drug  drug products,
                                                                                                                                                                       products. the    the agency
                                                                                                                                                                                              agency
 future issue of the Federal Register.       Register.                 Based on the market availability of                                  believes
                                                                                                                                             believes thatthat an an adequate
                                                                                                                                                                       adequate explanation
                                                                                                                                                                                         explanation of      of
   Based on the Panel’s   Panel's concerns about                    multiple strengths
                                                                                strengths of other OTC external                             their
                                                                                                                                             their meaning
                                                                                                                                                    meaning should should be    be provided
                                                                                                                                                                                      provided to     to
 drug penetration being enhanced under                              and internal drug ingredients, the                                      consumers.
                                                                                                                                            consumers.
 occlusion, the agency believes that it                             manufacturers’
                                                                    manufacturers' association indicated                                       As   stated above,
                                                                                                                                                As stated       above, thesethese termsterms willwill notnot
 may.
 may be appropriate to revise and clarify                           that packaging graphics will clearly                                    be
                                                                                                                                            be included
                                                                                                                                                 included in    in the
                                                                                                                                                                     the labeling
                                                                                                                                                                          labeling required
                                                                                                                                                                                          required by    by
 the directions for use applicable to all                           communicate to consumers that there is                                  the
                                                                                                                                            the monograph
                                                                                                                                                  monograph for            OTC external
                                                                                                                                                                      for OTC        external
 OTC external analgesic drug products in a difference in strength of OTC drug                                                               analgesic drug
                                                                                                                                            analgesic       drug products,
                                                                                                                                                                     products, but    but they        could
                                                                                                                                                                                             they could
 § 348.50(d)(1) for children under 2 years                          products
                                                                    products containing hydrocortisone. The                                 be
                                                                                                                                            be used
                                                                                                                                                 used elsewhere
                                                                                                                                                         elsewhere in      in the
                                                                                                                                                                                the labeling.
                                                                                                                                                                                       labeling.
 of age. The agency believes it would be                            use of terms such as "Regular     “Regular Strength"
                                                                                                                       Strength”            However,
                                                                                                                                            However, if         such terms
                                                                                                                                                             if such     terms are  are used,
                                                                                                                                                                                           used, the the
 appropriate to add the words "do                  “do not                “Maximum Strength"
                                                                    and "Maximum             Strength” w        was as suggested
                                                                                                                        suggested           agency believes
                                                                                                                                            agency                      manufacturers should
                                                                                                                                                        believes manufacturers                   should
 use”
 use" in addition to the instruction to                             so that
                                                                    so        consumers would
                                                                        that consumers           would be     be ableable to to treat
                                                                                                                                 treat      provide      consumers with
                                                                                                                                            provide consumers               with an   an explanation
                                                                                                                                                                                           explanation
 “consult a physician (or doctor)."
 "consult                                doctor).”                  indicated itch/rash conditions with                                      of these
                                                                                                                                            of  these terms
                                                                                                                                                         terms as   as they
                                                                                                                                                                         they relate
                                                                                                                                                                                  relate to      these
                                                                                                                                                                                             to these
 Accordingly, the agency is revising the
 Accordingly.                                                       w hat they determined to be the
                                                                    what                                                                     specific products.
                                                                                                                                            specific     products. In     In accordance
                                                                                                                                                                              accordance with       with
              Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 206 of 210

                     FFederal  Register
                       ed eral R             o l 55,
                                           Vol.
                                 egister / V             39 // T
                                                     No. 39
                                                 55, No.       Tuesday,       eb ru ary 27,
                                                                 u esd ay , FFebruary   27, 1990      ro p o sed R
                                                                                            1990 // PProposed      ules
                                                                                                                 Rules                                           6517
                                                                                                                                                                   '7

                       201.62(a)), the
             (21 CFR 201.62(a)),
  201.62(a) (21
§ 201.62(a)                         the                   effective (44 FR
                                                          effective             69768 at
                                                                           FR 69768         69813). The
                                                                                         at 69813).   The         containing            products, but
                                                                                                                                drug products,
                                                                                                                  containing drug                    but the
                                                                                                                                                           the
concentration      the hydrocortison
concentration of the    hydrocortisone   e                Panel                     study in
                                                                   mentioned aa study
                                                          Panel mentioned                    in which
                                                                                                which             manufacture
                                                                                                                  manufacturers'  rs’ association      (Ref. 4)
                                                                                                                                       association (Ref.       4)
         should be
present should
present              included in
                  be included   in the
                                   the                    hydrocortisone
                                                          hydrocortiso         solutions or
                                                                          ne solutions       or suspensions
                                                                                                 suspensions      referred to
                                                                                                                  referred      the comprehensi
                                                                                                                             to the   comprehensive    ve
                  accurate information
             give accurate
          to give
labeling to
labeling                     information                  in several
                                                          in                        (i.e., polyethylene
                                                                        vehicles (i.e.,
                                                             several vehicles              polyethylene           examination and
                                                                                                                  examination             discussion of vehicles
                                                                                                                                   and discussion            vehicles
       the strength
about the
about                    the drug
                      of the
            strength of            in aa
                             drug in                      glycol,   olive oil,
                                                          glycol. olive         chloroform plus
                                                                          oil, chloroform       plus olive
                                                                                                       olive          the Panel’s
                                                                                                                  in the
                                                                                                                  in                 report on OTC
                                                                                                                          Panel's report          OTC external
                                                                                                                                                          external
specific package.
specific package.                                         oil,                    saline, or
                                                                physiological saline,
                                                          oil, physiological                or ointment
                                                                                                ointment          analgesic    drug products,
                                                                                                                  analgesic drug                    published in
                                                                                                                                      products, published         in
                                                          base)          applied to
                                                                   were applied
                                                          base) were                  to shaved    backs of
                                                                                         shaved backs                  Federal Register
                                                                                                                  the Federal
                                                                                                                  the                            December 4,1979
                                                                                                                                 Register of December           4. 1979
V. Suitable
V.  SuitableDosage      Forms
               DosageForms                                                          69816). No
                                                                              FR 69816).      No significant
                                                          female    rats (44 FR
                                                          female rats                                                      69768), and
                                                                                                                       FR 69768),
                                                                                                                  (44 FR                        published clinical
                                                                                                                                           the published
                                                                                                                                     and the                   clinical
      Introduction
AA.. Introduction                                         difference in
                                                          difference    in results     among the
                                                                           results among        the various
                                                                                                      various     studies   evaluated by
                                                                                                                  studies evaluated                 Panel as
                                                                                                                                              the Panel
                                                                                                                                           by the           as
                  emphasized that
           Panel emphasized
    The Panel                       that vehicles
                                          vehicles        vehicles was
                                                          vehicles          detected. Adverse
                                                                      was detected.       Adverse                 supporting the
                                                                                                                  supporting                    effects of vehicles
                                                                                                                                      lack of effects
                                                                                                                                the lack                      vehicles
    The
 play an an important     role in
             important role              safety and
                                    the safety
                                in the            and     reactions in
                                                          reactions    in some     studies were
                                                                          some studies        were                on percutaneous        absorption of
                                                                                                                       percutaneous absorption
play
                                         al drug          attributed to
                                                          attributed             vehicle or a
                                                                           the vehicle
                                                                        to the                                    hydrocortisone.
                                                                                                                  hydrocortison         The manufacture
                                                                                                                                    e. The    manufacturers'   rs’
 effectiveness of dermatologic
 effectiveness        dermatological         drug
                                                          contaminant (44 FR 69817).  69817). Also,
                                                                                                Also,             association contended that
                                                                                                                  association                          the studies
                                                                                                                                                 that the    studic ,
 products (44 FR 69768 at 69774 and
products                                    and
                                                          vehicles    have been
                                                          vehicles have              implicated in
                                                                             been implicated                                                       conditions of
                                                                                                                          that under normal conditions
                                                                                                                  show that
                                                                                                                  show                                            of
            Vehicles were
 69775). Vehicles
69775).                        discussed as
                       were discussed         as one
                                                 one
                                                          sensitivity                       reactions with
                                                                               irritation reactions
                                                          sensitivity and irritation                      with    use,              applied hydrocortiso
                                                                                                                        topically applied
                                                                                                                  use, topically               hydrocortisone    ne isis
           physiochemical
     the physiochemic
 of the                        factors that
                            al factors     that affect
                                                affect
                                                          hydrocortisone
                                                          hydrocortiso    ne (44 FR  FR 69822). At its its 23d    only minimally
                                                                                                                  only                 absorbed systemically.
                                                                                                                         minimally absorbed         systemically.
        penetration. The
 skin penetration.            Panel believed
                        The Panel       believed
                                                          meeting               March 44 and
                                                                     held on March
                                                          meeting held                       and 5,1976
                                                                                                   5, 1976                               paragraph C.
                                                                                                                                     II. paragraph
                                                                                                                         also part II.
                                                                                                                  (See also                            C. above—
        the vehicle
 that the
that                  in which an
             vehicle in             an active
                                        active
                                                          (Ref. 7), the
                                                          (Ref.           Panel decided that its
                                                                     the Panel                       its report
                                                                                                         report   System
                                                                                                                  Systemic ic E
                                                                                                                              Effects    and R
                                                                                                                                ffects and       isk ooff
                                                                                                                                               Risk
                   combination of ingredients
 ingredient or combination               ingredients           hydrocortisone
                                                          on hydrocortison       ew was   to include a
                                                                                       as to                      Superinfectio
                                                                                                                  Superinfection.) n.) Two                (Refs. 79
                                                                                                                                               studies (Refs.
                                                                                                                                        Two studies
     incorporated may
 is incorporated
 is                  may influence
                             influence                    recommendation:
                                                          recommenda              "Not to
                                                                          tion: “Not      to be
                                                                                              be
 effectiveness.. The
 effectiveness                     stated that the
                    The Panel stated              the                                                                       were cited as
                                                                                                                  and 80) were                 showing that only
                                                                                                                                            as showing            only
                                                          incorporated in
                                                          incorporated          vehicles greatly
                                                                            in vehicles     greatly                                         the amount of
                                                                                                                                  less of the
                                                                                                                     percent or less
                                                                                                                  1 percent
            must provide
 vehicle must
 vehicle                      solubility, stability,
                  provide solubility,        stability,                 cutaneous penetration such
                                                          enhancing cutaneous                           such
                                                          enhancing                                               hydrocortiso
                                                                                                                  hydrocortisone  ne applied is   is absorbed
                                                                                                                                                     absorbed
 maintain contact of the
maintain                         active ingredient
                            the active                         DMSO and
                                                          as DMSO
                                                          as                             compounds." This
                                                                             related compounds.”
                                                                       and related                         This
 with the                the skin,
         the lesion of the                   must not
                                      and must
                              skin, and                                                                           through normal adult skin and
                                                                                                                  through                                   that 22
                                                                                                                                                     and that
                                                          statement w   was                    necessary in
                                                                          as considered necessary                 percent is
                                                                                                                  percent      absorbed through damaged
                                                                                                                            is absorbed
           passage of the
 retard passage
retard                        drug into
                         the drug           the skin
                                     into the                            possibility of future
                                                          view of the possibility
                                                          view                               future
                thereby decreasing
      lesions, thereby
 or lesions,               decreasing                                                                             skin. In one study (Ref. 79), the amount
                                                                                                                  skin.                                      amount
                                                          development of new           vehicles and
                                                                                new vehicles      and                   rate of penetration of 14C
                                                                                                                  and rate                           14C
 bioavailability.
 bioavailabilit      A drug’s
                  y. A             rate of release
                         drug's rate         release      formulations which may
                                                          formulations                may enhance
                                                                                            enhance
 from its             depends on its
             vehicle depends
         its vehicle                        rate of
                                        its rate                                                                  hydrocortisone
                                                                                                                  hydrocortiso    ne applied to normal skin
                                                          absorption and
                                                          absorption                 effectiveness of
                                                                         and the effectiveness                    was
                                                                                                                  w  as evaluated by measuring excretion
 diffusion within the       vehicle. A vehicle
                       the vehicle.         vehicle                               medicaments..
                                                          topically applied medicaments
                           hydration of the
        also affect the hydration
 may also                                     the                                                                 in the urine over a period of 10 days.    days.
                                                                 its 24th meeting held on May 19
                                                             At its                                                     authors commented that urinary
                                                                                                                  The authors                             urinary
 stratum comeum.
 stratum                 Those which increase
             corneum. Those                 increase            20, 1976 (Ref. 78), the Panel again
                                                          and 20,1976
                               usually promote                                                                    excretion of 14C' 4 C hydrocortiso
                                                                                                                                         hydrocortisone   ne
 or maintain hydration usually             promote        expressed concern regardingregarding thethe use of
         absorption. Dimethylsulf
 drug absorption.
 drug                   Dimethylsulfoxide oxide                                                                                 reflects the penetration of
                                                                                                                  accurately reflects
                                                          new vehicles, with properties similar to
                                                          new                                                     14C hydrocortiso
                                                                                                                        hydrocortisone   ne through the
 (DMSO) and       dimethylformamide
              and dimethylform       amide (DMF),         DMSO, which may increase   increase absorption
 used as as vehicles, may accelerate
                               accelerate                                                                         epidermis because excretion of 14C after
                                                              ingredients beyond what the Panel
                                                          of ingredients                                          intraveous or intradermal injection is
                                                                                                                  intraveous                                      is
                   substances through the
 absorption of substances                                 determined to be safe and effective. The
        barrier. Surface active ingredients
 skin barrier.                         ingredients                                                                very rapid with little delay when
                                                          Panel concluded at that meeting that                    compared to any method of topical
 (surfactants)           increase absorption.
                  also increase
 (surfactants) also                   absorption.         “Ingredients reviewed by this
                                                          "Ingredients                        this Panel
 Most vehicles consist of emulsions, i.e.,                                                                        application.    This is further confirmed by
                                                                                                                  application. This
                                                          were categorized on the basis     basis of their
                     droplets of one liquid in
 suspensions of droplets
 suspensions                                                                                                      the relatively efficient recovery of 63        63 to
                                                                                                                                                                     to
                                                          use in currently employed topical                       75 percent of the drug. The authors authors
 another in which it is insoluble.
                              insoluble.                  vehicles," (Ref. 78).
                                                          vehicles,”
 Ointments, pastes, or creams are         are                                                                     concluded that their data confirm that
 semisolid vehicles. Oleaginous vehicles                                           Vehiclesinin
                                                               D iscussionofo fVehicles
                                                          C. Discussion                                           less than 1 percent of topically applied
               hydrocarbons,
 consist of hydrocarbon         s, fatty acids, or        Subm    issions
                                                          Submissions                                             hydrocortiso
                                                                                                                  hydrocortisone  ne is absorbed through
 esters of fatty acids. The Panel                            OTC drug monographs do not, as            as a       intact skin and that this absorption is         is
 determined that ideal dermatologic
                               dermatological    al       general rule, identify a formulation                    spread out as long as 10 days.
 vehicles are stable, neutral, nongreasy,                 (vehicles) for dosage forms containing                     The other study (Ref. 80) was    was aa
 nondegreasing,
 nondegreasin     g, nonirritating,                       monograph active ingredients. Although                  preliminary and short, but similar, report     report
 nondehydrating,
 nondehydrati     ng, nondrying, washable,                vehicles are considered to be inactive                  involving only 2 subjects. Peak excretion
 odorless, and stainless. Additionally,                   ingredients, the Panel noted that many                  of hydrocortiso
                                                                                                                      hydrocortisone                       ointment
                                                                                                                                          4-C' 4 in an ointment
                                                                                                                                      ne 4-C14
 vehicles should act efficiently on all                   vehicles interact physically and                        base occurred in the second 24 horns      hours
 kinds of human skin, hold at least 50                    chemically with the outer layer of                      after application, but lower levels of        of
 percent water, and should be easily                                             substantivity ,
                                                          human skin. The substantivity,                          radioactivity persisted throughout the         the 6-6-
 compounded with known chemicals.                         penetration, and resistance of the active               day experimental period. The authors     authors
               recommended
 The Panel recommende            d that all               ingredients to sweating, washing, washing. and          concluded that while precise
 inactive ingredients, including those in                 other factors often depend upon the                     quantitative data could not be
 vehicles, be listed in the drug products’products'       vehicle (44 FR 69768 at 69775). The OTC                 determined under the conditions of the          the
 labeling.            *                                   drug regulations in 21 CFR 330.1(e)                     experiment, less than 1      1 percent of the the
                                                          address vehicles in OTC drug products                   topically applied 4-C14        hydrocortison e
                                                                                                                                         4-C14 hydrocortisone
B. The
    ThePanel's   D iscussionof
         P anel’sDiscussion      Vehiclesinin
                              o fVehicles                 by stating that a product may contain                   was
                                                                                                                  w  as excreted in the urine over a period
             H ydrocortison e
Relation to Hydrocortisone                                only suitable inactive ingredients which                               w as postulated, based on
                                                                                                                  of 6 days. It was                               on
                       hydrocortisone,
  In its discussion of hydrocortison  e, the              are safe and do not interfere with the                  this excretion pattern, that a depot of         of
Panel referred to vehicles a number of                    effectiveness of the preparation or with                hydrocortisonee forms, possibly in the
                                                                                                                  hydrocortison
times. The Panel cited the Federal                        suitable tests or assays to determine if                skin, which persistently releases small      small
                   28,1971
Register of April 28,      (36 FR 7982) as
                      1971 (38                            the product meets its professed                         amounts of the hormone over an
                                   1.0-,
containing a statement that 0.5-, 1.0-,                   standards of identity, strength, quality,               extended period of time.
                               ne products
                  hydrocortisone
and 2.0-percent hydrocortiso                              and purity.                                                      manufacture rs’ association
                                                                                                                     The manufacturers'
in different types of vehicles were                          The petitioner (Ref. 3) did not address                                                scenario”
                                                                                                                                  “worst case scenario"
                                                                                                                  calculated a "worst
generally recognized as safe and                                                         hydrocortisonee
                                                          vehicles used in OTC hydrocortison                      where topical application of one ounce
               Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 207 of 210

6948              Federal Register / Vol. 55, No. 39 / Tuesday, February 27, 1990
                                                                             1990 / Proposed Rules

 of product (entire OTC package                   Volume I, p. 125.
                                                                  125, January 21.  21,1975,
                                                                                       1975. OTC                     Gemzell, C. A., S. Hard, and A. Nilzen,
                                                                                                                (19) Gemzell.
 quantity) at one time would lead to                        06HTFM, Docket No. 78N-301H.
                                                  Volume 06HTFM.                        78N-3G1H,             “The Effect of Hydrocortisone.
                                                                                                              "The             Hydrocortisone, Applied
 absorption of only 300 mg of                   • Dockets Management
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Dermatology,        112:1115-1117,1976.1976.                  and 00304459, OTC Volume IMITITM, 06HTFM, Docket        hydrocortisone acetate equivalent in
                   M.P., M.M. Black, and C.G.
   (49) James, M.P..                                          No. 78N-301H, Dockets Management Branch.
            “Measurement of Dermal Atrophy                            Miller, J.A., and D.D. Munro, "Topical
                                                                 (66) Miller.                            “Topical     concentrations above 0.5 up to 11 percent
Sparkes, "Measurement
Induced by Topical Steroids Using a                           Corticosteroids: Clinical Pharmacology and
                                                              Ccrticosteroids:                                        based on its evaluations of the data and
                    Technique," British Jou
Radiographic Technique."                          rn al of
                                             Journal    of    Therapeutic Use,”      Current Therapeutics,
                                                                             Use," Current                            other changes described in the summary
Derm    atology, 96:303-305,
Dermatology.                      1977.
                    96:303-605,1977.                          21:119-139,1980.
                                                              21:119-139,  1980.                                      below. A summary of the changes made
   (50) Black, M.M., N.E. Platt, and C.J.                             Sneddon, I.B., "Clinical
                                                                 (67) Sneddon.         “Clinical Use of Topical       by the agency follows.
Mugglestone, "A     “A Study of Potential Skin                Corticosteroids,” Drugs 11:193-199,
                                                              Corticosteroids."           11:193-199,1976.
                                                                                                         1976.          1.
                                                                                                                         1. The agency is revising §§ 348.10(d)(1)
Atrophy Following Topical Application of                              Stoughton, R.B., "Topical
                                                                 (68) Stoughton.         “Topical Steroids."
                                                                                                     Steroids,”       to read as follows: "Hydrocortisone,
                                                                                                                                            ‘‘Hydrocortisone, 0.25
Weak                            Current Medical
         Corticosteroids,” Current
Weak•Corticosteroids,"                     M edical           M odem Treatm
                                                              Modern    Treatment,    2:841-846,1965.
                                                                                 ent, 2:841-846,   1965.              to 11 percent."
                                                                                                                            percent.”
R esearch and Opinion, 7:463-470,
Research                                     1981.
                               7:463-470,1981.                   (69) Barry, B.W., and R. Woodford,
   (51) Snyder, D.S., and R.A. Greenberg,                     “Comparative Bio-Availability of Proprietary
                                                              "Comparative                                               2. The agency is revising § 348.10(d)(2)
“Radiographic Measurement of Topical
"Radiographic                                                 Topical Corticosteroid Preparations;                    to read as follows: "Hydrocortisone
                                                                                                                                            “Hydrocortisone
Corticosteroid-Induced Atrophy," The                          Vasoconstrictor Assays on Thirty Creams                 acetate, equivalent to hydrocortisone,
Journal ofo f Investigative Dermatology,
                               D erm atology, 69:279-              Gels,” British
                                                              and Gels,"   B ritish Journal
                                                                                    Jou rn al of
                                                                                              o f Dermatology.
                                                                                                  D erm atology,      0.25 to 11 percent."
                                                                                                                                 percent.”
281,1977.
281.  1977.                                                   91:323-388,1974.
                                                              91:323-388,  1974.                                         3. In the tentative final monograph
                C.Y., R. Marks, and P. Payne,
   (52) Tan, C.Y..                                               (70) Barry, B.W., and R. Woodford,
                                                                                             Woodford.                published on February 8,  8,1983,
                                                                                                                                                   1983, the spray
“Comparison of Xeroradiographic and
"Comparison                                                   “Comparative Bio-Availability and Activity
                                                              "Comparative                                            dosage form wasw as not included in the
Ultrasound Detection of      of Corticosteroid                of Proprietary Topical Corticosteroid
                                                              of
                                                              Preparations: Vasoconstrictor Assays on
                                                                                                                      statement of identity proposed in
Induced Dermal Thinning,"                 Jou rn al of
                      Thinning,” The Journal         of
Investigative Dermatology,
                   Derm atology, 76:126-128,
                                     76:126-128,1981.
                                                    1981.                   Ointments,” British Journal of
                                                              Thirty-One Ointments,"                          of      § 348.50(a)(2). The agency listed several
   (53) Kirby, J.D., and D.D. Munro, "Steroid-“Steroid-       Dermatology,     93:563-571,1975.
                                                              Derm atology, 93:563-571.     1975.                     examples of appropriate dosage forms,
Induced Atrophy in an Animal and Human                           (71) The Medical Letter, Inc., "Gels and             e.g., cream, lotion, or ointment. The
Model," British Journal of     o f Dermatology,
                                   Derm atology,                               Corticosteroids,” The Medical
                                                              Other Topical Corticosteroids,"             M edical    agency is expanding this list to also
94:111-119,1976.
94:111-119,    1973.                                                   16(12):50-52-1974.
                                                              Letter, 16(12):50-52-1974.                              include a spray dosage form.
                   Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 209 of 210

6950
6950                    Federal
                        Federal Register
                                Register // Vol.
                                            Vol. 55,
                                                 55, No.
                                                     No. 39
                                                         39 // Tuesday,
                                                               Tuesday, February
                                                                        February 27,
                                                                                 27, 1990
                                                                                     1990 // Proposed
                                                                                             Proposed Rules
                                                                                                      Rules

Accordingly,
 Accordingly, the     the agency
                            agency isis amending
                                           amending               and
                                                                   and children
                                                                          children 22 years
                                                                                          years of    of age
                                                                                                          age and
                                                                                                                and older:
                                                                                                                       older:       action
                                                                                                                                     action will
                                                                                                                                               will not
                                                                                                                                                     not have
                                                                                                                                                           have aa significant
                                                                                                                                                                     significant impactimpact
§§ 346.50(a)(2)
   348.50(a)(2) to     to read
                           read “The
                                  "The labeling
                                           labeling               Apply
                                                                   Apply to   to affected
                                                                                 affected area   area notnot more
                                                                                                               more thanthan 33     on
                                                                                                                                     on the
                                                                                                                                          the human
                                                                                                                                               human environment,
                                                                                                                                                          environment, and     and that
                                                                                                                                                                                     that anan
identifies
 identifies the the product
                      product as   as “antipruritic
                                       "antipruritic              to
                                                                   to 44 times
                                                                          times daily.
                                                                                    daily. Children
                                                                                              Children under under 22 years
                                                                                                                          years     environmental
                                                                                                                                     environmental impact  impact statement
                                                                                                                                                                      statement isis not not
(anti-itch),”
 (anti-itch)," “anti-itch,”
                   "anti-itch," “antipruritic
                                     "antipruritic                of
                                                                   of age:
                                                                       age: Do Do not
                                                                                    not use,
                                                                                          use, consult
                                                                                                  consult a”   a" (select
                                                                                                                   (select oneone   required.-The
                                                                                                                                     required: The agency’s
                                                                                                                                                         agency's finding
                                                                                                                                                                       finding of  of no
                                                                                                                                                                                       no
(anti-itch)
 (anti-itch) (insert
                 (insert dosage
                             dosage form,
                                        form, e.g.,
                                                 e.g..            of
                                                                   of the
                                                                       the following:
                                                                             following: “physician”
                                                                                              "physician" or       or               significant
                                                                                                                                     significant impact
                                                                                                                                                     impact and and the
                                                                                                                                                                      the evidence
                                                                                                                                                                            evidence
cream,
 cream, lotion,
            lotion, ointment,
                       ointment, or   or spray),”
                                          spray)." or   or        "doctor”.)
                                                                  "doctor".)                                                        supporting
                                                                                                                                     supporting that that finding,
                                                                                                                                                            finding, contained
                                                                                                                                                                        contained in    in an
                                                                                                                                                                                            an
“anti-itch
 "anti-itch (insert
                (insert dosage
                            dosage form,
                                       form, e.g.,
                                                 e.g..               The
                                                                      The agency
                                                                              agency has has examined
                                                                                                 examined the     the               environmental
                                                                                                                                     environmental assessment,
                                                                                                                                                           assessment, may     may be be seen
                                                                                                                                                                                          seen
cream,
 cream, lotion,
            lotion, ointment,
                       ointment, or   or spray).”
                                          spray)."                economic
                                                                   economic consequences
                                                                                   consequences of          of this
                                                                                                                this proposed
                                                                                                                      proposed      in
                                                                  rulemaking                                                         in the
                                                                                                                                         the Dockets
                                                                                                                                               Dockets Management
                                                                                                                                                           Management Branch    Branch
   4.
    4. The
        The agency
              agency isis proposing
                               proposing that  that the
                                                      the          rulemaking in      in conjunction
                                                                                         conjunction with      with other
                                                                                                                       other        (address
                                                                                                                                     (address above)
                                                                                                                                                  above) between
                                                                  rules                                                                                      between 99 a.m.  a.m. and
                                                                                                                                                                                     and 44
indications
 indications in    in §§ 348.50(b)(3)
                          348.50(b)(3) (i)   (i) and
                                                 and (ii),
                                                        (ii),      rules resulting
                                                                            resulting fromfrom the  the OTC
                                                                                                          OTC drugdrug              p.m.,
                                                                  review.                                                            p.m., Monday
                                                                                                                                             Monday through
                                                                                                                                                          through Friday.
                                                                                                                                                                     Friday. This This
as
as amended
     amended on      on July
                         July 30,1986
                                 30, 1986 to  to include
                                                  include          review. In   In aa notice
                                                                                       notice published
                                                                                                  published m      in die
                                                                                                                       the          action
seborrheic                                                        Federal
                                                                   Federal Register
                                                                                Register of   of February
                                                                                                   February 8,19838, 1983 (48        action waswas consideredoinderTDA’s
                                                                                                                                                      considered.under FDA's final         final
seborrheic dermatitis
                  dermatitis and   and psoriasis
                                          psoriasis (51  (51                                                                 (48    rule
FR
 FR 27360
      27360 at at 27363),
                   27303), be  be used
                                   used for for all
                                                  all OTC
                                                      OTC         FR
                                                                   FR 5806),
                                                                        5806), thethe agency
                                                                                        agency announced
                                                                                                      announced the     the          rule implementing
                                                                                                                                            implementing the    the National
                                                                                                                                                                     National
                                                                  availability                                                      Environmental
                                                                                                                                     Environmental Policy  Policy ActAct (21(21 CFR
                                                                                                                                                                                  CFR part
                                                                                                                                                                                         part
concentrations
 concentrations of       of hydrocortisone
                              hydrocortisone and     and           availability of    of an
                                                                                          an assessment
                                                                                                assessment of      of these
                                                                                                                        these
hydrocortisone                                                    economic
                                                                   economic impacts.
                                                                                   impacts. The   The assessment                    25).
                                                                                                                                     25).
 hydrocortisone acetate. acetate.                                                                         assessment
   5.
    5. To
       To help
             help prevent
                    prevent misusemisuse of  of OTG
                                                 OTC              determined
                                                                   determined that    that thethe combined
                                                                                                    combined impacts impacts           Interested
                                                                                                                                        Interested persons
                                                                                                                                                       persons may, may. on  on oror before
                                                                                                                                                                                      before
hydrocortisone
 hydrocortisone drug     drug products,
                                  products, with with             of
                                                                   of all
                                                                       all the
                                                                            the rules
                                                                                  rules resulting
                                                                                          resulting from   from thethe OTC
                                                                                                                         OTC        April
                                                                                                                                     April 30,1990,
                                                                                                                                              30, 1990, submit
                                                                                                                                                          submit to  to the
                                                                                                                                                                         the Dockets
                                                                                                                                                                                Dockets
possible
 possible resultant
              resultant adverse
                              adverse reactions,
                                          reactions, the   the    drug
                                                                   drug review
                                                                           review do   do not
                                                                                            not constitute
                                                                                                   constitute aa major major        Management
                                                                                                                                     Management Branch   Branch (HFA-305),
                                                                                                                                                                   (FIFA-305). Food   Food
agency
agency is   is proposing
                proposing an     an additional
                                     additional                   rule
                                                                   rule according
                                                                          according to    to thethe criteria
                                                                                                      criteria established
                                                                                                                  established       and
                                                                                                                                     and Drug
                                                                                                                                            Drug Administration,
                                                                                                                                                   Administration, Room     Room 4-62,4-62,
statement
statement in     in §§ 348.50(b)(3),
                        348.50(b)(3), as    as paragraph
                                                paragraph         by
                                                                   by Executive
                                                                        Executive Order Order 12291.
                                                                                                   12291. The The agency
                                                                                                                      agency        5600
                                                                                                                                     5600 Fishers
                                                                                                                                             Fishers Lane,
                                                                                                                                                       Lane, Rockville,
                                                                                                                                                                Rockville, MD    MD 20857,
                                                                                                                                                                                       20857,
(iii),
(iii), to
        to read
            read as as follows:
                        follows: “Other
                                     "Other uses  uses ofof       therefore
                                                                   therefore concludes
                                                                                  concludes that     that nono one
                                                                                                                 one ofof these
                                                                                                                           these    written
                                                                                                                                     written comments,
                                                                                                                                                comments, objections,
                                                                                                                                                                 objections, or    or
this
 this product
       product should
                    should be   be only
                                    only under
                                            under the  the        rules,
                                                                   rules, including
                                                                             including this  this proposed
                                                                                                    proposed                        requests
                                                                                                                                     requests for for oral
                                                                                                                                                       oral hearing
                                                                                                                                                             hearing before
                                                                                                                                                                          before the the
advice
advice and  and supervision
                  supervision of     of a”a" (select
                                               (select oneone     amendment
                                                                   amendment of        of the
                                                                                           the OTC
                                                                                                 OTC external
                                                                                                          external                  Commissioner
                                                                                                                                     Commissioner on       on the
                                                                                                                                                               the proposed
                                                                                                                                                                     proposed
of
 of the
     the following:
          following: “physician”
                            "physician" or     or                 analgesic
                                                                   analgesic drug  drug products
                                                                                           products tentative
                                                                                                           tentative finalfinal     regulation.
                                                                                                                                     regulation. A   A request
                                                                                                                                                         request forfor anan oral
                                                                                                                                                                               oral hearing
                                                                                                                                                                                      hearing
“doctor”).
"doctor").                                                        monography,
                                                                   monography, is       is aa major
                                                                                                major rule.rule.                    must
                                                                                                                                     must specify
                                                                                                                                             specify points
                                                                                                                                                        points to to be
                                                                                                                                                                      be covered
                                                                                                                                                                           covered and
                                                                     The                                                                                                                and
   6.
    6. The
        The agency
              agency is    is proposing
                               proposing that  that the
                                                      the 7-
                                                           7-         The economic
                                                                              economic assessment
                                                                                              assessment also     also              time
                                                                                                                                     time requested.
                                                                                                                                             requested. W      ritten comments
                                                                                                                                                            Written      comments on     on
day
 day limit
       limit of use use warning
                          warning in   in                         concluded
                                                                   concluded that    that the
                                                                                            the overall
                                                                                                  overall OTC OTC drug drug         the
                                                                  review                                                             the agency’s
                                                                                                                                           agency's economic
                                                                                                                                                        economic impactimpact
§ 348.50(c)(T)(iii)
   348.50(c)(1)(iii) not    not bebe used
                                      used for for OTC
                                                    OTC            review was  was notnot likely
                                                                                             likely to  to have
                                                                                                            have aa                 determination
                                                                  significant                                                        determination may     may bebe submitted
                                                                                                                                                                      submitted on     on or
                                                                                                                                                                                           or
hydrocortisone
 hydrocortisone drug     drug products.
                                  products. In   In its
                                                     its           significant economic
                                                                                     economic impact  impact on  on aa              before
place,                                                            substantial
                                                                   substantial number number of    of small
                                                                                                        small entities
                                                                                                                 entities as         before April
                                                                                                                                                April 30,1990.
                                                                                                                                                       30, 1990. Three
                                                                                                                                                                    Three copies
                                                                                                                                                                               copies of of all
                                                                                                                                                                                             all
 place, hydrocortisone
          hydrocortisone drug      drug products
                                            products will will                                                               as     comments,
bear
 bear aa somewhat different warning,       warning.               defined
                                                                   defined in   in the
                                                                                    the Regulatory
                                                                                         Regulatory Flexibility
                                                                                                             Flexibility Act  Act    comments, objections,
                                                                                                                                                     objections, and  and requests
                                                                                                                                                                              requests are are
                                                                  (Pub.                                                             to
                                                                                                                                     to be
                                                                                                                                         be submitted,
                                                                                                                                              submitted, except
                                                                                                                                                             except thatthat individuals
                                                                                                                                                                                individuals
which
 which is  is being
               being incorporated
                        incorporated in       in                   (Pub. L. L 96-354).
                                                                               98-354). That  That assessment
                                                                                                       assessment
§ 348.50(c)(7)(i),
   348.50(c)(7)(i), to     to read
                               read asas follows:
                                          follows: “If  "If       included
                                                                   included aa discretionary
                                                                                     discretionary Regulatory
                                                                                                            Regulatory              may
                                                                                                                                     may submit one    one copy.
                                                                                                                                                             copy. Comments,
                                                                                                                                                                     Comments,
condition worsens,
                worsens, or if     if symptoms
                                      symptoms                    Flexibility
                                                                   Flexibility Analysis
                                                                                    Analysis in     in the
                                                                                                         the event that that an
                                                                                                                              an    objections,
                                                                                                                                     objections, and  and requests
                                                                                                                                                            requests are  are toto be
                                                                                                                                                                                    be
persist
 persist forfor more
                 more than than 7 days
                                     days or clearclear upup      individual rule   rule might
                                                                                           might imposeimpose an  an unusual
                                                                                                                       unusual      identified
                                                                                                                                     identified with
                                                                                                                                                   with thethe docket
                                                                                                                                                                 docket number
                                                                                                                                                                            number foundfound
and
and occur again  again within
                           within a few few days,
                                                days, do do       or disproportionate
                                                                       disproportionate impact     impact on small  small           in
                                                                                                                                     in brackets
                                                                                                                                         brackets in the  the heading
                                                                                                                                                               heading of   of this
                                                                                                                                                                                 this
not
not useuse this
             this or anyany other
                               other hydrocortisone
                                       hydrocortisone             entities.
                                                                   entities. However,
                                                                                 However, this    this particular
                                                                                                         particular                 document and    and maymay be be accompanied
                                                                                                                                                                      accompanied by       by
product
 product unless
              unless youyou havehave consulted
                                       consulted a"     a"        rulemaking
                                                                   rulemaking for     for OTC
                                                                                           OTC external
                                                                                                     external analgesic
                                                                                                                   analgesic        aa supporting
                                                                                                                                       supporting memorandum
                                                                                                                                                        memorandum or         or brief.
                                                                                                                                                                                  brief.
(select oneone of the  the following:
                             following: “physician”
                                             "physician"          drug
                                                                   drug products
                                                                           products is   is not expected to         to pose
                                                                                                                        pose        Comments,
                                                                                                                                     Comments, objections,
                                                                                                                                                      objections, and  and requests
                                                                                                                                                                               requests
or "doctor”).
    "doctor").                                                    such as  as impact on small businesses.   businesses.             may
                                                                                                                                     may be  be seen
                                                                                                                                                seen in in the
                                                                                                                                                            the office
                                                                                                                                                                 office above
                                                                                                                                                                           above between
                                                                                                                                                                                     between
   7. The
       The agency
              agency is    is proposing
                               proposing to    to                 Therefore,
                                                                   Therefore, the    the agency certifies
                                                                                                        certifies that this this    9 a.m.
                                                                                                                                       a.m. andand 44 p.m., Monday
                                                                                                                                                              Monday through through
redesignate
 redesignate the    the current warning
                                     warning for                  proposed
                                                                   proposed rule,  rule, if implemented,
                                                                                               implemented, will      will not
                                                                                                                            not     Friday.
                                                                                                                                     Friday. AnyAny scheduled oral hearing     hearing will
                                                                                                                                                                                          will
hydrocortisone
hydrocortisone products  products in § 348.50(c)(7)               have
                                                                   have a significant economic   economic impact on a               be
                                                                                                                                     be announced in the Federal   Federal Register.
                                                                                                                                                                                 Register.
as
as paragraph (7){ii). (7)(ii).                                    substantial
                                                                   substantial number number of small entities.  entities.              In establishing
                                                                     The agency invites                                                     establishing a final final monography,
                                                                                                                                                                         monography,
    8. The
       The agency is       is proposing
                               proposing to    to                                        invites publicpublic comment               the
                                                                  regarding                                                          the agency
                                                                                                                                           agency will ordinarily
                                                                                                                                                            ordinarily consider
                                                                                                                                                                            consider only only
redesignate
 redesignate the    the current warnings
                                     warnings for    for           regarding any   any substantial or significant                   data submitted prior to
hydrocortisone
 hydrocortisone products products in §§ 348.50(c)(9)              economic
                                                                   economic impact that this            this rulemaking
                                                                                                              rulemaking                                           to the
                                                                                                                                                                        the closing
                                                                                                                                                                              closing of of the
                                                                                                                                                                                             the
                                                                  would have                                                        administrative
                                                                                                                                     administrative record on        on April
                                                                                                                                                                          April 30,1990.
                                                                                                                                                                                   30, 1990.
as
as (c)(7)(iii)'.
     (c)(7)(iii).                                                             have on OTC hydrocortisone
                                                                                                      hydrocortisone                Data submitted after
    9. The
        The agency is      is proposing
                               proposing to add the               external analgesic
                                                                                 analgesic drug   drug products.
                                                                                                          products. Types Types                             after the
                                                                                                                                                                   the closing
                                                                                                                                                                          closing of  of the
                                                                                                                                                                                         the
warning
 warning “Do  "Do not use for the      the treatment of           of impact may include, but are not                                 administrative
                                                                                                                                     administrative record will be           be reviewed
                                                                                                                                                                                  reviewed
diaper rash.
           rash. Consult aa"       ” (select one of the     the   limited to, costs costs associated with product        product    by
                                                                                                                                     by the agency only after aa final      final
following:       “physician” or "doctor")
 following: "physician"                  “doctor”) to             testing,
                                                                   testing, relabeling,
                                                                               relabeling, repackaging, or                          monograph is      is published in the Federal  Federal
§ 348.50(c)(7) as     as paragraph (iv). Because                  reformulating.
                                                                   reformulating. Comments regarding the                             Register, unless the Commissioner
                                                                                                                                                                  Commissioner finds     finds
children over 2 years    years of age may get                     impact of this rulemaking on OTC                                  good cause has    has been
                                                                                                                                                            been shown
                                                                                                                                                                    shown that  that
diaper rash, the agency believes this                             hydrocortisone external analgesic drug                            w  arrants earlier consideration.
                                                                                                                                     warrants                consideration.
warning will alert parents not to use                             products
                                                                   products should be accompanied by                                List of Subjects
                                                                                                                                               Subjects in 21  21 CFR
                                                                                                                                                                    CFR Part       348
                                                                                                                                                                            Part 348
OTC hydrocortisone products for diaper                             appropriate
                                                                   appropriate documentation.
                                                                                       documentation. A period of
rash for children of any age,         age. without                60 days
                                                                       days from the date of publication of                           External analgesic
                                                                                                                                                  analgesic drug
                                                                                                                                                            drug products,
                                                                                                                                                                 products.
first consulting a doctor.  doctor.                                this proposed rulemaking in the Federal                          Labeling, Over-the-counter drugs.
                                                                                                                                                                  drugs.
    10. The agency proposes to add the
   10.                                                 the        Register will be provided for comments
instruction "do   “do not use” use" to the general                                                                                    Therefore, under the Federal
                                                                                                                                                              Federal Food,
                                                                                                                                                                       Food,
                                                                   on this subject to be developed and
directions for all OTC external analgesic                                                                                           Drug,
                                                                                                                                    Drug. and Cosmetic Act and and the
                                                                                                                                                                   the
                                                                  submitted. The agency will evaluate any                     any
drug products (including hydrocortisone)                           comments and supporting data that are                            Administrative Procedure Act it   it is
                                                                                                                                                                         is
because it better alerts consumers about                          received and will reassess    reassess the economic               proposed that subchapter D     of chapter
                                                                                                                                                                 D of  chapter 1I
use of these products on children under                            impact of this Tulemaking
                                                                                         rulemaking in the                          of title 21 of the Code of Federal
                                                                                                                                                               Federal
2 years of age and makes an additional                             preamble to the final rule.                                      Regulations be amended in part       348 (as
                                                                                                                                                                  part 348    (as
warning unnecessary. The proposed                                     The agency has carefully considered                           proposed in the Federal Register
                                                                                                                                                               Register ofof
revision in § 348.50(d)(1)                                         the potential environmental effects of                           February 8, 8,1983;
                                                                                                                                                  1983; 48 FR 5852) as
                                                                                                                                                                    as follows:
                                                                                                                                                                         follows:
reads: '* *' * "Directions":
                      “Directions”: (1) Adults                     this action. FDA has concluded that the
                Case 4:22-cv-02625-HSG Document 22-2 Filed 08/24/22 Page 210 of 210

                   Federal Register
                   Federal            Vol. 55, No. 39 / Tuesday, February 27,
                           Register / VoL                                 27, 1590    Proposed Rules
                                                                              1990 // Proposed Rules                                                      6951

     348-EXTERNAL
PART 348—          ANALGESIC
          EXTERNAL ANALGESIC                          acetate id    en tified in § 348.10(d). The
                                                                  identified                                             itching,"” or "'
                                                                                                             genital itching,                     forr external
                                                                                                                                         “* '* •* fo
DRUG PRODUCTS
DRUG               OVER-THE-
     PRODUCTS FOR OVER-TH E-                          labeling identifies the product as       as            feminine
                                                                                                             fem                       “Do not use if you
                                                                                                                           itching." "Do
                                                                                                                    inine itching.”
COUNTER HUMAN
COUNTER  HUMAN USE
               USE                                    "antipruritic
                                                      “antipruritic (anti-itch),"       “anti-itch,”
                                                                         (anti-itch),” "anti-itch,"            have a vaginal discharge. Consult a"         a”
                                                      "antipruritic
                                                      “antipruritic (anti-itch) (insert dosage                (select one of the following:         “physician”
                                                                                                                                      following: "physician"
  1. The authority citation for 21 CFR                         e.g., cream, lotion, ointment, or
                                                      form, e.g,,                                                  "doctor”).
                                                                                                              or "doctor").
part 348 is revised to read as as follows:
                                   follows:           spray),"         “anti-itch (insert dosage
                                                      spray),” or "anti-itch                dosage                (iii) For products containing
                                                                                                                                         containing
  Authority: Secs. 201,               505. 510,
                                 503, 505,
                   2O1. 501 502, 503.      510.       form, e.g., cream, lotion, ointment, or                 hydrocortisone
                                                                                                             hydrocortiso       ne preparations id      en tified
                                                                                                                                                     identified
                   F7,od, Drug, and Cosmetic
701 of the Federal Food,                              spray).”
                                                      spray)."                                               in § 348.10(d) (1) and (2) that are labeled  labeled
                              353. 355,
Act (21 U.S.C. 321, 351, 352, 353,      360, 371).
                                   355. 380,         • * * * * * •
                                                            •      •
                                                                                                               with
                                                                                                               w ith indication "•           forr external anal
                                                                                                                                    “* •* •* fo
                                                         (b )  * *  *
  2. Section 348.10 is amended by                        (b) ' • •                                            itching." In addition to the warnings in
                                                                                                             itching."
revising paragraphs (d) (1) and (2) to                   (3) •* •* •*
                                                         (3)
                                                                                                              paragraph (c)(1) of this section, the
        follows:
read as follows:                                         (iii) "Other
                                                                    “Otheruses
                                                                             uses   of this
                                                                                of this      product
                                                                                         product       should labeling of the product also contains the
                                                                                                  should
                                                      be only under the advice and                            warnings proposed in § 348.50(c)346.50(c) (2), (3),
§ 348.10 Analgesic, anesthetic, and                   supervision of a"    a” (select one of the              and (4) of this chapter. (See the Federal
                    Ingredients.
antipruritic active ingredients.                                                         “doctor”).
                                                                      “physician” or "doctor").
                                                      following: "physician"
*    *• *       *     *                                                                                       Register of August 15,        1988; 53 FR 30756.)
                                                                                                                                        15,1988;
                                                     • * * * * *
                                                            •      •      •      •
                                                                                                                        “Do not use for the treatment of
                                                                                                                 (iv) "Do
  (d) * *' *•                                            (c) *• •* **                                         diaper rash. Consult a"     a ” (select one of the
   (1) Hydrocortiso  ne, 0.25 to 1 percent.
       Hydrocortisone,             percent.              (1) For products containing any                                                        “doctor”).
                                                                                                                             “Physician” or "doctor").
                                                                                                              following: "Physician"
   (2) Hydrocortiso
       Hydrocortisonene acetate, equivalent           external analgesic active ingredient                     * * * * *
                  e, 0.25 to 1 percent.
    hydrocortisone,            percent.               identified
                                                         en tified in §            (a), (b), and (c) and
                                                                        § 348.10 (a).
to hydrocortison
•      •   •*     .*     •
                                                      id                                                         (d) .* * •*
*      *                 *                              348.12. '* •* •*
                                                     §§348.12.
                                                      •* *• * • * • * •                                          (1) Adults and children 2 years of age
  3. Section 348.50 is amended by                                                                                    older: Apply to affected area not
                                                                                                             and cider:
                      (a)(2), by adding new
revising paragraph (a)(2).                               (7) For products containing                                   than 3 to 4 times daily. Children
                                                                                               en tified     more
paragraph (b)(3)(iii), by revising the                hydrocortisone
                                                      hydrocortiso      ne preparations id   identified                 2 years of age: Do not use, consult
                                                                                           “If condition      under
heading for paragraph (c)(1), by revising             in § 348.10(d) (1) and (2). (i) "If                    a (select one of the following: physician
           (c)(7), and by revising
paragraph (c)(7).                                     worsens, or if symptoms persist for more or doctor).
paragraph (d)(1) to read as follows:                  than 7 days or clear up and occur again                 •* *• * • * • *
                                                      within a few days, do not use this or any
§ 348.50 Labeling of external analgesic                                                                          Dated: February 14. 14,1990.
                                                                                                                                         1990.
                                                      other hydrocortiso
                                                              hydrocortisone   ne product unless you
drug products.                                        have consulted a"     a” (select one of the             James    S. Benson,
   (a) •* ** **
   (a)                                                                                   "doctor”).
                                                                      “physician” or "doctor").
                                                      following: "physician"                                                            o fF
                                                                                                                        C om m issioner of
                                                                                                             Acting Commissioner           Food        Drugs.
                                                                                                                                                 an d Drugs.
                                                                                                                                             ood and
   (2) For products containing                           (ii) For products that ore   are labeled with        [FR Doc. 90-4392 Filed 2-28-90:
                                                                                                              (FR                                        am]
                                                                                                                                                    8:45 am)
                                                                                                                                          2-26-90; 8:45
hydrocortisone
hydrocortiso    ne or hydrocortiso ne
                      hydrocortisone                  this indications "•             forr external
                                                                             “* '* •* fo                     eILLING
                                                                                                             BILLING CODE 4160-01-M
                                                                                                                              4160-01-U
